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Form                                                                             Department of the Treasury - Internal Revenue Service

       1040-X                                     Amended U.S. Individual Income Tax Return                                                                              OMB No. 1545-0074

(Rev. January 2020)                               | Go to www.irs.gov/Form1040X for instructions and the latest information.
This return is for calendar year                               2019             2018        2017        2016
Other year. Enter one: calendar year                  2020               or fiscal year (month and year ended):
Your first name and middle initial                                                                 Last name                                                   Your social security number
  TONY D.                                                                                         TOWNLEY
If joint return, spouse's first name and middle initial                                            Last name                                                   Spouse's social security number
  ELIZABETH A.                                                                                    TOWNLEY
Current home address (number and street). If you have a P.O. box, see instructions.                                                           Apt. no.         Your phone number
  1280 SNOWS MILL ROAD                                                                                                                                         706-353-8107
City, town or post office, state, and ZIP code. If you have a foreign address, also complete spaces below. See instructions.
  BOGART, GA                         30622
Foreign country name                                                                                  Foreign province/state/county                           Foreign postal code


Amended return filing status. You must check one box even if you are not                                                                  Full-year health care coverage (or, for amended
changing your filing status. Caution: In general, you can't change your filing                                                       2018 returns only, exempt). If amending a 2019
                                                                                                                                     return, leave blank. See instructions.
status from a joint return to separate returns after the due date.
       Single       X Married filing jointly                      Married filing separately (MFS)                         Qualifying widow(er) (QW)              Head of household (HOH)
If you checked the MFS box, enter the name of spouse. If you checked the HOH or QW box, enter the child's name if the qualifying
person is a child but not your dependent. |
                                                                                                                  A. Original amount            B. Net change -             C. Correct
                        Use Part III on page 2 to explain any changes                                                reported or as            amount of increase            amount
                                                                                                                  previously adjusted            or (decrease) -
Income and Deductions                                                                                              (see instructions)           explain in Part III
 1 Adjusted gross income. If a net operating loss (NOL) carryback is
       included, check here ~~~~~~~~~~~~~~~~~~ |                                                           1         985025987.                                          985025987.
 2 Itemized deductions or standard deduction ~~~~~~~~~~~                                                   2           282,107.                  124186787.              124468894.
 3 Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~                                                        3         984743880.                  -124186787              860557093.
 4a Exemptions (amended 2017 or earlier returns only) . If changing ,
    complete Part I on page 2 and enter the amount from line 29 ~~                                        4a
  b Qualified business income deduction (amended 2018 or later returns only)                              4b         7,587,470.                    -7587470.                                 0.
 5 Taxable income. Subtract line 4a or 4b from line 3. If the result is
       zero or less, enter -0-                                                       5         977156410.                  -116599317              860557093.
Tax Liability
 6 Tax. Enter method(s) used to figure tax:
       SCH D; F6251                                                                                        6         202565159.                  -30485506.              172079653.
 7     Credits. If a general business credit carryback is included, check here    ~~~ |                    7           201,012.                    -15,582.                185,430.
 8 Subtract line 7 from line 6. If the result is zero or less, enter -0- ~~                                8         202364147.                  -30469924.              171894223.
 9 Health care: individual responsibility (amended 2018 or earlier returns only)                           9
10 Other taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                10           161,002.                                            161,002.
11 Total tax. Add lines 8, 9, and 10                                                     11         202525149.                  -30469924.              172055225.
Payments
12 Federal income tax withheld and excess social security and tier 1 RRTA
   tax withheld. (If changing , see instructions.) ~~~~~~~~~~~                                            12
13 Estimated tax payments, including amount applied from prior year's return                              13           13200000.                                           13200000.
14 Earned income credit (EIC)                                                          14
15     Refundable credits from:            Schedule 8812       Form(s)            2439         4136

       8863        8885     8962 or    other (specify):                     15
16 Total amount paid with request for extension of time to file, tax paid with original return, and additional
   tax paid after return was filed ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    16      189325149.
17 Total payments. Add lines 12 through 15, column C, and line 16                                                                       17      202525149.
Refund or Amount You Owe
18 Overpayment, if any, as shown on original return or as previously adjusted by the IRS                                        ~~~~~~~~~~~~~~                   18
19 Subtract line 18 from line 17. (If less than zero, see instructions.) ~~~~~~~~~~~~~~~~~~~~~~~~~                                                               19      202525149.
20 Amount you owe . If line 11, column C, is more than line 19, enter the difference ~~~~~~~~~~~~~~~~~                                                           20
21 If line 11, column C, is less than line 19, enter the difference. This is the amount overpaid on this return ~~~~~                                            21        30469924.
22 Amount of line 21 you want refunded to you                                                                                  22        30469924.
23 Amount of line 21 you want applied to your (enter year):                                              estimated tax          23
                                                                                                                                                  Exhibit
                                                                                                                                                   Complete and sign this form on page 2.
LHA        For Paperwork Reduction Act Notice, see instructions.                                            010701 03-22-21                                           Form 1040-X (Rev. 1-2020)

                                                                                                                                                         E
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Form 1040-X (Rev. 1-2020)         TONY D. & ELIZABETH A. TOWNLEY                                                                                                            Page 2
 Part I        Exemptions and Dependents
Complete this part only if any information relating to exemptions (to dependents if amending your 2018 or later return) has changed from what you
reported on the return you are amending. This would include a change in the number of exemptions (of dependents if amending your 2018 or later return).
           For amended 2018 or later returns only, leave lines 24, 28, and 29 blank.        A. Original number             B. Net change              C. Correct number
           Fill in all other applicable lines.                                               of exemptions or                                             or amount
           Note: See the Forms 1040 and 1040-SR, or Form 1040A, instructions                amount reported or
           for the tax year being amended. See also the Form 1040-X instructions.          as previously adjusted
24 Yourself and spouse. Caution: If someone can claim you as a
   dependent, you can't claim an exemption for yourself. If amending your
   2018 or later return, leave line blank ~~~~~~~~~~~~~~~~~                          24
25 Your dependent children who lived with you ~~~~~~~~~~                             25
26 Your dependent children who didn't live with you due to divorce
    or separation ~~~~~~~~~~~~~~~~~~~~~~~~~~                                         26
27 Other dependents ~~~~~~~~~~~~~~~~~~~~~~~                                          27
28 Total number of exemptions. Add lines 24 through 27. If amending
    your 2018 or later return, leave line blank ~~~~~~~~~~~~                         28
29 Multiply the number of exemptions claimed on line 28 by the exemption
    amount shown in the instructions for line 29 for the year you are
    amending. Enter the result here and on line 4a on page 1 of this form. If
    amending your 2018 or later return, leave line blank ~~~~~~~~~~                  29
30 List ALL dependents (children and others) claimed on this amended return. If more than 4 dependents, see inst. and                       u here |
Dependents (see instructions):                                                                                                                (d) u if qualifies for (see instr.):
                                                                                                                                                               Credit for other
   (a) First name                            Last name                             (b) Social       (c) Relationship                           Child tax    dependents (amended
                                                                                security number           to you                                credit      2018 or later returns only)




 Part II        Presidential Election Campaign Fund
Checking below won't increase your tax or reduce your refund.
      Check here if you didn't previously want $3 to go to the fund, but now do.
      Check here if this is a joint return and your spouse did not previously want $3 to go to the fund, but now does.
 Part III Explanation of Changes. In the space provided below, tell us why you are filing Form 1040-X.
                | Attach any supporting documents and new or changed forms and schedules.
SEE ATTACHED EXPLANATION OF AMENDMENT.




Remember to keep a copy of this form for your records.
Under penalties of perjury, I declare that I have filed an original return and that I have examined this amended return, including accompanying schedules and statements,
and to the best of my knowledge and belief, this amended return is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information
about which the preparer has any knowledge.
Sign Here

=                                                                                       EXECUTIVE
Your signature                                                  Date                    Your occupation


=
Spouse's signature. If a joint return, both must sign.          Date                    Spouse's occupation
Paid Preparer Use Only


= BRIDGET J. DUNK                                                           04/13/22               BENNETT THRASHER LLP
Preparer's signature                                                        Date                   Firm's name (or yours if self-employed)

                                                                                                   3300 RIVERWOOD PARKWAY, #700
BRIDGET J. DUNK                                                                                    ATLANTA, GA 30339
Print/type preparer's name                                                                         Firm's address and ZIP code
                                                                       Check if self-employed         770-396-2200
PTIN                                                                                                  Phone number                         EIN
010702
03-22-21     For forms and publications, visit www.irs.gov.                                                                                    Form 1040-X (Rev. 1-2020)
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                         TONY D. and ELIZABETH A. TOWNLEY
                                      2020 FORM 1040X

       The Townleys and their family partnership, Log Creek LLLP ("Log Creek"), are

correcting their earlier returns to properly recognize the 2018 and 2019 conservation

contributions encouraged by Congress. When they learned the IRS was attacking all partnership

conservation contributions, they waited to report those 2019 contributions until they could make

doubly sure they reported theirs correctly. They also removed their 2018 contribution from their

returns until they could make doubly sure they reported that contribution correctly. They waited

to report the three contributions they made of vulnerable tracts to the Oconee River Land Trust in

2019 until they could make doubly sure they were correctly reporting those contributions that

Congress encourages. That additional work is complete. The 2018 and 2019 conservation

contributions result in carryovers that require the filing of this Amended Form 1040 for 2020.

To understand why they made these contributions, one needs to understand the Townleys.

       Tony Townley grew up in Bogart, Georgia, in the country outside of Athens. Starting in

high school, he and his father grew Christmas trees on his parents' farm. Even today, Tony and

his wife Elizabeth live on a farm in Bogart, next door to his parents. The running joke in the

Townley house is that Tony has not gone very far in life.

       After high school, Tony enrolled at Georgia Southern in Statesboro. Two wonderful

things happened in Statesboro. Tony met Elizabeth, and Tony and his boyhood friend Zach sold

almost everything they had to start a little chicken finger restaurant in Statesboro. When Tony

finished Georgia Southern and Zach finished UGA, the chicken restaurant could not support

them and so, Tony returned home to the Athens area, married Elizabeth, worked with his father

on the Christmas tree farm, and started a mortgage business while he and his friend tried to build

the chicken business. Through hard work, long hours, and risking everything they had, Tony and

his friend built the chicken business into a huge success beyond their wildest dreams, Zaxby's.
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       Tony chose to invest most of what he made into north Georgia farmland and timberland.

Tony and Elizabeth put that land into their family partnership, Log Creek, which they own

equally. Both Tony and Elizabeth like preservation. They protected north Georgia timber and

farmland east of Atlanta because north Georgia is being eaten by Atlanta sprawl. They bought

the old UGA Agriculture Department research farm near their farm. They saved the famous but

neglected UGA Red Barn which they moved out to the former UGA farm and restored.

       In 2017, a mine contamination caused Tony to take a harder look at the Congressional

encouragement to conserve undeveloped land forever.          Martin Marietta Materials, a major

granite mining company, operated a mine next to land Log Creek owned. Tony discovered that

the mine contaminated the water table with a dangerous chemical.             That one mine could

contaminate the entire water table for that entire area. Tony tried to cure that problem, but

started thinking about the Log Creek land that was most vulnerable to mining. His advisors told

him that Congress specifically encourages landowners like the Townleys to preserve the land

through tax incentives that recognize the full value lost due to anti-development restrictions.

       The first site that came to mind was the Norris-Cason tract in Warren County, Georgia

that had granite outcroppings Tony and his forester had seen on the surface. After core drilling

and an exhausting investigation, Tony and Elizabeth decided Log Creek should contribute a

perpetual conservation easement to Oconee River Land Trust, a charitable group in Athens

started by UGA professors and other conservation-minded citizens. The Townleys and their

family partnership knew they were doing a good thing. They wanted to do more. In 2019, Tony

and those helping him identified three other vulnerable tracts with granite outcroppings that

Tony believed would be mined sooner or later. Again, the Townleys decided to protect those

properties forever.    They believe strongly enough in conservation to work through the

extraordinary complexity and expense twice.


                                                 2
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       For all of the tracts, Tony got the best help he could find at the time and now the

Townleys and their family partnership have hired a second set of superb geologists, biologists,

and appraisers to make doubly sure that Tony, Elizabeth, and their partnership are doing exactly

what Congress encourages all forest and farmland owners to do. They not only hired the best

geologists they could find, they hired the Georgia real estate appraiser who best understood the

mining engineering analysis because that appraiser, Doug Kenny, MAI, holds an engineering

degree from Georgia Tech – one of, if not the, top engineering universities in the South.

       Through Section 170(h), Congress encourages landowners to prohibit development on

their forests and farms forever by promising a deduction equal to the full fair market value of the

development rights they sacrificed.     The Eleventh Circuit recently explained that in Pine

Mountain Preserve, LLP v. Commissioner, 978 F.3d 1200, 1202-3 (11th Cir. 2020):

               Before diving into the facts and procedural history of this particular case,
           we set out in some detail the governing statutory framework. Section 170 of
           the Internal Revenue Code allows tax deductions for charitable contributions
           and gifts of interests in real property. As a general rule, the Code forbids
           deductions for conveyances of partial—i.e., less than fee-simple—interests.
           In 1980, though, Congress amended the Code to permit landowners a
           deduction for a "qualified conservation contribution" of less than an entire
           interest in a parcel. See Tax Treatment Extension Act, Pub. L. No. 96-541
           § 6(b), 94 Stat. 3204, 3206 (1980), codified at I.R.C § 170(f)(3)(B)(iii). To
           qualify as a "qualified conservation contribution," a grant must be "(A) of a
           qualified real property interest," "(B) to a qualified organization," and "(C)
           exclusively for conservation purposes." I.R.C. § 170(h)(1).

               The parties here agree that the grants at issue were made to a "qualified
           organization," so our analysis will focus on the other two requirements—that
           the grants be "qualified real property interest[s]" and "exclusively for
           conservation purposes."        Section 170(h)(2) defines the former, and
           § 170(h)(5) defines the latter. According to § 170(h)(2)(C), a "qualified real
           property interest" includes, as relevant here, "a restriction (granted in
           perpetuity) on the use which may be made of the real property." We’ll call
           this the "granted-in-perpetuity" requirement. According to § 170(h)(5)(A),
           "[a] contribution shall not be treated as exclusively for conservation purposes"
           within the meaning of § 170(h)(1) "unless the conservation purpose is
           protected in perpetuity." We’ll call this the "protected-in-perpetuity"
           requirement.


                                                3
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               To sum up then: The Code permits taxpayers to claim deductions for
           charitable contributions, including contributions of land. If a landowner
           donates less than its entire interest in a piece of property, the Code allows a
           deduction, as relevant here, where the landowner makes a "qualified
           conservation contribution." To qualify—again, as relevant for our purposes
           — a grant must be a "qualified real property interest" and "exclusively for
           conservation purposes." To constitute a "qualified real property interest," the
           grant must satisfy § 170(h)(2)(C)’s granted-in-perpetuity requirement, and to
           be "exclusively for conservation purposes," the grant must satisfy
           § 170(h)(5)(A)’s protected-in-perpetuity requirement.

       The Eleventh Circuit Court of Appeals confirmed in another recent case that the

contribution need only satisfy one of a number of different conservation purposes. Champion's

Retreat Golf Founders, LLC v. Commissioner, 959 F.3d 1033 (11th Cir. 2020).                Equally

important, the Eleventh Circuit held that the Conservation Deed need only protect that one

conservation purpose "BETTER" than having no deed. Certainly true here.

       Congress encourages conservation easements for a very good reason.            Conservation

easements actually ensure conservation much better than outright gifts of land because

conservation easements require perpetual restrictions against development.         By contrast, a

charity receiving an outright gift of undeveloped land can turnaround, sell the land to a developer

with no restrictions, and use the sales proceeds to pay salaries and other charitable expenses.

That congressional encouragement formed the heart of the Eleventh Circuit invalidating Treas.

Reg. § 1.170A-14(g)(6) in Hewitt v. Commissioner, 21 F.4th 1336, 1352 (11th Cir. 2021).

       Congress encourages conservation by recognizing as a deduction every dollar of value

lost from barring mining or any other development of that land forevermore. Every President

from Teddy Roosevelt through Ronald Reagan, Bill Clinton, Barack Obama, and Donald Trump

to Joe Biden's recent 30/30 initiative have recognized how important that conservation remains

to all of us. Any understatement of the full value discourages the conservation that Congress

tries to encourage and that we and all other species so badly need. Conservation only matters to

those who need clean air to breathe, clean water to drink, and farm fresh food to eat.

                                                 4
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       On each of its contributions, 1 Log Creek more than met all three requirements stated by

the law. That is, Section 170(h) defines a "Qualified Conservation Contribution" as the transfer

of a "Qualified Real Property Interest" to a "Qualified Organization" "Exclusively for [one or

more of four] Conservation Purpose[s]." Log Creek did that and more:

       (i)     "Qualified Real Property Interest." As the statute and the Eleventh Circuit Court
               of Appeals precedent in Pine Mountain establish, "Qualified Real Property
               Interest" only requires "a [one] restriction (in perpetuity)." Each of the four Log
               Creek Conservation Deeds impose at least 12 separate sets of restrictions – plus
               overarching prohibitions against any exercise of any retained right that may
               adversely affect the conservation purposes. Those restrictions, laid out in the
               legally enforceable Deeds of Conservation Easement, are perpetually binding
               under Georgia law.

       (ii)    "Qualified Organization." The statute defines this entity as, among other,
               charitable organizations under Internal Revenue Code Sections 501(c)(3) and
               509(a)(2). The IRS itself issued the IRS Exempt Organization Determination
               Letter specifically recognizing the Oconee River Land Trust (the charitable donee
               for each contribution), as qualifying under Sections 501(c)(3) and 509(a)(2). The
               Oconee River Land Trusts possesses the experience, expertise, and ability to
               ensure the perpetual protection of the vulnerable properties.

       (iii)   "Exclusively for Conservation Purposes." As the statute and Eleventh Circuit
               precedent in Champions Retreat establish, the Conservation Deed must only
               protect (in perpetuity) one or more of four listed conservation purposes. Of
               relevance here, all four Log Creek Conservation Deeds protect "relatively natural
               habitat for plants, wildlife, and similar ecosystems," scenic open space, and open
               space that furthers any one of many "Federal, State, or local conservation
               policies." Satisfaction of any one purpose or policy satisfies the statute.

       Five documents for each tract attached to this return for the 2020 Conservation

Contributions satisfy all elements of Code Section 170(h) and its regulations. They include the

Conservation Deeds (Ex. A), the Environmental Studies (Ex. B), the Appraisals and underlying

geological data (Ex. C), the "Letters of Acknowledgement" from the Oconee River Land Trust

(Ex. D), and the Form 8283 Appraisal Summaries included as part of the IRS return form.



1
  The Townleys and Log Creek also made a conservation contribution protecting a third potential
mining property in 2019 but, unbeknownst to the Townleys, the County adopted a plan that
protected that river property and so, the Townleys are not asking for a charitable deduction on
that property on that contribution.
                                               5
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       Those appraisals prove the enormous 2018 and 2019 mining development value that Log

Creek, the Townleys, and their children's children's children sacrificed forevermore. The fair

market values of what they contributed to the Oconee River Land Trust were at least

$46,399,000 for the tract in Warren County, $66,290,000 for the tract in Taliaferro County and

$53,760,000 for the tract in Wilkes County. Under the statutory Congressional encouragement

Log Creek should receive a charitable contribution deduction in that amount or such greater

amount as the IRS, the Court, or the jury determines to be accurate. As a result, Tony and

Elizabeth overpaid their 2020 federal income taxes by $30,424,607 (or such greater amount that

results from any greater value determined by the IRS, District Court, or Jury) and claim a refund

of those overpaid 2020 federal income taxes (plus interest as provided by law). Subject to the

determination of a greater value, Tony and Elizabeth believe that their correct 2020 federal

income tax is $172,100,542. They previously paid that $172,100,542 to the IRS.

       Congress encourages conservation but the IRS hates it.        The IRS audited the 2018

conservation easement reported by Log Creek. The Townleys and their family partnership

simply asked the IRS to follow the law and the facts that govern that contribution. The IRS

came up with every excuse it could to justify ignoring the contribution altogether, just as it has

ZEROED out every other partnership. The Townleys and their advisors have made sure that

those excuses do not apply to these 2018 and 2019 reports. Those excuses remain inaccurate

and, in many instances, inconsistent. For example, the IRS second guesses the documentation of

the water resources despite the fact that the statute does not authorize that requirement, the

wildlife biologist prepared an environmental baseline report that the statute never required, that

complied with the permissive examples in the IRS's own regulation, and that the donor and

donee both certified as accurate. That information, and more, was provided to the Oconee River

Land Trust – whose representatives performed on-site inspections– prior to the donation.


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       Moreover, the IRS documentation attack relies on an invalid regulation, Treas. Reg.

§ 1.170A-14(g)(5).     The regulation expressly (i) contradicts two parts of the Congressional

encouragement statute; (ii) violated the Administrative Procedures Act under the Eleventh

Circuit precedent in Hewitt, 21 F.4th at 1350-4 (on the theory the IRS is above that law); and

(iii) makes up hidden rules after the game is over, as an excuse for ignoring all of the

conservation contributions Congress encouraged.

       Worse yet, the IRS ignores the 2018 contribution altogether based on the continuing

efforts to improve the original appraisal (by implementing suggested changes from two appraisal

reviews) and to correct a slight intrusion into the highly protected 200 foot creek and pond buffer

Special Natural Areas. Both instances, prove the genuine commitment to conservation. But

most remarkable, the IRS casts the original Georgia real estate appraiser (a Member of the

Appraisal Institute, the most respected appraisal institute in the nation) as not a "qualified

appraiser" because he relied on full-time qualified geologists -- while the IRS relies solely upon a

Chicago and Washington, D.C. appraiser who never set foot on this east Georgia property.

       The IRS questions the integrity of everyone who helped make the contribution possible,

but we must consider the credibility of how far the IRS goes to ignore the perpetual contribution

altogether at page 11 of the Revenue Agent's Report for the 2018 audit. There, the IRS states,

with no prior question, for the first time:

         The baseline documentation report must be accompanied by a statement signed
         by the donor and a representative of the donee clearly referencing the
         documentation and in substance saying the baseline document is an accurate
         representation of the protected property at the time of donation. [IRS Reg.]
         § 1.170A-14(g)(5)(k)(D). Such a statement was not included in baseline
         documentation provided by Taxpayer. There was no acknowledgement from
         the donee in the baseline report. (Emphasis added).
Could not be more inaccurate. Here is the certification page in the baseline documentation report

received and certified by the Oconee River Land Trust on December 21, 2018:



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       The Townleys and Log Creek ask that the IRS reconsider because conservation

contributions must be encouraged by full recognition in order to encourage other owners of

forests and farms to restrict their land forever and protect greenspace for generations to come. If

the IRS fails to follow the law and the facts again, the Townleys must ask a Federal District

Court and a jury of unbiased honest Georgians to do the right thing: follow the law and the facts

to the accurate value – not a penny more and not a penny less.

       Should you have any questions relating to the contribution, please call David D. Aughtry

who represents the Townleys and their family partnership at (404/658-5486). Thank you.




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                         Department of the Treasury - Internal Revenue Service
Form
       1040 U.S. Individual Income Tax Return                                           (99)

                                                                                                    2020                     OMB No. 1545-0074
                                                                                                                                                    IRS Use Only - Do not write or staple in this space.

Filing Status                 Single   X Married filing jointly             Married filing separately (MFS)           Head of household (HOH)               Qualifying widow(er) (QW)
Check only              If you checked the MFS box, enter the name of your spouse. If you checked the HOH or QW box, enter the child's name if the qualifying person is
one box.        a child but not your dependent. |
 Your first name and middle initial                                              Last name                                                                         Your social security number
TONY D.                                                                      TOWNLEY
 If joint return, spouse's first name and middle initial                         Last name                                                                        Spouse's social security number
ELIZABETH A.                                                                 TOWNLEY
 Home address (number and street). If you have a P.O. box, see instructions.                                                                     Apt. no.          Presidential Election Campaign
                                                                                                                                                                   Check here if you, or your
1280 SNOWS MILL ROAD                                                                                                                                               spouse if filing jointly, want $3 to
 City, town, or post office. If you have a foreign address, also complete spaces below.                                          State ZIP code                    go to this fund. Checking a box
BOGART                                                                                                                            GA30622                          below will not change your tax or
                                                                                                                                                                   refund.
 Foreign country name                                                                 Foreign province/state/county               Foreign postal code                             You          Spouse


At any time during 2020, did you receive, sell, send, exchange, or otherwise acquire any financial interest in any virtual currency?                                                 Yes       X No
Standard                Someone can claim:    You as a dependent        Your spouse as a dependent
Deduction                  Spouse itemizes on a separate return or you were a dual-status alien


Age/Blindness You:     Were born before January 2, 1956                             Are blind        Spouse:          Was born before January 2, 1956                 Is blind
Dependents (see instructions):                                                                  (2) Social security number       (3) Relationship to you        (4) u if qualifies for (see instructions):
If more                                                                                                                                                          Child tax credit    Credit for other dependents
than four       (1) First name                                  Last name
depend-         C                        G               TOWNLEY                                                             DAUGHTER                                  X
ents, see
instr. and
check
here
       |
                          1      Wages , salaries , tips, etc. Attach Form(s) W-2                                                        1
  Attach                  2 a Tax-exempt interest ~~~                     2a                    27,321. b Taxable interest ~~~~~~                                2b              1,503,302.
  Sch. B if                                                                                     74,165. b Ordinary dividends ~~~~~                                                  81,485.
                          3 a Qualified dividends ~~~~                    3a                                                                                     3b
  required.
                          4 a IRA distributions ~~~~~                     4a                                         b Taxable amount ~~~~~~                     4b
                          5 a Pensions and annuities ~~                   5a                                         b Taxable amount ~~~~~~                     5b
                          6 a Social security benefits ~~     6a                                 b Taxable amount                                          6b
Standard                  7 Capital gain or (loss). Attach Schedule D if required. If not required, check here ~~~~ |                                             7        935,802,322.
Deduction for -
                          8      Other income from Schedule 1, line 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                8         47,692,128.
¥ Single or Married
   filing separately,     9      Add lines 1, 2b, 3b, 4b, 5b, 6b, 7, and 8. This is your total income                        ~~~~~~~~~~~                    |     9        985,079,237.
   $12,400
                         10      Adjustments to income:
¥ Married filing
   jointly or                 a From Schedule 1, line 22 ~~~~~~~~~~~~~~~~~~~                                             10a                53,250.
   Qualifying
   widow(er),                 b Charitable contributions if you take the standard deduction. See instr. ~
                                                                                               10b
   $24,800
                           c Add lines 10a and 10b. These are your total adjustments to income ~~~~~~~~~~~ | 10c                                                                53,250.
¥ Head of
   household,            11 Subtract line 10c from line 9. This is your adjusted gross income ~~~~~~~~~~~~~ | 11                                                           985,025,987.
   $18,650
                         12 Standard deduction or itemized deductions (from Schedule A) ~~~~~~~~~~~~~~        12                                                           124,468,894.
¥ If you checked                 Qualified business income deduction. Attach Form 8995 or Form 8995-A                             ~~~~~~~~~~
   any box under         13                                                                                                                                      13
   Standard
   Deduction,            14      Add lines 12 and 13 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       14        124,468,894.
   see instructions.
                         15      Taxable income. Subtract line 14 from line 11.
                                                 If zero or less, enter -0-                                                            15        860,557,093.
LHA For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                                                          Form 1040 (2020)




013921 12-11-20
                      Case 3:22-cv-00107-CDL                                      AMENDED
                                                                                 Document 6-1 Filed 10/28/22                                          Page 12 of 666
Form 1040 (2020)      TONY D. & ELIZABETH A. TOWNLEY                                                                                                                                                 Page 2
 STMT 3               16     Tax (see instructions). Check if any from Form(s): 1 8814 2 4972 3                                                                    16       172,074,589.
                      17     Amount from Schedule 2, line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        17             5,064.
                      18     Add lines 16 and 17           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    18       172,079,653.
                      19     Child tax credit or credit for other dependents                   ~~~~~~~~~~~~~~~~~~~~~~~                                             19
                      20     Amount from Schedule 3, line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        20           185,430.
                      21     Add lines 19 and 20           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    21           185,430.
                      22     Subtract line 21 from line 18. If zero or less, enter -0-                 ~~~~~~~~~~~~~~~~~~~~                                        22       171,894,223.
                      23     Other taxes, including self-employment tax, from Schedule 2, line 10                            ~~~~~~~~~~~~                          23           161,002.
                      24     Add lines 22 and 23. This is your total tax ~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                               24       172,055,225.
                      25     Federal income tax withheld from:
                           a Form(s) W-2 ~~~~~~~~~~~~~~~~~~~~~~~~                                                     25a
                           b Form(s) 1099 ~~~~~~~~~~~~~~~~~~~~~~~~                                                    25b
                           c Other forms (see instructions) ~~~~~~~~~~~~~~~~ 25c
                           d Add lines 25a through 25c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          25d
                      26     2020 estimated tax payments and amount applied from 2019 return                                 STATEMENT 4
                                                                                                                                                       26         13,200,000.
¥ If you have a
  qualifying child,   27     Earned income credit (EIC) ~~~~~~~~~~~~~~~~~                                              27
  attach Sch. EIC.
¥ If you have         28     Additional child tax credit. Attach Schedule 8812 ~~~~~~                                  28
  nontaxable
  combat pay, see     29     American opportunity credit from Form 8863, line 8 ~~~~~                                  29
  instructions        30     Recovery rebate credit. See instructions                 ~~~~~~~~~~                       30
                      31     Amount from Schedule 3, line 13 ~~~~~~~~~~~~~~                                            31      185,000,000.
                      32     Add lines 27 through 31. These are your total other payments and refundable credits ~~ |                                              32       185,000,000.
                      33     Add lines 25d, 26, and 32. These are your total payments                          
                                                                                                                |                                  33       198,200,000.
Refund                34   If line 33 is more than line 24, subtract line 24 from line 33. This is the amount you overpaid                                        34        26,144,775.
                      35 a Amount of line 34 you want refunded to you. If Form 8888 is attached, check here  |                                                  35a
Direct deposit?
See instructions.     | b Routing number                                                 | c Type:        Checking    Savings
                      | d Account number
                      36     Amount of line 34 you want applied to your 2021 estimated tax |   36       26,144,775.
Amount                37     Subtract line 33 from line 24. This is the amount you owe now ~~~~~~~~~~~~~ |                                                         37
You Owe                      Note: Schedule H and Schedule SE filers, line 37 may not represent all of the taxes you owe for
For details on               2020. See Schedule 3, line 12e, and its instructions for details.
how to pay, see
instructions.         38 Estimated tax penalty (see instructions)  | 38
Third Party            Do you want to allow another person to discuss this return with the IRS? See
Designee                instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           |     X Yes. Complete below.                     No
                        Designee's                                                                Phone                                           Personal identification

                        name |      BRIDGET J. DUNK                                                 no. |  770-396-2200                              number (PIN)         |   99999
                        Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and belief, they are true,
                        correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                    Your signature                                                        Date               Your occupation                                             If the IRS sent you an Identity
                                                                                                                                                                             Protection PIN, enter it here
Here                                                                                                                                                                         (see inst.)
                                                                                                            EXECUTIVE

                    =
                                                                                                                                                                                       |
                        Spouse's signature. If a joint return, both must sign.             Date               Spouse's occupation                                               If the IRS sent your spouse
Joint return?
                                                                                                                                                                                an Identity Protection PIN,
See instructions.
Keep a copy for                                                                                                                                                                 enter it here (see inst.)
your records.
                                                                                                                                                                                       |
                        Phone no.   706-353-8107                                           Email address   RWILLS@OTFLLC.COM
Paid     Preparer's name                                                Preparer's signature                                Date                 PTIN

Preparer                                                                                                                                                                          Check if:
Use Only BRIDGET J. DUNK                                              BRIDGET J. DUNK                                     04/13/22                                                     Self-employed
                                                                                                                                                                    Phone no.

         | BENNETT THRASHER LLP                                                                                                                                    770-396-2200
Firm's
name

         | 3300 RIVERWOOD PARKWAY, #700                                                                                                                                         |     Firm's EIN
Firm's
address ATLANTA, GA 30339

Go to www.irs.gov/Form1040 for instructions and the latest information.                                                                                                                   Form 1040 (2020)




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                     Case 3:22-cv-00107-CDL                      AMENDED
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SCHEDULE 1                                                                                                                        OMB No. 1545-0074
                                    Additional Income and Adjustments to Income
(Form 1040)

Department of the Treasury
                                                  | Attach to Form 1040, 1040-SR, or 1040-NR.                                         2020
                                                                                                                                    Attachment
Internal Revenue Service               | Go to www.irs.gov/Form1040 for instructions and the latest information.                    Sequence No. 01
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                                            Your social security number
TONY D. & ELIZABETH A. TOWNLEY
 Part I Additional Income
   1       Taxable refunds, credits, or offsets of state and local income taxes       STMT 5     STMT 7
                                                                                  ~~~~~~~~~~~~~~~~~~~~~                     1                         0.
   2a      Alimony received ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  2a
       b   Date of original divorce or separation agreement (see instructions) |
   3       Business income or (loss). Attach Schedule C ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    3       -469,194.
   4       Other gains or (losses). Attach Form 4797 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     4        -12,564.
   5       Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E ~~~~~~~~~~~          5     47,140,694.
   6       Farm income or (loss). Attach Schedule F ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      6        -37,862.
   7       Unemployment compensation        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         7
   8       Other income. List type and amount       |
           ZAXBY'S FRANCHISING, LLC                                                                     1,071,054.          8      1,071,054.
   9       Combine lines 1 through 8. Enter here and on Form 1040, 1040-SR, or 1040-NR, line 8                  9     47,692,128.
 Part II       Adjustments to Income
 10        Educator expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  10
 11        Certain business expenses of reservists, performing artists, and fee-basis government officials. Attach
           Form 2106 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      11
 12        Health savings account deduction. Attach Form 8889 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  12
 13        Moving expenses for members of the Armed Forces. Attach Form 3903 ~~~~~~~~~~~~~~~~~~~                            13
 14        Deductible part of self-employment tax. Attach Schedule SE      ~~~~~~~~~~~~~~~~~~~~~~~~                         14            32,746.
 15        Self-employed SEP, SIMPLE, and qualified plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    15
 16        Self-employed health insurance deduction     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   16            20,504.
 17        Penalty on early withdrawal of savings   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     17


                                                                                                              " "
 18a       Alimony paid                                                    18a
       b   Recipient's SSN ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        |
       c   Date of original divorce or separation agreement (see instructions)    |
 19        IRA deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    19
 20        Student loan interest deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          20
 21        Tuition and fees deduction. Attach Form 8917 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    21
 22        Add lines 10 through 21. These are your adjustments to income. Enter here and
           on Form 1040, 1040-SR, or 1040-NR, line 10a                                      22            53,250.
LHA        For Paperwork Reduction Act Notice, see your tax return instructions.                                             Schedule 1 (Form 1040) 2020




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                     Case 3:22-cv-00107-CDL                     AMENDED
                                                               Document 6-1 Filed 10/28/22                  Page 14 of 666
SCHEDULE 2                                                                                                                  OMB No. 1545-0074
                                                                 Additional Taxes
                                                                                                                               202002
(Form 1040)
Department of the Treasury                        | Attach to Form 1040, 1040-SR, or 1040-NR.
                                                                                                                             Attachment
Internal Revenue Service               | Go to www.irs.gov/Form1040 for instructions and the latest information.             Sequence No.

Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                                     Your social security number
TONY D. & ELIZABETH A. TOWNLEY
 Part I Tax
   1       Alternative minimum tax. Attach Form 6251 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               1                5,064.
   2       Excess advance premium tax credit repayment. Attach Form 8962      ~~~~~~~~~~~~~~~~~~~~~                  2
   3       Add lines 1 and 2. Enter here and on Form 1040, 1040-SR, or 1040-NR, line 17              3                5,064.
 Part II          Other Taxes
   4       Self-employment tax. Attach Schedule SE ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                4              65,492.
   5       Unreported social security and Medicare tax from Form:         a       4137      b      8919 ~~~~~~~~~    5
   6       Additional tax on IRAs, other qualified retirement plans, and other tax-favored accounts. Attach Form
           5329 if required   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         6
   7a      Household employment taxes. Attach Schedule H         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       7a
       b   Repayment of first-time homebuyer credit from Form 5405. Attach Form 5405 if required   ~~~~~~~~~~        7b
   8       Taxes from:       a X Form 8959          b X Form 8960
           c        Instructions; enter code(s)    SEE STATEMENT 8                                                   8              95,510.
   9       Section 965 net tax liability installment from Form 965-A   ~~~~~~~~~~~           9
 10        Add lines 4 through 8. These are your total other taxes. Enter here and on Form
           1040 or 1040-SR, line 23, or Form 1040-NR, line 23b                          10            161,002.
LHA        For Paperwork Reduction Act Notice, see your tax return instructions.                                      Schedule 2 (Form 1040) 2020




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SCHEDULE 3                                                                                                                    OMB No. 1545-0074
                                                 Additional Credits and Payments
(Form 1040)

Department of the Treasury
                                                  | Attach to Form 1040, 1040-SR, or 1040-NR.                                    2020
                                                                                                                               Attachment
Internal Revenue Service               | Go to www.irs.gov/Form1040 for instructions and the latest information.               Sequence No. 03
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                                     Your social security number
TONY D. & ELIZABETH A. TOWNLEY
Part I Nonrefundable Credits
   1       Foreign tax credit. Attach Form 1116 if required ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         1                             8.
   2       Credit for child and dependent care expenses. Attach Form 2441 ~~~~~~~~~~~~~~~~~~~~~                    2
   3       Education credits from Form 8863, line 19    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           3
   4       Retirement savings contributions credit. Attach Form 8880    ~~~~~~~~~~~~~~~~~~~~~~~~                   4
   5       Residential energy credits. Attach Form 5695                             5
   6       Other credits from Form:        a X 3800         b    8801        c                                     6               185,422.
   7       Add lines 1 through 6. Enter here and on Form 1040, 1040-SR, or 1040-NR, line 20           7               185,430.
Part II       Other Payments and Refundable Credits
   8       Net premium tax credit. Attach Form 8962     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           8
   9       Amount paid with request for extension to file (see instructions) ~~~~~~~~~~~~~~~~~~~~~~                9        185,000,000.
 10        Excess social security and tier 1 RRTA tax withheld ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        10
 11        Credit for federal tax on fuels. Attach Form 4136                          11
 12        Other payments or refundable credits:
       a   Form 2439 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  12a
       b   Qualified sick and family leave credits from Schedule(s) H and
           Form(s) 7202 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               12b
       c   Health coverage tax credit from Form 8885 ~~~~~~~~~~~~~~~~                  12c
       d   Other:                                                                     12d
       e   Deferral for certain Schedule H or SE filers (see instructions) ~~~~~~~~
                                                               12e
       f   Add lines 12a through 12e ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      12f
 13        Add lines 8 through 12f. Enter here and on Form 1040, 1040-SR, or 1040-NR, line 31          13       185,000,000.
LHA        For Paperwork Reduction Act Notice, see your tax return instructions.                                         Schedule 3 (Form 1040) 2020




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SCHEDULE A                                                           Itemized Deductions                                                                        OMB No. 1545-0074



                                                                                                                                                                 2020
(Form 1040)
                                              | Go to www.irs.gov/ScheduleA for instructions and the latest information.
                                                                | Attach to Form 1040 or 1040-SR.                                                               Attachment
Department of the Treasury
Internal Revenue Service       (99)    Caution: If you are claiming a net qualified disaster loss on Form 4684, see the instructions for line 16.               Sequence No.   07
Name(s) shown on Form 1040 or 1040-SR                                                                                                                Your social security number


TONY D. & ELIZABETH A. TOWNLEY
Medical                        Caution: Do not include expenses reimbursed or paid by others.
and                    1       Medical and dental expenses (see instructions) ~~~~~~~~~~~~~~~~~                                    1
Dental                 2       Enter amount from Form 1040 or 1040-SR, line 11 ~~~~
                                                                               2
Expenses               3       Multiply line 2 by 7.5% (0.075) ~~~~~~~~~~~~~~~~~~~~~~~~~~                        3
                       4       Subtract line 3 from line 1. If line 3 is more than line 1, enter -0-                                   4
Taxes You              5       State and local taxes.
Paid                         a State and local income taxes or general sales taxes. You may
                               include either income taxes or general sales taxes on line 5a,
                               but not both. If you elect to include general sales taxes instead
                                                                   SEE STATEMENT 9 |
                               of income taxes, check this box ~~~~~~~~~~~~~~~~~~~~                                                 11,011,888.
                                                                                                                                   5a
                             b State and local real estate taxes (see instructions) ~~~~~~~~~~~~~~~~                               5b        49,780.
                             c State and local personal property taxes ~~~~~~~~~~~~~~~~~~~~~                                       5c
                             d Add lines 5a through 5c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 11,061,668.
                                                                                                                                   5d
                             e Enter the smaller of line 5d or $10,000 ($5,000 if married filing
                               separately) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     5e        10,000.
                       6       Other taxes. List type and amount |
                                                                                   6
                       7       Add lines 5e and 6                                                                 7           10,000.
Interest You            8      Home mortgage interest and points. If you didn't use all of your home
Paid                           mortgage loan(s) to buy, build, or improve your home, see
Caution: Your                  instructions and check this box ~~~~~~~~~~~~~~~~~~~~ |
mortgage interest
deduction may be
                             a Home mortgage interest and points reported to you on Form 1098. See
limited (see                   instructions if limited ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              8a
instructions).
                             b Home mortgage interest not reported to you on Form 1098. See
                               instructions if limited. If paid to the person from whom you bought the
                               home, see instructions and show that person's name, identifying no., and
                               address |


                                                                                                                                   8b
                             c Points not reported to you on Form 1098. See instructions for
                               special rules ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    8c
                             d Mortgage insurance premiums (see instructions) ~~~~~~~~~~~~~~~~                                     8d
                             e Add lines 8a through 8d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                8e
                       9       Investment interest. Attach Form 4952 if required. See
                               instructions  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~    9
                      10       Add lines 8e and 9                                                                 10
Gifts to              11       Gifts by cash or check. If you made any gift of $250 or more,
Charity                        see instructions   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 11        45,524.               STMT 10
Caution: If you       12       Other than by cash or check. If you made any gift of $250 or more,
made a gift and                                                                 12  226,583.
                               see instructions. You must attach Form 8283 if over $500 ~~~~~~~~~~~~
got a benefit for it,
                         Carryover from prior year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 124,186,787.
see instructions. 13                                                            13
                      14 Add lines 11 through 13  124,458,894.
                                                                                           14
Casualty and          15       Casualty and theft loss(es) from a federally declared disaster (other than net qualified
Theft Losses                   disaster losses). Attach Form 4684 and enter the amount from line 18 of that form. See
                               instructions 
                                            
                                                                                                                                      15
Other                 16       Other - from list in instructions. List type and amount |
Itemized
Deductions
                                                                                                                                                           16
Total                 17       Add the amounts in the far right column for lines 4 through 16. Also, enter this amount on
Itemized                       Form 1040 or 1040-SR, line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          124,468,894.
                                                                                                                                                          17
Deductions            18       If you elect to itemize deductions even though they are less than your standard
                  deduction, check this box                                                                   |
LHA For Paperwork Reduction Act Notice, see the Instructions for Forms 1040 and 1040-SR.                                                            Schedule A (Form 1040) 2020
019501 12-09-20
                      Case 3:22-cv-00107-CDL                         AMENDED
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SCHEDULE B                                                                                                                                       OMB No. 1545-0074
                                                     Interest and Ordinary Dividends
(Form 1040)

Department of the Treasury
                                          | Go to www.irs.gov/ScheduleB for instructions and the latest information.                               2020
                                                                                                                                                 Attachment
                                                                                                                                                      08
Internal Revenue Service   (99)                                  | Attach to Form 1040 or 1040-SR.                                               Sequence No.
Name(s) shown on return                                                                                                                 Your social security number


TONY D. & ELIZABETH A. TOWNLEY
Part I    1 List name of payer. If any interest is from a seller-financed mortgage and the buyer used the                                              Amount
                              property as a personal residence, see the instructions and list this interest first. Also, show that
Interest
                              buyer's social security number and address |
                              SEE STATEMENT 11                                                                                                   1,536,550.




                                                                                                                                         1


Note: If you
received a Form
1099-INT,
Form 1099-OID,
or substitute
statement from
a brokerage firm,            SUBTOTAL FOR LINE 1                                                                                                 1,536,550.
list the firm's
name as the                  TAX-EXEMPT INTEREST                                                    SEE STATEMENT 12                               -27,321.
payer and enter              ABP ADJUSTMENT                                                         SEE STATEMENT 13                                -5,927.
the total interest
shown on that            2    Add the amounts on line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2       1,503,302.
form.
                         3    Excludable interest on series EE and I U.S. savings bonds issued after 1989.
                              Attach Form 8815 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3
                         4    Subtract line 3 from line 2. Enter the result here and on Form 1040 or 1040-SR, line 2b  |              4       1,503,302.
                        Note: If line 4 is over $1,500, you must complete Part III.                                                                     Amount
Part II                  5 List name of payer |
                             COMPUTERSHARE INC.                                                                                                             70.
Ordinary                     VANGUARD #9138                                                                                                             78,607.
Dividends
                             SYNOVUS TRUST CO                                                                                                              227.
                             FROM K-1 - PLUCKED CHICKEN, INC.                                                                                            2,041.
                             FROM K-1 - CLUCKZ HOLDINGS, LLC                                                                                               128.
                             FROM K-1 - ZAXBY'S OPERATING COMPANY, LP (TDT)                                                                                389.
                             FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                                                                                         23.
                                                                                                                                         5
Note: If you
received a Form
1099-DIV or
substitute
statement from
a brokerage firm,
list the firm's
name as the
payer and enter
the ordinary
dividends shown
on that form.

                         6    Add the amounts on line 5. Enter the total here and on Form 1040 or 1040-SR, line 3b  |                6              81,485.
                        Note: If line 6 is over $1,500, you must complete Part III.
Part III                You must complete this part if you (a) had over $1,500 of taxable interest or ordinary dividends; (b) had a
                                                                                                                                                             Yes      No
                        foreign account; or (c) received a distribution from, or were a grantor of, or a transferor to, a foreign trust.
Foreign                  7a At any time during 2020, did you have a financial interest in or signature authority over a financial account (such
Accounts                      as a bank account, securities account, or brokerage account) located in a foreign country? See instructions ~~~                         X
and Trusts                    If "Yes," are you required to file FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR),
Caution: If                   to report that financial interest or signature authority? See FinCEN Form 114 and its instructions for filing
required, failure             requirements and exceptions to those requirements ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
to file FinCEN
Form 114 may              b If you are required to file FinCEN Form 114, enter the name of the foreign country where the financial account
result in
substantial                  is located ~~~~~~~~~~~~~~ |
penalties. See           8    During 2020, did you receive a distribution from, or were you the grantor of, or transferor to, a foreign trust?
instructions.
027501 11-05-20               If "Yes," you may have to file Form 3520. See instructions                                                   X
LHA      For Paperwork Reduction Act Notice, see your tax return instructions.                                                       Schedule B (Form 1040) 2020
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SCHEDULE C                                                 Profit or Loss From Business                                                                         OMB No. 1545-0074

(Form 1040)
Department of the Treasury
                                                                           (Sole Proprietorship)
                                                  | Go to www.irs.gov/ScheduleC for instructions and the latest information.                                      202009
                                                                                                                                                                  Attachment
Internal Revenue Service (99)           | Attach to Form 1040, 1040-SR, 1040-NR, or 1041; partnerships generally must file Form 1065.                             Sequence No.
Name of proprietor                                                                                                                                Social security number (SSN)


TONY D. TOWNLEY
 A       Principal business or profession, including product or service (see instructions)                                                        B Enter code from instructions
MANAGEMENT                                                                                                                                                      |     561210
 C       Business name. If no separate business name, leave blank.                                                                                D Employer ID number (EIN) (see instr.)
OTF MANAGEMENT, LLC
 E       Business address (including suite or room no.) |     1280 SNOWS MILL RD
                                                              11111111111111111111111111111111111111111111
                                                              BOGART, GA 30622
         City, town or post office, state, and ZIP code
 F       Accounting method:          (1) X Cash            (2)        Accrual (3)        Other (specify) |
                                                                                                                11111111111111111111111111
 G       Did you "materially participate" in the operation of this business during 2020? If "No," see instructions for limit on losses ~~~~~~~~~ X Yes No
 H       If you started or acquired this business during 2020, check here   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 |
 I       Did you make any payments in 2020 that would require you to file Form(s) 1099? See instructions         ~~~~~~~~~~~~~~~~~                                X Yes             No
 J       If "Yes," did you or will you file required Form(s) 1099?                                                            X Yes             No
 Part I         Income
 1       Gross receipts or sales. See instructions for line 1 and check the box if this income was reported to you on Form W-2
         and the "Statutory employee" box on that form was checked      ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    |                1            780,820.
 2       Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         2
 3       Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     3            780,820.
 4       Cost of goods sold (from line 42) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  4
 5       Gross profit. Subtract line 4 from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             5            780,820.
 6       Other income, including federal and state gasoline or fuel tax credit or refund (see instructions) ~~~~~~~~~~~~~~~                            6
 7       Gross income. Add lines 5 and 6                                                              |        7            780,820.
 Part II        Expenses. Enter expenses for business use of your home only on line 30.
 8       Advertising ~~~~~~~~~~~                     8                                 18       Office expense ~~~~~~~~~~~~~~                         18              15,248.
 9       Car and truck expenses                                                        19       Pension and profit-sharing plans ~~~~~~               19
         (see instructions) ~~~~~~~~~                9                                 20       Rent or lease (see instructions):
10       Commissions and fees      ~~~~~~            10                                      a Vehicles, machinery, and equipment ~~~~               20a              2,252.
11       Contract labor (see instructions) ~~        11                  225.                b Other business property ~~~~~~~~~                     20b            172,500.
12       Depletion ~~~~~~~~~~~~                      12                                21       Repairs and maintenance ~~~~~~~~~                     21             42,459.
13       Depreciation and section 179                                                  22       Supplies (not included in Part III) ~~~~~             22             96,358.
         expense deduction (not included in                                            23       Taxes and licenses ~~~~~~~~~~~~                       23             13,130.
         Part III) (see instructions) ~~~~~          13            19,393.             24       Travel and meals:
14       Employee benefit programs (other                                                    a Travel ~~~~~~~~~~~~~~~~~                              24a                 1,925.
         than on line 19) ~~~~~~~~~~                 14                                      b Deductible meals (see
15       Insurance (other than health) ~~~~          15            13,812.                      instructions)~~~~~~~~~~~~~~~                         24b                 18.
16       Interest (see instructions):                                                  25       Utilities ~~~~~~~~~~~~~~~~~                           25             12,520.
     a   Mortgage (paid to banks, etc.) ~~~         16a              4,395.            26       Wages (less employment credits) ~~~~~                 26            848,947.
     b   Other ~~~~~~~~~~~~~~                       16b                                27 a Other expenses (from line 48) ~~~~~~~                    27a
17       Legal and professional services        17             6,832.               b Reserved for future use                             27b
28       Total expenses before expenses for business use of home. Add lines 8 through 27a ~~~~~~~~~~~~~~~~~ |                                         28      1,250,014.
29       Tentative profit or (loss). Subtract line 28 from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   29       -469,194.
30       Expenses for business use of your home. Do not report these expenses elsewhere. Attach Form 8829
         unless using the simplified method. See instructions.
         Simplified method filers only: Enter the total square footage of (a) your home:
         and (b) the part of your home used for business:                                                                                 .
         Use the Simplified Method Worksheet in the instructions to figure the amount to enter on line 30 ~~~~~~~~~~~~~~                              30


         B                                                                                                                                    p
31       Net profit or (loss). Subtract line 30 from line 29.


                                                                                                                                              m
           If a profit, enter on both Schedule 1 (Form 1040), line 3, and on Schedule SE, line 2. (If you


         B                                                                                                                                    o
         checked the box on line 1, see instructions). Estates and trusts, enter on Form 1041, line 3.                                                31         -469,194.


                                                                                                                                              p
       If a loss, you must go to line 32.


         B                                                                                                                                    n
                                                                                                                                              m
32  If you have a loss, check the box that describes your investment in this activity. See instructions.


                                                                                                                                              n
       If you checked 32a, enter the loss on both Schedule 1 (Form 1040), line 3, and on Schedule                                                     32a     X     All investment
                                                                                                                                                                    is at risk.



                                                                                                                                              o
    SE, line 2. (If you checked the box on line 1, see the line 31 instructions). Estates and trusts, enter on                                                      Some investment



         B
                                                                                                                                                      32b           is not at risk.
    Form 1041, line 3.
       If you checked 32b, you must attach Form 6198. Your loss may be limited.
LHA For Paperwork Reduction Act Notice, see the separate instructions.                                                                               Schedule C (Form 1040) 2020
020001 11-16-20
                       Case 3:22-cv-00107-CDL                                AMENDED
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SCHEDULE D                                                           Capital Gains and Losses                                                  OMB No. 1545-0074

(Form 1040)
Department of the Treasury
                                                           | Attach to Form 1040, 1040-SR, or 1040-NR.
                                              | Go to www.irs.gov/ScheduleD for instructions and the latest information.                        2020
                                                                                                                                                 Attachment
Internal Revenue Service (99)
                                               | Use Form 8949 to list your transactions for lines 1b, 2, 3, 8b, 9, and 10.                      Sequence No.   12
Name(s) shown on return                                                                                                              Your social security number


TONY D. & ELIZABETH A. TOWNLEY
Did you dispose of any investment(s) in a qualified opportunity fund during the tax year?             Yes        X No
If "Yes," attach Form 8949 and see its instructions for additional requirements for reporting your gain or loss.

 Part I        Short-Term Capital Gains and Losses - Generally Assets Held One Year or Less (see instructions)
See instructions for how to figure the amounts to                                                                          (g)                   (h) Gain or (loss)
enter on the lines below.                                                        (d)                 (e)              Adjustments              Subtract column (e)
                                                                              Proceeds              Cost          to gain or loss from         from column (d) and
This form may be easier to complete if you round off                        (sales price)     (or other basis)    Form(s) 8949, Part I,         combine the result
cents to whole dollars.                                                                                            line 2, column (g)             with column (g)
1a      Totals for all short-term transactions reported on Form 1099-B
        for which basis was reported to the IRS and for which you have
        no adjustments (see instructions). However, if you choose to
        report all these transactions on Form 8949, leave this line blank
        and go to line 1b   
1b      Totals for all transactions reported on Form(s)
        8949 with Box A checked                                    489,910.            252,203.                                            237,707.
 2      Totals for all transactions reported on Form(s)
        8949 with Box B checked 
 3      Totals for all transactions reported on Form(s)
        8949 with Box C checked 
 4      Short-term gain from Form 6252 and short-term gain or (loss) from Forms 4684, 6781, and 8824 ~~~~~~~~                         4
 5      Net short-term gain or (loss) from partnerships, S corporations, estates, and trusts
                                                 SEE STATEMENT 15
        from Schedule(s) K-1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            5                15,703.
 6      Short-term capital loss carryover. Enter the amount, if any, from line 8 of your Capital Loss
        Carryover Worksheet in the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   6    (                          )
 7      Net short-term capital gain or (loss). Combine lines 1a through 6 in column (h). If you have any long-term
        capital gains or losses, go to Part II below. Otherwise, go to Part III on page 2                            7              253,410.
 Part II Long-Term Capital Gains and Losses - Generally Assets Held More Than One Year (see instructions)
See instructions for how to figure the amounts to                                                                           (g)                  (h) Gain or (loss)
enter on the lines below.                                                        (d)                 (e)               Adjustments             Subtract column (e)
                                                                              Proceeds              Cost           to gain or loss from        from column (d) and
This form may be easier to complete if you round off                        (sales price)     (or other basis)    Form(s) 8949, Part II,        combine the result
cents to whole dollars.                                                                                             line 2, column (g)            with column (g)
8a      Totals for all long-term transactions reported on Form 1099-B
        for which basis was reported to the IRS and for which you have
        no adjustments (see instructions). However, if you choose to
        report all these transactions on Form 8949, leave this line blank
        and go to line 8b   
8b      Totals for all transactions reported on Form(s)
        8949 with Box D checked                                       10,000.            10,478.                                                  <478.>
 9      Totals for all transactions reported on Form(s)
        8949 with Box E checked 
10      Totals for all transactions reported on Form(s)
        8949 with Box F checked 
11      Gain from Form 4797, Part I; long-term gain from Forms 2439 and 6252; and long-term gain or (loss)
                                                      SEE STATEMENT 14
        from Forms 4684, 6781, and 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      11         2,841,493.
12      Net long-term gain or (loss) from partnerships, S corporations, estates, and trusts from
                                               SEE STATEMENT 16
        Schedule(s) K-1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12         932707897.
13      Capital gain distributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       13
14      Long-term capital loss carryover. Enter the amount, if any, from line 13 of your Capital Loss Carryover
        Worksheet in the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      14 (                             )
15      Net long-term capital gain or (loss). Combine lines 8a through 14 in column (h). Then, go to
        Part III on page 2                                                            15         935548912.
LHA      For Paperwork Reduction Act Notice, see your tax return instructions.                                                    Schedule D (Form 1040) 2020

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Schedule D (Form 1040) 2020                    TONY D. & ELIZABETH A. TOWNLEY                                                              Page   2
 Part III         Summary


16    Combine lines 7 and 15 and enter the result         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              16        935802322.

      ¥     If line 16 is a gain, enter the amount from line 16 on Form 1040, 1040-SR, or 1040-NR, line 7.
            Then, go to line 17 below.
      ¥     If line 16 is a loss, skip lines 17 through 20 below. Then, go to line 21. Also be sure to complete
            line 22.
      ¥     If line 16 is zero, skip lines 17 through 21 below and enter -0- on Form 1040, 1040-SR, or
            1040-NR, line 7. Then, go to line 22.


17    Are lines 15 and 16 both gains?
          X Yes. Go to line 18.
              No. Skip lines 18 through 21, and go to line 22.


18    If you are required to complete the 28% Rate Gain Worksheet (see instructions), enter the
      amount, if any, from line 7 of that worksheet       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            J   18


19    If you are required to complete the Unrecaptured Section 1250 Gain Worksheet (see
      instructions), enter the amount, if any, from line 18 of that worksheet    SEE STATEMENT 17
                                                                                 ~~~~~~~~~~~~~~~~                 J   19        2,721,241.

20    Are lines 18 and 19 both zero or blank and are you not filing Form 4952?


              Yes. Complete the Qualified Dividends and Capital Gain Tax Worksheet in the instructions
              for Forms 1040 and 1040-SR, line 16. Don't complete lines 21 and 22 below.

          X No. Complete the Schedule D Tax Worksheet in the instructions. Don't complete lines 21
              and 22 below.


21    If line 16 is a loss, enter here and on Form 1040, 1040-SR, or 1040-NR, line 7, the smaller of:


                                                                   p
                                                                   m
                                                                   o
      ¥     The loss on line 16; or                                    ~~~~~~~~~~~~~~~~~~~~~~~~                       21   (                          )
      ¥     ($3,000), or if married filing separately, ($1,500)


      Note: When figuring which amount is smaller, treat both amounts as positive numbers.


22    Do you have qualified dividends on Form 1040, 1040-SR, or 1040-NR, line 3a?


              Yes. Complete the Qualified Dividends and Capital Gain Tax Worksheet in the instructions
              for Forms 1040 and 1040-SR, line 16.


              No. Complete the rest of Form 1040, 1040-SR, or 1040-NR.


                                                                                                                       Schedule D (Form 1040) 2020




020512 12-23-20
                      Case 3:22-cv-00107-CDL                                     AMENDED
                                                                                Document 6-1 Filed 10/28/22                                          Page 21 of 666

                                         Sales and Other Dispositions of Capital Assets                                                                               OMB No. 1545-0074

Form      8949                             | Go to www.irs.gov/Form8949 for instructions and the latest information.
                                                                                                                                                                          2020
Department of the Treasury                                                                                                                                               Attachment
Internal Revenue Service             | File with your Schedule D to list your transactions for lines 1b, 2, 3, 8b, 9, and 10 of Schedule D.                              Sequence No.   12A
Name(s) shown on return                                                                                                                                           Social security number or
                                                                                                                                                                  taxpayer identification no.
TONY D. & ELIZABETH A. TOWNLEY
Before you check Box A, B, or C below, see whether you received any Form(s) 1099-B or substitute statement(s) from your broker. A substitute
statement will have the same information as Form 1099-B. Either will show whether your basis (usually your cost) was reported to the IRS by your
broker and may even tell you which box to check.
 Part I Short-Term. Transactions involving capital assets you held 1 year or less are generally short-term (see instructions). For long-term
           transactions, see page 2.
           Note: You may aggregate all short-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS and for which no adjustments or
           codes are required. Enter the totals directly on Schedule D, line 1a; you aren't required to report these transactions on Form 8949 (see instructions).
You must check Box A, B, or C below. Check only one box. If more than one box applies for your short-term transactions, complete a separate Form 8949, page 1, for each applicable box.
If you have more short-term transactions than will fit on this page for one or more of the boxes, complete as many forms with the same box checked as you need.
    X (A) Short-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS (see Note above)
        (B) Short-term transactions reported on Form(s) 1099-B showing basis wasn't reported to the IRS
        (C) Short-term transactions not reported to you on Form 1099-B
1                 (a)                                   (b)                   (c)                    (d)                     (e)       Adjustment, if any, to gain or          (h)
                                                                                                  Proceeds             Cost or other   loss. If you enter an amount Gain or (loss).
        Description of property                   Date acquired          Date sold or                                                  in column  (g), enter a code in
      (Example: 100 sh. XYZ Co.)                  (Mo., day, yr.)        disposed of            (sales price)          basis. See the                                  Subtract column (e)
                                                                                                                                       column (f). See instructions.
                                                                        (Mo., day, yr.)                              Note below and                                    from column (d) &
                                                                                                                     see Column (e) in     (f)             (g)          combine the result
                                                                                                                                                       Amount of
                                                                                                                      the instructions Code(s)         adjustment        with column (g)
    4600.098 SH -
    DUNKIN BRANDS GRP
    INC               VARIOUS 12/18/20 489,910. 252,203.                                                                                                                       237,707.




2 Totals. Add the amounts in columns (d), (e), (g), and (h) (subtract
  negative amounts). Enter each total here and include on your
     Schedule D, line 1b (if Box A above is checked), line 2 (if Box B
     above is checked), or line 3 (if Box C above is checked)                         |       489,910. 252,203.                                                                237,707.
Note: If you checked Box A above but the basis reported to the IRS was incorrect, enter in column (e) the basis as reported to the IRS, and enter an
adjustment in column (g) to correct the basis. See Column (g) in the separate instructions for how to figure the amount of the adjustment.
023011 12-11-20      LHA For Paperwork Reduction Act Notice, see your tax return instructions.                                                                              Form 8949 (2020)
                      Case 3:22-cv-00107-CDL                                     AMENDED
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Form 8949 (2020)                                                                                                                  Attachment Sequence No. 12A                           Page 2
Name(s) shown on return. Name and SSN or taxpayer identification no. not required if shown on page 1                                                             Social security number or
                                                                                                                                                                 taxpayer identification no.
TONY D. & ELIZABETH A. TOWNLEY
Before you check Box D, E, or F below, see whether you received any Form(s) 1099-B or substitute statement(s) from your broker. A substitute
statement will have the same information as Form 1099-B. Either will show whether your basis (usually your cost) was reported to the IRS by your
broker and may even tell you which box to check.
 Part II Long-Term. Transactions involving capital assets you held more than 1 year are generally long-term (see instructions). For short-term transactions,
           see page 1.
           Note: You may aggregate all long-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS and for which no adjustments or
           codes are required. Enter the totals directly on Schedule D, line 8a; you aren't required to report these transactions on Form 8949 (see instructions).
You must check Box D, E, or F below. Check only one box. If more than one box applies for your long-term transactions, complete a separate Form 8949, page 2, for each applicable box.
If you have more long-term transactions than will fit on this page for one or more of the boxes, complete as many forms with the same box checked as you need.
    X (D) Long-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS (see Note above)
        (E) Long-term transactions reported on Form(s) 1099-B showing basis wasn't reported to the IRS
        (F) Long-term transactions not reported to you on Form 1099-B
1                 (a)                                   (b)                   (c)                    (d)                     (e)       Adjustment, if any, to gain or          (h)
                                                                                                  Proceeds             Cost or other   loss. If you enter an amount Gain or (loss).
        Description of property                   Date acquired          Date sold or                                                  in column  (g), enter a code in
      (Example: 100 sh. XYZ Co.)                  (Mo., day, yr.)        disposed of            (sales price)          basis. See the                                  Subtract column (e)
                                                                                                                                       column (f). See instructions.
                                                                        (Mo., day, yr.)                              Note below and                                    from column (d) &
                                                                                                                     see Column (e) in     (f)             (g)          combine the result
                                                                                                                                                       Amount of
                                                                                                                      the instructions Code(s)         adjustment        with column (g)
    10000.000 SH -
    ATLANTA GA                                  04/16/18 11/02/20                                10,000.                 10,478.                                                     <478.>




2 Totals. Add the amounts in columns (d), (e), (g), and (h) (subtract
  negative amounts). Enter each total here and include on your
     Schedule D, line 8b (if Box D above is checked), line 9 (if Box E
     above is checked), or line 10 (if Box F above is checked)                        |          10,000.                 10,478.                                                     <478.>
Note: If you checked Box D above but the basis reported to the IRS was incorrect, enter in column (e) the basis as reported to the IRS, and enter an
adjustment in column (g) to correct the basis. See Column (g) in the separate instructions for how to figure the amount of the adjustment.
023012 12-11-20                                                                                                                                                              Form 8949 (2020)
                     Case 3:22-cv-00107-CDL                          AMENDED
                                                                    Document 6-1 Filed 10/28/22                       Page 23 of 666
SCHEDULE E                                              Supplemental Income and Loss                                                       OMB No. 1545-0074


                                                                                                                                             2020
(Form 1040)                         (From rental real estate, royalties, partnerships, S corporations, estates, trusts, REMICs, etc.)
Department of the Treasury                              | Attach to Form 1040, 1040-SR, 1040-NR, or 1041.                                    Attachment
Internal Revenue Service     (99)            | Go to www.irs.gov/ScheduleE for instructions and the latest information.                      Sequence No.   13
Name(s) shown on return                                                                                                          Your social security number

TONY D. & ELIZABETH A. TOWNLEY
 Part I Income or Loss From Rental Real Estate and Royalties Note: If you are in the business of renting personal property, use
               Schedule C. See instructions. If you are an individual, report farm rental income or loss from Form 4835 on page 2, line 40.
 A Did you make any payments in 2020 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~                           X Yes             No
 B If "Yes," did you or will you file required Form(s) 1099?                                            X Yes             No
 1a Physical address of each property (street, city, state, ZIP code)
A VARIOUS (FRAZER CREEK), OCONEE COUNTY, GA 30607
B VARIOUS (LANE CREEK), GA
C VARIOUS (OGEECHEE), GA
 1b         Type of Property            2 For each rental real estate property listed                                            Fair Rental Personal QJV
            (from list below)             above, report the number of fair rental and                                               Days     Use Days
                                          personal use days. Check the QJV box
A         1                               only if you meet the requirements to file as                                       A      366
B         4                               a qualified joint venture. See instructions.
                                                                                                                             B      366
C         5                                                                                                                  C      366
Type of Property:
1 Single Family Residence               3 Vacation/Short-Term Rental         5 Land             7 Self-Rental
2 Multi-Family Residence                4 Commercial                         6 Royalties        8 Other (describe)
Income:                                                                    Properties:                 A                    B                       C
  3      Rents received                                         3       640,764.            784,031.                  23,515.
  4      Royalties received                                       4
Expenses:
  5      Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         5
  6      Auto and travel (see instructions) ~~~~~~~~~~~~~~~~~~                             6
  7      Cleaning and maintenance ~~~~~~~~~~~~~~~~~~~~~                                    7
  8      Commissions         ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   8
  9      Insurance     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       9         43,011.            13,996.                      541.
10       Legal and other professional fees ~~~~~~~~~~~~~~~~~~                              10        60,727.           165,824.                    3,022.
11       Management fees            ~~~~~~~~~~~~~~~~~~~~~~~~~                              11
12       Mortgage interest paid to banks, etc. (see instructions) ~~~~~~~                  12
13       Other interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        13                                                           346.
14       Repairs  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           14       41,901.
15       Supplies ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           15       16,176.
16       Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             16       94,447.                                      14,130.
17       Utilities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         17        9,030.                330.
18       Depreciation expense or depletion        ~~~~~~~~~~~~~~~~~                        18      308,155.            141,291.
19       Other (list) |      STMT 18             STMT 19                                   19       10,487.              1,045.
20       Total expenses. Add lines 5 through 19 ~~~~~~~~~~~~~~~                            20      583,934.            322,486.                  18,039.
21       Subtract line 20 from line 3 (rents) and/or 4 (royalties). If result is a
         (loss), see instructions to find out if you must file Form 6198      ~~~~         21        56,830.           461,545.                    5,476.
22       Deductible rental real estate loss after limitation, if any, on
    Form 8582 (see instructions) ~~~~~~~~~~~~~~~~~~~~                       22 (  92,594.)(    49,216.)(                                                          )
23a Total of all amounts reported on line 3 for all rental properties ~~~~~~~~~~~~~~~  23a  1,448,310.
  b Total of all amounts reported on line 4 for all royalty properties ~~~~~~~~~~~~~~  23b
      c Total of all amounts reported on line 12 for all properties        ~~~~~~~~~~~~~~~~~                  23c
      d Total of all amounts reported on line 18 for all properties        ~~~~~~~~~~~~~~~~~                  23d      449,446.
  e Total of all amounts reported on line 20 for all properties ~~~~~~~~~~~~~~~~~                      23e             924,459.
24  Income. Add positive amounts shown on line 21. Do not include any losses ~~~~~~~~~~~~~~~~~~                                     24         523,851.
25 Losses. Add royalty losses from line 21 and rental real estate losses from line 22. Enter total losses here ~~~~~                25 (       141,810.)
26       Total rental real estate and royalty income or (loss). Combine lines 24 and 25. Enter the result
         here. If Parts II, III, IV, and line 40 on page 2 do not apply to you, also enter this amount on
         Schedule 1 (Form 1040), line 5. Otherwise, include this amount in the total on line 41 on page 2                  26         382,041.
LHA       For Paperwork Reduction Act Notice, see the separate instructions.                                                     Schedule E (Form 1040) 2020

021491 12-01-20
                      Case 3:22-cv-00107-CDL                                   AMENDED
                                                                              Document 6-1 Filed 10/28/22                              Page 24 of 666
Schedule E (Form 1040) 2020                                                                                                       Attachment Sequence No. 13                  Page 2
Name(s) shown on return. Do not enter name and social security number if shown on page 1.
                                                                                                                                                     Your social security number

TONY D. & ELIZABETH A. TOWNLEY
Caution: The IRS compares amounts reported on your tax return with amounts shown on Schedule(s) K-1.
 Part II          Income or Loss From Partnerships and S Corporations - Note: If you report a loss, receive a distribution, dispose of
                  stock, or receive a loan repayment from an S corporation, you must check the box in column (e) on line 28 and attach the required basis
                  computation. If you report a loss from an at-risk activity for which any amount is not at risk, you must check the box in column (f) on
                  line 28 and attach Form 6198. See instructions.
27     Are you reporting any loss not allowed in a prior year due to the at-risk or basis limitations, a prior year unallowed loss from a
       passive activity (if that loss was not reported on Form 8582), or unreimbursed partnership expenses? If you answered "Yes,"
       see instructions before completing this section  X Yes                                                                             No
                                                                              (b) Enter P for (c) Check        (d) Employer          (e) Check if                       (f) Check if
28                                    (a) Name                                 partnership; S if foreign                           basis computation                    any amount is
                                                                             for S corporation partnership identification number       is required                        not at risk

 A         SEE STATEMENT 23
 B
 C
 D
                             Passive Income and Loss                                                                   Nonpassive Income and Loss
                  (g) Passive loss allowed                        (h) Passive income           (i) Nonpassive loss       (j) Section 179 expense      (k) Nonpassive income
                                                                                                  allowed (see
              (attach Form 8582 if required)                      from Schedule K-1              Schedule K-1 )         deduction from Form 4562        from Schedule K-1
 A
 B
 C
 D
29a    Totals ~~~~                                                                                                                                         51,879,351.
   b   Totals ~~~~                          26,409.                                            5,094,289.
30     Add columns (h) and (k) of line 29a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    30 51,879,351.
31     Add columns (g), (i), and (j) of line 29b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               31 ( 5,120,698. )
32     Total partnership and S corporation income or (loss). Combine lines 30 and 31                                                  32 46,758,653.
 Part III Income or Loss From Estates and Trusts
                                                                                                                                                               (b) Employer
33                                                                            (a) Name                                                                     identification number

 A     ELIZABETH A. TOWNLEY TRUST
 B     TONY D. TOWNLEY TRUST
                                         Passive Income and Loss                                                                 Nonpassive Income and Loss
               (c) Passive deduction or loss allowed                                  (d) Passive income               (e) Deduction or loss              (f) Other income from
                   (attach Form 8582 if required)                                     from Schedule K-1                 from Schedule K-1                     Schedule K-1

 A                                                                       0.
 B                                                                       0.
34a    Totals ~~~~~~~
   b   Totals ~~~~~~~
35     Add columns (d) and (f) of line 34a             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        35
36     Add columns (c) and (e) of line 34b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    36     (                           )
37     Total estate and trust income or (loss). Combine lines 35 and 36                                                        37
 Part IV Income or Loss From Real Estate Mortgage Investment Conduits (REMICs) - Residual Holder
                                                                   (b) Employer               (c) Excess inclusion   (d) Taxable income                     (e) Income from
38                      (a) Name                                                            from Schedules Q, line      (net loss) from
                                                               identification number          2c (see instructions)                                       Schedules Q, line 3b
                                                                                                                    Schedules Q, line 1b



39     Combine columns (d) and (e) only. Enter the result here and include in the total on line 41 below                                     39
 Part V        Summary              * ENTIRE DISPOSITION OF NONPASSIVE ACTIVITY

                                                                                                                                               9
40     Net farm rental income or (loss) from Form 4835 . Also, complete line 42 below ~~~~~~~~~~~~~~~~~                                              40
41     Total income or (loss). Combine lines 26, 32, 37, 39, and 40. Enter the result here and on Schedule 1 (Form 1040), line 5                     41    47,140,694.
42     Reconciliation of farming and fishing income. Enter your gross farming and fishing income
       reported on Form 4835, line 7; Schedule K-1 (Form 1065), box 14, code B; Schedule K-1
       (Form 1120-S), box 17, code AD; and Schedule K-1 (Form 1041), box 14, code F. See instructions.            42                5,148.
43     Reconciliation for real estate professionals. If you were a real estate
       professional (see instructions), enter the net income or (loss) you reported anywhere
       on Form 1040, Form 1040-SR, or Form 1040-NR from all rental real estate activities
       in which you materially participated under the passive activity loss rules                            43
021501 11-17-20                                                                                                                                    Schedule E (Form 1040) 2020
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                                                         Profit or Loss From Farming
                                                                                                                                                  OMB No. 1545-0074
SCHEDULE F
(Form 1040)
Department of the Treasury
Internal Revenue Service   (99)
                                        | Attach to Form 1040, Form 1040-SR, Form 1040-NR, Form 1041, or Form 1065.
                                           | Go to www.irs.gov/ScheduleF for instructions and the latest information.
                                                                                                                                                   202014
                                                                                                                                                   Attachment
                                                                                                                                                   Sequence No.
Name of proprietor                                                                                                                        Social security number (SSN)


LOG CREEK TRUST
A Principal crop or activity                                           B Enter code from Part IV         C Accounting method:             D Employer ID number (EIN)
TIMBER                                                                    |     113000                    X Cash         Accrual
E Did you "materially participate" in the operation of this business during 2020? If "No," see instructions for limit on passive losses          X Yes            No
F Did you make any payments in 2020 that would require you to file Form(s) 1099? see instructions            ~~~~~~~~~~~                            Yes      X No
G If "Yes," did you or will you file required Form(s) 1099?                              Yes                                     No
 Part I Farm Income - Cash Method. Complete Parts I and II (Accrual method. Complete Parts II and III, and Part I, line 9.)
  1a Sales of livestock and other resale items (see instructions) ~~~~~~~~~~~~~~                               1a
   b Cost or other basis of livestock or other items reported on line 1a ~~~~~~~~~~ 1b
   c Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              1c
  2 Sales of livestock, produce, grains, and other products you raised ~~~~~~~~~~~~~~~~~~~~~~~~                                             2
  3a Cooperative distributions (Form(s) 1099-PATR) ~~~~~            3a             3b Taxable amount ~~                                    3b
  4a Agricultural program payments (see instructions) ~~~~      4a               4b Taxable amount ~~                                      4b
  5a Commodity Credit Corporation (CCC) loans reported under election ~~~~~~~~~~~~~~~~~~~~~~~                                              5a
   b CCC loans forfeited ~~~~~~~~~~~~~~~~~~                     5b                                         5c Taxable amount ~~            5c
  6 Crop insurance proceeds and federal crop disaster payments (see instructions):
      a Amount received in 2020 ~~~~~~~~~~~~~~~~                  6a                                       6b Taxable amount ~~            6b
      c If election to defer to 2021 is attached, check here ~~~~~~~~~~~~~ |
                                                                     6d Amount deferred from 2019                                          6d
  7     Custom hire (machine work) income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           7
  8     Other income, including federal and state gasoline or fuel tax credit or refund (see instructions)          STMT 25
                                                                                                                     ~~~~~~~~~              8              9,022.
  9  Gross income. Add amounts in the right column (lines 1c, 2, 3b, 4b, 5a, 5c, 6b, 6d, 7, and 8).
     If you use the accrual method, enter the amount from Part III, line 50  |      9                                                  9,022.
 Part II Farm Expenses - Cash and Accrual Method. Do not include personal or living expenses. See instructions.
10      Car and truck expenses (see instructions).                                        23       Pension and profit-sharing plans        23
        Also attach Form 4562 ~~~~~~~~~~                   10                             24       Rent or lease (see instructions):
11      Chemicals ~~~~~~~~~~~~~~~~                         11                                  a Vehicles, machinery, equipment            24a
12      Conservation expenses (see instructions) ~         12                                  b Other (land, animals, etc.) ~~            24b
13      Custom hire (machine work)         ~~~~~~~         13                             25       Repairs and maintenance        ~~       25              2,149.
14      Depreciation and section 179                                                      26       Seeds and plants      ~~~~~~            26
        expense (see instructions)       ~~~~~~~~          14                             27       Storage and warehousing        ~~       27
15      Employee benefit programs                                                         28       Supplies ~~~~~~~~~~~                    28
        other than on line 23 ~~~~~~~~~~~                  15                             29       Taxes ~~~~~~~~~~~~                      29              8,150.
16      Feed ~~~~~~~~~~~~~~~~~~~                           16                             30       Utilities    ~~~~~~~~~~~                30
17      Fertilizers and lime ~~~~~~~~~~~~                  17                             31       Veterinary, breeding, and medicine      31
18      Freight and trucking ~~~~~~~~~~~                   18                             32       Other expenses (specify):
19      Gasoline, fuel, and oil     ~~~~~~~~~~             19                                  a    SEE STATEMENT 24                       32a            34,198.
20      Insurance (other than health) ~~~~~~~              20              1,098.              b                                           32b
21      Interest (see instructions):                                                           c                                           32c
      a Mortgage (paid to banks, etc.) ~~~~~~              21a                                 d                                           32d
      b Other ~~~~~~~~~~~~~~~~~~                          21b                                  e                                           32e
22      Labor hired (less employment credits)          22             1,289.            f                                                32f
33      Total expenses. Add lines 10 through 32f. If line 32f is negative, see instructions        ~~~~~~~~~~~~~~                   |      33          46,884.
34      Net farm profit or (loss). Subtract line 33 from line 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             34         -37,862.
        If a profit, stop here and see instructions for where to report. If a loss, complete lines 35 and 36.
35      Reserved for future use.
36      Check the box that describes your investment in this activity and see instructions for where to report your loss:
  a       X       All investment is at risk.         b           Some investment is not at risk.
LHA      For Paperwork Reduction Act Notice, see the separate instructions.                                                             Schedule F (Form 1040) 2020




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SCHEDULE SE                                                    Self-Employment Tax
                                                                                                                                               OMB No. 1545-0074

(Form 1040)
Department of the Treasury
                                       | Go to www.irs.gov/ScheduleSE for instructions and the latest information.
                                                     | Attach to Form 1040, 1040-SR, or 1040-NR.
                                                                                                                                                2020
                                                                                                                                                Attachment
Internal Revenue Service (99)                                                                                                                   Sequence No.   17

                                                                                                                                         9
Name of person with self-employment income (as shown on Form 1040, 1040-SR, or 1040-NR)              Social security number of person
TONY D. TOWNLEY                                                                                      with self-employment income
 Part I Self-Employment Tax
Note: If your only income subject to self-employment tax is church employee income, see instructions for how to report your income
and the definition of church employee income.
A           If you are a minister, member of a religious order, or Christian Science practitioner and you filed Form 4361, but you had
         $400 or more of other net earnings from self-employment, check here and continue with Part I ~~~~~~~~~~~~~~~~~~~                                      |
Skip lines 1a and 1b if you use the farm optional method in Part II. See instructions. SEE STATEMENT 27
    1a      Net farm profit or (loss) from Sch. F, line 34, and farm partnerships, Sch. K-1 (Form 1065), box 14, code A      ~      1a              -65,219.
            If you received social security retirement or disability benefits, enter the amount of Conservation Reserve
    b Program payments included on Schedule F, line 4b, or listed on Schedule K-1 (Form 1065), box 20, code AH                      1b
Skip line 2 if you use the nonfarm optional method in Part II. See instructions.
    2       Net profit or (loss) from Schedule C, line 31; and Schedule K-1 (Form 1065), box 14, code A
            (other than farming). See instructions for other income to report or if you are a minister or member
                                                              SEE STATEMENT 26
            of a religious order ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        2          1,873,061.
    3       Combine lines 1a, 1b, and 2    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3          1,807,842.
    4a      If line 3 is more than zero, multiply line 3 by 92.35% (0.9235). Otherwise, enter amount from line 3 ~~~~~              4a          1,669,542.
            Note: If line 4a is less than $400 due to Conservation Reserve Program payments on line 1b, see instructions
        b   If you elect one or both of the optional methods, enter the total of lines 15 and 17 here ~~~~~~~~~~                    4b
        c   Combine lines 4a and 4b. If less than $400, stop; you don't owe self-employment tax. Exception: If
            less than $400 and you had church employee income, enter -0- and continue                            |      4c          1,669,542.
    5a      Enter your church employee income from Form W-2. See instructions for
            definition of church employee income ~~~~~~~~~~~~~~~~~~~                   5a
        b   Multiply line 5a by 92.35% (0.9235). If less than $100, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~                               5b
    6       Add lines 4c and 5b    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       6          1,669,542.
    7       Maximum amount of combined wages and self-employment earnings subject to social security tax or
            the 6.2% portion of the 7.65% railroad retirement (tier 1) tax for 2020                              7                         137,700
    8a      Total social security wages and tips (total of boxes 3 and 7 on Form(s) W-2)
            and railroad retirement (tier 1) compensation. If $137,700 or more, skip lines
            8b through 10, and go to line 11 ~~~~~~~~~~~~~~~~~~~~~~                             8a
        b   Unreported tips subject to social security tax from Form 4137, line 10 ~~~          8b
        c   Wages subject to social security tax from Form 8919, line 10
                                                                8c             ~~~~~~~
        d   Add lines 8a, 8b, and 8c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      8d
    9       Subtract line 8d from line 7. If zero or less, enter -0- here and on line 10 and go to line 11 ~~~~~~~~          |       9              137,700.
 10         Multiply the smaller of line 6 or line 9 by 12.4% (0.124) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    10               17,075.
 11         Multiply line 6 by 2.9% (0.029) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 11               48,417.
 12         Self-employment tax. Add lines 10 and 11. Enter here and on Schedule 2 (Form 1040), line 4 ~~~~~~                       12               65,492.
 13         Deduction for one-half of self-employment tax.
            Multiply line 12 by 50% (0.50). Enter here and on Schedule 1 (Form 1040),
            line 14                                           13                32,746.
 Part II          Optional Methods To Figure Net Earnings (see instructions)
Farm Optional Method. You may use this method only if (a) your gross farm income 1 wasn't more than
$8,460, or (b) your net farm profits 2 were less than $6,107.
 14         Maximum income for optional methods ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  14                          5,640
 15         Enter the smaller of: two-thirds (2/3) of gross farm income 1 (not less than zero) or $5,640. Also, include
            this amount on line 4b above                                                     15
                                                                                                 3
Nonfarm Optional Method. You may use this method only if (a) your net nonfarm profits were less than $6,107
and also less than 72.189% of your gross nonfarm income, 4 and (b) you had net earnings from self-employment
of at least $400 in 2 of the prior 3 years. Caution: You may use this method no more than five times.
 16         Subtract line 15 from line 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   16
 17         Enter the smaller of: two-thirds (2/3) of gross nonfarm income 4(not less than zero) or the amount on
            line 16. Also, include this amount on line 4b above                                         17
1 From Sch. F, line 9; and Sch. K-1 (Form 1065), box 14, code B.                        3 From Sch. C, line 31; and Sch. K-1 (Form 1065), box 14, code A.

2 From Sch. F, line 34; and Sch. K-1 (Form 1065), box 14, code A - minus the amount     4 From Sch. C, line 7; and Sch. K-1 (Form 1065), box 14, code C.
 you would have entered on line 1b had you not used the optional method.

For Paperwork Reduction Act Notice, see your tax return instructions.                 024501 11-17-20    LHA                      Schedule SE (Form 1040) 2020
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TONY D. TOWNLEY
Schedule SE (Form 1040) 2020                                                                           Attachment Sequence No.   17                   Page 2
Part III      Maximum Deferral of Self-Employment Tax Payments
If line 4c is zero, skip lines 18 through 20, and enter -0- on line 21.
18    Enter the portion of line 3 that can be attributed to March 27, 2020, through December 31, 2020 ~~~~~~~                    18
19    If line 18 is more than zero, multiply line 18 by 92.35% (0.9235); otherwise, enter the amount from line 18 ~~~            19
20    Enter the portion of lines 15 and 17 that can be attributed to March 27, 2020, through December 31,
      2020 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  20
21      Combine lines 19 and 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       21
If line 5b is zero, skip line 22 and enter -0- on line 23.
22     Enter the portion of line 5a that can be attributed to March 27, 2020, through December 31, 2020 ~~~~~~                   22
23    Multiply line 22 by 92.35% (0.9235) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  23
24    Add lines 21 and 23     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       24
25    Enter the smaller of line 9 or line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               25
26    Multiply line 25 by 6.2% (0.062). Enter here and see the instructions for line 12e of Schedule 3 (Form
      1040)                                                                  26
024502 11-17-20                                                                                                                   Schedule SE (Form 1040) 2020
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       3800                                                General Business Credit                                                     OMB No. 1545-0895

Form
Department of the Treasury
Internal Revenue Service (99)
                                      | Go to www.irs.gov/Form3800 for instructions and the latest information.
                                     | You must attach all pages of Form 3800, pages 1, 2, and 3, to your tax return.
                                                                                                                                         202022
                                                                                                                                          Attachment
                                                                                                                                          Sequence No.
Name(s) shown on return                                                                                                     Identifying number


TONY D. & ELIZABETH A. TOWNLEY
 Part I Current Year Credit for Credits Not Allowed Against Tentative Minimum Tax (TMT)
        (See instructions and complete Part(s) III before Parts I and II.)
 1     General business credit from line 2 of all Parts III with box A checked                         1                15,582.
 2     Passive activity credits from line 2 of all Parts III with box B checked ~~~~~~~           2
 3     Enter the applicable passive activity credits allowed for 2020. See instructions       ~~~~~~~~~~~~~~~~~              3
 4     Carryforward of general business credit to 2020. Enter the amount from line 2 of Part III with box C
       checked. See instructions for statement to attach  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                      4
       Check this box if the carryforward was changed or revised from the original reported amount  |
 5     Carryback of general business credit from 2021. Enter the amount from line 2 of Part III with box D
       checked ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          5
 6     Add lines 1, 3, 4, and 5                                                  6                15,582.
 Part II       Allowable Credit


                                                                                                    p
 7     Regular tax before credits:


                                                                                                    n
                                                                                                    n
       ¥ Individuals. Enter the sum of the amounts from Form 1040, 1040-SR, or 1040-NR,


                                                                                                    n
         line 16, and Schedule 2 (Form 1040), line 2 ~~~~~~~~~~~~~~~~~~~~~


                                                                                                    m
                                                                                                    n
       ¥ Corporations. Enter the amount from Form 1120, Schedule J, Part I, line 2; or the


                                                                                                    n
         applicable line of your return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     ~~~~~~~~~~~         7    172,074,589.

                                                                                                    n
                                                                                                    o
       ¥ Estates and trusts. Enter the sum of the amounts from Form 1041, Schedule G,
         lines 1a and 1b; or the amount from the applicable line of your return ~~~~~~~~


                                                                                              p
                                                                                              n
 8     Alternative minimum tax:


                                                                                              m
       ¥ Individuals. Enter the amount from Form 6251, line 11 ~~~~~~~~~~~


                                                                                              n
                                                                                                                                                 5,064.

                                                                                              o
       ¥ Corporations. Enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      ~~~~~~~~~~~~~~~            8
       ¥ Estates and trusts. Enter the amount from Schedule I (Form 1041), line 54        ~


 9     Add lines 7 and 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     9    172,079,653.

10 a Foreign tax credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10a                 8.
   b Certain allowable credits (see instructions) ~~~~~~~~~~~~~~~~~~~~
                                                                 10b
     c Add lines 10a and 10b      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              10c                            8.

11     Net income tax. Subtract line 10c from line 9. If zero, skip lines 12 through 15 and enter -0- on line 16   ~~~~~    11    172,079,645.

12     Net regular tax. Subtract line 10c from line 7. If zero or less, enter -0- ~~~~~~~          12    172,074,581.

13     Enter 25% (0.25) of the excess, if any, of line 12 over $25,000. See
       instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            13     43,012,395.

                                                                                              p
                                                                                              n
14     Tentative minimum tax:


                                                                                              m
                                                                                              n
       ¥ Individuals. Enter the amount from Form 6251, line 9     ~~~~~~~~~~~
                                                                                                         172,079,645.

                                                                                              n
       ¥ Corporations. Enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        14

                                                                                              l
                                                                                              o
       ¥ Estates and trusts. Enter the amount from Schedule I (Form 1041),
          line 52 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
15     Enter the greater of line 13 or line 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       15 172,079,645.
16     Subtract line 15 from line 11. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             16           0.
17     Enter the smaller of line 6 or line 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        17           0.
       C corporations: See the line 17 instructions if there has been an ownership change, acquisition, or
       reorganization.
LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 3800 (2020)




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Form 3800 (2020)                                                                                                                                  Page 2
 Part II     Allowable Credit (continued)
Note: If you are not required to report any amounts on line 22 or 24 below, skip lines 18 through 25 and enter -0- on line 26.


18   Multiply line 14 by 75% (0.75). See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          18


19   Enter the greater of line 13 or line 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              19


20   Subtract line 19 from line 11. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    20


21   Subtract line 17 from line 20. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    21


22   Combine the amounts from line 3 of all Parts III with box A, C, or D checked       ~~~~~~~~~~~~~~~~~~                       22


23   Passive activity credit from line 3 of all Parts III with box B checked ~~~~~~~~     23
24   Enter the applicable passive activity credit allowed for 2020. See instructions ~~~~~~~~~~~~~~~~~~                          24


25   Add lines 22 and 24 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          25
26   Empowerment zone and renewal community employment credit allowed. Enter the smaller of line 21
     or line 25 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              26                  0.

27   Subtract line 13 from line 11. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    27   129,067,250.

28   Add lines 17 and 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          28


29   Subtract line 28 from line 27. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    29   129,067,250.

30   Enter the general business credit from line 5 of all Parts III with box A checked ~~~~~~~~~~~~~~~~~                         30       185,422.

31   Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                31


32   Passive activity credits from line 5 of all Parts III with box B checked ~~~~~~~            32


33   Enter the applicable passive activity credits allowed for 2020. See instructions    ~~~~~~~~~~~~~~~~~                       33


34   Carryforward of business credit to 2020. Enter the amount from line 5 of Part III with box C checked
     and line 6 of Part III with box G checked. See instructions for statement to attach ~~~~~~~~~~~~~~~~    34
     Check this box if the carryforward was changed or revised from the original reported amount ~~~~~~~~~~~~~~~~~~~~~ |


35   Carryback of business credit from 2021. Enter the amount from line 5 of Part III with box D checked.
     See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           35


36   Add lines 30, 33, 34, and 35 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     36       185,422.

37   Enter the smaller of line 29 or line 36 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               37       185,422.

38   Credit allowed for the current year. Add lines 28 and 37.
     Report the amount from line 38 (if smaller than the sum of Part I, line 6, and Part II, lines 25 and 36,


                                                                                                            p
     see instructions) as indicated below or on the applicable line of your return.

                                                                                                            n
                                                                                                            m
     ¥ Individuals. Schedule 3 (Form 1040), line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~

                                                                                                            n
                                                                                                            o
     ¥ Corporations. Form 1120, Schedule J, Part I, line 5c ~~~~~~~~~~~~~~~~~~~~                                ~~~~~~
     ¥ Estates and trusts. Form 1041, Schedule G, line 2b                                                    38       185,422.
                                                                                                                                         Form 3800 (2020)




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Form 3800 (2020)                                                                                                                                         Page 3
Name(s) shown on return                                                                                                          Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A             General Business Credit From a Non-Passive Activity            E           Reserved
B             General Business Credit From a Passive Activity                F           Reserved
C             General Business Credit Carryforwards                          G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                     | X
                                         (a) Description of credit                                              (b)                            (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed   Enter EIN if claiming the credit
for each pass-through entity.                                                                     from a pass-through entity.     Enter the appropriate amount.
 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                           1d
    e    Disabled access (Form 8826)*     ~~~~~~~~~~~~~~~~~~~~~~~~~                               1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1i
    j    Small employer pension plan startup costs and auto-enrollment (Form 8881) ~~~            1j
    k    Employer-provided child care facilities and services (Form 8882)*   ~~~~~~~~             1k                                                  13,457.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                    1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                           1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                        1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                        1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                             1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                   1s
    t    Enhanced oil recovery credit (carryforward only) ~~~~~~~~~~~~~~~~~                       1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                              1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                     1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                         1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                              1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                   1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                  1aa                                                   2,125.
    bb General credits from an electing large partnership (carryforward only) ~~~~~~             1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain other
       credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I   ~~~         2                                                 15,582.
3        Enter the amount from Form 8844 here and on the applicable line of Part II     ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                      4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                               4b                                              185,422.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                  4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                             4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                        4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                       4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                 4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II   ~~~         5                                             185,422.
 6     Add lines 2, 3, and 5 and enter here and on the applicable line of Part II              6                                             201,004.
* See instructions for limitation on this credit.     014403 12-04-20                                                                           Form 3800 (2020)
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Name(s) shown on return                                                                                                          Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A       X     General Business Credit From a Non-Passive Activity            E           Reserved
B             General Business Credit From a Passive Activity                F           Reserved
C             General Business Credit Carryforwards                          G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                     |
                                         (a) Description of credit                                              (b)                            (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed   Enter EIN if claiming the credit
for each pass-through entity.                                                                     from a pass-through entity.     Enter the appropriate amount.
 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                           1d
    e    Disabled access (Form 8826)*     ~~~~~~~~~~~~~~~~~~~~~~~~~                               1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1i
    j    Small employer pension plan startup costs and auto-enrollment (Form 8881) ~~~            1j
    k    Employer-provided child care facilities and services (Form 8882)*   ~~~~~~~~             1k                                                  10,647.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                    1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                           1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                        1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                        1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                             1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                   1s
    t    Enhanced oil recovery credit (carryforward only) ~~~~~~~~~~~~~~~~~                       1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                              1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                     1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                         1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                              1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                   1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                  1aa                                                   1,681.
    bb General credits from an electing large partnership (carryforward only) ~~~~~~             1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain other
       credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I   ~~~         2                                                 12,328.
3        Enter the amount from Form 8844 here and on the applicable line of Part II     ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                      4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                               4b                                              146,695.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                  4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                             4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                        4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                       4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                 4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II   ~~~         5                                             146,695.
 6     Add lines 2, 3, and 5 and enter here and on the applicable line of Part II              6                                             159,023.
* See instructions for limitation on this credit.     014403 12-04-20                                                                           Form 3800 (2020)
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TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A       X     General Business Credit From a Non-Passive Activity            E           Reserved
B             General Business Credit From a Passive Activity                F           Reserved
C             General Business Credit Carryforwards                          G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                     |
                                         (a) Description of credit                                              (b)                            (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed   Enter EIN if claiming the credit
for each pass-through entity.                                                                     from a pass-through entity.     Enter the appropriate amount.
 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                           1d
    e    Disabled access (Form 8826)*     ~~~~~~~~~~~~~~~~~~~~~~~~~                               1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1i
    j    Small employer pension plan startup costs and auto-enrollment (Form 8881) ~~~            1j
    k    Employer-provided child care facilities and services (Form 8882)*   ~~~~~~~~             1k                                                    664.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                    1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                           1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                        1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                        1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                             1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                   1s
    t    Enhanced oil recovery credit (carryforward only) ~~~~~~~~~~~~~~~~~                       1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                              1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                     1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                         1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                              1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                   1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                  1aa                                                    105.
    bb General credits from an electing large partnership (carryforward only) ~~~~~~             1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain other
       credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I   ~~~         2                                                   769.
3        Enter the amount from Form 8844 here and on the applicable line of Part II     ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                      4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                               4b                                                  9,158.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                  4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                             4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                        4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                       4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                 4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II   ~~~         5                                                 9,158.
 6     Add lines 2, 3, and 5 and enter here and on the applicable line of Part II              6                                                 9,927.
* See instructions for limitation on this credit.     014403 12-04-20                                                                           Form 3800 (2020)
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TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A       X     General Business Credit From a Non-Passive Activity            E           Reserved
B             General Business Credit From a Passive Activity                F           Reserved
C             General Business Credit Carryforwards                          G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                     |
                                         (a) Description of credit                                              (b)                            (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed   Enter EIN if claiming the credit
for each pass-through entity.                                                                     from a pass-through entity.     Enter the appropriate amount.
 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                           1d
    e    Disabled access (Form 8826)*     ~~~~~~~~~~~~~~~~~~~~~~~~~                               1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1i
    j    Small employer pension plan startup costs and auto-enrollment (Form 8881) ~~~            1j
    k    Employer-provided child care facilities and services (Form 8882)*   ~~~~~~~~             1k                                                  2,027.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                    1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                           1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                        1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                        1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                             1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                   1s
    t    Enhanced oil recovery credit (carryforward only) ~~~~~~~~~~~~~~~~~                       1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                              1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                     1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                         1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                              1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                   1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                  1aa                                                    320.
    bb General credits from an electing large partnership (carryforward only) ~~~~~~             1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain other
       credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I   ~~~         2                                                 2,347.
3        Enter the amount from Form 8844 here and on the applicable line of Part II     ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                      4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                               4b                                                  27,930.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                  4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                             4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                        4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                       4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                 4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II   ~~~         5                                                 27,930.
 6     Add lines 2, 3, and 5 and enter here and on the applicable line of Part II              6                                                 30,277.
* See instructions for limitation on this credit.     014403 12-04-20                                                                           Form 3800 (2020)
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TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A       X     General Business Credit From a Non-Passive Activity            E           Reserved
B             General Business Credit From a Passive Activity                F           Reserved
C             General Business Credit Carryforwards                          G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                     |
                                         (a) Description of credit                                              (b)                            (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed   Enter EIN if claiming the credit
for each pass-through entity.                                                                     from a pass-through entity.     Enter the appropriate amount.
 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                           1d
    e    Disabled access (Form 8826)*     ~~~~~~~~~~~~~~~~~~~~~~~~~                               1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1i
    j    Small employer pension plan startup costs and auto-enrollment (Form 8881) ~~~            1j
    k    Employer-provided child care facilities and services (Form 8882)*   ~~~~~~~~             1k                                                    119.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                    1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                           1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                        1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                        1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                             1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                   1s
    t    Enhanced oil recovery credit (carryforward only) ~~~~~~~~~~~~~~~~~                       1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                              1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                     1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                         1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                              1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                   1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                  1aa                                                      19.
    bb General credits from an electing large partnership (carryforward only) ~~~~~~             1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain other
       credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I   ~~~         2                                                   138.
3        Enter the amount from Form 8844 here and on the applicable line of Part II     ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                      4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                               4b                                                  1,639.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                  4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                             4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)    ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                        4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                       4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                          4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                 4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II   ~~~         5                                                 1,639.
 6     Add lines 2, 3, and 5 and enter here and on the applicable line of Part II              6                                                 1,777.
* See instructions for limitation on this credit.     014403 12-04-20                                                                           Form 3800 (2020)
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                                                                    Sales of Business Property                                                           OMB No. 1545-0184


        4797                                                                                                                                              2020
                                                      (Also Involuntary Conversions and Recapture Amounts
Form                                                            Under Sections 179 and 280F(b)(2))
                                                                    | Attach to your tax return.
Department of the Treasury                                                                                                                                Attachment
Internal Revenue Service                  | Go to www.irs.gov/Form4797 for instructions and the latest information.                                       Sequence No.   27
Name(s) shown on return                                                                                                                          Identifying number


TONY D. & ELIZABETH A. TOWNLEY
 1 Enter the gross proceeds from sales or exchanges reported to you for 2020 on Form(s) 1099-B or 1099-S
   (or substitute statement) that you are including on line 2, 10, or 20                                               1
 Part I        Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
               Than Casualty or Theft-Most Property Held More Than 1 Year           (see instructions)
                                                                                                         (e) Depreciation    (f) Cost or other            (g) Gain or (loss)
 2                 (a) Description              (b) Date acquired    (c) Date sold     (d) Gross sales       allowed or          basis, plus
                      of property                 (mo., day, yr.)    (mo., day, yr.)        price                                                        Subtract (f) from the
                                                                                                          allowable since    improvements and
                                                                                                                                                          sum of (d) and (e)
                                                                                                             acquisition       expense of sale

 SEE STATEMENT 28                                                                                                                                        2,841,493.




 3      Gain, if any, from Form 4684, line 39~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        3
 4      Section 1231 gain from installment sales from Form 6252, line 26 or 37 ~~~~~~~~~~~~~~~~~~~~~~                                       4
 5      Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~                                         5
 6      Gain, if any, from line 32, from other than casualty or theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          6
 7      Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows ~~~~~~~~~~                          7            2,841,493.
        Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
        line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
        Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
        from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
        1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
        the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.

 8      Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~                                       8
 9      Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
        line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
        capital gain on the Schedule D filed with your return. See instructions                                       9

 Part II           Ordinary Gains and Losses (see instructions)
10      Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):
TIMBER                                         10/01/19 08/18/20 156,582.                                                   169,146.                        -12,564.




11      Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            11        (                           )
12      Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        12
13      Gain, if any, from line 31~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            13
14      Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                14
15      Ordinary gain from installment sales from Form 6252, line 25 or 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                        15
16      Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~                                          16
17      Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             17               -12,564.
18      For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
        a and b below. For individual returns, complete lines a and b below.
     a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the
       loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used
       as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~                                     18a
     b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
       (Form 1040), Part I, line 4                                                             18b              -12,564.
 LHA      For Paperwork Reduction Act Notice, see separate instructions.                                                                                  Form 4797 (2020)




018011 12-18-20
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Form 4797 (2020) TONY            D. & ELIZABETH A. TOWNLEY                                                                                        Page 2

 Part III       Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255                            (see instructions)

                                                                                                             (b) Date acquired         (c) Date sold
19     (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:                                    (mo., day, yr.)        (mo., day, yr.)
  A
  B
  C
  D


                                                                   9
       These columns relate to the properties on
       lines 19A through 19D.                                            Property A        Property B           Property C              Property D
20     Gross sales price (Note: See line 1 before completing.)     20
21     Cost or other basis plus expense of sale ~~~~               21
22     Depreciation (or depletion) allowed or allowable ~          22
23     Adjusted basis. Subtract line 22 from line 21 ~~            23
24     Total gain. Subtract line 23 from line 20              24
25     If section 1245 property:
     a Depreciation allowed or allowable from line 22 ~            25a
     b Enter the smaller of line 24 or 25a                  25b
26     If section 1250 property: If straight line depreciation
       was used, enter -0- on line 26g, except for a corporation
       subject to section 291.

     a Additional depreciation after 1975. See instructions    ~   26a
     b Applicable percentage multiplied by the smaller
       of line 24 or line 26a. See instructions ~~~~~              26b

     c Subtract line 26a from line 24. If residential rental
       property or line 24 isn't more than line 26a, skip
       lines 26d and 26e ~~~~~~~~~~~~~~~                           26c
     d Additional depreciation after 1969 and before 1976 ~~       26d
     e Enter the smaller of line 26c or 26d ~~~~~~                 26e


  f Section 291 amount (corporations only) ~~~~                26f
  g Add lines 26b, 26e, and 26f                      26g
27 If section 1252 property: Skip this section if you didn't
    dispose of farmland or if this form is being completed for
    a partnership.
  a Soil, water, and land clearing expenses ~~~~~ 27a
  b Line 27a multiplied by applicable percentage ~~~~~ 27b
  c Enter the smaller of line 24 or 27b                 27c
28 If section 1254 property:
  a Intangible drilling and development costs, expenditures
    for development of mines and other natural deposits,
    mining exploration costs, and depletion. See instructions 28a
  b Enter the smaller of line 24 or 28a  28b
29 If section 1255 property:
  a Applicable percentage of payments excluded
    from income under section 126. See instructions            29a
  b Enter the smaller of line 24 or 29a. See instructions      29b

Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

30     Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~                       30


31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13 ~~~~~~~~~              31
32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
       from other than casualty or theft on Form 4797, line 6                                  32
 Part IV Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
               (see instructions)
                                                                                                               (a) Section             (b) Section
                                                                                                                   179                  280F(b)(2)
33     Section 179 expense deduction or depreciation allowable in prior years ~~~~~~~~~~~               33
34     Recomputed depreciation. See instructions              ~~~~~~~~~~~~~~~~~~~~~~~~                  34
35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report      35
018012 12-18-20                                                                                                                     Form 4797 (2020)
                     Case 3:22-cv-00107-CDL                        AMENDED
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       6251                                  Alternative Minimum Tax - Individuals                                                         OMB No. 1545-0074

Form

Department of the Treasury             | Go to www.irs.gov/Form6251 for instructions and the latest information.                             2020
                                                                                                                                            Attachment
Internal Revenue Service (99)
                                              | Attach to Form 1040, 1040-SR, or 1040-NR.                                                   Sequence No.   32
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                                                    Your social security number

TONY D. & ELIZABETH A. TOWNLEY
 Part I Alternative Minimum Taxable Income
 1      Enter the amount from Form 1040 or 1040-SR, line 15, if more than zero. If Form 1040 or 1040-SR, line 15,
        is zero, subtract lines 12 and 13 of Form 1040 or 1040-SR from line 11 of Form 1040 or 1040-SR and enter
        the result here. (If less than zero, enter as a negative amount.) ~~~~~~~~~~~~~~~~~~~~~~~~                                 1    860,557,093.
 2 a If filing Schedule A (Form 1040), enter the taxes from Schedule A, line 7; otherwise, enter the amount from
     Form 1040 or 1040-SR, line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         2a              10,000.
     b Tax refund from Schedule 1 (Form 1040), line 1 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2b
     c Investment interest expense (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~~~                                    2c
     d Depletion (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            2d
     e Net operating loss deduction from Schedule 1 (Form 1040), line 8. Enter as a positive amount ~~~~~~~~                       2e
     f Alternative tax net operating loss deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2f
     g Interest from specified private activity bonds exempt from the regular tax ~~~~~~~~~~~~~~~~~~                               2g
     h Qualified small business stock, see instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            2h
      i Exercise of incentive stock options (excess of AMT income over regular tax income) ~~~~~~~~~~~~~                           2i
      j Estates and trusts (amount from Schedule K-1 (Form 1041), box 12, code A) ~~~~~~~~~~~~~~~~~                                2j
     k Disposition of property (difference between AMT and regular tax gain or loss) ~~~~~~~~~~~~~~~~                              2k                   41.
                                                                                                   STMT 31
   l Depreciation on assets placed in service after 1986 (difference between regular tax and AMT) ~~~~~~~~                         2l                1,879.
                                                                                      SEE    STATEMENT
  m Passive activities (difference between AMT and regular tax income or loss) ~~~~~~~~~~~~~~~~~        29                         2m                6,126.
                                                                                      SEE    STATEMENT
  n Loss limitations (difference between AMT and regular tax income or loss) ~~~~~~~~~~~~~~~~~~         30                         2n                7,277.
     o Circulation costs (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~~~~~~~~~                                        2o
     p Long-term contracts (difference between AMT and regular tax income) ~~~~~~~~~~~~~~~~~~~                                     2p
     q Mining costs (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2q
     r Research and experimental costs (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~                                  2r
     s Income from certain installment sales before January 1, 1987 ~~~~~~~~~~~~~~~~~~~~~~~~                                       2s
     t Intangible drilling costs preference ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  2t
 3      Other adjustments, including income-based related adjustments ~~~~~~~~~~~~~~~~~~~~~~~                                      3
 4      Alternative minimum taxable income. Combine lines 1 through 3. (If married filing separately and line 4 is
        more than $745,200, see instructions.)                                                  4    860,582,416.
 Part II         Alternative Minimum Tax (AMT)
 5      Exemption.


                                                                                                                           p
        IF your filing status is ...                      AND line 4 is not over ... THEN enter on line 5 ...

                                                                                                                           n
                                                                                                                           n
                                                                                                                           m
        Single or head of household      ~~~~~~~~           $518,400 ~~~~~~~~~~ $72,900


                                                                                                                           n
                                                                                                                           n
        Married filing jointly or qualifying widow(er) ~ 1,036,800 ~~~~~~~~~~ 113,400                                          ~   5                            0.

                                                                                                                           o
        Married filing separately ~~~~~~~~~~               518,400 ~~~~~~~~~~                      56,700
        If line 4 is over the amount shown above for your filing status, see instructions.
 6      Subtract line 5 from line 4. If more than zero, go to line 7. If zero or less, enter -0- here and on lines 7, 9,
        and 11, and go to line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       6    860,582,416.

                                                                                                                           p
                                                                                                                           n
 7      ¥ If you are filing Form 2555, see instructions for the amount to enter.



                                                                                                                           n
        ¥ If you reported capital gain distributions directly on Form 1040 or 1040-SR, line 7; you reported



                                                                                                                           m
          qualified dividends on Form 1040 or 1040-SR, line 3a; or you had a gain on both lines 15 and


                                                                                                                           n
          16 of Schedule D (Form 1040) (as refigured for the AMT, if necessary), complete Part III on the                               172,079,653.
                                                                                                                               ~   7


                                                                                                                           n
          back and enter the amount from line 40 here.



                                                                                                                           o
        ¥ All others: If line 6 is $197,900 or less ($98,950 or less if married filing separately), multiply line
        6 by 26% (0.26). Otherwise, multiply line 6 by 28% (0.28) and subtract $3,958 ($1,979 if
        married filing separately) from the result
 8      Alternative minimum tax foreign tax credit (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                                    8              8.
 9      Tentative minimum tax. Subtract line 8 from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          9    172,079,645.
10      Add Form 1040 or 1040-SR, line 16 (minus any tax from Form 4972), and Schedule 2 (Form 1040), line 2.
        Subtract from the result any foreign tax credit from Schedule 3 (Form 1040), line 1. If you used Schedule J
        to figure your tax on Form 1040 or 1040-SR, line 16, refigure that tax without using Schedule J before
        completing this line (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               10   172,074,581.

11     AMT. Subtract line 10 from line 9. If zero or less, enter -0-. Enter here and on Schedule 2 (Form 1040), line 1            11                5,064.
019481 12-16-20 LHA    For Paperwork Reduction Act Notice, see your tax return instructions.                                                   Form 6251 (2020)
                     Case 3:22-cv-00107-CDL                        AMENDED
                                                                  Document 6-1 Filed 10/28/22                         Page 38 of 666

Form 6251 (2020)               TONY D. & ELIZABETH A. TOWNLEY                                                                                        Page   2
 Part III         Tax Computation Using Maximum Capital Gains Rates
                  Complete Part III only if you are required to do so by line 7 or by the Foreign Earned Income Tax Worksheet in the instructions.
12 Enter the amount from Form 6251, line 6. If you are filing Form 2555, enter the amount from line 3 of the
   worksheet in the instructions for line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               12    860,582,416.
13 Enter the amount from line 4 of the Qualified Dividends and Capital Gain Tax Worksheet in the Instructions
   for Forms 1040 and 1040-SR or the amount from line 13 of the Schedule D Tax Worksheet in the
    Instructions for Schedule D (Form 1040), whichever applies (as refigured for the AMT, if necessary) (see
    instructions). If you are filing Form 2555, see instructions for the amount to enter     ~~~~~~~~~~~~~~~                    13    932,901,836.
14 Enter the amount from Schedule D (Form 1040), line 19 (as refigured for the AMT, if necessary) (see
   instructions). If you are filing Form 2555, see instructions for the amount to enter ~~~~~~~~~~~~~~~                         14        2,721,241.
15 If you did not complete a Schedule D Tax Worksheet for the regular tax or the AMT, enter the amount
   from line 13. Otherwise, add lines 13 and 14, and enter the smaller of that result or the amount from line
    10 of the Schedule D Tax Worksheet (as refigured for the AMT, if necessary). If you are filing Form 2555, see
    instructions for the amount to enter ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 15    935,623,077.
16 Enter the smaller of line 12 or line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                16    860,582,416.
17 Subtract line 16 from line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      17              0.
18 If line 17 is $197,900 or less ($98,950 or less if married filing separately), multiply line 17 by 26% (0.26). Otherwise,
   multiply line 17 by 28% (0.28) and subtract $3,958 ($1,979 if married filing separately) from the result ~~~~ |              18



                                                                   p
19 Enter:


                                                                   m
   ¥ $80,000 if married filing jointly or qualifying widow(er),


                                                                   o
    ¥ $40,000 if single or married filing separately, or               ~~~~~~~~~~~~~~~~~~~~~~~~~~                               19              80,000.
    ¥ $53,600 if head of household.


20 Enter the amount from line 5 of the Qualified Dividends and Capital Gain Tax Worksheet or the amount from
   line 14 of the Schedule D Tax Worksheet, whichever applies (as figured for the regular tax). If you did not
    complete either worksheet for the regular tax, enter the amount from Form 1040 or 1040-SR, line 15; if
    zero or less, enter -0-. If you are filing Form 2555, see instructions for the amount to enter   ~~~~~~~~~~~                20              0.
21 Subtract line 20 from line 19. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     21         80,000.
22 Enter the smaller of line 12 or line 13 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                22    860,582,416.
23 Enter the smaller of line 21 or line 22. This amount is taxed at 0% ~~~~~~~~~~~~~~~~~~~~~~~                                  23         80,000.
24 Subtract line 23 from line 22 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      24    860,502,416.


                                                                   p
25 Enter:


                                                                   n
                                                                   m
   ¥ $441,450 if single


                                                                   n
    ¥ $248,300 if married filing separately                            ~~~~~~~~~~~~~~~~~~~~~~~~~~                               25            496,600.

                                                                   o
    ¥ $496,600 if married filing jointly or qualifying widow(er)
    ¥ $469,050 if head of household
26 Enter the amount from line 21 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      26              80,000.
27 Enter the amount from line 5 of the Qualified Dividends and Capital Gain Tax Worksheet or the amount from
    line 21 of the Schedule D Tax Worksheet, whichever applies (as figured for the regular tax). If you did not
    complete either worksheet for the regular tax, enter the amount from Form 1040 or 1040-SR, line 15; if
    zero or less, enter -0-. If you are filing Form 2555, see instructions for the amount to enter   ~~~~~~~~~~~                27
28 Add line 26 and line 27 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         28             80,000.
29 Subtract line 28 from line 25. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      29            416,600.
30 Enter the smaller of line 24 or line 29 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                30            416,600.
31 Multiply line 30 by 15% (0.15) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                     31             62,490.
32 Add lines 23 and 30         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    32            496,600.
   If lines 32 and 12 are the same, skip lines 33 through 37 and go to line 38. Otherwise, go to line 33.
33 Subtract line 32 from line 22 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      33    860,085,816.
34 Multiply line 33 by 20% (0.20) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                |      34    172,017,163.
   If line 14 is zero or blank, skip lines 35 through 37 and go to line 38. Otherwise, go to line 35.
35 Add lines 17, 32, and 33 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         35    860,582,416.
36 Subtract line 35 from line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      36
37 Multiply line 36 by 25% (0.25) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                     37
38 Add lines 18, 31, 34, and 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       38    172,079,653.
39 If line 12 is $197,900 or less ($98,950 or less if married filing separately), multiply line 12 by 26% (0.26).
    Otherwise, multiply line 12 by 28% (0.28) and subtract $3,958 ($1,979 if married filing separately) from the result         39    240,959,118.
40 Enter the smaller of line 38 or line 39 here and on line 7. If you are filing Form 2555, do not enter this
   amount on line 7. Instead, enter it on line 4 of the worksheet in the instructions for line 7                    40    172,079,653.
019591 12-16-20                                                                                                                          Form 6251 (2020)
                            Case 3:22-cv-00107-CDL      AMENDED
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                                             ALTERNATIVE MINIMUM TAX RECONCILIATION REPORT

 Name(s)                                                                                                                                  Social Security Number

TONY D. & ELIZABETH A. TOWNLEY
                                                                                                   Adjustment
  Form
  Name        Description                Income                                                                                                 Form 6251
                                                      Form 6251, Line 2k   Form 6251, Line 2l   Form 6251, Line 2m   Form 6251, Line 2n
                                                                                                                                             Other Adjustment
  K1- CLUCKZ HOLDINGS, LLC
       * REGULAR INCOME                1,244,573.
          DEPR ADJ                           444.                                      444.
          ADJ GAIN/LOSS, LN                    9.                     9.
       * AMT NET INCOME                1,245,026.                     9.               444.

  K1- ZAXBY'S OPERATING COMP
      ANY, LP (TDT)
       * REGULAR INCOME               20,770,514.
          DEPR ADJ                         1,355.                                  1,355.
          ADJ GAIN/LOSS, LN                   30.                   30.
       * AMT NET INCOME               20,771,899.                   30.            1,355.

  K1- CLUCKZ HOLDINGS, LLC (
      SECG)
       * REGULAR INCOME                  352,531.
          DEPR ADJ                            80.                                        80.
          ADJ GAIN/LOSS, LN                    2.                     2.
       * AMT NET INCOME                  352,613.                     2.                 80.




019911
04-01-20
                             Case 3:22-cv-00107-CDL        AMENDED
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                                              ALTERNATIVE MINIMUM TAX RECONCILIATION REPORT

 Name(s)                                                                                                                                      Social Security Number

TONY D. & ELIZABETH A. TOWNLEY
                                                                                                       Adjustment
  Form
  Name         Description                Income                                                                                                    Form 6251
                                                          Form 6251, Line 2k   Form 6251, Line 2l   Form 6251, Line 2m   Form 6251, Line 2n
                                                                                                                                                 Other Adjustment
K-1- PLUCKED CHICKEN, INC.
      * REGULAR INCOME               596,970,838.
         BASIS ALLOWED                -597810229.                                                                        -597810229.
         AMT BASIS ALLOWED           597,817,506.                                                                         597817506.
         AMT BASIS ADJ                    -7,277.
         AMT ADJUSTMENTS                   7,277.
      * AMT NET INCOME               596,978,115.                                                                                7,277.

    E- FRAZER CREEK INVESTMEN
       TS, LLC - VARIOUS (FRA
        * REGULAR INCOME                   56,830.
           AMT DEPR ADJ                      -151.                                                          -151.
           PAL CARRYOVER                   92,594.                                                        92,594.
           AMT PAL CARRYOVER              -86,879.                                                       -86,879.
        * AMT NET INCOME                   62,394.                                                         5,564.

  K1- TOWNLEY FAMILY PARTNER
      SHIP, LLLP
       * REGULAR INCOME                             -6.
          PAL CARRYOVER                              6.                                                           6.
          AMT PAL CARRYOVER                        -96.                                                         -96.
          AMT PAL DISALLOWED                        96.                                                          96.
       * AMT NET INCOME                              0.                                                           6.




019911
04-01-20
                                 Case 3:22-cv-00107-CDL      AMENDED
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                                                  ALTERNATIVE MINIMUM TAX RECONCILIATION REPORT

 Name(s)                                                                                                                                       Social Security Number

TONY D. & ELIZABETH A. TOWNLEY
                                                                                                        Adjustment
  Form
  Name             Description                Income                                                                                                 Form 6251
                                                           Form 6251, Line 2k   Form 6251, Line 2l   Form 6251, Line 2m   Form 6251, Line 2n
                                                                                                                                                  Other Adjustment
  K1- TOWNLEY FAMILY PARTNER
      SHIP, LLLP
       * REGULAR INCOME                           -280.
          PAL CARRYOVER                            280.                                                        280.
          AMT PAL CARRYOVER                     -4,776.                                                     -4,776.
          AMT PAL DISALLOWED                     4,776.                                                      4,776.
       * AMT NET INCOME                              0.                                                        280.

  K1- TOWNLEY FAMILY PARTNER
      SHIP, LLLP
       * REGULAR INCOME                           -275.
          PAL CARRYOVER                            275.                                                        275.
          AMT PAL CARRYOVER                     -4,680.                                                     -4,680.
          AMT PAL DISALLOWED                     4,680.                                                      4,680.
       * AMT NET INCOME                              0.                                                        275.

  K1- AIR HIGHWAY, LLC
       * REGULAR INCOME                       -25,848.
       * AMT NET INCOME                       -25,848.

    E- LANE CREEK INVESTMENTS
       , LLC - VARIOUS (LANE
        * REGULAR INCOME                      412,329.
           PAL CARRYOVER                       49,216.                                                     49,216.
           AMT PAL CARRYOVER                  -49,215.                                                    -49,215.
        * AMT NET INCOME                      412,330.                                                          1.


           ** TOTAL ADJ & PREF **                                        41.            1,879.               6,126.               7,277.




019911
04-01-20
                     Case 3:22-cv-00107-CDL                         AMENDED
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Form       8995-A                               Qualified Business Income Deduction                                                     OMB No. 1545-2994



Department of the Treasury                                      | Attach to your tax return.                                               2020
                                                                                                                                        Attachment
Internal Revenue Service                  | Go to www.irs.gov/Form8995A for instructions and the latest information.                    Sequence No. 55A
Name(s) shown on return                                                                                                     Your taxpayer identification number


TONY D. & ELIZABETH A. TOWNLEY
Note: You can claim the qualified business income deduction only if you have qualified business income from a qualified trade or
business, real estate investment trust dividends, publicly traded partnership income, or a domestic production activities deduction
passed through from an agricultural or horticultural cooperative. See instructions. Use this form if your taxable income, before your
qualified business income deduction, is above $163,300 ($326,600 if married filing jointly), or you're a patron of an agricultural or
horticultural cooperative.
 Part I           Trade, Business, or Aggregation Information
 Complete Schedules A, B, and/or C (Form 8995-A), as applicable, before starting Part I. Attach additional worksheets when needed.
 See instructions.
   1                                                                                 (b) Check if      (c) Check if       (d) Taxpayer         (e) Check if
                             (a) Trade, business, or aggregation name              specified service   aggregation    identification number       patron


       A   CLUCKZ HOLDINGS, LLC

       M&T AVIATION, LLC
       B
       ZAXBY'S OPERATING COMPANY, LP
   C (TDT)
 Part II  Determine Your Adjusted Qualified Business Income

                                                                                                           A                  B                    C

   2       Qualified business income from the trade, business, or aggregation.
           See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       2       725,286.            79,363. 18293677.
   3       Multiply line 2 by 20% (0.20). If your taxable income is $163,300
           or less ($326,600 if married filing jointly), skip lines 4 through 12
           and enter the amount from line 3 on line 13 ~~~~~~~~~~~~~~~                         3       145,057.            15,873. 3,658,735.
   4       Allocable share of W-2 wages from the trade, business, or
           aggregation        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4 3,354,777.                               10231181.
   5       Multiply line 4 by 50% (0.50)      ~~~~~~~~~~~~~~~~~~~~~~                           5 1,677,389.                              5,115,591.
   6       Multiply line 4 by 25% (0.25)      ~~~~~~~~~~~~~~~~~~~~~~                           6   838,694.                              2,557,795.
   7       Allocable share of the unadjusted basis immediately after
           acquisition (UBIA) of all qualified property ~~~~~~~~~~~~~~~~                       7 4,532,754. 1,839,054. 13823696.
   8       Multiply line 7 by 2.5% (0.025) ~~~~~~~~~~~~~~~~~~~~~~                              8   113,319.    45,976.   345,592.
   9       Add lines 6 and 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      9   952,013.    45,976. 2,903,387.
 10        Enter the greater of line 5 or line 9 ~~~~~~~~~~~~~~~~~~~~                         10 1,677,389.    45,976. 5,115,591.
 11        W-2 wage and UBIA of qualified property limitation. Enter the
           smaller of line 3 or line 10 ~~~~~~~~~~~~~~~~~~~~~~~~                              11       145,057.            15,873. 3,658,735.
 12        Phased-in reduction. Enter the amount from line 26, if any. See
           instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  12
 13        Qualified business income deduction before patron reduction.
           Enter the greater of line 11 or line 12 ~~~~~~~~~~~~~~~~~~                         13       145,057.            15,873. 3,658,735.
 14        Patron reduction. Enter the amount from Schedule D (Form 8995-A),
           line 6, if any. See instructions ~~~~~~~~~~~~~~~~~~~~~~                            14
 15        Qualified business income component. Subtract line 14 from line 13 ~~~             15       145,057.            15,873. 3,658,735.
 16        Total qualified business income component. Add all amounts
           reported on line 15                                 |     16   7,587,470.
For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                          Form 8995-A (2020)




008411 01-29-21     LHA
                   Case 3:22-cv-00107-CDL                         AMENDED
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Form 8995-A (2020) TONY      D. & ELIZABETH A. TOWNLEY                                                                                             Page 2
 Part III         Phased-in Reduction
Complete Part III only if your taxable income is more than $163,300 but not $213,300 ($326,600 and $426,600 if married filing jointly)
and line 10 is less than line 3. Otherwise, skip Part III.

                                                                                                      A                    B                   C

 17      Enter the amounts from line 3 ~~~~~~~~~~~~~~~~~~~~~~                           17
 18      Enter the amounts from line 10 ~~~~~~~~~~~~~~~~~~~~~                           18
 19      Subtract line 18 from line 17                            19
 20      Taxable income before qualified business
         income deduction          ~~~~~~~~~~~~~~                    20
 21      Threshold. Enter $163,300 ($326,600 if
         married filing jointly)    ~~~~~~~~~~~~~                    21
 22      Subtract line 21 from line 20 ~~~~~~~~~                     22
 23      Phase-in range. Enter $50,000 ($100,000 if
         married filing jointly)    ~~~~~~~~~~~~~                    23
 24      Phase-in percentage. Divide line 22 by line 23 ~      24          %
 25      Total phase-in reduction. Multiply line 19 by line 24 ~~~~~~~~~~~   25
 26      Qualified business income after phase-in reduction. Subtract line
         25 from line 17. Enter this amount here and on line 12, for the
         corresponding trade or business                            26
 Part IV          Determine Your Qualified Business Income Deduction
 27      Total qualified business income component from all qualified trades,
         businesses, or aggregations. Enter the amount from line 16 ~~~~~~~~~~~~~~                     27   7,587,470.
 28      Qualified REIT dividends and publicly traded partnership (PTP) income or
         (loss). See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     28
 29      Qualified REIT dividends and PTP (loss) carryforward from prior years ~~~~~~~~~               29      (                )
 30      Total qualified REIT dividends and PTP income. Combine lines 28 and 29. If
         less than zero, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    30
 31      REIT and PTP component. Multiply line 30 by 20% (0.20)             ~~~~~~~~~~~~~~~          31
 32      Qualified business income deduction before the income limitation. Add lines 27 and 31                   |       32   7,587,470.
 33      Taxable income before qualified business income deduction            ~~~~~~~~~~~~~            860,557,093.
                                                                                                       33
 34      Net capital gain. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                935,623,077.
                                                                                                       34
 35      Subtract line 34 from line 33. If zero or less, enter -0-        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            35               0.
 36      Income limitation. Multiply line 35 by 20% (0.20) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        36
 37      Qualified business income deduction before the domestic production activities deduction (DPAD)
         under section 199A(g). Enter the smaller of line 32 or line 36 ~~~~~~~~~~~~~~~~~~~~~~~~~                           |       37
 38      DPAD under section 199A(g) allocated from an agricultural or horticultural cooperative. Don't enter
         more than line 33 minus line 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  38
 39      Total qualified business income deduction. Add lines 37 and 38 ~~~~~~~~~~~~~~~~~~~~~~~                             |       39
 40      Total qualified REIT dividends and PTP (loss) carryforward. Combine lines 28 and 29. If zero or
         greater, enter -0-                                                         40 (               )
                                                                                                                                      Form 8995-A (2020)




008412 01-29-21
                     Case 3:22-cv-00107-CDL                         AMENDED
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Form       8995-A                               Qualified Business Income Deduction                                                     OMB No. 1545-2994



Department of the Treasury                                      | Attach to your tax return.                                               2020
                                                                                                                                        Attachment
Internal Revenue Service                  | Go to www.irs.gov/Form8995A for instructions and the latest information.                    Sequence No. 55A
Name(s) shown on return                                                                                                     Your taxpayer identification number


TONY D. & ELIZABETH A. TOWNLEY
Note: You can claim the qualified business income deduction only if you have qualified business income from a qualified trade or
business, real estate investment trust dividends, publicly traded partnership income, or a domestic production activities deduction
passed through from an agricultural or horticultural cooperative. See instructions. Use this form if your taxable income, before your
qualified business income deduction, is above $163,300 ($326,600 if married filing jointly), or you're a patron of an agricultural or
horticultural cooperative.
 Part I           Trade, Business, or Aggregation Information
 Complete Schedules A, B, and/or C (Form 8995-A), as applicable, before starting Part I. Attach additional worksheets when needed.
 See instructions.
   1                                                                                 (b) Check if      (c) Check if       (d) Taxpayer         (e) Check if
                             (a) Trade, business, or aggregation name              specified service   aggregation    identification number       patron


       A   CLUCKZ HOLDINGS, LLC (SECG)

       PLUCKED CHICKEN, INC.
       B
       FRAZER CREEK INVESTMENTS, LLC
   C - VARIOUS (FRAZ
 Part II  Determine Your Adjusted Qualified Business Income

                                                                                                           A                  B                    C

   2       Qualified business income from the trade, business, or aggregation.
           See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       2       211,156. 18577753.                       50,116.
   3       Multiply line 2 by 20% (0.20). If your taxable income is $163,300
           or less ($326,600 if married filing jointly), skip lines 4 through 12
           and enter the amount from line 3 on line 13 ~~~~~~~~~~~~~~~                         3        42,231. 3,715,551.                      10,023.
   4       Allocable share of W-2 wages from the trade, business, or
           aggregation        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4       600,285. 54985533.
   5       Multiply line 4 by 50% (0.50)      ~~~~~~~~~~~~~~~~~~~~~~                           5       300,143. 27492767.
   6       Multiply line 4 by 25% (0.25)      ~~~~~~~~~~~~~~~~~~~~~~                           6       150,071. 13746383.
   7       Allocable share of the unadjusted basis immediately after
           acquisition (UBIA) of all qualified property ~~~~~~~~~~~~~~~~                       7       811,066. 72603903. 8,961,891.
   8       Multiply line 7 by 2.5% (0.025) ~~~~~~~~~~~~~~~~~~~~~~                              8        20,277. 1,815,098.  224,047.
   9       Add lines 6 and 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      9       170,348. 15561481.   224,047.
 10        Enter the greater of line 5 or line 9 ~~~~~~~~~~~~~~~~~~~~                         10       300,143. 27492767.   224,047.
 11        W-2 wage and UBIA of qualified property limitation. Enter the
           smaller of line 3 or line 10 ~~~~~~~~~~~~~~~~~~~~~~~~                              11        42,231. 3,715,551.                      10,023.
 12        Phased-in reduction. Enter the amount from line 26, if any. See
           instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  12
 13        Qualified business income deduction before patron reduction.
           Enter the greater of line 11 or line 12 ~~~~~~~~~~~~~~~~~~                         13        42,231. 3,715,551.                      10,023.
 14        Patron reduction. Enter the amount from Schedule D (Form 8995-A),
           line 6, if any. See instructions ~~~~~~~~~~~~~~~~~~~~~~                            14
 15        Qualified business income component. Subtract line 14 from line 13 ~~~             15        42,231. 3,715,551.                      10,023.
 16        Total qualified business income component. Add all amounts
           reported on line 15                                 |     16
For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                          Form 8995-A (2020)




008411 01-29-21     LHA
                   Case 3:22-cv-00107-CDL                         AMENDED
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Form 8995-A (2020) TONY      D. & ELIZABETH A. TOWNLEY                                                                                             Page 2
 Part III         Phased-in Reduction
Complete Part III only if your taxable income is more than $163,300 but not $213,300 ($326,600 and $426,600 if married filing jointly)
and line 10 is less than line 3. Otherwise, skip Part III.

                                                                                                      A                    B                   C

 17      Enter the amounts from line 3 ~~~~~~~~~~~~~~~~~~~~~~                           17
 18      Enter the amounts from line 10 ~~~~~~~~~~~~~~~~~~~~~                           18
 19      Subtract line 18 from line 17                            19
 20      Taxable income before qualified business
         income deduction          ~~~~~~~~~~~~~~                    20
 21      Threshold. Enter $163,300 ($326,600 if
         married filing jointly)    ~~~~~~~~~~~~~                    21
 22      Subtract line 21 from line 20 ~~~~~~~~~                     22
 23      Phase-in range. Enter $50,000 ($100,000 if
         married filing jointly)    ~~~~~~~~~~~~~                    23
 24      Phase-in percentage. Divide line 22 by line 23 ~      24          %
 25      Total phase-in reduction. Multiply line 19 by line 24 ~~~~~~~~~~~   25
 26      Qualified business income after phase-in reduction. Subtract line
         25 from line 17. Enter this amount here and on line 12, for the
         corresponding trade or business                            26
 Part IV          Determine Your Qualified Business Income Deduction
 27      Total qualified business income component from all qualified trades,
         businesses, or aggregations. Enter the amount from line 16 ~~~~~~~~~~~~~~                     27
 28      Qualified REIT dividends and publicly traded partnership (PTP) income or
         (loss). See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     28
 29      Qualified REIT dividends and PTP (loss) carryforward from prior years ~~~~~~~~~               29      (                )
 30      Total qualified REIT dividends and PTP income. Combine lines 28 and 29. If
         less than zero, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    30
 31      REIT and PTP component. Multiply line 30 by 20% (0.20)             ~~~~~~~~~~~~~~~          31
 32      Qualified business income deduction before the income limitation. Add lines 27 and 31                   |       32
 33      Taxable income before qualified business income deduction            ~~~~~~~~~~~~~            33
 34      Net capital gain. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                      34
 35      Subtract line 34 from line 33. If zero or less, enter -0-        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            35
 36      Income limitation. Multiply line 35 by 20% (0.20) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        36
 37      Qualified business income deduction before the domestic production activities deduction (DPAD)
         under section 199A(g). Enter the smaller of line 32 or line 36 ~~~~~~~~~~~~~~~~~~~~~~~~~                           |       37
 38      DPAD under section 199A(g) allocated from an agricultural or horticultural cooperative. Don't enter
         more than line 33 minus line 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  38
 39      Total qualified business income deduction. Add lines 37 and 38 ~~~~~~~~~~~~~~~~~~~~~~~                             |       39
 40      Total qualified REIT dividends and PTP (loss) carryforward. Combine lines 28 and 29. If zero or
         greater, enter -0-                                                         40 (               )
                                                                                                                                      Form 8995-A (2020)




008412 01-29-21
                     Case 3:22-cv-00107-CDL                      AMENDED
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SCHEDULE C                                                                                                                                     OMB No. 1545-2294
                                                   Loss Netting and Carryforward
(Form 8995-A)
Department of the Treasury                                   | Attach to Form 8995-A.                                                                2020
                                                                                                                                                   Attachment
Internal Revenue Service              | Go to www.irs.gov/Form8995A for instructions and the latest information.                                   Sequence No. 55D
Name(s) shown on return                                                                                                        Your taxpayer identification number


TONY D. & ELIZABETH A. TOWNLEY
If you have more than three trades, businesses, or aggregations, complete and attach as many Schedules C as needed. See instructions.


   1                           Trade, business, or aggregation name                                   (a) Qualified       (b) Reduction for         (c) Adjusted qualified
                                                                                                        business             loss netting               business income
                                                                                                                                                        (Combine (a) and (b).
                                                                                                      income/(loss)       (see instructions)
                                                                                                                                                           If zero or less,
                                                                                                                                                              enter -0-.)

   SEE STATEMENT 32                                                                                                   (                        )
                                                                                                                      (                        )
                                                                                                                      (                        )


   2                                                                                      SEE STATEMENT 33
          Qualified business net (loss) carryforward from prior years. See instructions ~~~~~~~~~~~~~~~~~~~                                2        (       92,594.)

   3      Total of the trades, businesses, or aggregations losses. Combine the negative amounts on lines 1,
          column (a), and 2 for all trades, businesses, or aggregations ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        3       5,099,980.
                                                                                                                                                    (        )


   4      Total of the trades, businesses, or aggregations income. Add the positive amounts on line 1, column
          (a), for all trades, businesses, or aggregations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              443,019,930.


   5      Losses netted with income of other trades, businesses, or aggregations. Enter in the parentheses on
          line 5 the smaller of the absolute value of line 3 or line 4. Allocate this amount to each of the trades,
          businesses, or aggregations on line 1, column (b). See instructions     ~~~~~~~~~~~~~~~~~~~~~~~                                  5       5,099,980.
                                                                                                                                                    (        )


  6   Qualified business net (loss) carryforward. Subtract line 5 from line 3. If zero or more, enter -0-     6 (                     )
LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                 Schedule C (Form 8995-A) 2020




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                     Case 3:22-cv-00107-CDL                      AMENDED
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         8959
                                                                                                                                      OMB No. 1545-0074
                                                         Additional Medicare Tax
                                                                                                                                       2020
Form
                                        | If any line does not apply to you, leave it blank. See separate instructions.
Department of the Treasury                   | Attach to Form 1040, 1040-SR, 1040-NR, 1040-PR, or 1040-SS.                            Attachment
Internal Revenue Service                                                                                                              Sequence No. 71
                                        | Go to www.irs.gov/Form8959 for instructions and the latest information.
Name(s) shown on return                                                                                                   Your social security number
TONY D. & ELIZABETH A. TOWNLEY
 Part I Additional Medicare Tax on Medicare Wages
  1 Medicare wages and tips from Form W-2, box 5. If you have more than one
    Form W-2, enter the total of the amounts from box 5 ~~~~~~~~~~~~~~~                          1
  2 Unreported tips from Form 4137, line 6 ~~~~~~~~~~~~~~~~~~~~~                                 2
  3 Wages from Form 8919, line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      3
  4 Add lines 1 through 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4
  5 Enter the following amount for your filing status:
      Married filing jointly ~~~~~~~~~~~~~~~~~~~~~~~~~~ $250,000
      Married filing separately ~~~~~~~~~~~~~~~~~~~~~~~~ $125,000
    Single, Head of household, or Qualifying widow(er) ~~~~~~~~~~~ $200,000                 5
  6 Subtract line 5 from line 4. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   6
  7 Additional Medicare Tax on Medicare wages. Multiply line 6 by 0.9% (0.009). Enter here and go to
      Part II                                                            7
 Part II          Additional Medicare Tax on Self-Employment Income

  8 Self-employment income from Schedule SE (Form 1040), Part I, line 6. If you
    had a loss, enter -0- (Form 1040-PR or 1040-SS filers, see instructions.) ~~~~~~             8      1,669,542.
  9 Enter the following amount for your filing status:
    Married filing jointly ~~~~~~~~~~~~~~~~~~~~~~~~~~ $250,000
      Married filing separately ~~~~~~~~~~~~~~~~~~~~~~~~ $125,000
      Single, Head of household, or Qualifying widow(er) ~~~~~~~~~~~ $200,000                    9          250,000.
10 Enter the amount from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     10
11 Subtract line 10 from line 9. If zero or less, enter -0- ~~~~~~~~~~~~~~~~             11           250,000.
12 Subtract line 11 from line 8. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   12     1,419,542.
13 Additional Medicare Tax on self-employment income. Multiply line 12 by 0.9% (0.009). Enter here and
      go to Part III                                                        13            12,776.
 Part III         Additional Medicare Tax on Railroad Retirement Tax Act (RRTA) Compensation
14 Railroad retirement (RRTA) compensation and tips from Form(s) W-2, box 14
   (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          14
15 Enter the following amount for your filing status:
   Married filing jointly ~~~~~~~~~~~~~~~~~~~~~~~~~~ $250,000
      Married filing separately ~~~~~~~~~~~~~~~~~~~~~~~~ $125,000
   Single, Head of household, or Qualifying widow(er) ~~~~~~~~~~~ $200,000                15
16 Subtract line 15 from line 14. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   16
17 Additional Medicare Tax on railroad retirement (RRTA) compensation. Multiply line 16 by 0.9% (0.009).
      Enter here and go to Part IV                                                  17
 Part IV          Total Additional Medicare Tax
18 Add lines 7, 13, and 17. Also include this amount on Schedule 2 (Form 1040), line 8 (check box a)
   (Form 1040-PR or 1040-SS filers, see instructions), and go to Part V                                 18            12,776.
 Part V           Withholding Reconciliation
19 Medicare tax withheld from Form W-2, box 6. If you have more than one Form
   W-2, enter the total of the amounts from box 6 ~~~~~~~~~~~~~~~~~~                            19
20 Enter the amount from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     20
21 Multiply line 20 by 1.45% (0.0145). This is your regular Medicare tax
   withholding on Medicare wages ~~~~~~~~~~~~~~~~~~~~~~~~~                                       21
22 Subtract line 21 from line 19. If zero or less, enter -0-. This is your Additional Medicare Tax
   withholding on Medicare wages ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     22
23 Additional Medicare Tax withholding on railroad retirement (RRTA) compensation from Form W-2, box
   14 (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       23
24 Total Additional Medicare Tax withholding. Add lines 22 and 23. Also include this amount with
   federal income tax withholding on Form 1040, 1040-SR, or 1040-NR, line 25c (Form 1040-PR or
      1040-SS filers, see instructions)                                               24
023111 11-17-20     LHA      For Paperwork Reduction Act Notice, see your tax return instructions.                                      Form 8959 (2020)
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                                                       Net Investment Income Tax -
          8960
                                                                                                                                        OMB No. 1545-2227



                                                                                                                                         2020
Form
                                                      Individuals, Estates, and Trusts
Department of the Treasury
                                                                    | Attach to your tax return.                                        Attachment
Internal Revenue Service (99)            | Go to www.irs.gov/Form8960 for instructions and the latest information.                      Sequence No. 72

Name(s) shown on your tax return                                                                                        Your social security number or EIN
TONY D. & ELIZABETH A. TOWNLEY
 Part I Investment Income Section 6013(g) election (see instructions)
                                                      Section 6013(h) election (see instructions)
                                                      Regulations section 1.1411-10(g) election (see instructions)
  1       Taxable interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1      1,503,302.
  2       Ordinary dividends (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2         81,485.
  3       Annuities (see instructions)                                                 3
  4a      Rental real estate, royalties, partnerships, S corporations, trusts,
          etc. (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     4a    47,140,694.
      b   Adjustment for net income or loss derived in the ordinary course of
          a non-section 1411 trade or business (see instructions)     4b -46,785,062.
                                                                       STATEMENT 34
                                                                       ~~~~~~~~~~~~
      c   Combine lines 4a and 4b                                                     4c         355,632.
  5a      Net gain or loss from disposition of property (see instructions)    ~~~~~~~~~             5a 935,789,758.
      b   Net gain or loss from disposition of property that is not subject to
          net investment income tax (see instructions) ~~~~~~~~~~~~~~~~~~                           5b    -2,828,929.
      c   Adjustment from disposition of partnership interest or S corporation
          stock (see instructions)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~     5c-932,723,600.
      d   Combine lines 5a through 5c      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             5d          237,229.
  6       Adjustments to investment income for certain CFCs and PFICs (see instructions) ~~~~~~~~~~~~~~~                        6
  7       Other modifications to investment income (see instructions)                 SEE STATEMENT 35
                                                                             ~~~~~~~~~~~~~~~~~~~~~~~~~                          7          9,555.
  8       Total investment income. Combine lines 1, 2, 3, 4c, 5d, 6, and 7                               8      2,187,203.
 Part II         Investment Expenses Allocable to Investment Income and Modifications
  9a      Investment interest expenses (see instructions)      ~~~~~~~~~~~~~~~~                     9a
      b   State, local, and foreign income tax (see instructions)    ~~~~~~~~~~~~~                  9b               10,000.
      c   Miscellaneous investment expenses (see instructions) ~~~~~~~~~~~~~
                                                                 9c
      d   Add lines 9a, 9b, and 9c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  9d            10,000.
10        Additional modifications (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10
11        Total deductions and modifications. Add lines 9d and 10                                    11            10,000.
 Part III        Tax Computation
12        Net investment income. Subtract Part II, line 11, from Part I, line 8. Individuals, complete
          lines 13-17. Estates and trusts, complete lines 18a-21. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~                  12     2,177,203.
          Individuals:
13        Modified adjusted gross income (see instructions) ~~~~~~~~~~~~~~~                         13 985,025,987.
14        Threshold based on filing status (see instructions) ~~~~~~~~~~~~~~~                       14     250,000.
15        Subtract line 14 from line 13. If zero or less, enter -0- ~~~~~~~~~~~~~~                  15 984,775,987.
16        Enter the smaller of line 12 or line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         16     2,177,203.
17        Net investment income tax for individuals. Multiply line 16 by 3.8% (0.038). Enter here and
          include on your tax return (see instructions)      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17            82,734.
          Estates and Trusts:
18a       Net investment income (line 12 above) ~~~~~~~~~~~~~~~~~~~~~                               18a
      b   Deductions for distributions of net investment income and
          deductions under section 642(c) (see instructions) ~~~~~~~~~~~~~~~                        18b
      c   Undistributed net investment income. Subtract line 18b from 18a (see
          instructions). If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~                          18c
19a       Adjusted gross income (see instructions)       ~~~~~~~~~~~~~~~~~~~                        19a
      b   Highest tax bracket for estates and trusts for the year (see
          instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          19b
      c   Subtract line 19b from line 19a. If zero or less, enter -0- ~~~~~~~~~~~~~
                                                                             19c
20        Enter the smaller of line 18c or line 19c    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      20
21        Net investment income tax for estates and trusts. Multiply line 20 by 3.8% (0.038). Enter here
          and include on your tax return (see instructions)                                       21
LHA       For Paperwork Reduction Act Notice, see your tax return instructions.                                                           Form 8960 (2020)


023121 01-26-21
                     Case 3:22-cv-00107-CDL                          AMENDED
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        8582                                        Passive Activity Loss Limitations
                                                                                                                                              OMB No. 1545-1008



                                                                                                                                               2020
Form
                                                              | See separate instructions.
Department of the Treasury                             | Attach to Form 1040, 1040-SR, or 1041.                                               Attachment
Internal Revenue Service (99)            | Go to www.irs.gov/Form8582 for instructions and the latest information.                            Sequence No.   858
Name(s) shown on return                                                                                                             Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part I 2020 Passive Activity Loss
               Caution: Complete Worksheets 1, 2, and 3 before completing Part I.
Rental Real Estate Activities With Active Participation (For the definition of active participation, see
Special Allowance for Rental Real Estate Activities in the instructions.)
 1a Activities with net income (enter the amount from Worksheet 1, column (a)) ~~                 1a             518,375.
  b Activities with net loss (enter the amount from Worksheet 1, column (b)) ~~~                  1b    (                       )
     c Prior years' unallowed losses (enter the amount from Worksheet 1, column (c)) 1c ( 141,810.)
     d Combine lines 1a, 1b, and 1c                                                         1d             376,565.
Commercial Revitalization Deductions From Rental Real Estate Activities
 2a Commercial revitalization deductions from Worksheet 2, column (a) ~~~~~~                      2a    (                       )
     b Prior year unallowed commercial revitalization deductions from Worksheet 2,
       column (b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2b    (                       )
     c Add lines 2a and 2b                                                             2c    (                        )
All Other Passive Activities
 3a Activities with net income (enter the amount from Worksheet 3, column (a)) ~~                 3a
     b Activities with net loss (enter the amount from Worksheet 3, column (b)) ~~~  3b ( 25,848.)
     c Prior years' unallowed losses (enter the amount from Worksheet 3, column (c)) 3c (    561.)
     d Combine lines 3a, 3b, and 3c                                                         3d             -26,409.
 4     Combine lines 1d, 2c, and 3d. If this line is zero or more, stop here and include this form with your return; all
       losses are allowed, including any prior year unallowed losses entered on line 1c, 2b, or 3c. Report the losses on
       the forms and schedules normally used         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4             350,156.
       If line 4 is a loss and:   ¥ Line 1d is a loss, go to Part II.
                                  ¥ Line 2c is a loss (and line 1d is zero or more), skip Part II and go to Part III.
                                  ¥ Line 3d is a loss (and lines 1d and 2c are zero or more), skip Parts II and III and go to line 15.
 Caution: If your filing status is married filing separately and you lived with your spouse at any time during the year, do not complete
 Part II or Part III. Instead, go to line 15.
 Part II       Special Allowance for Rental Real Estate Activities With Active Participation
               Note: Enter all numbers in Part II as positive amounts. See instructions for an example.
 5     Enter the smaller of the loss on line 1d or the loss on line 4                                      5
 6     Enter $150,000. If married filing separately, see instructions     ~~~~~~~~~                6
 7     Enter modified adjusted gross income, but not less than zero. See instructions              7
       Note: If line 7 is greater than or equal to line 6, skip lines 8 and 9, enter -0- on
       line 10. Otherwise, go to line 8.
 8     Subtract line 7 from line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                8
 9     Multiply line 8 by 50% (0.50). Do not enter more than $25,000. If married filing separately, see instructions       ~~        9
10     Enter the smaller of line 5 or line 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  10
       If line 2c is a loss, go to Part III. Otherwise, go to line 15.
 Part III Special Allowance for Commercial Revitalization Deductions From Rental Real Estate Activities
               Note: Enter all numbers in Part III as positive amounts. See the example for Part II in the instructions.
11     Enter $25,000 reduced by the amount, if any, on line 10. If married filing separately, see instructions          ~~~~~       11
12     Enter the loss from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       12
13     Reduce line 12 by the amount on line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  13
14     Enter the smallest of line 2c (treated as a positive amount), line 11, or line 13                           14
 Part IV Total Losses Allowed
15     Add the income, if any, on lines 1a and 3a and enter the total ~~~~~~~~~~~~~~~~~~~~~~~~~                                     15
16     Total losses allowed from all passive activities for 2020. Add lines 10, 14, and 15. See instructions
       to find out how to report the losses on your tax return                                          16




LHA     019761 12-01-20    For Paperwork Reduction Act Notice, see instructions.                                                                Form 8582 (2020)
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Form 8582 (2020) TONY D. & ELIZABETH A. TOWNLEY                                                                                                          Page 2
Caution: The worksheets must be filed with your tax return. Keep a copy for your records.
Worksheet 1 - For Form 8582, Lines 1a, 1b, and 1c (see instructions)
                                                                Current year                         Prior years               Overall gain or loss
                  Name of activity
                                                    (a) Net income        (b) Net loss           (c) Unallowed
                                                                                                                         (d) Gain                (e) Loss
                                                        (line 1a)           (line 1b)             loss (line 1c)




                                                    SEE ATTACHED STATEMENT FOR WORKSHEET 1
Total. Enter on Form 8582, lines 1a,
1b, and 1c        |     518,375.                                               -141,810.
Worksheet 2 - For Form 8582, Lines 2a and 2b (see instructions)
                                                          (a) Current year                    (b) Prior year
                  Name of activity                                                                                                    (c) Overall loss
                                                        deductions (line 2a)          unallowed deductions (line 2b)




Total. Enter on Form 8582, lines 2a
and 2b                      |
Worksheet 3 - For Form 8582, Lines 3a, 3b, and 3c (see instructions)
                                                                Current year                         Prior years               Overall gain or loss
                  Name of activity
                                                    (a) Net income        (b) Net loss           (c) Unallowed
                                                                                                                         (d) Gain                (e) Loss
                                                        (line 3a)           (line 3b)             loss (line 3c)




                                                    SEE ATTACHED STATEMENT FOR WORKSHEET 3
Total. Enter on Form 8582, lines 3a,
3b, and 3c       |                   -25,848.           -561.
Worksheet 4 - Use This Worksheet if an Amount is Shown on Form 8582, Line 10 or 14. See instructions.
                                                   Form or schedule
                                                    and line number                                                                            (d) Subtract
                                                                                                                        (c) Special             column (c)
                  Name of activity                 to be reported on           (a) Loss               (b) Ratio
                                                                                                                         allowance
                                                                                                                                             from column (a)
                                                   (see instructions)




Total                                |
Worksheet 5 - Allocation of Unallowed Losses (see instructions)
                                                         Form or schedule
                                                          and line number
                  Name of activity                                                        (a) Loss                 (b) Ratio             (c) Unallowed loss
                                                         to be reported on
                                                         (see instructions)




Total                                    |
019762 12-01-20                                                                                                                               Form 8582 (2020)
                     Case 3:22-cv-00107-CDL                          AMENDED
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                                                            ALTERNATIVE MINIMUM TAX

        8582                                        Passive Activity Loss Limitations
                                                                                                                                              OMB No. 1545-1008



                                                                                                                                               2020
Form
                                                              | See separate instructions.
Department of the Treasury                             | Attach to Form 1040, 1040-SR, or 1041.                                               Attachment
Internal Revenue Service (99)            | Go to www.irs.gov/Form8582 for instructions and the latest information.                            Sequence No.   858
Name(s) shown on return                                                                                                             Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part I 2020 Passive Activity Loss
               Caution: Complete Worksheets 1, 2, and 3 before completing Part I.
Rental Real Estate Activities With Active Participation (For the definition of active participation, see
Special Allowance for Rental Real Estate Activities in the instructions.)
 1a Activities with net income (enter the amount from Worksheet 1, column (a)) ~~                 1a             518,224.
  b Activities with net loss (enter the amount from Worksheet 1, column (b)) ~~~                  1b    (                       )
     c Prior years' unallowed losses (enter the amount from Worksheet 1, column (c)) 1c ( 136,094.)
     d Combine lines 1a, 1b, and 1c                                                         1d             382,130.
Commercial Revitalization Deductions From Rental Real Estate Activities
 2a Commercial revitalization deductions from Worksheet 2, column (a) ~~~~~~                      2a    (                       )
     b Prior year unallowed commercial revitalization deductions from Worksheet 2,
       column (b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2b    (                       )
     c Add lines 2a and 2b                                                             2c    (                        )
All Other Passive Activities
 3a Activities with net income (enter the amount from Worksheet 3, column (a)) ~~                 3a
     b Activities with net loss (enter the amount from Worksheet 3, column (b)) ~~~  3b ( 25,848.)
     c Prior years' unallowed losses (enter the amount from Worksheet 3, column (c)) 3c (        )
     d Combine lines 3a, 3b, and 3c                                                         3d             -25,848.
 4     Combine lines 1d, 2c, and 3d. If this line is zero or more, stop here and include this form with your return; all
       losses are allowed, including any prior year unallowed losses entered on line 1c, 2b, or 3c. Report the losses on
       the forms and schedules normally used         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4             356,282.
       If line 4 is a loss and:   ¥ Line 1d is a loss, go to Part II.
                                  ¥ Line 2c is a loss (and line 1d is zero or more), skip Part II and go to Part III.
                                  ¥ Line 3d is a loss (and lines 1d and 2c are zero or more), skip Parts II and III and go to line 15.
 Caution: If your filing status is married filing separately and you lived with your spouse at any time during the year, do not complete
 Part II or Part III. Instead, go to line 15.
 Part II       Special Allowance for Rental Real Estate Activities With Active Participation
               Note: Enter all numbers in Part II as positive amounts. See instructions for an example.
 5     Enter the smaller of the loss on line 1d or the loss on line 4                                      5
 6     Enter $150,000. If married filing separately, see instructions     ~~~~~~~~~                6
 7     Enter modified adjusted gross income, but not less than zero. See instructions              7
       Note: If line 7 is greater than or equal to line 6, skip lines 8 and 9, enter -0- on
       line 10. Otherwise, go to line 8.
 8     Subtract line 7 from line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                8
 9     Multiply line 8 by 50% (0.50). Do not enter more than $25,000. If married filing separately, see instructions       ~~        9
10     Enter the smaller of line 5 or line 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  10
       If line 2c is a loss, go to Part III. Otherwise, go to line 15.
 Part III Special Allowance for Commercial Revitalization Deductions From Rental Real Estate Activities
               Note: Enter all numbers in Part III as positive amounts. See the example for Part II in the instructions.
11     Enter $25,000 reduced by the amount, if any, on line 10. If married filing separately, see instructions          ~~~~~       11
12     Enter the loss from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       12
13     Reduce line 12 by the amount on line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  13
14     Enter the smallest of line 2c (treated as a positive amount), line 11, or line 13                           14
 Part IV Total Losses Allowed
15     Add the income, if any, on lines 1a and 3a and enter the total ~~~~~~~~~~~~~~~~~~~~~~~~~                                     15
16     Total losses allowed from all passive activities for 2020. Add lines 10, 14, and 15. See instructions
       to find out how to report the losses on your tax return                                          16




LHA     019761 12-01-20    For Paperwork Reduction Act Notice, see instructions.                                                                Form 8582 (2020)
                  Case 3:22-cv-00107-CDL                    AMENDED
                                                           Document 6-1 Filed 10/28/22                             Page 52 of 666
                                  ALTERNATIVE MINIMUM TAX
Form 8582 (2020) TONY D. & ELIZABETH A. TOWNLEY                                                                                                          Page 2
Caution: The worksheets must be filed with your tax return. Keep a copy for your records.
Worksheet 1 - For Form 8582, Lines 1a, 1b, and 1c (see instructions)
                                                                Current year                         Prior years               Overall gain or loss
                  Name of activity
                                                    (a) Net income        (b) Net loss           (c) Unallowed
                                                                                                                         (d) Gain                (e) Loss
                                                        (line 1a)           (line 1b)             loss (line 1c)




                                                      SEE ATTACHED STATEMENT FOR WORKSHEET 1
Total. Enter on Form 8582, lines 1a,
1b, and 1c        |     518,224.                                               -136,094.
Worksheet 2 - For Form 8582, Lines 2a and 2b (see instructions)
                                                          (a) Current year                    (b) Prior year
                  Name of activity                                                                                                    (c) Overall loss
                                                        deductions (line 2a)          unallowed deductions (line 2b)




Total. Enter on Form 8582, lines 2a
and 2b                      |
Worksheet 3 - For Form 8582, Lines 3a, 3b, and 3c (see instructions)
                                                                Current year                         Prior years               Overall gain or loss
                  Name of activity
                                                    (a) Net income        (b) Net loss           (c) Unallowed
                                                                                                                         (d) Gain                (e) Loss
                                                        (line 3a)           (line 3b)             loss (line 3c)




                                                      SEE ATTACHED STATEMENT FOR WORKSHEET 3
Total. Enter on Form 8582, lines 3a,
3b, and 3c       |                   -25,848.
Worksheet 4 - Use This Worksheet if an Amount is Shown on Form 8582, Line 10 or 14. See instructions.
                                                   Form or schedule
                                                    and line number                                                                            (d) Subtract
                                                                                                                        (c) Special             column (c)
                  Name of activity                 to be reported on           (a) Loss               (b) Ratio
                                                                                                                         allowance
                                                                                                                                             from column (a)
                                                   (see instructions)




Total                                |
Worksheet 5 - Allocation of Unallowed Losses (see instructions)
                                                         Form or schedule
                                                          and line number
                  Name of activity                                                        (a) Loss                 (b) Ratio             (c) Unallowed loss
                                                         to be reported on
                                                         (see instructions)




Total                                    |
019762 12-01-20                                                                                                                               Form 8582 (2020)
                       Case 3:22-cv-00107-CDL                               AMENDED
                                                                           Document 6-1 Filed 10/28/22                                          Page 53 of 666


Form      8283                                      Noncash Charitable Contributions                                                                                   OMB. No. 1545-0074

(Rev. December 2020)                   | Attach one or more Forms 8283 to your tax return if you claimed a total deduction
Department of the Treasury                           of over $500 for all contributed property.                                                                         Attachment
Internal Revenue Service             | Go to www.irs.gov/Form8283 for instructions and the latest information.
                                                                                                                                                                        Sequence No.   155
Name(s) shown on your income tax return                                                                                                                             Identifying number

TONY D. & ELIZABETH A. TOWNLEY
Note: Figure the amount of your contribution deduction before completing this form. See your tax return instructions.
Section A. Donated Property of $5,000 or Less and Publicly Traded Securities - List in this section only an item
           (or a group of similar items) for which you claimed a deduction of $5,000 or less. Also list publicly traded
                securities and certain other property even if the deduction is more than $5,000. See instructions.
 Part I          Information on Donated Property - If you need more space, attach a statement.


                             (a) Name and address of the                            (b) If donated property is a vehicle, check        (c) Description and condition of donated property
  1                                                                                the box. Also enter the vehicle identification   (For a vehicle, enter the year, make, model, and mileage.
                                  donee organization                                number (unless Form 1098-C is attached)           For securities and other property, see instructions.)
      PIEDMONT ATHENS REGIONAL FDN                                                                                                  345 SHS OF CHIPOTLE
 A 1199    PRINCE, ATHENS, GA 30606                                                                                                 MEXICAN GRILL PUBLICLY TR

 B


 C


 D


 E
Note: If the amount you claimed as a deduction for an item is $500 or less, you do not have to complete columns (e), (f), and (g).
              (d)Date of the     (e) Date acquired       (f) How acquired        (g)Donor's cost or   (h) (see
                                                                                                           Fair market value    (i) Method used to determine the fair
                contribution      by donor (mo., yr.)         by donor             adjusted basis               instructions)               market value

      A        12/21/20                  03/20            PURCHASE                           226,583.                     485,557. HIGH LOW METHOD
      B
      C
      D
      E
Section B. Donated Property Over $5,000 (Except Publicly Traded Securities, Vehicles, Intellectual Property or Inventory Reportable
           in Section A) - Complete this section for one item (or a group of similar items) for which you claimed a deduction of more than
                $5,000 per item or group (except contributions reportable in Section A). Provide a separate form for each item donated unless it
                is part of a group of similar items. A qualified appraisal is generally required for items reportable in Section B. See instructions.
 Part I           Information on Donated Property
 2        Check the box that describes the type of property donated.
  a             Art* (contribution of $20,000 or more)            e           Other Real Estate                                        i         Vehicles
  b             Qualified Conservation Contribution               f           Securities                                               j         Clothing and household items
  c             Equipment                                         g           Collectibles**                                           k         Other
  d          Art* (contribution of less than $20,000)        h         Intellectual Property
  *Art includes paintings, sculptures, watercolors, prints, drawings, ceramics, antiques, decorative arts, textiles, carpets, silver, rare manuscripts,
  historical memorabilia, and other similar objects.
  **Collectibles include coins, stamps, books, gems, jewelry, sports memorabilia, dolls, etc., but not art as defined above.
Note: In certain cases, you must attach a qualified appraisal of the property. See instructions.
 3              (a) Description of donated property (if you need                   (b) If any tangible personal property or real property was donated, give a brief       (c) Appraised fair
                                                                                   summary of the overall physical condition of the property at the time of the gift          market value
                    more space, attach a separate statement)
  A
  B
  C
               (d) Date          (e) How acquired                (f) Donor's cost or              (g) For bargain sales,               (h) Amount claimed                  (i) Date of
             acquired by             by donor                       adjusted basis                    enter amount                        as a deduction                  contribution
                donor                                                                              received and attach                  (see instructions)             (see instructions)
              (mo., yr.)                                                                          a separate statement.
  A
  B
 C
LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                Form 8283 (Rev. 12-2020)
019931 12-01-20
                            Case 3:22-cv-00107-CDL                                           AMENDED
                                                                                            Document 6-1 Filed 10/28/22                                               Page 54 of 666

            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                     | Attach to your tax return. SCHEDULE F- 1
                                                                                                                                                                                                 2020
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number



TONY D. & ELIZABETH A. TOWNLEY                                                   LOG CREEK TRUST
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2020                                                    ~~~~~~~~~~~~~~                                17
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22                             0.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
016251 12-18-20          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2020)
                  Case 3:22-cv-00107-CDL                             AMENDED
                                                                    Document 6-1 Filed 10/28/22                              Page 55 of 666

Form 4562 (2020)                 TONY D. & ELIZABETH A. TOWNLEY                                                                                                                Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      ! !
26 Property used more than 50% in a qualified business use:



                                      ! !
                                                          %



                                      ! !
                                                          %
                                                          %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                          S/L -



                                      ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2020 tax year:



                                                            ! !
43 Amortization of costs that began before your 2020 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
016252 12-18-20                                                                                                                                                    Form 4562 (2020)
                            Case 3:22-cv-00107-CDL                                           AMENDED
                                                                                            Document 6-1 Filed 10/28/22                                               Page 56 of 666

            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                     | Attach to your tax return. SCHEDULE E- 2
                                                                                                                                                                                                 2020
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number

                                                                                                                           FRAZER CREEK
TONY D. & ELIZABETH A. TOWNLEY                                                                                             INVESTMENTS, LLC - VARIO
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2020                                                    ~~~~~~~~~~~~~~                                17             268,370.
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property                                                                                                                                                             39,785.
                                                                                   /          STATEMENT 51                                27.5 yrs.             MM                S/L
                                                                                   /                39 yrs.                                                     MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22             308,155.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
016251 12-18-20          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2020)
                  Case 3:22-cv-00107-CDL                             AMENDED
                                                                    Document 6-1 Filed 10/28/22                              Page 57 of 666

Form 4562 (2020)                 TONY D. & ELIZABETH A. TOWNLEY                                                                                                                Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      ! !
26 Property used more than 50% in a qualified business use:



                                      ! !
                                                          %



                                      ! !
                                                          %
                                                          %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                          S/L -



                                      ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2020 tax year:



                                                            ! !
43 Amortization of costs that began before your 2020 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
016252 12-18-20                                                                                                                                                    Form 4562 (2020)
                            Case 3:22-cv-00107-CDL                                           AMENDED
                                                                                            Document 6-1 Filed 10/28/22                                               Page 58 of 666

            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                     | Attach to your tax return. SCHEDULE E- 3
                                                                                                                                                                                                 2020
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number

                                                                                                                           LANE CREEK INVESTMENTS,
TONY D. & ELIZABETH A. TOWNLEY                                                                                             LLC - VARIOUS (LANE CREE
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2020                                                    ~~~~~~~~~~~~~~                                17                36,451.
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                            STATEMENT 52         MM         S/L                                                                   104,840.
                                   Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22             141,291.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
016251 12-18-20          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2020)
                  Case 3:22-cv-00107-CDL                             AMENDED
                                                                    Document 6-1 Filed 10/28/22                              Page 59 of 666

Form 4562 (2020)                 TONY D. & ELIZABETH A. TOWNLEY                                                                                                                Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      ! !
26 Property used more than 50% in a qualified business use:



                                      ! !
                                                          %



                                      ! !
                                                          %
                                                          %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                          S/L -



                                      ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2020 tax year:



                                                            ! !
43 Amortization of costs that began before your 2020 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
016252 12-18-20                                                                                                                                                    Form 4562 (2020)
                            Case 3:22-cv-00107-CDL                                           AMENDED
                                                                                            Document 6-1 Filed 10/28/22                                               Page 60 of 666

            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                     | Attach to your tax return. SCHEDULE C- 7
                                                                                                                                                                                                 2020
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number



TONY D. & ELIZABETH A. TOWNLEY                                                   OTF MANAGEMENT, LLC
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2020                                                    ~~~~~~~~~~~~~~                                17                   1,293.
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21                18,100.
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22                19,393.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
016251 12-18-20          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2020)
                  Case 3:22-cv-00107-CDL                             AMENDED
                                                                    Document 6-1 Filed 10/28/22                              Page 61 of 666

Form 4562 (2020)                 TONY D. & ELIZABETH A. TOWNLEY                                                                                                                Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
24a Do you have evidence to support the business/investment use claimed?         X Yes                 No 24b If "Yes," is the evidence written? X Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)           (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation   Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction   section 179
                                service      use percentage                                 use only)
                                                                                                                                                        cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25       18,100.


                                      ! !
26 Property used more than 50% in a qualified business use:
2021 LINCOLN

                                      ! !
                                                          %
NAVIGATOR                        122320100.00 %                      91,406.             73,306. 5.00 200DB-MQ

                                      ! !                 %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                          S/L -



                                      ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28 18,100.
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1        29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                   (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle    1      Vehicle           Vehicle                    Vehicle               Vehicle
   year (don't include commuting miles) ~~~~~~~                                                 0
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~                                                         0
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No        Yes          No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                              Yes         No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                   (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2020 tax year:



                                                            ! !
43 Amortization of costs that began before your 2020 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
016252 12-18-20                                                                                                                                                Form 4562 (2020)
                     Case 3:22-cv-00107-CDL                      AMENDED
                                                                Document 6-1 Filed 10/28/22                     Page 62 of 666
                                         Limitation on Business Interest Expense
Form   8990
(Rev. May 2020)
                                                   Under Section 163(j)                                                             OMB No. 1545-0123
                                                                    | Attach to your tax return.
Department of the Treasury
Internal Revenue Service          | Go to www.irs.gov/Form8990 for instructions and the latest information.
Taxpayer name(s) shown on tax return                                                                                  Identification number
       TONY D. & ELIZABETH A. TOWNLEY
If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
Name of foreign entity |
Employer identification number, if any |
Reference ID number |
 Part I        Computation of Allowable Business Interest Expense
 Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
 taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

Section I - Business Interest Expense
   1      Current year business interest expense (not including floor plan
          financing interest expense), before the section 163(j) limitation ~~~~~~~          1         1,008,452.
   2      Disallowed business interest expense carryforwards from prior
          years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                        2
   3      Partner's excess business interest expense treated as paid or
          accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~               3
   4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                            4
   5      Total business interest expense. Add lines 1 through 4  |                                 5        1,008,452.
Section II - Adjusted Taxable Income

                                                                       Taxable Income

   6      Taxable income. See instructions                                             6      860,557,093.

                                 Additions (adjustments to be made if amounts are taken into account on line 6)

   7      Any item of loss or deduction that is not properly allocable to a
          trade or business of the taxpayer. See instructions   ~~~~~~~~~~~~                 7      124,232,311.
   8      Any business interest expense not from a pass-through entity. See
          instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 8           620,924.
   9      Amount of any net operating loss deduction under section 172        ~~~~~~         9
 10       Amount of any qualified business income deduction allowed under
          section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10
 11       Deduction allowable for depreciation, amortization, or depletion attributable
          to a trade or business. See instructions ~~~~~~~~~~~~~~~~~~                        11          468,839.
 12       Amount of any loss or deduction items from a pass-through entity.
          See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     12        5,120,698.
 13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                            13
 14       Total current year partner's excess taxable income (Schedule A, line
          44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     14       49,079,588.
 15       Total current year S corporation shareholder's excess taxable
          income (Schedule B, line 46, column (c))
                                              ~~~~~~~~~~~~~~~~~  15
 16       Total. Add lines 7 through 15  |                                            16     179,522,360.

                                 Reductions (adjustments to be made if amounts are taken into account on line 6)

 17       Any item of income or gain that is not properly allocable to a trade
          or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                      17 (                      )
 18       Any business interest income not from a pass-through entity. See instructions      18 (                      )
 19       Amount of any income or gain items from a pass-through entity.
          See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     19 (     51,879,351.)
 20       Other reductions. See instructions   ~~~~~~~~~~~~~~~~~~~~                          20 (                      )
 21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                          21 (   51,879,351.)
 22       Adjusted taxable income. Combine lines 6, 16, and 21. (If zero or less, enter -0-.)  |                22   988,200,102.
LHA For Paperwork Reduction Act Notice, see the instructions.                                                                 Form 8990 (Rev. 5-2020)


023211 06-29-20
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Section III - Business Interest Income
 23      Current year business interest income. See instructions ~~~~~~~~~~                  23            386,301.
 24      Excess business interest income from pass-through entities (total of
         Schedule A, line 44, column (g), and Schedule B, line 46, column (d)) ~~~~          24
 25      Total. Add lines 23 and 24  |                                                   25           386,301.
Section IV - Section 163(j) Limitation Calculations

                                                      Limitation on Business Interest Expense

 26      Multiply adjusted taxable income (line 22) by the applicable percentage. See
         instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       26    494,100,051.
 27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                            27        386,301.
 28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                     28
 29      Total. Add lines 26, 27, and 28  |                                                29     494,486,352.

                                                        Allowable Business Interest Expense

 30      Total current year business interest expense deduction. See instructions                              30          1,008,452.

                                                                      Carryforward

 31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31
 Part II     Partnership Pass-Through Items
 Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
 and are not carried forward by the partnership. See the instructions for more information.

                                                          Excess Business Interest Expense

 32      Excess business interest expense. Enter amount from line 31                                     32

                               Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

 33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
 34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
 35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
 36      Excess taxable income. Multiply line 35 by line 22                                        36

                                                          Excess Business Interest Income

 37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
         less, enter -0-.)                                                       37
 Part III S Corporation Pass-Through Items
 Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
 See the instructions for more information.

                                                                Excess Taxable Income

 38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
 39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
 40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
 41      Excess taxable income. Multiply line 40 by line 22                                        41

                                                          Excess Business Interest Income

 42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
         less, enter -0-.)                                                       42
                                                                                                                                    Form 8990 (Rev. 5-2020)




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 SCHEDULE A                Summary of Partner's Section 163(j) Excess Items
 Any taxpayer that owns an interest in a partnership subject to section 163(j) should complete Schedule A before completing Part I.
                                                                                Excess Business Interest Expense                         (f) Current year      (g) Current year     (h) Excess business          (i) Current year
                                                                                                                                              excess           excess business    interest expense treated   excess business interest
           (a) Name of partnership                 (b) EIN        (c) Current               (d) Prior                (e) Total                                                       as paid or accrued       expense carryforward
                                                                      year             year carryforward           ((c) plus (d))        taxable income         interest income
                                                                                                                                                                                      (see instructions)          ((e) minus (h))
         CLUCKZ HOLDINGS, LLC
 43                                                                             0.                    0.                            0. 35972055.                             0.                      0.                         0.
         M&T AVIATION, LLC
                                           0.                                                         0.                            0.   137,150.                            0.                      0.                         0.
         ZAXBY'S OPERATING COMPANY, LP (TDT)
                                           0.                                                         0.                            0. 6,533,743.                            0.                      0.                         0.
         CLUCKZ HOLDINGS, LLC (SECG)
                                           0.                                                         0.                            0. 6,436,640.                            0.                      0.                         0.




 44      Total  |                                                                  49079588.                0.                                                                            0.
 SCHEDULE B             Summary of S Corporation Shareholder's Excess Taxable Income and Excess Business Interest Income
 Any taxpayer that is required to complete Part I and is a shareholder in an S corporation that has excess taxable income or excess business interest income should complete Schedule B
 before completing Part I.

                                     (a) Name of S corporation                                             (b) EIN                           (c) Current year excess                        (d) Current year excess
                                                                                                                                                  taxable income                           business interest income


 45




 46      Total  |                                                                                                                      0.                                                   0.
                                                                                                                                                                                                     Form 8990 (Rev. 5-2020)




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TONY D. & ELIZABETH A. TOWNLEY                             Business Interest Expense
                                                                        Prior Disallowed     Business Interest   Business Interest   Limited Business      Disallowed
                                         Description                    Business Interest                                                               Business Interest
                                                                                                 Expense          Expense Ratio      Interest Expense
                                                                            Expense                                                                         Expense

  OTF MANAGEMENT, LLC                                                                                      0.
  FRAZER CREEK INVESTMENTS, LLC                                                                            0.
  LANE CREEK INVESTMENTS, LLC                                                                              0.
  OGEECHEE TIMBER, LLC                                                                                   346.          .000343                  346.
  LOG CREEK TRUST                                                                                          0.




Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   0.               346.             .0003                 346.                  0.

                                                                                                                                                             023301 04-01-20
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                                           Worksheet for Figuring a Shareholder's Stock Basis
                                                                  (Keep for your records.)



Name of Entity:      PLUCKED CHICKEN, INC.                                                                       EIN:


   1. Your stock basis at the beginning of the year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    1.      21,503,379.

       Increases:


   2. Money and your adjusted basis in property contributed to the corporation ~~~~~~~~~~~~~~~~~~                       2.


   3. Your share of the corporation's income (including tax-exempt income) reduced by any amount included in
      income with respect to clean renewable energy or (for bonds issued before October 4, 2008) qualified
       zone academy bonds      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              3.     906,516,216.

   4. Other increases to basis, including your share of the excess of the deductions for
      depletion (other than oil and gas depletion) over the basis of the property subject to
                                                    SEE STATEMENT 53
       depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     4.        790,714.

       Decreases:


   5. Distributions of money and the fair market value of property (excluding dividend distributions reportable
      on Form 1099-DIV and distributions in excess of basis (the sum of lines 1 through 4)) ~~~~~~~~~~~~                5. ( 928,810,309.)


   6. Enter: (a) Your share of the corporation's nondeductible expenses and the depletion deduction for
      any oil and gas property held by the corporation (but only to the extent your share of the property's
       adjusted basis exceeds the depletion deduction) or (b) if the election under Regulations section
       1.1367-1(g) applies, your share of the corporation's deductions and losses (include your entire share
       of the section 179 expense deduction even if your allowable section 179 expense deduction is smaller)
       adjusted, if the corporation made a charitable contribution of property, as described in (4) under
       Basis Rules    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  6. (      531,748.)

   7. If the election under Regulations section 1.1367-1(g) applies, enter the amount from 6(a) above. Otherwise
      enter the amount from 6(b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              7. (      839,397.)

   8. Enter the smaller of (a) the excess, as of the beginning of the tax year, of the amount you are owed for
      loans you made to the corporation over your basis in those loans or (b) the sum of lines 1 through 7.
       This amount increases your loan basis    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     8. (              )


   9. Your stock basis in the corporation at the end of the year. Combine lines 1 through 8     ~~~~~~~~~~~~            9.              0.




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                                                Shareholder Debt Basis Worksheet
Name of Entity:                                                                                           EIN:

PLUCKED CHICKEN, INC.
                                                                            Debt Basis
10. Debt basis, beginning of year (Not less than zero)                                        0.
11. Loans made during the year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
12. Restoration of debt basis (from line 8) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
13. Subtotal (Add lines 11 and 12)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
14. Less: Loan repayments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
15. Gain from loan repayments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16. Other adjustments:




17. Subtotal (Combine lines 10, 13, 14, 15 and 16) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
18. Applied against excess loss and deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
19. Debt basis, end of year (Not less than zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          0.
20. Total shareholder stock and debt basis, end of year (Add lines 9 and 19) (Not less than zero)   ~~~~~~~~~~~~~~~~~             0.




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                                                  ALTERNATIVE MINIMUM TAX
                                           Worksheet for Figuring a Shareholder's Stock Basis
                                                                  (Keep for your records.)



Name of Entity:      PLUCKED CHICKEN, INC.                                                                       EIN:


   1. Your stock basis at the beginning of the year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    1.      20,877,794.

       Increases:


   2. Money and your adjusted basis in property contributed to the corporation ~~~~~~~~~~~~~~~~~~                       2.


   3. Your share of the corporation's income (including tax-exempt income) reduced by any amount included in
      income with respect to clean renewable energy or (for bonds issued before October 4, 2008) qualified
       zone academy bonds      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              3.     906,523,493.

   4. Other increases to basis, including your share of the excess of the deductions for
      depletion (other than oil and gas depletion) over the basis of the property subject to
                                                    SEE STATEMENT 55
       depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     4.        790,714.

       Decreases:


   5. Distributions of money and the fair market value of property (excluding dividend distributions reportable
      on Form 1099-DIV and distributions in excess of basis (the sum of lines 1 through 4)) ~~~~~~~~~~~~                5. ( 928,192,001.)


   6. Enter: (a) Your share of the corporation's nondeductible expenses and the depletion deduction for
      any oil and gas property held by the corporation (but only to the extent your share of the property's
       adjusted basis exceeds the depletion deduction) or (b) if the election under Regulations section
       1.1367-1(g) applies, your share of the corporation's deductions and losses (include your entire share
       of the section 179 expense deduction even if your allowable section 179 expense deduction is smaller)
       adjusted, if the corporation made a charitable contribution of property, as described in (4) under
       Basis Rules    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  6. (      531,748.)

   7. If the election under Regulations section 1.1367-1(g) applies, enter the amount from 6(a) above. Otherwise
      enter the amount from 6(b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              7. (      839,397.)

   8. Enter the smaller of (a) the excess, as of the beginning of the tax year, of the amount you are owed for
      loans you made to the corporation over your basis in those loans or (b) the sum of lines 1 through 7.
       This amount increases your loan basis    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     8. (              )


   9. Your stock basis in the corporation at the end of the year. Combine lines 1 through 8     ~~~~~~~~~~~~            9.              0.




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                                                Shareholder Debt Basis Worksheet
Name of Entity:                                                                                           EIN:

PLUCKED CHICKEN, INC.
                                                                            Debt Basis
10. Debt basis, beginning of year (Not less than zero)                                        0.
11. Loans made during the year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
12. Restoration of debt basis (from line 8) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
13. Subtotal (Add lines 11 and 12)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
14. Less: Loan repayments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
15. Gain from loan repayments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16. Other adjustments:




17. Subtotal (Combine lines 10, 13, 14, 15 and 16) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
18. Applied against excess loss and deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
19. Debt basis, end of year (Not less than zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          0.
20. Total shareholder stock and debt basis, end of year (Add lines 9 and 19) (Not less than zero)   ~~~~~~~~~~~~~~~~~             0.




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           STATEMENT OF DISCLOSURE OF ACTIVITY GROUPINGS PURSUANT TO IRC
           SEC. 469 AND REG. 1.469-4

           NAME: TONY D. TOWNLEY
           TAXPAYER ID NUMBER:


           FOR THE TAX YEAR ENDING DECEMBER 31, 2020

           THE TAXPAYER HEREBY CONFIRMS THEIR EXISTING ELECTION TO GROUP THE
           FOLLOWING ACTIVITIES AS A SINGLE ACTIVITY. THE ACTIVITIES THAT ARE
           GROUPED INTO ONE ACTIVITY CONSTITUTE AN APPROPRIATE ECONOMIC UNIT FOR
           THE MEASUREMENT OF GAIN OR LOSS FOR THE PURPOSES OF IRC SECTION 469.

           THE ACTIVITIES THAT ARE BEING GROUPED ARE AS FOLLOWS:

           NAME: PLUCKED CHICKEN, INC. - PLUCKED CHICKEN, INC.
           ADDRESS: 1040 FOUNDERS BLVD., ATHENS, GA 30606
           EIN:


           NAME: LAND WARRIORS, LLC - LAND WARRIORS, LLC
           ADDRESS: 1280 SNOWS MILL RD, BOGART, GA 30622
           EIN:


           NAME: CLUCKZ HOLDINGS, LLC
           ADDRESS: 1040 FOUNDERS BLVD., ATHENS, GA 30606
           EIN:


           NAME: M&T AVIATION, LLC
           ADDRESS: 1040 FOUNDERS BLVD, ATHENS, GA 30606
           EIN:


           NAME: ZAXBY'S OPERATING COMPANY, LP (TDT)
           ADDRESS: 1040 FOUNDERS BLVD., ATHENS, GA 30606
           EIN:


           NAME: CLUCKZ HOLDINGS, LLC (SECG)
           ADDRESS: 1040 FOUNDERS BLVD., ATHENS, GA 30606
           EIN:




026340
04-01-20
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           STATEMENT OF DISCLOSURE OF ACTIVITY GROUPINGS PURSUANT TO IRC
           SEC. 469 AND REG. 1.469-4

           NAME: TONY D. TOWNLEY
           TAXPAYER ID NUMBER:


           FOR THE TAX YEAR ENDING DECEMBER 31, 2020

           THE TAXPAYER HEREBY CONFIRMS THEIR EXISTING ELECTION TO GROUP THE
           FOLLOWING ACTIVITIES AS A SINGLE ACTIVITY. THE ACTIVITIES THAT ARE
           GROUPED INTO ONE ACTIVITY CONSTITUTE AN APPROPRIATE ECONOMIC UNIT FOR
           THE MEASUREMENT OF GAIN OR LOSS FOR THE PURPOSES OF IRC SECTION 469.

           THE ACTIVITIES THAT ARE BEING GROUPED ARE AS FOLLOWS:

           NAME: OTF MANAGEMENT, LLC
           ADDRESS: 1280 SNOWS MILL RD, BOGART, GA 30622

           NAME: LOG CREEK, LLLP - LOG CREEK, LLLP
           ADDRESS: 1280 SNOWS MILL RD., BOGART, GA 30622
           EIN:


           NAME: LOG CREEK, LLLP - LOG CREEK, LLLP
           ADDRESS: 1280 SNOWS MILL RD., BOGART, GA 30622
           EIN:


           NAME: TOWNLEY FAMILY PARTNERSHIP, LLLP
           ADDRESS: 1280 SNOWS MILL ROAD, BOGART, GA 30622
           EIN:


           NAME: TOWNLEY FAMILY PARTNERSHIP, LLLP
           ADDRESS: 1280 SNOWS MILL ROAD, BOGART, GA 30622
           EIN:


           NAME: TOWNLEY FAMILY PARTNERSHIP, LLLP
           ADDRESS: 1280 SNOWS MILL ROAD, BOGART, GA 30622
           EIN:


           NAME: INTEREST EXPENSE - LOG CREEK

           NAME: INTEREST EXPENSE - TOWNLEY FAMILY PARTNERSHIP




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           NAME: LOG CREEK, LLLP - LOG CREEK, LLLP
           ADDRESS: 1280 SNOWS MILL RD., BOGART, GA 30622
           EIN:


           NAME: LOG CREEK, LLLP - LOG CREEK, LLLP
           ADDRESS: 1280 SNOWS MILL RD., BOGART, GA 30622
           EIN:


           NAME: INTEREST EXPENSE - OGEECHEE TIMBER




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Section 1.263(a)-1(f) De Minimis Safe Harbor Election




Tony D. & Elizabeth A. Townley
1280 Snows Mill Road
Bogart, GA 30622


Taxpayer Identification Number:


For the Year Ending December 31, 2020


Tony D. & Elizabeth A. Townley are making the de minimis safe harbor
election under Reg. Sec. 1.263(a)-1(f).
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TONY D. & ELIZABETH A. TOWNLEY
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~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1040                      TAX-EXEMPT INTEREST               STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NAME OF PAYER                                                                 AMOUNT
}}}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
VANGUARD #9138 - TE INTEREST                                                     27,275.
VANGUARD #9138 - TE OID                                                              46.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 1040, LINE 2A                                                      27,321.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1040                      QUALIFIED DIVIDENDS               STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                         ORDINARY       QUALIFIED
NAME OF PAYER                                            DIVIDENDS      DIVIDENDS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
COMPUTERSHARE INC.                                                70.           70.
VANGUARD #9138                                               78,607.        73,327.
FROM K-1 - PLUCKED CHICKEN, INC.                              2,041.           608.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                 128.            38.
FROM K-1 - ZAXBY'S OPERATING COMPANY,
LP (TDT)                                                           389.             115.
FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                              23.               7.
                                                                          }}}}}}}}}}}}}}
TOTAL INCLUDED IN FORM 1040, LINE 3A                                             74,165.
                                                                          ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1040                            TAX                         STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
FROM SCHEDULE D WORKSHEET                                                   172,074,589.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 1040, LINE 16                                                 172,074,589.
                                                                          ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1040                CURRENT YEAR ESTIMATES AND              STATEMENT 4
                     AMOUNT APPLIED FROM PREVIOUS YEAR
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
3RD QTR ESTIMATE PAYMENT - JOINT                                             10,000,000.
4TH QTR ESTIMATE PAYMENT - JOINT                                              3,200,000.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 1040, LINE 26                                                  13,200,000.
                                                                          ~~~~~~~~~~~~~~




                                                                STATEMENT(S) 1, 2, 3, 4
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TONY D. & ELIZABETH A. TOWNLEY
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~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE 1             STATE AND LOCAL INCOME TAX REFUNDS        STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                       2019           2018           2017
                                  }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
                                  ALABAMA
GROSS STATE/LOCAL INC TAX REFUNDS         30,070.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   ALABAMA                    30,070.

                                     LOUISIANA
GROSS STATE/LOCAL INC TAX REFUNDS            4,634.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   LOUISIANA                   4,634.

                                     SOUTH CAROLINA
GROSS STATE/LOCAL INC TAX REFUNDS          303,944.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   SOUTH CAROLINA            303,944.

                                                      GEORGIA
GROSS STATE/LOCAL INC TAX REFUNDS                           752,090.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   GEORGIA                                  752,090.

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL NET TAX REFUNDS                       338,648.       752,090.
                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                          STATEMENT(S) 5
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TONY D. & ELIZABETH A. TOWNLEY
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE 1   SELF-EMPLOYED HEALTH INSURANCE DEDUCTION WORKSHEET  STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

 TONY D. TOWNLEY

 ZAXBY'S OPERATING COMPANY, LP (TDT)

 1   NONSPECIFIED HEALTH INSURANCE PAYMENTS                                     20,504.
                                                                         ~~~~~~~~~~~~~~
 2   NET PROFIT FROM TRADE OR BUSINESS UNDER WHICH INSURANCE
     PLAN IS ESTABLISHED                                                          25,942.

 3   TOTAL OF ALL NET PROFITS AND EARNED INCOME.
     S CORPORATIONS SKIP TO LINE 9                         2,342,255.

 4   DIVIDE LINE 2 BY LINE 3                                     .0111

 5   DEDUCTIBLE PORTION OF SELF-EMPLOYMENT TAX                32,746.
                                                       }}}}}}}}}}}}}}
 6   LINE 4 TIMES LINE 5                                                           363.
                                                                         }}}}}}}}}}}}}}
 7   LINE 2 MINUS LINE 6                                                        25,579.

 8   SELF-EMPLOYED SEP, SIMPLE, AND QUALIFIED PLANS ATTRIBUTABLE
     TO TRADE OR BUSINESS NAMED ABOVE                                                0.
                                                                         }}}}}}}}}}}}}}
 9   LINE 7 MINUS LINE 8. S CORPORATIONS ENTER WAGES RECEIVED                   25,579.

10   FORM 2555, LINE 45 ATTRIBUTABLE TO THE TRADE OR BUSINESS
     NAMED ABOVE
                                                                         }}}}}}}}}}}}}}
11   LINE 9 MINUS LINE 10                                                       25,579.
                                                                         ~~~~~~~~~~~~~~
12   SELF-EMPLOYED HEALTH INSURANCE DEDUCTION.      LESSER OF
     LINE 1 OR LINE 11                                                          20,504.
                                                                         ~~~~~~~~~~~~~~




                                                                          STATEMENT(S) 6
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TONY D. & ELIZABETH A. TOWNLEY
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~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE 1         TAXABLE STATE AND LOCAL INCOME TAX REFUNDS    STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                                      2018           2019
                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS FROM STATE AND
 LOCAL INCOME TAX REFUNDS STMT.                        752,090.       338,648.


LESS:REFUNDS-NO BENEFIT DUE TO AMT
      -SALES TAX BENEFIT REDUCTION
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
1    NET REFUNDS FOR RECALCULATION                           752,090.       338,648.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
2    AMOUNT FROM PRIOR YEAR
      SCHEDULE A, LINE 5E                                        10,000.           10,000.
3    TOTAL OF PRIOR YEAR
      SCHEDULE A, LINES 5B AND 5C                             59,758.       105,453.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
4    SUBTRACT LINE 3 FROM LINE 2
      IF ZERO OR LESS, STOP HERE                             -49,758.              -95,453.
      NONE OF YOUR REFUND IS TAXABLE
5    ENTER THE STATE AND LOCAL
      INCOME TAXES FROM PRIOR YEAR
      SCHEDULE A, LINE 5A
6    ENTER THE AMOUNT FROM LINE 1
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
7    SUBTRACT LINE 6 FROM LINE 5
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
8    ADD LINE 7 TO LINE 3
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
9    SUBTRACT LINE 8 FROM LINE 2
10   ENTER THE LESSER OF LINE 4,
      LINE 6 OR LINE 9. IF ZERO OR
      LESS, STOP HERE. NONE OF YOUR
      REFUND IS TAXABLE. IF GREATER
      THAN ZERO, PROCEED TO LINE 11
11   ALLOWABLE PRIOR YEAR ITEMIZED
      DEDUCTIONS
12   ENTER YOUR PRIOR YEAR STANDARD
      DEDUCTION
                                                  }}}}}}}}}}}}}} }}}}}}}}}}}}}}
13   SUBTRACT LINE 12 FROM LINE 11
14   ENTER THE SMALLER OF LINE 10
      OR LINE 13.
15   PRIOR YEAR TAXABLE INCOME
16   AMOUNT TO INCLUDE ON SCHEDULE 1, LINE 1
     * IF LINE 15 IS -0- OR MORE, USE AMOUNT FROM LINE 14
     * IF LINE 15 IS A NEGATIVE AMOUNT, NET LINES 14 AND 15

     TOTAL TO SCHEDULE 1, LINE 1
      (IF PRIOR YEAR REFUNDS, AMOUNT IS INCLUDED WITH                      ~~~~~~~~~~~~~~
       STATEMENT SHOWING PRIOR YEAR REFUNDS)




                                                                            STATEMENT(S) 7
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SCHEDULE 2                        OTHER TAXES                    STATEMENT 8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
FROM FORM 8959                                                                12,776.
FROM FORM 8960                                                                82,734.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE 2, LINE 8                                                   95,510.
                                                                       ~~~~~~~~~~~~~~




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SCHEDULE A               STATE AND LOCAL INCOME TAXES            STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
FROM K-1 - PLUCKED CHICKEN, INC.                                           9,098,311.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                              409,093.
FROM K-1 - ZAXBY'S OPERATING COMPANY, LP (TDT)                               144,010.
FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                                       111,679.
FROM K-1 - PLUCKED CHICKEN, INC.-ALABAMA                                     651,442.
FROM K-1 - CLUCKZ HOLDINGS LLC-ALABAMA                                         9,294.
FROM K-1 - CLUCKZ HOLDINGS LLC-ALABAMA                                        51,842.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-ALABAMA                                9,239.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-LOUISIANA                             27,269.
FROM K-1 - CLUCKZ HOLDINGS LLC-LOUISIANA                                       6,330.
FROM K-1 - CLUCKZ HOLDINGS LLC-LOUISIANA                                      22,654.
FROM K-1 - PLUCKED CHICKEN, INC.-LOUISIANA                                    19,527.
FROM K-1 - PLUCKED CHICKEN, INC.-ARKANSAS                                     56,520.
FROM K-1 - CLUCKZ HOLDINGS LLC-ARKANSAS                                           818.
FROM K-1 - CLUCKZ HOLDINGS LLC-ARKANSAS                                           287.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-ARKANSAS                               2,941.
FROM K-1 - PLUCKED CHICKEN, INC.-MISSOURI                                     24,306.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-MISSOURI                               1,523.
FROM K-1 - CLUCKZ HOLDINGS LLC-OKLAHOMA                                            52.
FROM K-1 - CLUCKZ HOLDINGS LLC-OKLAHOMA                                           280.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-OKLAHOMA                                   53.
GEORGIA PRIOR YEAR BALANCE DUE AND EXTENSION PAYMENTS                         95,145.
NORTH CAROLINA PRIOR YEAR BALANCE DUE AND EXTENSION PAYMENTS                   7,560.
KENTUCKY WITHHOLDING FROM FORM PTE-WH                                        261,713.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE A, LINE 5A                                              11,011,888.
                                                                       ~~~~~~~~~~~~~~




                                                                     STATEMENT(S) 8, 9
            Case 3:22-cv-00107-CDL    AMENDED
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SCHEDULE A                     CASH CONTRIBUTIONS                STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                          AMOUNT             AMOUNT         AMOUNT
DESCRIPTION                            100% LIMIT          60% LIMIT      30% LIMIT
}}}}}}}}}}}                           }}}}}}}}}}}}}}     }}}}}}}}}}}}}} }}}}}}}}}}}}}}
EXTRA SPECIAL PEOPLE, INC.                                      10,000.
PIEDMONT ATHENS REGIONAL
FOUNDATION                                                         14,254.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                     5,030.
FROM K-1 - ZAXBY'S OPERATING
COMPANY, LP (TDT)                                                  15,340.
FROM K-1 - CLUCKZ HOLDINGS, LLC
(SECG)                                                               900.

                                      }}}}}}}}}}}}}}     }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SUBTOTALS                                                       45,524.
                                      ~~~~~~~~~~~~~~     ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
TOTAL TO SCHEDULE A, LINE 11                                                   45,524.
                                                                        ~~~~~~~~~~~~~~




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SCHEDULE B                      INTEREST INCOME                  STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NAME OF PAYER                                                                    AMOUNT
}}}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
SYNOVUS BANK #2011                                                                      691.
SYNOVUS BANK #4283                                                                   6,865.
SYNOVUS BANK #5497                                                                       28.
SYNOVUS BANK #6340 & #0467                                                               38.
LOG CREEK, LLLP                                                                    386,301.
PARKER CREEK PROPERTIES, LLC                                                        19,655.
SYNOVUS BANK #2649                                                                      153.
VANGUARD #9138 - TE INTEREST                                                        33,103.
VANGUARD #9138 - TE OID                                                                 145.
BOBBIN MILL HOLDINGS                                                                 3,470.
IRS                                                                                     285.
NORTHWESTERN MUTUAL #2150                                                                37.
SYNOVUS BANK #2114                                                                      258.
GA DOR                                                                              29,617.
FROM K-1 - PLUCKED CHICKEN, INC.                                                   621,195.
FROM K-1 - LOG CREEK, LLLP                                                         212,935.
FROM K-1 - LOG CREEK, LLLP                                                         212,935.
FROM K-1 - TONY D. TOWNLEY TRUST                                                         52.
FROM K-1 - ELIZABETH A. TOWNLEY TRUST                                                    52.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                                          11.
FROM K-1 - ZAXBY'S OPERATING COMPANY, LP (TDT)                                           31.
FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                                                    2.
FROM K-1 - LOG CREEK, LLLP                                                           4,345.
FROM K-1 - LOG CREEK, LLLP                                                           4,346.
                                                                             }}}}}}}}}}}}}}
TOTAL TO SCHEDULE B , LINE 1                                                     1,536,550.
                                                                             ~~~~~~~~~~~~~~


                                                                       STATEMENT(S) 10, 11
         Case 3:22-cv-00107-CDL    AMENDED
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SCHEDULE B                     TAX-EXEMPT INTEREST               STATEMENT 12
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NAME OF PAYER                                                              AMOUNT
}}}}}}}}}}}}}                                                          }}}}}}}}}}}}}}
VANGUARD #9138 - TE INTEREST                                                  27,275.
VANGUARD #9138 - TE OID                                                           46.
                                                                       }}}}}}}}}}}}}}
TOTAL TAX-EXEMPT INTEREST TO SCHEDULE B, LINE 1                               27,321.
                                                                       ~~~~~~~~~~~~~~


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SCHEDULE B          AMORTIZABLE BOND PREMIUM ADJUSTMENT          STATEMENT 13
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NAME OF PAYER                                                              AMOUNT
}}}}}}}}}}}}}                                                          }}}}}}}}}}}}}}
VANGUARD #9138 - TE INTEREST                                                   5,828.
VANGUARD #9138 - TE OID                                                           99.
                                                                       }}}}}}}}}}}}}}
TOTAL ABP ADJUSTMENT TO SCHEDULE B, LINE 1                                     5,927.
                                                                       ~~~~~~~~~~~~~~




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SCHEDULE D           NET LONG-TERM GAIN OR LOSS FROM FORMS       STATEMENT 14
                     4797, 2439, 6252, 4684, 6781 AND 8824
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION OF PROPERTY                                 GAIN OR LOSS        28% GAIN
}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}      }}}}}}}}}}}}
FORM 4797                                                 2,841,493.
                                                        }}}}}}}}}}}}      }}}}}}}}}}}}
TOTAL TO SCHEDULE D, PART II, LINE 11                     2,841,493.
                                                        ~~~~~~~~~~~~      ~~~~~~~~~~~~

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SCHEDULE D              NET SHORT-TERM GAIN OR LOSS FROM         STATEMENT 15
                 PARTNERSHIPS, S CORPORATIONS, AND FIDUCIARIES
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION OF ACTIVITY                                                   GAIN OR LOSS
}}}}}}}}}}}}}}}}}}}}}}}                                                   }}}}}}}}}}}}
PLUCKED CHICKEN, INC.                                                          12,423.
CLUCKZ HOLDINGS, LLC                                                              776.
ZAXBY'S OPERATING COMPANY, LP (TDT)                                             2,365.
CLUCKZ HOLDINGS, LLC (SECG)                                                       139.
                                                                          }}}}}}}}}}}}
TOTAL TO SCHEDULE D, PART I, LINE 5                                            15,703.
                                                                          ~~~~~~~~~~~~




                                                         STATEMENT(S) 12, 13, 14, 15
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SCHEDULE D              NET LONG-TERM GAIN OR LOSS FROM          STATEMENT 16
                 PARTNERSHIPS, S CORPORATIONS, AND FIDUCIARIES
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION OF ACTIVITY                                  GAIN OR LOSS       28% GAIN
}}}}}}}}}}}}}}}}}}}}}}}                                  }}}}}}}}}}}}     }}}}}}}}}}}}
GAIN ON SALE OF PARTNERSHIP INTEREST - ZAXBY'S
OPERATING COMPANY, LP                                     51,256,927.
LOSS ON SALE OF PARTNERSHIP INTEREST - CLUCKZ
HOLDINGS, LLC (SECG)                                      -1,225,312.
GAIN FROM REDEMPTION - PLUCKED CHICKEN, INC              306,430,231.
PLUCKED CHICKEN, INC.                                    566,280,262.
CLUCKZ HOLDINGS, LLC                                       1,693,659.
ZAXBY'S OPERATING COMPANY, LP (TDT)                            1,963.
CLUCKZ HOLDINGS, LLC (SECG)                                8,270,167.
                                                         }}}}}}}}}}}}     }}}}}}}}}}}}
TOTAL TO SCHEDULE D, PART II, LINE 12                    932,707,897.
                                                         ~~~~~~~~~~~~     ~~~~~~~~~~~~




                                                                        STATEMENT(S) 16
         Case 3:22-cv-00107-CDL    AMENDED
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SCHEDULE D                UNRECAPTURED SECTION 1250 GAIN          STATEMENT 17
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 1. IF YOU HAVE A SECTION 1250 PROPERTY IN PART III OF FORM
    4797 FOR WHICH YOU MADE AN ENTRY IN PART I OF FORM 4797,
    ENTER THE SMALLER OF LINE 22 OR LINE 24 OF FORM 4797 FOR
    THAT PROPERTY. IF YOU DID NOT HAVE ANY SUCH PROPERTY, GO
    TO LINE 4
 2. ENTER THE AMOUNT FROM FORM 4797, LINE 26G, FOR THE
    PROPERTY FOR WHICH YOU MADE AN ENTRY ON LINE 1
                                                                   }}}}}}}}}}}}
 3. SUBTRACT LINE 2 FROM LINE 1
 4. ENTER THE TOTAL UNRECAPTURED SECTION 1250 GAIN INCLUDED
    ON LINE 26 OR LINE 37 OF FORM(S) 6252 FROM INSTALLMENT
    SALES OF TRADE OR BUSINESS PROPERTY HELD MORE THAN 1 YEAR
 5. ENTER THE TOTAL OF ANY AMOUNTS REPORTED TO YOU ON A
    SCHEDULE K-1 FROM A PARTNERSHIP OR AN S CORPORATION AS
    "UNRECAPTURED SECTION 1250 GAIN"                                 2,721,241.
                                                                   }}}}}}}}}}}}
 6. ADD LINES 3 THROUGH 5                                            2,721,241.
 7. ENTER THE SMALLER OF LINE 6 OR THE GAIN
    FROM FORM 4797, LINE 7                               2,721,241.
 8. ENTER THE AMOUNT, IF ANY, FROM FORM 4797,
    LINE 8
 9. SUBTRACT LINE 8 FROM LINE 7. IF ZERO OR LESS, ENTER -0-          2,721,241.
10. ENTER THE AMOUNT OF ANY GAIN FROM THE SALE OR EXCHANGE OF
    AN INTEREST IN A PARTNERSHIP ATTRIBUTABLE TO UNRECAPTURED
    SECTION 1250 GAIN
11. ENTER THE TOTAL OF ANY AMOUNTS REPORTED TO YOU ON A
    SCHEDULE K-1, FORMS 1099-DIV, OR FORM 2439 AS "UNRECAPTURED
    SECTION 1250 GAIN" FROM AN ESTATE, TRUST, REAL ESTATE
    INVESTMENT TRUST, OR MUTUAL FUND (OR OTHER REGULATED
    INVESTMENT COMPANY) OR IN CONNECTION WITH A FORM 1099-R
12. ENTER THE TOTAL OF ANY UNRECAPTURED SECTION 1250 GAIN FROM SALES
    (INCLUDING INSTALLMENT SALES) OR OTHER DISPOSITIONS OF SECTION
    1250 PROPERTY HELD MORE THAN 1 YEAR FOR WHICH YOU DID NOT
    MAKE AN ENTRY IN PART I OF FORM 4797 FOR THE YEAR OF SALE
                                                                   }}}}}}}}}}}}
13. ADD LINES 9 THROUGH 12                                           2,721,241.
14. IF YOU HAD ANY SECTION 1202 GAIN OR COLLECTIBLE
    GAIN OR (LOSS), ENTER THE TOTAL OF LINES 1 THROUGH
    4 OF THE 28% RATE GAIN WORKSHEET
15. ENTER THE (LOSS), IF ANY, FROM SCH D, LINE 7.
    IF SCH D, LINE 7, IS ZERO OR A GAIN ENTER -0-                0.
16. ENTER YOUR LONG-TERM CAPITAL LOSS CARRYOVERS FROM
    SCHEDULE D, LINE 14, AND SCHEDULE K-1 (FORM 1041),
    BOX 11, CODE D
17. COMBINE LINES 14 THROUGH 16. IF THE RESULT IS A (LOSS), ENTER
    IT AS A POSITIVE AMOUNT. IF THE RESULT IS ZERO OR A GAIN,
    ENTER -0-                                                                0.
                                                                   }}}}}}}}}}}}
18. SUBTRACT LINE 17 FROM LINE 13. IF ZERO OR LESS, ENTER -0-.
    IF MORE THAN ZERO, ENTER THE RESULT HERE AND ON SCHEDULE D,
    LINE 19                                                          2,721,241.
                                                                   ~~~~~~~~~~~~




                                                                       STATEMENT(S) 17
         Case 3:22-cv-00107-CDL    AMENDED
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SCHEDULE E                       OTHER EXPENSES                  STATEMENT 18
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

FRAZER CREEK INVESTMENTS, LLC - VARIOUS (FRAZER CREEK), OCONEE COUNTY, GA 30

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
PEST CONTROL                                                                   9,323.
TRAVEL                                                                            769.
BANK CHARGES                                                                      395.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE E, PAGE 1, LINE 19                                          10,487.
                                                                       ~~~~~~~~~~~~~~

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SCHEDULE E                       OTHER EXPENSES                  STATEMENT 19
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

LANE CREEK INVESTMENTS, LLC - VARIOUS (LANE CREEK), GA

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
BANK CHARGES                                                                      540.
TRAVEL                                                                            505.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE E, PAGE 1, LINE 19                                           1,045.
                                                                       ~~~~~~~~~~~~~~


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SCHEDULE E                        OTHER INCOME                   STATEMENT 20
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

FRAZER CREEK INVESTMENTS, LLC - VARIOUS (FRAZER CREEK), OCONEE COUNTY, GA 30

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
RENTAL FEES                                                                       756.
RENTAL INCOME                                                                640,008.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE E, PAGE 1                                                  640,764.
                                                                       ~~~~~~~~~~~~~~


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SCHEDULE E                        OTHER INCOME                   STATEMENT 21
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

LANE CREEK INVESTMENTS, LLC - VARIOUS (LANE CREEK), GA

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
TAX REIMBURSEMENTS                                                            27,723.
RENTAL INCOME                                                                756,308.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE E, PAGE 1                                                  784,031.
                                                                       ~~~~~~~~~~~~~~




                                                         STATEMENT(S) 18, 19, 20, 21
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SCHEDULE E                        OTHER INCOME                   STATEMENT 22
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

OGEECHEE TIMBER, LLC - VARIOUS (OGEECHEE), GA

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
HUNTING LEASE REVENUE                                                         19,524.
REFUNDS FROM CREDITORS                                                         3,991.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE E, PAGE 1                                                   23,515.
                                                                       ~~~~~~~~~~~~~~




                                                                       STATEMENT(S) 22
         Case 3:22-cv-00107-CDL       AMENDED
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SCHEDULE E     INCOME OR (LOSS) FROM PARTNERSHIPS AND S CORPS    STATEMENT 23
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}


NAME
}}}}
EMP ID NO.
}}}}}}}}}}
                   ANY
      X   BASIS    NOT
      IF COMP       AT          PASSIVE    PASSIVE NONPASSIVE SEC. 179 NONPASSIVE
CODE FRN REQ       RISK          LOSS      INCOME      LOSS     DEDUCTION   INCOME
}}}   }}} }}}}}    }}}}       }}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
PLUCKED CHICKEN,   INC.

 S          X             *                                                     29420802.
LAND WARRIORS, LLC

 P                                                                                     936.
LOG CREEK, LLLP

 P                                                     751,533.
LOG CREEK, LLLP

 P                                                     751,534.
TOWNLEY FAMILY PARTNERSHIP, LLLP

 P                                                       29,491.
PRIOR YEAR PAL

 P                               6.
TOWNLEY FAMILY PARTNERSHIP, LLLP

 P                                                   1,474,595.
PRIOR YEAR PAL

 P                            280.
TOWNLEY FAMILY PARTNERSHIP, LLLP

 P                                                   1,445,102.
PRIOR YEAR PAL

 P                                  275.
CLUCKZ HOLDINGS, LLC

 P                        *                                                    1,244,573.
M&T AVIATION, LLC

 P                                                                                  89,995.
ZAXBY'S OPERATING COMPANY, LP (TDT)

 P                                                                              20770514.
CLUCKZ HOLDINGS, LLC (SECG)

 P                    *                                                             352,531.
INTEREST EXPENSE - LOG CREEK

P                                                      304,992.



                                                                          STATEMENT(S) 23
         Case 3:22-cv-00107-CDL    AMENDED
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INTEREST EXPENSE - TOWNLEY FAMILY
PARTNERSHIP

 P                                                  305,983.
LOG CREEK, LLLP

 P                                                    15,337.
LOG CREEK, LLLP

 P                                                    15,338.
INTEREST EXPENSE - LAND WARRIORS

 P                                                       384.
INTEREST EXPENSE - OGEECHEE TIMBER

 P                                                         0.
AIR HIGHWAY, LLC

P                           25,848.
                        }}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS TO SCH. E, LN. 29    26,409.            5,094,289.             51879351.
                         ~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~
             * ENTIRE DISPOSITION OF NONPASSIVE ACTIVITY




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SCHEDULE F                       OTHER EXPENSES                  STATEMENT 24
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
REFORESTATION EXPENSE                                                          27,262.
PROFESSIONAL FEES                                                               2,469.
AMORTIZATION EXPENSE                                                            4,467.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE F, PART II, LINE 32                                          34,198.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE F                 OTHER INCOME - CASH METHOD            STATEMENT 25
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
HUNTING LEASE REVENUE                                                           9,022.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE F, PART I, LINE 8                                             9,022.
                                                                        ~~~~~~~~~~~~~~




                                                                STATEMENT(S) 23, 24, 25
         Case 3:22-cv-00107-CDL    AMENDED
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SCHEDULE SE                     NON-FARM INCOME                  STATEMENT 26
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
MANAGEMENT                                                                   -469,194.
LAND WARRIORS, LLC                                                                 686.
CLUCKZ HOLDINGS, LLC                                                        1,244,573.
ZAXBY'S OPERATING COMPANY, LP (TDT)                                            25,942.
ZAXBY'S FRANCHISING, LLC                                                    1,071,054.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE SE, LINE 2                                                1,873,061.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE SE                       FARM INCOME                    STATEMENT 27
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
TOWNLEY FAMILY PARTNERSHIP, LLLP                                              -27,357.
TIMBER                                                                        -37,862.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE SE, LINE 1A                                                 -65,219.
                                                                        ~~~~~~~~~~~~~~




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FORM 4797               PROPERTY HELD MORE THAN ONE YEAR         STATEMENT 28
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                    DATE     DATE     SALES                 COST      GAIN
DESCRIPTION       ACQUIRED   SOLD     PRICE      DEPR.    OR BASIS   OR LOSS
}}}}}}}}}}}       }}}}}}}} }}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}}}
PLUCKED CHICKEN,
INC.                                                                1,473,506.
LOG CREEK, LLLP                                                       479,700.
LOG CREEK, LLLP                                                       479,700.
CLUCKZ HOLDINGS,
LLC                                                                    91,993.
ZAXBY'S OPERATING
COMPANY, LP (TDT)                                                     280,553.
CLUCKZ HOLDINGS,
LLC (SECG)                                                             16,461.
LOG CREEK, LLLP                                                         9,790.
LOG CREEK, LLLP                                                         9,790.
                                    }}}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTAL TO 4797, PART I, LINE 2                                       2,841,493.
                                    ~~~~~~~~~~ ~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~




                                                                STATEMENT(S) 26, 27, 28
         Case 3:22-cv-00107-CDL    AMENDED
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FORM 6251                      PASSIVE ACTIVITIES                STATEMENT 29
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                          NET INCOME (LOSS)
                                          }}}}}}}}}}}}}}}}}
NAME OF ACTIVITY           FORM         AMT          REGULAR       ADJUSTMENT
}}}}}}}}}}}}}}}}        }}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOWNLEY FAMILY          SCH E
PARTNERSHIP, LLLP                                             -6.             6.
TOWNLEY FAMILY          SCH E
PARTNERSHIP, LLLP                                           -280.          280.
TOWNLEY FAMILY          SCH E
PARTNERSHIP, LLLP                                           -275.          275.
AIR HIGHWAY, LLC        SCH E            -25,848.       -25,848.
FRAZER CREEK            SCH E
INVESTMENTS, LLC -
VARIOUS (FRAZER
CREEK), OCONEE COUNTY,
GA 3                                        -30,200.        -35,764.              5,564.
LANE CREEK             SCH E
INVESTMENTS, LLC -
VARIOUS (LANE CREEK),
GA                                          412,330.        412,329.                1.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 6251, LINE 2M                                                     6,126.
                                                                        ~~~~~~~~~~~~~~

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FORM 6251                       LOSS LIMITATIONS                 STATEMENT 30
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                         NET INCOME (LOSS)
                                         }}}}}}}}}}}}}}}}}
NAME OF ACTIVITY           FORM         AMT          REGULAR       ADJUSTMENT
}}}}}}}}}}}}}}}}         }}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}
PLUCKED CHICKEN, INC.    SCH E       597,817,506.   597,810,229.        7,277.
PLUCKED CHICKEN, INC.    SCH E       306,430,231.   306,430,231.
                                                                 }}}}}}}}}}}}}
TOTAL TO FORM 6251, LINE 2N                                             7,277.
                                                                 ~~~~~~~~~~~~~


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FORM 6251    DEPRECIATION ON ASSETS PLACED IN SERVICE AFTER 1986 STATEMENT 31
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
FROM K-1 - CLUCKZ HOLDINGS, LLC                                                    444.
FROM K-1 - ZAXBY'S OPERATING COMPANY, LP (TDT)                                  1,355.
FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                                              80.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 6251, LINE 2L                                                     1,879.
                                                                        ~~~~~~~~~~~~~~




                                                                STATEMENT(S) 29, 30, 31
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FORM 8995-A                 QUALIFIED BUSINESS INCOME            STATEMENT 32
SCHEDULE C
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            LOSS    ADJUSTED
ACTIVITY NAME                                   INCOME   REDUCTION     QBI
}}}}}}}}}}}}}                                 }}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
CLUCKZ HOLDINGS, LLC                            822,455.    97,169.   725,286.
M&T AVIATION, LLC                                89,995.    10,632.    79,363.
ZAXBY'S OPERATING COMPANY, LP (TDT)            20744535. 2,450,858. 18293677.
CLUCKZ HOLDINGS, LLC (SECG)                     239,445.    28,289.   211,156.
PLUCKED CHICKEN, INC.                          21066670. 2,488,917. 18577753.
FRAZER CREEK INVESTMENTS, LLC - VARIOUS (FRAZ    56,830.     6,714.    50,116.
TOWNLEY FAMILY PARTNERSHIP, LLLP                -29,491.
TOWNLEY FAMILY PARTNERSHIP, LLLP               -1474595.
TOWNLEY FAMILY PARTNERSHIP, LLLP               -1445102.
CLUCKZ HOLDINGS, LLC                            -17,400.
LOG CREEK, LLLP                                 -15,337.
LOG CREEK, LLLP                                 -15,338.
LOG CREEK, LLLP                                -751,533.
LOG CREEK, LLLP                                -751,534.
LOG CREEK TRUST                                 -37,862.
OTF MANAGEMENT, LLC                            -469,194.


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FORM 8995-A           QUALIFIED BUSINESS NET LOSS CARRYOVER      STATEMENT 33
SCHEDULE C                      FROM PRIOR YEARS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

TRADE OR BUSINESS NAME                                                     AMOUNT
}}}}}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}}}}}
FRAZER CREEK INVESTMENTS, LLC - VARIOUS (FRAZER CR                             5,800.
FRAZER CREEK INVESTMENTS, LLC - VARIOUS (FRAZER CR                            86,794.
                                                                       }}}}}}}}}}}}}}
TOTAL TO FORM 8995-A SCHEDULE C, LINE 2                                       92,594.
                                                                       ~~~~~~~~~~~~~~




                                                                   STATEMENT(S) 32, 33
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FORM 8960                   TRADE OR BUSINESS INCOME             STATEMENT 34
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

ROYALTIES DERIVED IN THE ORDINARY COURSE OF BUSINESS                                  0.
PLUCKED CHICKEN, INC.                                                       -29,420,802.
LAND WARRIORS, LLC                                                                 -936.
LOG CREEK, LLLP                                                                 751,533.
LOG CREEK, LLLP                                                                 751,534.
TOWNLEY FAMILY PARTNERSHIP, LLLP                                                 29,491.
TOWNLEY FAMILY PARTNERSHIP, LLLP                                              1,474,595.
TOWNLEY FAMILY PARTNERSHIP, LLLP                                              1,445,102.
CLUCKZ HOLDINGS, LLC                                                         -1,244,573.
M&T AVIATION, LLC                                                               -89,995.
ZAXBY'S OPERATING COMPANY, LP (TDT)                                         -20,770,514.
CLUCKZ HOLDINGS, LLC (SECG)                                                    -352,531.
INTEREST EXPENSE - LOG CREEK                                                    304,992.
INTEREST EXPENSE - TOWNLEY FAMILY PARTNERSHIP                                   305,983.
LOG CREEK, LLLP                                                                  15,338.
LOG CREEK, LLLP                                                                  15,337.
INTEREST EXPENSE - LAND WARRIORS                                                    384.
                                                                          }}}}}}}}}}}}}}
AMOUNT TO FORM 8960, LINE 4B                                                -46,785,062.
                                                                          ~~~~~~~~~~~~~~

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FORM 8960           OTHER MODIFICATIONS TO INVESTMENT INCOME     STATEMENT 35
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

AMOUNT FROM LINE 7 WORKSHEET, LINE 13 FOR SC                     9,555.
TOTAL RECOVERY OF PRIOR YEAR FORM 8960, LINE 9B                  9,555.           9,555.
                                                                          }}}}}}}}}}}}}}
AMOUNT TO FORM 8960, LINE 7                                                       9,555.
                                                                          ~~~~~~~~~~~~~~




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FORM 8582          ACTIVE RENTAL OF REAL ESTATE - WORKSHEET 1    STATEMENT 45
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                             CURRENT YEAR      PRIOR YEAR   OVERALL GAIN OR LOSS
                             }}}}}}}}}}}}       UNALLOWED   }}}}}}}}}}}}}}}}}}}}
NAME OF ACTIVITY        NET INCOME   NET LOSS     LOSS        GAIN       LOSS
}}}}}}}}}}}}}}}}        }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
FRAZER CREEK
INVESTMENTS, LLC -
VARIOUS (FRAZER
CREEK), OCONEE C           56,830.            0.     -92,594.                     -35,764.
LANE CREEK
INVESTMENTS, LLC -
VARIOUS (LANE CREEK),
GA                        461,545.          0.    -49,216.   412,329.
                        }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS                    518,375.          0.   -141,810.   412,329.   -35,764.
                        ~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~



                                                                STATEMENT(S) 34, 35, 45
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FORM 8582            OTHER PASSIVE ACTIVITIES - WORKSHEET 3      STATEMENT 46
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                           CURRENT YEAR       PRIOR YEAR   OVERALL GAIN OR LOSS
                           }}}}}}}}}}}}        UNALLOWED   }}}}}}}}}}}}}}}}}}}}
NAME OF ACTIVITY       NET INCOME NET LOSS       LOSS        GAIN       LOSS
}}}}}}}}}}}}}}}}       }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOWNLEY FAMILY
PARTNERSHIP, LLLP                 0.           0.          -6.                     -6.
TOWNLEY FAMILY
PARTNERSHIP, LLLP                 0.           0.        -280.                    -280.
TOWNLEY FAMILY
PARTNERSHIP, LLLP              0.          0.       -275.                 -275.
AIR HIGHWAY, LLC               0.    -25,848.                          -25,848.
                       }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS                         0.    -25,848.       -561.              -26,409.
                       ~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~




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FORM 8582                SUMMARY OF PASSIVE ACTIVITIES           STATEMENT 47
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

R
R                     FORM
E                      OR               PRIOR       NET     UNALLOWED ALLOWED
A NAME              SCHEDULE GAIN/LOSS YEAR C/O GAIN/LOSS     LOSS      LOSS
- }}}}              }}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}
  TOWNLEY FAMILY   SCH E
  PARTNERSHIP, LLLP                 0.       -6.        -6.                  6.
  TOWNLEY FAMILY   SCH E
  PARTNERSHIP, LLLP                 0.     -280.      -280.                280.
  TOWNLEY FAMILY   SCH E
  PARTNERSHIP, LLLP                 0.     -275.      -275.                275.
  AIR HIGHWAY, LLC SCH E      -25,848.             -25,848.             25,848.
X FRAZER CREEK     SCH E
  INVESTMENTS, LLC
  - VARIOUS (FRAZER
  CREEK), OCONEE C             56,830. -92,594.    -35,764.             35,764.
X LANE CREEK       SCH E
  INVESTMENTS, LLC
  - VARIOUS (LANE
  CREEK), GA                  461,545. -49,216.    412,329.
                             }}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}
TOTALS                        492,527. -142,371.   350,156.             62,173.
                             ~~~~~~~~~ ~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~
PRIOR YEAR CARRYOVERS ALLOWED DUE TO CURRENT YEAR NET ACTIVITY INCOME 106,046.
                                                                      }}}}}}}}}
TOTAL                                                                  168,219.
                                                                      ~~~~~~~~~




                                                                    STATEMENT(S) 46, 47
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FORM 8582                   ALTERNATIVE MINIMUM TAX              STATEMENT 48
                   ACTIVE RENTAL OF REAL ESTATE - WORKSHEET 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                             CURRENT YEAR      PRIOR YEAR   OVERALL GAIN OR LOSS
                             }}}}}}}}}}}}       UNALLOWED   }}}}}}}}}}}}}}}}}}}}
NAME OF ACTIVITY        NET INCOME   NET LOSS     LOSS        GAIN       LOSS
}}}}}}}}}}}}}}}}        }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
FRAZER CREEK
INVESTMENTS, LLC -
VARIOUS (FRAZER
CREEK), OCONEE C           56,679.            0.      -86,879.                    -30,200.
LANE CREEK
INVESTMENTS, LLC -
VARIOUS (LANE CREEK),
GA                        461,545.          0.    -49,215.   412,330.
                        }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS                    518,224.          0.   -136,094.   412,330.   -30,200.
                        ~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~

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FORM 8582                   ALTERNATIVE MINIMUM TAX              STATEMENT 49
                     OTHER PASSIVE ACTIVITIES - WORKSHEET 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                             CURRENT YEAR          PRIOR YEAR   OVERALL GAIN OR LOSS
                             }}}}}}}}}}}}           UNALLOWED   }}}}}}}}}}}}}}}}}}}}
NAME OF ACTIVITY        NET INCOME   NET LOSS         LOSS        GAIN       LOSS
}}}}}}}}}}}}}}}}        }}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
AIR HIGHWAY, LLC                0.    -25,848.                              -25,848.
                        }}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS                          0.    -25,848.                              -25,848.
                        ~~~~~~~~~~ ~~~~~~~~~~~     ~~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~




                                                                    STATEMENT(S) 48, 49
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FORM 8582AMT          SUMMARY OF PASSIVE ACTIVITIES - AMT        STATEMENT 50
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R
R                     FORM
E                      OR               PRIOR       NET     UNALLOWED ALLOWED
A NAME              SCHEDULE GAIN/LOSS YEAR C/O GAIN/LOSS     LOSS      LOSS
- }}}}              }}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}
  AIR HIGHWAY, LLC SCH E      -25,848.             -25,848.             25,848.
X FRAZER CREEK     SCH E
  INVESTMENTS, LLC
  - VARIOUS (FRAZER
  CREEK), OCONEE C             56,679. -86,879.    -30,200.             30,200.
X LANE CREEK       SCH E
  INVESTMENTS, LLC
  - VARIOUS (LANE
  CREEK), GA                  461,545. -49,215.    412,330.
                             }}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}
TOTALS                        492,376. -136,094.   356,282.             56,048.
                             ~~~~~~~~~ ~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~
PRIOR YEAR CARRYOVERS ALLOWED DUE TO CURRENT YEAR NET ACTIVITY INCOME 105,894.
                                                                      }}}}}}}}}
TOTAL                                                                  161,942.
                                                                      ~~~~~~~~~




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FORM 4562            PART III - RESIDENTIAL RENTAL PROPERTY      STATEMENT 51
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          (A)                                  (B)           (C)           (G)
DESCRIPTION OF PROPERTY                       MO/YR         BASIS       DEDUCTION
}}}}}}}}}}}}}}}}}}}}}}}                       }}}}}     }}}}}}}}}}}}} }}}}}}}}}}}}}
BUILDING - 1036 CRIMSON CT                     5 /20         235,475.        5,352.
BUILDING - 1341 HODGES MILL RD                 1 /20         187,820.        6,545.
BUILDING - 1282 CRIMSON CT                     5 /20         214,915.        4,884.
BUILDING - 1281 CRIMSON CT                     5 /20         251,189.        5,709.
BUILDING - 1231 CRIMSON CT                     5 /20         228,904.        5,202.
BUILDING - 1109 CRIMSON CT                     5 /20         239,662.        5,447.
BUILDING - 1120 MATTHEWS RD                   12 /20              734.            1.
BUILDING - 1240 ECHO TRAIL                     3 /20         203,179.        5,849.
IMPROVEMENTS - 1061 AYCOCK RD                  9 /20           5,625.           60.
IMPROVEMENTS - 4761 HOG MOUNTAIN               7 /20           4,350.           72.
IMPROVEMENTS - 1040 ROCKY BRANCH RD            6 /20           4,700.           93.
IMPROVEMENTS - 1080 ROCKY BRANCH               1 /20           8,128.          283.
IMPROVEMENTS - 1120 ROCKY BRANCH               6 /20          14,600.          288.
                                                        }}}}}}}}}}}}} }}}}}}}}}}}}}
TOTAL TO FORM 4562, PART III, LINE 19H                     1,599,281.       39,785.
                                                        ~~~~~~~~~~~~~ ~~~~~~~~~~~~~




                                                                   STATEMENT(S) 50, 51
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FORM 4562            PART III - NONRESIDENTIAL REAL PROPERTY     STATEMENT 52
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

          (A)                            (B)         (C)          (D)          (G)
DESCRIPTION OF PROPERTY                 MO/YR       BASIS        PERIOD      DEDUCTION
}}}}}}}}}}}}}}}}}}}}}}}                 }}}}}    }}}}}}}}}}}    }}}}}}}}    }}}}}}}}}}}
BUILDING - 4803 GOLDEN PARKWAY           1 /20        5,635.    39.0 YRS           138.
BUILDING - DUNKIN THOMASTON              3 /20    1,250,328.    39.0 YRS        25,381.
BUILDING - 1101 BROOKHAVEN DR            3 /20    1,826,900.    39.0 YRS        37,085.
BUILDING - 485 US HWY 29                 3 /20    1,725,593.    39.0 YRS        35,028.
BUILDING - 2072 EAGLE DR                10 /20    1,036,181.    39.0 YRS         5,535.
BUILDING - 2115 W EVANS ST              12 /20    1,565,690.    39.0 YRS         1,673.
                                                 }}}}}}}}}}}                }}}}}}}}}}}
TOTAL TO FORM 4562, PART III, LINE 19I            7,410,327.                   104,840.
                                                 ~~~~~~~~~~~                ~~~~~~~~~~~




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S-CORP BASIS WORKSHEET         INCREASES IN BASIS                STATEMENT 53
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

PLUCKED CHICKEN, INC.

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
LEGAL EXPENSES                                                                790,714.
                                                                        }}}}}}}}}}}}}}
INCLUDED IN BASIS WORKSHEET, LINE 4                                           790,714.
                                                                        ~~~~~~~~~~~~~~

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S-CORP BASIS WORKSHEET         DECREASES IN BASIS                STATEMENT 54
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

PLUCKED CHICKEN, INC.

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
FOREIGN TAXES PAID                                                                  6.
                                                                        }}}}}}}}}}}}}}
INCLUDED IN BASIS WORKSHEET, LINE 6 OR 7                                            6.
                                                                        ~~~~~~~~~~~~~~




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AMT S-CORP                     INCREASES IN BASIS                STATEMENT 55
BASIS WKST
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

PLUCKED CHICKEN, INC.

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
LEGAL EXPENSES                                                               790,714.
                                                                       }}}}}}}}}}}}}}
INCLUDED IN BASIS WORKSHEET, LINE 4                                          790,714.
                                                                       ~~~~~~~~~~~~~~

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AMT S-CORP                     DECREASES IN BASIS                STATEMENT 56
BASIS WKST
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

PLUCKED CHICKEN, INC.

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
FOREIGN TAXES PAID                                                                 6.
                                                                       }}}}}}}}}}}}}}
INCLUDED IN BASIS WORKSHEET, LINE 6 OR 7                                           6.
                                                                       ~~~~~~~~~~~~~~




                                                                   STATEMENT(S) 55, 56
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                              Form 8283: Noncash Charitable Contributions
                             Attachment for Information on Donated Property

     Name:                                             Log Creek, LLLP
     Identifying Number:


     5(a). Description of the Property: The donated property is a conservation easement donated as
     a "qualified conservation contribution" under I.R.C. § 170(h). The conservation easement
     encompasses approximately 240.00 acres of a 2,637.64 acre parcel located in Warren County,
     Georgia. The property is primarily wooded with pine trees and hardwoods.

     Conservation Purposes:

             The Property borders a stream and consists of diverse hardwood and planted pine forests
     with granite outcrops. The Property contains a managed pine forest, and permanently protecting
     the Property with this Conservation Easement will therefore provide for the maintenance of
     forestry land, which is a conservation purpose recognized by the State of Georgia as providing
     significant public benefit and therefore worthy of permanent protection (See the Georgia
     Conservation Tax Credit Program ("GCTCP") at O.C.G.A. § 48-7-29.12 and Ga. R. & Regs.
     391-1-6- .03(5)(d)).

             The Property is located in the Ogeechee River Watershed, segments of which have been
     designated by the Georgia Department of Natural Resources as a high priority watershed due to
     their importance in protecting or restoring aquatic species diversity, natural flow regimes, and
     other conservation activities as defined in the Georgia State Wildlife Action Plan (See SWAP,
     final report dated September 2015 (“2015 SWAP”), and contains three tributaries to the
     Ogeechee River which run through the Property for 5,920 feet.

             The Property is made up of a number of habitats, including Mesic Hardwood Forest,
     Granite Outcrops, and Streams, which are classified as high priority by the State of Georgia due
     to their importance in protecting or restoring biodiversity, preserving functional ecosystems, and
     other conservation efforts as defined in the 2015 SWAP.

             This Conservation Easement ensures "the preservation of open space (including farmland
     and forest land) where such preservation is pursuant to a clearly delineated Federal, State, or
     local governmental conservation policy, and will yield a significant public benefit," within the
     meaning of §170(h)(4)(A)(iii)(II) of the Internal Revenue Code of 1986, as amended, in that the
     State of Georgia has clearly delineated conservation policy and programs that recognize the
     significant public benefit associated with the preservation of open space, as follows:

        a. The State of Georgia, recognizing the public benefit of protecting certain habitats and
           natural resources, has created the GCTCP in which a state income tax credit is awarded to
           qualifying conservation easements that further state-designated conservation purposes;

        b. The following conservation purposes, which are recognized by the GCTCP, are served by
           this Conservation Easement: (i) the protection of high priority habitats, Mesic Hardwood
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            Forest, Granite Outcrops, and Streams, and the resulting significant public benefit
            includes the preservation of varied critical Georgia ecosystems that support a diversity of
            wildlife and provide habitat connectivity; (ii) the protection of water quality through the
            conservation of streams, wetlands, and buffers to these features, and the resulting
            significant public benefit is the protection of water quality and quantity necessary to
            support in-stream species and enhance public drinking water; and (iii) the protection of
            productive forestry and agricultural land, and the resulting significant public benefit is the
            creation of natural resource-based economic benefits to the State, including resource-
            based tourism, hunting, and resource-related employment, and the protection of important
            soils; and

             By ensuring that the varied and critical high quality natural habitats mentioned above, as
     identified in the Baseline Documentation Report, remain undisturbed and intact, this
     Conservation Easement will therefore provide for "the protection of a relatively natural habitat of
     fish, wildlife, or plants, or similar ecosystem ... ," as set forth in IRC §170(h)(4)(A)(ii).

     Appraised Valuation:
     Market Value Before Grant of Conservation Easement: $51,550,000
     Market Value after Grant of Conservation Easement:   $4,920,000
     Value of Conservation Easement/Contribution:        $46,630,000

     Less Value of Enhancement to Excluded Parcels:                $230,500
     Fair market Value Including Impact of Enhancement:         $46,399,000 (R)

     Pursuant to IRC § 1.170 A-14(h)(3)(i), " ... if the granting of a conservation easement has had an
     effect of the value increasing other property owned by the donor or a related person, the amount
     of the deduction for the conservation contribution shall be reduced by the amount of the increase
     in the value of the other property ... . "The enhancement value has been evaluated and an
     appropriate reduction has been taken as set forth above.”

     An appraisal by a qualified Appraiser, indicating the above valuations, is attached to this Form
     8283.

     Statement of Purpose:
     This donation was not used to obtain a permit or any other approval by a local or other governing
     authority. This donation was not required by contract.

     Nearby Property Interests: The nearby property interests have been identified and valued for
     enhancement. An appropriate reduction for their value has been made as identified above.

     5(b). Summary of overall physical condition of the property at the time of gift: The
     property consists of mostly undeveloped vacant acres, wooded with county maintained road
     access as well as frontage along the south side of the CSX Georgia Railroad; conservation
     easement donated on December 21, 2018 and recorded in Warren County on December 28,
     2018.
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     5(c). Appraised fair market value:          Easement Value:       $46,399,000

     5(d). Dates acquired by donor: The member partner in Log Creek, LLLP, Tony D. Townley,
     acquired the property via Limited Warranty Deed from State Bank and Trust Company on
     June 30, 2010. The property was subsequently contributed to Log Creek, LLLP on December
     14, 2012 via Omnibus Deed.

     5(e). How acquired by donor: Contribution to Log Creek, LLLP through an Omnibus Deed.

     5(f). Donor's cost or adjusted basis: The acquisition cost/basis of the property was $300,603.
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    OCONEE RIVER LAND TRUST                                       LOG CREEK




                                  Log Creek
                              WARREN COUNTY, GA

               BASELINE DOCUMENTATION REPORT


                         Prepared by Elizabeth Branch
                  As a project for the Oconee River Land Trust

                              Date of Report: 12/14/18




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    Project/Property Name:     Log Creek (also referred to as "Property" in this report)

    Baseline Gathered By:      ELIZABETH BRANCH

    Qualifications: Elizabeth Branch holds a Master of Science in Wildlife Biology with a
    certificate in Conservation Ecology and Sustainable Development from the University of
    Georgia. She has been principal and owner of Natural Resource Consultants, LLC since
    1998 and has extensive experience in land conservation and land management. She is
    on the Advisory Board and served as President of the Madison Morgan Conservancy.

    Purpose of Baseline Documentation Report:
    This Baseline Documentation Report (BDR) has been prepared in order to document the
    subject Property's existing conditions, including conservation values, location and man-
    made features. This BDR will also be used by Oconee River Land Trust (ORLT) as a
    reference point for future monitoring and enforcement activities.

                                  I. GENERAL INFORMATION

    A. Date Visited
    The Property was visited on December 4, 2018 by Elizabeth Branch. All portions of the
    tract and each habitat type were inspected on foot and by vehicle .

    B. Owner
    The current owner of the Property is Log Creek, LLLP (Grantor). The current Property
    owner's address is 1280 Snows Mill Road, Bogart, GA 30622.

    C. Location
    The entrance to this tract is located on Timber Road (County Road 58), Warrenton, GA in
    Warren County, approximately 8 miles southwest of Warrenton, GA. See Attachment 1 for
    a location map.

    D. Directions from Warrenton, GA
    To reach the Property from the center of Warrenton, GA, travel southwest on Main
    Street/US 278 for approximately 0.6 miles. Take right onto Atlanta Hwy/US 278/Rt 12 and
    then take the first left onto Mayfield Road. Travel approximately 7.6 miles then turn left
    onto Ogeechee River Rd (County Road 56). Travel approximately 1.7 miles and then turn
    left onto Timber Road (County Road 58). Travel approximately 0.3 miles and the entrance
    to the Property is on the left. See the location map in Attachment 1.

    E. Survey and Legal Description
    The legal boundary (survey) of the Property is shown in Attachment 2. The legal
    description is shown in Attachment 3.




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    F. Name of Quad Map, Series, Coordinates of Property
    USGS 7.5 min series Jewell, GA, Quadrangle Map. The center of the Property is at 33°
    21' 6.08" N, 82° 46' 44.89" W.

    G. Size
    The Property is approximately 240.0 acres.

                                     II. INVENTORY REPORT

    This baseline documents conditions on the Property as of the date of the report. It is not an
    exhaustive inventory, and conditions may change over time.

    A. General Description of Property
    The Property exists as one tract in western Warren County, GA. It is in the Upper
    Ogeechee River Watershed HUC 03060201.

    The Property is in a rural area surrounded by farms and timber properties.

    The Property is primarily planted pine timber with some foodplots and hardwood along the
    tributaries of the Ogeechee River. The Property is currently used for timber production,
    outdoor recreation and hunting.

    An extensive road system provides access for recreation and future timber harvests. The
    interior roads are dirt and gravel.

    See Attachment 4 for an aerial view of the Property. For photos of the Property, see
    Attachments 15 and 16.

    B. Topography
    The Property is gently rolling. Elevation varies between 420 and 500 feet above MSL, with
    the lowest points along the tributaries of the Ogeechee River and the highest point along
    the eastern property line. These topographic features can be seen in Attachment 5.

    C. Soils and Geology
    The Property is located in the Southern Outer Piedmont Ecoregion of Georgia.
    Attachment 6 shows the Property's location within Georgia's ecoregions. The soils in this
    region tend to be finer-textured than soils in the Coastal Plain Ecoregion. Once widely
    cultivated, much of Georgia's Piedmont has reverted to pine and hardwood woodlands.

    Soils of the Appling sandy loam, Cecil Sandy Clay, Grover sandy loam, Helena loamy
    coarse sand, and Wedowee loamy sand make up the majority of the Property. A general
    soils map is presented in Attachment 7.




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    The USDA/NRCS classifies farmland based on how valuable it is for agriculture. The
    Property has approximately 146.9 acres (61 %) of land that is classed as Farmland of
    Statewide Importance and 71.3acres (30%) of Prime Farmland.

    D. Water Resources
    Three tributaries of the Ogeechee River transect the Property. The northern two tributaries
    run through the Property for approximately 2,380 ft and 2,550 ft before joining and leaving
    the Property. The third runs for approximately 990 ft in a northerly direction through the
    Property. An ephemeral stream also flows west through an area of young planted pine
    near the southern boundary of the Property and empties into the southernmost of the three
    tributaries. These tributaries join to form a pond just to the west of the property and then
    travel for approximately 4,300 ft where they flow into the Ogeechee River. After these
    bodies of water join the Ogeechee River it flows in a southeasterly direction for over 200
    miles and then empties into Ossabaw Sound on the Georgia Atlantic coast.

    This river is in the Upper Ogeechee River Watershed, portions of which have been
    designated as high priority watersheds by Georgia Department of Natural Resources
    (GA DNR).

    The Property's water resources are identified in Attachment 9, which shows a 200-foot
    riparian buffer on the streams and a 50-foot buffer on the ephemeral stream. Attachment
    8 shows the Property's location in the Upper Ogeechee River Watershed. Attachment 17
    describes the Ogeechee River's journey through the Upper Ogeechee Watershed into the
    Ogeechee River Basin.

    E. Vegetation and Habitat
    Current habitat and land use types are identified in the Ecological Features Map in
    Attachment 1i. The approximate acreage of each type is as follows: pine forest (220.7
    acres), Mesic Hardwood Forest (16.8 acres), foodplot (2.5 acres), and 2 small Granite
    Outcrop (less than 1 acre). Granite Outcrop, Mesic Hardwood Forest and Streams are
    listed by the GA DNR and State Wildlife Action Plan documents as high priority habitats
    in the Piedmont Ecoregion of Georgia. See Attachment 18 for descriptions of the kinds of
    high priority habitat that are found on the Property.

    Loblolly pine forest makes up the majority of the Property in three separate stands. The
    largest stand is mature loblolly pine which has not been thinned. It is densely stocked with
    very little understory growth. The second is young planted pine that was planted
    approximately 3-5 years ago and the smallest stand is 20 year old pine that was thinned
    approximately five years ago and has an open understory. The understory in these stands
    consists of dog fennel, blackberries, understory saplings, plume grass, beautyberry and
    others.

    The Mesic Hardwood Forests are located along the tributaries of the Ogeechee River.
    This forest is narrow in most places and has a mature overstory, including southern red
    oak, white oak, green ash, water oak, red maple, yellow poplar, and sweetgum. The mid-

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    and understories consist of understory saplings, honeysuckle, beautyberry, grasses,
    Christmas fern and river cane.

    The foodplots are scattered in the pine forests throughout the Property along the interior
    roads and old logging decks. Some of the foodplots had been planted in seasonal wildlife
    foods.

    Two small Granite Outcrops are located in the planted pine near the center of the
    Property. They contain various mosses and lichen.

    Chinese privet, Nepalese browntop, Japanese honeysuckle, and lespedeza - non-native
    species that are considered invasive by the Georgia Exotic Pest Council - were observed
    on the Property. See Attachment 10 for a list of native and exotic plant species found on
    the Property, organized according to the kind of habitat in which they were observed.

    F. Agricultural Resources
    The Property is being utilized for timber production.

    G. Wildlife
    Field signs and individual sightings during the field surveys noted coyotes, gray squirrels,
    and white-tailed deer. Numerous resident and migrant songbirds, and other common
    landbirds, were also seen and heard while inspecting the tract, including cardinals,
    nuthatches, and blue jays. Though not observed on the Property, a host of other species
    typical of the Georgia Piedmont may be present. Attachment 19 lists some of these
    species.

    H. Rare or Endangered Species Known to Exist
    No endangered or threatened species are known to occur on the Property. A full rare
    species survey was not conducted, but the Property has suitable habitat for some rare or
    endangered plant and animal species. Attachment 20 lists some of these species.

    I. Cultural Resources
    No historical resources were observed on the Property.

    J. Scenic Character and Views from Public Roads/Waters
    Scenic views of the Property are available from Timber Road (Route 58).

    K. Existing Man-Made Structures
    The man-made structures on the Property are roads. See Attachment 13 for a map
    showing the locations of these man-made features.

    L. Evidence of Past Disturbances
    No evidence of heavy storms, fires, or other large scale events was noted during visit.

    M. Former Land Uses

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    The Property was likely farmed or used in timber production in the past. Evidence of
    former timber production and harvest includes old loading docks and the relatively young
    age of the pine stand.

    N. Current Land Uses
    The Property is used for timber production and outdoor recreation (primarily hunting).

    0. Management Plan in Effect, If Any
    No management plan currently exists for the tract.

    P. Zoning and Local Planning Restrictions, If Relevant
    There are no known zoning or planning restrictions in force that affect the use of this
    Property.

    Q. Adjacent Land Attributes and Uses; Existing and Potential Conflicts
    The Property is adjacent to farms and forested tracts of various sizes. There are no known
    conflicts with adjacent landowners.

    R. Amount and Type of Current Public Access and Public Use
    The landowner and invited guests hike, hunt, and observe wildlife on the Property at this
    time . No formal plans for public use exist.

    S. Evidence of Presence of Hazardous Waste
    No evidence of hazardous waste was noted during field visit.

    T. Proximity to Other Protected Land
    ORLT holds two conservation easments within 5 miles of the Property - Sparta Beef and
    Duck Farm. Ogeechee Wildife Management Area is also located 5 miles to the north and
    to the south of the Property, and several other privately held conservation easements are
    located to the south. See Attachment 14 for a map showing nearby protected properties.
    Various other county and city parks are also located within 10 miles of the Property.

    U. Benefits of Conservation
    The current owner has decided to place the Property under a conservation easement (CE)
    that protects its conservation values. These conservation values include high priority
    streams, high priority watersheds , and high priority habitats in the state of Georgia.
    Protecting these values benefits the public, and the plants and animals that live on the
    Property and in the larger watershed.

    This CE protects streams and plant habitat in the Upper Ogeechee River Watershed,
    segments of which have been designated high priority watersheds, by enhancing stream
    buffers and reducing non-point source pollution. Enhancing stream buffers and reducing
    non-point source pollution is critical for protecting water quality. Non-point source pollution
    - a type of pollution consisting of mud , litter, bacteria, pesticides, fertilizers, and a variety
    of other pollutants that are washed into rivers and streams by rainwater - is common in

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    Georgia's rivers and streams. Stream buffers reduce the amount of these pollutants
    making it into waterways, thereby improving surface and groundwater quality. Improved
    surface and groundwater quality benefits people by providing cleaner drinking water and
    better recreational opportunities. It also provides quality habitat for plants and animals
    living in the watershed. Rivers and riparian buffers on the Property also provide valuable
    dispersal corridors for plant and animal species passing through the Property.

    This CE protects high priority habitats as well, including habitat combinations that are
    important for many species of plants and animals. High priority habitats that the Property
    protects include: Granite Outcrop, Mesic Hardwood Forest and Streams.                 See
    Attachment 11 for the location of these habitats.

    Properly exercised reserved rights and the permitted uses will not negatively impact the
    conservation values.




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       In compliance with Section 1.1 ?0A - 14(g)(5) of the federal tax regulations, LOG CREEK,
       LLLP, owner of the Property referenced and described by this report, and the OCONEE
       RIVER LAND TRUST, INC., do hereby acknowledge that this report is an accurate
       representation of the Property as of the date of the conveyance of the conservation
       easement referenced in this report by the landowner ("Grantor") to the Oconee River Land
       Trust ("Grantee").



                                                    Log Creek, LLLP



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       1. Location Map
       2. Survey
       3. Legal Description
       4. Aerial Photograph
       5. Topographic Map
       6. Georgia Ecoregions Map
       7. Soils Map
       8. Georgia Watersheds Map
       9. Riparian Buffer Map
       10. Plant List
       11. Ecological Features Map
       12. Conservation Easement Map
       13. Man-Made Features Map
       14. Nearby Protected Properties Map
       15. Photo Location Map
       16. Photos
       17. Appendix 1: Water Resources
       18. Appendix 2: Vegetation and Habitat
       19. Appendix 3: Wildlife
       20. Appendix 4: Rare or Endangered Species

    Map Disclaimer: Maps contained in this report are not surveys and must not be construed
    as surveys. The information imparted with these maps is meant to assist the parties in their
    efforts to clearly depict Property boundaries, describe placement of certain retained and
    reserved rights, and to calculate acreage figures. Property boundaries, while approximate,
    were established using the best available information that may include: surveys, tax maps,
    and field mapping using G.P.S. and/or ortho photos.

    Unless otherwise noted, maps were created on December 14, 2018.




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    OCONEE RIVER LAND TRUST                                                                           LOG CREEK




    ATTACHMENT 1: LOCATION MAP




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    ATTACHMENT 3: LEGAL DESCRIPTION


    All that tract of land , together with improvements thereon , situate, lying and being in the 154111

    Georgia Militia District, in Warren County, Georgia and being more particularly described as

    follows:

    Commence at a concrete monument on the westerly right of way of Ogeechee River Road, also

    known as County Road 56, having an 80' right of way, and the southerly right of way of Georgia

    Railroad, having a 150' right of way;

    thence leaving the right of way of Ogeechee River Road and continuing along the southerly right of

    way of Georgia Railroad N 86° 11'25" Ea distance of 1464.75' to an iron pin, said iron pin being the

    point of beginning;

    thence N 86°09'47" Ea distance of 2582.93' to an iron pin;

    thence leaving said right of way S 47°03'01" W a distance of 476.96' to an iron pin;

    thence S 04°19'07" W a distance of 2133.12' to a concrete monument;

    thence S 88°17'38" Ea distance of 1034.08' to an iron pin at a rock;

    thence S 03 °15'03" W a distance of 885.30' to an iron pin;

    thence S 70°34'43" W a distance of 232.32' to an iron pin;

    thence N 89°25'17" W a distance of 236.28' to an iron pin;

    thence S 63 °17'07" W a distance of 1722.17' to an iron pin;

    thence S 17°25' l 7" Ea distance of 383.38' to an iron pin;

    thence S 12°33'16" Ea distance of 842.37' to an iron pin on the northern right of way of Timber

    Road, also known as County Road 58, having a 30' right of way;

    thence continuing along said right of way S 85°03'58" W a distance of 41.87' to a point;
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    OCONEE RIVER LAND TRUST                                                          LOG CREEK

    thence with a curve turning to the left with an arc length of 247.86', with a radius of 1075.74', with a

    chord bearing of N 85°42'41" W, with a chord length of 247.31' to a point;

    thence S 85°41 '30" W a distance of 119.01' to a point;

    thence S 83°5 6'43" W a distance of 394.91' to a point;

    thence with a curve turning to the left with an arc length of 244.86' , with a radius of 239.61', with a

    chord bearing of S 60°59'46" W, with a chord length of 234.34' to a point;

    thence S 40°49' 17" W a distance of 43.47' to an iron pin;

    thence leaving said right of way N 19°27'22" E a distance of 777 .28' to an iron pin;

    thence N 17°50'30" W a distance of 3028.18' to a concrete monument;

    thence N 27 °27'45" Ea distance of 1055.75' to an iron pin at an 18" sweetgum tree;

    thence N 09°13 '43" W a distance of 872.25' to an iron pin on the southern right of way of Georgia

    Railroad, which is the point of beginning;

    Said parcel containing 240.00 acres more or less and being more particularly described on a plat by

    Baseline Surveying & Engineering, Inc., for Log Creek LLLP, dated 12/03/2018.




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    OCONEE RIVER LAND TRUST                                                    LOG CREEK

    ATTACHMENT 4: AERIAL PHOTOGRAPH




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    OCONEE RIVER LAND TRUST                                                LOG CREEK

    ATTACHMENT 5: TOPOGRAPHIC MAP




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    OCONEE RIVER LAND TRUST                                                                                                                                           LOG CREEK

    ATTACHMENT 6: GEORGIA ECOREGIONS MAP

                                                                         84'                            83'                            82'                                BJ'
                                                                                                         'y~           '
                                                                                                        .'             ~ Level Ill and IV Ecoregions
                                                                                                                                                                                                  JS'
                  68                                                                                   !.::::_....,:r·..           of Georgia
       35'
                                                                                                                                  G.E. Griffith, J.M. Omernik, J.A. Comstock,
                                                                                                                                          S. Lawrence, and T . Foster
                                                                                                                                                       2001


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                                                                                                                                              Property in the Southern
                                                                                                                                             Outer Piedmont Ecoregion
       34'




                                                                                                                                                                                                  33'


       JJ'




                                                                                                                                                                                                  32'




       JI '




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                                             85'                                84'                              BJ'                               82'                                     Bl '

                      45 Piedmont                      65 Southeastern Plains                            66Dlue Ridge                                            68 Southwestern AppaJachians
              CJ 45a Southern Inner Picdmonl       c::J 65c Sand Hills                            CJ 66d Southern Crystalline Ridges & Mountains         c::::J 68c Plateau Escarpment
              c:::J 45b Southern Outer Piedmont    c::J 65d Southern Hilly Gulf Coastal Plain     c::::J 66g Southern Mctascdimcntary Mountains          c:::::J 68d Southern Table Plateaus

              =
              c::::J 45c Carolina Slate Belt
                      45d Talladega Uplnnd
              c:::::J 45h Pine Mountain Ridges
                                                   r:=I 65g Dougherty Plain
                                                   c::J 65h Tilton Upland
                                                   c:::J 65k Coastal Plain Red Uplands
                                                                                                  [=1 66j Broad Basins

                                                                                                         67 Ridge and Valley
                                                                                                  c::J 67f Southern Limestone/Dolomite Valleys
                                                                                                                                                                 75 Soulhem Coaslal Plain
                                                                                                                                                         c:::::J 75e Okefenokee Plains
                                                                                                                                                         CJ 75! Sea Island Flatwoods
                                                   c::J 651 Atlantic Southern Loam Plains                    and Low Rolling Hills                       c::::::;:] 75g Okefenokee Swamp
                          Level III ccorcgion      c::J 650 Tallahassee Hills/Valdosta Limesink   c:::J 67g Southern Shale Valleys                       c::J 75h Bacon Terraces
                          Level IV ecoregion       r:=i 65p Soulheaslcm Floodplains and                                                                  c::J 75i Floodplains nnd Low Terraces
                                                                                                  c::::J 67h Southern Sandstone Ridge s
                          State boundary                     Low Terraces                                                                                c::J 75j Sea lslancWCoa.stal Marsh
                                                                                                  c:::J 67i Southern Dissec led Ridges and Knobs
                          County boundary




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    ATTACHMENT 7: SOILS MAP




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                                                       O    feet   660
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    OCONEE RIVER LAND TRUST                                                 LOG CREEK

    SOILS MAP LEGEND

     Map Unit                                             Farmland
                          Map Unit Name                                          Acres   Percent
     Symbol                                             Classification
                 Appling sandy loam, 2 to 6 percent   All areas are prime
       AmB                                                                       33.40   13.92%
                 slopes                                     farmland
                                                          Farmland of
                 Appling sandy loam, 6 to 10
       AmC                                                  statewide            23.50   9.79%
                 percent slopes
                                                           importance
                                                          Farmland of        I
                 Cecil sandy clay loam, 2 to 6
       CfB2                                                 statewide            13.70   5.71%
                 percent slopes, eroded
                                                           importance
                 Cecil sandy clay loam, 6 to 10
       CfC2                                           Not prime farmland         0.60    0.25%
                 percent slopes, eroded
                 Cecil sandy clay loam, 10 to 25
       CfE2                                           Not prime farmland         21.20   8.83%
                 percent slopes, moderately eroded
                 Grover sandy loam, 2 to 6 percent    All areas are prime
        GeB                                                                      0.00    0.00%
                 slopes                                     farmland
                 Helena loamy coarse sand, 2 to 6     All areas are prime
        HeB                                                                      9.40    3.92%
                 percent slopes                             farmland
                                                          Farmland of
                 Helena loamy coarse sand, 6 to 10
        Hee                                                 statewide            73.50   30.63%
                 percent slopes
                                                           importance
                 Wedowee loamy sand, 2 to 6           All areas are prime
       WeB                                                                       28.50   11.88%
                 percent slopes                             farmland
                                                          Farmland of
                 Wedowee loamy sand, 6 to 10
       wee                                                  statewide            36.20   15.08%
                 percent slopes
                                                           importance

    Totals for Area of Interest                                                  240.0   100°/o




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    OCONEE RIVER LAND TRUST                                              LOG CREEK

    ATTACHMENT 8: GEORGIA WATERSHEDS MAP



       Georgia's 52 Large Watersheds

                                                                   Property is in the Upper
                                                                  Ogeechee River Watershed




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                               Community Affairs


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    OCONEE RIVER LAND TRUST                                           LOG CREEK

    ATTACHMENT 9: RIPARIAN BUFFER MAP




                                                                   Interior Road
                                                                   Railroad

                                                                   Stream




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    OCONEE RIVER LAND TRUST                                                LOG CREEK

    ATTACHMENT 10: PLANT LIST (List of Dominant, Co-Dominant and Understory
    Plant Species Identified on Property)

                                         Pine Forests


                      Common Name                                 Scientific Name

                                       Dominant Species

    Pine (Loblolly)                             Pinus taeda

                                      Understory Species

    Bluestem                                    Andropoqon spp.

    Asters                                      Asterspp.

    Dog Fennel                                  Eupatorium capillifo/ium

    Carolina Jessamine                          Ge/semium sempervirens

    Lespedeza **                                Lespedeza spp.

    Sweetgum                                    Liquidambar stvracif/ua

    Japanese Honeysuckle**                      Loniceria japonica

    Panic Grass                                 Panicum spp.

    Oak (Southern Red)                          Quercus falcata

    Oak (Water)                                 Quercus nigra

    Plume Grass                                 Saccharum a/opecuroides

    Greenbrier                                  Smilaxsoo.

    Goldenrod                                   Solidago spp.

    Muscadine Grape                             Vitus rotundifolia

                                    Mesic Hardwood Forests


                      Common Name                                Scientific Name

                                       Dominant Species

    Sweetqum                                   Liquidambar styracif/ua

    Yellow Poplar                              Liriodendron tulipifera

    Oak (White)                                Quercus alba

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    Oak (Southern Red)                    Quercus fa/cata

    Oak (Northern Red)                    Quercus rubra

    Oak (Water)                           Quercus nigra

                                Co-Dominant Species

    DoQwood (FlowerinQ)                   Camus florida

    Persimmon                             Diosovros virqiniana

    Ash (Green)                           Fraxinus oennsvlvanica

    Black Cherry                          Prunus serotina

    Elm (Winged)                          Ulmus alata

                                Understory Species

    River Cane                            Arundinaria qiqantea

    Christmas Fern                        Polystichum acrostichoides

    Blackberry                            Rubus spp.

    Greenbrier                            Smilax spp.

    Sparkleberry                          Vaccinium arboreum




    ** Denotes exotic species




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    OCONEE RIVER LAND TRUST                                               LOG CREEK

    ATTACHMENT 11: ECOLOGICAL FEATURES MAP




                                                               U UProperty Boundary
                                                              ' - - County Road
                                                               - - - Interior Road




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    ATTACHMENT 12: CONSERVATION EASEMENT MAP




                                                                                              ~   D Special Natural Area
                                                                                                  0 Forestry Envelope
                                                                                                      Riparian Buffer (200' on
                                                                                                  18:1stream ; 50' on Ephemeral
                                                                                                      Stream)

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                                                                                                  c::1Granite Buffer (25' on
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    OCONEE RIVER LAND TRUST                                    LOG CREEK

    ATTACHMENT 13: TOPOGRAPHIC MAP WITH MAN-MADE FEATURES




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    ATTACHMENT 14: NEARBY PROTECTED PROPERTIES MAP

                                                                                                              Norwood                                                   c




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    ATTACHMENT 15: PHOTO LOCATION MAP




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    ATTACHMENT 16: PHOTOGRAPHIC LOG
    Photographer: Elizabeth Branch                      Camera: iPhone 7
    Date: December 4, 2018                              Time: 12:30 PM
    Weather: Sunny, 50° F, Calm Winds




         CP1 a: View of Property from Timber Road (County Road 58) facing southwest
                            (33° 20' 38.61 " N' 82° 46' 54.18 w' 260°)
                                                         II




          CP1 b: Entrance to Property off of Timber Road (County Road 58) facing east


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                             (33° 20' 38.61" N, 82° 46' 54.18" W, 70°)

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                             CP2: Young planted Loblolly pine
                          (33° 20' 51.23" N, 82° 46' 51.5g" W, go 0 )




                    CP3a: Mowed trail within young planted pine stand
                          (33° 20' 53.76" N, 82° 46' 50.03" W, go 0 )




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       CP3b: Young planted pine with mowed trail through broomsedge and other grasses
                           (33° 20' 53.76" N, 82° 46' 50.03" W, 290°)




                        C4a: Interior road through mature planted pine
                            (33° 21' 2.56" N, 82° 46' 29.35" W, 340°)
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       CP4b: Thinned planted loblolly pine with dog fennel, blackberry, broomsedge and
           sweetgum saplings in understory (33° 21' 2.56" N, 82° 46' 29.35" W, 120°)




               ....
      CP5a: Foodplot adjacent to young planted pine along tributary of the Ogeechee River
                           (33° 20' 56.37" N, 82° 46' 37.81" W, 150°)
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              CP5b: View of mature planted pine and foodplot from same CP
                         (33° 20' 56.37" N, 82° 46' 37.81" W, 60°)




                 CP6a: Small Granite Outcrop within planted pine stand
                        (33° 21' 6.08" N, 82° 46' 44.89" W, 230°)
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                       CP6b: Granite Outcrop with moss and lichen
                         (33° 21' 6.08" N, 82° 46' 44.89" W, 280°)




              CP7a: Foodplot adjacent to young planted pine and interior road
                         (33° 21' 9.46" N, 82° 46' 40.47" W, 350°)
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          CP7: Interior road running between two age classes of planted Loblolly pine
                             (33° 21' 9.46" N, 82° 46' 40.47" W, 180°)




     CP8a: Washed out culvert pipe along interior road crossing tributary of Ogeechee River
                           (33° 21' 14.96" N, 82° 46' 41.98" W, 70°)
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                   CP8b: Hardwood along stream adjacent to road crossing
                          (33° 21' 14.96" N, 82° 46' 41.98" W, 195°)




    CP9a: Mesic Hardwood Forest along tributary of the Ogeechee River with Christmas fern,
       northern red oak, sweetgum, and water oak (33° 21' 15.21" N, 82° 46' 45.5" W, 260°)




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     CP9b: View from hardwood drain at river cane along stream and young planted pine in the
                        distance (33° 21' 15.21" N, 82° 46' 45.5" W, 150°)




                  CP10: Dense stand of Loblolly pine with very little understory
                            (33° 21' 19.37" N, 82° 46' 50.25" W, 40°)




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    CP11 a: Tributary of the Ogeechee River flowing through Mesic Hardwood Forest with river
                                                 cane
                              (33° 21' 22.86" N, 82° 46' 55.99" W, 305°)




     CP11 b: River cane, water oak, sweetgum, and southern red oak along the banks of stream
                              (33° 21' 22.86" N, 82° 46' 55.99" W, 135°)




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                               !
             CP11 c: View of young planted pine adjacent to stream with river cane
                             (33° 21' 22.86" N, 82° 46' 55.99" W, 70°)




      CP12a: View of young planted pine along stream from within more mature pine stand
                           (33° 21' 22.45" N, 82° 46' 47.12" W, 355°)




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     CP12b: Loblolly pine with sweetgum saplings, vaccinium, and muscadine in understory
                             (33° 21' 22.45" N, 82° 46' 47.12" W, 260°)




     CP13a: Stream flowing through Mesic Hardwood Forest. Note Japanese honeysuckle in
                                          foreground
                            (33° 21' 24.52" N, 82° 46' 44.7" W, 120°)




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             CP13b: Interior road as it crosses over stream through hardwood drain
                              (33° 21' 24.52" N, 82° 46' 44.7" W, 75°)




     CP14a: Transition between mature planted loblolly pine and young pine with river cane
                    along the edge (33° 21' 27.86" N, 82° 46' 40.44" W, 345°)




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                      CP14b: Trail between two age classes of planted pine
                             (33° 21' 27.86" N, 82° 46' 40.44" W, 65°)




     CP15a: Young planted pine along tributary to the Ogeechee River near northern property
                         line (33° 21' 30.52" N, 82° 46' 52.14" W, 260°)
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                  CP1 Sb: Railroad running along northern property line
                          (33° 21' 30.S2" N, 82° 46' S2.14" W, S0 )
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        CP16b: Mowed interior road between young planted pine and more mature pine
                          (33° 21' 25.4" N, 82° 46' 51.43" W, 235°)




               CP17a: Food plot along interior road overgrown with dog fennel
                          (33° 21' 19.07" N, 82° 46' 41.49" W, 10°)
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       CP17b: Interior road through foodplot with plume grass, dog fennel, and goldenrod
                             (33° 21' 19.07" N, 82° 46' 41.49" W, 135°)




     CP18a: Planted loblolly pine stand with blackberry, smilax, broomsedge and sweetgum
                saplings in understory (33° 20' 57.84" N, 82° 46' 46.46" W, 130°)
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                        CP1 Sb: Interior trail through planted pine
                         (33° 20' 57.84" N, 82° 46' 46.46" W, 320°)




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    ATTACHMENT 17: APPENDIX ON WATER RESOURCES

    The Property is in the Upper Ogeechee River Watershed HUC 03060201. The Ogeechee
    River is the dominant waterbody in the basin. The Ogeechee River is located in mid- to
    southeastern Georgia and is flanked by the Altamaha and Oconee River basins to the west
    and the Savannah River basin to the east. In the headwaters located in Greene County,
    Georgia, the North and South Fork Ogeechee Rivers join to form the Ogeechee River
    which runs 245 miles in a southeasterly direction and empties into Ossabaw Sound on the
    Georgia Atlantic coast. The Ogeechee River basin is located entirely in the State of
    Georgia and drains approximately 5,540 square miles.

    The Ogeechee River is one of Georgia's few remaining free flowing streams and contains
    excellent habitat for numerous freshwater fish species. The Ogeechee River is a typical
    blackwater coastal stream, which is a result of tannins from decaying tree roots and other
    organic materials passing through the sandy soil and staining the water. However, unlike
    other black water rivers, the Ogeechee has a high pH (near 7.0) due to a large input of
    carbonate-rich water from Magnolia Springs in Jenkins County, Georgia. Other significant
    water features are the coastal estuaries, sounds, and the Atlantic lntracoastal Water-Way.
    There are no large storage reservoirs or hydroelectric plants in the Ogeechee River Basin,
    but there are many small lakes, reservoirs, and farm ponds.

    ATTACHMENT 18: APPENDIX ON VEGETATION AND HABITAT*

    Granite Outcrops: Diverse mosaics of exposed granitic rock, herb and shrub dominated
    patches, and wetland microhabitats. Most have shallow solution pits that collect soil and
    support various stages of plant A-24 succession. These environments support rare or
    endemic species of plants and animals. The most important of these habitats contain a
    variety of solution pits, seepage zones, and bare rock exposures. Some outcrops are
    monadnocks (rise above the ground) while others

    Mesic Hardwood Forests Non-wetland forests of floodplains, ravines, and north-facing
    slopes in the Piedmont. These may include species such as American beech, white oak,
    northern red oak, bitternut hickory, pignut hickory, shagbark hickory, bigleaf magnolia,
    yellow poplar, blackgum, dogwood, black cherry, and loblolly pine. Typical shrubs include
    spicebush, sweetshrub, pawpaw, Oconee azalea, rusty viburnum, and pinxter-flower.

    Streams In the upper Piedmont, streams are low to moderate gradient and typically
    contain well-defined riffles and pools. Substrate consists of gravel, pebble, sand, and silt;
    some bedrock may also be present. Lower Piedmont streams are lower gradient, have
    fewer riffles and pools, and their substrates have a higher proportion of silt, clay, and
    detritus than upper Piedmont streams. Turbidity is highly variable, but most of these
    streams become highly turbid after rain.

    *These habitat descriptions are quoted from Appendix pages A-23 and A-25 in Georgia
    DNR's "Georgia State Wildlife Action Plan.




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    ATTACHMENT 19: APPENDIX ON WILDLIFE

    Small mammals such as fox squirrels, wood rats, voles, and shrews may be present. A
    varity of native reptiles and amphibians may also live here, including various non-
    venomous water snakes, rat snakes, copperhead snakes, canebrake rattlesnakes, green
    tree frogs, fence lizards, and green anoles. In addition, neotropical migrants like the gray
    catbird, field sparrow, pine warbler, and prairie warbler could utilize the forests that occur
    on this Property.

    *See Appendices in Georgia DNR's "Georgia State Wildlife Action Plan."

    ATTACHMENT 20: APPENDIX ON RARE OR ENDANGERED SPECIES*

    Among plants that are rare and unusual in the Georgia Piedmont, and therefore classified
    by the GA DNR as high priority species in that ecoregion, the following species are known
    to occur in the kinds of forests and ecosystems that are found on the Property:

        Corydalis flavula (Yellow Harlequin)
        Silene ovata (Mountain Catchfly)

    Among the animal species that are classified as species of concern in the Georgia
    Piedmont, the following species are known to occur in the kinds of habitats that are found
    on the Property:

        Clemmys guttata (Spotted Turtle)
        Etheostoma parvipinne (Goldstripe Darter)
        Eurycea hillisi (Hillis's Dwarf Salamander)
        Fusconaia masoni (Atlantic Pigtoe)
        Hemidactylium scutatum (Four-toed Salamander)
        Lampropeltis rhombomaculata (Mole Kingsnake)
        Moxostoma sp. 4 (Brassy Jumprock)
        Necturus punctatus (Dwarf Waterdog)
        Peucaea aestivalis (Bachman's Sparrow)
        Procambarus petersi (Ogeechee Crayfish)

    *See Appendices in Georgia DNR's 2015 "Georgia State Wildlife Action Plan."




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                                  Appraisal Report


                                   Log Creek LLLP




                                  240.00 Acres of Land
                            From Larger 2,546.87 Acre Tract
                     Along the North Side of Warren County Road 58
                                    Warren County
                                     Georgia, 30828


                                   Valuation of the
                                Conservation Easement



                                 Kenny & Associates
                                Real Estate Appraisers
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     Log Creek LLLP
     EIN:
     1280 Snows Mill Road,
     Bogart, Georgia 30622

     Dear Sir/Madam:

     At your request, we have estimated the Fair Market Value of the Conservation Easement, located
     along the north side of Warren County Road 58, just south of Mayfield Road, in Warren County,
     Georgia. The purpose of this report is to determine the impact of the conservation easement on
     the subject property; thus, we have valued the subject property before and after the donation of
     the Conservation Easement. The effective date of the appraisal (and the valuation conclusions
     reached herein) is the date of contribution of the conservation easement deed on the subject
     property.

     It is our opinion that the Fair Market Value in Fee Simple Estate, before the conservation
     easement, of the total Contiguous Family-Owned Parcel of 2,546.87 Acres, consisting of 240.00
     Acres of land encumbered by the conservation easement and 2,306.87 Acres Excluded, based on
     the Highest and Best Use of the 240.00 Acres as a Mining Development and the 2,306.87 Acres
     as Agricultural/Recreational/Timber Land, located along the north side of Warren County Road
     58, just south of Mayfield Road, in Warren County, Georgia, as of December 28, 2018 is:

     Area Encumbered       +      Excluded Tract        =       Reconciled Value Before
         (240.00 Ac)              (2,306.87 Ac)

          $46,940,000      +         $4,610,000         =              $51,550,000


            FIFTY-ONE MILLION FIVE HUNDRED FIFTY THOUSAND DOLLARS

                                              ($51,550,000)


     It is our opinion that the Fair Market Value in Fee Simple Estate subject to the conservation
     easement for the total Contiguous Family-Owned Parcel of 2,546.87 acres, consisting of 240.00
     Acres encumbered by the conservation easement and 2,306.87 Acres Excluded, located along the
     north side of Warren County Road 58, just south of Mayfield Road, in Warren County, Georgia,
     as of December 28, 2018 is:

     Area Encumbered       +      Excluded Acreage      =       Reconciled Value After
         (240.00 Ac)                (2,306.87 Ac)

            $310,000       +            $4,610,000      =              $4,920,000


              FOUR MILLION NINE HUNDRED TWENTY THOUSAND DOLLARS

                                              ($4,920,000)
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     It is our opinion that the Fair Market Value of the Conservation Easement located along the north
     side of Warren County Road 58, just south of Mayfield Road, in Warren County, Georgia, as of
     December 28, 2018 is:

     Reconciled Value Before - Reconciled Value After - Enhancement Value = Value of CE
           $51,550,000       -       $4,920,000       -     $230,500      = $46,399,500

                                                                Rounded             = $46,399,000



      FORTY-SIX MILLION THREE HUNDRED NINETY-NINE THOUSAND DOLLARS

                                              ($46,399,000)



             Value Before the Conservation Easement                             $51,550,000
             Land Value After the Conservation Easement                         $ 4,920,000
             Minus Enhancement Value                                            $ 230,500
             Value of the Conservation Easement                                 $46,399,000 rd.

     As of the date of appraisal, Log Creek LLLP does own property that would benefit from the
     conservation easement and there are known partnerships or individuals considered to be a
     "related person" under applicable tax provisions that would benefit from the conservation
     easement. Accordingly, a reduction in value has been assessed due to the enhancement in value
     of any other property. As stated throughout this report, approximately 10,079.08 acres of
     contiguous and non-contiguous land is owned by Log Creek LLLP in Warren County (an entity
     considered to be a “related person” as defined by Treas. Reg. §267(b)).
     Of note, 2,306.87 Acres (309.06 acres of Parcel 016-026, 37.00 acres of Parcel 016-027, Parcel
     016-028, Parcel 017-026, Parcel 017-016, Parcel 026-023, and Parcel 026-024) are contiguous to
     the subject property (240.00 Acres). It is the appraisers’ opinion that the contiguous land owned
     by Log Creek LLLP does benefit from the conservation easement placed on the 240.00 acres of
     the subject property. A list of the parcels can be found in the chart below.

                                         Contiguous Parcels
                                   Owner          Parcel #         Acreage
                            Log Creek LLLP      016-026               309.06
                            Log Creek LLLP      016-027                 37.00
                            Log Creek LLLP      016-028               190.10
                            Log Creek LLLP      017-026               558.84
                            Log Creek LLLP      017-016               363.00
                            Log Creek LLLP      026-023               741.87
                            Log Creek LLLP      026-024               107.00
                                                Total:              2,306.87
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     It is the appraisers’ opinion that the non-contiguous land owned by Log Creek LLLP does not
     benefit from the conservation easement placed on the 240.00 acres of the subject property. This
     determination is based on the subject property’s location in rural Warren County. It is the
     appraisers’ opinion that a buyer would not pay more for any of the properties considered for
     enhancement due to the location of the parcels compared to the location of the subject property
     as the majority of the land in the area is rural land or agricultural land. It is the appraisers’
     opinion that a buyer would not be influenced by a conservation easement due to the rural nature
     of the area and the availability of undeveloped land. A list of the parcels can be found in the
     chart below.

                           Parcels Considered for Enhancement - Non-Contiguous
             Owner            Parcel #     Acreage             Owner           Parcel #     Acreage
     Log Creek LLLP         004-001         18.00      Log Creek LLLP        038-010         460.30
     Log Creek LLLP         005-018          26.74     Log Creek LLLP        038-037          31.00
     Log Creek LLLP         011-011         160.30     Log Creek LLLP        038-038         280.24
     Log Creek LLLP         011-013          28.38     Log Creek LLLP        038-065          37.04
     Log Creek LLLP         012-004         281.68     Log Creek LLLP        045-001         150.35
     Log Creek LLLP         013-011         430.28     Log Creek LLLP        045-031         187.64
     Log Creek LLLP         013-013           2.00     Log Creek LLLP        047-007         174.50
     Log Creek LLLP         074-015          67.94     Log Creek LLLP        052-030          84.26
     Log Creek LLLP         060-035          14.77     Log Creek LLLP        052-031         415.87
     Log Creek LLLP         060-037         307.50     Log Creek LLLP        056-002         113.02
     Log Creek LLLP         067-065         304.01
     Log Creek LLLP         068-012         282.71
     Log Creek LLLP         016-003         156.67
     Log Creek LLLP         020-003          19.00
     Log Creek LLLP         021-001         316.90
     Log Creek LLLP         021-018          62.83
     Log Creek LLLP         022-014         154.03
     Log Creek LLLP         023-001         320.00
     Log Creek LLLP         023-002         546.63
     Log Creek LLLP         023-016          93.00
     Log Creek LLLP         024-010         162.30
     Log Creek LLLP         024-090          84.67
     Log Creek LLLP         026-002         100.60
     Log Creek LLLP         026-005          73.50
     Log Creek LLLP         056-007         470.40
     Log Creek LLLP         060-001         509.95
     Log Creek LLLP         028-087         355.46
     Log Creek LLLP         029-002         256.54
     Log Creek LLLP         032-004         231.20
                                                               Total:                        7,772.21
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     For the purpose of this report, the subject property refers to the 240.00 acres encumbered by the
     conservation easement.
     For the purpose of this report, the Excluded Tract refers to the 2,306.87 acres excluded from
     encumbrance of the conservation easement.
     For the purpose of this report, the Contiguous Parcel refers to the 2,546.87 acres which includes
     the 240.00 acres encumbered by the conservation easement and the Excluded Tract, the 2,306.87
     acres, excluded from the conservation easement.




                                  Subject
                                                                         Excluded Parcel         Excluded Parcel
                                       Subject
                                                                                       Excluded Parcel
                                            Excluded Parcel

                              Excluded Parcel

                                                              Excluded Parcel



                                                              Excluded Parcel


                    Excluded Parcel




                                                Intent of Appraisal
     Intended Use

     This report is intended for use only by Log Creek LLLP and the Oconee River Land Trust, Inc.
     The report was prepared for use and submission to aid the IRS and the United States District
     Court in accurately determining the value of the conservation easement. It is prepared for the
     owner’s use and submission to the IRS and District Court as evidence of the value of a charitable
     contribution for the subject property due to the placement of a conservation easement. Use of this
     report by others is not intended by the appraisers. This report is not intended for any other
     purpose.
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     Client and Intended User

     The sole intended users of this report are Log Creek LLLP and Oconee River Land Trust, Inc.
     The client is Log Creek LLLP. The intended users of review are the IRS and the United States
     District Court in determining the accurate fair market value for federal tax purposes. Intended
     users include current members and all entities and/or individuals considering an ownership
     interest in Log Creek LLLP. Other parties or entities who obtain a copy of the report may not
     rely upon any opinions or conclusions contained in the report unless such party or entity has
     expressly been identified by Kenny & Associates, Inc. as an intended user.

     This appraisal is a qualified appraisal prepared by qualified appraisers under applicable Treasury
     Regulations. The appraisal was prepared for Income Tax purposes, according to Treasury
     Regulations. It is not to be distributed or relied upon by others without our express written
     consent. This letter and express written consent must remain attached to the appraisal report for
     the opinion of fair market value set forth herein to be valid. Our employment was not conditional
     upon producing a specific value or any value within a given range. Future employment prospects
     are not dependent upon producing a specific value. No part of the fee arrangement nor portion of
     the appraisal fee was based on a percentage of the appraised value. Treas. Reg. § 1.170A-17. The
     appraisers understand that an intentionally false or fraudulent overstatement of the value of the
     property described in the qualified appraisal or appraisal summary may subject the appraisers to
     civil penalty under Section 6701 for aiding and abetting an understatement of tax liability, in
     addition to the appraisal being disregarded pursuant to 31 U.S.C. 330 (c).

     According to Treas. Reg. § 1.170A-17(a)(8) with regard to the timing of receipt of a qualified
     appraisal: “The qualified appraisal must be received by the donor before the due date, including
     extensions, of the return on which a deduction is first claimed, or reported in the case of a donor
     that is a partnership or S corporation, under section 170 with respect to the donated property, or,
     in the case of a deduction first claimed, or reported, on an amended return, the date on which the
     return is filed.”

     The appraisers understand that the Treasury Regulations require the following declaration be
     made within the appraisal report: “I understand that my appraisal will be used in connection with
     a return or claim for refund. I also understand that, if there is a substantial or gross valuation
     misstatement of the value of the property claimed on the return or claim for refund that is based
     on my appraisal, I may be subject to a penalty under section 6695A of the Internal Revenue
     Code, as well as other applicable penalties. I affirm that We have not been at any time in the
     three-year period ending on the date of the appraisal barred from presenting evidence or
     testimony before the Department of the Treasury or the Internal Revenue Service pursuant to 31
     U.S.C. section 330(c)” Treas. Reg. § 1.170A-17(a)(3)(vi). Accordingly, this declaration by the
     appraiser is made under the section entitled, “Certification.”

     The analyses, opinions, and conclusions contained herein were developed, and this report
     prepared, in accordance with the reporting requirements and Standards of OTS 12 CFR 323 and
     564. Additionally, the requirements of the Code of Professional Ethics, the Standards of
     Professional Appraisal Practice of the Appraisal Institute, and the Uniform Standards of
     Professional Appraisal Practice (USPAP) as promulgated by the Appraisal Foundation and Title
     XI of the Federal Financial Institutions Reform Act of 1989 were followed in the development of
     this report.
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     In preparing this appraisal report we relied on, referenced, reproduced information from, and
     used sources including, but not limited to, the following: the Uniform Standards of Professional
     Appraisal Practice (USPAP) by the Appraisal Foundation Code of Professional Ethics; the
     Standards of Professional Appraisal Practice of the Appraisal Institute; the Resource Valuation
     Report prepared by Dr. Capps, Capps Geoscience, LLC; Treas. Reg. § 1.170A-13; Treas. Reg.
     §1.170A-1; Treas. Reg. §1.170A-17; United States Census Bureau data; The Dictionary of Real
     Estate Appraisal, published by the Appraisal Institute; Title XI of the Federal Financial
     Institutions Reform Act of 1989; PwC Real Estate Investor Survey; and the publication Valuing
     Land Affected by Conservation Easements: Guidance from Federal Law and Regulation
     published by Stephen J. Small for the Lincoln Institute of Land Policy.

     Information was also utilized and conveyed based on interviews with market participants,
     personal research, and third-party services. Sources include, but are not limited to: U.S. Census
     Bureau, Regional Commission, brokers and owners, the County Development Authority, State
     Department of Labor Office, Federal and State Department of Transportation, Environmental
     Protection Division, Utility Corporations, and additional resources.

     The Discounted Cash Flow analysis in this report is based on the Extraordinary Assumption that
     all necessary permits for mining operations are obtainable as indicated by Dr. Capps, Capps
     Geoscience, LLC. This is in accordance with the Resource Valuation Report prepared by Dr.
     Capps, Capps Geoscience, LLC, and included in the Addenda, which states: “The property is
     zoned FOR-AG (Forestry-Agriculture District) and, according to Warren County zoning codes,
     mining is allowed in FOR-AG zoned lands with a conditional use permit. Community opposition
     to the quarry seems unlikely because there are existing aggregate quarries in the area. The
     author’s opinion is that it is reasonably probable that the Conditional Use Permit (CUP) will be
     obtained from Warren County to operate the quarry. In the author’s opinion, the subject
     property’s quarry will be permitted as an active mine with the Surface Mining Unit of the
     Georgia Environmental Protection Division. In addition, in the author’s opinion it is reasonably
     probable that the storm water and air emission permits will be granted for the subject property’s
     quarry.” It is the appraisers’ opinion that while we are not mining consultants, based on our
     experience and expertise in valuing real estate with commercial mineral reserves, the analysis
     within the Resource Valuation Report prepared by Dr. Capps, Capps Geoscience, LLC is
     credible and thus can be relied upon for the purpose of this appraisal. Further, according to Mr.
     Paul W. Hitchcock, Hitchcock & Hitchcock, P.C., a fair analysis of the Warren County Land Use
     Ordinance supports the approval of a conditional use permit for a granite quarry on the subject
     property. There is no financial public benefit to restricting the subject property to an agricultural
     use. The Owner and the general public will benefit from the increase in jobs and taxes that a
     mining operation would bring. The local laws and land use ordinances will reduce any potential
     negative impacts that the mining operation may bring, especially given the sparsely populated
     area in which the subject property lies. From a land use perspective, the proposed conditional use
     is proper; therefore, it is likely that the conditional use permit will be approved. At the time of
     appraisal, the conservation easement was in place. Therefore, the “before-easement” analysis is
     based on the hypothetical condition of the conservation easement not being in place and
     encumbering the subject property since the conservation easement does exist as of the date of
     this appraisal.
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     Purpose
     The purpose of this report is to provide an opinion of the Fair Market Value of the Conservation
     Easement for federal income tax purposes. In order to provide a full understanding of the impact
     of the conservation easement on the subject property, an analysis of the conservation easement
     value is included in this report. All approaches to value were considered within this appraisal
     report. The Income Approach (Discounted Cash Flow Analysis) detailed and utilized in this
     report is the most commonly accepted approach to valuing properties with subsurface material
     and has been determined to be the most reliable approach for the subject property. The Income
     Approach is based on the premise that an owner would hire a contract miner to mine and operate
     the quarry on the subject property.

     The appraisal of property with subsurface material requires a number of different disciplines. A
     qualified drilling company under the guidance of a Professional Geologist to drill the property, a
     Qualified Laboratory for testing of the material, a Professional Geologist along with a
     Professional Engineer to evaluate the reserves on-site based on the physical characteristics of a
     property, a mining consultant working in tandem with the Professional Geologist and
     Professional Engineer to evaluate the supply and demand as well as the target market. Further,
     the mining consultant will establish the permitting schedule, the market pricing, production
     schedule, the capital expenditures, the operating costs, and the life of mine. Finally, a qualified
     appraiser, one who specializes in appraisals with subsurface material, will analyze all of the data
     provided from the experts/professionals above to perform a qualified appraisal. All of the above
     is only possible on a unique property that has the quality and quantity of material on-site that is
     financially feasible to extract. The subject property within this appraisal report is unique as
     detailed in each of the professional reports provided and included in the addenda of this appraisal
     report.

     When valuing land with subsurface material, the subsurface material is a commodity that sells
     for specific amount in the market. This is similar to a lease or sale of commercial space. The
     commercial space is a commodity where the price is dictated by the market. The quality of the
     space, the location, and the size are contributing factors that dictate the value. Similarly, the type
     of material, the amount of reserves, and the quality of the material are contributing factors that
     dictate the value of the land. For instance, the value of real property sitting on an economically
     mineable oil reserve exceeds the value of similar property without an oil reserve even if all
     things remain equal. Therefore, the value of the subsurface material must be incorporated in the
     value of real property.

     Further, consumers are not willing to pay more for stone due to branding. i.e. No consumer is
     willing to pay more for subsurface material because it was mined by Vulcan versus a smaller
     operator. Therefore, it is our opinion, there is not additional intangible value associated with the
     value of subsurface material as the price is set by the market not based on branding or marketing.

     The valuation within this report represents the Fair Market Value of the property not the business
     value. Due to the use of a contract miner based on what a typical contract miner would charge
     (market rate). Conversely, Business Value is the value of the business; the summation of all its
     parts, tangible (real estate, equipment, fixed assets, etc.) and intangible (enterprise value).

     Intangible value is defined as the present value of excess earning power of an entity over the
     normal rate of return. The Dictionary of Real Estate Appraisal 5th Edition defines intangible
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     property as nonphysical assets, including but not limited to franchises, trademarks, patents, copy
     rights, goodwill, equities, securities, and contracts as distinguished from physical assets such as
     facilities and equipment.

     Our analysis is based on an adequately capitalized property contracting competent mining
     personnel found in the open market. If we were to value the property based on a specific contract
     i.e. a long term contract with a local concrete company, a contract that was above market, or
     based on a contract with a contract miner that could not be found in the open market, or if there
     were down-market synergies due to an ongoing business, this would constitute a business value.
     Whereas, our analysis is based on typical/market start-up costs, typical/market operating costs,
     typical/market (conservative) pricing, and typical/market discounting with additional discounting
     added to account for the risk of a new market entrant and entrepreneurial incentive. All costs
     associated with the business are deducted. Therefore, our analysis represents Fair Market Value
     of the land, not the value of the business.

     Further, in order to mine a property, there are a variety of components associated with the mining
     including machinery, equipment, improvements on-site, etc. However, when a piece of land is
     mined out, the value of the machinery, equipment, and improvements becomes null as they no
     longer have any usefulness to the site and typically do not contribute to the value of the property.
     For land with subsurface material, when the material is gone, there no additional value to the
     land due to the improvements, machinery, or equipment. In theory, the equipment can be sold;
     however, for our analysis we have chosen to be conservative and not add any additional salvage
     value to the DCF.

     To help with the understanding of valuing the land:

     When appraising a subdivision, the appraiser models within a DCF, the typical/market pricing of
     the lots, the typical/market capital costs to prepare the lots for sale, the typical operating costs,
     and the typical/market absorption of the lots. This is then discounted back to the date of
     valuation to come up with the value of the land. This is the methodology used when appraising
     the land for a subdivision, not the business value. This is typical appraisal practice to value the
     land for a subdivision. Just as what was described within my report is typical appraisal practice
     to value the land with subsurface material, specifically a mineral reserve as defined by the SME
     Guide for Reporting Exploration Information, Mineral Resources, and Mineral Reserves (SME
     Guide).

     The purpose of this report is to aid the IRS and any court to accurately determine the fair market
     value of the contribution.

     The same valuation analysis and principles generally applies to appraisals in all contexts;
     however special rules are put in place for conservation easements.

     When there is no substantial record of sales of similar conservation easement encumbered
     properties, the generally accepted method recommends a comparison between the fair market
     value of the subject property prior to the donation of the conservation easement and the fair
     market value after the donation of the conservation easement. Moreover, any offsetting increase
     in value of additional properties owned by the donor is also considered when establishing the fair
     market value derived from the difference between the subject property before and after the
     establishment of the conservation easement.
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     At the time of the appraisal, no viable direct conservation easement sales were available.
     As such, the appraisers utilized the “before and after” appraisal valuation technique, calculating
     the difference between the fair market value of the total property before granting the
     conservation easement and the fair market value of the subject property after granting the
     conservation easement.

     While this report is being prepared for federal income tax purposes, the actual amount of any
     potential deduction arising from the donation of a conservation easement may depend on a
     taxpayer's individual circumstances and should be calculated by an accountant or other tax
     professional of competent skill and knowledge. Therefore, these appraisers have not provided an
     estimate of the potential tax impact of any charitable deduction associated with the conservation
     easement.

     No special legal instructions exist. Attached is a narrative Appraisal Report, prepared in
     accordance with USPAP, to substantiate our findings.




     Douglas R. Kenny, MAI                                Rick A. Kenny, MAI, SRA
     KENNY AND ASSOCIATES, INC                            KENNY AND ASSOCIATES, INC
     RAK/tlk                                              rick@kennyappraisal.com
     File Number CE1566121                                770-664-8922
     doug@kennyappraisal.com                              SSN:
     kennyappraisal.com
     770-823-3816
     SSN:
     Kenny & Associates, Inc.
     327 Dahlonega Street, Suite 104
     Cumming, GA 30040
     EIN:

     Date: March 28, 2022
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     APPRAISER’S LIABILITY LIMITATIONS AND INTENDED USER AGREEMENTS

     The acceptance of this report and its use by the intended user in any manner, or for any purpose,
     is an acknowledgement by the intended user that this report is a satisfactory professional product,
     the intended user has personally read the report, and agrees that the data herein is accurate to the
     best of the appraisers’ ability. It is agreed that the intended user shall limit any and all liability
     for any damage on account of any error, omission or other professional negligence to a sum not
     to exceed the fee collected for this report; and only in the case of a gross error that would have
     materially affected the appraisers’ value opinion as of the date of valuation.

     Acceptance of this report by the intended user validates that a value opinion is a product of a
     professionally trained mind and acknowledges that the views and conclusions expressed in this
     report represent an opinion only, and not established fact. Thus, the appraisers warrant only that
     the value conclusions are their best opinion estimates as of the effective date of valuation and not
     any other period in time.

     The appraisers do not make any claims, assertions or guarantees regarding professional services
     outside the scope of the appraisal valuation or the expertise of the appraisers. The appraisers
     have the right to reevaluate and/or change the content of this report, including, but not limited to,
     the value conclusion if any information relied upon changes or other facts present themselves.
     Such professional services include, but are not limited to: deed restrictions, land use covenants,
     or other limitations on the property rights that may be revealed by an abstract or title insurance
     policy; easements, encroachments, or other limitations of the title that may be revealed by a
     survey; legal matters that require specialized knowledge beyond that ordinarily employed by a
     real estate appraiser; information typically disclosed by an engineering study or environmental
     survey; the resulting value of any tax advantage as a result of the conservation easement; and any
     other services covered by the Basic Assumptions and Limiting Conditions as set forth in this
     report.

     The sole intended users of this report are Log Creek LLLP, Oconee River Land Trust, Inc., the
     IRS, and the District Court. Kenny & Associates, Inc. assumes no responsibility for this report if
     it is used or relied upon by anyone other than the intended users without written permission.
                                      APPRAISER COMPETENCY
     Doug Kenny, MAI, State Certified General Real Property Appraiser in Tennessee, Alabama,
     South Carolina, and Georgia has been appraising land for over ten years. Over the past six years,
     Kenny & Associates, Inc. has experience appraising land throughout the country, completing
     numerous appraisal valuations of properties similar to the subject property of this appraisal.
     Doug Kenny, MAI, has specifically appraised conservation easements, and in addition has
     sought the appropriate level of competency through extensive research and classwork, including
     the Valuation of Conservation Easements (Appraisal Institute) ultimately obtaining the required
     knowledge in order to become competent in the appraisal of conservation easements. Therefore,
     he has met the requirements of the USPAP Competency Rule.

     Rick Kenny, MAI, SRA, a State Certified General Real Property Appraiser in Alabama,
     Arkansas, Georgia, Kentucky, Louisiana, Mississippi, Missouri, North Carolina, Ohio, Florida,
     South Carolina, Tennessee, Texas, and Virginia, has been appraising land for over 30 years.
     Over the past six years, Kenny & Associates, Inc. has experience appraising land throughout the
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     country, completing numerous appraisal valuations of properties similar to the subject property
     of this appraisal. Rick Kenny, MAI, SRA has specifically appraised conservation easements, in
     addition has sought the appropriate level of competency through extensive research and
     classwork, including the Valuation of Conservation Easements (Appraisal Institute) ultimately
     obtaining the required knowledge to become competent in the appraisal of conservation
     easements. Therefore, he has met the requirements of the USPAP Competency Rule.


                                                        CERTIFICATION

     I certify that, to the best of my knowledge and belief:

          − The statements of fact contained in this report are true and correct.

          − The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and
              is my personal, impartial, and unbiased professional analyses, opinions, and conclusions.

          − I have no present or prospective interest in the property that is the subject of this report and no personal interest with
               respect to the parties involved. I am not a person described in Treasury Regulation 1.170A-13(c)(5)(iv).

          − The Discounted Cash Flow analysis in this report is based on the Extraordinary Assumption that all necessary permits for
              mining operations are obtainable as indicated by Dr. Capps, Capps Geoscience, LLC. This is in accordance with the
              Resource Valuation Report prepared by Dr. Capps, Capps Geoscience, LLC, and included in the Addenda, which
              states: “The property is zoned FOR-AG (Forestry-Agriculture District) and, according to Warren County zoning codes,
              mining is allowed in FOR-AG zoned lands with a conditional use permit. Community opposition to the quarry seems
              unlikely because there are existing aggregate quarries in the area. The author’s opinion is that it is reasonably probable
              that the Conditional Use Permit (CUP) will be obtained from Warren County to operate the quarry. In the author’s
              opinion, the subject property’s quarry will be permitted as an active mine with the Surface Mining Unit of the Georgia
              Environmental Protection Division. In addition, in the author’s opinion it is reasonably probable that the storm water
              and air emission permits will be granted for the subject property’s quarry.” It is the appraisers’ opinion that while we
              are not mining consultants, based on our experience and expertise, the analysis within the Resource Valuation Report
              prepared by Dr. Capps, Capps Geoscience, LLC is credible and thus can be relied upon for the purpose of this
              appraisal. Further, according to Mr. Paul W. Hitchcock, Hitchcock & Hitchcock, P.C., a fair analysis of the Warren
              County Land Use Ordinance supports the approval of a conditional use permit for a granite quarry on the subject
              property. There is no financial public benefit to restricting the subject property to an agricultural use. The Owner and
              the general public will benefit from the increase in jobs and taxes that a mining operation would bring. The local laws
              and land use ordinances will reduce any potential negative impacts that the mining operation may bring, especially
              given the sparsely populated area in which the subject property lies. From a land use perspective, the proposed
              conditional use is proper; therefore, it is likely that the conditional use permit will be approved. At the time of
              appraisal, the conservation easement was in place. Therefore, the “before-easement” analysis is based on the
              hypothetical condition of the conservation easement not being in place and encumbering the subject property since the
              conservation easement does exist as of the date of this appraisal.

          − The sole intended users of this report are Log Creek LLLP and Oconee River Land Trust, Inc. The intended user of review
              is the Internal Revenue Service.

          − I have performed no services, as an appraiser or in any other capacity regarding the property that is the subject of this
               report within the three-year period immediately preceding acceptance of this assignment.

          − I have no bias with respect to the property that is the subject of this report or to the parties involved with this assignment.

          − My engagement in this assignment was not contingent upon developing or reporting predetermined results.

          − The reported analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with
              the requirements of the Code of Professional Ethics & Standards of Professional Appraisal Practice of the Appraisal
              Institute, the Uniform Standards of Professional Appraisal Practice (USPAP) as promulgated by the Appraisal
              Foundation, and the real estate appraiser license law, Georgia Statutes administered and enforced by the Georgia Real
              Estate Appraisal Board. This assignment has met the requirements by a recognized professional appraiser organization
              (Appraisal Institute). This assignment has been performed within the Competency Provision of USPAP.
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       − No one provided significant real property appraisal assistance to the undersigned. The appraisers referenced several
           reports prepared by industry leaders as an aid in determining an appropriate value conclusion. The reports referenced,
           and included in the Addenda of this Report, include the Resource Valuation Report prepared by Dr. Capps, Capps
           Geoscience, LLC, the Report of Preliminary Subsurface Exploration, Geological Evaluation, and Resource/Reserve
           Statement prepared by GeoLogic, LLC (Consulting Geologists), the Surface Mining Land Use Plans prepared by
           GeoLogic, LLC, and the Baseline Documentation Report prepared by Oconee River Land Trust, Inc. Finally, Betty L.
           Stilwell, Esq. assisted in the analysis and composition of the Area and Market Analysis Section.

       − Doug Kenny, MAI and Rick Kenny, MAI, SRA have made a personal inspection of the subject property.

       − The appraiser has developed opinions of value and appraisal reviews for a variety of mineral properties, including granite
           aggregates, dimension stone, sandstone, limestone, sand, sand and gravel, and a variety of other subsurface material.
           This appraiser has had the opportunity to work with a variety of mining experts (geologists, quarry operators,
           marketing experts, etc.), and has performed due diligence related to all of the previous quarry and mine appraisal work.
           The appraiser has developed opinions of value for a substantial number and variety of conservation easement
           properties.

       − This report is a “qualified appraisal” as that term is defined in applicable Internal Revenue Service regulations (Treas.
           Reg. § 1.170A-17(a)).

       − The appraiser regularly performs appraisals for which the individuals receive compensation; meets such other
           requirements as prescribed by the Secretary in regulations or other guidance; has not been prohibited from practicing
           before the IRS any time in the three-year period ending on the date of the appraisal, IRC § 170(f)(11)(E)(iii); holds
           himself out to the public as an appraiser or performs appraisals on a regular basis; is qualified to make appraisals of the
           type of property being valued; and is not a person specifically prohibited from being a qualified appraiser of a
           particular property (such as the donor, the donee, or others with a connection to the donor or donee).

       − My compensation is not contingent upon the reporting of a predetermined Fair Market Value or direction in Fair Market
           Value that favors the cause of the client, the amount of the Fair Market Value estimate, the attainment of a stipulated
           result, or the occurrence of a subsequent event. Further, my fee has not been based in whole or in part upon a
           percentage of the appraised Fair Market Value of the property, nor has the fee in any way been contingent upon the
           appraised Fair Market Value.

       − Doug Kenny, MAI has successfully completed professional coursework specifically related to mineral properties. Doug
           Kenny, MAI has successfully completed Mineral Property Valuation 1 – Standards and Guidelines, Mineral Property
           Valuation 2 – Approaches and Methods, and Environmental Awareness for Resource Planning, these classes were
           provided by Edumine – Online Continuing Education for Professionals in Mining and the Geosciences (Treas. Reg. §
           1.170A-17(b)(2)(A)).

       − Rick Kenny, MAI, SRA has successfully completed professional coursework specifically related to mineral properties.
           Rick Kenny, MAI, SRA has successfully completed International Valuation of Mineral Estates – Mining and Oil & Gas
           which was provided by the Appraisal Institute (Treas. Reg. § 1.170A-17(b)(2)(A)).

       − Doug Kenny, MAI and Rick Kenny, MAI, SRA do a majority of their appraisals for others during the taxable year. Doug
           Kenny, MAI and Rick Kenny, MAI, SRA have performed less than 50.0% of their appraisals for this client and/or
           sponsor. (Treas. Reg. § 1.170A-17(b)(5)).

       − Neither appraiser is employed by or related to the client and will not receive a benefit in connection with the potential
           donation discussed herein.

       − I understand that my appraisal will be used in connection with an income return or claim for refund. I also understand that,
            if there is substantial or gross valuation misstatement of the value of the property claimed on the income tax return or
            claim for refund that is based on my appraisal, I may be subject to a penalty under section 6695A of the Internal
            Revenue Code, as well as other applicable penalties. I affirm that I have not been at any time in the three-year period
            ending on the date of the appraisal barred from presenting evidence or testimony before the Department of the Treasury
            or the Internal Revenue Service pursuant to 31 U.S.C. 330(c).

       − The use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly authorized
           representatives.

       − There has been no exclusion of items pertinent to the assignment, nor exclusion of items beyond this assignment.

       − The Fair Market Value of the subject property before the conservation easement is $51,550,000. The Fair Market Value of
           the conservation easement is $46,399,000. The Fair Market Value of the subject property after the conservation
           easement (residual) is $4,920,000, and the value enhancement on the contiguous parcel is $230,500.
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         − Doug Kenny inspected the property on December 1, 2021 and Rick Kenny inspected the property was March 24, 2021, the
             date of appraisal is as of December 28, 2018, the date of the report is March 28, 2022, the donation date is December
             21, 2018, and the donation recording date is December 28, 2018.

         − As of the date of this report, neither Doug Kenny, MAI nor Rick Kenny, MAI, SRA have been prohibited from practicing
             before the IRS at any time during the three years preceding the date of the appraisal.

         − As of the date of this report, Doug Kenny, MAI and Rick Kenny, MAI, SRA have completed the continuing education
             program for Designated Members of the Appraisal Institute.




     Doug R. Kenny, MAI                                                Rick A. Kenny, MAI, SRA
     Federal Tax ID #                                                  Tennessee State Certified General #5434
     Georgia State Certified General #344167                           Georgia State Certified General #628
     Alabama State Certified General #G01326                           Alabama State Certified General #G01327
     Tennessee State Certified General #5435                           South Carolina State Certified General #AB.7161CG
     South Carolina State Certified General #AB.7804CG                 North Carolina State Certified General #A8280
     SSN:                                                              Louisiana Certified General APR.0000004307-CGA
                                                                       Kentucky State Certified General #5397
                                                                       Texas Certified General #TX 1380945 G
                                                                       Arkansas State Certified General #CG-4649
                                                                       Mississippi Certified General #GA-1339
                                                                       Missouri Certified General #2020031001
                                                                       Ohio Certified General #202000529
                                                                       Virginia Certified General #4001017925
                                                                       Florida State Certified General #RZ4090
                                                                       SSN:


     SECTION 1 – EXECUTIVE SUMMARY
     1.1.    Appraisal Problem

                     The appraisal problem is to determine the Fair Market Value of the conservation
             easement for the protection of 240.00 Acres of land located along the north side of
             Warren County Road 58, just south of Mayfield Road, Warren County, Georgia. No
             special appraisal problems exist. The appraisers have exercised due diligence in
             determining that the correct property was appraised.

     1.2.    Appraisal Purpose

                     The purpose of this appraisal is to provide an opinion of the Fair Market Value of
             a conservation easement for the protection of 240.00 Acres of land located along the
             north side of Warren County Road 58, just south of Mayfield Road, Warren County,
             Georgia. The purpose of this report is to determine the Fair Market Value of the
             conservation easement. Additionally, in compliance with the Tax Reform Act of 1984,
             this appraisal was performed for Income Tax purposes. The date of the inspection was
             March 24, 2021 and the date of the appraisal is as of December 28, 2018. The associated
             market and area were analyzed as of the effective date of the report indicated on the
             attached letter of transmittal. Based on the analysis, an exposure time of twelve months is
             reasonable, defensible and appropriate.
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     1.3.     Executive Summary
     QUALIFICATIONS                        : Due to the appraisers’ qualifications as described in the appraisal (i.e.
                                             experience and education), the appraisers are qualified to make
                                             appraisals of the type of property being valued. [Treas. Reg. 1.170A-
                                             17(b)]

     PROPERTY LOCATION                       : Log Creek LLLP; 240.00 Acres of land located along the north side
                                              of Warren County Road 58, just south of Mayfield Road, Warren
                                              County, Georgia

     INSPECTION DATE                        : March 24, 2021

     APPRAISAL DATE                         : December 28, 2018

     DATE OF REPORT                         : March 28, 2022

     DONATION DATE                          : December 21, 2018

     DONATION RECORDING DATE: December 28, 2018

     INTEREST APPRAISED                     : BEFORE : Fee Simple
                                            : AFTER  : Fee Simple Subject to Conservation Easement

     LAND AREA                              : Conservation Easement:             240.00 Acres (11,891,009 sq. ft.)
                                              Excluded Tract:                    2,306.87 Acres (100,487,257 sq. ft.)
                                              Contiguous Parcel:                 2,546.87 Acres (110,941,657 sq. ft.)

     PARCEL                                 : Conservation Easement:         016-026 & 016-027 1
                                              Excluded Tract:                016-026 2, 016-027 3, 016-028, 017-026,
                                                                             017-016, 026-023, & 026-024

     ZONING                                  : FOR-AG Forestry-Agriculture District 4

     ACCESS                                  : Ingress/egress to and from Warren County Road 58

     FLOOD HAZARD AREA                       : The subject property is located in Zone X, an area not prone to
                                             flooding. Based on mapping provided by GeoLogic, LLC, there are a
                                             few streams running through the subject property. According to Mr.
                                             Ben Black, GeoLogic, LLC, as currently designed, the quarry and
                                             the operations of the plant will avoid wetlands to the extent practical.
                                             The creek crossings needed to place the rail loop track will be
                                             permitted under a U.S. Army Corps of Engineers Nationwide Permit


     1
       240.00 Acres separated from these parcels.
     2
       309.06 Acres separated from this parcel.
     3
       37.00 Acres separated from this parcel.
     4
       According to Mr. Paul W. Hitchcock, Hitchcock & Hitchcock, P.C., a fair analysis of the Warren County Land Use
     Ordinance supports the approval of a conditional use permit for a granite quarry on the subject property. There is no
     financial public benefit to restricting the subject property to an agricultural use. The Owner and the general public
     will benefit from the increase in jobs and taxes that a mining operation would bring. The local laws and land use
     ordinances will reduce any potential negative impacts that the mining operation may bring, especially given the
     sparsely populated area in which the subject property lies. From a land use perspective, the proposed conditional use
     is proper; therefore, it is likely that the conditional use permit will be approved.
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                                      (PCN 44) for installation of pipe culverts. As such, there are no
                                      expected wetlands mitigation costs associated with this quarry.
                                      However, for the purpose of this report, a wetland contingency of
                                      $500,000 has been budgeted and included in the year one start-up
                                      costs. Therefore, any potential wetlands or streams on-site are not
                                      considered to affect the highest and best use of the subject property
                                      as a granite mine.

     DONOR                           : Log Creek LLLP (EIN#
                                       1280 Snows Mill Road,
                                       Bogart, Georgia 30622

     DONEE                           : Oconee River Land Trust, Inc.
                                       675 Pulaski Street, Suite 2300,
                                       Athens, Georgia 30601

     EASEMENT PROVISIONS              : The conservation easement provisions are located in the subject
                                        property’s deed of conservation easement in the Addenda of this
                                        report.

     DONOR’S RESERVED RIGHTS : The conservation easement reserved rights are located in the subject
                               property’s deed of conservation easement in the Addenda of this
                               report.

     HIGHEST AND BEST USE (Before Easement)               : Granite Mining (240.00 Acres) and
                                                            Agricultural/Recreational/Timber Land
                                                            (Excluded Tract)

     HIGHEST AND BEST USE (After Easement)                 : Agricultural/Recreational/Forestry

     SUMMARY OF SALIENT FACTS : No direct conservation easement sales were available at the time of
                                appraisal. The appraisers have utilized the "before and after"
                                appraisal valuation technique. This method calculates the difference
                                between the fair market value of the subject property before
                                granting the conservation easement and the fair market value of the
                                subject property after granting the conservation easement.

     VALUATION METHODOLOGY : Before: Subject Property: Income Approach (DCF)
                             Before: Unencumbered Tracts: Sales Comparison Approach

                                       After: Subject Property: Sales Comparison Approach
                                       After: Unencumbered Tracts: Sales Comparison Approach
     VALUE INDICATION

     FAIR MARKET VALUE
      BEFORE CONSERVATION EASEMENT                                                  : $51,550,000

     FAIR MARKET VALUE
      AFTER CONSERVATION EASEMENT                                                   : $4,920,000

     ENHANCEMENT                                                                    : $230,500

     FAIR MARKET VALUE OF CONSERVATION EASEMENT                                     : $46,399,000 rd.
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     1.4.   Subject Photos




                                   SITE VIEW




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                            WARREN COUNTY ROAD 58




                     ENTRANCE INTO THE SUBJECT PROPERTY
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                                   SITE VIEW




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                                   SITE VIEW




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                                   SITE VIEW




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                                   SITE VIEW




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                                      SECTION 2 – APPRAISAL CONDITIONS

     2.1       Basic Assumptions and Limiting Conditions
     This appraisal is subject to the following conditions:

     1. This appraisal is for no other purpose than property valuation, and the appraiser(s) are
         neither qualified nor attempting to go beyond that narrow scope. The reader should be aware that there are also
         inherent limitations to the accuracy of the information and analyses contained in this appraisal. Before making any
         decision based on the information and analyses contained in this report, it is critically important to read this entire
         section to understand these limitations.

     2.    The legal description/survey furnished is assumed to be correct. No responsibility is assumed for matters legal in
           character nor is any opinion rendered as to the title, which is assumed to be good and marketable. The value
           estimate is given without regard to any questions of title, boundaries, encumbrances, or encroachments.

     3.    All existing liens and encumbrances have been disregarded unless otherwise stated, and the property is appraised
           as though free and clear under responsible ownership and competent management.

     4.    It is assumed that any proposed or incomplete improvements included in this report are to be completed in
           accordance with approved plans and specifications and in a workmanlike manner.

     5.    Information furnished by others is believed to be reliable and we have found nothing which indicates that the
           information is unreliable. However, no responsibility is assumed for its accuracy. Information (including
           projections of income and expenses) provided by local sources, such as government agencies, financial
           institutions, accountants, attorneys, and others is assumed to be true, correct, and reliable. No responsibility for the
           accuracy of such information is assumed by the appraiser(s). The comparable sales data relied upon in the
           appraisal are believed to be from reliable sources. Though all the comparables were examined, it was not possible
           to inspect them all in detail. The value conclusions are subject to the accuracy of this data.

     6.    Any sketches, plats, or drawings included in this report are included to assist the reader in visualizing the property.
           We have made no survey of the property and assume no responsibility in connection with such matters. Any maps,
           plats, or drawings reproduced and included in this report are intended only for the purpose of showing spatial
           relationships. The reliability of the information contained on any such map or drawing is assumed by the
           appraiser(s) and cannot be guaranteed to be correct. A surveyor should be consulted if there is any concern on
           boundaries, setbacks, encroachments, or other survey matters.

     7.    Unless otherwise noted herein, it is assumed that there are no encroachments, zoning restrictions, or violations
           existing on the subject property. It is assumed that all applicable zoning and use regulations and restrictions have
           been complied with, unless nonconformity has been stated, defined, and considered in the appraisal report.
           Information and analysis shown in this report concerning these items is based on a thorough investigation. Any
           significant question should be addressed to local zoning or land use officials and/or an attorney.

     8.    It is assumed that all required licenses, consents, or other legislative or administrative authority from any local,
           state, national government or private entity or organization has been, or can be obtained or renewed for any use on
           which the value estimate contained in this report is based. Appropriate government officials and/or an attorney
           should be consulted if an interested party has any questions or concerns on these items since we have not made a
           comprehensive examination of laws and regulations affecting the subject property.

     9.    We are not required to give testimony or attendance in court by reason of this appraisal, with reference to the
           property in question, unless arrangements have been made previously thereof.

     10. No responsibility is assumed for engineering matters, either structural or mechanical. Good structural and
         mechanical conditions are assumed to exist, and no opinion as to these matters is to be inferred or construed from
         this report. Although the appraisal may contain information about the physical items being appraised (including
         their adequacy and/or condition), it should be clearly understood that this information is only to be used as a
         general guide for property valuation and not as a complete or detailed physical report. The appraiser(s) are not
         construction, engineering, environmental, or legal experts, and any statement given on these matters in this report
         should be considered preliminary in nature.
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     11. Disclosure of the contents of this appraisal report is governed by the Bylaws and Regulations of the Appraisal
         Institute.

         One (or more) of the signatories of this appraisal report is a Member (or Candidate Member) of the Appraisal
         Institute. The Bylaws and Regulations of the Appraisal Institute require each Member and Candidate Member to
         control the use and distribution of each appraisal report signed by such Member or Candidate Member. Therefore,
         except as hereinafter provided, the party for whom this appraisal report was prepared may distribute copies of this
         appraisal report, in its entirety, to such third parties as may be selected by the party for whom this appraisal report
         was prepared; however, selected portions of this appraisal report shall not be given to third parties without the prior
         written consent of the signatories of this appraisal report. Further, neither all nor any part of this appraisal report
         shall be disseminated to the general public by the use of advertising media or other media for public
         communication without the prior written consent of the signatories of this appraisal report.

     12. The value estimate applies only to the entire property and cannot be prorated to individual portions or fractional
         interests. Any proration or division of interest will invalidate the value estimate, unless such proration or division
         of interests is set forth in the report.

         The forecasts or projections included in this report are utilized to assist in the valuation process. They are based on
         current market conditions, current short-term supply and demand factors, and a continued stable economy. These
         forecasts are therefore subject to changes in future conditions, which cannot be accurately predicted by the
         appraiser(s), and these changes could affect the future income and/or value estimates. Since projected
         mathematical models and other projections are based on estimates and assumptions, which are inherently subject to
         uncertainty and variation depending upon evolving events, we do not represent them as results that will actually be
         achieved.

     13. In this appraisal assignment, the existence of potentially hazardous material such as asbestos, urea formaldehyde
         foam insulation, radon gas, or any other toxic material, has not been considered. The appraiser(s) are not qualified
         to detect such substances and, if desired, recommend that the client retain an expert in this field.

         Non-disclosure of environmental problems should not be taken as an indication that such a problem does not exist,
         however, an expert in the field should be consulted if any interested party has questions on environmental factors.
         No chemical or scientific tests were performed by the appraiser(s) on the subject property, and it is assumed that
         the air, water, ground, and general environment associated with the property presents no physical or health hazard
         of any kind unless otherwise noted in the report. It is further assumed that the property does not contain any type
         of dump site and that there are no underground tanks (or any underground source) leaking toxic or hazardous
         chemicals into the groundwater or the environment unless otherwise noted in the report.

     14. It is assumed that there is full compliance with all applicable federal, state, and local environmental regulations
         unless noncompliance is stated, defined, and considered in the appraisal report. A comprehensive examination of
         laws and regulations affecting the subject property was not performed for this appraisal.

     15. The subject property may or may not be located in or adjacent to a wetlands area. The appraiser(s) are not
         qualified in the area of engineering pertaining to the determination of wetlands; therefore, the appraiser(s) are
         unable to determine the wetlands status of the subject property. In this report, it is assumed the appropriate permit,
         if required, can be or has been obtained from the U.S. Army Corps of Engineers. It is also assumed that the
         jurisdictional determination study and/or permit regarding construction in a wetlands area, if required, does not
         result in the alteration of the subject property description contained in this appraisal report. The appraiser(s)
         recommend that a pre-application consultation be completed by the property owner with the Corps of Engineers if
         no permit has been obtained. The client is urged to retain an expert in this field, if desired.

     16. The Americans with Disabilities Act (ADA) became effective January 26, 1992. We have not made a specific
         compliance survey and analysis of this property to determine whether or not it is in conformity with the various
         detailed requirements of the ADA. It is possible that a compliance survey of the property together with a detailed
         analysis of the requirements of the ADA could reveal that the property is not in compliance with one or more of
         the requirements of the act. If so, this fact could have a negative effect upon the value of the property. Since we
         have no direct evidence relating to this issue, we did not consider possible noncompliance with the requirements of
         ADA in estimating the value of the property.
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     17. Opinions and estimates expressed herein represent our best judgment, but should not be construed as advice or
         recommendation to act. Any actions taken by you, the client, or any others should be based on your own
         judgment, and the decision process should consider many factors other than just the value estimate and information
         given in this report.

     18. Acceptance and or use of this appraisal report by the client or any third party constitutes acceptance of these
         limiting conditions. Appraisal liability extends only to the stated client, not subsequent parties or uses, and is
         limited to the amount of the fee received by the appraiser(s).

     19. This appraisal is an opinion of value. It is not a guarantee. No guarantee is warranted nor intended


     2.2.     Extraordinary Assumptions
              USPAP defines an Extraordinary Assumption as: “an assignment specific assumption as
              of the effective date regarding uncertain information used in an analysis, which if found
              to be false, could alter the appraiser’s opinion or conclusions.”
                        “Comment: Uncertain information might include physical, legal, or economic
                        characteristics of the subject property, or conditions external to the property,
                        such as market conditions or trends; or the integrity of data used in an analysis.”

              The Discounted Cash Flow analysis in this report is based on the Extraordinary
              Assumption that all necessary permits for mining operations are obtainable as indicated
              by Dr. Capps, Capps Geoscience, LLC. This is in accordance with the Resource
              Valuation Report prepared by Dr. Capps, Capps Geoscience, LLC, and included in the
              Addenda, which states: “The property is zoned FOR-AG (Forestry-Agriculture District)
              and, according to Warren County zoning codes, mining is allowed in FOR-AG zoned
              lands with a conditional use permit. Community opposition to the quarry seems unlikely
              because there are existing aggregate quarries in the area. The author’s opinion is that it is
              reasonably probable that the Conditional Use Permit (CUP) will be obtained from Warren
              County to operate the quarry. In the author’s opinion, the subject property’s quarry will
              be permitted as an active mine with the Surface Mining Unit of the Georgia
              Environmental Protection Division. In addition, in the author’s opinion it is reasonably
              probable that the storm water and air emission permits will be granted for the subject
              property’s quarry.” It is the appraisers’ opinion that while we are not mining consultants,
              based on our experience and expertise, the analysis within the Resource Valuation Report
              prepared by Dr. Capps, Capps Geoscience, LLC is credible and thus can be relied upon
              for the purpose of this appraisal. Further, according to Mr. Paul W. Hitchcock, Hitchcock
              & Hitchcock, P.C., a fair analysis of the Warren County Land Use Ordinance supports
              the approval of a conditional use permit for a granite quarry on the subject property.
              There is no financial public benefit to restricting the subject property to an agricultural
              use. The Owner and the general public will benefit from the increase in jobs and taxes
              that a mining operation would bring. The local laws and land use ordinances will reduce
              any potential negative impacts that the mining operation may bring, especially given the
              sparsely populated area in which the subject property lies. From a land use perspective,
              the proposed conditional use is proper; therefore, it is likely that the conditional use
              permit will be approved.

     2.3      Hypothetical Conditions
                     The Uniform Standards of Professional Appraisal Practice (USPAP) defines an
              extraordinary assumption as: “An assumption, directly related to a specific assignment,
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                as of the effective date of the appraisal results, which, if found to be false, could alter the
                appraiser’s opinions or conclusions.”
                         “Comment: Hypothetical conditions are contrary to known facts about physical,
                         legal, or economic characteristics of the subject property; or about conditions
                         external to the property, such as market conditions or trends; or about the integrity
                         of data used in an analysis.”

                       USPAP SR 1-2(g) comment states: “A hypothetical condition may be used in an
                assignment only if the use of the hypothetical condition is clearly required for legal
                purposes, for purposes of reasonable analysis, or for purposes of comparison; use of the
                hypothetical condition results in a credible analysis; and the appraiser complies with the
                disclosure requirements set forth in USPAP for hypothetical conditions.”

                     If used in the assignment, extraordinary assumptions and hypothetical conditions
                may affect the assignment results, and for that reason must be clearly and conspicuously
                disclosed in the report.

                     At the time of appraisal, the conservation easement was signed and to the best of the
                appraisers’ knowledge has been recorded. Therefore, the “before-easement” analysis is
                based on the hypothetical condition of the conservation easement not being in place and
                encumbering the subject property since the conservation easement does exist as of the
                date of this appraisal.

     SECTION 3 – APPLICABLE TERMS

     3.1.       Conservation Easement
                     As defined by the Appraisal Institute: “An interest in real estate restricting future
                land use to preservation, conservation, wildlife habitat or some combination of those
                uses. A conservation easement may permit farming, timber harvesting, or other uses of a
                rural nature as well as some types of conservation-oriented development to continue,
                subject to the easement.” 5

                     According to the U.S. Internal Revenue Service’s Conservation Easement Audit
                Techniques Guide, a conservation easement is: “the generic term for easements granted
                for preservation of land areas for outdoor recreation, protection of a relatively natural
                habitat for fish, wildlife, or plants, or a similar ecosystem, preservation of open space for
                the scenic enjoyment of the public or pursuant to a Federal, State, or local governmental
                conservation policy, and preservation of a historically important land area or historic
                building. Conservation easements permanently restrict how land or buildings are used.
                The “deed of conservation easement” describes the conservation purpose, the restrictions
                and the permissible uses of the property. The deed must be recorded in the public record
                and must contain legally binding restrictions enforceable by the donee organization. The
                donor gives up certain rights specified in the Deed of Conservation Easement, but retains
                ownership of the underlying property. The extent and nature of the donee organization’s
                control depends on the terms of the conservation easement deed. The organization has an
                interest in the encumbered property that runs with the land, which means that its

     5
         The Dictionary of Real Estate Appraisal, 6th ed. Chicago: Appraisal Institute, 2015.
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                restrictions are binding not only on the landowner who grants the easement but also on all
                future owners of the property.”

                        A conservation easement is also defined as: “A nonpossessory interest of a holder
                in real property imposing limitations or affirmative obligations the purposes of which
                include retaining or protecting natural, scenic, or open-space values of real property,
                assuring its availability for agricultural, forest, recreational, or open-space use, protecting
                natural resources, maintaining or enhancing air or water quality, or preserving the
                historical, architectural, archaeological, or cultural aspects of real property.” 6

                        Finally, an additional way to describe a conservation easement is: “A legal
                agreement between a landowner and a qualified organization that restricts future
                activities on the land to protect its conservation values.” 7

     3.2.       Charitable Gift Through a Conservation Easement

                     The value of the charitable gift through the conservation easement vehicle depends
                on the difference in utility and permitted uses prior to the establishment of a conservation
                easement and after the establishment of a conservation easement. The consideration given
                to clearly permitted and prohibited uses is established through the estimation of the extent
                to which prohibited uses contribute, individually and collectively, to the pre-conservation
                easement market value of the property compared against how the loss of each prohibited
                use ultimately affects the property’s value post-conservation easement.

                     For example, the post-conservation easement properties consist of the property rights
                remaining after the severing of ownership into two groups of rights, the rights of the
                donor and the rights of the donee. Generally, the donor, and any subsequent owners,
                retain the right to use the property in ways consistent with the specific terms of the
                conservation easement and the owner’s remaining reserved rights.

                     Specified uses permitted only after the review and approval of the easement holder
                possess inherent risks, costs and delays that must be considered by the appraisers. For
                example, the appraisers must assess the likelihood that any requested usage changes will
                be approved by the conservation easement holder as well as considering the delays, costs
                and inconvenience, which may arise when seeking review and approval for a change.
                Furthermore, the appraisers must consider the likelihood of additional expenses required
                to comply with any conditions the conservation easement holding organization may place
                on an approval of requested changes, such as a requirement to use higher quality material,
                updated designs, additional reviews adding time and cost constraints to the proposed
                change and the potential requirements to relocate access roads.

                     Grantors often retain the ability to continue limited recreational uses, subject to the
                conservation easement in perpetuity. The common appraisal metaphor regarding a
                “bundle” of property rights helps to illustrate this point. A person granting a conservation
                easement to a donee relinquishes one or several “sticks” associated with the “bundle” of
                rights regarding ownership of the burdened land. By relinquishing the ability to develop

     6
         Uniform Conservation Easement Act, 1981, amended 2007.
     7
         The Conservation Easement Handbook, 2nd ed. Washington, DC: Land Trust Alliance, 2005.
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            the land, the property owner diminishes the value if the land is otherwise suitable for
            development, in addition to any limitations on timbering, hunting lodges, surface mining
            and other revenue generating activities.

                 Conservation easements have a significant, but varying impact on the fair market
            value of conservation easement-burdened property. Statistics show that property tax
            assessments and federal tax appraisals of conservation easement-burdened lands vary
            considerably in the weight given to conservation easements in determining the value of
            the property. An example from the Boston College Environmental Affairs Law Review,
            1990; Stanley Works v. Commissioner [Stanley Works, 87 TC 389 (1986)], one tax court
            found that a conservation easement diminished fair market value of the property by
            75.0%. Similarly, Stotler v. Commissioner [Stotler, TCM 1987-275], the court held that a
            conservation easement decreased the market value of the now burdened property by over
            91.4%.

                 Much of the variation in the degree to which conservation easements diminish fair
            market value can be attributed to the terms of the easements and the individual
            characteristics of the affected properties. Land Trust entities typically classify easements
            into three categories based on the extent to which the easement limits development on the
            subject property: (1) "Forever wild" easements preserve properties in their natural state
            and are the most restrictive; (2) "Resource protection" easements emphasize the
            protection and controlled use of natural resources; and (3) "Limited development"
            easements, the least restrictive conservation easements, generally restrict the amount or
            kind of development to a greater extent than local zoning.

     3.3.   Qualified Appraisal

            This appraisal for Log Creek LLLP; EIN#         is a “qualified appraisal” and
            Doug Kenny, MAI and Rick Kenny, MAI, SRA are “qualified appraisers":

            Treas. Reg. Section 1.170A-17

                    (a) Qualified appraisal— (1) Definition. For purposes of section 170(f)(11) and §
            1.170A–16(d)(1)(ii) and (e)(1)(ii), the term qualified appraisal means an appraisal
            document that is prepared by a qualified appraiser (as defined in paragraph (b)(1) of this
            section) in accordance with generally accepted appraisal standards (as defined in
            paragraph (a)(2) of this section) and otherwise complies with the requirements of this
            paragraph (a).

                    (2) Generally accepted appraisal standards defined. For purposes of paragraph
            (a)(1) of this section, generally accepted appraisal standards means the substance and
            principles of the Uniform Standards of Professional Appraisal Practice, as developed by
            the Appraisal Standards Board of the Appraisal Foundation.

                   (3) Contents of qualified appraisal. A qualified appraisal must include—

                   (i) The following information about the contributed property:
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                  (A) A description in sufficient detail under the circumstances, taking into account
          the value of the property, for a person who is not generally familiar with the type of
          property to ascertain that the appraised property is the contributed property.

                 (B) In the case of real property or tangible personal property, the condition of the
          property.

                 (C) The valuation effective date, as defined in paragraph (a)(5)(i) of this section.

                 (D) The fair market value, within the meaning of § 1.170A–1(c)(2), of the
          contributed property on the valuation effective date;

                 (ii) The terms of any agreement or understanding by or on behalf of the donor and
          donee that relates to the use, sale, or other disposition of the contributed property,
          including, for example, the terms of any agreement or understanding that—

                 (A) Restricts temporarily or permanently a donee’s right to use or dispose of the
          contributed property;

                  (B) Reserves to, or confers upon, anyone, other than a donee or an organization
          participating with a donee in cooperative fundraising, any right to the income from the
          contributed property or to the possession of the property, including the right to vote
          contributed securities, to acquire the property by purchase or otherwise, or to designate
          the person having income, possession, or right to acquire; or

                 (C) Earmarks contributed property for a particular use;

                 (iii) The date, or expected date, of the contribution to the donee;

                 (iv) The following information about the appraiser:

                 (A) Name, address, and taxpayer identification number.

                 (B) Qualifications to value the type of property being valued, including the
          appraiser’s education and experience.

                 (C) If the appraiser is acting in his or her capacity as a partner in a partnership, an
          employee of any person, whether an individual, corporation, or partnership, or an
          independent contractor engaged by a person other than the donor, the name, address, and
          taxpayer identification number of the partnership or the person who employs or engages
          the qualified appraiser;

                  (v) The signature of the appraiser and the date signed by the appraiser (appraisal
          report date);

                  (vi) The following declaration by the appraiser: “I understand that my appraisal
          will be used in connection with a return or claim for refund. I also understand that, if
          there is a substantial or gross valuation misstatement of the value of the property claimed
          on the return or claim for refund that is based on my appraisal, I may be subject to a
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          penalty under section 6695A of the Internal Revenue Code, as well as other applicable
          penalties. I affirm that I have not been at any time in the three-year period ending on the
          date of the appraisal barred from presenting evidence or testimony before the Department
          of the Treasury or the Internal Revenue Service pursuant to 31 U.S.C. section 330(c)”;

                 (vii) A statement that the appraisal was prepared for income tax purposes;

                 (viii) The method of valuation used to determine the fair market value, such as the
          income approach, the market-data approach, or the replacement-cost-less-depreciation
          approach; and

                  (ix) The specific basis for the valuation, such as specific comparable sales
          transactions or statistical sampling, including a justification for using sampling and an
          explanation of the sampling procedure employed.

                  (4) Timely appraisal report. A qualified appraisal must be signed and dated by the
          qualified appraiser no earlier than 60 days before the date of the contribution and no later
          than—

                 (i) The due date, including extensions, of the return on which the deduction for
          the contribution is first claimed;

                 (ii) In the case of a donor that is a partnership or S corporation, the due date,
          including extensions, of the return on which the deduction for the contribution is first
          reported; or

                 (iii) In the case of a deduction first claimed on an amended return, the date on
          which the amended return is filed.

                  (5) Valuation effective date—(i) Definition. The valuation effective date is the
          date to which the value opinion applies.

                  (ii) Timely valuation effective date. For an appraisal report dated before the date
          of the contribution, as described in § 1.170A–1(b), the valuation effective date must be
          no earlier than 60 days before the date of the contribution and no later than the date of the
          contribution. For an appraisal report dated on or after the date of the contribution, the
          valuation effective date must be the date of the contribution.

                  (6) Exclusion for donor knowledge of falsity. An appraisal is not a qualified
          appraisal for a particular contribution, even if the requirements of this paragraph (a) are
          met, if the donor either failed to disclose or misrepresented facts, and a reasonable person
          would expect that this failure or misrepresentation would cause the appraiser to misstate
          the value of the contributed property.

                 (7) Number of appraisals required. A donor must obtain a separate qualified
          appraisal for each item of property for which an appraisal is required under section
          170(f)(11)(C) and (D) and paragraph (d) or (e) of § 1.170A–16 and that is not included in
          a group of similar items of property, as defined in § 1.170A–13(c)(7)(iii). For rules
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          regarding the number of appraisals required if similar items of property are contributed,
          see section 170(f)(11)(F) and § 1.170A–13(c)(3)(iv)(A).

                 (8) Time of receipt of qualified appraisal. The qualified appraisal must be
          received by the donor before the due date, including extensions, of the return on which a
          deduction is first claimed, or reported in the case of a donor that is a partnership or S
          corporation, under section 170 with respect to the donated property, or, in the case of a
          deduction first claimed, or reported, on an amended return, the date on which the return is
          filed.

                  (9) Prohibited appraisal fees. The fee for a qualified appraisal cannot be based to
          any extent on the appraised value of the property. For example, a fee for an appraisal will
          be treated as based on the appraised value of the property if any part of the fee depends
          on the amount of the appraised value that is allowed by the Internal Revenue Service
          after an examination.

                 (10) Retention of qualified appraisal. The donor must retain the qualified
          appraisal for so long as it may be relevant in the administration of any internal revenue
          law.

                  (11) Effect of appraisal disregarded pursuant to 31 U.S.C. section 330(c). If an
          appraiser has been prohibited from practicing before the Internal Revenue Service by the
          Secretary under 31 U.S.C. section 330(c) at any time during the three-year period ending
          on the date the appraisal is signed by the appraiser, any appraisal prepared by the
          appraiser will be disregarded as to value, but could constitute a qualified appraisal if the
          requirements of this section are otherwise satisfied, and the donor had no knowledge that
          the signature, date, or declaration was false when the appraisal and Form 8283 (Section
          B) were signed by the appraiser.

                 (12) Partial interest. If the contributed property is a partial interest, the appraisal
          must be of the partial interest.

                  (b) Qualified appraiser—(1) Definition. For purposes of section 170(f)(11) and §
          1.170A–16(d)(1)(ii) and (e)(1)(ii), the term qualified appraiser means an individual with
          verifiable education and experience in valuing the type of property for which the
          appraisal is performed, as described in paragraphs (b)(2) through (4) of this section.

                  (2) Education and experience in valuing the type of property—(i) In general. An
          individual is treated as having education and experience in valuing the type of property
          within the meaning of paragraph (b)(1) of this section if, as of the date the individual
          signs the appraisal, the individual has—

                   (A) Successfully completed (for example, received a passing grade on a final
          examination) professional or college-level coursework, as described in paragraph
          (b)(2)(ii) of this section, in valuing the type of property, as described in paragraph (b)(3)
          of this section, and has two or more years of experience in valuing the type of property,
          as described in paragraph (b)(3) of this section; or
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                  (B) Earned a recognized appraiser designation, as described in paragraph
          (b)(2)(iii) of this section, for the type of property, as described in paragraph (b)(3) of this
          section.

                 (ii) Coursework must be obtained from an educational organization, generally
          recognized professional trade or appraiser organization, or employer educational
          program. For purposes of paragraph (b)(2)(i)(A) of this section, the coursework must be
          obtained from—

                 (A) A professional or college-level educational organization described in section
          170(b)(1)(A)(ii);

                  (B) A generally recognized professional trade or appraiser organization that
          regularly offers educational programs in valuing the type of property; or

                 (C) An employer as part of an employee apprenticeship or educational program
          substantially similar to the educational programs described in paragraphs (b)(2)(ii)(A)
          and (B) of this section.

                 (iii) Recognized appraiser designation defined. A recognized appraiser
          designation means a designation awarded by a generally recognized professional
          appraiser organization on the basis of demonstrated competency.

                 (3) Type of property defined—(i) In general. The type of property means the
          category of property customary in the appraisal field for an appraiser to value.

                 (ii) Examples. The following examples illustrate the rule of paragraphs (b)(2)(i)
          and (b)(3)(i) of this section:

                  Example (1). Coursework in valuing type of property. There are very few
          professional-level courses offered in widget appraising, and it is customary in the
          appraisal field for personal property appraisers to appraise widgets. Appraiser A has
          successfully completed professional-level coursework in valuing personal property
          generally but has completed no coursework in valuing widgets. The coursework
          completed by Appraiser A is for the type of property under paragraphs (b)(2)(i) and
          (b)(3)(i) of this section.

                  Example (2). Experience in valuing type of property. It is customary for
          professional antique appraisers to appraise antique widgets. Appraiser B has 2 years of
          experience in valuing antiques generally and is asked to appraise an antique widget.
          Appraiser B has obtained experience in valuing the type of property under paragraphs
          (b)(2)(i) and (b)(3)(i) of this section.

                 Example (3). No experience in valuing type of property. It is not customary for
          professional antique appraisers to appraise new widgets. Appraiser C has experience in
          appraising antiques generally but no experience in appraising new widgets.
          Appraiser C is asked to appraise a new widget. Appraiser C does not have experience in
          valuing the type of property under paragraphs (b)(2)(i) and (b)(3)(i) of this section.
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                 (4) Verifiable. For purposes of paragraph (b)(1) of this section, education and
          experience in valuing the type of property are verifiable if the appraiser specifies in the
          appraisal the appraiser’s education and experience in valuing the type of property, as
          described in paragraphs (b)(2) and (3) of this section, and the appraiser makes a
          declaration in the appraisal that, because of the appraiser’s education and experience, the
          appraiser is qualified to make appraisals of the type of property being valued.

                 (5) Individuals who are not qualified appraisers. The following individuals are
          not qualified appraisers for the appraised property:

                  (i) An individual who receives a fee prohibited by paragraph (a)(9) of this section
          for the appraisal of the appraised property.

                 (ii) The donor of the property.

                   (iii) A party to the transaction in which the donor acquired the property (for
          example, the individual who sold, exchanged, or gave the property to the donor, or any
          individual who acted as an agent for the transferor or for the donor for the sale, exchange,
          or gift), unless the property is contributed within 2 months of the date of acquisition and
          its appraised value does not exceed its acquisition price.

                 (iv) The donee of the property.

                 (v) Any individual who is either—

                 (A) Related, within the meaning of section 267(b), to, or an employee of, an
          individual described in paragraph (b)(5)(ii), (iii), or (iv) of this section;

                 (B) Married to an individual described in paragraph (b)(5)(v)(A) of this section;
          or

                  (C) An independent contractor who is regularly used as an appraiser by any of the
          individuals described in paragraph (b)(5)(ii), (iii), or (iv) of this section, and who does
          not perform a majority of his or her appraisals for others during the taxable year.

                 (vi) An individual who is prohibited from practicing before the Internal Revenue
          Service by the Secretary under 31 U.S.C. section 330(c) at any time during the three-year
          period ending on the date the appraisal is signed by the individual.

                  (c) Effective and applicability date. This section applies to contributions made on
          or after January 1, 2019. Taxpayers may rely on the rules of this section for appraisals
          prepared for returns or submissions filed after August 17, 2006.

          IRS Form 8283, “Noncash Charitable Contributions Appraisal Summary,” is to be
          completed and included as part of the appraisal. The purpose of this report is to determine
          the fair market value of the conservation easement. The appraisers have complied with
          the requirements for a qualified appraiser and this report is a qualified appraisal in
          compliance with the Tax Reform Act of 1984. Further, although, Treas. Reg. Section
          1.170A-17 effective on January 1, 2019, the regulation states, “Taxpayers may rely on
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               the rules of this section for appraisals prepared for returns or submissions filed after
               August 17, 2006.” Therefore, Treas. Reg. Section 1.170A-17 was utilized for the purpose
               of Qualified Appraisal and Qualified Appraiser.

     3.4       Property Rights Appraised
               One or more of the following underlined legal estates or interests are valued in this
               report. Definitions of these estates are quoted from The Dictionary of Real Estate
               Appraisal, Sixth Edition; published by the Appraisal Institute, copyright 2015.

               •   Fee Simple Estate: "Absolute ownership unencumbered by any other interest
                   or estate, subject only to the limitations imposed by the governmental powers
                   of taxation, eminent domain, police power, and escheat."

               •   Leased Fee Interest: "The ownership interest held by the lessor, which
                   includes the right to receive the contract rent specified in the lease plus the
                   reversionary right when the lease expires."

               •   Leasehold Interest: "The right held by the lessee to use and occupy real estate
                   for a stated term and under the conditions specified in the lease."

               The opinion of value developed in this report relates to the Fee Simple Estate of the
               Conservation Easement and not a leased interest.

     3.5       Market Value

               “The fair market value is the price at which the property would change hands between a
               willing buyer and a willing seller, neither being under any compulsion to buy or sell and
               both having reasonable knowledge of relevant facts. If the contribution is made in
               property of a type which the taxpayer sells in the course of business, the fair market value
               is the price which the taxpayer would have received if he had sold the contributed
               property in the usual market in which he customarily sells, at the time and place of the
               contribution and, in the case of a contribution of goods in quantity, in the quantity
               contributed. The usual market of a manufacturer or other producer consists of the
               wholesalers or other distributors to or through whom he customarily sells, but if he sells
               only at retail the usual market consists of his retail customers” 26 C.F.R. § 1.170A-
               1(c)(2).

    3.6        Value Opinion

               Opinions of value are typically developed on the basis of one or more of the following
               dates or situations.

           •   Fair Market Value "As Is" on the Appraisal Date: Market Value "As Is" on the
               appraisal date is an opinion of the market value of a property in the condition
               observed upon inspection and as it physically and legally exists without
               hypothetical conditions, assumptions, or qualifications as of the date the
               appraisal is prepared.
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           •   Prospective Market Value "Upon Completion" of Construction: Prospective
               market value "upon completion" of construction is the future value of a property
               on the date that construction, conversion, or rehabilitation is completed, based
               upon market conditions forecast to exist as of that completion date.

           •   Prospective Market Value "Upon Reaching Stabilized Occupancy:" Prospective
               market value "upon reaching stabilized occupancy" is the future value of a
               property when all improvements have been physically constructed and the
               property has been leased to its optimum level of long-term occupancy at the
               market rent level.

               The value opinion for the subject property encumbered by the conservation easement has
               been reported on the basis of Fair Market Value “As Is.” At the time of appraisal, the
               conservation easement was in place. Therefore, the “before-easement” analysis is based
               on the hypothetical condition of the conservation easement not being in place and
               encumbering the subject property since the conservation easement does exist as of the
               date of this appraisal.

     3.7       Report Type

               According to the Uniform Standards of Professional Appraisal Practice (USPAP),
               Standards Rule 2-2, an appraisal report must be prepared under one of the following
               options and prominently state the option used: Appraisal Report or Restricted Appraisal
               Report. These report types are described as follows:

           •   Appraisal Report: The content must be consistent with the intended use of the appraisal
               and, at minimum: (i) state the identity of the client and any intended users, by name or
               type; (ii) state the intended use of the appraisal; (iii) summarize information sufficient to
               identify the real estate involved in the appraisal, including the physical, legal, and
               economic property characteristics relevant to the assignment; (iv) state the real property
               interest to be appraised; (v) state the type and definition of value and cite the source of
               the definition; (vi) state the effective date of appraisal and the date of the report; (vii)
               summarize the scope of work used to develop the appraisal; (viii) summarize the
               information analyzed, the appraisal methods and techniques employed, and reasoning that
               supports the analysis, opinions, and conclusions; exclusion of the Sales Comparison
               Approach, Cost Approach, or Income Approach must be explained; (ix) state the use of
               the real estate existing as of the date of value and the use of the real estate reflected in the
               appraisal; (x) when an opinion of highest and best use was developed by the appraiser,
               summarize the support and rational for that opinion; (xi) clearly and conspicuously: (1)
               state all extraordinary assumptions and hypothetical conditions; and (2) state that their
               use might have affected the assignment results; (xii) include a signed certification in
               accordance with Standards Rule 2-3.

           •   Restricted Appraisal Report: The content must be consistent with the intended use of the
               appraisal and, at minimum: (i) state the identity of the client, by name or type, and state a
               prominent use restriction that limits the use of the report to the client and warns that the
               rational for how the appraiser arrived at the opinions and conclusions set forth in the
               report may not be understood property without additional information in the appraiser’s
               work file; (ii) state the intended use of the appraisal; (iii) state information sufficient to
               identify the real estate involved in the appraisal; (iv) state the real property interest
               appraised; (v) state the type of value and cite the source of the definition; (vi) state the
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          effective date of appraisal and the date of the report; (vii) state the scope of work used to
          develop the appraisal; (viii) state the appraisal methods and techniques employed, state
          the value opinion(s) and conclusion(s) reached, and reference the work file; exclusion of
          the Sales Comparison Approach, Cost Approach, or Income Approach must be explained;
          (ix) state the use of the real estate existing as of the date of value and the use of the real
          estate reflected in the appraisal; (x) when an opinion of highest and best use was
          developed by the appraiser, state the opinion; (xi) clearly and conspicuously: (1) state all
          extraordinary assumptions and hypothetical conditions; and (2) state that their use might
          have affected the assignment results; (xii) include a signed certification in accordance
          with Standards Rule 2-3.

          This report is prepared as an Appraisal Report.
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     SECTION 4 – AREA AND MARKET ANALYSIS
            The demand for aggregate material is driven by population growth, business growth, and
     housing growth. Therefore, this section focuses on the drivers of aggregate demand.

             A study and analysis were conducted focusing on the regional market area relevant to the
     subject property. The resulting analysis begins with a wide scope concentrating on the
     Southeastern United States, transitioning to a discussion on the State of Georgia, and concluding
     with a macro-level analysis of the metropolitan, county and city statistical area.
     A combined statistical area is composed of metropolitan statistical areas that have a common
     nexus, often sharing labor and media markets.

     4.1 SOUTHEASTERN UNITED STATES REGIONAL ANALYSIS




     Location

             According to the U.S. Census Bureau, the southern region of the United States consists of
     16 states as indicated on the map above. However, the southeastern region of the United States
     commonly excludes Texas, Oklahoma, Missouri, West Virginia and Maryland. The Southeast
     experiences unique locational advantages due to its positioning and access to major commerce
     ports and as a result of being bordered on two sides by major bodies of water.

              Additionally, the climate in the Southeast allows for additional commerce centers and
     transit routes for goods through the extensive waterways and rail systems running strategically
     throughout the region and free of the negative impacts of seasonal weather issues. The
     southeastern region has also seen an influx of businesses, contributing to an increase in
     population, workforce, and infrastructure.

     Demographics

             Population growth in the Southeast region has exceeded the rate for the nation since
     2016. From 2016 to 2018, the population in the region increased an average of 0.9%, or by
     approximately 601,000, annually, to 69.59 million, while the population of the nation expanded
     an average of 0.6% annually (Census population estimates as of July 1, 2018). Strong job growth
     in the region contributed to the difference in population growth rates during the period. From
     2016 through 2018, nonfarm payrolls in the region increased an average of 1.9%, annually,
     which is higher than the national rate of 1.7% a year.
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             From 2017 to 2018 Florida accounted for approximately 58.0% of the population growth
     in the region but only 31.0% of the total population. The population of the state increased by
     approximately 322,500, or 1.5%, both the largest and the fastest increase in the region. After
     Florida, the highest population growth rate was in South Carolina where the population expanded
     by approximately 62,900, or 1.3%. The number of jobs in the state increased 2.4% during the
     period, equaling Florida for the fastest rate in the region. The populations of North Carolina,
     Georgia, and Tennessee increased 1.1, 1.0, and 0.9%, or approximately 112,800, 106,400, and
     61,200, respectively. The respective populations of Kentucky and Alabama both increased by
     0.3%, or approximately 14,550 and 12,750, respectively, while the population of Mississippi
     declined slightly. Net in-migration averaged 2,775 a year and accounted for 54.0% of total
     population growth during the period.




             Often, with an influx in population, regions and states struggle to maintain a low
     unemployment rate. However, the unemployment rate for states in the Southeast all remain near
     or slightly above the nationwide unemployment rate of 3.9% as of December 2018, except for
     Mississippi.8 As of December 2018, unemployment rates in descending order for the Southeast
     Region are South Carolina with 3.4%, Tennessee with 3.5%, Florida with 3.6%, Alabama with
     3.9%, Georgia with 4.0%, North Carolina with 4.0%, Kentucky with 4.2%, and Mississippi with
     5.0%. 9

     Most Populous States
            Based on 2018 estimates, the most populous state in the region is Florida (21,299,325),
     followed by Georgia (10,519,475) and North Carolina (10,383,600). 10




     8
       Federal Reserve Bank of St. Louis, (FRED)
     9
       U.S. Bureau of Labor Statistics, Local Area Unemployment Statistics, Unemployment Rates for States, 2018
     Annual Averages
     10
        U.S. Census Bureau
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                      2018         2010                    Area       Density
        State                                  Change
                    Estimate      Census
                                                         (in square   (people per
                                                           miles)     square mile)


      Alabama         4,887,871    4,779,736    +2.30%     50,645               96


      Arkansas        3,013,825    2,915,918    +3.40%     52,035               58


      Florida        21,299,325   18,801,310   +13.30%     53,624           397


      Georgia        10,429,379    9,687,653    +7.66%     57,513           181


      Kentucky        4,468,402    4,339,367    +2.65%     39,486           113


      Louisiana       4,659,978    4,533,372    +2.80%     43,203           108


      Mississippi     2,986,530    2,967,297    +0.60%     46,923               64


      North
                     10,383,620    9,535,483    +8.90%     48,617           213
      Carolina


      South
                      5,084,127    4,625,364    +9.90%     30,060           169
      Carolina


      Tennessee       6,770,010    6,346,105    +6.70%     41,234           164


      Virginia        8,517,685    8,001,024    +6.50%     39,490           215


      West
                      1,805,832    1,852,994    −2.50%     24,038               75
      Virginia
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            By 2060 the population is projected to reach 404 million with the largest age group being
     between 18 and 44 years old at 132.3 million with the 45- to 64-year-old age group being close
     at 97 million.




     Economy

             The Southeast has experienced an economic renaissance over the last 35 years due to
     exponential growth in tourism, financial services, manufacturing, and high-technology
     industries. Leading this transformation is a wealth of automotive manufacturing drawn by
     attractive government incentives, research hubs, and in certain cases, access to trade ports.

             Increasing levels of global growth boosted economic activity in the Southeast U.S. in the
     past several years, as rising exports fueled gains at the region’s factories and natural resource
     producers. The region’s manufacturing sector is seeing strong demand across many key
     industries. Output, shipments, and employment are all solidly up in 2018, and the region
     continues to attract a wealth of capital investment

            For the first time in more than a decade, every major industrial economy grew in 2017
     and continued to grow in 2018, and the Southeast U.S. benefitted as home to five of the nation’s
     most export-intensive states measured by exports as a share of state Gross Domestic Product
     (GDP). 11 The region boasts four of the top ten states in the U.S. for tourism: Florida (2),
     Virginia (6), South Carolina (7), and Georgia (9). 12 The Southeast’s unemployment rate
     declined to 3.6% as of December 2018, according to the U.S. Bureau of Labor Statistics. The
     unemployment rate for the region averaged 3.6% during the fourth quarter of 2018, down from
     4.2% during the fourth quarter of 2017, with declines in six of eight states. Alabama was the only
     state where the unemployment rate increased, rising slightly from 3.5% to 3.6%. By comparison,
     the unemployment rate for the nation averaged 3.6% during the fourth quarter of 2018, down
     from 3.9% a year ago. 13




     11
        U.S. Department of Commerce
     12
        Business Insider
     13
        U.S. Bureau of Labor Statistics
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            Transportation-related equipment is a major export for the region. Historically, the
     category has been dominated by motor vehicles but now has shifted to aerospace and aviation
     products. Over the past decade, the Southeast has seen an upswing in the automotive industry.
     Numerous new automobile production plants are proliferating, including Mercedes-Benz in
     Tuscaloosa, Alabama; Hyundai in Montgomery, Alabama; Toyota Motors in Blue Springs,
     Mississippi; Kia Motors in West Point, Georgia; the BMW production plant in Greer, South
     Carolina; Volkswagen in Chattanooga, Tennessee; the Ford assembly plant in Louisville, KY;
     the GM manufacturing plant in Spring Hill, Tennessee; and the Nissan North American
     headquarters in Franklin, Tennessee. The future is bright for auto manufacturing in the region. In
     2015, Volvo Car Corp. announced its plans to invest $500 million in a factory in South Carolina,
     which was set to open in 2018 and projected to provide 4,000 jobs. Volvo is reported to have
     received more than $200 million in incentives from the state government, including $120 million
     in economic development bonds. Overall, the Southeast is home to almost a quarter of the total
     U.S. auto manufacturing plants in America (see map below).


                              Automotive Manufacturing Plants in the Southeast




                  Source: Bureau of Economic Analysis, U.S. Department of Commerce
            Because of the auto industry, opportunities have expanded for support companies such as
     automobile engine manufacturing, as well as parts, especially tires. The southeast is home to
     36.8% of the country’s tire manufacturing facilities. The graph below illustrates the region’s
     growth in tire manufacturing which includes the 2015 opening of the Yokohama Tire plant in
     West Point, Mississippi and the major expansion of the Toyo Tire facility in Bartow County,
     Georgia.
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                                        Source: U.S. Bureau of Labor Statistics
              Aerospace and aviation are also powerful economic drivers in the region, including a
     number of NASA facilities such as the Kennedy Space Center in Florida and the Stennis Space
     Center in southern Mississippi (see map below). The region is home to more than 20.0% of total
     space vehicle and missile manufacturing facilities in the country. For example, Lockheed Martin,
     a major player in the industry, operates aeronautics facilities in Mississippi, West Virginia,
     Florida, and South Carolina. In aircraft engine and parts manufacturing, the Southeast is home to
     16.9% of the country’s total. In 2015, Boeing opened a $6 million technology and research
     facility in Huntsville, Alabama. Other operators in the region include Raytheon, Airbus and
     Embraer. Mobile, Alabama is home to the final assembly line of Airbus’ A320 jetliner at a
     facility which opened in 2015. Mobile, Alabama is also home to a massive, state-of-the art
     manufacturing facility for the giant German steel company ThyssenKrupp.

                                        Sampling of Aviation Facilities in Southeast




                              Source: Southeast Aerospace Industry/Courtesy Dorchester County, SC

             In summary, the benefits of economic vitality in the Southeast U.S. include some of the
     lowest unemployment rates in the nation; the attraction of Fortune 500 companies to establish
     their headquarters (20 in Virginia, 16 in Florida, 15 in North Carolina, and 14 in Georgia); and
     population growth (see Most Populous States under Demographics above). The business
     community has taken note of the economic attractiveness of the Southeast, as three of the top 10
     states for business according to Forbes are in the region. The Southeast’s population and
     economic growth has resulted in a Gross Domestic Product (GDP) of nearly $4.4 trillion 14 as of

     14
          https://fred.stlouisfed.org
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     the fourth quarter of 2018, outpacing the rest of the U.S., and boasting the fifth largest GDP in
     the world (see chart below). 15




     Transportation

             Contributing to the Southeast’s rapid growth over the last several years is the access to
     major transportation corridors. Most of the major cities in the Southeast are connected via a
     robust Interstate system, allowing for the smooth transport of goods, services, personnel, and raw
     materials. In addition to the Interstate system, the U.S. Department of Transportation (USDOT)
     is currently in the process of expanding the passenger rail system in the Southeast. USDOT is
     currently three to four years into the planning and research associated with the development of
     the Southeastern Rail Corridor, a passenger rail network linking Washington, DC to Atlanta,
     Savannah, GA, and Jacksonville, FL, as well as several cities in between.

             Not only is passenger rail and transportation making strides and investing in the
     Southeast, but major rail lines are also following suit, or leading the way, by increasing the
     infrastructure required to support these increased demands. Norfolk Southern Rail and CSX Rail
     currently operate two of the most extensive industrial rail networks in the Southeast region.



     15
          U.S. Bureau of Economic Analysis
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             Additionally, Norfolk Southern Rail is currently working on the $2.5 billion rail
     infrastructure project, the Crescent Corridor (see map below). The corridor is expected to
     provide 30 new rail lines along the 2,500-mile Crescent Corridor and in excess of 122,000 jobs
     through 2030 with connections in Charlotte, NC, Knoxville, TN, Atlanta, GA, Chattanooga, TN,
     and Birmingham, AL in an effort to meet the growing industry boom in the Southeast.




             This expansion is being fueled by both import and export activity, as well as increases in
     manufacturing employment throughout the region, most notably from port markets such as
     Savannah, GA, Miami, FL, and Charleston, SC with continued growth expected as the Panama
     Canal is widened to support larger vessels. 16 The expansion, coupled with the Southeast being
     one of the fastest growing regional markets in the United States, attracts businesses from all
     market sectors along with influx of a talented workforce spanning multiple generations.

     Housing

             The economic indicators in the Southeast point to the region becoming one of the fastest
     growing housing markets in the United States. New and developing businesses are being drawn
     to the region, creating new jobs and new opportunities for many relocating residents as well as
     locals who are choosing to stay in their geographic area where they are currently employed. In
     order to meet the demand generated by population and economic growth, the housing market has
     ramped up single- and multi-family home production throughout most of the region.




     16   Wagner, D. (2017). Southeastern U.S. Experiencing a Growth Spurt. National Real Estate Investor
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             According to the U.S. Department of Housing and Urban Development (HUD), almost
     every state in the region (see charts below) has seen a year-over-year increase in the number of
     homes sold, simultaneously with a decrease in vacancy rates for both sales and rentals, in
     addition to every state seeing at least a 2.0% increase in home value. 17




     17
       Blount, Casey M. (2018) HUD PD&R Regional Report: Region 4: Southeast/Caribbean.
     https://www.huduser.gov/portal/periodicals/USHMC/reg//Southeast-Caribbean-RR-4Q18.pdf
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     4.2 GEORGIA REGIONAL AREA DATA

     Location

            The State of Georgia is located within the southeastern section of the United States,
     located between Florida to the south, Tennessee to the north, Alabama to the west, and both
     South Carolina and the Atlantic Ocean forming its eastern border.




            Georgia covers approximately 58,910 square miles with an estimated population of 10.51
     million in 2018, ranking as the eighth most populous state in the nation and largest state east of
     the Mississippi River in terms of land mass.

             Georgia is almost entirely landlocked; however, it contains approximately 110 miles of
     coastline along the Atlantic Ocean and operates the Port of Savannah, the second largest port on
     the east coast and largest port in the southeast. Georgia is strategically positioned to provide
     access and transit to the southeastern regional market with established routes of transportation
     and freight coupled with the capability of handling immense amounts of freight with the largest
     single container terminal in North America.

     Geography

             Due to its unique positioning within the southeast, Georgia experiences a range of
     geographic profiles from its northern mountain ranges to Florida at its southern border and
     eastern coastline. The northern regions of Georgia experience mostly mountainous topography, a
     result of being the southern point of the Appalachian Mountain Range and the Blue Ridge
     Mountain area.

             Central Georgia is comprised of the Piedmont Region, an area characterized by rolling
     hills between the mountains of North Georgia and the Coastal Plains of Southern Georgia, while
     the largest geographic region, the Upper and Lower Coastal Plains of southern Georgia, is
     characterized by a plethora of waterways, hardwood swamps and several marshes.

            Perhaps one of the most well-known areas is the Okefenokee Swamp, near the
     lower/Atlantic Coastal Plain.
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     Demographics

             Georgia has an estimated 2018 population of 10.51 million, ranking as the eighth most
     populous state in the country. The 2018 median household income is estimated at $58,756 while
     the estimated median home value is $173,700 with median monthly costs for owners with a
     mortgage of $1,341. 18 As of December 2018, Georgia’s estimated unemployment percentage is
     3.6%. 19 In 2018, job growth exceeded the national rate of 1.7%, where nonfarm payrolls
     expanded 2.2% to 4.55 million jobs, an increase of 97,050 jobs, from 2017. 20 Part of the basis
     for the low unemployment rate for the state is an influx of workers as an additional 135,000
     people entered the workforce, the majority of which have relocated to Georgia. 21




            As workers have begun relocating to the state drawn by the competitive business
     environment and prospective job growth, so too has Georgia seen an influx of retirement age
     individuals seeking warmer climates and an attractive cost of living. According to the Georgia
     Department of Human Services, Georgia currently has the 11th fastest growing population for


     18
        Cnbc.com/2018/median-home-values-in-every-us-state
     19
        St. Louis Federal Reserve Board (FRED)
     20
        U.S. HUD (2018). HUD Report, Job Growth
     21
        Kanell, Michael E. (2017) Burst of jobs in Georgia in June, unemployment dips. AJC.com
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     residents over 60 years old and a top 10 projected fastest growing population for residents over
     the age of 85 between 2010 and 2030.

            The state of Georgia is poised to continue its growth trend, demographically and
     economically as new business, employees and people relocate to the state. However, the aging
     population shown in the graphs above must be considered regarding planning for increased
     housing and economic requirements. The graphs above depict an aging population continuing to
     grow throughout the next several decades, and not by a small margin. The projected percentage
     of change for each age group over 65 is poised to double over the next decade. The economy and
     housing demand must be prepared to meet the increased demand for the aging population,
     whether as retirement or assisted living communities.

     Economy

             Georgia offers attractive business incentives to businesses looking to either expand or
     grow their business in the state as evidenced by the State of Georgia being ranked sixth by
     Forbes, and first by Site Selection Magazine, for the best States for Business. 22 Several major
     corporations either call Georgia home or are providing major investments in the infrastructure,
     transportation, manufacturing and business, ultimately providing more jobs for the workforce
     and recording a $602.02 billion Gross Domestic Product produced in 2018. 23 In 2018, Georgia’s
     gross domestic product increased by 4.87% for an annual change of 0.03%. Georgia is estimated
     to be the ninth-largest economy in the United States. 24 A major contributing factor to the
     economic growth of Georgia is their industry leading Quick Start Program, a training initiative
     focused on developing the skills of employees for the present and the future. Georgia’s Quick
     Start Program is the longest running initiative of its kind and, to date, has trained over one
     million employees across multiple industries. 25

             In an attempt to attract further businesses to invest in the state, Georgia has created
     attractive incentive programs. One of the main draws to the state is its competitive tax climate
     prior to the implementation of any tax credits. Georgia is on the forefront of business
     development by instituting the single-factor apportionment tax basis. Property and business taxes
     in Georgia are kept low through this process, wherein a company’s corporate income tax rate of
     6.0% is only applied to the portion of a company’s sales which occur within the state.

            Furthermore, as demonstrated in the chart below, Georgia offers additional tax credit
     incentives to businesses for creating jobs in counties around the state.




     22
        Arend, Mark (2015). Site Selection
     23
        Federal Reserve Bank of St. Louis (FRED)
     24
        https://www.ibisworld.com
     25
        Georgia Quick Start (2017). www.georgia.org
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              The top five industries in Georgia are agriculture, film, energy, automotive industry and
     tourism followed closely by the aerospace industry, business and finance and logistics and
     transportation. Georgia ranks fourth in the nation for the number of individuals employed in the
     aviation field, and the job growth outlook for the industry exceeds national averages over the
     next 10 years. The new program at Chattahoochee Technical College’s new $35 Million
     Aviation Academy at Silver Comet Field at Paulding Northwest Atlanta Airport is projected to
     fill the deficit in aerospace mechanic jobs. Additionally, several major corporations, such as
     Home Depot, Coca-Cola, Delta Airlines, UPS, Aflac, Southern Company and both Porsche (US)
     and Mercedes-Benz, have chosen to establish their headquarters in Georgia.

             Currently the largest employer in the state is Delta Air Lines, Inc. with their hub and
     headquarters located at the busiest airport in the world at Hartsfield-Jackson International Airport
     in Atlanta, Georgia. Delta Airlines recently partnered with the Savannah College of Art and
     Design (SCAD) to engage students with the company and address researching, creating and
     solving a range of topics facing air travel. Georgia now ranks as the top location in the world for
     the film industry.

             Not only is Georgia first in the film industry and has the world’s busiest airport, but also
     the Southern United States busiest port in Savannah. Georgia has a wide range of Department of
     Defense organizations, the Air Force Reserve Command at Robbins AFB and Ft Benning, home
     to the US Army’s Airborne School, both of which call Georgia home. In addition to the wide
     range of military bases, Department of Defense industry titans such as Boeing, Lockheed-Martin,
     BAE Systems, Airbus and Northrop Grumman are all major government contractors in the area.

             Due in part to the increase in manufacturing and industrial development, major rail lines
     such as CSX Rail and Norfolk Southern are investing in the area to create cleaner, more efficient
     ways to transport goods, materials and final products to ports of call. Their commitment to the
     growth of the state is demonstrated by the joint effort between the State of Georgia and CSX Rail
     to create the 42-acre Appalachian Regional Port. The Appalachian Regional Port is a joint effort
     to provide a 388-mile direct rail route from the regional inland port located in Northwest Georgia
     to the Port of Savannah, decreasing the distance required for trucks from the region to travel to
     get product to the worldwide market through Savannah. In December 2018, the Georgia Ports
     Authority announced plans for a new inland port in Gainesville, just northeast of Atlanta, to
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     provide further freight rail service to and from the Port of Savannah. 26 Additionally, to foster
     freight and rail service, the Georgia Ports Authority inaugurated an in inland port in Murray
     County, also in northern Georgia. Furthermore, businesses continue to increase their presence
     and support the economy by investing large sums of money to expand or develop their footprints,
     with the automotive manufacturing industry being one of the largest partners. German
     manufacturer Porsche invested $100 million to build and develop their North American
     Headquarters and experience center in Atlanta, while Mercedes-Benz is investing $93 million to
     build a new state of the art headquarters with the capability to double its workforce in the next
     five years.




     Housing

             As a result of the growing economy in Georgia, both businesses and prospective workers
     are flocking to the area and as mentioned above, each is looking for a share of the almost
     $602.02 billion in gross national product produced each year. Georgia looks forward to
     continuing its year-over-year growth as the country moves further away from the recession.
     Almost in parallel to the growing economic environment that made Georgia the #6 or #1,
     depending on the source, State to do business in, the Real Estate and housing market in the state
     are booming. For example, since the recession median home prices in Metro-Atlanta have grown
     by 6.2% year-over-year but remain below the average median home value for almost all other
     States in the top 10 for business. Additionally, the home equity in the area has grown by more
     than 45.0% over a three-year period, doubling the national average. 27

            With the influx in population due to the growing economy, more and more residents are
     moving to the area and looking to enter into the housing market. It is not uncommon for the
     residential housing market in Georgia to demand higher than asking prices for listed homes
     within days if not hours. According to the Michael Kanell, first time home buyers account for
     approximately 42.0% of purchases and add credence to the need for new homes. 28 The chart
     below demonstrates the remarkable need for housing in Georgia as annual building activity for

     26
        Georgia.org
     27
        Esajian, JD. (2017). The 10 Hottest Summer Real Estate Markets in 2016. FortuneBuilders.com
     28
        Kanell, Michael (2017). Young homebuyers hit “crazy” market in Metro Atlanta. myajc.com
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     the state has been above 20,000 single-family homes for five years running, while multi-family
     homes have surpassed 10,000 residents in four of the last five years. The numbers for 2018
     presented in the charts below are through the 12-month period ending in December.




             Meeting the housing demand for an increase in population is not restricted to the
     development of single family and multifamily housing. Senior housing is also a contributing
     factor to the growing housing development throughout the state. The region, state and local areas
     have all recognized a need to be met in the future and are taking steps to ensure the demand is
     met prior to the need, as senior housing occupancy is projected to increase by approximately
     65.0% over the next year as more and more Baby Boomers reach retirement age.




              One way to                                                                  determine
     whether the expectations are reflected in the market is to examine the number of construction
     starts relevant to a particular sector. In the case of an aging population, the number of dedicated
     senior housing construction starts. If the number of construction starts indicates an increase in
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     activity similar to the overall projected sector increase, more than likely there is a current
     shortage relative to the anticipated demand. Conversely, if the number of construction starts falls
     dramatically below the expected sector increase, the real estate sector most likely has
     experienced a surplus that must be filled prior to the start of any new construction. In the case of
     senior housing, construction expectations over the next 12 months are projected to increase by
     approximately 60.0%, lending credence to the need for additional senior housing development.

     Transportation

             With the economy improving, new business arriving in the state and multiple generations
     of workforce flocking to the area, transportation is more important than ever. The majority of the
     labor force in Georgia commute within the state placing a premium on transportation throughout
     the state as population growth continues.

            The Georgia Transportation Authority is trying to stay ahead of the projected growth
     through the Transportation Funding Act, increasing the dedicated dollars by roughly $400
     million per year to transportation expansion and improvement throughout the state.

            Additionally, by operating the busiest airport in the world, 80.0% of the U.S. Market is
     within a two-hour flight time from Georgia; and Georgia’s extensive highway and interstate
     system allows for multiple avenues of travel into and around the state for a diverse and dedicated
     workforce in addition to business logistics. 29

     4.3.       Metropolitan Statistical Area




              Warren County, GA              Augusta-Richmond County, GA-SC MSA




     Location



     29
          Georgia Transportation Authority
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             Warren County, GA is located in the East Central part of the state (see highlighted area in
     map of Georgia above left). Warren County, GA is adjacent to the Augusta-Richmond County,
     GA-SC Metropolitan Statistical Area (see highlighted area in Georgia-South Carolina map above
     right).

     Geography/Geology

             Warren County, GA has a total area of 287 square miles made up of 284 square miles of
     land and 2.4 square miles of water. The north-to-northeastern quarter of Warren County, north of
     a line between the county's northwestern corner, Norwood, and Camak, is located in the Little
     River sub-basin of the Savannah River basin. The southeastern quarter, from Camak in the north,
     and bordered by a northwest-to-southeast line running through Warrenton, is located in the Brier
     Creek sub-basin of the larger Savannah River basin. The western half of the county, west of
     Warrenton, is located in the Upper Ogeechee River sub-basin of the Ogeechee River basin.
             Augusta-Richmond County, GA-SC MSA is located in the Piedmont section of the state.
     The MSA is located approximately halfway up the Savannah River on the fall line, which creates
     a number of small falls on the river. Augusta, GA marks the end of a navigable waterway for the
     river and the entry to the Georgia Piedmont section of the state.
             For more on the geography of Georgia, see the Georgia Area Market Analysis.

     Demographics

             As of 2017, the population was 5,410 with 2,274 households in Warren County. The
     population in the age group of 18 to 64 is 57.0% in Warren County. In 2018, the population
     declined to 5,346 and the average age was 44.2 years. In 2018, the percentage of foreign-born
     citizens in Warren County was 1.46%. In 2017 the median household income was $32,860 and
     increased to $34,730 in 2018, which is less than the median annual income of $56,712 across the
     entire U.S.; and the per capita income was $22,916. The cost of living is 80.5 out of 100 (based
     on a U.S. index of 100). In line with the declining population in Warren County, the Governor’s
     Office of Planning and Budget projects the population in the county for 2020 at 5,229 and a
     projected population in 2025 of 5,009. As of July 1, 2018, Warren County had 2,2332
     households with 2.32 person per household. The age breakdown of the population in Warren
     County is 22.0% between the ages of 0 and 19, 24.0% between the ages of 20 and 39, 26.0%
     between the ages of 40 and 59, 16.0% between the ages of 60 and 69, and 14.0% age 70 and
     over. In terms of education, 75.1% of the population of Warren County in 2018 had a high
     school degree or higher, and 13.7% of the residents had a bachelor’s degree or higher. 30
             In 2018, the population of Augusta, GA was 196,807, the median age was 33.9, which is
     lower than Georgia’s median age, the median household income in 2018 was $42,592, lower
     than the median income for Georgia at $$61,980, and the per capita income was $22,709. The
     homeownership rate was 67.4%. 31 In terms of education, 84.3% of the population had at least a
     high school degree and 21.6% had a bachelor’s degree or higher in July 2018. 32 The Augusta-
     Richmond County GA-SC MSA had a population of 605,903 in 2018, 33 the median age was 38.2
     in 2018, a little higher than Georgia’s median age of 37.2. Net in-migration averaged 2,775 a

     30
        City Data
     31
        U.S. Census Bureau
     32
        U.S. Census Bureau
     33
        Federal Reserve Bank of St. Louis (FRED)
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     year and accounted for 54.0% of total population growth during the period. The median
     household income in 2018 was $52,696, about 90.0% of the amount in Georgia of $61,980, and
     the per capita income was $28,711, about 90.0% of the amount in Georgia of $32,657, and the
     homeownership rate was 69.0%. 34 In 2018, the MSA had 214,107 households. In terms of
     education, 89.2% of the population had a bachelor’s degree or higher, and 27.4% of the
     population had a bachelor’s degree or higher in 2018. 35 The MSA’s 2020 population is projected
     to be 612,100 by the U.S. Census Bureau. The population of the MSA is expected to increase at
     an average annual rate of 0.9%, for the next several years, as continued economic growth and
     military expansion attracts workers to the area. The number of households in the MSA is
     expected to grow by 0.8%, annually during the next several years. Renter household growth is
     expected to account for only 55.0% of total household growth, as a strengthening economy and
     increased confidence in the housing market attract prospective households to homeownership.




                       Source: https://www.huduser.gov/portal/pulications/pdf/AugustaGA-comp-17.pdf
     Economy

             In 2018, the economy of Warren County employed 2,170 people (including 6.3% self-
     employed). The largest industries in Warren County are manufacturing (585 people), retail trade
     (294 people), and health care and social assistance (271 people). The county is home to a number
     of mining, quarrying, and oil-and-gas extraction operations. The most common job groups, by
     number of people living in Warren County, are production-related (15.3%), office and
     administrative support occupations (13.0%), sales and related occupations (11.0%), material
     moving occupations (8.59%), transportation occupations (6.7%), construction/extraction (4.9%),
     installation/maintenance/repair (4.43%), and education instruction and library occupations
     (6.51%). The highest-paying industries are wholesale trade ($101,979), mining, quarrying and oil
     and gas extraction ($60,156), and professional, scientific and technical services ($49,500). The
     chart below illustrates the share breakdown of the primary jobs held by residents of Warren
     County.




     34
          Census Reporter
     35
          Census Reporter
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            As of December 2018, the unemployment rate in Warren County was 5.0% compared to
     3.9% for the United States. 36 The largest employers in Warren County are ACM Georgia, LLC,
     Briarwood Academy, Inc., Crm of Warrenton, LLC, Georgia-Pacific Wood Products, LLC,
     Hawkins Logging & Timber Co., LLC, Heart Wood Products, LLC, Old Castle Industrial
     Minerals, The Timbermen, Inc., and Tyler Johnson Enterprises, Inc.

           Workforce training is readily available to county residents, with two universities
     (Augusta and Georgia State) and five technical colleges (Augusta Technical, Augusta Technical-
     Thompson Campus, Oconee Fall Line, and Sanderson) all in close proximity.

             Augusta, GA is a regional center of medicine, biotechnology, and cyber security.
     Augusta University, the state’s only public health sciences graduate university, employs over
     7,000 people. Along with University Hospital, the Medical District of Augusta employs over
     25,000 people and has an economic impact of over $2.0 Billion. Augusta-Richmond County,
     GA-SC MSA employed 267,000 people overall in 2018. 37 Economic conditions in the MSA are
     strong. The unemployment rate in Augusta-Richmond County GA MSA in December 2018 was
     4.1%. 38 Within the next few years, Augusta is expected to have rapid population growth of
     10,000 plus residents due to the announcement of the United States Army Cyber Command that
     will be located in Fort Gordon.

             Augusta’s three largest employers are Augusta University, the Savannah River Site (a
     Department of Energy nuclear facility), and the U.S. Army Cyber Center of Excellence at Fort
     Gordon, which oversees training for Cyber, Signal Corps, and Electronic Warfare. In fact, Fort
     Gordon, home of the U.S. Army Signal Corps and U.S. Army Cyber Command, is the largest
     employer in Augusta-Richmond County GA, with approximately 26,000 military, civilian, and
     contractor employees and an estimated economic impact of $2.26 billion. Between 2017 and
     2020, when the U.S. Cyber Command Headquarters is complete, Fort Gordon is expected to
     expand by an additional 1,200 military and civilian personnel. Companies that have facilities,
     headquarters or distribution centers in Augusta include CareSouth, T-Mobile, Coviden, Solo Cup
     Company, Automatic Data Processing, Graphic Packaging International, Teleperformance, Sitel,
     E-Z GO, Elanco, Club Car (Worldwide Headquarters), John Deere, Kellogg’s, and Delta Air
     Lines’ baggage call center. Augusta’s famous golf course, the Augusta National Golf Club,
     hosts the first major golf tournament each Spring, known Internationally as The Masters. The
     Masters brings over 200,000 visitors from across the world to the Augusta National Golf Club.

     36
        U.S. Bureau of Labor Statistics
     37
        Bureau of Labor Statistics
     38
        Bureau of Labor Statistics
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     Augusta also is home to a minor league baseball club, professional minor league ice hockey
     team, a rugby football team, and an all-female flat track roller derby team. Major colleges and
     universities in Augusta include Augusta Technical College, Augusta University, Paine College
     and satellite campuses for East Georgia State College and Georgia Military College.




                     Source: https://www.huduser.gov/portal/pulications/pdf/AugustaGA-comp-17.pdf

     Housing

             As of 2018, there were 2,975 housing units in Warren County with a homeownership rate
     of 67.7%, which is higher than the national average of 63.6%. In 2018, Warren County had a
     median property value of $61,300. In 2018, the median monthly housing cost with a mortgage
     was $968 and without a mortgage is $406, and the median monthly rent was $619. With the low
     cost of living and easy access to Interstate 20, the Warren County area provides a wide
     variety of housing options. 39 The home appreciation in 2018 was up 6.4% and home
     appreciation over the last ten years has been 2.8%. Renters make up 23.0% of the Warren
     County population.

             Augusta-Richmond County, GA-SC MSA had 259,295 housing units in 2018. The
     median property value in July 2018 was $154,000 and the homeownership rate was 67.4%. 40
     Based on preliminary data, single-family home construction, as measured by the number of
     homes permitted, totaled 2,584 homes during the 12 months ending December 2018, up slightly
     from 2,560 in 2016, but down from 2,690 in 2017. The apartment market in the MSA is
     balanced. The apartment vacancy rate was approximately 5.0% during the fourth quarter of 2018
     (RealPage, Inc.). The average rent was $887, up 7.0%, from a year ago. Multifamily permitting
     activity in the MSA decreased during 2018 but has generally been at high levels since the mid-
     2010s. Based on preliminary data, 283 multifamily units were permitted during the 12 months
     ending December 2018, down from 648 units during the 12 months ending December 2017. An
     average of 430 units was permitted each year from 2014 through 2018, the highest figure for a
     four-year period since 1999 through 2002. From 2017 to 2020, HUD projects demand for 6,325
     new homes in Augusta-Richmond, County GA-SC MSA. Demand is expected to be greatest in
     the $50,00 to $249,999 price range. The below table shows the estimated demand for market-
     rate sales housing by price range. The graphs below show 2,584 single-family homes were
     39
          U.S. Census Bureau
     40
          https://censusreporter.org
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     permitted and 283 multi-family units were permitted for the entire year of 2018 41 (see graphs
     below). 42




                    Source: https://www.huduser.gov/portal/pulications/pdf/AugustaGA-comp-17.pdf




          Transportation


            Warren County is easily accessible via Interstate 20/GA 402 and the major roadways of
     US 278, GA 12, and I-520. The county is also served by the Georgia ports of Savannah and
     Brunswick as well as the CSX Railroad and the Norfolk Southern Railroad, and airports in
     Atlanta (Hartsfield-Jackson), Augusta (Augusta Regional), and Thompson-McDuffie County
     (General Aviation). 43

               Given the transportation infrastructure (see map below), Warren County is in
     relatively close proximity to such Georgia cities as Atlanta (one and a half hours west),
     Athens (one hour north), Augusta (40 minutes east), Macon (one and a half hours
     southwest), and Savannah (one and a half hours southeast), and Columbia, SC (two hours
     east). 44




     41
        https://www.huduser.gov
     42
        PD & R/Economic & Market Analysis Division, Market at a Glance/Augusta-Richmond County, GA-SC MSA,
     December 2018
     43
        Warren County Development Authority
     44
        Warren County Chamber of Commerce
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             Augusta, GA is linked to Atlanta to the west and Columbia South Carolina, to the east by
     Interstate 20. I-520 (Bobby Jones Expressway) extends from I-20 exit 196 through Augusta’s
     western and southern suburban areas, eventually crossing the Savannah River to South Carolina,
     in which it is known as Palmetto Parkway. Major roads and expressways include Interstates 20
     and 520, U.S. Highways 1, 25, and 79 and eleven State Routes. Parts of Augusta are served by
     the city transit service Augusta Public Transit. Augusta has two airports, Augusta Regional
     Airport and Daniel Field. Freight service is handled by Norfolk Southern Railway's Georgia
     Division and Piedmont Division through their Augusta Yard and Nixon Yard located near the
     city. CSX Transportation Atlanta Division and Florence Division Trains serve the Augusta,
     Georgia area too from the CSX Augusta Yard near Gordon Highway southwest of the city.
           According to the Statewide Transportation Improvement Program published by Georgia
     Department of Transportation (GDOT), below is a list of projects in Warren County.
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     Conclusion

              With immediate interstate access, close proximity to major ports, international and
     commercial airports, and multi-vendor utility services, Warren County offers an ideal location
     for a granite mine, both in terms of the mining component and the cost-effective transport of
     products. In addition, the county government is likely to be highly accommodating of a land use
     that is already prevalent within the jurisdiction. Labor needs will be accommodated by skilled
     local residents, newly trained individuals, or qualified workers from the region’s large workforce
     or a combination of all three. Relocating workers will find the area highly attractive, given the
     availability of affordable housing, the overall low cost of living, and the quality of life enhanced
     by an area rich in outdoor activities and recreational amenities. From all perspectives regionally,
     statewide, and locally, Warren County is strategically positioned to support a successful mining
     operation.

     SECTION 5 – SUBJECT CHARACTERISTICS
            For purposes of this Section 5 in its entirety, except where otherwise identified, subject
            property shall mean the total Contiguous Owned Family-Owned Parcel of 2,546.87 acres,
            consisting of 240.00 acres encumbered by the conservation easement and the 2,306.87-
            Acre Tract (Excluded Tract) excluded from the conservation easement.

     5.1.   Marketing and Exposure

            5.1.1. Marketing Time

            Marketing time is an opinion regarding the amount of time it may take to sell a real or
            personal property interest at the concluded market value during the period immediately
            following the effective date of an appraisal. Marketing time differs from exposure time,
            as exposure time is presumed to precede the effective date of an appraisal. (Advisory
            Opinion 7 of the Appraisal Standards Board of The Appraisal Foundation and Statement
            on Appraisal Standards No. 6, “Reasonable Exposure Time in Real Property and Personal
            Property Market Value Opinions” address the determination of reasonable exposure and
            marketing time.) The appraisers analyzed an estimated marketing period for the subject
            property.

            Several real estate brokers and practitioners were consulted to determine the length of
            time required for the subject property or a property comparable to the subject property to
            sell, if exposed on the open market for sale at a reasonable and fair price. Our survey of
            real estate market participants suggests that most properties in the subject market area, if
            realistically priced, considering current supply and demand, can be marketed and sold
            (i.e., closed) within a six to 15-month period. Further, according to market participants,
            FMLS and Costar listing services, the contiguous property without subsurface material
            would require a marketing time of approximately nine to 12 months.
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            5.1.2. Exposure Time
            Exposure time is the time period to have occurred prior to the date of the appraisal as
            required in the definition of the market value. The subject property would be exposed on
            the market for a reasonable period of time, and then the sale takes place as of the
            appraisal date. Stated another way, exposure time is an opinion, based on supporting
            market data, of the length of time that the property interest being appraised would have
            been offered on the market prior to the hypothetical consummation of a sale at market
            value on the effective date of the appraisal; a retrospective estimate based on an analysis
            of past events assuming a competitive and open market.

            The exposure time estimated for the subject property is estimated to be twelve months.

     5.2.   History
                 According to the county records of Warren County, Georgia, the subject property’s
            surface and mineral estates are owned by Log Creek LLLP. Previous to Log Creek LLLP
            owning Parcel 016-026, this parcel was owned by Tony D. Townley. Tony D. Townley
            conveyed Parcel 016-026 to Log Creek LLLP by means of an Omnibus Deed on
            December 14, 2012 (Deed Book/Page 8V-772) for no consideration. Of note, 191.6 acres
            of this parcel is to be included in the conservation easement; and the Highest and Best
            Use prior to the conservation easement is mining.

                 Also, according to the county records of Warren County, Georgia, the subject
            property’s surface and mineral estates are owned by Log Creek LLLP. Previous to Log
            Creek LLLP owning Parcel 016-027, this parcel was owned by Tony D. Townley. Tony
            D. Townley conveyed Parcel 016-027 to Log Creek LLLP by means of an Omnibus Deed
            on December 14, 2012 (Deed Book/Page 8V-772) for no consideration. Of note, 48.4
            acres of this parcel is to be included in the conservation easement; and the Highest and
            Best Use prior to the conservation easement is mining.

                 To the best of our knowledge, no other sales involving the subject property have
            occurred during the last three years. To the best of our knowledge, there have been no
            other qualified donations of record made in the preceding five years within the subject of
            this appraisal other than the conservation easement placed on the subject property as of
            the date of valuation. It should be noted that an acquisition price of a property may be
            based on land prices in the area and not on the development potential of the property. As
            is common in these transactions, the seller may not understand the value of the
            development potential of the property, while the buyer may understand and have the
            capacity to develop the property. Therefore, the highest and best use as a development
            property may not be reflected in the purchase price.

            5.2.1. Current Contracts, Options or Offerings

                Treas. Reg. 1.170A-17(a)(3)(ii) states that the appraisal must include the terms of
            any agreement or understanding entered into (or expected to be entered into) by or on
            behalf of the donee or donor that relates to the use, sale, or other disposition of the
            property (in addition to the deed of conservation easement).
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              Of note, according to the Warren County Tax Assessor’s Office, parcels 016-026
          and 016-027 have been in a Forest Land Protection Act (FLIPA) covenant since 2011
          with an ending date of 2021.

               Based on the appraisers’ research, and excluding the deed of conservation easement,
          the subject property is not encumbered by any contracts or options affecting the subject
          property, except what is otherwise noted above. Additionally, there were no other
          contracts or options entered into by the donee or donor that relates to the use, sale or
          other disposition of the subject property that were revealed by the appraisers’ research.
          See Treas. Reg. 1.170A-17(a)(3)(ii).

          5.2.2. Zoning
               According to Mr. Michael Thigpen the Warren County Planning and Code
          Administrator for Warren County, the subject property is currently zoned FOR-AG
          Forestry-Agriculture District. The Forestry-Agriculture (FOR-AG) district covers the vast
          majority of the county and establishes a large minimum lot size (25 acres) for the
          subdivision of property in order to prevent the subdivision of land for residential use, and
          to maintain viable tract sizes for agriculture and timber harvesting. The intensive
          agricultural operations permitted in this land use district may result in odors, dust, noise,
          or other effects that can be incompatible with single-lot residential development. Except
          for intra-family land transfers and mortgage lots (smaller lot permitted) and large (25
          acres or more) tracts, subdivisions are not permitted. In addition to forestry, agriculture,
          hunting, public uses, and very low-density single-family dwellings and manufactured
          homes, this district permits institutional uses and selected commercial uses of a rural
          nature (e.g., farm and feed store, animal hospital). Individual dwellings in this district
          may be used in an accessory fashion to operate a cottage industry or home occupation.
          Other use opportunities exist through the conditional use process.

               According to Mr. Paul W. Hitchcock, Hitchcock & Hitchcock, P.C., a fair analysis
          of the Warren County Land Use Ordinance supports the approval of a conditional use
          permit for a granite quarry on the subject property. There is no financial public benefit to
          restricting the subject property to an agricultural use. The Owner and the general public
          will benefit from the increase in jobs and taxes that a mining operation would bring. The
          local laws and land use ordinances will reduce any potential negative impacts that the
          mining operation may bring, especially given the sparsely populated area in which the
          subject property lies. From a land use perspective, the proposed conditional use is proper;
          therefore, it is likely that the conditional use permit will be approved.

              Therefore, the stated Highest and Best Use of the subject property before the
          conservation easement, as a granite mine, would be allowed with a conditional use
          permit.

          5.2.3. Taxes

                 According to the Appraisal of Real Estate 15th edition p.92, “real estate taxes are
          based on the assessed value of real property, hence the term ad valorem (“according to
          value”) taxes. The assessed value of property is normally based on, but not necessarily
          equivalent to, its market value. The objective of tax assessment is the equitable
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            distribution of the tax burden based on real property value, but tax assessors do not
            attempt to develop opinions of value for specific parcels of property for use outside of ad
            valorem taxation.”

                    Parcels 016-026 and 016-027, of which 240.00 acres have been separated from
            and encumbered by a conservation easement, is taxed by Warren County based on an
            assessment made by the Warren County Tax Assessor. The statutory assessment rate is
            40.0% of "fair market value.” The subject property’s taxes are based on the total building
            structures and land. The 2018 tax records indicate a total value of $628,900 and a 40.0%
            assessment of $251,560. Therefore, based on the 30.358 millage rate, the 2018 taxes
            would be $7,636.86. Of note, according to the Warren County Tax Assessor’s Office, this
            parcel has been in a Forest Land Protection Act (FLIPA) covenant since 2011 with an
            ending date of 2021. According to Ms. Laurie Abbott, Warren County Chief Appraiser,
            to breach the FLIPA on parcels 016-026 and 016-027, the owner would also have to
            breach the FLIPA on parcels 016-028, 026-023, and 026-024. The estimated cost to
            breach the FLIPA in 2018 would be approximately $203,570.53. According to the
            Warren County Chief Appraiser, the Forest Land Protection Act is easily broken; the cost
            to breach the FLIPA is included in the year one start-up costs. The existence of the Forest
            Land Protection Act does not hinder or affect the Legally Permissibility of the subject
            property as a granite mine.

                    Of note, the taxes within this section represent the parcels the 240.00 acres of the
            subject property has been separated from. It is assumed that the subject property, the
            240.00 acres encumbered by the conservation easement, will be reassessed separately as
            new parcels. It is typical for properties under a deed of conservation easement to be
            reassessed after the conservation easement is in place. It will be the responsibility of the
            Warren County tax assessors to reassess the subject property based on their time frame
            and protocol, hence establishing the new assessed value.


     5.3.   Legal Description
           A tract or parcel of land containing 240.00 Acres is located in 154th District, G.M.D. of
     Warren County Georgia, and more specifically described on the following page. The Legal
     Description can be found below.
             A narrative metes and bounds legal description is available. Furthermore, the exhibits and
     descriptions included in this report help to sufficiently identify and describe the real estate being
     appraised. This is in compliance with the requirements of the Uniform Standards of Professional
     Appraisal Practice (USPAP), as adopted and published by the Appraisal Standards Board of The
     Appraisal Foundation. The applicable requirements in Standards Rule 2-2 (iii) state: “The appraisal
     report must summarize information sufficient to identify the real estate involved in the appraisal,
     including the physical, legal, and economic property characteristics relevant to the assignment.”
     USPAP comments on this requirement as follows:
     “Identifying the physical real estate can be accomplished by any combination of a legal description,
     address, map reference, copy of a survey or map, property sketch and/or photographs.”
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     Subject Maps

          5.3.1. Provided Survey
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          5.3.2. Location Map
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          5.3.3. Neighborhood Map
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          5.3.4. Aerial Map
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          5.3.5. Flood Map
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                5.3.6. Subject Plat 45




                                        Subject
                                                                                Excluded Parcel         Excluded Parcel
                                             Subject
                                                                                              Excluded Parcel
                                                  Excluded Parcel

                                    Excluded Parcel

                                                                      Excluded Parcel



                                                                      Excluded Parcel


                          Excluded Parcel




     5.4.       Site Description

           For purposes of this Section 5.4, subject property shall refer to the 240.00 Acres
     encumbered by the conservation easement.

     Location

          The subject property is located along the north side of Warren County Road 58, just south of
     Mayfield Road, outside the city limits of Warrenton, Warren County, Georgia. Ingress/egress
     into and from the subject property is along Warren County Road 58. Of note, the Contiguous
     Parcel, has access and frontage along Warren County Road 58, Warren County Road 56, and
     Warren County Road 62. As of the date of this appraisal, the subject property did not have a
     physical address.

     Topography, Flood Hazard Area, and Soil Conditions
         It is the appraisers’ opinion that the subject property has adequate drainage with positive
     flow. According to Flood Insurance Maps (FIRM) 13301C0175B, dated July 22, 2010, the
     subject property is located within Zone X, an area not prone to flooding. Based on mapping
     provided by GeoLogic, LLC, there are a few streams running through the subject property.

     45
          The subject property is 240.00 acres separated from Parcels 016-026 and 016-027.
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     According to Mr. Ben Black, GeoLogic, LLC, as currently designed, the quarry and the
     operations of the plant will avoid wetlands to the extent practical. The creek crossings needed to
     place the rail loop track will be permitted under a U.S. Army Corps of Engineers Nationwide
     Permit (PCN 44) for installation of pipe culverts. As such, there are no expected wetlands
     mitigation costs associated with this quarry. However, for the purpose of this report, a wetland
     contingency of $500,000 has been budgeted and included in the year one start-up costs.
     Therefore, any potential wetlands or streams on-site are not considered to affect the highest and
     best use of the subject property as a granite mine.
          The physical inspection of the subject property did not reveal any evidence of adverse soil or
     subsoil conditions. A formal study was not undertaken and we are not qualified to detect such
     soil conditions. Therefore, we recommend that the client retain an expert in this field of study, if
     desired.
              Currently, the subject property is wooded land with scenic wood views and some open
     land. It should be noted that information provided for this appraisal indicates geologists have
     conducted adequate geological studies to prove a sufficient quantity of granite available for
     mining development on the subject property. Historically, the surrounding area has remained a
     noteworthy granite producer in east central Georgia.
     Land Use
              The subject property is appropriate for a variety of different uses. Currently, the subject
     property is located in an area just southwest of the City of Warrenton, Georgia northeast of the
     City of Milledgeville, Georgia, southwest of the City of Thomson, Georgia, and southwest of
     Augusta, Georgia. The area immediately surrounding the subject property consists of primarily
     agricultural development. As detailed in the Zoning section of this report, the subject property is
     currently zoned FOR-AG Forestry-Agriculture District. The Forestry-Agriculture (FOR-AG)
     district covers the vast majority of the county and establishes a large minimum lot size (25 acres)
     for the subdivision of property in order to prevent the subdivision of land for residential use, and
     to maintain viable tract sizes for agriculture and timber harvesting. According to Mr. Paul W.
     Hitchcock, Hitchcock & Hitchcock, P.C., a fair analysis of the Warren County Land Use
     Ordinance supports the approval of a conditional use permit for a granite quarry on the subject
     property. There is no financial public benefit to restricting the subject property to an agricultural
     use. The Owner and the general public will benefit from the increase in jobs and taxes that a
     mining operation would bring. The local laws and land use ordinances will reduce any potential
     negative impacts that the mining operation may bring, especially given the sparsely populated
     area in which the subject property lies. From a land use perspective, the proposed conditional use
     is proper; therefore, it is likely that the conditional use permit will be approved.
            Therefore, the stated Highest and Best Use of the subject property before the
     conservation easement, as a granite mine, would be allowed with a conditional use permit.
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     Transportation

             The subject property has ingress/egress to and from Warren County Road 58 that
     provides ground transportation by truck to local County, State and Federal Highways. Georgia
     Highway 16, a two-lane highway, is located approximately 3.8 miles south of the subject
     property, U.S. Highway 278, a two-lane highway, is located approximately ten miles northeast of
     the subject property, Georgia Highway 22, a two-lane highway, is located approximately 11.5
     miles west of the subject property, and Interstate-20 is located approximately 17 miles north of
     the subject property. The two primary modes of transportation available to the subject property
     are as follows:

        1. Trucks – The commonly used means of transportation for shorter distances and as an
           intermediate form of transportation to rail lines. The expense of operating truck transport
           is influenced by Federal and State load restrictions, which are generally limited to 20.0 -
           25.0 tons and diesel fuel costs.

        2. Rail – The CSX Railroad and the Norfolk Southern Railroad are located in Warren
           County, Georgia. Also of note, the subject property is bordered by the CSX Railroad
           along its northern border. This will be discussed further later in this report.
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                  Due to the subject property’s location in east central Georgia, it is near not only
          Warrenton, Georgia, but also near South Carolina, Milledgeville, Georgia, and Augusta,
          Georgia. The subject property’s proximity to these markets influences the shipping cost
          the consumer will incur and thereby the total cost of the product to the end user. Augusta,
          Georgia is home to multiple military and government facilities that require new
          development and maintenance. Added to this are the demands for new infrastructure as
          the region continues to attract manufacturing to the area based on its aggressive tax
          incentives and lack of union demands. Aggregates are a common building and paving
          material and a necessary component of asphalt concrete, a necessary part of all new
          building construction and infrastructure repair and maintenance. The table below displays
          some of the projected expenditures for the State of Georgia Department of Transportation
          and the South Carolina Department of Transportation.

                              Georgia Department of Transportation
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     Easements and Encroachments

             It is the appraisers’ opinion that the subject property does not have any adverse easements
     or encroachments. A study of the plat and an inspection of the subject property revealed the
     subject property has ingress/egress to and from Warren County Road 58. As noted earlier in this
     report, the Contiguous Parcel has frontage and ingress/egress along Warren County Road 58,
     Warren County Road 56, and Warren County Road 62. Furthermore, it is assumed that any
     access easements to the subject property or various components of the subject property are in
     place and enforceable. It is the appraisers’ opinion that any utility easements do not affect the
     development potential of the subject property. To the best of the appraisers’ knowledge, the
     subject property does not have any exceptions to title that could potentially preclude the
     operation of a quarry on the subject property.
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             Finally, as stated earlier in this report, according to the Warren County Tax Assessor’s
     Office, this parcel has been in a Forest Land Protection Act (FLIPA) covenant since 2011 with
     an ending date of 2021. According to Ms. Laurie Abbott, Warren County Chief Appraiser, to
     breach the FLIPA on parcels 016-026 and 016-027, the owner would also have to breach the
     FLIPA on parcels 016-028, 026-023, and 026-024. The estimated cost to breach the FLIPA in
     2018 would be approximately $203,570.53. This will be included in the year one start-up costs.

     Utilities and Services
             Utilities and services in the area of the subject property include police/fire protection,
     electricity, natural gas by a provider of choice and telephone service. Water/sewer service is
     typically provided by well and septic systems in rural areas of Warren County.
     Size, Shape, and Frontage
             The subject property is irregular in shape and located along the north side of Warren
     County Road 58, just south of Mayfield Road. The subject property has the potential for road
     development within the subject property in order to facilitate the mining of granite and its
     transport to market. The Excluded Tract consists of 2,306.87 acres that is irregular in shape with
     ingress/egress to and from Warren County Road 62 and Warren County Road 56.
     Environmental Hazards
          The appraisers are not experts in locating or identifying hazardous waste material. However,
     during a physical exterior inspection of the subject property, there were not any hazardous
     materials obvious to the appraisers. If hazardous waste is known to the owner, a qualified expert
     in the field should be engaged.
     Site Improvements
           There are no known significant improvements on the subject property. Furthermore, upon
     physical inspection of the subject property, the appraisers did not witness any improvements on-
     site.
     Neighboring Land Uses and Views
          Neighboring uses generally include clear to partially wooded agricultural, residential,
     recreational, vacant, and quarry land.
     Products or Other Components
             The subject property is in a predominately undeveloped area just southwest of the
     Savannah River, just southwest of Clarks Hill Lake, southeast of Oconee National Forest, and
     east of Lake Oconee. This is a predominately rural area with a large portion of the surrounding
     land being utilized for agriculture. To the best of the appraisers’ knowledge, as detailed earlier in
     this report, a portion of the subject property is not being utilized for agricultural purposes.
     Furthermore, to the best of the appraisers’ knowledge and based on geological reports, the
     predominately mineable natural resource below ground level is granite. The appraisers reserve
     the right to adjust their opinion of value if there are other marketable commercial products on the
     subject property that were not apparent at the time of inspection.
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     Outstanding Rights
         There are no known outstanding rights impacting the subject property such as water,
     mineral, hunting or fishing rights.
     Reservations
          There are no known reservations of rights, products or components that affect the value of
     the subject property.
     Post-Conservation Easement Property Description
          Post-conservation easement, there are no known significant changes that impact the subject
     property’s physical characteristics such as location, size, shape, frontage, topography, flood
     zone, soil/environmental conditions, ingress, egress, utilities and views. There are no other
     easements or encroachments affecting the subject property, except as permitted by the
     conservation easement. Based on the terms and restrictions stated in the conservation easement,
     there is no significant change in products, outstanding rights, or other components.
     Conclusion
              The subject property in its present state possesses significant recreational, educational,
     natural, aesthetic, wildlife, forest, agricultural, open space and plant habitat features. Several
     properties in the surrounding area and region have been mined for construction aggregate
     materials such as granite during the last several years. The subject property has good physical
     utility for a variety of uses. This opinion is based on the subject property's configuration, usable
     topography, average accessibility and exposure, and availability of utilities. Prior to granting the
     conservation easement, the subject property has been undeveloped. Post-conservation easement,
     the subject property no longer retains the rights associated with mining, development, or
     subdivision of the subject property.

     SECTION 6 – ANALYSIS
     6.1.     Conservation Easement/Contiguous Parcel Overview
                 As directed by Treasury Regulation §1.170A-14 (h)(3)(i), the Internal Revenue Service
            requires the entire contiguous parcel (Contiguous Family-Owned Parcel) be evaluated when
            a conservation easement appraisal is performed for review by the Internal Revenue Service.
            The entire parcel must be considered to evaluate any potential impact the conservation
            easement may have on surrounding parcels, contiguous or non-contiguous that are owned by
            the donor, related parties and/or the donor’s family. If any of these parcels are considered
            improved or to have benefited in anyway by the presence of the conservation easement, an
            analysis of the entire parcel is required.

                The standard for determining the larger parcel is taken from the Uniform Appraisal
            Standards for Federal Land Acquisitions, also known as the “Yellowbook.” The UASFLA
            defines the larger parcel as “that tract, or those tracts, of lands which possess a unity of
            ownership and have the same, or an integrated, highest and best use. Elements of
            consideration by the appraiser in making a determination in this regard are contiguity, or
            proximity, as it bears on the highest and best use of the property, unity of ownership, and
            unity of highest and best use.”
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             The “Contiguous Parcel Rule,” Treas. Reg. § 1.170A-14(h)(3)(i), provides that “the
        amount of the deduction in the case of a charitable contribution of a perpetual conservation
        restriction covering a portion of the contiguous property owned by a donor and the donor’s
        family as defined Code Section 267(c)(4) is the difference between the fair market value of
        the entire contiguous parcel of property before and after the granting of the restriction.” In
        the case of this regulation, for tax purposes, “family” does not include a regarded entity such
        as a partnership.

             The “Enhancement Rule,” set forth in the fifth sentence of Treas. Reg. § 1.170A-
        14(h)(3)(i), states that if an easement is donated by a taxpayer over land contiguous or non-
        contiguous to unencumbered land owned by the taxpayer (donor) or “related parties" as
        defined in Code § 267(c)(4), the appraiser must offset any enhancement in value attributable
        to such properties in estimating the value of an easement. Therefore, when a property is
        owned by the taxpayer (donor), the "donor's family" or a "related person," that benefits from
        the conservation easement, the property is considered an enhanced parcel, whether or not
        such property is contiguous.” The appraisal must include an analysis of all contiguous and
        noncontiguous property owned by the donor, the donor’s family, or “related persons” (as
        defined by the Internal Revenue Code) that could potentially be enhanced due to the
        placement of the conservation easement on the subject property.

             Code § 267(c)(4) states that the "donor's family" is limited to the donor's "brothers and
        sisters (whether by the whole or half-blood), spouse, ancestors and lineal descendants."
        Parents, children, grandparents, grandchildren, half-brothers, and half-sisters are included in
        the definition of family. Cousins, nieces, nephews, in-laws, and step relations are not
        included. Included in the "donor's family" definition is a corporation, a partnership, or a
        trust, in any combination if they share certain common links. According to the relationships
        listed in § 267(b) a “related person” includes, the relationships between (1) an individual
        and members of a family, and (2) an individual and a corporation more than 50.0% in value
        of the outstanding stock of which is owned, directly or indirectly, by or for such individual.
        The relationships listed in § 707(b) are those between (1) a partnership and a person owning,
        directly or indirectly, more than 50.0% of the capital interest, or the profits interest, in such
        partnership, and (2) two partnerships in which the same persons own, directly or indirectly,
        more than 50.0% of the capital interests or profits interests.

             When evaluating a conservation easement, the subject property and any additional land
        contiguous or non-contiguous is required by the Internal Revenue Service to be considered.
        In the case of a charitable contribution of a perpetual conservation restriction, covering a
        portion of any contiguous property owned by a donor or the donor's family, the amount of
        the deduction, is the resulting difference between the fair market value of the entire
        contiguous parcel or property before granting the restriction and the fair market value of the
        entire contiguous property after granting of the restriction. Conservation easements may
        increase the value of property in the vicinity, and IRS regulations require that when such
        increases benefit the donor of the easement, or a member of the donor’s family, the
        easement deduction must be reduced. The “enhancement rule” states that if granting of a
        perpetual conservation restriction, after 1986, has the effect of increasing the value of any
        other property owned by the donor or a related person, the amount of the deduction for the
        conservation contribution shall be reduced by the amount of the increase in the value of the
        other property, regardless of whether such property is contiguous.
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        6.1.1.      Contiguous/Non-Contiguous Parcel Analysis

                         Treasury Regulation Section 1.170A-14(h)(3)(i) requires that to value the
                 conservation easement, the appraiser must consider contiguous and non-contiguous
                 property owned by a donor and the donor’s family (as defined in section 267(c)(4)).
                 As of the date of appraisal, Log Creek LLLP does own property that is contiguous
                 and non-contiguous to the subject property.

                         As of the date of appraisal, Log Creek LLLP does own property that may
                 benefit from the conservation easement and there are known partnerships or
                 individuals considered to be a "related person" under the Internal Revenue Code that
                 in our opinion benefit from the conservation easement. Accordingly, a reduction in
                 value has been assessed due to the enhancement in value of any other property. It is
                 the appraisers’ opinion, the property enhanced by the placement of the conservation
                 easement is the contiguous parcels, specifically the Excluded Tract, 2,306.87 Acres
                 (309.06 acres of Parcel 016-026, 37.00 acres of Parcel 016-027, Parcel 016-028,
                 Parcel 017-026, Parcel 017-016, Parcel 026-023, and Parcel 026-024).

                        As stated throughout this report, approximately 10,079.08 acres of contiguous
                 and non-contiguous land is owned by Log Creek LLLP in Warren County (an entity
                 considered to be a “related person” as defined by Treas. Reg. §267(b)).

                         Of note, the Excluded Tract, 2,306.87 Acres (309.06 acres of Parcel 016-026,
                 37.00 acres of Parcel 016-027, Parcel 016-028, Parcel 017-026, Parcel 017-016,
                 Parcel 026-023, and Parcel 026-024) are contiguous to the subject property (240.00
                 Acres encumbered by the conservation easement). It is the appraisers’ opinion that
                 the contiguous land owned by Log Creek LLLP in our opinion benefits from the
                 conservation easement placed on the 240.00 acres of the subject property. A list of the
                 parcels can be found in the chart below.

                                          Contiguous Parcels
                                    Owner          Parcel #          Acreage
                             Log Creek LLLP      016-026                309.06
                             Log Creek LLLP      016-027                  37.00
                             Log Creek LLLP      016-028                190.10
                             Log Creek LLLP      017-026                558.84
                             Log Creek LLLP      017-016                363.00
                             Log Creek LLLP      026-023                741.87
                             Log Creek LLLP      026-024                107.00
                                                 Total:               2,306.87

                         It is the appraisers’ opinion that the non-contiguous land owned by Log Creek
                 LLLP does not benefit from the conservation easement placed on the 240.00 acres of
                 the subject property. This determination is based on the location of the subject
                 property in rural Warren County. It is the appraisers’ opinion that a buyer would not
                 pay more for any of the properties considered for enhancement due to the location of
                 the parcels compared to the location of the subject property as the majority of the land
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                 in the area is rural land or agricultural land. It is the appraisers’ opinion that a buyer
                 would not be influenced by a conservation easement due to the rural nature of the
                 area and the availability of undeveloped land. A list of the parcels can be found in the
                 chart below.

                            Parcels Considered for Enhancement - Non-Contiguous
           Owner               Parcel #      Acreage             Owner            Parcel #     Acreage
     Log Creek LLLP          004-001          18.00      Log Creek LLLP         038-010         460.30
     Log Creek LLLP          005-018          26.74      Log Creek LLLP         038-037          31.00
     Log Creek LLLP          011-011          160.30     Log Creek LLLP         038-038         280.24
     Log Creek LLLP          011-013           28.38     Log Creek LLLP         038-065          37.04
     Log Creek LLLP          012-004          281.68     Log Creek LLLP         045-001         150.35
     Log Creek LLLP          013-011          430.28     Log Creek LLLP         045-031         187.64
     Log Creek LLLP          013-013            2.00     Log Creek LLLP         047-007         174.50
     Log Creek LLLP          074-015           67.94     Log Creek LLLP         052-030          84.26
     Log Creek LLLP          060-035           14.77     Log Creek LLLP         052-031         415.87
     Log Creek LLLP          060-037          307.50     Log Creek LLLP         056-002         113.02
     Log Creek LLLP          067-065          304.01
     Log Creek LLLP          068-012          282.71
     Log Creek LLLP          016-003          156.67
     Log Creek LLLP          020-003           19.00
     Log Creek LLLP          021-001          316.90
     Log Creek LLLP          021-018           62.83
     Log Creek LLLP          022-014          154.03
     Log Creek LLLP          023-001          320.00
     Log Creek LLLP          023-002          546.63
     Log Creek LLLP          023-016           93.00
     Log Creek LLLP          024-010          162.30
     Log Creek LLLP          024-090           84.67
     Log Creek LLLP          026-002          100.60
     Log Creek LLLP          026-005           73.50
     Log Creek LLLP          056-007          470.40
     Log Creek LLLP          060-001          509.95
     Log Creek LLLP          028-087          355.46
     Log Creek LLLP          029-002          256.54
     Log Creek LLLP          032-004          231.20
                                                                  Total:                        7,772.21
        6.1.2.      Conservation Easement Parcel/Larger Parcel Identification

                     As stated throughout this report, Log Creek LLLP does own property that is
                 considered to be a contiguous parcel. The total Contiguous Family-Owned Parcel of
                 2,546.87 acres, consists of 240.00 acres to be encumbered by the conservation
                 easement and 2,306.87 acres tract (Excluded Tract) excluded from the conservation
                 easement. The 240.00 acres will be valued based on the highest and best use as a
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                 Mining Development and the Excluded Tract will be valued based on the highest and
                 best use as Agricultural/Recreational/Timber Land. As stated throughout this report,
                 there is no proven or known marketable granite reserves on the Excluded Tract. In the
                 “after” method, each tract of land will be valued separately in order to accurately
                 ascertain the value of the Conservation Easement. Finally, it is the appraisers’ opinion
                 that there is a value enhancement for the area excluded from encumbrance by the
                 conservation easement, the Excluded Tract. It is the appraisers’ opinion that a buyer
                 would pay more for the Excluded Tract due to the location of the parcels being
                 located next to the subject property.

                      Based on information provided to the appraisers and their research, no portion or
                 portions of the subject property, the 240.00 acres to be encumbered by the
                 conservation easement, will be excluded from the conservation easement, except for
                 what is noted above, and there are no other adjacent or nearby properties under the
                 same or related ownership that might benefit from the placement of a conservation
                 easement.

        6.1.3.      Enhancement Analysis

                      The appraisers evaluated recent market trends in regard to an increase in value
                 attributed to developments that were near large sections of undeveloped land. It is of
                 note that such properties tend to sell for approximately 5.0% to 25.0% more than
                 comparable properties without such proximity to natural habitats. However, the data
                 is very limited in regards specifically, to a conservation easement adjoining a
                 property. As of the date of appraisal, Log Creek LLLP does own property that would
                 benefit from the conservation easement. As stated throughout this report, it is the
                 appraisers’ opinion, the contiguous acreage (Excluded Tract) is enhanced
                 approximately 5.0% by the conservation easement placed on the subject property of
                 240.0 acres. Also, there are no known partnerships or individuals considered to be a
                 "related person" under Treas. Reg. §1.170A that would benefit from the conservation
                 easement. Accordingly, a reduction in value has been assessed due to the
                 enhancement in value to the Excluded Tract.

                                          Contiguous Parcels
                                    Owner          Parcel #          Acreage
                             Log Creek LLLP      016-026                309.06
                             Log Creek LLLP      016-027                  37.00
                             Log Creek LLLP      016-028                190.10
                             Log Creek LLLP      017-026                558.84
                             Log Creek LLLP      017-016                363.00
                             Log Creek LLLP      026-023                741.87
                             Log Creek LLLP      026-024                107.00
                                                 Total:               2,306.87

                    As stated throughout this report, land non-contiguous to the subject property, is
                 owned by an entity considered to be a “related person” as defined by Treas. Reg.
                 §267(b). It is the appraisers’ opinion that the non-contiguous land owned by a related
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             person does not benefit from the conservation easement being placed on the 240.00
             acres of the subject property. This determination is based on the location of the
             subject property in rural Warren County. It is the appraisers’ opinion that a buyer
             would not pay more for a property located near to a property with a conservation
             easement as the majority of the land in the area is rural land or agricultural land. It is
             the appraisers’ opinion that a buyer would not be influenced by a conservation
             easement due to the rural nature of the area and the availability of undeveloped land.
             A list of the parcels can be found in the chart below.
                            Parcels Considered for Enhancement - Non-Contiguous
               Owner          Parcel #     Acreage           Owner           Parcel #   Acreage
         Log Creek LLLP     004-001         18.00     Log Creek LLLP       038-010      460.30
         Log Creek LLLP     005-018         26.74     Log Creek LLLP       038-037       31.00
         Log Creek LLLP     011-011        160.30     Log Creek LLLP       038-038      280.24
         Log Creek LLLP     011-013         28.38     Log Creek LLLP       038-065       37.04
         Log Creek LLLP     012-004        281.68     Log Creek LLLP       045-001      150.35
         Log Creek LLLP     013-011        430.28     Log Creek LLLP       045-031      187.64
         Log Creek LLLP     013-013          2.00     Log Creek LLLP       047-007      174.50
         Log Creek LLLP     074-015         67.94     Log Creek LLLP       052-030       84.26
         Log Creek LLLP     060-035         14.77     Log Creek LLLP       052-031      415.87
         Log Creek LLLP     060-037        307.50     Log Creek LLLP       056-002      113.02
         Log Creek LLLP     067-065        304.01
         Log Creek LLLP     068-012        282.71
         Log Creek LLLP     016-003        156.67
         Log Creek LLLP     020-003         19.00
         Log Creek LLLP     021-001        316.90
         Log Creek LLLP     021-018         62.83
         Log Creek LLLP     022-014        154.03
         Log Creek LLLP     023-001        320.00
         Log Creek LLLP     023-002        546.63
         Log Creek LLLP     023-016         93.00
         Log Creek LLLP     024-010        162.30
         Log Creek LLLP     024-090         84.67
         Log Creek LLLP     026-002        100.60
         Log Creek LLLP     026-005         73.50
         Log Creek LLLP     056-007        470.40
         Log Creek LLLP     060-001        509.95
         Log Creek LLLP     028-087        355.46
         Log Creek LLLP     029-002        256.54
         Log Creek LLLP     032-004        231.20
                                                              Total:                    7,772.21
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        6.1.4.   Appraisal Approach
                  Typically, two approaches are available for determining the Fair Market Value of
          a conservation easement. The appraisers may value the conservation easement through
          direct comparison with similar conservation easements previously purchased when data is
          available, or the appraisers may value the difference in whole interest of the subject
          property before the conservation easement donation and after the conservation easement
          donation. The difference is widely considered as the “fair market value of the
          conservation easement given up” and is substantiated by the IRS regulation 1.170A-
          14(h)(3) and the publication, Appraising Conservation and Historic Preservation
          Easement, Second Edition, published by the Appraisal Institute. Both substantiating
          documents provide guidance for when a lack of adequate conservation easement sales are
          available by stating: "If no substantial record of comparable marketplace sales (of
          similarly encumbered properties) exists as a general rule the fair market value of an
          easement equals the fair market value of the unencumbered property (pre-conservation
          easement) minus the fair market value of the encumbered property (post-conservation
          easement). IRS Ruling 73-339 states that the proper method of or valuation of a "before
          and after" appraisal calculates "the difference between the fair market value of the total
          property before the granting of the conservation easement and the fair market value after
          the grant." Of note, it is common for the “before and after” methodology to be used in
          appraisal practice; specifically, appraisals where condemnation has taken place.

        6.2.     Scope of Work
             The 2016 Uniform Standards of Professional Appraisal Practice (effective January 1,
          2016) establishes the “Scope of Work Rule” to guide the process of developing assignment
          results. Scope of Work is simply the work undertaken in developing the assignment and
          defined as “the type and extent of research and analyses in an assignment.” The focus of the
          scope of work rule is on ensuring that work undertaken is sufficient to develop credible
          assignment results.

             The purpose of this report is to provide an opinion of the Fair Market Value of the
          Conservation Easement. In order to provide a full understanding of the impact of the
          conservation easement on the subject property, an analysis of the conservation easement
          value is included in this report.

             An appraisal is generally defined as an opinion of value based on the parameters of the
          assignment as of a specified date. The valuation of real estate is based on a process of data
          collection, analysis and conclusions by a nonbiased third party. The purpose and date of this
          appraisal, along with the property rights appraised, have been previously defined. The Scope
          of the Appraisal is based on these definitions as follows.

             Improved (or proposed) income producing property is best valued through the application
          of the three traditional approaches to value, i.e., the Cost Approach, the Sales Comparison
          Approach and the Income Approach. The initial step in the appraisal process is the
          market research phase, whereby basic data is collected and refined from all available
          sources. Data sources include local municipal governments, public records, chambers of
          commerce, private real estate professionals, owners/investors of comparable properties, on-
          site management and/or leasing agents at comparable properties, the actual subject property
          history (when applicable), and real estate publications. The geographic extent of the data
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          research is consistent with the investment market in which the subject property competes.
          This information is verified and cross checked for accuracy and applicability.

             Information relating to the subject property collected also includes ad valorem tax data,
          zoning information, utility availability, floodplain information, topography, frontage, access
          and existing improvements. Building plans are reviewed (if applicable) and the site plan
          studied as to the relationship of the site and the improvements. The improvements are
          inspected to determine the physical condition and functional utility. Other properties in the
          neighborhood are inspected to develop an overall opinion of the character, composition, and
          future trends of the submarket. The consideration of all these factors, acting in concert, leads
          to a conclusion of the highest and best use for the subject property, which is the basis of the
          valuation methodology.

               The Cost Approach is based on the understanding that market participants relate value
          to cost. A prudent investor would pay no more for a property than the cost to acquire an
          equally desirable site and construct improvements of equal desirability and utility without
          undue delay in time. The Appraisal of Real Estate, 15th Edition, provides the following
          definition for the Cost Approach. “In the cost approach, the value of a property is derived
          by adding the appraiser’s opinion of the value of the land to an estimated current cost of
          constructing a reproduction or replacement for the improvements and then subtracting the
          amount of depreciation (i.e., deterioration and obsolescence) in the structures from all
          causes. This approach is particularly useful in valuing new or nearly new improvements
          and properties that are not frequently exchanged in the market.” An inherent weakness in
          the Cost Approach is the required estimation of depreciation. Depreciation from all
          causes, especially obsolescence, can exist even in new properties. The difficulty in
          accurately estimating depreciation tends to weaken the validity of the Cost Approach. Of
          note, Cost Approach techniques can also be employed to derive information needed in the
          sales comparison and income capitalization approaches to value, such as cost-related
          adjustments to account for specific building features and cost-to-cure adjustments to
          address deferred maintenance.
             The first step in the Cost Approach is a valuation of the subject property as though
          vacant. Recent land sales, listings, and contracts are analyzed, along with the most recent
          purchase involving the subject property (if appropriate), to estimate a current value for the
          subject property.

             The second phase of the Cost Approach is estimating the replacement cost of the
          improvements. Replacement cost-new considers typical direct construction costs, plus
          normal indirect costs and entrepreneurial profit. The replacement costs are typically based
          on actual construction costs of similar properties and checked by means of a national cost
          manual. Estimated depreciation, which may include physical deterioration, functional
          obsolescence, and external (economic) obsolescence, is deducted from replacement cost-
          new to derive an indication of depreciated replacement cost. The final step is the summation
          of the land value and the depreciated replacement cost, providing an indication of total
          property value. It should be noted that the subject property is vacant land, thus the Cost
          Approach is not applicable.

             The Sales Comparison Approach is also based upon the theory of substitution as the
          value is estimated by direct comparison of the subject property with comparable properties
          which have recently sold. These comparable properties are verified, with differences
          between the comparables and the subject property noted. The comparable sales are analyzed
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          with sale prices delineated on an appropriate per unit basis. The sale price per unit reflects
          the relationship between sale price and value per unit. The analysis of the sales data includes
          adjustments to the units of comparison based on various dissimilar features and investment
          characteristics.

             The scope of an appraisal for a tract of land is best explained in the 15th Edition of
          The Appraisal of Real Estate (Page 339), published by the Appraisal Institute, as follows:
          “Sales comparison may be used to value land that is actually vacant or land that is being
          considered as though vacant for valuation purposes. Sales comparison is the most
          common technique for valuing land, and it is the preferred method when comparable
          sales are available. To apply this method, data on sales of similar parcels of land is
          collected, analyzed, compared, and adjusted to provide a value indication for the site
          being appraised. In the comparison process, the similarity or dissimilarity of the parcels is
          considered.”

            “The appraiser must perform several tasks in developing an opinion of site value:

          1. Gather data on actual sales as well as listings, offers, and options based on the highest
              and best use.

          2. Identify the similarities and differences in the data.

          3. Identify the highest and best use of each potential comparable sale and then choose the
              appropriate sales for analysis.

          4. Identify units of comparison that explain market behavior.

          5. Adjust the appropriate unit prices of the comparable sales to account for the dissimilar
              characteristics of the site being appraised

          6. Form a conclusion as to the market value of the subject property.”

                During the course of researching applicable properties for use in determining a
          valuation for the conservation easement, sales were located throughout the United States.
          As many comparable sales as possible were located either within the State of Georgia, the
          Southeast or that had similar defining characteristics to that of the subject property within
          the United States. However, an inherent weakness of the Sales Comparison Approach for
          mining developments hinges on the complexity of multi-property sales and the unique
          physical characteristics of each mining site sale being proprietary information. Many of
          the sales associated with mining development involve multiple properties, all of which
          often include differing physical characteristics or mineral resources. Much of the
          information required to adequately analyze the sale, such as quantity and quality of
          reserves or annual production volume and the value of equipment are typically
          considered confidential and propriety, thereby shielded from public knowledge.
          Furthermore, market participants indicate that comparable data is difficult to find with all
          the information necessary to make appropriate adjustments as demonstrated by the
          mineral appraiser, T.R. Ellis of Ellis International Service. Mr. Ellis states: “Minerals
          Appraisers/Valuers often find great difficulty or failure in attempting to employ the Sales
          Comparison Approach to the Market Value Appraisal of development and operating
          stage of mineral properties.
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                An important factor generally overlooked is a comparison of net operating income
          (NOI) margins on a per-unit-of-production basis between mineral properties, whether
          these be demonstrated or forecast margins. NOI margins can vary greatly between mines
          or quarries that are producing similar products. Ultimately, the expected NOI margin
          determines what a buyer is willing to pay for an income producing property.” As a result
          of the difficulty and plethora of work required to adequately use the Sale Comparison
          Approach in determining a supportable value conclusion for properties with subsurface
          material, Mr. Ellis argues in his paper, Sales Comparison Valuation of Development and
          Operating Stage Mineral Properties, “the great majority of appraisals of the market value
          of development and operating stage mineral properties are prepared using only an Income
          Approach Method. The method most commonly used is the Discounted Cash Flow
          (DCF) method, better known in the mining industry as the net Present Value (NPV)
          Method.”

                According to Robert H. Paschall, in The Appraisal of Mineral Producing
          Properties, ASA Valuation, American Society of Appraisers, 1974, “The capitalized
          income method is the only method appropriate to appraise an active construction-rock
          operation.” Furthermore, according to Donald W. Gentry and Thomas J. O’Neil, Dr.,
          Mining Investment Analysis, Society of Mining Engineers, American Institute of Mining,
          Metallurgical, and Petroleum Engineers, Inc. New York, New York, 1986, page 14, “the
          preferred method for mining property valuation and the one universally used in the
          commercial practice is the income approach. Because mines have limited operating
          horizons and because there are well established markets for mineral commodities, the
          income approach is widely used in valuing mineral properties. The approach is used
          commonly by the mining industry in assessing investment rates of return and determining
          appropriate purchase prices for mines or mineral prospects.”

                Surface mining facilities are typically purchased for future income based on
          remaining deposits, grades of material, cost to mine, and processing cost. Mining
          properties are unique, each located in differing markets, possessing differing material,
          and operating at differing levels of development and production. Individual site data is
          often proprietary and considered confidential by the mine operator. Therefore, an investor
          would place more emphasis on an income approach utilizing known site data when
          considering an investment in this type of property.

                Of note, according to the SME Guide for Reporting Exploration Information,
          Mineral Resources, and Mineral Reserves, prepared by the Resources and Reserves
          Committee of The Society for Mining, Metallurgy, and Exploration, Inc., published in
          July 2017, there are three types of technical studies. These studies are:

          -     Scoping Study: A Scoping Study is an order of magnitude technical and economic
              study of the potential viability of Mineral Resources that includes appropriate
              assessments of realistically assumed Modifying Factors together with any other
              relevant operational factors that are necessary to demonstrate that at the time of
              reporting that progress to a Pre-Feasibility Study can be reasonably justified.

          -     Pre-Feasibility Study: A Pre-Feasibility Study is a comprehensive study that may
              include a range of options for the technical and economic viability of a mineral
              project that has advanced to a stage where a preferred mining method, in the case of
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              underground mining, or the pit configuration, in the case of an open pit (surface)
              mine, is established and an effective method of mineral processing is determined. It
              includes a financial analysis based on applicable Modifying Factors and the
              evaluation of any other relevant factors which are sufficient for a Competent Person,
              acting reasonably, to determine if all or part of the Mineral Resource may be
              converted to a Mineral Reserve at the time of reporting. A Pre-Feasibility Study is at
              a lower confidence level than a Feasibility Study.

          -     Feasibility Study: A Feasibility Study is a comprehensive technical and economic
              study of the selected development option for a mineral project that includes
              appropriately detailed assessments of applicable Modifying Factors together with any
              other relevant operational factors and detailed financial analysis that are necessary to
              demonstrate at the time of reporting that extraction is reasonably justified
              (economically mineable). The results of the study may reasonably serve as the basis
              for a final decision by a proponent or financial institution to proceed with, or finance,
              the development of the project. The confidence level of the study will be higher than
              that of a Pre-Feasibility Study.

                Further, according to the CIMVAL Code for the Valuation of Mineral Properties
          prepared by the Special Committee of the Canadian Institute of Mining, Metallurgy and
          Petroleum on the Valuation of Mineral Properties (CIMVAL), the valuation approach
          depends on the stage of exploration or development of the subject property. Properties
          with subsurface material or Mineral Properties can be categorized for convenience into
          four types; however, it should be noted that there are no clear-cut boundaries between
          these types, that the Mineral Property category may change over time, and that it may be
          difficult to classify some Mineral Properties so they fit in only one specific category.
          These categories are:

          -     Exploration Properties: A Mineral Property that does not contain Mineral Reserves
              or Mineral Resources and for which economic viability has not been demonstrated.

          -     Mineral Resource Properties: A Mineral Property that contains a Mineral Resource
              as defined in the CIM Definition Standards, as defined in National Reporting
              Standards, or other estimates of quantity and grade of mineralization that are
              reconciled the with the CIM Definition Standards.

          -     Development Properties: A Mineral Property that contains Mineral Reserves and/or
              Mineral Resources and for which economic viability has been demonstrated by a
              Feasibility Study or Pre-Feasibility Study and includes a Mineral Property that has a
              current positive Feasibility Study or Pre-Feasibility Study but that is not yet in
              production.

          -     Production Properties: A Mineral Property with an operating mine, with or without
              a processing plant, which has been fully commissioned and is in production.

                 As presented in the chart below, the type of valuation methodology is dependent on
          the type of property classification (Exploration, Mineral Property, Development,
          Production) which is derived based on the type of study completed (Scoping, Pre-
          Feasibility, Feasibility).
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                It is the appraisers’ opinion, due to the professional reports provided, the subject
          property is classified as a Development Property with a Pre-Feasibility Study completed
          at a minimum as of the date of this appraisal. A qualified drilling company under the
          guidance of a Professional Geologist drilled the subject property, a Qualified Laboratory
          tested the material, a Professional Geologist along with a Professional Engineer evaluated
          the reserves on-site based on the physical characteristics of a subject property, a mining
          consultant working in tandem with the Professional Geologist and Professional Engineer
          evaluated the supply and demand as well as the target market. Further, the mining
          consultant established the permitting schedule, the market pricing, production schedule,
          the capital expenditures, the operating costs, and the life of mine. All of the above is only
          possible on the subject property as it is a unique property that has the quality and quantity
          of material on-site that is financially feasible to extract. The subject property within this
          appraisal report is unique as detailed in each of the professional reports provided and
          included in the addenda of this appraisal report.

                Due to the indicated challenges, based on our research and experience, we have
          concluded that the Sales Comparison Approach is limited and was not utilized as
          additional support for the Income Approach – Discounted Cash Flow analysis used in
          determining a value opinion. Of note, the appraisers recognize that the Sales Comparison
          Approach should be utilized when it is feasible to do so. However, as is the case with this
          appraisal report, an inherent weakness of the Sales Comparison Approach for mining
          developments hinges on the complexity of multi-property and speculative sales. Many of
          the sales associated with mining development include differing physical characteristics or
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                mineral resources. Much of the information required to adequately analyze the sale, such
                as quantity and quality of reserves or annual production volume and the value of
                equipment are typically considered confidential and propriety, thereby shielded from
                public knowledge.

                      The appraisers endeavored to find sales of land where both the buyer and seller had
                reasonable knowledge of the relevant facts. Specifically, land sales where the seller had a
                qualified drilling company under the guidance of a Professional Geologist drill the
                property, a Qualified Laboratory test the material found from the drill results, a
                Professional Geologist along with a Professional Engineer evaluate the reserves on-site
                based on the physical characteristics of the property, a mining consultant working in
                tandem with the Professional Geologist and Professional Engineer evaluate the supply
                and demand as well as the target market. Further, the mining consultant would have
                established the permitting schedule, the market pricing, production schedule, the capital
                expenditures, the operating costs, and the life of mine. All of the above is only possible
                on a property is unique and has the quality and quantity of material on-site that is
                financially feasible to extract. However, the appraisers were unable to find any land sales
                that had all the above-described due diligence similar to the subject property.

                       The appraisers analyzed sales of mining properties as well as mergers and
                acquisitions of mining companies. It is the appraisers’ opinion that the development of
                the Sales Comparison Approach may provide a misleading value and thus was not
                utilized within this appraisal report.

                      Finally, due to the availability of conservation easement encumbered sales, the Sales
                Comparison Approach was utilized in determining the value opinion for the subject property
                post-conservation easement.

                   The Income Approach analyzes the subject property as an investment recognizing the
                present value of future cash flows. The income approach is integral to investors in
                understanding when considering potential investment properties as it indicates the potential
                return on investment, or future income possibilities, based on the current investment.
                Typically, there are two primary methods in utilizing the income approach, the direct
                capitalization method and the yield capitalization method, often considered the discounted
                cash flow analysis (DCF). According to David Lennhoff, MAI, SRA, there is one constant
                between both methods, the value conclusion as the final value does not change based on
                which method is used.46 Understanding the income approach can be difficult, and as such,
                most appraisers lean towards using the direct capitalization method as it is often easier to
                follow than a DCF.47

                   The Direct Capitalization approach utilizes a five-step process to indicate the anticipated
                future income based on a present-day investment. The five-steps are outlined and briefly
                discussed in the following analysis, in addition to the yield capitalization approach to
                determine the appropriate method for evaluating any income generation from potential
                operations on the subject land. However, the appraisers believe the Yield Capitalization
                Approach, or the DCF method, is the most applicable income approach for the valuation of
                the mine.


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          Lennhoff, David C. MAI, SRA (2011). Direct Capitalization
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             Fundamental Elements of Investment Evaluation

                   Income-producing real estate is typically purchased as an investment and investors
             typically value earning power as the critical element affecting property value. One basic
             investment premise holds that the higher the earnings, the higher the value, provided the
             amount of risk remains constant. An investor who purchases income-producing real
             estate is essentially trading present dollars for the expectation of receiving future dollars.

                    Step 1 is perhaps the most overlooked, but ultimately one of the most important steps
             in the process. Defining the length of the investment, the holding period, allows for the
             proper analysis to be conducted. Without defining the length of time the investor plans on
             holding the property, or a generally used length of time such as five or ten years to aid in an
             estimated Return on Investment, determining the appropriate investment amount for future
             returns over the defined period becomes too arbitrary to adequately predict.

                    Step 2 in the process is determining which income period is appropriate for analyzing
             the first year’s income. “For most real estate investments, the first income period will be one
             year’s net operating income.”48 Deciding what constitutes the first year’s income period
             establishes the starting point for establishing the following periods income, and as such,
             establishing the correct income period for the start of the analysis becomes imperative. The
             potential income periods available for use include the net income expected during the first
             year of ownership, the net income for the trailing year (the income from the year prior to
             new ownership), a stabilized year’s income or the net income before or after replacement
             allowance deductions. 49 Establishing the starting point for net income analysis leads directly
             into the third step, analyzing the potential income from each subsequent period of the
             investment.

                     Step 3 pertains to evaluating and analyzing the income in each subsequent period of
             the investment. This step is important as it allows for the investor to evaluate any anticipated
             income from the following periods. The primary items to consider during step three
             regarding expected future income are whether the income will remain level, will it rise and
             if it rises, will it rise at a standard or variable rate, will it decline or will it be irregular.50

                   Step 4 focuses on reversion. Step 4 and the principle of reversion is directly tied to
             Step 1 in establishing the length of the holding period for the investment. Reversion literally
             applies to the moment when the investment property reverts back to its previous or new
             ownership. This transaction typically has a value associated with the transfer of ownership
             and reversion attempts to capture this value through its analysis. “In a discounted cash flow
             analysis, the reversion amount is frequently estimated as some percentage of the unknown
             present value or by using a terminal capitalization rate and applying direct capitalization at
             the end of the holding period, i.e., dividing one year’s income by a terminal cap rate.”51

                   Step 5, also the final step in the process, determines the yield rate for the investment.
             The yield rate of an investment pertains to the rate of return, inclusive of the initial
             investment, investors expect to receive from the original real estate investment. This yield
             rate helps the investors to decide whether a particular investment property provides adequate
             potential yield compared to the risk associated with the investment. “The present worth of

     48
        Lennhoff, David C. MAI, SRA (2011). Direct Capitalization
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             the cash flows, discounted at the yield rate, results in the amount the investor can afford to
             pay for the investment (its value) if that yield is to be achieved.”52

             Direct Capitalization Method

                    The direct capitalization method is often considered the more straight forward of the
             two methods as a result of requiring only two components for calculation. The two
             components required for the direct capitalization method are the year’s income and the
             overall capitalization rate. The accuracy of this method hinges on the ability to determine the
             correct capitalization rate.53 Examining the contents of The Appraisal of Real Estate reveals
             five methods for determining the overall capitalization rate: Derivation from comparable
             sales, band of investments- mortgage and equity components, band of investments- land and
             building components, derivation from effective gross income multipliers and net income
             ratios and finally, the debt coverage formula.

                    The first method takes sales comparables in the area where a net income for the
             property is available, and then divides the income generated by the sale price. Once the
             rates for the varying sales comparables is generated, the appraiser must reconcile these
             rates into one established rate, similar to the sales comparison approach of valuation.

                   The second method, band of investments involving mortgage and equity
             components, uses one formula to determine the capitalization rate and then another
             formula to establish a value based on the found capitalization rate. The two formulas are
             as follows, where Ro is the capitalization rate, M is the loan-to-value ratio, Rm is the
             Mortgage constant and Re is the Equity Cap Rate. For the second formula Vo is the
             value, NOI is the net operating income and Ro is the Cap Rate.

                                                Ro = M x Rm + (1-M) x Re

                                                          For Value:

                                                       Vo = NOI ÷ Ro

                    The remaining methods of the direct capitalization process only concentrate on
             using one year’s net income rather than a combination of values to determine the overall
             value of the property. 54 As such, simplifying the direct capitalization approach arrives at
             one formula for determining the overall value of the property: Vo = NOI ÷ Ro. Because
             the direct capitalization method boils down to this one formula, most appraisers tend to
             lean towards it use, both because it is straight forward to the reader, the process is
             relatively simple (despite requiring the same level of analysis) and in an attempt to
             eliminate as much confusion as possible from those who do not understand real estate
             valuations fully. Ultimately, the value estimate derived from direct capitalization reflects an
             amount an investor should be justified in paying to receive an annual income over the
             holding period of the property, plus the reversionary value at the end of the ownership
             period.




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        Lennhoff, David C. MAI, SRA (2011). Direct Capitalization
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        Lennhoff, David C. MAI, SRA (2011). Direct Capitalization
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                Yield Capitalization Method

                      The yield capitalization method is similar to the direct capitalization approach in
                analyzing the potential income of a property to determine the real estate’s overall value.
                However, the yield capitalization method, most often analyzed through discounted cash
                flow analysis, differs from the direct capitalization approach by explicitly accounting for
                each of the investment criteria examined in the overall income approach. “The income
                capitalization method using yield capitalization explicitly accounts for each of the five
                investment criteria”.55

                        To perform Yield Capitalization, an appraiser must select an appropriate
                projection period, forecast all future cash flows or cash flow patterns (including the
                reversion, if any), choose an appropriate yield (or discount) rate, convert future benefits
                into present value by discounting each annual future benefit or by developing an overall
                rate that reflects the income pattern, value change, and yield rate using one of the various
                yield capitalization formulas. This method is often played out through the use of the
                discounted cash flow (DCF) method. Using the DCF method, various techniques are used
                to convert a series of future cash flows received into an indication of value as indicated in
                the formula expressed below where DCF represents the potential Cash Flow over the
                holding period of the investment, CFo is the Cash Flow for a respective year and R
                represents the discount rate. The calculated future cash flow indicates the minimum
                return acceptable over the life of the investment based on the initial risk accepted.

                                      DCF = (CFo ÷ ((1+ R)^1)) + ((CFn ÷ ((1+ R)^n))

                      Trevor R. Ellis, MCA, CPG, M. AusIMM, and J. Ballard, Resource Finance
                 Consultant of Ellis International Services in Denver, Colorado discuss and present
                 accepted market rationale for discounted cash flow methodologies and net present value
                 in Valuation Methodologies for Mines and Mineral Tenements. They both recommend
                 DCF as the primary method for valuing operating mines, or mineral assets with an
                 indicated resource and a feasibility study containing engineering, production and capital
                 estimates and operating cost data.

                      Mr. Dennis Kenney, Titan Environmental & Construction Company, Inc., Mr.
                 Stuart Burgess, Burgex Inc. Mining Consultants, Mr. Hans E. Naumann, Jr., P.E.,
                 Marshall Miller & Associates, Inc., Mr. David Grayson, formerly a Division President
                 of a Fortune 500 mining company, Mr. Chris Summers, Burgex Inc. Mining Consultants
                 and formerly a Senior Business Analyst of Nyrstar Corporation and formerly a Principal
                 Analyst of Rio Tinto, and finally, Dr. Capps, Capps Geoscience, LLC, all indicate the
                 appropriate methodology for valuing property with proven mineral reserves is the
                 Income Approach, specifically the Discounted Cash Flow.

                       Detailed property information from the Resource Valuation Report prepared by
                 Dr. Capps, Capps Geoscience, LLC, is included in the Addenda. The Resource
                 Valuation Report details market information, experience as a consultant and expertise in
                 mine development. The information contained in the aforementioned report profiles the
                 income stream and all the necessary expenditures, expenses, and yearly operation of the
                 mine. The appraisers have determined that the most preferred approach to value is the
                 Discounted Cash Flow analysis supported with reliable market data made available in

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           the Resource Valuation Report. The DCF method was accepted as the correct method as
           evidenced by Whitney Benefits and Peter Kiewit Sons’ v. The United States, 1989 (18-
           CL. CT. 394), where the plaintiffs allege their land mineable for coal was taken without
           fair market compensation by the defendants, the United States. After establishing the
           existence of a sustainable market and ability to mine the coal, the plaintiff and
           defendants presented arguments pertaining to the appropriate method for establishing the
           fair market value of the land without the ability to physically mine. The defendants
           urged the courts to consider the Sales Comparison Approach as the primary method of
           valuation in addition to presenting the Royalty Method as an alternate to the DCF
           analysis presented by the plaintiffs as the appropriate method for determining the fair
           market value of the land. The courts dismissed the Sales Comparison approach as a
           reliable method in determining the fair market value, due in part, to the vast differences
           found between mineable land within a given market area. As such, the courts focused on
           determining the reliability of the DCF analysis and the royalty method, determining the
           DCF as the most reliable method for determining the fair market value of mineable land.
           The court stated: “Rather than value the Whitney coal as a fee interest of the two
           plaintiffs as lessor and lessee, defendant’s valuations focus only on the interest held by
           Whitney Benefits. Thus, in both of its valuations, defendant has disregarded the
           leasehold interest owned by PKS and merely analyzed the royalty income Whitney
           could have expected to receive.” The key component of the DCF analysis is its ability to
           determine the value of the land based on the fee simple interest rather than either one or
           the other, the leased fee interest or the leasehold interest individually. Furthermore, the
           defendant’s expert witness, Dr. John Weir, stated the royalty method exists as a
           subsection of the Discounted Cash Flow analysis rather than a stand-alone method
           separate from the DCF analysis.

                   According to Svetlana Baurens in, Valuation of Metals and Mining Companies,
           the DCF method is not applicable without “reasonably assured mineral reserves.” This
           plan should include rates, test results, capital and operating cost, environmental and
           reclamation cost, and any other necessary projections. Ms. Baurens states, “It must be
           taken into consideration that DCF is not applicable to early-stage projects without
           reasonably assured mineral reserves, workable mining plants with rates, metallurgical
           test results and process recoveries, capital and operating cost estimates, environmental
           and reclamation cost estimates and commodity price projections. The reason of this is
           the theory behind DCF: the value of every asset is simply the present value of the cash
           flows this asset produces over the lifetime. One must have enough information that we
           can reasonably estimate cash flows from production. Therefore, DCF is only appropriate
           for mineral properties in production, very near production or for mineral properties at
           the stage of development. In these cases, the economic viability of the property will be
           based on preliminary estimates of production, revenue and cost. Despite the preliminary
           nature of the underlying estimates, it is still generally accepted that discounted cash flow
           analysis is the best method of valuing mineral properties at this stage of development.”

                 As stated throughout this report, the subject property has proven mineral reserves.
          Further, this report details projected pricing, test results, capital and operating costs,
          environmental and reclamation costs, and other necessary projections for the use of a
          DCF analysis. Therefore, it is the appraisers’ opinion the use of the DCF method was
          applicable.
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                  The subject property’s location in Georgia and its physical characteristics
          (existing granite deposits), along with the information and recommendations from Dr.
          Capp’s Resource Valuation Report, establishes a discounted cash flow analysis reflecting
          a mining property as the most reliable method accepted by the industry and has been
          developed. The expert reports provide enough information that the appraisers can
          reasonably estimate a value opinion using a cash flow. It is the appraisers’ opinion that
          since mining developments have irregular income patterns, generate income over time,
          and have depleting resources, the best methodology to value the land is the Income
          Approach, specifically the Discounted Cash Flow Analysis.

          Royalty Method

                   An additional approach, the Royalty Method, is the present value of the income
          stream based on market comparable royalty rates for mined material over the extraction
          period. Royalty payments are usage-based payments made by one party (the lessee) to
          another (the lessor) for use of an asset in order to execute the right to extract mineral
          reserves. Royalties are typically paid as a percentage of gross sales and alternatively paid
          as a percentage of net profits or, in some instances, a fixed price per unit sold. A royalty
          is the right to collect a stream of future royalty payments based on usage and the royalty
          stream method present values the royalty revenues to provide an estimate of value.

                  The most significant weakness in the royalty stream method is that the present
          value of an income stream derived from royalties would reflect only a lessor interest in
          the mineral right and, therefore, fails to take into account all of the value of fee simple
          ownership. This is because fee simple ownership of a mineral interest carries a greater
          bundle of rights than that of a lessor interest, as it would include both lessor AND
          leasehold ownership rights. Thus, the royalty stream method captures fewer sticks within
          the bundle of ownership, whereas much greater rights are accorded to a fee simple
          interest. The royalty stream method can estimate only the value associated with a lessor’s
          ownership interest. In contrast, the DCF method can capture all of the rights associated
          with the fee simple interest in a site that specifically considers the location and mine plan.

                  Simply stated, the royalty stream method fails to capture the value of all of the
          rights of fee simple ownership in real estate that is successfully captured in a correctly
          conducted discounted cash flow valuation. It does not take into account the benefits from
          determining a specific mine plan for the subject property or where the mineral reserves
          will be processed and sold. It does not capture the economic benefits that may accrue in
          excess of royalty payments derived from market ‘comparable’ data to a fee simple owner,
          or properly consider the quality of mineral reserves at a particular location, nor does it
          capture unique characteristics of the mine site that result in lower costs or better access to
          markets. It is still a useful method of support to a cash flow method. However, the DCF
          method enables the appraiser to measure all issues that must be considered in any
          valuation assignment so that value is not overlooked. Fee simple ownership of a mineral
          interest is more valuable than a lessor interest only, which does not consider the real
          estate value that may accrue to the lessee as a leasehold interest. Fee simple ownership
          carries with it the power and incentive to develop the owner’s unique plan to mine and
          derive maximum value from the property. The DCF method, as outlined here, captures all
          of the fee simple rights retained by the owner of the subject property to an extent that the
          royalty stream method cannot.
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                   Industry professionals and peers were consulted to determine whether the Royalty
           Method held merit in determining the market value of a conservation easement, with the
           consensus of the industry being, the Royalty Method does not adequately provide a
           strong indication of overall value due to its challenge in expressing a value based on fee
           simple ownership. The mineable land condemnation court case from 1989, Whiney
           Benefits and Peter Kiewit Sons’ v. The United States, 1989 (18-CL. CT. 394), clearly
           supports the industry consensus and determines that the DCF analysis provides a reliable
           method for determining the fair market value of a potential mining development, while
           rejecting the royalty method. In summary, the defendant, The United States, presented a
           valuation based on the Royalty Method technique by means of two separate streams of
           income in an attempt to countermand the DCF analysis presented by the plaintiffs in the
           case. The court primarily rejected the royalty method for valuation based on its inability
           to provide a valuation based on a fee simple interest, composed of both the leased fee
           position and the leasehold position. The court stated: “Rather than value the Whitney coal
           as a fee interest of the two plaintiffs as lessor and lessee, defendant’s valuations focus
           only on the interest held by Whitney Benefits. Thus, in both of its valuations, defendant
           has disregarded the leasehold interest owned by PKS and merely analyzed the royalty
           income Whitney could have expected to receive.” Furthermore, the defendant’s expert
           witness, Dr. John Weir, stated the royalty method exists as a subsection of the Discounted
           Cash Flow analysis rather than a stand-alone method separate from the DCF analysis.

                   Regardless, and in an effort to ensure due diligence regarding the valuation of the
           conservation easement, the appraisers sought royalty rates data, ultimately locating
           information on royalty rates. However, the data collected from the market is general, non-
           specific to a property, and has been determined by the appraisers to be unverifiable and
           inapplicable to the valuation of a conservation easement. As such, the appraisers believe
           that the royalty method does not appropriately value the overall property. Therefore,
           based on the above analysis, it is the appraisers’ opinion the royalty method does not
           adequately provide a measure of value and is not used in the appraisal.

     Geographical Area Covered

                   The subject property is a unique property in that its most probable highest and
           best use is as a mining site. Additionally, according to the guidelines established by the
           Appraisal Institute in the 15th Edition of The Appraisal of Real Estate, “The nature of the
           data collected is greatly dependent on the scope of the assignment, the property type
           being appraised, and the market conditions within the market area identified by the
           appraiser...A good comparable sale is a competitive alternative, i.e., a property that the
           buyer of the subject property would also consider. The selection of comparable sales is
           directed to some extent by the availability of data.” The Appraisal of Real Estate further
           discusses the importance of including regional or national markets based on the subject’s
           property type or scope of the intended use. “The geographic limits of the appraiser’s
           search for sales data depend on the nature and type of real estate being valued and the
           available sales information. Certain types of properties have regional, national, and even
           international markets. Similarly, an appraiser may gather data from a wide geographic
           area to find competitive properties for a regional shopping mall, large office building,
           resort hotel, large multiuse complex, or large industrial property” (Page 384).
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                   As such, comparable land sale requirements for conservation easements are much
           more specific and encompass wider search parameters in terms of proximity to the
           subject property, the 240.00 acres to be encumbered by the conservation easement, than
           would be typical for a standard property valuation.

                   Sales of properties with similar unique characteristics, specifically, proven
           mineral reserves, similar market, similar physical site characteristics, quality and quantity
           of the reserves, etc. were researched. A further limiting characteristic of the subject area
           revolves around the transportation costs associated with the transport and distribution of
           any resources mined within the subject area, as presented further in the Highest and Best
           Use and Discounted Cash Flow sections. Due to the unique nature of the subject
           property’s Highest and Best Use, as well as the transportation barriers, the comparable
           sales utilized from other states are impacted by the same transportation cost restraints,
           solidifying their applicability as comparable sales. Of note, the typical purchasers of
           properties with a similar highest and best use as the subject property (mining) are often
           mining companies that seek opportunities for expanding operations on a regional or
           national basis. Surface mining facilities are typically purchased for future income based
           on remaining deposits, grades of material, cost to mine, and processing cost. Mining
           properties are unique, each located in differing markets, possessing differing material,
           and operating at differing levels of development and production. Individual site data is
           often proprietary and considered confidential by the mine operator. Therefore, an investor
           would place more emphasis on an income approach utilizing known site data when
           considering an investment in this type of property.

     Time Period Searched

                   Due to the uniqueness of the subject property being appraised, every effort was
           made to find the most current data available relative to the sales analyzed in this report
           from 2015 through the effective date of the appraisal. The specific nature of the highest
           and best use of the subject property required broader search parameters considering the
           date of sale to capture an adequate quantity for analysis both for land sales before
           implementation of a conservation easement as well as land sales encumbered by a
           conservation easement.

     Types of Market Data Researched

                    Land sales with similar locations, physical traits, zoning and highest and best use
           characteristics were analyzed in conjunction with ad valorem taxes, zoning information,
           utility availability, floodplain information, topography, existing improvements and the
           relevant frontage and access. Furthermore, the appraisers consulted agencies (non-
           inclusive) such as the Chamber of Commerce, the County Development Authority, State
           Department of Labor Office, Regional Commission, Federal and State Department of
           Transportation, U.S. Census Bureau, Environmental Protection Division, Utility
           Corporations and local websites.

     Extent of Market Data Confirmation

                  When dealing with a specialized property, such as a property with mineral
           reserves, appraisers are encouraged, to consider any available reports from competent
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           experts in that field. The appraisers took sufficient steps, common in the industry, to
           ensure the market data presented in this report are deemed accurate and reliable. The
           appraisers have made every attempt to confirm and authenticate any expert provided
           information. The reviewed expert provided information was determined to be reliable and
           to the best of the appraisers’ knowledge, accurate. Market data included in this report was
           verified through multiple sources such as, public records of deeds and easements,
           subscription data sources, including CoStar among others, and interviews with brokers
           and/or grantors and grantees. Based on the credentials of Dr. Capps, Capps Geoscience
           and Mr. Ben Black, Professional Geologist, there is no reason at this time to suspect that
           the provided information is not credible. Based on the credentials and appraisers’
           investigation of that information, the appraisers found the analyses credible and reliable.

     References and Data Sources Used

                   The appraisers referenced several reports prepared by industry leaders as an aid in
           determining an appropriate value conclusion. The reports referenced, and included in the
           Addenda of this Report, include the Resource Valuation Report – Log Creek Quarry Site
           prepared by Dr. Capps, Capps Geoscience, LLC, the Report of Preliminary Subsurface
           Exploration, Geological Evaluation, and Resource/Reserve Statement prepared by
           GeoLogic, LLC (Consulting Geologists), the Surface Mining Land Use Plans prepared by
           GeoLogic, LLC, and the Baseline Documentation Report prepared by Oconee River Land
           Trust, Inc.

                    The appraisal of property with subsurface material requires a number of different
           disciplines. A qualified drilling company under the guidance of a Professional Geologist
           to drill the property, a Qualified Laboratory for testing of the material, a Professional
           Geologist along with a Professional Engineer to evaluate the reserves on-site based on the
           physical characteristics of a property, a mining consultant working in tandem with the
           Professional Geologist and Professional Engineer to evaluate the supply and demand as
           well as the target market. Further, the mining consultant will establish the permitting
           schedule, the market pricing, production schedule, the capital expenditures, the operating
           costs, and the life of mine. Finally, a qualified appraiser, one who specializes in
           appraisals with subsurface material, will analyze all of the data provided from the
           experts/professionals above to perform a qualified appraisal. All of the above is only
           possible on a unique property that has the quality and quantity of material on-site that is
           financially feasible to extract. The subject property within this appraisal report is unique
           as detailed in each of the professional reports provided and included in the addenda of
           this appraisal report.

     Conclusion

                  The information included in this report associated with the subject property
           regarding the tonnage estimates, expected yield, expenses, expenditures, reserves and
           resources over the life of the mine lends itself to use of the Income Approach in
           determining a value opinion. As such, we have utilized the Income Approach as the
           primary method in arriving at a value conclusion. The Sales Comparison Approach was
           deemed nonapplicable. The Royalty Method is not a meaningful indicator of fee simple
           value and there are no on-site improvements on the subject property. Thus, the Cost
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            Approach and the Royalty Method were not utilized in determining a value opinion for
            the Fee Simple Interest of the property.

     6.3.   Before Conservation Easement

        6.3.1. Highest and Best Use

                Highest and Best Use is defined in Chapter 17 Page No. 305, in the 15th edition of
            "The Appraisal of Real Estate," published by the Appraisal Institute, and adopted by
            Treasury Regulation § 170, as the reasonably probable use of property that results in the
            highest value, as of the date of the appraisal.

                One must consider the facts known as of the valuation date. At the time there was
            core drilling, lab testing, geological analysis, and market analysis completed and
            considered. These specific aspects changed the highest and best use of the subject
            property.

                 The highest and best use is described by the Appraisal Institute as the reasonably
            probable and legal use of vacant land or an improved property that is physically possible,
            appropriately supported, financially feasible and results in the highest value. The four
            criteria of the highest and best use include legal permissibility, physical possibility,
            financial feasibility, and maximum productivity. Alternatively, the probable use of land
            or improved specific property with respect to the user and timing of the use is adequately
            supported and results in the highest present value. This determination is not based on
            quantitative means nor is it a fact to be found, but instead relies heavily on the appraisers’
            judgment as well as his analytical skill. It is of note that the highest and best use may
            differ from the existing use when there are existing improvements, or changes such as the
            discovery of oil or core drilling of other minerals.

                The purpose of determining the Highest and Best use for a specific property is to
            identify the demand for most profitable potential uses, identify demand for particular
            property types, compare cost and value if specific market criteria are fulfilled, then of the
            appropriate potential uses to determine the use that produces the maximum value.

            Potential Income From Mining Development

                 Our research and analysis of the subject property, reinforced by drill site tests and
            geologic scrutiny by Richard Capps, PhD, Georgia RPG, SME Registered Geologist of
            Dr. Capps, Capps Geoscience, LLC, has resulted in the conclusion that the subject
            property has the potential to become a granite mine. Granite is the rock most often
            quarried as dimension stone (a natural rock material that has been cut into blocks or slabs
            of specific length, width, and thickness). Granite is hard enough to resist most abrasion,
            strong enough to bear significant weight, inert enough to resist weathering, and it accepts
            a brilliant polish. These characteristics make it a very desirable and useful dimension
            stone. Most of the granite dimension stone produced in the United States comes from
            high-quality deposits in five states: Massachusetts, Georgia, New Hampshire, South
            Dakota, and Idaho. Granite has been used for thousands of years in both interior and
            exterior applications. Rough-cut and polished granite is used in buildings, bridges,
            paving, monuments, and many other exterior projects. Indoors, polished granite slabs and
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             tiles are used as countertops, tile floors, stair treads, and many other practical and
             decorative features. However, granite is frequently selected because it is a prestige
             material, used in projects to produce impressions of elegance, durability, and lasting
             quality. Granite is also used as a crushed stone or aggregate. In this form it is used as a
             base material at construction sites, as an aggregate in road construction, railroad ballast,
             foundations, and anywhere that a crushed stone is useful as fill. The high price often
             reduces the popularity of a construction material, and granite often costs significantly
             more than man-made materials in most projects, however, granite is most frequently
             selected due to its durability. 56 The potential income analysis and detailed business plan,
             as a result of the mining development, was supplied by Dr. Capps, Capps Geoscience,
             LLC and is provided in the Addenda.

                  The standard coarse aggregate specific gravity test is ASTM C-127. Specific
             gravities can vary widely depending upon aggregate type. Typically, aggregate used in
             Hot Mix Asphalt (HMA) production will have a bulk specific gravity between about
             2.400 and 3.000 with 2.700 being fairly typical of granite used for aggregates. The
             specific gravity for this subject property average 2.66, which is not only good for HMA
             material but can be good for many other applications, including general purpose stone,
             stabilized base, general fill, and sub-grade stabilization. 57

                 The Resource Valuation Report concludes: “The results of testing three
             representative samples from the core holes showed that the rock is of excellent aggregate
             quarry quality.” 58

             Products/Materials Available on the Subject Property

                  The subject property is located within the eastern Piedmont Physiographic Province
             and within the Inner Piedmont lithotectonic belt (Gore, 2013). The Inner Piedmont
             includes rocks that were once portions of islands and sedimentary and volcanic rocks
             associated with a pre-Atlantic ocean basin (Clark,2008). Due to plate tectonic motions,
             this basin slowly closed resulting in deformation and regional metamorphism of the older
             rocks, and during late stages, the Alleghanian Orogeny which formed the southern
             Appalachian Mountains (Hatcher, 1978). The rocks are metamorphosed to varying
             degrees by burial and compression which caused changes in pressure and temperature
             with little change in composition. Although the bulk chemical composition of the rock
             changed very little during metamorphism, new minerals formed to match the new
             pressure and temperature conditions. The relative intensity of these metamorphic changes
             is related to the structural history of the rocks. Most major rock types of the Earth’s crust
             are included in the original pre-metamorphic lithologies of the region. In general, most of
             the rocks have been deformed (folded, faulted, and/or crushed) and metamorphosed at
             least four times and each of these deformations correspond to major tectonic events such
             as continental collisions, rapidly sinking basins, or rising mountains. Towards the end of
             the Alleghanian Orogeny (about 350 to 270 Ma), granitic plutons were intruded into the
             previously deformed and metamorphosed rocks. These plutons include the Appling, Ben
             Hill, Danburg, Elberton, Palmeto-Tyrone, Panola, Sparta, Stone Mountain, and Town
             Creek plutons (Lawton, 1976, Dallmeyer, 1978, and Dallmeyer, 1981). Geologists
     56
        Geology.com/rocks/granite
     57
        Report of Preliminary Subsurface Exploration, Geological Evaluation, and Resource/Reserve Statement
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        Resource Valuation Report, Capps Geoscience, LLC.
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                determine the geologic history of the region by mapping the surface and subsurface
                distribution of these rocks, structural elements such as low and high angle faults and
                folds, and studying the chemistry and mineralogy of the rocks in detail. These studies
                identify the rock types and geologic settings in which to discover economically
                productive sources (deposits) of mineral resources such as the crushed stone aggregate
                and dimension stone resources of the Sparta granite. 59




                                                   Subject




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          Resource Valuation Report, Capps Geoscience, LLC.
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                                           Subject




               The regional geology is well represented in the subject property’s project area. The
          pre-metamorphic rocks are Late Proterozoic or early Paleozoic in age, and these were
          metamorphosed up to staurolite-amphibolite grade in the Devonian Period, about 365
          million years ago (Dallmeyer, 1978). About 300 million years ago the body of granitic
          magma that would form the Sparta Granite intruded these metamorphic rocks, and
          subsequently cooled and solidified. Geologic mapping and geophysical studies estimate
          that the nearby Elberton granite is over 35 miles (56 km) long, six miles (9 km) wide, and
          two to three (3.0 to 5.0 km) miles in depth (Cook, 1979) and the Sparta Granite is likely
          of similar size. The contacts of the Sparta Granite with surrounding wall rocks are
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                generally sharp. This contact relationship suggests that the magma body rose through the
                surrounding rocks by diking and displacement rather than being derived from partial
                melting of the adjoining rocks. The conditions during crystallization of the granite must
                have been nearly hydrostatic (equal pressure in all directions) because the composition
                and texture of the Sparta Granite is very uniform throughout its outcrop area. Foliation is
                most prevalent along the margins of the pluton. These foliations are likely due to late-
                stage flow foliation within the granite and not metamorphic foliations (Shroeder, 2010).
                The mineralogical composition of the Sparta Granite includes quartz, oligoclase feldspar,
                microcline feldspar, and biotite mica. Common accessory minerals are sphene, zircon,
                allanite, magnetite, and ilmenite-hematite. Locally zones of muscovite mica (light
                colored) chlorite (light green micaceous mineral) are present. Pegmatitic and aplitic dikes
                and segregations rarely cut the granite (Watkins, 1902; Dvoracek, 2003). 60

                     Weathering and Alteration

                     In their October 2018 report (Appendix A), GeoLogic, LLC concluded that the
                overburden thickness in the quarry area varies from five to a maximum of 54 feet and
                averages about 26 feet thick in the proposed pit area and according to the Resource
                Valuation Report, Dr. Capps, Capps Geoscience, LLC agrees with these conclusions.
                This equates to ultimately removing approximately 2.29 million cubic yards of
                overburden from the 68-acre ultimate pit. Most of the overburden will be incorporated
                into privacy berms surrounding the plant, quarry, and overburden storage areas. Any
                remaining overburden will go to the designated overburden storage area at the subject
                property. 61




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          Resource Valuation Report, Capps Geoscience, LLC.
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          Resource Valuation Report, Capps Geoscience, LLC.
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              Drilling and Field Work

               To obtain specific subsurface data, exploration of the subject property was conducted
          in general accordance with ASTM Practice D-420. The subject property was visited on
          June 6 and June 14, 2018 by GeoLogic, LLC’s geologist. Test locations were selected at
          those times and staked in the field. Drilling activities were performed between October 1
          and October 3, 2018. GeoLogic, LLC advanced four (4) rock core borings (B-1 through
          B-4) as depicted on the map below to termination depths ranging from 65 to 150 feet
          below existing grades. Typically, to perform coring, steel casing is initially set in the hole
          and drilled through the overburden soils to prevent caving. All the borings that were
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                advanced were done so at the bedrock interface, which occurred at depths ranging from 0
                to 54 feet below ground surface. Refusal materials are then cored according to ASTM D-
                2113, using a diamond-studded bit (NQ designated bit, 1-7/8 inches in diameter) fastened
                to the end of a hollow, double-tube core barrel. The core barrel is rotated at high speeds
                with cuttings brought to the surface by circulating water. Core samples of the material
                penetrated are protected and retained in the swivel-mounted inner tube. Upon completion
                of each core run, the core barrel is brought to the surface, the core recovery is measured,
                the samples are removed, and the core is placed in boxes for transportation and storage. 62

                     The core samples are returned to the laboratory where the materials are identified
                and the percent core recovery and rock quality designation (RQD) are determined by a
                geologist. The percent core recovery is the ratio of the sample length obtained to the
                depth drilled, expressed as a percent. The RQD is obtained by summing up the length of
                core recovered, including only the pieces of core that are four inches or longer, and
                divided by the total length drilled. The percent core recovery and RQD are related to the
                soundness and continuity of the refusal material. Refusal material descriptions and
                recoveries are shown on the boring records in the Appendix of the Report of Preliminary
                Subsurface Exploration, Geological Evaluation, and Resource/Reserve Statement. Their
                locations are indicated on the attached Site and Boring Location Plan. Photographs of the
                rock cores collected during the sampling program are also included in the Appendix of
                the Report of Preliminary Subsurface Exploration, Geological Evaluation, and
                Resource/Reserve Statement. 63




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                     Test Procedures and a Key to Symbols and Classifications are found in the appendix
                of the Report of Preliminary Subsurface Exploration, Geological Evaluation, and
                Resource/Reserve Statement. A Glossary of Terms used throughout this report is
                included in the appendix of the Report of Preliminary Subsurface Exploration, Geological
                Evaluation, and Resource/Reserve Statement. Refusal material descriptions and
                recoveries are shown on the boring records found in the appendix of the Report of
                Preliminary Subsurface Exploration, Geological Evaluation, and Resource/Reserve
                Statement. Some examples of the drilling and rock core that were recovered during
                drilling are depicted below. 64




                     Soil (overburden) was encountered at depths ranging from 0 to 54 feet below the
                ground surface (feet-bgs) in all the borings. Refusal is a designation applied to any
                material that cannot be further penetrated by the soil drilling process and is normally
                indicative of a very hard or dense material, such as boulders, rock lenses, or the upper
                surface of bedrock. The borings were extended below the top of bedrock using rock

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             coring techniques to boring termination depths of 65 to 150 feet below the ground
             surface. Rock cores recovered ranged from 0 to 150 feet in boring B-1, 54 to 141 feet in
             boring B-2, 15 to 65 feet in boring B-3, and from 33 to 91 feet in boring B-4 were
             described as strong to very strong, solid, Granitic Gneiss. The recovery (REC) and RQD
             of these samples were typically between 14.0% and 100.0%; and the rock was generally
             harder and less weathered with depth. 65

                 Groundwater levels were checked in the borings at the time of exploration.
             Groundwater was not encountered in borings performed above auger refusal depths.
             Fluctuation in groundwater may occur with rainfall variation, construction, surface
             runoff, and other factors. However, it does not appear that groundwater will significantly
             impact the proposed construction. Groundwater should be expected at deeper depths
             within the pit area. 66

                  Laboratory Testing

                 Rock cores recovered from the borings performed were subjected to additional
             laboratory tests to determine the physical properties of the subsurface rock.

                  The following laboratory tests were performed:

                  o LA Abrasion Test (AASHTO T-96/ASTM C-131)
                  o Specific Gravity and Absorption of Coarse Aggregate (AASHTO T-255/ASTM
                     C-127)
                  o Clay Lumps and Friable Particles in Aggregate (AASHTO T-112/ASTM C-142)
                  o Aggregate Soundness Test (ASTM C-88)

                 The test results indicate that the samples obtained meet both Georgia DOT and South
             Carolina DOT specifications for use as Group II Class A aggregates for both fine and
             coarse aggregates used in concrete and roadway materials. 67




                 The American Society for Testing Materials (ASTM) develops their standards
             through a consensus of its members and these standards are used throughout the world.
             The American Association of State Highway Officials (AASHTO) is a standards-setting

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            body which publishes specifications, test protocols, and guidelines and are used in
            highway design and construction throughout the United States. The AASHTO also
            represents not only highways, but air, rail, water, and public transportation as well.
            Furthermore, the AASHTO develops its standards by subcommittees with representation
            from Departments of Transportation across America as well as the Federal Government.
            It is not uncommon for AASHTO Standards to reference an ASTM standard, thereby
            making it essentially a part of their specification, which allows those AASHTO
            accredited labs to test multiple states by following those standards.

                In the following analysis, the term “aggregate” is used to identify all classes of
            crushed stone used in construction materials.

     LA Abrasion

            The Los Angeles (L.A.) abrasion test is a common test method used to indicate
            aggregate toughness and abrasion characteristics. Aggregate abrasion characteristics are
            important because the constituent aggregate in hot mix asphalt (HMA) must resist
            crushing, degradation and disintegration in order to produce a high quality HMA.
            Aggregates undergo substantial wear and tear throughout their life. In general, they
            should be hard and tough enough to resist crushing, degradation and disintegration from
            any associated activities including manufacturing, stockpiling, production, placing and
            compaction. Furthermore, they must be able to adequately transmit loads from the
            pavement surface to the underlying layers and eventually the sub-grade. Aggregates not
            adequately resistant to abrasion and polishing may cause premature structural failure
            and/or a loss of skid resistance. There is no federal standard L.A. abrasion specification
            for Superpave mix design; specifications are typically established by state or local
            agencies. Typically, U.S. state specifications limit the abrasion of coarse aggregate for
            HMA use to a maximum ranging from 25.0% to 55.0%, with most states using a
            specification of 40.0% to 45.0%. The LA abrasion test yielded an average of 42.0%.

     The average value for this property of coarse aggregates is 42.0%.

                 Typical L.A. Abrasion loss values for granite range from 27.0% to 49.0% (by
            percent weight). The standard utilized by most states is AASHTO T96 or ASTM C131:
            Resistance to Degradation of Small-Size Coarse Aggregate by Abrasion and Impact in
            the Los Angeles Machine.

     Coarse Aggregate Specific Gravity

                Aggregate specific gravity is needed to determine weight-to-volume relationships
            and to calculate various volume-related quantities such as voids in mineral aggregate
            (VMA), and voids filled by asphalt (VFA). The standard coarse aggregate specific
            gravity test is ASTM D854. Specific gravities can vary widely depending upon aggregate
            type. Typically, aggregate used in Hot Mix Asphalt (HMA) production will have a bulk
            specific gravity between about 2.400 and 3.000 with 2.700 being fairly typical of granite
            used for aggregates.

        The specific gravity average for this property is 2.66, which is not only good for HMA
     material but also good for many other applications.
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     Soundness Test

                        The soundness test (AASHTO T-104, ASTM C-88) determines an aggregate’s
                resistance to disintegration by weathering and, in particular, freeze-thaw cycles. The most
                common soundness test involves repeatedly submerging an aggregate sample in a
                saturated solution of sodium or magnesium sulfate. This process causes salt crystals to
                form in the aggregate pores, which simulate ice crystal formation. The basic procedure is
                as follows (from Roberts et al., 1996[1]): (1) Oven dry the sample and separate it into
                specific sieve sizes. (2) Immerse the sample in a saturated solution of sodium or
                magnesium sulfate and let it remain at a constant temperature for 18 hours. (3) Remove
                the sample from the solution and dry to a constant weight at 110 ± 5oC (230 ± 9oF). (4)
                Repeat this cycle five times. (5) Wash the sample to remove the salt; then dry. (6)
                Determine the loss in weight for each specific sieve size and compute a weighted average
                percent loss for the entire sample. GDOT specification is less than 15.0%.

     This property has a Magnesium Sulfate Soundness loss of 0.25%.

                    A review of all test results indicates the granite material passes the Georgia
                Department of Transportation standards for use in all coarse aggregate applications. Since
                Departments of Transportation have the most stringent test requirements and the
                materials do meet DOT standards, they also meet the specifications and requirements for
                general construction applications, they can and will be used as such.

     Reserve Estimate

                     The acreage owned or leased cannot typically be mined completely. Setbacks from
                easements, roads, property lines, pit slope angles, excessive overburden, and non-mine
                related areas of the property (e.g., plant, stockpiles, ramps, access roads, etc.) reduce the
                available acreage for mining. This subject property is uniquely positioned such that there
                is excellent access to highways for transporting the mined material to market. For the
                subject property’s proposed quarry site, it was estimated that of the available 240 acres,
                approximately 70± acres on the tract are mineable. Additional investigation of areas
                further south and southwest of previously examined parts of the site could change this
                estimate (up or down). This reserve estimate is based on the assumption that the quarry
                depth will extend to approximately 100 feet below competent bedrock. 68

                     It is likely that the quarry could be extended to much greater depths depending on the
                quarry plan and other factors outlined above. Based on drill log data, the proven/probable
                proven volume is predicated on a quarry with a depth of 150 feet below the top of
                bedrock. As noted previously, a variable overburden thickness is present at the site with
                soils above bedrock ranging from 0 to 54 feet. Removal and possible reuse (e.g.,
                reclamation) or sale of this material is an alternative rather than disposal. The average
                specific gravity of the rock of 2.66 was estimated from laboratory testing. The resultant
                unit weight of the rock is estimated at 165 pounds per cubic foot (pcf), from this, the




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                calculated volume-tonnage conversion factor for the rock is 3,594 short tons per acre per
                foot (tpa-ft). The following table summarizes the estimated reserves. 69




                    The Reserve Statement represents the minimum quantity of rock available in the
                proposed quarry and includes a loss factor of 15.0% to account for material lost during
                crushing, washing, and screening, internally used material, poor-quality rock, and wasted
                material, as well as nonsalable fines.

                     Of note, according to the Resource Valuation Report prepared by Dr. Capps, Capps
                Geoscience, LLC, the 85-million-ton resource within the ultimate 68-acre pit is a
                conservative estimate of measured (36.4 million tons) and indicated (48.6 million tons)
                aggregate resource at the subject property’s quarry site. However, as noted above, the
                Proven/Probable Proven (short tons) is 37,737,000 tons. In 2020 Log Creek LLLP
                requested a Surface Mining Land Use Plans report from GeoLogic, LLC, in order to
                obtain a detailed mine plan of the subject property. As presented below, the mine plan
                detailed 36,240,000 tons of rock to a depth of 200 feet from the top of rock. Further, Log
                Creek, LLLP asked GeoLogic, LLC if it were possible to mine the subject property
                deeper based on the mines in the area, based on their depths, and the geology of the area.
                GeoLogic, LLC stated: “GeoLogic, LLC recommends a maximum of 50,000,000 short
                tons of mineable reserve. This revised estimate is based on a revision to the mine plan to
                consider resource that is available from elevation 200 to elevation 100 (an additional two,
                50-foot benches).” For the purpose of this report, a maximum of 50,000,000 short tons of
                mineable reserve will be considered.




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           Legally Permissible

                The subject property consists of 240.00 acres and is located along the north side of
           Warren County Road 58, just south of Mayfield Road in Warren County, Georgia. The
           surrounding area primarily consists of agricultural land uses. The concentration of
           population and supportive commercial and industrial development is located in
           Warrenton, Georgia to the northeast, Thomson, Georgia to the northeast, Milledgeville,
           Georgia to the southwest, and Augusta, Georgia to the northeast.

                As detailed in the Zoning section of this report, the subject property is currently
           zoned FOR-AG Forestry-Agriculture District. The Forestry-Agriculture (FOR-AG)
           district covers the vast majority of the county and establishes a large minimum lot size
           (25 acres) for the subdivision of property in order to prevent the subdivision of land for
           residential use, and to maintain viable tract sizes for agriculture and timber harvesting.
           According to Mr. Paul W. Hitchcock, Hitchcock & Hitchcock, P.C., a fair analysis of the
           Warren County Land Use Ordinance supports the approval of a conditional use permit
           for a granite quarry on the subject property. There is no financial public benefit to
           restricting the subject property to an agricultural use. The Owner and the general public
           will benefit from the increase in jobs and taxes that a mining operation would bring. The
           local laws and land use ordinances will reduce any potential negative impacts that the
           mining operation may bring, especially given the sparsely populated area in which the
           subject property lies. From a land use perspective, the proposed conditional use is
           proper; therefore, it is likely that the conditional use permit will be approved.

                Of note, according to the Warren County Tax Assessor’s Office, this parcel has
           been in a Forest Land Protection Act (FLIPA) covenant since 2011 with an ending date
           of 2021. According to Ms. Laurie Abbott, Warren County Chief Appraiser, to breach the
           FLIPA on parcels 016-026 and 016-027, the owner would also have to breach the FLIPA
           on parcels 016-028, 026-023, and 026-024. The estimated cost to breach the FLIPA in
           2018 would be approximately $203,570.53. According to the Warren County Chief
           Appraiser, the Forest Land Protection Act is easily broken; the cost to breach the FLIPA
           is included in the year one start-up costs. The existence of the Forest Land Protection
           Act does not hinder or affect the Legally Permissibility of the subject property as a
           granite mine.

                Therefore, it is reasonably probable the Highest and Best Use based on the
           information available and provided by the Report of Preliminary Subsurface
           Exploration, Geological Evaluation, and Resource/Reserve Estimate prepared by
           GeoLogic, LLC as well as the Resource Valuation Report, prepared by Dr. Capps,
           Capps Geoscience, LLC, before the conservation easement of the 240.00 acres to be
           encumbered by the conservation easement, is as a granite mine. Further, based on the
           above, it is reasonably probable the subject property’s Highest and Best Use as a granite
           mine would be permitted.

                There are a variety of uses (based on the reasonably probable conditional use permit
           being approved), including the potential Highest and Best Use of the subject property
           before the conservation easement as a granite mine. Therefore, there are not any zoning
           limitations that would hinder the subject property to be utilized as a mining operation.
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                Although, the immediate area consists of primarily agricultural properties, several
           mines are located in Warren County and the surrounding the area, including the
           Warrenton Quarry owned by Martin Marietta Materials Inc. just south of Warrenton,
           Georgia and the Warren County Quarry owned by CRH PLC located north of
           Warrenton, Georgia. Furthermore, there are several mines and dimension stone quarries
           in the regional area. These mines are located in a primarily residential and agricultural
           area, demonstrating the acceptance of mining in the surrounding area. Further, the
           subject property has no legal deed restrictions for operation as a granite quarry.




                                     Image provided by Google Maps

                The State of Georgia requires mining permits for any mining operations in order to
           comply with federal, state, and local regulations. Government regulations are necessary
           for mining operations in order to protect the environment and citizenry as well as the
           safety of the workers. Several properties in the surrounding area have been previously
           developed with mining uses, validating the obtainability of the necessary permits.

                Predicated on the stated regulations of Warren County it is reasonably probable all
           necessary permits to operate a granite mine on the subject property can be obtained. This
           is in accordance with the Resource Valuation Report prepared by Dr. Capps, Capps
           Geoscience, LLC, and included in the Addenda, which states: “The property is zoned
           FOR-AG (Forestry-Agriculture District) and, according to Warren County zoning codes,
           mining is allowed in FOR-AG zoned lands with a conditional use permit. Community
           opposition to the quarry seems unlikely because there are existing aggregate quarries in
           the area. The author’s opinion is that it is reasonably probable that the Conditional Use
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           Permit (CUP) will be obtained from Warren County to operate the quarry. In the
           author’s opinion, the subject property’s quarry will be permitted as an active mine with
           the Surface Mining Unit of the Georgia Environmental Protection Division. In addition,
           in the author’s opinion it is reasonably probable that the storm water and air emission
           permits will be granted for the subject property’s quarry.” Therefore, the subject
           property could be legally used for granite mining based on the nature of the region.

              The analysis herein validates the legally permissible use of the subject property as a
          granite mine based on the reasonable probability of a conditional use permit being
          granted by the planning commission that would allow for a mining operation by Warren
          County and the lack of legal deed restrictions.

          Physically Possible

               The physical characteristics of a site affecting its possible use(s) include, but are not
          limited to, location, street frontage, size, shape, street access, availability of utilities,
          easements, soils and subsoils, and topography.

                The subject property is considered to have an average shape. The subject property is
          just south of Mayfield Road; thus, the subject property has average accessibility to major
          highways in the region. Specifically, there is accessibility to the subject property from
          Warren County Road 58. According to Ben Black, P.G., the owner could legally improve
          its interior roads to be load bearing ready.

               The subject property has a gently rolling topography and is currently wooded and
          open land. According to Flood Insurance Maps (FIRM) 13301C0175B, dated July 22,
          2010, the subject property is located within Zone X, an area not prone to flooding. Based
          on mapping provided by GeoLogic, LLC, there are a few streams running through the
          subject property. According to Mr. Ben Black, GeoLogic, LLC, as currently designed, the
          quarry and the operations of the plant will avoid wetlands to the extent practical. The
          creek crossings needed to place the rail loop track will be permitted under a U.S. Army
          Corps of Engineers Nationwide Permit (PCN 44) for installation of pipe culverts. As
          such, there are no expected wetlands mitigation costs associated with this quarry.
          However, for the purpose of this report, a wetland contingency of $500,000 has been
          budgeted and included in the year one start-up costs. Therefore, any potential wetlands or
          streams on-site are not considered to affect the highest and best use of the subject
          property as a granite mine. No soils or sub-soils are known to adversely affect the
          development potential of the subject property.

               According to the geological report in the Resource Valuation Report by Dr. Capps,
          Capps Geoscience, LLC and the core drilling, substantial granite resources are located on
          the subject property. Therefore, the subject property has the characteristics and the ability
          to be a granite mine.

              There are a variety of physically possible uses for the subject property, due to the
          subject property’s location that would conform with the subject property’s location, size,
          shape, soils and subsoils, and topography, including a granite mine.
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              The geological report that provides evidence of significant granite reserves and the
          subject property’s proximity to transportation routes as well as other mining operations
          substantiates the physically possible use of the subject property as a granite mine.

          Financially Feasible

               The subject property is located in an area comprised primarily of
          rural/agricultural/recreational land use. There is residential development to the south of
          the subject property surrounding the City of Elberton, northeast of the subject property in
          Warrenton, and east of the subject property surrounding the City of Greenwood, but the
          primary population epicenter is northeast of the subject property in Greenville, South
          Carolina, southwest in the City of Athens, Georgia, and southeast of the subject property
          in Augusta, Georgia. Directly surrounding the subject property, there are some
          agricultural uses, but is mostly wooded land. The State of Georgia has several programs
          in place to expand job growth in the region. Based on the Hierarchy of Economic
          Development, job growth will lead to an increased demand for housing, commercial
          development and infrastructure.

          Domestic Production and Use

              According to the U.S. Geological Survey, Mineral Industry Surveys, Second Quarter
          2018, an estimated 393 million metric tons (Mt) of crushed stone was produced and
          shipped for consumption in the United States in the second quarter of 2018, an increase
          of 7% compared with that of the second quarter of 2017. The five leading States, in
          descending order of production for consumption, were Texas, Pennsylvania, Florida,
          North Carolina, and Ohio. Their combined total production for consumption in the
          second quarter of 2018 was 129 Mt and represented 33% of the U.S. total. Production for
          consumption in the first 6 months of 2018 increased by 3% compared with that of the
          same period of 2017

               Furthermore, the estimated U.S. output of construction sand and gravel produced and
          shipped for consumption in the second quarter of 2018 was 265 Mt, an increase of 6%
          compared with that of the second quarter of 2017. The five leading States, in descending
          order of production for consumption, were California, Texas, Arizona, Michigan, and
          Washington. Their combined total production for consumption in the second quarter of
          2018 was 97.2 Mt and represented 37% of the U.S. total. Production for consumption in
          the first 6 months of 2018 increased by 7% compared with that of the same period of
          2017.

               Finally, an estimated 658 Mt of total construction aggregates was produced and
          shipped for consumption in the United States in the second quarter of 2018, an increase
          of 7% compared with that of the second quarter of 2017. The five leading States, in
          descending order of production for consumption, were Texas, California, Pennsylvania,
          Florida, and Ohio. Their combined total production for consumption in the second quarter
          of 2018 was 196 Mt and represented 30% of the U.S. total. Production for consumption
          in the first 6 months of 2018 increased by 5% compared with that of the same period of
          2017. The above estimates are based on information reported to the U.S. Geological
          Survey (USGS) on its quarterly sample survey by construction aggregates producers.
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                        Aggregate Demand Generators Impacting the Subject Property

                     Granite is a light-colored igneous rock with grains large enough to be visible with
                the unaided eye. It forms from the slow crystallization of magma below the Earth’s
                surface. Granite is composed mainly of quartz and feldspar with minor amounts of mica,
                amphiboles, and other minerals. This mineral composition usually gives granite a red,
                pink, gray or white color with dark mineral grains visible throughout the rock.

                      Granite is the best-known igneous rock. Many people recognize granite because it is
                the most common igneous rock found at the Earth’s surface and because granite is used
                to make many objects that we encounter in daily life. These include counter tops, floor
                tiles, paving stone, curbing, stair treads, building veneer, and cemetery monuments.
                Granite is the rock most often quarried as dimension stone (a natural rock material that
                has been cut into blocks or slabs of specific length, width, and thickness). Granite is hard
                enough to resist most abrasion, strong enough to bear significant weight, inert enough to
                resist weathering, and it accepts a brilliant polish. These characteristics make it a very
                desirable and useful dimension stone. Most of the granite dimension stone produced in
                the United States comes from high-quality deposits in five states: Massachusetts,
                Georgia, New Hampshire, South Dakota, and Idaho. Granite has been used for thousands
                of years in both interior and exterior applications. Rough-cut and polished granite is used
                in buildings, bridges, paving, monuments, and many other exterior projects. Indoors,
                polished granite slabs and tiles are used in countertops, tile floors, stair treads, and many
                other practical and decorative features. Granite is frequently selected because it is a
                prestige material, used in projects to produce impressions of elegance, durability, and
                lasting quality. Granite is also used as a crushed stone or aggregate. In this form it is used
                as a base material at construction sites, as an aggregate in road construction, railroad
                ballast, foundations, and anywhere that a crushed stone is useful as fill. The high price
                often reduces the popularity of a construction material, and granite often costs
                significantly more than man-made materials in most projects, however, granite is most
                frequently selected due to its durability. 70

                     The subject property has the requisite characteristics for a granite mining
                development as evidenced by the significant presence of substantial granite as verified by
                the geological survey testing and sampling. The Resource Valuation Report prepared by
                Dr. Capps, Capps Geoscience, LLC included in the Addenda illustrates the financial
                feasibility of a granite mining development on the subject property.

                     According to Vulcan Materials Company there is a list of the factors that will drive
                future demand for aggregates and thereby driving the future supply of aggregates. On the
                demand side, these include:

            -   A growing population of 400 million by 2043, according to the U.S. Census.

            -   An increase in non-residential construction such as stores, offices, schools and
                government buildings driven by the increasing population; a decline in the number of
                people per household, and new home development and the replacement of structurally


     70
          Geology.com/rocks/granite
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           sound buildings with more energy efficient and technologically advanced ones (i.e.,
           configured for advanced computer networks).

       -   An aging, baby boomer population with increased demand for second homes along with
           the need for more long- and short-term health care facilities and more elderly friendly
           multifamily developments.

       -   Aging infrastructure of all types that will need to be upgraded and/or replaced. In
           particular, highways, roads, ports and rail facilities will be required to handle increased
           car and truck traffic along with increased imports and exports.

        - An increase in the use of Portland cement concrete in the construction of both residential
          and non-residential buildings due to concrete’s resistance to wind damage,
          environmental efficiency and construction flexibility.




                                         Most recent graph available

                Additionally, population is increasing in the region as new highway projects are on
           the horizon, new business development is rebounding in the region and transportation in
           and out of the region is not limited, thereby validating the potential need for increased
           aggregate production. Further evidence is provided in the Dr. Capps, Capps Geoscience,
           LLC Resource Valuation Report, which states: “Industry sources and population data
           indicate that the subject property quarry’s market area has a current need for about
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                3,226,820 tons of crushed stone per year and a projected need for about 4,033,332 tons
                per year by 2030.”

                    In summary, the subject property’s marketing area for granite is Georgia and South
                Carolina. Transportation of the granite to the various markets can be accomplished in
                bulk loads by truck and rail. The system of roadways leading to and from the subject
                property is extensive with U.S. Highway 278 located just northeast of the subject
                property and Interstate 20 located just north of the subject property.

                     The Discounted Cash Flow Approach indicates a granite mining development, such
                as the subject property, is capable of producing a positive net income. Therefore, granite
                mining meets the financially feasible requirement.

                Maximally Productive

                        In order to determine the type of development that would result in maximum
                productivity from the subject property, an analysis was performed. There are physically
                possible and legally permissible uses that could produce a positive cash flow such as
                residential development with large tracts of natural forest and recreational amenities,
                forestry or agricultural uses, or hunting grounds and associated recreational uses. The
                chart below provides a sampling of recreational land sales in Alabama, Georgia and
                South Carolina from 2015 to 2018.

                                                              Recreational Land
                                Sale 1         Sale 2         Sale 3            Sale 4         Sale 5               Sale 6         Sale 7
     Location          Bulloch Co., GA Newton Co., GA Walton Co., GA    Bibb Co., AL Franklin Co., AL Williamsburg Co., SC Choctaw Co., AL
     Date of Sale            8/23/2018     4/12/2016        3/1/2016      12/16/2015       5/14/2015            4/30/2015        2/3/2015
     Price                    $355,000     $1,137,500       $379,500         $205,000       $253,000             $140,000         $55,000
     Size (Acres)               114.81         218.05         122.00           108.00          240.00                53.20          47.00
     Price/Acre                 $3,092         $5,217         $3,111           $1,898          $1,054               $2,632         $1,170
     Use                    Recreation    Recreation      Recreation Recreation/Hold     Recreation            Recreation      Recreation


                      Current market conditions in eastern Georgia and Warren County, indicate a limited
                demand and price point for the residential and recreational properties for the
                aforementioned property types in today’s market compared to the anticipated demand for
                supportive building materials. Based on the definition of maximally productive, the
                selected land use must yield the highest value of the possible uses. 71 As provided above,
                there are several possible uses that are legally permissible, physically possible, and
                potentially financially feasible; however, it is the appraisers’ opinion based on the core
                drillings, geological analysis, and market study, the use that yields the highest value of
                the land and the highest and best use of the subject property is as a granite mine. As
                presented in the Discounted Cash Flow section found later in this report, a granite mine,
                such as the subject property, is capable of producing a significantly higher positive net
                income. Furthermore, due to the amount and quality of the granite found on the subject
                property and the positive net income indicated by the DCF, the result is a superior return
                to the cost of the investment; higher than any other physically possible, legally
                permissible, and financially feasible use. Therefore, a granite mine is considered to be the
                maximally productive use of the subject property.


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          The Dictionary of Real Estate, Fifth Edition, page 124
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           Conclusion

                   The foregoing Highest and Best Use analysis is used to establish the basis for
           valuation and demonstrate the most feasible use of the subject property. The subject
           property could be used for residential development, forestry uses or hunting grounds and
           associated recreational uses. Projected population and economic growth in the area will
           increase the demand for properties with commercial aggregate reserves, thus making the
           development of said property types more economically feasible. Furthermore, as
           presented throughout this report, the subject property has sufficient granite resources for
           a mine.

                    Due to the granite reserves on the subject property and considering the foregoing
           possible land uses compared to developing the subject property as a granite mine; the
           greatest return on the land under current market conditions is a granite mine
           development. This conclusion is based on granite resources being present in sufficient
           quantity to initiate and sustain production, and that it is technically feasible to extract the
           materials, is legal to mine, continue to mine, or to expand the mine at this location, and
           that it is economically feasible to exploit the granite resources at this location.

                   When determining the value of the subject property pre-conservation easement,
           the appraisers must consider the current use of the subject property as well as objectively
           assess the likelihood that the subject property would be developed absent the
           conservation easement restriction. As detailed throughout this report, there are proven
           resources on the subject property, and market demand for the resources due to their
           quality, as referenced by the geological studies, independent lab results, various market
           information, and the Resource Valuation Report provided by Dr. Capps, Capps
           Geoscience, LLC. Due to the proven resources on the subject property, the quality of the
           resources, and the market demand for the resources it is reasonably probable that the
           subject property, absent the restrictions of the conservation easement, would be
           developed as indicated by the Highest and Best Use conclusion before the conservation
           easement.

               Based on current market conditions, the subject property’s location and the
           abundance of granite reserves on the subject property, the highest and best use of the
           subject property is as a granite mine.

       6.3.2.    Approaches to Value

          6.3.2.1.     Income Approach (Potential Granite Mining Development)

               Mining facilities are unique and differ greatly in their characteristics, location, the
          type of product mined and the remaining economic life of the mine. The potential buyer
          must assimilate a variety of information and often makes a decision with little specific
          data provided by the mine owner, since it is considered confidential. Generally, the
          decision to purchase a mine is based on remaining deposits, grades of material, and the
          cost to mine and process the resource and other known data that is applicable to the
          Income Approach. Primary considerations when valuing a mine are cash flows both
          potential and actual, royalties, current market conditions and physicality of the mine.
          Within the Income Approach, the Discounted Cash Flow Analysis is the preferred
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          methodology as opposed to the capitalization of income since mining operations are not
          static and have a finite economic life. This is further supported in the article Valuation
          Methodologies for Mines and Mineral Tenements by Trevor R. Ellis, CMA, CPG, M.
          AusIMM; Ellis International Services, Denver, CO as published in the newsletter,
          American Institute of Minerals Appraisers, Vol. 1, No. 5, December 1995, page 1, where
          “Resource finance consultant, J. Ballard, and other authors discuss discounted cash flow
          (DCF) methodologies and net present value (NPV). They all recommend DCF as the
          primary method for valuing operating mines, or mineral assets with at least indicated
          resources and some form of feasibility study containing engineering, production and
          capital and operating cost data.

                As stated earlier in this report, it is the appraisers’ opinion, due to the professional
          reports provided, the subject property is classified as a Development Property with a Pre-
          Feasibility Study completed at a minimum as of the date of this appraisal. Therefore, the
          DCF valuation methodology was relied upon for this appraisal report. Of note, the
          appraisers recognize that the Sales Comparison Approach should be utilized when it is
          feasible to do so. However, as is the case with this appraisal report, an inherent weakness
          of the Sales Comparison Approach for mining developments hinges on the complexity of
          multi-property and speculative sales. Many of the sales associated with mining
          development include differing physical characteristics or mineral resources. Much of the
          information required to adequately analyze the sale, such as quantity and quality of
          reserves or annual production volume and the value of equipment are typically
          considered confidential and propriety, thereby shielded from public knowledge. The
          appraisers analyzed sales of mining properties as well as mergers and acquisitions of
          mining companies. It is the appraisers’ opinion that the development of the Sales
          Comparison Approach may provide a misleading value and thus was not utilized within
          this appraisal report.

               The Discounted Cash Flow methodology identifies market conditions investors are
          anticipating as of the date of value and is an appropriate tool for valuing any pattern of
          regular or irregular income. The Discounted Cash Flow analysis is a procedure in which a
          yield rate is applied to a set of income streams and a reversion to determine whether the
          investment property will produce a required yield given a known acquisition price. If the
          rate of return is known, the Discounted Cash Flow analysis can be used to solve for the
          present value of the property. If the property’s purchase price is known, the Discounted
          Cash Flow analysis can be applied to find the rate of return. Investors typically employ a
          Discounted Cash Flow Analysis (DCF) on properties like the subject property and require
          a minimum of five years of reserves before investing in a mining development.
          Ultimately, it is the NOI margin that determines what an investor is willing to pay for
          such a property.

               Because subsurface minerals can never be fully and absolutely quantified until they
          are extracted and because mines have a finite economic life there are multiple variables to
          consider when estimating the value of a mining development. Therefore, the Discounted
          Cash Flow methodology is the preferred method since it is appropriate for irregular
          income. The DCF method is also a commonly used, market accepted method for valuing
          mining properties in development and production, considering the finite life of a mine
          and the well-established market for commodities. The appropriateness of the Discounted
          Cash Flow Analysis in valuing mining properties is based on the following: resources
          deplete over time, allows the forecasting of production, takes into consideration the time
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          value of money, pricing and operating costs, and allows the calculation of the discount
          rate.

               In summation, the Discounted Cash Flow Analysis is utilized to provide an estimate
          of Market Value of the subject property. The Market Value derived from the Discounted
          Cash Flow Analysis is estimated utilizing the potential income from mining operations,
          the expenses, and the net income levels over a projection period. The Value by the
          Discounted Cash Flow Analysis is estimated by adding the present value of the projected
          income streams and the present value of the reversion. The assumptions employed in the
          Discounted Cash Flow Analysis are discussed further below. It should be noted that a
          reversionary value was not included in this analysis. The subject property at the end of
          the projected Discounted Cash Flow Analysis would have value due to the additional
          reserves; however, based on the principle of conservatism, the reversionary value was not
          included.
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                U.S. Stone Market Overview

                    This section contains retroactive market information as was available in December
                2018.

                     The US Stone Mining industry consists of companies that advance mine sites,
                excavate and quarry dimension stone (i.e. rough blocks or slabs of stone), mine and
                quarry crushed and broken stone (such as granite and limestone), or beneficiate stone by
                crushing, grinding, washing, screening, pulverizing, and sizing. The principal product
                sold by the Stone Mining industry is crushed stone which is primarily used as aggregate
                in infrastructure, residential, and nonresidential construction projects.




                     The Stone Mining industry is firmly rooted in the US economy, generating critical
                base materials for a wide range of construction industries. This industry mines a range of
                rock types, including granite, limestone, sandstone, basalt, trap rock, pumice, and talc.
                The majority of these rocks are crushed and transported for use in downstream
                construction and manufacturing markets. Crushed stone is used as aggregate in
                foundations for infrastructure, road base, and buildings. Crushed stone is also an input to
                cement, concrete products, and personal consumer goods. The dimension stone produced
                by the industry includes high-quality cut and treated stone products, such as marble and
                slate, which are used in building applications like kitchen countertops, tile, and pavers.
                The US Stone Quarrying industry is estimated to account for about 90% of the volume of
                domestic supply of stone. The remaining 10% is generated by sand and gravel aggregate
                producers, road construction companies through recycling, and companies operating in
                the nonmetallic mineral product industries. 72




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                     US Stone Market – Current Industry Performance

                     Over the past five years through 2018, industry revenue grew at an annualized rate
                of 7.4%. This rate has been impacted by the continuing recovery in downstream
                construction markets that has been occurring since 2012. Infrastructure construction, as
                well as residential and commercial construction has experienced strong growth in the past
                five years, boosting demand for stone industry products. As a result, total industry
                revenue climbed to $16.7 billion in 2018, resulting from the continuing construction
                demand and market recovery. Over the next five years to 2024, industry revenue is
                forecasted to continue to climb at a robust annualized rate of 1.48% to $17.74 billion.
                This growth is projected to come from sustained demand for commercial and residential
                construction as well as from large increases in infrastructure spending for road, street,
                and highway construction. This industry revenue growth will be driven primarily by
                increases in production, but also through steady price increases for stone products.

                     Highway and street funding are principally derived from the public sector. Demand
                from highway, street, bridge, and tunnel construction is estimated to have amplified
                through 2018, presenting a likely growth opportunity for the industry. National
                transportation spending for the construction and maintenance of streets, highways,
                bridges, railways, and other public transportation systems is positively linked with
                industry performance. Companies contracted by the government for these activities
                purchase material from the stone industry. As road and infrastructure construction
                represents such a large portion of the stone market, fluctuations in federal funding for
                transportation can pose a threat to the industry, since they are exposed to changing
                political considerations and interests. Federal funding for transportation increased in 2018
                and is seen as a positive sign for continued industry growth. 73

                     Residential and Nonresidential Construction

                     Aggregate is broadly used in the construction of nonresidential buildings and is
                typically blended with cement to form concrete. Aggregate is also used in other concrete
                products such as blocks, tiles, and pipes. Dimension stone is also widely used in the

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                construction of buildings, particularly as pavers, floor tiles, panels, and countertops. The
                value of private nonresidential construction is expected to have increased by about 6.3%
                through 2018.

                      The housing construction market is a significant consumer of stone products.
                Contractors use either concrete, concrete products (which are often blended using
                aggregate crushed stone), or dimension stone used for roof tiles, floor tiles, and
                countertops for virtually every project in the residential construction sector. The value of
                this residential construction is expected to have increased approximately 4.1% through
                2018.




                     The Stone Mining industry has experienced robust growth since 2012, after enduring
                declines in each year from 2007 to 2011. The real estate industry’s recovery and ensuing
                boom has translated into increased demand for stone products, as the construction of new
                homes and commercial buildings surge. Due to raw stone’s relative abundance in
                comparison to other minerals and commodities, there are currently few raw stone source
                supply concerns for the industry. Furthermore, the price of crushed and dimensional stone
                products has been steadily increasing over the past decade. It is projected that industry
                revenue has grown at an annualized rate of 6.5% over the last five years; this overall
                industry revenue increased to $16.3 billion in 2017. 74

                     As empty homes and offices became occupied in the early years of this recovery
                period, the open supply of housing and commercial space declined, thus driving demand
                for new construction. Not only is stone a principal construction material in residential and
                nonresidential construction, it is a key component for road construction and maintenance
                as well as an input for cement manufacturing. Consequently, as new housing and
                commercial spaces are developed, these projects require stone for building foundations,
                parking lots, sidewalks, driveways, roads and for other various construction purposes. In
                the five years through 2018, the national value of construction is anticipated to have
                grown at an annualized rate of 8.3%.


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                     As demand circumstances have been improving, profitability has followed in turn,
                rising from 8.7% of revenue in 2011 to 10.8% in 2017. Industry operators have boosted
                production in the past five years, due to an increase in construction activity, yet crushed
                stone supply has not been able to keep up with demand - leading to higher sales prices.
                Additionally, transportation costs for the industry have decreased with the decline in the
                crude oil price. Nevertheless, the heavy weight of crushed stone ensures that downstream
                companies generally seek the closest and most affordable crushed stone supplier. This
                focus on proximity and price also ensures that long distance trade in the crushed stone
                segment is quite low. Because of this, both imports and exports only account for a
                marginal portion of overall crushed stone segment activity.

                     The significance of the Stone Mining industry as a supplier to the government’s
                infrastructure plans has been a large factor in enabling a solid recovery for the industry
                following the recession. The association with the US government’s ongoing attempts to
                boost job creation through infrastructure development will remain vital to the stone
                industry. In the five years through 2018, federal funding for transportation has remained
                steady. In 2017, the President requested a budget of $98.1 billion for the continuation of
                infrastructure investments. This came alongside $478 billion in funding for a four-year
                investment to progress surface transportation by improving infrastructure projects such as
                roads, bridges, transit systems and railways. 75

                     U.S. Stone Market – Industry Outlook

                     The Stone Mining industry will continue to have heavy reliance on demand
                generated from downstream construction industries and, to a lesser extent, on the level of
                price stability in the crushed stone market. Over the next five years through 2024, the
                volume of stone production, which includes both crushed and dimension stone, is
                anticipated to grow steadily. Expected solid growth and demand from road and highway
                construction, private nonresidential construction and residential construction will drive
                industry growth over the next five years. However, any major swings in construction
                activity will have the potential to positively and negatively impact operators in the
                industry. 76

                      Due to the solid growth profile for downstream markets, industry revenue is
                estimated to grow at an average rate of 1.5% per year, reaching $17.74 billion in 2024.
                Furthermore, increasing funding for infrastructure programs is expected to help augment
                demand for the industry’s products. In the next five years through 2023, federal funding
                for transportation is anticipated to rise at an annualized rate of 7.0%. However, it should
                be noted that federal funding considerations could adversely impact the industry moving
                forward if administrative interests decrease the available funding for transportation
                infrastructure.

                     Investment in construction is likely to drive demand for stone products over the next
                five years. The principal market for crushed stone is road, street, and highway
                construction, which is projected to experience strong growth through 2022. This growth
                will be buoyed by ongoing multi-year federal funding pursuant to the Moving Ahead for

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                Progress in the 21st Century Act (MAP-21) and the 2015 five-year Fixing America’s
                Surface Transportation (FAST) Act. The demand for crushed stone will also be
                reinforced by solid growth in several other infrastructure markets, such as the railroads,
                pipelines, and water supply markets. 77

                     Inside the downstream building markets, the demand for stone products will
                primarily be supported by booming housing construction and, to a lesser extent, by the
                growth in the institutional construction market. New housing construction has increased
                in the five-year period through 2018, driving demand for dimension stone products such
                as marble and granite countertops, slate tiles, and crushed stone used in foundations and
                concrete products. Commercial building construction is projected to strengthen moving
                forward, underpinning demand for dimension stone used in foyers, and crushed stone
                used as foundation aggregate and for paving parking lots. In the next four years though
                2022, the value of combined construction is expected to increase at an annualized rate of
                7.3%.

                     Global cement giants Lafarge and Holcim finalized a union of equals in 2015,
                establishing the industry tone for the next five years. The stone industry is expected to
                undergo additional merger and acquisition (M&A) activity, as leading industry players
                and large-scale building product manufacturers continue to look to join their access to
                stone quarrying capability across wider regional markets. Nevertheless, additional
                demand for stone products is expected to encourage smaller local operators to enter the
                industry, balancing out industry amalgamation. Over the next four years through 2022,
                the number of enterprises is expected to rise at an annualized rate of 1.1% to 1,465. These
                smaller operators are likely to enter the industry in regions such as the Southwestern US
                where abundant supplies of quality stone that meet standards for use in downstream
                markets are located. 78

                     It is anticipated that ongoing industry consolidation will lead freshly merged
                enterprises to seek synergies in the form of operational cost savings. This will result in
                the streamlining of operational processes and reduce the need for labor, thereby
                suppressing employment and wage growth. Employment is forecast to reach an estimated
                44,721 workers by 2022, representing an average annual growth rate of 1.3%.
                Employment growth is projected to lag behind revenue growth not only due to
                consolidation in mine ownership but also due to ongoing advancements in labor-saving
                technology. Total US stone mining wages have declined from $2.8 billion in 2007 to an
                estimated $2.7 billion in 2017. These cost savings and reduction in employment and
                wage growth will help to bolster profitability of operators across the industry.

                     The industry will also find increased value in upgraded production efficiencies
                stemming from the consolidation of mine ownership and the reorganization activity that
                has taken place over the past decade. As a result, these cost savings will also serve to
                boost industry profitability over the next five years. Profit growth will be indicative of the
                expanding housing, infrastructure, and road markets, as increases in supply are expected
                to be slower than demand growth.



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                     Demand for crushed stone is greatly dependent on investment in publicly funded
                infrastructure, which is generally subject to long-term budgetary planning to meet
                population growth and industrial expansion. Over the 10 years from 2013 to 2023,
                industry value added (IVA), which measures the industry’s contribution to the overall
                economy, is projected to rise at an average annual rate of 3.0%, while US GDP is
                projected to grow at an average annual rate of 2.2%. This is a good indicator of industry
                health. 79

                     US Stone Products Outlook




                     Crushed Stone

                      The principal product sold by the Stone Mining industry is crushed stone. Crushed
                stone is used as aggregate in construction projects and as an input to construction
                materials and other manufactured products. The production of crushed stone is expected
                to account for an estimated 96.7% of the value of domestic stone production. The
                remaining value of domestic production consists of dimension stone. The revenue share
                of all product segments has remained relatively stable over the past five years because
                they are all tied to the construction sector, which has uniformly affected demand across
                products. Crushed rock is typically produced at the mine site, where it is crushed, ground,
                washed, screened, pulverized, and sized until it is ready for transport to downstream
                construction markets, construction material markets (e.g. asphalt and concrete), chemical
                and metallurgical manufacturers, and agricultural markets. According to the US
                Geological Survey, in 2018 an estimated 68% of the volume of crushed stone production
                is limestone and dolomite; 15% is granite; 6% is trap rock (i.e. igneous rocks widely
                known as black granite); and 11% includes sandstone, greenstone, quartzite, marble,
                calcareous marl, slate, volcanic cinder, scoria, and shell. 80

                     Dimension Stone



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                      In 2018, an estimated 2.8 million tons was produced at a value of approximately
                $450 million. Dimension stone is typically dressed or sold as rough blocks. Producers of
                dimension stone extract the stone at a quarry or mine site and fabricate the stone for
                building interiors and exteriors, memorials, and landscape uses. Products include blocks,
                tiles, facades, paving, flooring, steps, curbing, countertops, columns, and other
                architectural applications. According to the US Geological Survey, an estimated 48% of
                the volume of dimension stone sold is limestone; 23% is sandstone; 18% is granite; 2% is
                marble, and the remainder is slate and miscellaneous stone. Rough block production, as
                opposed to dressed stone, represents about 58% of annual dimension stone tonnage. The
                main uses for rough block are construction (51%) and irregular shaped stone (38%).
                Dimension stone was produced by 195 companies, operating 251 quarries, in 34 states in
                2018 with an average price of $161 per metric ton. 81

                     Dimension stone is a globally traded commodity and the United States is a net
                importer of dimension stone products. In fact, domestic dimension stone consumption
                consists of roughly similar amounts of imports and domestic products. The United States
                will continue to increase its dependence on imported dimension stone due to the high
                level of demand for quality granites, marbles, and specialty stones that are only sourced
                in other countries. A good example of imported dimension stone is the well-known
                Carrara marble that has been mined since ancient Roman times in Italy. Many thousands
                of tons of this marble are imported into the United States annually.

                     Infrastructure Construction

                     The stone industry derives the majority of its sales from the supply of crushed stone
                aggregate to the infrastructure construction market, particularly for the construction and
                maintenance of highways and streets. Aggregate composed of crushed stone, sand, and
                gravel comprise the principal materials mixed into the base, sub-base and surface
                pavement of roads throughout the United States. This aggregate is also an important input
                into the construction of other heavy infrastructure (e.g. dams, levies, railroads, and
                harbors). The main source of funding for US road construction comes from federal, state,
                and local governments, while funding for other heavy infrastructure projects is evenly
                divided between the public and private sectors. In the five-year period through 2018,
                federal funding for transportation remained relatively steady. The supply of aggregate for
                use in the infrastructure construction market regularly generates about 70% of the Stone
                Mining industry revenue, growing consistently on an annual basis to have reached an
                expected 74% in 2017.

                      The Road and Highway Construction industry experienced a host of issues in the
                five years leading up through 2017, including budgetary constraints and weak investment
                in transport infrastructure early in the period. Local and state governments, which are the
                largest sources of infrastructure industry specific project funding, have maintained
                prudent budgets since the recession, while federal programs like the Highway Trust Fund
                have stayed somewhat precarious. The industry has only recently resumed to solid
                growth, due to greater local government spending and the passing of the five-year FAST




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             Act in 2015. These improvements will continue to lead to growth in the infrastructure
             construction segment of the US stone market. 82

                   Georgia Crushed Stone Market Overview

                  The Southeast region of the US, which alone accounts for nearly 25.4% of US
             residential population and construction activity, ranks as the largest and most significant
             region for stone mining and quarrying. This region accounts for a disproportionately
             large share of industry activity, with 27.7% of establishments, 28.6% of production, and
             33.4% of industry employment. This region includes four of the ten largest states in the
             production of crushed stone (i.e. Georgia, Florida, North Carolina, and Virginia), which
             partly reflects the existence of adequate raw material deposits in the Southeast, but
             principally reflects the substantial demand generated by robust construction activity
             within the region. 83




                  With large mineral deposits and strong transportation infrastructure, Georgia is an
             important producer of crushed stone, limestone, and sand and gravel for both construction
             and industrial uses. This production comes primarily from the northern and central
             regions of the state. According to the latest 2018 USGS Mineral Commodities Report,
             Georgia accounts for approximately 2.4% of the total US mineral output with an
             estimated $1.96 billion in production principally from crushed stone, Portland cement,
             kaolin clays, sand and gravel for construction use, and masonry cement. In 2018, granite
             and limestone quarries from across the State of Georgia produced 60.1 million tons of
             crushed stone for a total estimated wholesale value of $838 million. 84


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                      Sales of crushed stone in Georgia during 2018 realized an increase of 3.4% from
                sales in 2017 according to the latest USGS Mineral Industry Survey. Lower production in
                the first quarter offset higher production in the final three quarters of the year. Production
                in quarters two and three of 2018 were up significantly by 12.6% and 11% respectively
                over the same quarters in 2017. It is estimated that this strong production trend from 2018
                will continue through the first two quarters of 2019. Moderate growth is expected to
                continue through 2019 and beyond. Georgia’s population growth is projected at 1.19% a
                year, which ranks it as the 10th fastest growing state. The population of Georgia has
                shown strong and consistent growth over the past decade, with a current 2018 population
                of 10.52 million according to US Census Projections. Along with population growth,
                Georgia’s real gross domestic product is expected to grow by a strong 4% in 2018 to
                around $595 billion. This steady economic growth should result in the undertaking of
                new residential, business, industrial, and infrastructure construction projects that will
                utilize the crushed stone and dimensional stone products produced by the stone industry
                in the state. Approximately 5.7 tons of crushed stone are required per-capita on an annual
                basis within the State of Georgia. This calculation has been made based on dividing the
                total amount of annual crushed stone production by the total population of the state.
                Based on this per-capita consumption, it is estimated that a total crushed stone demand of
                approximately 61.1 million tons will exist by 2020 and 67.4 million tons by 2030. 85

                     Georgia – Infrastructure Construction

                     The road and highway construction market constitute a major market segment for the
                Georgia stone mining industry, keeping in trend with the overall US market. The State of
                Georgia has allocated a total of $8.811 billion in funding for State Transportation
                Improvement Program (STIP) highway projects through 2021. Of this funding,
                approximately $2.2 billion is scheduled to be spent in each year of the program. This
                funding includes $4.94 billion in federal-aid, $1.92 billion in state funds and $1.28 billion
                in local funds. The State of Georgia instituted a 6.7% gas tax increase in July of 2015 in
                order to fund highway and infrastructure improvement projects within the state. This
                increase was adopted along with a new formula for calculating the state’s tax rate and
                will allow for future rate increases along with inflation and vehicle fuel-efficiency
                improvements. It is anticipated that this tax will add approximately one billion dollars in
                new transportation project funding each year. 86

                      In order to qualify for use in GDOT projects, several tests are required to ensure
                aggregates meet certain specifications. The tests include the Los Angeles (LA) abrasion
                test, the coarse aggregate specific gravity, and the soundness test. The LA abrasion test is
                a common method used to indicate aggregate toughness and abrasion characteristics. The
                characteristics are important because the constituent aggregate in hot mix asphalt must
                resist crushing, degradation, and disintegration in order to produce a high-quality asphalt
                product. The coarse aggregate specific gravity test is needed to determine the weight-to-
                volume relationships and to calculate various volume-related quantities such as voids in
                mineral aggregate (VMA), and voids filled by asphalt (VFA). The soundness test
                determines an aggregate’s resistance to disintegration by weathering and, in particular,
                freeze-thaw cycles. Operators with crushed stone products that pass these tests will

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                qualify for not only GDOT projects but will also meet requirements for use in other
                construction projects. 87

                     Georgia – Building Construction

                     Within the State of Georgia, almost 15% of crushed stone consumption falls within
                the residential and nonresidential construction market. Improvements in the economy
                have led to consistent growth over the five-year period leading up through 2018. New
                home starts in the Atlanta region increased by more than 3% in 2018 according to Eugene
                James, Senior Regional Director for Metrostudy. He states that growth has been limited
                by the availability of new lots. He estimates that this level of growth will sustain or
                increase in 2019 and beyond as lots become available. Sales of crushed stone for the
                residential construction market represent approximately $120 million for operators in the
                state with a projected growth to roughly $170 million by 2022.

                     Nonresidential construction spending growth will continue through 2018 with an
                estimated increase of approximately 7% over 2017 according to the Oldcastle 2018 North
                American Construction Forecast Report. It is estimated that this growth will continue to
                be led by privately financed projects, with commercial construction continuing to lead the
                way. With steady growth, it is estimated that this market segment will grow into 2022
                and beyond. 88

     Market Supply Analysis

                    The subject property is well located to serve the rapidly growing Central Savannah
                River market area. According to the Resource Valuation Report, the subject property’s
                proposed operation will absorb a significant market share from existing quarries and
                under-served projects in its average 50 miles market radius.

                     Stone is a natural resource that has high value of place and whose market is
                somewhat like that of water. Like water, everyone uses stone and demand is directly
                proportional to the existing population base and rate of population growth. Markets in
                areas of high population growth will require more stone than those with stable or
                declining populations. Stone is purchased from the closest available source that can
                provide the quantity and quality necessary to match the customers’ requirements. When a
                new stone quarry opens it will immediately begin attracting the nearest customers. In
                general, the new quarry will immediately begin to absorb market share from existing and
                future customers that are closer to it than to the established quarries. In addition, the new
                quarry can also service clients that were beyond the profitable market area (about 50
                miles) of the pre-existing quarries.

                      Once mined and crushed, the largest cost of stone is transportation to the point of
                application. The local market is served by truck with the buyers paying the cost of
                transportation (FOB). Stone can be transported for hundreds or thousands of miles where
                rail service is available and nearby production can greatly improve a given quarry’s
                market area and dramatically increase stone production. Production from the subject

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             property’s proposed operation will be sold to customers utilizing both trucks to transport
             the stone and regional rail with loading in the northern portion of the quarry and by a
             circular rail spur. 89

                  Industry standards indicate the customer is responsible for coordinating
             transportation from the site to the final destination, including all costs associated with the
             transport and insurance as Free on Board- Origin or Plant (FOB-Origin). Under FOB-
             Origin/Inspection and Acceptance-Origin terms and conditions, the customer takes full
             responsibility of the shipment at the producer’s site, thereby releasing the producer of all
             responsibility and liability once the goods are picked up.

     Market Demand Analysis

                  Aggregates are basic and fundamental inputs to the building blocks of society and a
             strong economy. Population is increasing in the region, new highway projects are on the
             horizon, new business development is rebounding in the region, and transportation in and
             out of the region is uninhibited.

                  In general, population change, distance from quarry to point of application, and
             meeting state specifications for construction usages are the most important factors to a
             quarry’s crushed stone market. The crushed stone industry is highly dependent on
             construction activity. According to the 2018 USGS Mineral Yearbook “In 2017, 1.33
             billion tons of crushed stone valued at more than $15 billion was produced by an
             estimated 1,400 companies operating 3,700 quarries and 187 sales/distribution yards in
             50 States. Leading States were, in descending order of production, Texas, Pennsylvania,
             Florida, North Carolina, Ohio, Missouri, Georgia, Kentucky, Virginia, and Indiana,
             which together accounted for more than one-half of the total crushed stone output. Of the
             total domestic crushed stone produced in 2017, about 70.0% was limestone and dolomite;
             13.0%, granite; 6.0%, traprock; 5.0%, miscellaneous stone; 4.0%, sandstone and
             quartzite; and the remaining 2.0% was divided, in descending order of tonnage, among
             marble, volcanic cinder and scoria, calcareous marl, slate, and shell. It is estimated that of
             the 1.39 billion tons of crushed stone consumed in the United States in 2017, 76.0% was
             used as construction material, mostly for road construction and maintenance; 11.0% for
             cement manufacturing; 7.0% for lime manufacturing; 4.0% for other chemical, special,
             and miscellaneous uses and products; and 2.0% for agricultural uses. 90

                  The estimated output of crushed stone in the United States shipped for consumption
             in the first nine months of 2017 was 1.01 billion tons, a slight decrease compared with
             that of the same period of 2016. Third quarter shipments for consumption decreased
             slightly compared with those of the same period of 2016. Additional production
             information, by quarter for each State, geographic division, and the United States, is
             reported in the U.S. Geological Survey quarterly Mineral Industry Surveys for Crushed
             Stone and Sand and Gravel. 91

                  It is important to note that all USGS production figures are in metric tonnes and must
             be first converted to short tons for comparison in this paper. The Society of Mining,
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                Metallurgy, and Exploration (SME) in its annual analysis finds that in 2015 every person
                in the United States must be provided with over 4.5 short tons of stone in each year and
                so population increase is the fundamental factor driving an increase in demand for
                crushed stone. USGS figures are slightly less at a per capita consumption of 4.36 short
                tons of crushed stone aggregate. The United States Geological Survey tracks mineral
                commodities such as crushed stone aggregate with production, usage, value data and
                statistics provided by each state. These summary commodity reports are one of the most
                commonly used means of assessing market conditions. However, the states are not
                required to provide this information and industry often withholds some or all of the data.
                Therefore, the USGS commodity summaries are inaccurate and incomplete but can be
                useful in demonstrating general trends of production. 92

                     According to the Resource Valuation Report, Dr. Capps discussed the reporting
                procedures and outcomes with Jason C. Willett (email:jwillett@usgs.gov and phone
                (703) 648-6473), Crushed Stone commodity specialist with the United States Geological
                Survey (USGS). Mr. Willett provided examples of the report process and derived
                statistics from the extensive database. Aggregate statistics from more than 10,000
                aggregate quarries are updated yearly. In assessing the market of a stone quarry, it is
                important to know that stone quarry production data is closely held proprietary
                information. The USGS does not share this information and there are no requirements to
                report these production figures to public agencies. The states are not required to provide
                this information and industry often withholds some or all of the data. Therefore, the
                USGS commodity summaries are inaccurate and incomplete but can be useful in
                demonstrating general trends of production.

                     The subject property is well located to serve the aggregate needs of the rapidly
                growing southern CSX railroad corridor including Atlantic and gulf coast market areas.
                According to the Resource Valuation Report, the subject property’s proposed operation
                will absorb a significant market share from existing quarries and under-served projects
                both regionally and in its average forty- to fifty-mile local market radius. Due to
                transportation costs, most crushed stone aggregate produced in Georgia is sold in
                Georgia. Because aggregate is a heavy, low cost per ton product, haul distance largely
                controls the price of aggregate. The USGS Mineral Yearbook statistics for the Georgia
                crushed stone industry are not current and the last attempted complete report was from
                2000. However, according to the USGS Minerals Commodities Summary 2014, crushed
                stone usage is increasing in Georgia and showed an 8.0% increase in crushed stone
                production between 2nd quarter 2013 and 2nd quarter 2014.

                     Industry sources and population data indicate that the subject property’s proposed
                operation 50-mile truck market area used about 3,226,820 short tons of crushed stone
                aggregate in 2015 and will likely need about 4,033,332 short tons by 2030. This entire
                market area can be served by Free-On-Board (FOB) truck delivery whereby the buyer
                must pay to have the goods delivered (typically with the buyer’s trucks) and the seller
                will have no delivery expenses. Georgia Department of Transportation projects including
                several bids and details of contracts active in 2018 in the market area can be found on the
                Georgia DOT website. 93

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              According to the Resource Valuation Report, there are at least three large region-
          specific markets that can be served by the subject property’s proposed operation. These
          markets typically are deficient in supply and higher prices are paid for the stone.

              o Market 1: A major market is the rail shipments of aggregate to regions without
                significant crystalline rocks. The subject property’s proposed operation
                aggregates have physical properties appropriate to road surfaces and are desirable
                for asphalt production as well as concrete. To the south and east the entire
                Atlantic and Gulf Coast coastal plain regions are poor in hard rock aggregate
                resource, which include the Carolinas, Florida, Alabama, Louisiana, Mississippi,
                and some areas of Texas along the Gulf. The coastal markets include higher
                dollar applications such as jetty stone as well as other classifications; jetty stone
                is currently shipped from existing quarries in the subject property’s market area.
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                         According to the Resource Valuation Report, the demand for aggregate greatly
                         exceeds the supply because these areas are among those with the highest
                         population increases in the United States.

                     o Market 2: A growing market for stone is the metropolitan areas of the Gulf coast
                       and Texas. Many of the older quarries nearest to Houston and other Coastal Plain
                       cities are deep and near the end of their productivity. They have no room to
                       expand, but demand remains high because some of them have eliminated existing
                       asphalt operations to expand the quarry into these areas. The subject property’s
                       proposed operation can transport aggregate to these areas by CSX railroad and
                       other rail connections. The subject property is well positioned to serve the needs
                       of the rail market, and is nearer to the large Texas and gulf coast markets than
                       other large production quarries. The strength of the regional rail market is shown
                       by the rapid expansion and 24-hour operation of large midwestern quarries such
                       as the Dolese Brothers Richards Spur quarry near Lawton, Oklahoma. The
                       Richards Spur limestone quarry has been in operation since 1907. The quarry
                       was listed as the 15th highest producing quarry in the United States in 2013 and
                       produced more than four million tons in 2016.

                     o Market 3: Railroad ballast is a large market where demand annually exceeds
                       supply. Annual reports published by Union Pacific, CSX and Norfolk Southern
                       Corporations reveal significant Net Accumulated Depreciation balances of total
                       ballast. Much of this ballast is replaced on six-year cycles and often cannot be
                       directly recycled. In 2014, CSX Corporation reported a Net ballast cost of $2,693
                       million and a Net Accumulated Depreciation of $679 million which would
                       represent about 336 million tons of ballast aggregate if sold from the subject
                       property’s proposed operation at the very conservative price of $8.00 per ton.
                       Using the same price, this represents an increase of over four million short tons
                       from the previous year’s CSX ballast depreciation figures. In 2014, Norfolk
                       Southern Corporation reported a Net ballast cost of $2,360 million and a Net
                       Accumulated Depreciation of $498 million which would represent about 295
                       million tons at the $8.00 per short ton. 94

     Production

                     The timing of the permitting and the startup of a new operation would take a
                majority of the first year. The ramping up of production takes this into consideration with
                most likely producing only about three to six months of the first year while working out
                the plant problems associated with a new operation. The following year would be a full
                year of production, but not full capacity. This is normal operating procedure with new
                customer acquisition and production stockpile building. The keys to a fast startup are
                having qualified management and experienced labor available.

                    Typically, the first year or two of production in a competitive market is less than
                succeeding years due to the need to capture a portion of the existing market, but
                preferably without reducing prices. This can mean initially slow growth for aggregate
                quarries that rely on the construction market.

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                     As detailed earlier in this report, the current available and future markets rely
                entirely upon the population of the area served by the subject property’s quarry. The
                quarry closest to existing project sites with the necessary products for those projects will
                eventually acquire that business. The cost of transportation is the strongest factor driving
                the choice of a quarry for a project. The subject property’s quarry would be expected to
                acquire a small percent of the existing market in the first year of operation and take more
                of that market in subsequent years.

                     According to the Resource Valuation Report, the valuation estimates a total of 60.6
                million short tons mined and processed over a 25-year period by the subject property’s
                proposed operation with 7.2 million short tons contributed from the FOB truck market
                and 53.4 million short tons from the rail market. The truck market rate is modeled as
                150,000 tons in Year 1, 250,000 in years 2 and 3, and 300,000 tons in years 4 through 25
                as the market matures. According to the Resource Valuation Report, a slower production
                rate for the first three years will allow the establishment of the ultimate quarry site and
                market for the subject property’s proposed operation. The rail market annual production
                is modeled as escalating over a 25-year period from 1.6-unit trains (about 9,000 tons per
                unit train) per week or 800,000 tons in Years 1 and 2, 2.0-unit trains per week or
                1,000,000 tons per year in Years 3 and 4, 1,336,400 tons in Years 5 through 7 and then
                the equivalent of adding about half a unit train per year through mine life. 95

                     Of note, based on discussions with Mr. Ben Black, GeoLogic, LLC (GeoLogic), and
                the current mine plan, Mr. Black stated the following, “GeoLogic’s review of the mine
                plan and current rail loadout operations, as well as truck service to the mine indicates that
                a maximum of about two million short tons per year (tpy) by means of rail, plus about
                300,000± trucks per year is reasonable based on site conditions. Initial operations of the
                mine will only include truck sales while the mine is being developed and rail access
                constructed. This initial construction will likely take two to three years to accomplish
                once construction begins. Peak production of 2.3 million short tons per year will not
                likely occur until Year 6 or later. A schedule as follows is considered reasonable:

                     Year 1 – 150,000 tpy
                     Year 2 – 250,000 tpy
                     Year 3 – 350,000 to 500,000 tpy
                     Year 4 – 750,000 to 1,500,000 tpy
                     Year 5 – ≥1,500,000 tpy

                      For the purpose of this appraisal report, the first year will primarily be spent in
                obtaining permits, site preparation, road construction, hiring management, overburden
                stripping, starting construction of the rail and plant setup, with no production or sales.
                Truck production will start in year two with 150,000 tons and ramp up to 250,000 tons in
                years three and four and increase to 300,000 tons per year from years five through 26. For
                the purpose of this appraisal report, it is assumed the construction of the rail loop will
                begin at the end of year one and be completed in year three, with no sales by means of the
                rail line in years one through three. Production and sales by way of rail will start in year
                four with 200,000 tons, increase to 700,000 tons in year five, increase to 1,000,000 in

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            year six, increase to 1,336,000 in years seven through nine, and then based on the
            Resource Valuation Report, increase approximately a half of unit train per year
            (approximately 4,500 tons) through the life of the mine. For the purpose of this appraisal,
            the total production by means of truck would be 7,250,000 tons and 29,308,500 by means
            of rail. It is the appraisers’ opinion this production schedule adequately takes into account
            the construction of the rail and site limitations.

     Additional market research performed by Dr. Capps, Capps Geosciences, LLC included the
     following sources:

         - Clark, S., 2008, Geology of the Southern Appalachian Mountains: Scientific
           Investigations Map 2830: U.S. Department of the Interior United States Geological
           Survey.

         - Cook, F., Albaugh, D., Brown, L., Kaufman, S., Oliver, J., and Hatcher, R., 1979,
           Thinskinned tectonics in the crystalline southern Appalachians; COCORP
           seismicreflection profiling of the Blue Ridge and Piedmont: Geology, v. 7, p. 563–567.

         - Dallmeyer, R., 1978, 40Ar/39Ar incremental-release ages of hornblende and biotite
           across the Georgia inner Piedmont: their bearing on the late Paleozoic-early Mesozoic
           tectonothermal history: American Journal of Science, v. 278, p. 124–149.

         - Dallmeyer, R., Hess, J., and Whitney, J., 1981, Post-magmatic cooling of the Elberton
           Granite; Bearing on the late Paleozoic tectonothermal history of the Georgia Inner
           Piedmont: Journal of Geology, v. 89, p. 585–600.

         - Dicken, C., Nicholson, S., Horton, J., Foose, M., and Mueller, J., 2007, Preliminary
           integrated geologic map databases for the United States; Alabama, Florida, Georgia,
           Mississippi, North Carolina, and South Carolina: USGS Digital Map.

         - Dvoracek, D., 2003, Geochemical and geochronological study of the Danberg and Sandy
           Hill granitoids and associated mafic enclaves, northeastern Georgia [Ph.D. thesis]:
           University of Georgia, Department of Geology, Unpublished Ph.D. dissertation, 260 p.

         - Gore, P., and Witherspoon, W., 2013, Roadside Geology of Georgia: Atlanta, Georgia,
           Mountain Press Publishing Company, 360 p.

         - Hatcher, R., 1978, Tectonics of the Western Piedmont and Blue Ridge, Southern
           Appalachians: Review and speculation: Am.J.Sci., v. 278, p. 176–304.

         - Lawton, D., and others., 1976, Geologic Map of Georgia, Scale 1:500,000: Georgia
            Geological Survey, scale=1:500,000.
         - Schroeder, P., and Allard, G., 2010, Elberton Georgia Granite: Geology and Industry
            Insights: AAPG Foundation Trustee Associates Field Trip-October 26, 2010.

         - Watson, T.L, 1902, Preliminary Report on a Part of the Granites and Gneisses of
           Georgia: Georgia Geological Survey, Atlanta, Georgia, Bulletin 9-A, 410pp.
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            -   Richard C. Capps holds a PhD and is a SME Registered Geologist with Dr. Capps, Capps
                Geoscience, LLC. Since 1978 Dr. Capps has been involved in mineral exploration for
                precious metals, base metals, uranium, and industrial minerals. He has worked
                extensively on projects in Montana, Nevada, Arizona, and California in the Western U.S.;
                on exploration projects in South and South Carolina, Alabama, and Georgia in the
                Eastern USA and international projects including the Nassau Project of Suralco in
                Suriname and on projects in Mexico.

    Permitting

                     It is not anticipated that any permitting difficulties will be encountered for the
                operation as planned. Georgia is currently ranked 12th in value of nonfuel minerals by
                state, according to the USGS. A large portion of this value comes from aggregate
                operations, primarily crushed stone. These statistics indicate a sophistication in the
                permitting and regulatory framework in the State of Georgia and serve as an indicator of
                how mining friendly the state is. Based on a review of active aggregate permits and
                timelines in the state, it is estimated that the entire permitting process for the subject
                property can be completed within a window of six to eighteen months. A breakdown of
                the specific permitting processes and application steps can be found in the sections
                below. It should be noted that a state permit is not required for the operation of a surface
                dimensional stone quarry, but it is recommended that the subject property apply for a
                permit for its crushed stone activities.

                     According to the Resource Valuation Report, in order to open an aggregate quarry in
                Georgia, a quarry operator must have an approved surface mining permit in place with
                the Georgia Department of Natural Resources, Environmental Protection Division
                (Georgia EPD). Other permits required are a Storm Water Discharge Permit and an Air
                Emissions Permit. According to the Resource Valuation Report, Log Creek, LLLP was in
                the process of applying for all necessary permits in 2018 and in the appendix of the
                Resource Valuation Report, is an addendum to the 2018 report containing draft
                Ecological Survey, Mine Plan, and permit applications. According to Dr. Capps, Capps
                Geoscience, LLC, it is reasonably probable that the mining, storm water, and air emission
                permits will be granted for the subject property’s proposed operation and that the subject
                property’s proposed operation will obtain a Conditional Use Permit to operate the quarry
                on the currently zoned FOR-AG land. Typically, the Mined Land Use Plan submitted to
                the EPD requires a 50-foot buffer surrounding the quarry. Additional plan requirements
                typically include a limit on the height of berms and overburden storage, a riparian buffer
                of 50 feet, and the slopes of reclaimed unconsolidated material must not exceed a 3:1
                ratio of width to height. In addition, buffers from property lines are generally 75 feet and
                300 feet from dwellings. 96

     Surface Mining Permit

                     The Georgia Environmental Protection Division (GEPD) of the Georgia Department
                of Natural Resources (DNR) regulates mining activities within the state of Georgia. The
                Surface Mining Unit of the Land Protection branch of GEPD specifically oversees the
                issuance, and regulation, of mining permits and activities. Under the regulations set forth

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           by the SMU, a Surface Mining Land Use Plan (SMLUP) is required to be submitted as
           part of the permitting process. This SMLUP is required to include:

                1. A title sheet with site location, name, and contact information for the mine
                   operator, plant designer, and a 24-hour emergency contact.

                2. A boundary survey with metes and bounds description.

                3. An existing conditions description with topographic survey of elevation contours,
                   roads, utilities, streams, wetlands, and easements.

                4. A proposed mining plan showing permit boundary, affected acreage, undisturbed
                   buffers and limits of mining, direction of mining progression, proposed contours,
                   mining features (haul roads, stockpiles, plant operations site), a cross section
                   showing anticipated depth of mine pits, potential impacts on neighboring
                   properties, and a comprehensive mitigation and reclamation plan.

                5. An erosion and sedimentation control plan, details and notes showing undisturbed
                   buffers for permit boundary and streams, wetlands, site drainage, and a plan
                   using best management practices to control erosion and sedimentation.

                6. A posted bond of approximately $2,500 on each acre of proposed disturbance.

     U.S. Army Corps of Engineer Section 404 Permit

               A delineation of wetlands and streams within the property boundary is required by the
           SMLUP. Once these wetlands have been delineated, a buffer is required on all wetlands
           and streams. If an impact on wetlands is anticipated to occur, permits will be required
           under Section 404 of the Clean Water Act of 1972. This permit will require coordination
           with the U.S. Fish and Wildlife Service regarding federally protected species. If stream
           and wetland impacts are to occur, compensatory mitigation will be required. This
           compensation can be achieved through the construction of artificial wetlands, or through
           the purchase of mitigation credits from an approved mitigation bank. It is believed that
           wetland potential can be easily managed on the subject property based on an analysis of
           National Wetland Inventory Maps. According to Flood Insurance Maps (FIRM)
           13301C0175B, dated July 22, 2010, the subject property is located within Zone X, an
           area not prone to flooding. Based on mapping provided by GeoLogic, LLC, there are a
           few streams running through the subject property. According to Mr. Ben Black,
           GeoLogic, LLC, as currently designed, the quarry and the operations of the plant will
           avoid wetlands to the extent practical. The creek crossings needed to place the rail loop
           track will be permitted under a U.S. Army Corps of Engineers Nationwide Permit (PCN
           44) for installation of pipe culverts. As such, there are no expected wetlands mitigation
           costs associated with this quarry. However, for the purpose of this report, a wetland
           contingency of $500,000 has been budgeted and included in the year one start-up costs.
           Therefore, any potential wetlands or streams on-site are not considered to affect the
           highest and best use of the subject property as a granite mine.

     Storm Water and Wastewater Discharge
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                The Water Protection Branch of the GEPD oversees storm and wastewater
           discharges. A general permit for storm water discharges associated with industrial
           activities are issued under the National Pollutant Discharge Elimination System
           framework. Receiving one of these permits requires the preparation of a Storm Water
           Pollution Prevention Plan (SWPPP), which discusses potential pollutants, best
           management practices, good housekeeping measures, sampling and inspection
           procedures, record keeping plans, maintenance, and a plan for emergency procedures.

                Notable for the specific requirements of the subject property is the fact that
           sediments are considered to be a potential pollutant and will need to be planned for in the
           SWPPP. These sediments become a key monitoring condition for the wastewater
           requirements under the NPDES General Permit for Mining and Processing Facilities.
           When storm water comes in contact with mine process water or wash water, it is also
           considered to be wastewater and is therefore regulated. These wastewater emissions need
           to be monitored as follows when they are discharged into waters of the United States:

               1. Flow is monitored once per month in million gallons per day.

               2. Total Suspended Solids shall not exceed a 50mg/L daily average and a 75mg/L
                  daily maximum as measured once per month.

               3. Oil and grease shall not exceed 10mg/L daily average and a 15mg/L daily
                  maximum as measured twice per year.

               4. Effluent turbidity (NTU) shall be monitored once per month.

               5. Instream turbidity (NTU) shall be monitored once per month at the effluent
                   discharge point. Upstream and downstream of the discharge point will also be
                   measured, if applicable.

               6. pH shall not be less than 6.0 or greater than 8.5 as measured once per month.

     Ground Water Withdrawal Permit

                Unless existing water wells have already been identified for use in dust control for
           mining and processing activities as outlined in the mine plan, a Ground Water
           Withdrawal Permit from the Water Protection Branch of GEPD will be required to install
           a production well. This permit will be required for water withdrawals of greater than
           100,000 gallons per day. A submission to GEPD in order to demonstrate that existing
           domestic wells will not be adversely impacted by the new production well is required.
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     Air Permitting

                     Crushed stone mines are known sources of particulate matter, primarily due to the
                generation of fugitive dust. This dust is generated and distributed by a variety of mining
                related activities from the moving of mining vehicles to the screening and stockpiling of
                materials. When determining if an air permit is needed, the emissions from diesel engines
                and other greenhouse gas emitters will need to be considered. It is anticipated that a
                permit may be required and that a minor source air construction permit (<100,000 tons of
                particulate per year) should be adequate. Making a final determination on whether this
                permit is needed or not will require a detailed evaluation of the proposed mining
                activities and specific equipment to be used on the site. If required, this permit would be
                obtained from the GEPD Air Protection Branch.

     Mine Safety and Health Administration (MSHA)

                     Mining activities at the subject property fall within the jurisdiction of the Southeast
                Division of MSHA in Birmingham, Alabama. An MSHA license and identification
                number will need to be applied for from this office. In addition to the license, certain
                daily logs, safety training, and other safety and health related requirements will need to
                be followed by the mine. It is likely that most of the available mine laborers and
                management will have experience and requisite training in MSHA safety techniques prior
                to beginning work at the subject property.

     Operating Costs

                     Total start-up costs for a mining development vary due to a range of factors such as
                site characteristics, materials to be mined, depth of deposits and permitting requirements.

                     As previously discussed, the subject property contains ample granite deposits and is
                located in an area of Georgia with permitted aggregate mines existing and operating,
                indicating the permitting process to not be overly burdensome or costly. It should be
                noted the subject property is a self-contained property potentially resulting in minimal
                impact on surrounding properties allowing a more streamlined and efficient permit
                process.

                     The subject property’s quarry project is wholly owned by Log Creek LLLP and the
                subject property’s quarry will be mined under a mining contract agreement. Additional
                costs of operating the quarry would be relatively minor startup fees such as establishing
                electric services. 97 Of note, based on the operating cost modeled within this appraisal
                report, the contract mining cost estimate of $8.75/ton is consistent, and conservative
                based on information within this market for contract miners.

                    The rock quality, mining conditions, and anticipated rate of production at the subject
                property’s proposed operation are very similar to those at currently operating crushed
                stone aggregate quarries in the area, and these provide a good model for the subject
                property’s proposed operation. Dr. Capps, Capps Geoscience, LLC, is familiar with
                contract mining costs and services provided under area contract mining and management

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                agreements and these include variable costs such as gas and electricity as well as periodic
                costs such as site preparation, scales, office expenses, labor, quality control, depreciation,
                equipment mobilization, insurance, property taxes, freight, permitting (consulting) diesel
                fuel, explosives, supplies, and miscellaneous equipment. A conservative contract mining
                estimate is about $8.75 per short ton and is consistent with the information obtained from
                current area operators. 98

     Market Pricing

                     According to the United States Geological Survey 2018 Mineral Commodity
                Summary, 1.40 billion tons of crushed stone valued at more than $16.6 billion or
                $11.85/ton was produced by an estimated 1,465 companies operating 3,710 quarries and
                176 sales and (or) distribution yards in 50 States. Production and price have shown a
                steady rise since 2011. The production in 2011 was 1.16 billion tonnes at $9.65/tonne, in
                2012 was 1.17 billion tonnes at $9.73/tonne, and in 2013 was 1.25 billion tonnes at
                $9.75/tonne. The USGS data shows that the third-quarter 2013 shipments for
                consumption increased by 8.0% over those of the same period in 2012. Since 2018, the
                most recent USGS Commodity Summary and Mineral Industry Surveys confirm that this
                upward trend in demand and production continues.

                     The largest aggregate producing companies in Georgia are Vulcan Materials
                Company, Martin Marietta Aggregates, and Hanson Aggregates. All of these
                corporations have active quarries within the subject property’s market area, and their
                presence is clear evidence of a viable aggregates market. Dr. Capps, Capps Geoscience,
                LLC, reviewed price sheets from all of the producers and asked sales associates about
                discounting practices. Dr. Capps obtained current public price sheets from Hanson
                Aggregates. These sales prices and representative historic data are shown below. The
                current average sales price from a relatively nearby Hanson quarry is $25.26/ton, but
                high-volume customers generally receive a significant per ton discount over the listed
                price. The company generally considers volume, product type, and credit history in
                determining the discount for each customer. Dr. Capps interviewed several sales offices
                and industry professionals, and the discounts typically range from about one dollar to
                three dollars. Examples of these discounts are included in Appendix D of the Resource
                Valuation Report, found in the addenda of this report, in the form of amendments to
                Georgia State Department of Transportation contracts with the Georgia aggregates
                industry. 99

                     In 2018 using a discount of three dollars per ton, Dr. Capps, Capps Geoscience, LLC
                concluded a conservative average sale price for the subject property’s proposed operation
                truck market would be $22.00/ton. However, the initial sales might likely be of lower
                grade stone such as commercial base and so a sales price of $15.05/ton was set as a
                conservative figure for initial quarry truck market production. Further, according to the
                Resource Valuation Report, the sales price is $14.00 per ton for rail shipments. It is the
                appraisers’ opinion these prices are reasonable and conservative for this market and have
                been utilized within this appraisal report.



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          Resource Valuation Report, Capps Geoscience, LLC
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          Resource Valuation Report, Capps Geoscience, LLC.
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     Price Escalation

                Industry, construction and finance departments are constantly trying to measure
           fluctuations in supply and demand and therefore the price or cost of materials or goods
           sold during the lifetime of projects. Trying to constantly manage the costs associated with
           fluctuations in the market for most raw materials used in multi-year, large dollar-value
           projects that require a robust supply of aggregates and raw materials becomes time
           intensive, inefficient and costly to constantly manage and monitor. As such, most firms
           employ some method of pre-determined price escalations, a set rate increase, attempting
           to mitigate large fluctuations in the market prices of aggregates mutually beneficial to
           both parties over the life of the contract by avoiding large losses or gains by either party.
           The industry standard for price escalation estimates is typically the Producer Price Index
           (PPI) produced by the Bureau of Labor Statistics and widely accepted by contracting
           parties nationwide. The chart below demonstrates the PPI typically used in determining
           the monthly escalation rates in the cost of raw materials.




                A key component in projects being completed on time and within budget is ensuring
           agreed upon fair and equitable price escalations, at least as far as known material costs
           are concerned. This necessary consideration, often established in contracts, is
           demonstrated by the Mineral Commodity Summaries published by the U.S. Geological
           Survey in 2017, “The estimated total output of crushed stone produced for consumption
           in 2017 was 1.35 billion metric tons.”

                The importance of an agreed upon rate of escalation is further demonstrated by a
           study into the percentage increases in metric tons of crushed stone between 2013 and
           2014. According to the U.S. Geological Survey Minerals Yearbook from 2015: “In 2014,
           1,045 operations reported the monetary value of their production with an average unit
           value of $10.74 per metric ton. In 2015, 1,032 operations reported the monetary value of
           their production with an average unit value of $11.31 per metric ton, which was an
           increase of 5.0% compared with that of 2014. Leading U.S. producers reported that prices
           increased by 7.0% to 8.0% in 2015, which exceeded the historic average for year-over-
           year increases.”

                A seven-year crushed stone price trend has been calculated based on USGS price per
           ton reported numbers. The annual percent changes range from 1.7% to 5.5%, averaging
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           3.0%. Additionally, a trend analysis of average selling prices of crushed stone producers
           operating in the southeastern United States over the same timeframe shows an average
           increase of 3.9%, ranging from 1.7% to 7.1%. For the purpose of the subject property’s
           pro forma, a reasonable annual price increase of 2.5% will be used after the initial price
           period in Year 1 for crushed stone products.

     Start-Up Costs (Exploration, Permitting, Plant-Equipment)

                Total start-up costs for a mining development vary due to a range of factors such as
           site characteristics, materials to be mined, depth of deposits and permitting requirements.

                As previously discussed, the subject property contains ample granite deposits and is
           located in an area of Georgia with permitted granite mines existing and operating,
           indicating the permitting process to not be overly burdensome or costly. It should be
           noted that, the subject property is a self-contained property potentially resulting in
           minimal impact on surrounding properties allowing a more streamlined and efficient
           permit process.

                As stated throughout this report, a contract miner will be responsible for start-up
           costs such as exploration and plant equipment, which is included in the $8.75/ton figures
           found throughout this report. An additional $150,000 is included in the discounted cash
           flow analysis in order to account for the cost of procuring the necessary permits for the
           subject property and an additional $150,000 is included for mobilization and
           demobilization. According to Mr. Curtis Colwell, Colwell Construction, a contract miner
           in the southeast, the costs associated with site preparation, overburden removal, erosion
           barriers, boulder breakage, and associated costs can be estimated at $1,000,000 for an
           average property. An additional $200,000 has been included as miscellaneous expenses
           and $500,000 has been included for potential wetland mitigation.

                Further, according to Mr. Ben Black, GeoLogic, LLC and presented in the table
           below, the estimated cost to construct the rail operation at the subject property is as
           follows:

               Item             Track Work      Earth Work        Box Culverts    Comments
          Mobilization /
                                     $60,000        $150,000            $75,000
         Demobilization
        Track Construction        $1,860,000         $744,000          $358,750 Box Culvert (260 feet)
             Turnout                $375,000         $125,000          $150,000 Headwalls (4)
        Crossing Renewal             $60,000          $45,000          $750,000 Earth Work Around Box
          Bumping Post              $100,000          $20,000          $200,000
                                  $2,455,000       $1,084,000        $1,533,750                    $5,072,750
                                                                30% contengency                    $1,521,825
                                                                                                   $6,594,575

                Finally, as detailed earlier in this report, the cost to breach the land covenant on the
           subject property would be $203,570.53. Therefore, the total start-up costs have been
           estimated to be $8,798,146. This will be included in the DCF found within this report.
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     Expenses

                Operating expenses for the mining and processing of crushed stone are broken down
           into several different categories, including the actual mining costs themselves, GSA,
           property tax, surety bond, reserves for replacement, and reclamation. Many of these costs
           have been determined based on experience and proprietary information, including
           information collected from other mineral development properties in the Southern U.S.
           region. These costs are explored further below.

     Transportation Costs

                Transportation costs are generally the responsibility of customer, thus are not
           included in the Discounted Cash Flow as a line item. This pricing is based on the
           customer providing transportation from the mine to the job and up to the customer to
           provide the appropriate quantity of trucks for the project. Transportation to a nearby rail
           spur is also common; however, this is incorporated into the pricing and not as a line-item
           expense.

     Management/Administrative Costs/Sales/Marketing

                Based on the mining operations nationwide and the Resource Valuation Report
           prepared Dr. Capps, Capps Geoscience, LLC, for a privately-owned mining operation the
           administrative and management cost is generally between 2.0% and 4.0% depending on
           the commodity mined, the size of the operation, and the size of the operating entity. For
           the subject property, a GSA cost of 3.0% of annual revenue has been used in the pro
           forma. This higher percentage has been selected to provide the management of the
           subject property with additional allocated capital for emergence into an established
           marketplace.

     Surety Bond

                A surety bond will need to be posted as part of the permitting process. This bond is
           $2,500 per each acre of proposed disturbance in the State of Georgia and can be rotated
           to new areas as the mining progresses, as long as the areas of previous disturbance have
           been reclaimed to the satisfaction of the GDOL. For the subject property’s pro forma, a
           disturbance area of 240 acres will be assumed at a cost of approximately $600,000.
           Although the original pit is assumed to be 68 acres, the entire acreage is assumed for the
           surety bond to be conservative and account for the potential expansion of the quarry in
           the future.

     Property Taxes

                Property taxes are calculated based on the existing use and zoning of the property.
           The subject property is currently being taxed at approximately $13.03/acre. Once the
           subject property has been reassessed as a mining property, this tax rate is likely to
           increase to approximately $30.94/acre, the current property tax rate for mining properties
           near the subject property in Warren County. A $35.00/acre tax rate has been assumed as a
           conservative estimate for the subject property. This will start in year two, when it is
           assumed the subject property will be reassessed.
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     Reserve for Replacements

                Cash reserves are held for replacement of any equipment requiring repairs
           necessitating capital but can be expensed. This rate is generally set at 1.0% of gross
           revenue, and a 1.0% figure is used conservatively in the pro forma in order to maintain
           the operating efficiencies needed to maintain competitiveness within the regional market.

               Based on the above information and only considering the period of active mining
           operations, a replacement allowance of $23,139 is used for year 2, $39,530 is used for
           year 3, and $70,671 is used for year 4, increasing as revenue increases to maintain the
           1.0% of gross revenue.

     Contingency

               Most mining operations maintain a contingency expense for unknown expenses that
           may arise during operations and that fall outside of normal Operations and Management
           (O&M) budgets. These unexpected circumstances may range from increases in mining
           regulations, to changing market conditions, to increases in property taxes. This
           contingency would also include the repair and replacement of equipment if it were to
           exceed the cash reserves for replacement in any given year. This contingency is generally
           placed in a range between 1.0% and 3.0%, for the subject property a contingency of 2.0%
           has been assumed.

     Reclamation

                Reclamation at the end of a mining operation involves plant deconstruction, land
           grading and planting. The surety bond amount is used to calculate the expenses due as a
           result of the reclamation once mining operations have ceased. The surety bond amount
           times the total acreage adjusted at 2.5% per year future value will be due in the final year.
           The 2.5% is indicative of normal growth rates for reclamation bonds. An adjustment for
           reclamation expense is reduced by 50.0% to take into account the remaining actual land
           that requires grading and planting. Most quarries are either left to fill up with water over
           time and do not require immediate reclamation or are reclaimed in stages as mining
           operations are moved throughout the property.

                Using the above process, reclamation cost at the end of mining operations is
           estimated to be $300,000 escalated to a future value by 2.50% per year.

     Materials Harvest Cost

                The actual mining cost is the last element and is a variable expense based on tonnage
           processed, such that the same equipment could produce material at a lower volume or
           higher volume based on demand. A cost of $8.75/ton was utilized for the contract mining
           estimate for the subject property, which is consistent with information from current area
           operators. This calculation is not based on capital investment; it is only based on
           operating expenses. The mining and production costs are usually broken down into labor
           (55.0%), mining and production supplies including mobile equipment leases (35.0%) and
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                utilities (10.0%) for budget purposes (Hard Rock Miner’s Handbook). For an escalator,
                we have chosen to use an increase in mining costs of 2.5% for the duration of this DCF.

                     Mining operation profits are taken from net income after accounting treatment of
                depreciation, amortization, depletion, taxes, etc., whereas the GSA expenses for the
                management of the plant is usually not taken by the investors/developers and is therefore
                a straight expense to operations.

     Summary of DCF

                     According to the Resource Valuation Report, the valuation estimates a total of 60.6
                million short tons mined and processed over a 25-year period by the subject property’s
                proposed operation with 7.2 million short tons contributed from the FOB truck market
                and 53.4 million short tons from rail market. The truck market rate is modeled as 150,000
                tons in Year 1, 250,000 in years 2 and 3, and 300,000 tons in years 4 through 25 as the
                market matures. According to the Resource Valuation Report, a slower production rate
                for the first three years will allow the establishment of the ultimate quarry site and market
                for the subject property’s proposed operation. The rail market annual production is
                modeled as escalating over a 25-year period from 1.6-unit trains (about 9,000 tons per
                unit train) per week or 800,000 tons in Years 1 and 2, 2.0-unit trains per week or
                1,000,000 tons per year in Years 3 and 4, 1,336,400 tons in Years 5 through 7 and then
                increase approximately a half of unit train per year (approximately 4,500 tons) through
                the life of the mine. 100

                     Of note, based on discussions with Mr. Ben Black, GeoLogic, LLC (GeoLogic), and
                the current mine plan, Mr. Black stated the following, “GeoLogic’s review of the mine
                plan and current rail loadout operations, as well as truck service to the mine indicates that
                a maximum of about two million short tons per year (tpy) by means of rail, plus about
                300,000± trucks per year is reasonable based on site conditions. Initial operations of the
                mine will only include truck sales while the mine is being developed and rail access is
                constructed. This initial construction will likely take two to three years to accomplish
                once construction begins. Peak production will not likely occur until Year 6 or later. A
                schedule as follows is considered reasonable:

                     Year 1 – 150,000 tpy
                     Year 2 – 250,000 tpy
                     Year 3 – 350,000 to 500,000 tpy
                     Year 4 – 750,000 to 1,500,000 tpy
                     Year 5 – ≥1,500,000 tpy

                     For the purpose of this appraisal report, the first year will primarily be spent in
                obtaining permits, site preparation, road construction, hiring management, overburden
                stripping, starting construction of the rail and plant setup, with no production or sales.
                Truck production will start in year two with 150,000 tons and ramp up to 250,000 tons in
                years three and four and increase to 300,000 tons per year from years five through 26. For
                the purpose of this appraisal report, it is assumed the construction of the rail loop will
                begin at the end of year one and be completed in year three, with no sales by means of the

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              rail line in years one through three. Production and sales by way of rail will start in year
              four with 200,000 tons, increase to 700,000 tons in year five, increase to 1,000,000 in
              year six, increase to 1,336,000 in years seven through nine, and then based on the
              Resource Valuation Report, increase approximately a half of unit train per year
              (approximately 4,500 tons) through the life of the mine. For the purpose of this appraisal,
              the total production by means of truck would be 7,250,000 tons and 29,308,500 by means
              of rail. It is the appraisers’ opinion this production schedule adequately takes into account
              the construction of the rail and site limitations.

                   Based on the above analysis, the ability to quickly ramp up production, utilize new
              and more efficient equipment, account for changes in current and future market pricing
              trends, and the current deficit in the market area, results in a viable endeavor with a high
              probability of success. Furthermore, the report states that the granite is of a quality that is
              currently being utilized by customers within a wider market with shipping available on
              site and can be easily transported to different regions of the United States should the
              market conditions dictate.

                  Additionally, capital requirements for equipment vary from provider to provider. The
              values provided function as a starting point for cash flow requirements and budget
              analysis.

     Entrepreneurial Incentive

                    When analyzing a property with the discounted cash flow analysis detailed in this
              report, entrepreneurial profit should be considered. Entrepreneurial profit is defined as:
              “A market-derived figure that represents the amount an entrepreneur receives for his or
              her contribution to a project and risk; the difference between the total cost of a property
              (cost of development) and its market value (property value after completion), which
              represents the entrepreneur’s compensation for the risk and expertise associated with the
              development. An entrepreneur is motivated by the prospect of future value enhancement
              (i.e., the entrepreneurial incentive).” 101 Entrepreneurial incentive is defined as: “The
              amount an entrepreneur expects to receive for his or her contribution to a project.
              Entrepreneurial incentive may be distinguished from entrepreneurial profit (often called
              developer’s profit) in that it is the expectation of future profit as opposed to the profit
              actually earned on a development or improvement.” 102 Finally, developer’s profit is
              defined as: “the profit anticipated or earned by the developer of a real estate project.” 103
              According to market participants, entrepreneurial incentive is typically not included as a
              line item in the financial analysis of mining operations. Therefore, for purposes of this
              analysis, entrepreneurial inventive is not included as a line item and considered in the
              selection of the discount rate.

                   We have done extensive investigation and continue to do so with respect to the
              industry methods and standards in regard to entrepreneurial incentive. we have spoke
              with industry experts and have concluded that within the mining industry, the
              entrepreneurial incentive is incorporated into the discount rate. Therefore, for the purpose


     101
         Dictionary of Real Estate Appraisal, Fifth Edition, pages 67-68
     102
         Dictionary of Real Estate Appraisal, Fifth Edition, pages 67
     103
         Dictionary of Real Estate Appraisal, Fifth Edition, pages 57
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           of this appraisal, the entrepreneurial incentive will be considered in the selection of the
           discount rate.

     Discount Rate

                Discount rates as they apply to the appraisal of real estate are best explained using
           information presented by the Appraisal Institute in the publication The Appraisal of Real
           Estate, 15th Edition, Pages 429-430. The following quotes provide a brief introduction
           and summary of discount rates and how they apply to the appraisal of real estate.

                “Different discount rates are used to discount cash flows applicable to a specific
           position or interest in defined real estate. Discount rates are different from capitalization
           rates. With a discount rate, any anticipated changes in income or value are explicit in the
           cash flows. With capitalization rates, the changes are implicitly accounted for in the rate.”

                “A yield rate is a rate of return on capital. It is usually expressed as a compound
           annual percentage rate. The yield rate considers all expected property benefits (both
           positive and negative over time), including the proceeds from disposition at the
           termination of the investment, if any. The term interest rate usually refers to the yield rate
           for debt capital, not equity capital.”

                “An internal rate of return (IRR) is the yield rate that is earned for a given capital
           investment over the period of ownership. The internal rate of return for an investment is
           the yield rate that equates the present value of the future benefits of the investment to the
           amount of capital invested. The internal rate of return applies to all expected benefits,
           including all periodic cash flows and the net proceeds from disposition at the
           investment’s termination. It can be used to measure the return on any capital investment,
           before or after income taxes.”

                “An overall yield rate (Y0), or property yield rate, is a rate of return on the total
           capital invested. It considers all changes in income over the investment projection period
           as well as the reversion at the end of the projection period. It does not, however, consider
           the effect of debt financing. Rather, it is calculated as if the property were purchased with
           no debt capital and thus is sometimes called an unleveraged rate or an unlevered rate. The
           overall yield rate can be viewed as the combined yield on both the debt and equity
           capital.”

                “A discount rate reflects the relationship between income and the value that a market
           will attribute to that income. Four key components can be identified within a discount
           rate: the safe rate plus considerations of illiquidity, management, and various risks.”

                “The suitability of a particular rate of return cannot be proven with market evidence,
           but the rate estimated should be consistent with the data available. Estimating rates
           requires appraisal judgment and knowledge of prevailing market attitudes and economic
           indicators.”

                Furthermore, according to the American Institute of Minerals Appraisers (Dec. 1995,
           1:5, 4), there are times when mining operations fail to account for the differing market
           expectations associated with the mining community. “O'Connor and McMahon believe
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          that the high discount rates commonly applied to mining projects fail to take into account
          some fundamental issues. Mining companies are part of an international community and
          as such should devise their cost of capital accordingly. Using rates significantly above
          this level, they maintain, is clearly not taking into account market expectations."

               Based on the above recommendations from the American Institute of Minerals
          Appraisers, the appropriate discount rate is settled on only after considering market
          expectations based on the subject property’s location and any potential competition from
          surrounding properties. As discussed previously, the subject property is located amid an
          area rich with granite deposits, however, other properties in the area also benefit from the
          plethora of resources. Despite the abundance of mineral deposits, it is difficult to predict
          if any surrounding properties will undertake the development of a mining operation. A
          non-inclusive list of five (5) factors which impact the probability of a surrounding
          property undergoing the development of a mining operation and thereby creating
          competition for the subject property’s mining operation include:

                  1. The property owner’s motivation and desire to operate a mine

                  2. The property owner’s capital resources and ability to undertake a mining
                     development

                  3. The specific product mixes on a site and the ease of extracting the materials

                  4. The access to transportation specific to a property

                  5. Known plans of the property owner to begin operating a mine on the
                     property.

          Moreover, the discount rate for a mineral project is primarily comprised of three (3)
          principal components:

                  1. Risk-Free Interest Rate: The value of the long-term, risk-free, real (no
                     inflation) interest rate is approximately 2.5%. Long term averages range from
                     2.3% to 2.6%.

                  2. Mineral Project Risk: includes risks associated with reserves (tonnage, mine
                     life, grade), mining (mining method, mining recovery, dilution, mine layout),
                     process (labor factors, plant availability, metallurgy, recoveries, material
                     balances, reagent consumption), construction (costs, schedules, delays),
                     environmental compliance, new technology, cost estimation (capital and
                     operating), and price and market.

                  3. Country Risk: refers to risks that are related to country-specific social,
                     economic, and political factors.

               For the purpose of this analysis, a 11.0% discount rate has been selected to derive the
          net income levels and arrive at a present worth. This discount rate is appropriate given the
          risks associated with this type of property and anticipated changes in the investor yield
          rates over the projection period. The selected discount rate is supported by the property
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          specific range of discount rates provided by surveys of market participants conducted by
          RealtyRates.com. RealtyRates.com for industrial properties indicate a range of 7.29% to
          16.39% (12.34% avg.) and for special purpose properties a range of 8.32% to 21.36%
          (15.04% avg.). Therefore, based on the investor surveys, a discount range of 11.00% is
          reasonable and supported.
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     Resource Valuation Report Discount Rate

                    The discount rate for the production transported in the local truck market is 12.5%
                and the discount rate for production transported by rail is 10.0%.

     Mining Survey Discount Rates

                     Below is the PKF Mining Survey from October of 2009. As shown below, it is a
                summary of discount rates from companies across the world. Further, as shown below,
                the simple average of the survey below is 11.16%. Excluding the above discount rates for
                Gem Diamond’s Lesotho project and Highland Gold’s Rouble denominated cash flows,
                which reflect higher political or currency risk, the simple average discount rate would be
                10.19%. 104




                     Furthermore, according to the KPMG Mining Report 2016: “the discount rates
                disclosed by 20 companies ranged from 3.0% to 14.5%. The low end of the range likely
                applied to producing properties in low-risk jurisdictions, while the high end of the range
                likely applied to development properties, and/or properties facing moderate-to-high
                country risk.” It should be noted that the United States is considered to have a very low
                country risk factor. KPMG publishes the results of a survey of reporting major mining
                companies from across the globe. 105

     Mining Professionals Opinion on Discount Rates

                     Mr. Chris Summers, Burgex Inc., Mining Consultants is a senior financial
                professional with extensive experience in mining and exploration activities and over 20
                years in financial management. Mr. Summers has held various senior finance and
                business analysis roles with Rio Tinto and Nyrstar and has represented several mining
                companies as a senior consultant in finance M&A related roles. He has played a vital role
                in analyzing and reviewing key mining and exploration projects and has helped secure

     104
           Most recent chart available from PKF LLP
     105
           Most recent KPMG Mining Report specifically referencing discount rates.
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                funding used to advance several high-profile projects. Mr. Summers indicates mining and
                exploration projects generally employ one of three project valuation approaches. These
                approaches or methodologies tend to be applied based on the stage of the project and how
                much information is available. Further, Mr. Summers explains, when there is sufficient
                information available the preferred approach is almost always the income approach. It is
                used by the majority of companies in the industry and is generally accepted by industry
                analysts and management alike.

                    Mr. Summers states: “The income approach employs the use of the discounted cash
                flow analysis where future project cash flows are discounted back to their current value.
                Key components of the analysis are: capital costs, operating costs, revenues and the
                discount rate. In addition, all cost and revenue forecasts are in cash terms and accounting
                methodologies and measurements like “accruals” and “profit” do not apply to the
                valuation.”

                    Mr. Summers indicates larger companies with sophisticated management in place
                use discount rates between 4.0% to 7.0%. Mid-sized companies with less access to capital
                and higher risk profiles generally use discount rates between 7.0% to 10.0%. Smaller
                companies with higher risk profiles use discount rates between 10.0% to 15.0%.
                According to Mr. Summers, rarely has he seen a project in this industry employ a
                discount rate above 15.0%. In conclusion, Mr. Summers is of the opinion with sand,
                gravel and stone operations of small to mid-size generally employ discount rates between
                10.0% to 12.0%.

                     According to the Resource Valuation Report, the discount rate for the production
                transported in the local truck market is 12.5% and the discount rate for production
                transported by rail is 10.0%. The base discount rate of 9.5% is calculated from summing
                current U.S. Treasury Bond rate of 2.5% and industry bond rate based on published
                Vulcan Materials Corporation (VMC; coupon rates of 7.0% (Discount Rate = 2.5% +
                7.0% = 9.5%) published by Morningstar Ratings. An additional 3.0% is added to the base
                truck market discount rate to allow for the uncertainties inherent in establishing the new
                quarry in the market area.

     Conclusion

                    A Discount Rate is now reconciled from the results of the following methods
                applied.

            -   Investor Surveys 7.29% to 21.36%

            -   Based on the Resource Valuation Report prepared by Dr. Capps, Capps Geoscience, LLC
                at 12.5% for the truck market and 10.0% for the rail market.

            -   KPMG Mining Report discount rates ranging from 3.0% to 14.5%

             - PKF Mining Survey reports a discount rate range of 8.0% to 12.5% with a weighted
                average of 10.19% 106

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           As indicated above the two with higher political or currency risk were not included.
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        - Mr. Chris Summers concludes to 10.0% to 12.0%

               It is our opinion that a discount rate of 11.0% is considered realistic and supportable
           for this project.

              The appraisers have considered the Discount Rate estimate from several methods.
           Therefore, an overall discount rate of 11.0% is utilized herein. The value opinion of the
           subject property by the Income Approach is presented below and on the following pages.

     Mid-Year Convention

                The discounted cash flow projections, calculations and analysis included in this
           report are based on a discount factor derived using mid-year convention analysis. Mid-
           year convention discount factor analysis uses organization mid-year revenue to establish
           the discount factor, rather than new-year or end-of-year (EoY) revenue numbers to
           determine the factor as an alternate method. The appraisers believe using mid-year
           revenue arrives at a more reasonable estimate for the average monthly revenue generated
           for the year. This opinion is substantiated by John A. Bogdanksi in the Federal Tax
           Valuation (para. 3.05[5][b][vi], at 3-135, 2012), “Mid-year convention better reflects the
           fact that operating revenues are often received throughout the year.” Based on the above
           position regarding discount factor calculations, the present value factor calculated on a
           mid-year cash flow basis is

               The appraisers analyzed the findings of Dr. Capps, Capps Geoscience, LLC and
           GeoLogic, LLC as well as previous reports of subsurface material across the Southeast
           from other mining experts. It is the appraisers’ opinion that the analysis provided from
           Dr. Capps, Capps Geoscience, LLC and GeoLogic, LLC, found in this report and in the
           addenda of this report supports the conclusions found herein. The appraisers relied on the
           analyses of the professional geologists and mining consultants provided and referenced
           throughout this report. However, based on the appraisers’ extensive experience
           appraising properties with subsurface rights and with respect to the aforementioned, the
           conclusion of value is the appraisers’ conclusion.
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                       Discounted Cash Flow                                        240.0 Acres
                                                                                      Year 1                Year 2                Year 3                Year 4
                                                                     Price Per
Product Produced                                                                   Short Tons Sold       Short Tons Sold       Short Tons Sold       Short Tons Sold
                                                                     Short Ton
Total Volume (Short Tons) - Truck                                                                    0           150,000               250,000               250,000
Weighted Average Price Per Short Ton of Material - Rock
                                                                         $15.05             $15.05                $15.43                $15.81                $16.21
Aggregate - Truck
Total Volume (Short Tons) - Rail                                                                     0                     0                     0           200,000
Weighted Average Price Per Short Ton of Material - Rock
                                                                         $14.00             $14.00                $14.35                $14.71                $15.08
Aggregate - Rail
Price Appreciation                                           2.5%

Gross Income                                                                                    $0             $2,313,938            $3,952,977            $7,067,095

Expenses                                                                                          1                        2                     3                     4
Start-Up Costs (Permitting-Plant-Equipment)                                              $8,798,146
Mining Cost Per Short Ton of Material - Aggregate            $8.75        2.50%               $8.75                 $8.97                 $9.19                 $9.42
Total Mining Cost                                                                                $0            $1,345,313            $2,298,242            $4,240,257

General Management/ Sales/Marketing/Administration             3%                               $0               $69,418              $118,589              $212,013

Surety Bond Total Acres Bonded                              $2,500     240 Acres          $600,000                    $0                    $0                    $0
Property Taxes $13.03/Acre, then $35.00/Acre                 2.0%                           $3,127                $8,568                $8,739                $8,914
Reserves for Replacement                                                     1%                 $0               $23,139               $39,530               $70,671
Contingency Expenses                                         2.0%                               $0               $46,279               $79,060              $141,342
Sustaining Capex                                                                                                $150,000              $150,000              $150,000
Reclamation at End of Life                                $300,000          2.5%

Total Annual Expenses                                                                    $9,401,273            $1,642,717            $2,694,160            $4,823,197
Total Annual Expenses Less Capital Costs                                                   $603,127            $1,642,717            $2,694,160            $4,823,197
Total Expenses Per Short Ton Less Capital Costs                                                                    $10.95                $10.78                $10.72

Average Selling Price Short Ton of Material - Aggregate                                     $14.00                 $15.43                $15.81                $15.70
Net Income per Short Ton of Material - Aggregate                                            $14.00                  $4.47                 $5.04                 $4.99
Cost as Percent of Revenue                                                                                        70.99%                68.16%                68.25%

Net Annual Income                                                                       -$9,401,273             $671,221             $1,258,816            $2,243,898

Present Value of $1 Based on Discount Rate Below                                           0.94916               0.85510               0.77036               0.69402
Discount Rate                                              11.00%
Yearly Present Value of Net Income                                                      -$8,923,293             $573,959              $969,739             $1,557,301

Running Total of Present Value                                                          -$8,923,293           -$8,349,334           -$7,379,595           -$5,822,294
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   Year 5                Year 6                Year 7                Year 8                Year 9               Year 10            Year 11            Year 12

Short Tons Sold       Short Tons Sold       Short Tons Sold       Short Tons Sold       Short Tons Sold       Short Tons Sold    Short Tons Sold    Short Tons Sold
        300,000               300,000               300,000               300,000               300,000               300,000            300,000            300,000

         $16.61                $17.03                $17.45                $17.89                $18.34                $18.80             $19.27             $19.75
        700,000              1,000,000             1,336,000             1,336,000             1,336,000             1,340,500          1,345,000          1,349,500

         $15.45                $15.84                $16.24                $16.64                $17.06                $17.48             $17.92             $18.37



    $15,801,082           $20,948,023           $26,926,921           $27,600,095           $28,290,097           $29,076,028        $29,883,574        $30,713,324

                  5                     6                     7                     8                     9                10                 11                 12

           $9.66                $9.90                $10.15                $10.40                $10.66                $10.93             $11.20             $11.48
      $9,658,363          $12,869,768           $16,601,011           $17,016,037           $17,441,437           $17,926,647        $18,425,217        $18,937,511

       $474,032              $628,441              $807,808              $828,003              $848,703              $872,281           $896,507           $921,400

             $0                    $0                    $0                    $0                    $0                    $0                 $0                 $0
         $9,092                $9,274                $9,460                $9,649                $9,842               $10,039            $10,240            $10,444
       $158,011              $209,480              $269,269              $276,001              $282,901              $290,760           $298,836           $307,133
       $316,022              $418,960              $538,538              $552,002              $565,802              $581,521           $597,671           $614,266
       $150,000              $150,000              $150,000              $150,000              $150,000              $150,000           $150,000           $150,000


    $10,765,520           $14,285,924           $18,376,086           $18,831,691           $19,298,685           $19,831,248        $20,378,471        $20,940,755
    $10,765,520           $14,285,924           $18,376,086           $18,831,691           $19,298,685           $19,831,248        $20,378,471        $20,940,755
         $10.77                $10.99                $11.23                $11.51                $11.80                $12.09             $12.39             $12.70

          $15.80                $16.11                $16.46                $16.87                $17.29                $17.72             $18.17             $18.62
           $5.04                 $5.12                 $5.23                 $5.36                 $5.50                 $5.64              $5.78              $5.92
         68.13%                68.20%                68.24%                68.23%                68.22%                68.20%             68.19%             68.18%

      $5,035,561            $6,662,099            $8,550,835            $8,768,403            $8,991,412            $9,244,780         $9,505,103         $9,772,570

        0.62524               0.56328               0.50746               0.45717               0.41186               0.37105            0.33428            0.30115

      $3,148,433            $3,752,621            $4,339,195            $4,008,650            $3,703,246            $3,430,270         $3,177,354         $2,943,029

     -$2,673,860            $1,078,761            $5,417,956            $9,426,606           $13,129,852           $16,560,122        $19,737,475        $22,680,504
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  Year 13            Year 14            Year 15            Year 16            Year 17            Year 18            Year 19            Year 20

Short Tons Sold    Short Tons Sold    Short Tons Sold    Short Tons Sold    Short Tons Sold    Short Tons Sold    Short Tons Sold    Short Tons Sold
        300,000            300,000            300,000            300,000            300,000            300,000            300,000            300,000

         $20.24             $20.75             $21.27             $21.80             $22.34             $22.90             $23.47             $24.06
       1,354,000          1,358,500          1,363,000          1,367,500          1,372,000          1,376,500          1,381,000          1,385,500

         $18.83             $19.30             $19.78             $20.28             $20.78             $21.30             $21.84             $22.38



    $31,565,886        $32,441,879        $33,341,943        $34,266,735        $35,216,927        $36,193,212        $37,196,301        $38,226,923

             13                 14                 15                 16                 17                 18                 19                 20

         $11.77             $12.06             $12.36             $12.67             $12.99             $13.31             $13.65             $13.99
    $19,463,904        $20,004,780        $20,560,535        $21,131,575        $21,718,317        $22,321,189        $22,940,630        $23,577,093

       $946,977           $973,256          $1,000,258         $1,028,002         $1,056,508         $1,085,796         $1,115,889         $1,146,808

             $0                 $0                 $0                 $0                 $0                 $0                 $0                 $0
        $10,653            $10,866            $11,084            $11,305            $11,531            $11,762            $11,997            $12,237
       $315,659           $324,419           $333,419           $342,667           $352,169           $361,932           $371,963           $382,269
       $631,318           $648,838           $666,839           $685,335           $704,339           $723,864           $743,926           $764,538
       $150,000           $150,000           $150,000           $150,000           $150,000           $150,000           $150,000           $150,000


    $21,518,510        $22,112,159        $22,722,136        $23,348,885        $23,992,864        $24,654,544        $25,334,405        $26,032,945
    $21,518,510        $22,112,159        $22,722,136        $23,348,885        $23,992,864        $24,654,544        $25,334,405        $26,032,945
         $13.01             $13.33             $13.66             $14.00             $14.35             $14.71             $15.07             $15.45

          $19.08             $19.56             $20.05             $20.55             $21.06             $21.59             $22.13             $22.68
           $6.07              $6.23              $6.39              $6.55              $6.71              $6.88              $7.06              $7.23
         68.17%             68.16%             68.15%             68.14%             68.13%             68.12%             68.11%             68.10%

     $10,047,376        $10,329,720        $10,619,808        $10,917,850        $11,224,063        $11,538,668        $11,861,895        $12,193,978

        0.27131            0.24442            0.22020            0.19838            0.17872            0.16101            0.14505            0.13068

      $2,725,934         $2,524,808         $2,338,479         $2,165,863         $2,005,954         $1,857,820         $1,720,596         $1,593,483

     $25,406,439        $27,931,246        $30,269,725        $32,435,588        $34,441,542        $36,299,362        $38,019,958        $39,613,441
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        Year 21            Year 22            Year 23            Year 24            Year 25            Year 26          Total

      Short Tons Sold    Short Tons Sold    Short Tons Sold    Short Tons Sold    Short Tons Sold    Short Tons Sold

              300,000            300,000            300,000            300,000            300,000            300,000      7,250,000

               $24.66             $25.28             $25.91             $26.56             $27.22             $27.90

             1,390,000          1,394,500          1,399,000          1,403,500          1,408,000          1,412,500    29,308,500

               $22.94             $23.51             $24.10             $24.70             $25.32             $25.96



          $39,285,829        $40,373,789        $41,491,592        $42,640,053        $43,820,004        $45,032,302    753,666,525

                   21                 22                 23                 24                 25                 26    Total
                                                                                                                          8,798,146
               $14.34             $14.70             $15.06             $15.44             $15.83             $16.22
          $24,231,041        $24,902,950        $25,593,311        $26,302,625        $27,031,409        $27,780,194    464,319,356

            $1,178,575         $1,211,214         $1,244,748         $1,279,202         $1,314,600         $1,350,969
                                                                                                                         22,609,996
                   $0                 $0                 $0                 $0                 $0                 $0        600,000
              $12,482            $12,732            $12,986            $13,246            $13,511            $13,781        277,563
             $392,858           $403,738           $414,916           $426,401           $438,200           $450,323      7,536,665
             $785,717           $807,476           $829,832           $852,801           $876,400           $900,646     15,073,331
             $150,000           $150,000           $150,000           $150,000           $150,000           $150,000      3,750,000
                                                                                                            $570,088       $570,088

          $26,750,672        $27,488,109        $28,245,793        $29,024,274        $29,824,120        $31,216,001    523,535,144
          $26,750,672        $27,488,109        $28,245,793        $29,024,274        $29,824,120        $31,216,001    514,736,998
               $15.83             $16.22             $16.62             $17.04             $17.46             $18.23

                $23.25             $23.83             $24.42             $25.03             $25.66             $26.30
                 $7.42              $7.60              $7.80              $7.99              $8.19              $8.07
               68.09%             68.08%             68.08%             68.07%             68.06%             69.32%

          $12,535,157        $12,885,679        $13,245,800        $13,615,778        $13,995,883        $13,816,302    230,131,382

              0.11773            0.10606            0.09555            0.08608            0.07755            0.06987

            $1,475,736         $1,366,669         $1,265,643         $1,172,067         $1,085,394          $965,286    $46,944,235

          $41,089,177        $42,455,845        $43,721,488        $44,893,555        $45,978,949        $46,944,235    $46,944,235
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          6.3.2.2.   Sales Comparison Approach
                 A fundamental part of the Sales Comparison Approach is using properties with
            similar highest and best uses; thus, it was necessary to determine the highest and best
            use of the subject property prior to employing the sales comparison approach. As stated
            on page 338 of The Appraisal of Real Estate, 15th Edition published by the Appraisal
            Institute: “Regardless of how physically similar a potentially comparable site is to the
            subject site, the most comparable sales would have the same or a similar highest and
            best use. Markets without recent sales of comparable sites are problematic and may
            require analysis of competing sites where sufficient data are available or alternative
            land valuation methods may be considered.” There are a limited number of mine sales
            in the United States.
                Mr. Trevor R. Ellis, MCA, CPG, M. AusIMM, and J. Ballard, Resource Finance
           Consultant of Ellis International Services in Denver, Colorado discuss and present
           rational strategies for discounted cash flow methodologies and net present value in
           Valuation Methodologies for Mines and Mineral Tenements. They both recommend
           DCF as the primary method for valuing operating mines, or mineral assets with an
           indicated resource and a feasibility study containing engineering, production and capital
           estimates and operating cost data.

                Not only are there significant obstacles to finding comparable mining sales, the
           owners of said mines are often averse to discussing the details of transactions. The
           appraisers performed extensive research and were extremely persistent in the quest for
           pertinent information relevant to any mine sales. However, since the comparable sales
           are often in very different geographic and demographic areas, vary in the type of product
           mined, and limited sales data is attainable from market participants, the Sales
           Comparison Approach is deemed not applicable in determining the value of a mine. The
           Income Approach is deemed the preferred method of analysis. According to Mr. Trevor
           Ellis, Ellis International Services, in the Sales Comparison Valuation of Development
           and Operating Stage Mineral Properties, “Large value adjustments are generally
           necessary when conducting mineral property transaction comparisons. These can be
           greater than 100.0% for each fundamental deposit factor such as tonnage, grade, depth,
           or thickness, and also for non-physical factors such as political or regulatory risk.
           Adjustments for mineral deposits are typically multiplicative. Therefore, total
           adjustments may be greater than 10-fold.” Therefore, the appraisers did not utilize the
           Sales Comparison Approach.

               Furthermore, predicated on information from mining industry appraisers and
           engineers and publications such the Valuation of Properties in the Extractive Industries,
           Guidance Note (GN) 14 of the International Valuation Standards Eighth Edition 2007
           (IVSs), “The income approach calculates fair value by discounting estimated future cash
           flows. Given the difficulties associated with the cost and market approaches, fair values
           of minerals or oil and gas properties are normally derived using the Income Approach.”

               Detailed property information from the Resource Valuation Report prepared by Dr.
          Capps, Capps Geoscience, LLC, is included in the Addenda. Mr. Capp’s analysis details
          market information, experience as a consultant and expertise in mine development. The
          information contained in the aforementioned report profiles the income stream and all the
          necessary expenditures, expenses, and yearly operation of the mine. The appraisers have
          determined that the most preferred approach to value is the Discounted Cash Flow
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          analysis supported with reliable market data made available in the Resource Valuation
          Report.

                 According to Robert H. Paschall, in The Appraisal of Mineral Producing
            Properties, ASA Valuation, American Society of Appraisers, 1974, “The capitalized
            income method is the only method appropriate to appraise an active construction-rock
            operation.” Furthermore, according to Donald W. Gentry and Thomas J. O’Neil, Dr.,
            Mining Investment Analysis, Society of Mining Engineers, American Institute of
            Mining, Metallurgical, and Petroleum Engineers, Inc. New York, New York, 1986,
            page 14, “the preferred method for mining property valuation and the one universally
            used in the commercial practice is the income approach. Because mines have limited
            operating horizons and because there are well established markets for mineral
            commodities, the income approach is widely used in valuing mineral properties. The
            approach is used commonly by the mining industry in assessing investment rates of
            return and determining appropriate purchase prices for mines or mineral prospects.”

                   As stated earlier in this report, it is the appraisers’ opinion, due to the professional
           reports provided, the subject property is classified as a Development Property with a
           Pre-Feasibility Study completed at a minimum as of the date of this appraisal. A
           qualified drilling company under the guidance of a Professional Geologist drilled the
           subject property, a Qualified Laboratory tested the material, a Professional Geologist
           along with a Professional Engineer evaluated the reserves on-site based on the physical
           characteristics of a subject property, a mining consultant working in tandem with the
           Professional Geologist and Professional Engineer evaluated the supply and demand as
           well as the target market. Further, the mining consultant established the permitting
           schedule, the market pricing, production schedule, the capital expenditures, the
           operating costs, and the life of mine. All of the above is only possible on the subject
           property as it is a unique property that has the quality and quantity of material on-site
           that is financially feasible to extract. The subject property within this appraisal report is
           unique as detailed in each of the professional reports provided and included in the
           addenda of this appraisal report.

                   According to Svetlana Baurens in, Valuation of Metals and Mining Companies,
           the DCF method is not applicable without “reasonably assured mineral reserves.” This
           plan should include rates, test results, capital and operating cost, environmental and
           reclamation cost, and any other necessary projections. Ms. Baurens states, “It must be
           taken into consideration that DCF is not applicable to early-stage projects without
           reasonably assured mineral reserves, workable mining plants with rates, metallurgical
           test results and process recoveries, capital and operating cost estimates, environmental
           and reclamation cost estimates and commodity price projections. The reason of this is
           the theory behind DCF: the value of every asset is simply the present value of the cash
           flows this asset produces over the lifetime. One must have enough information that we
           can reasonably estimate cash flows from production. Therefore, DCF is only appropriate
           for mineral properties in production, very near production or for mineral properties at
           the stage of development. In these cases, the economic viability of the property will be
           based on preliminary estimates of production, revenue and cost. Despite the preliminary
           nature of the underlying estimates, it is still generally accepted that discounted cash flow
           analysis is the best method of valuing mineral properties at this stage of development.”
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                 As stated throughout this report, the subject property has proven mineral reserves.
           Further, this report details projected pricing, test results, capital and operating costs,
           environmental and reclamation costs, and other necessary projections for the use of a
           DCF analysis. Therefore, it is the appraisers’ opinion the use of the DCF method was
           applicable.

               The subject property’s location in the Southeast and its physical characteristics
          (existing granite deposits), along with the information and recommendations from the
          Resource Valuation Report, suggest a discounted cash flow analysis reflecting a mining
          property is appropriate and has been developed. The technical reports analyzed, provide
          enough information that the appraisers can reasonably estimate a value opinion using a
          cash flow.

          Determination of Larger Parcel
               Appraisals of conservation easements for income tax purposes must consider the
          conservation easement’s impact on any contiguous property, referred to as Contiguous
          Family-Owned Property (CFOP), owned by the donor or the donor's family. As stated
          throughout this report, Log Creek LLLP owns contiguous acreage. Since the highest and
          best use for the subject property is different from the highest and best use of the Excluded
          Tract, each will be valued separately in the pre-conservation easement scenario and the
          post-conservation easement scenario.
       6.3.3. Highest and Best Use (Excluded Tract)
                Highest and Best Use is defined in Chapter 17 Page No. 305, in the 15th edition of
            "The Appraisal of Real Estate," published by the Appraisal Institute, and adopted by
            Treasury Regulation § 170, as the reasonably probable use of property that results in the
            highest value, as of the date of the appraisal.
                 The highest and best use is further described by the Appraisal Institute as the
            reasonably probable and legal use of vacant land or an improved property that is
            physically possible, appropriately supported, financially feasible and results in the
            highest value. The four criteria the highest and best use must meet are legal
            permissibility, physically possible, financially feasible, and maximum productivity.
            Alternatively, the probable use of land or improved specific property with respect to the
            user and timing of the use is adequately supported and results in the highest present
            value. This determination is not based on quantitative means nor is it a fact to be found,
            but instead relies heavily on the appraiser’s judgment as well as his analytical skill. It is
            of note that the highest and best use may differ from the existing use when there are
            existing improvements. However, the existing use will continue unless and until the
            land value in its highest and best use, represents the premise upon which value is based.
                 The purpose of determining the Highest and Best use for a specific property is to
            identify the demand for appropriate potential uses, identify demand for a particular
            property type, compare cost and value if specific market criteria are fulfilled, then of
            the appropriate potential uses determine the use that produces the maximum value.
            Based on the determination of the Highest and Best Use, the appropriate comparable
            properties are then selected for the Sales Comparison Approach
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          Legally Permissible
                The Excluded Tract is located on the east and west sides of Warren County Road
           56 and the north side of Warren County Road 62. The surrounding area primarily
           consists of residential and agricultural land uses. The concentration of population and
           supportive commercial and industrial development is located in Milledgeville, Georgia
           to the southwest and Augusta, Georgia to the northeast. As stated throughout this
           report, the subject property is currently zoned FOR-AG Forestry-Agriculture District.
           This zoning district is comprised primarily of raw land, open farmland and land used
           for agricultural, livestock, and poultry production.

                 The owners own no other lands that are contiguous to the subject property other
           than the Excluded Tract. Therefore, the total acreage unencumbered by the
           conservation easement is the 2,306.87 acres (Excluded Tract). In general, the area
           surrounding the Excluded Tract is suited for agricultural/recreational development due
           to its location along located on the east and west sides of Warren County Road 56 and
           the north side of Warren County Road 62.

          Physically Possible
                The Excluded Tract and its uses are affected by their physical characteristics which
           include, but are not limited to: location, street frontage, size, shape, street access,
           availability of utilities, easements, soils and subsoils, and topography.
                Due to the Excluded Tract’s positioning and ingress/egress to and from Warren
           County Road 56 and Warren County Road 62, it is considered to have average access.
           The Excluded Tract has gently sloping topography and is wooded with some open land.
           Therefore, the Excluded Tract has the characteristics and the potential for agricultural
           or recreational development. There are a variety of physically possible uses for the
           Excluded Tract due to its location that would conform with the Excluded Tract’s
           location, size, shape, and topography.

          Financially Feasible

                The Excluded Tract is located within an agricultural and recreational area. A
           number of agricultural and recreational uses are located in the area, surrounding the
           Excluded Tract. This area is well known as recreational, agricultural, and forest land. In
           the market area, properties such as the Excluded Tract appeal to owners interested in
           properties that are suited for recreation and/or agricultural/forestry uses. The Excluded
           Tract is suited for recreational or agricultural/forestry development as evidenced by its
           location near other recreational land and agricultural/forestry land. Land prices vary
           based on location, access, visibility, on-site improvements, size, and site development
           quality. As demonstrated in the Sales Comparison Approach found within this report,
           sufficient demand exists for an adequate return to the land. In summary, a financially
           possible use for the Excluded Tract would be recreational or agricultural/forestry
           development.
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          Maximally Productive
                 The Excluded Tract was analyzed, and it was determined that the most reasonably
            probable use that would produce the most benefits was the use of the Excluded Tract as
            recreational or agricultural/forest land. Although, there were other uses that would
            potentially produce a positive cash flow, the development that would generate the
            highest return was agricultural or recreational land. This conclusion was supported by
            current market conditions, the level of current economic growth in Warren County and
            the surrounding area and existence of other agricultural developments in the area.
          Conclusion
                The foregoing Highest and Best Use analysis is used to establish the basis for
            valuation and demonstrate the most feasible use of the Excluded Tract. The Excluded
            Tract could be used as agricultural/forestry development or recreational use
            development.

                Due to the location of the Excluded Tract, and considering the foregoing possible
            land uses, developing the Excluded Tract as an agricultural/forestry or recreational
            development establishes the greatest return to the land under current market conditions.
            This conclusion is based on the population growth, the economic growth in Georgia,
            and the aesthetics of the natural surroundings.

                 Based on current market conditions, the Excluded Tract’s location, and the demand
            in the area, the highest and best use is as an agricultural/forestry or recreational
            development for the Excluded Tract.
          6.3.3.1.   Sales Comparison Approach (Excluded Tract)

                The Sales Comparison Approach is used to determine the fair market value of the
            Excluded Tract. A fundamental part of the Sales Comparison Approach is using
            properties with similar highest and best uses; thus, it was necessary to determine the
            highest and best use of the Excluded Tract prior to employing the sales comparison
            approach. As indicated on page 363 of The Appraisal of Real Estate, 14th Edition
            published by the Appraisal Institute, “Regardless of how physically similar a
            potentially comparable property is to the subject property, the sale property is not truly
            comparable if it does not have a similar highest and best use as the subject property,
            and in that case the potentially comparable property should be dismissed from further
            consideration in the analysis of the subject property.”
                 Valuation of the Excluded Tract by the Sales Comparison Approach, based on the
            following, utilizes the sales price per acre. Detailed analysis of the comparable sales
            and a location map follow this discussion.
                The Excluded Tract consist of vacant land with no significant improvements or site
            improvements in Warren County, Georgia; therefore, neither the Cost Approach nor the
            Income Approach were applicable or meaningful to this analysis.
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          Methodology
                   The comparable sales utilized in this analysis represent the most recent
           transactions of properties considered to be most similar to the highest and best use of
           the Excluded Tract, with respect to location and use characteristics. Due to the
           Excluded Tract’s physical characteristics, comparable properties with similar highest
           and best uses from the region are considered. The adjustments found within this report
           (qualitative adjustments) are not calculated by a mathematical formula, but represent
           our professional judgment based on our experience in this market and knowledge of the
           Excluded Tract, the Excluded Tract’s market area, the comparable sales, and
           information from brokers, property owners, and other market participants involved in
           the transactions analyzed or transactions similar to the subject property. As stated
           throughout this report, the Excluded Tract’s Highest and Best Use is as
           agricultural/forestry or recreational development. Based on our professional opinion
           and an in-depth study of the market, it has been determined the Highest and Best Use of
           the Excluded Tract before the donation of the conservation easement on the subject
           property (240.00 acres), is for development as agricultural/forestry or recreational
           development. Therefore, an analysis of comparable land, was conducted to determine
           the estimated value of the Excluded Tract. Additionally, as the adjustments presented in
           the report are qualitative adjustments, the appraisers utilize the [+] symbol to indicate a
           comparable property is inferior to the Excluded Tract and the [-] symbol to indicate a
           comparable property is superior to the Excluded Tract, with multiple symbols
           indicating varying levels of superiority or inferiority. Finally, the appraisers reserve the
           right to adjust their opinion of value if the development costs are significantly higher or
           lower than originally anticipated and provided to the appraisers.

          Participant Interviews

                 The appraisers interviewed a variety of brokers and market participants that are
           familiar with rural residential and agricultural properties. According to the brokers and
           market participants, each piece of land is unique, and each buyer or developer is
           focused on different types of characteristics of each individual property.

                 All the market participants agreed that every sale is unique, and each sale has its
           own set of challenges. The appraisers inquired about the importance of physical
           characteristics to a property and although all agreed that physical characteristics such as
           location, size, on-site improvements, utility, topography, etc. were important, there was
           a difference in the overall weight placed on each one. It should be noted that all those
           interviewed indicated that there was a demand for similar properties and that the
           demand is driven by local population and economic factors in the area.

                 The adjustments made throughout this report, were based on market participants
           interviews, and our general and specific knowledge of rural residential and agricultural
           land. It should be noted that the professionals interviewed, indicated that due to the
           uniqueness of each property and each deal, analyzing physical property characteristics
           based on experience and professional judgment may be appropriate.
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                  Paired Sales, Grouped Sales, and Secondary Data Analyses

                         Paired Data Analysis is based on the premise that two properties are equivalent in
                  all respects but one, the resulting difference can be measured by the difference in price
                  between the two properties. Grouped Data Analysis extends the logic of paired sales
                  analysis to larger data sets. Comparable sales in the Grouped Data Analysis are grouped
                  by an independent variable such as location or date of sale and then the groups are
                  studied as pairs. “Paired data analysis should be developed with extreme care to ensure
                  that the properties are truly comparable and that other differences do not exist”.
                  “Although paired data analysis of sales or rents is a theoretically sound method, it may
                  be impractical and produce unreliable results when only a narrow sampling of
                  sufficiently similar properties is available.” 107 Finally, Secondary Data Analysis, is
                  utilized to support adjustments derived by other methods that does not directly pertain
                  to the subject or comparable properties. Secondary data describes the general real estate
                  market and is typically collected by a data vendor research firm or government agency
                  like the U.S. Census Bureau or county assessor. It is the appraisers’ opinion that the
                  Paired Sales, Grouped Sales, and Secondary Data Analyses are unreliable and
                  impractical due to the amount of relevant data.

                  Statistical Data Analysis

                        Furthermore, statistical data methods may be used to calculate adjustments to
                  comparable sales. As stated in the Appraisal of Real Estate using statistical analysis
                  requires the appraiser to understand and properly apply fundamental statistical
                  concepts. “In applying statistical analysis, the appraiser must be careful not to develop a
                  result that is mathematically precise yet logically meaningless or inappropriate for the
                  particular appraisal.” 108 Due to the uniqueness of the Excluded Tract, and the relative
                  size of the data sample, statistical analysis is not considered a reliable technique for this
                  property.

                  Trend Analysis

                          Trend analysis is a technique to analyze comparable properties and
                  measure/identify trends in the sale prices. It is useful when sales data on highly
                  comparable properties is absent, but a broad database on properties with less similar
                  characteristics is available. Testing various factors that influence sale prices is then
                  performed to measure market sensitivity. Typically, trend analysis is applicable when a
                  large amount of market data is available. However, as in the case of the Excluded Tract,
                  there is not a large pool of relevant data to perform a trend analysis, thus it is the
                  appraisers’ opinion that it would not provide a meaningful basis for adjustments to the
                  comparable sales.

                  Graphic Analysis

                         Graphic analysis is a variant of statistical analysis which involves quantitative
                  techniques used to identify and measure adjustments to the sale prices of comparable

     107
           The Appraisal of Real Estate 14th Edition, (Pages 398-399).
     108
           The Appraisal of Real Estate 14th Edition, (Page 400).
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                   properties. Upon graphing the comparable data, an appraiser interprets the graphically
                   displayed data visually or through curve fit analysis. The limitations for graphical
                   analysis are similar to statistical analysis as stated earlier in this report.

                   Transactional Adjustments
                   Financing Terms
                         When developing an opinion of the value of a property, the appraisers must
                   ascertain whether or not any existing financing is assumable, retireable, or replaceable.
                   Also, the appraisers must estimate the potential value impact of the cost items such as
                   finder’s fees, points, and prepayment penalties and the effect of the present worth of
                   participation by lenders, if any. The appraisers should also judge the duration of any
                   favorable or unfavorable influence from mortgages or participations. It should not be
                   assumed that the benefits or detriment due to financing will continue throughout the
                   stated amortization or participation terms. The value impact of a mortgage fluctuates as
                   interest rates rise and fall. The possibility of retiring unfavorable financing prior to its
                   full payout period should also be considered. 109 Based on the aforementioned analysis,
                   the transaction price of one property may differ from that of an identical property due to
                   different financing arrangements. The terms of sale are analyzed individually on each
                   comparable sale included in this report. Cash equivalency adjustments for atypical
                   financing, if required, are made to the individual comparable sales. To the best of the
                   appraisers’ knowledge, the terms of the individual comparable sales were all cash to the
                   seller sales; therefore, additional adjustments in this analysis are not required.




     109
           Appraisal Institute, Cash Equivalency in Valuations
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          Projected Annual Inflation Rate in the United States from 2010 to 2021 (Statista)

           Conditions of Sale

                 The conditions of sale adjustments are made to reflect the motivations of the
           buyer and seller. Many transactions are completed with either one side or the other
           being motivated beyond the typical motivation found within a market, i.e., seller wants
           to sell quickly and is willing to sell under market or a buyer owns an adjacent parcel
           and wants the new parcel (plottage) and is willing to pay over market. Furthermore, it is
           not uncommon for sales to occur due to some type of seller financial duress, where the
           seller needs the money and is willing to sell under market in order to liquidate quickly.
           The majority of comparable sales utilized in this analysis represent transactions of
           typical market conditions. Finally, discussions with real estate brokers that have active
           listings of similar properties have indicated that, through knowledge of the market,
           negotiations, and due diligence, a prudent investor would typically make an offer below
           asking price ranging from 5.0% to 30.0%.

           Market Conditions

                  Adjustments to the comparables for market conditions (date of sale) reflect
           changes in the market during the time period covered by the data. Real estate and price
           expectations varies from asset to asset and is based on location. Overall however,
           according to the National Association of REALTORS®, Research Division, the U.S.
           Economic Outlook: November 2017, the annual growth rate in the 1st quarter of 2017
           was 1.2%, 2nd quarter of 2017 was 3.1%, followed by the 3rd quarter of 2017 of 3.0%
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                   and forecasted at 2.5%, 2.6%, and 3% in the following three quarters. 110 Furthermore,
                   the chart provided below, includes the increases in the Real GDP, interest rates, and
                   other market data. Due to the increase in the national economy and commercial real
                   estate in general, a positive adjustment in this analysis for market conditions would be
                   considered appropriate for sales from early 2013 and older.




                   Physical Adjustments

                   Location

                        Location adjustments are based on locational characteristics, which are different
                from the Excluded Tract. Location adjustments consider several factors, but focus mainly
                on macro level economics in each area, such as, the demand for commercial properties in
                general is higher in Augusta, Georgia than rural Warren County. Adjustments for location
                reflect distance to infrastructure, distance to metropolitan areas, and economic status of

     110
           www.realtors.org/research-and-statistics
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          the comparable metropolitan area. It should be noted that no specific adjustment could be
          determined from participant interviews; however, knowledge of the comparable market
          area, and economic indicators found have been applied.

           Visibility

                 Visibility adjustments are based on the visibility of the Excluded Tract or
           comparable properties from the road or any additional visibility afforded to a property
           based on its location. According to market participants, developers and buyers will pay
           more for a property if it has additional visibility along another road even if it does not
           have direct ingress/egress from said road. Furthermore, developers and buyers may pass
           on a property that has poor or atypical visibility due to its location above or below road
           grade. Research and interviews with commercial real estate brokers/developers
           indicated that visibility would be a typical factor for recreational and agricultural
           properties. Therefore, the appraisers have determined that an adjustment for visibility
           may be required.

           Utility/Topography/Shape

                  The Utility/Topography/Shape adjustment is based on several factors. The utility
           component of this adjustment is based on the development potential of the Excluded
           Tract and comparable properties. This adjustment is based on interviews and
           verification of each comparable. The topography component of this adjustment is based
           on the topography of the Excluded Tract versus the topography of the comparable
           properties. According to market participants, the topography of a site can greatly affect
           the development costs of the site, i.e., a property with severely sloping topography will
           cost significantly higher to develop than a similar site with level topography. Finally,
           the shape component of this adjustment is based on the shape of the Excluded Tract
           versus the relative shape of the comparables. Market participants have indicated that the
           shape of a property can directly correlate to the development potential of the property.
           It should be noted that no specific adjustment could be determined from participant
           interviews; however, knowledge of the comparable market area, and
           utility/topography/shape of each comparable found have been applied.

           On-Site Improvements

                 The on-site improvement adjustment was based upon the improvements on the
           Excluded Tract and comparable properties. According to market participants, the cost
           to develop a property can be decreased if the property has been cleared and graded
           versus a property that is currently heavily wooded. The exact amount a property is
           increased or decreased based on its on-site improvements varies from property to
           property and is dependent on a variety of factors. Therefore, this adjustment is based on
           verification of the comparable properties.

           Zoning

                Zoning adjustments reflect differences in the zoning classifications relative to
           zoning as compared to the Excluded Tract and based on the comparable zoning
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                classification. As stated throughout this report, the Excluded Tract is zoned FOR-AG
                Forestry-Agriculture District.

                                             Comparable Land Sales – Excluded Tract
                     Of note, due to the size of the Excluded Tract, the appraisers were unable to
                obtain similarly sized comparable properties, therefore, the sales within this section
                were the best available as of the date of this appraisal.
                                         Land Comparison Adjustments Grid - Contiguous Acreage
                                                   Subject                      Sale 1             Sale 2              Sale 4              Sale 5
       Location                                    Warren Co, GA         Troup Co, GA      Bartow Co, GA         Polk Co, GA      Appling Co, GA
       Date of sale                                          N/A            12/26/2018         10/18/2018            8/7/2017           1/30/2017
       Price                                                 N/A           $2,525,034         $1,968,000            $625,000         $1,550,000
       Size (Acres)                                      2,306.87               552.00             617.90            1,185.65              580.00
       Price/Acre                                            N/A               $4,574             $3,185                $527              $2,672
       Size (Sq. Ft.)                                100,487,257           24,045,120         26,915,724          51,646,914         25,264,800
       Price/Sq. Ft.                                         N/A                $0.11              $0.07               $0.01               $0.06
       Location                                          Average           Above Ave.               Good             Average             Average
       Visibility                                        Average              Average            Average             Average             Average
       External Influences                               Average              Average            Average             Average             Average
       Utility/Topography/Shape                          Average              Average            Average             Average             Average
       Accessibility                                     Average              Average            Average             Average             Average
       View Amenity                                         None                 None               None                None                None

       On-Site Improvements                       Timber/Farmland    Raw Land/Timber               Timber           Raw Land     Timber/Farmland

                                                                                                                 Conservation
       Rights                                          Fee Simple          Fee Simple         Fee Simple                              Fee Simple
                                                                                                                    Easement
       Zoning/Property Type                       Agricultural/Res.    Agricultural/Res. Agricultural/Res.   Agricultural/Res.   Agricultural/Res.
                                                               Transactional Adjustments
       Unadjusted Price/Acre                                                      $4,574            $3,185               $527              $2,672
       Property rights conveyed                                                  1.00                 1.00               1.00                 1.00
         Intermediate adjusted price                                          $4,574               $3,185               $527               $2,672
       Financing terms                                                           1.00                 1.00               1.00                 1.00
         Intermediate adjusted price                                          $4,574               $3,185               $527               $2,672
       Expenditures Immediately After Sale                                       1.00                 1.00               1.00                 1.00
         Intermediate adjusted price                                          $4,574               $3,185               $527               $2,672
       Conditions of sale                                                        1.00                 1.00               1.00                 1.00
         Intermediate adjusted price                                          $4,574               $3,185               $527               $2,672
       Market Conditions                                                         1.00                 1.00               1.00                 1.00
                                                                Physical Adjustments
         Intermediate adjusted price                                          $4,574               $3,185               $527               $2,672
       Location                                                                      -                  --             Similar             Similar
       Visibility                                                              Similar             Similar             Similar             Similar
       External Influences                                                     Similar             Similar             Similar             Similar
       Utility/Topography/Shape                                                Similar             Similar             Similar             Similar
       Accessibility                                                           Similar             Similar             Similar             Similar
       View Amenity                                                            Similar             Similar             Similar             Similar
       On-Site Improvements                                                    Similar             Similar                  +              Similar
       Zoning                                                                  Similar             Similar             Similar             Similar
       Rights                                                                  Similar             Similar               +++               Similar
       Size                                                                         --                   -                   -                  --
       Subject by comparison                                                      ---                  ---               +++                    --
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     Adjustment Explanation

            Sale 1, at $4,574/acre for 552 acres required a downward adjustment in order to reflect
        the Excluded Tract’s inferior location: Sale 1 is considered to have an above average
        location, while the Excluded Tract is considered to have an average location. Sale 1 also
        required a downward adjustment in order to reflect the Excluded Tract’s larger size:
        according to the Law of Marginal Utility as the acreage increases, the price per acre
        decreases. After the appropriate adjustments, Sale 1 indicates that it is superior to the
        Excluded Tract.

            Sale 2, at $3,185/acre for 750 acres required a downward adjustment in order to reflect
        the Excluded Tract’s inferior location: Sale 2 is considered to have an above average
        location, while the Excluded Tract is considered to have an average location. Sale 2 also
        required a downward adjustment in order to reflect the Excluded Tract’s larger size:
        according to the Law of Marginal Utility as the acreage increases, the price per acre
        decreases. After the appropriate adjustments, Sale 2 indicates that it is superior to the
        Excluded Tract.

            Sale 3, at $527/acre for 1,185.65 acres warranted an upward adjustment in order to reflect
        the Excluded Tract’s superior on-site improvements: Sale 3 was raw land at the time of sale,
        while the Excluded Tract is partial timberland and partial farmland. Sale 3 also warranted an
        upward adjustment in order to reflect the Excluded Tract’s superior rights: Sale 3 at the time
        of sale had a conservation easement restriction, while the Excluded Tract is not encumbered
        by a conservation easement. Finally, Sale 3 required a downward adjustment in order to
        reflect the Excluded Tract’s larger size: according to the Law of Marginal Utility as the
        acreage increases, the price per acre decreases. After the appropriate adjustments, Sale 3
        indicates that it is inferior to the Excluded Tract.

            Sale 4, at $2,672/acre for 580 acres required a downward adjustment in order to reflect
        the Excluded Tract’s larger size: according to the Law of Marginal Utility as the acreage
        increases, the price per acre decreases. After the appropriate adjustments, Sale 4 indicates
        that it is superior to the Excluded Tract.

                                  Sales Comparison Array - Excluded Tract
                               Sales       Adjustments Sales Price/Acre
                               Sale 1           ---                  $4,574
                               Sale 2           ---                  $3,185
                               Sale 4            --                  $2,672
                               Sale 3           +++                    $527

            Based on the adjustments made above, the sales were put into an array to show the where
        the Excluded Tract should be arranged in the array. As presented in the chart above, the
        Excluded Tract is inferior to Sales 1, 2, and 4, and superior to Sale 3.

            After considering all of the comparable sales with respect to time, location, size, on-site
        improvements, road frontage, and market demand, a sale price per acre of $2,000 is
        considered reasonable.
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          The value estimate by the Sales Comparison Approach is as follows:

          2,306.87 Acres    x                $2,000                 =            $4,613,740

          CORRELATED AND ROUNDED                                    =            $4,610,000

           Conclusion

                 All of the comparable sales analyzed are considered relevant to the analysis
           involved in deriving an opinion of value. As detailed in the adjustments found within
           this section, percentage adjustments were not utilized. Qualitative adjustments were
           utilized as percentage adjustments are highly subjective. The qualitative analysis
           provides confidence to the opinion of value. Unique factors certainly impact the price
           of each comparable. Macro location factors such as proximity to the cities and
           infrastructure play an important role in determining value. Prices are also impacted by
           the micro location factors such as, distance to local amenities and conveniences.

                 The sales presented in this analysis were utilized as they were considered the most
           comparable to the Excluded Tract, based on the Excluded Tract’s location and physical
           characteristics. As secondary consideration and support, other sales have been analyzed
           and researched. These sales have been excluded from the analysis as they were not
           considered true comparable properties of the Excluded Tract based on the Excluded
           Tract’s highest and best use or because a full understanding/verification of the
           comparable sale was not attainable. The appraisers attempted to verify every
           comparable sale utilized and analyzed. It is the appraisers’ opinion that the marketing
           for the Excluded Tract would be on a regional level attracting developers from other
           geographic locations other than the immediate subject area or region.

                 The final value indication was determined by the appraisers’ judgment and
           knowledge of the comparable sales and market area. The average of the value
           indications is not used nor was the weighted averages applied to the value indication.
           Although the value opinion is based on the comparable sales that are considered most
           applicable, the opinion indication was a blend of the comparable sales results. The
           comparable sales are consistent with the Excluded Tract’s highest and best use and
           provide meaningful indications of value.

                 Appraisers have broad flexibility in determining appropriate comparable sales for
           a property. However, this does not alleviate the necessity for a significant responsibility
           in applying creditable, relevant, and logical evidence. The reasoning behind a sale
           cannot always be measured in the context of the transaction. Therefore, the appraisers
           have utilized the information contained in the Sales Comparison approach to assist in
           developing an opinion of value.
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        6.3.3.2.   Comparable Land Sales Descriptions

                                             LAND SALE NO. 1

     LOCATION                      : Salem Road, LaGrange, Troup County, Georgia

     GRANTOR                       : Stonewall Preserve LLC
     GRANTEE                       : Travis E. Taylor
     VERIFICATION                  : Mr. Joel Upchurch, Re/Max Results
     SALE DATE                     : December 26, 2018
     SALE PRICE                    : $2,525,034
     DEED BOOK/PAGE                : 1957-441
     NUMBER OF ACRES               : 552
     NUMBER OF SQ. FT.             : 24,045,120
     PRICE PER ACRE                : $4,574
     PRICE PER SQ. FT.             : $0.11
     UTILITIES                     : All available, except sewer. Assumed
     INTEREST CONVEYED             : Fee Simple
     PARCEL ID #                   : 0350-000013


     REMARKS:
                   The property is in an agricultural area with average accessibility and average
           exposure. According to Mr. Upchurch, the listing agent, the irregularly shaped site was
           mostly flat and currently raw land with some timber on-site. Mr. Upchurch also stated
           this property was unique as it was a well taken care of recreational track with trophy deer
           and turkey throughout the property. Mr. Upchurch indicated that in his opinion this
           property was purchased as an arms-length transaction and in his opinion sold at market.
           Of note, this parcel has been subsequently parceled and is currently under several
           different ownership names.
                   This site is located on the east side of Salem Road, just west of Interstate 185, just
            south of LaGrange, Georgia. The neighboring properties are agricultural with some
            residential development scattered in the area.
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                                                         Sale 1



                   Sale 1
                                                Sale 1
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                                           LAND SALE NO. 2

     LOCATION                    : Hwy 401-South of Pleasant Valley Rd, Adairsville, Bartow
                                 County, Georgia.
     GRANTOR                     : Osprey Timber, LLC
     GRANTEE                     : Freeman Five, LLC
     VERIFICATION                : Bill Hagemann, South Farm and Forest, LLC
     OR BOOK/PAGE                : 3042-0354 & 3051-241
     SALE DATE                   : October/November 2018
     SALE PRICE                  : $1,968,000
     NUMBER OF ACRES             : 617.90
     NUMBER OF SQ. FT            : 26,915,724
     PRICE PER ACRE              : $3,185
     PRICE PER SQ. FT.           : $0.07
     UTILITIES                   : All available, except sewer, assumed
     ZONING                      : Agricultural
     INTEREST CONVEYED           : Fee Simple
     Parcel ID#                  : 0062-0110-012 and 0062-0106-001,
     REMARKS:
                         The property is in an area with a mixture of raw and agricultural land and
                  residential sites along a local road with average visibility. According to Mr.
                  Hagemann, the site was mostly flat and raw land with timber on-site. Mr.
                  Hagemann also indicated that there was a two-phase closing between Osprey
                  Timber, LLC and Freeman Five, LLC.
                         This site is located on the northeast side of Interstate 75, just south of E
                  Pleasant Valley Road, south of Highway 140 and west of Spring Places Road.
                  The neighboring properties are primarily residential and agricultural, and the area
                  has experienced some growth.
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                    Sale 2                           Sale 2
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                                            LAND SALE NO. 3


     LOCATION                      : Old Jackson Chapel Road, Polk County, Georgia
     GRANTOR                      : Mossy Rock LLC
     GRANTEE                      : Cedar Chapel LLC
     VERIFICATION                 : Mr. Mike Newsome, US Land & Farm & Polk County Tax
                                   Assessor’s Office
     SALE DATE                    : August 7, 2017
     SALE PRICE                   : $625,000
     NUMBER OF ACRES              : 1,185.65
     NUMBER OF SQ. FT.            : 51,646,914
     PRICE PER ACRE               : $527
     PRICE PER SQ. FT.            : $0.01
     PARCEL NUMBER                : 005-013A
     DEED BOOK/PAGE               : 1636-435
     UTILITIES                    : All available, except sewer. Assumed
     INTEREST CONVEYED            : Fee Simple Subject to the Restriction of the Conservation
                                     Easement
     EASEMENT DONEE               : Atlantic Coast Conservancy Inc.


     REMARKS:
              The property is in an agricultural area with below average accessibility and average
     exposure. According to Mr. Newsome, the listing agent, the irregularly shaped site was gently
     rolling and currently raw land. Mr. Newsome also indicated that the site is currently encumbered
     by a conservation easement currently held by Atlantic Coast Conservancy Inc. It should be noted
     that the Polk County Tax Assessor’s Office also verified that this property was encumbered by a
     conservation easement. Finally, Mr. Newsome also stated that the conservation easement would
     restrict any new development or new roads. Mr. Newsome stated that the buyer intended to use
     the property for recreational use. According to the Deed of Conservation for this property, no
     more than three subdivisions on the property are allowed and not more than three home sites are
     allowed on the property.
     This site is located on the west side of Old Jackson Chapel Road, in Polk County, Georgia, the
     neighboring properties are agricultural.
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                                             Sale 3
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                                            LAND SALE NO. 4

     LOCATION                     : Moody Cemetery Road, Baxley, Appling County, Georgia

     GRANTOR                      : RLF Bacon Properties, LLC
     GRANTEE                      : Frederick L. Schuster Revocable Trust
     VERIFICATION                 : Mr. Ms. Abbey Lanier, Plantation Property and Land Investments
     SALE DATE                    : January 30, 2017
     SALE PRICE                   : $1,550,000
     DEED BOOK/PAGE               : 538-202
     NUMBER OF ACRES              : 580
     NUMBER OF SQ. FT.            : 25,264,800
     PRICE PER ACRE               : $2,672
     PRICE PER SQ. FT.            : $0.06
     UTILITIES                    : All available, except sewer. Assumed
     INTEREST CONVEYED           : Fee Simple
     PARCEL ID #                  : 0087-002


     REMARKS:
                   The property is in an agricultural area with average accessibility and average
           exposure. According to Ms. Lanier and the information packet she provided, the
           irregularly shaped site was mostly flat and partially timberland and partially farmland at
           the time of sale. Further, according to the information provided, this farm consists of
           income producing irrigated and non-irrigated crop land, a small pond, timberland and is
           bordered to the east by Sweetwater Creek. Of note, the current lease on the property at
           the time of sale expired on December 31, 2017.
                  This site is located on the north side of Mayfield Road and the east and west side
           of County Road 51, just west of County Road 175, in Warren County. The neighboring
           properties are agricultural with some residential development scattered in the area.
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                                                     Sale 4
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                                 Location Map
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                                                      Reconciliation
                           The Fair Market Value indicators before the conservation easement are as
                      follows:

                      SALES COMPARISON APPROACH                                              N/A
                      INCOME APPROACH (Subject Property)
                        $46,940,000 111

                      SALES COMPARISON APPROACH (Excluded Tract)                             $4,610,000

                        The Sales Comparison Approach is based upon the theory of substitution. The
                  value is estimated by direct comparison of the subject property with comparable
                  properties which have recently sold, thereby reflecting the actions of buyers and sellers
                  in the marketplace. However, an inherent weakness of the Sales Comparison Approach
                  for mining developments hinges on the complexity of multi-property sales and the
                  unique physical characteristics of each mining site sale being proprietary information.
                  Many of the sales associated with mining development involve multiple properties, all
                  of which often include differing physical characteristics or mineral resources. As stated
                  throughout this report, market participants, buyers and sellers of mines are unwilling to
                  share the physical characteristics of the mines such as the reserves that can be mined as
                  it is proprietary information. Conversely, the Income Approach - Overall Capitalization
                  analysis is an excellent indicator of value, particularly for investment properties, as
                  investors emphasize income generation when underwriting property acquisitions. Due
                  to the indicated challenges, based on our research and experience, the Sales
                  Comparison Approach is limited and inadequate for the valuation of the subject
                  property. The Income Approach – Discounted Cash Flow analysis is used in
                  determining a value opinion. As stated earlier in this report, the Sales Comparison
                  Approach was utilized for the Excluded Tract.

                       The Income Approach analyzes the subject property as an investment based on the
                  subject property’s highest and best use to recognize the present value of future cash
                  flows. The value estimate derived from the Income Approach reflects the amount an
                  investor would justify paying to receive an annual income over the holding period of
                  the property, plus the reversionary value at the end of the holding period. The subject
                  property is unique in its location and physical characteristics as the highest and best use
                  for the subject property would be as a granite mine. As resources are mined, the raw
                  materials diminish, creating a situation where the mine’s income and expenses are
                  neither constant nor stable. Therefore, the DCF, useful in forecasting unstable income
                  and expenses, is a more appropriate valuation method ultimately providing a more
                  reliable value indication. The Income Approach, based on a Discounted Cash Flow
                  analysis, indicates a value of $46,940,000.

                       Final reconciliation relies on the proper application of appraisal techniques and the
                  appraisers’ judgment. 112 Due to the complex nature of the subject property and the
                  challenges associated with finding comparable sales, the value opinion relies on the
                  Income Approach.
     111
           Rounded from the DCF found earlier in this report.
     112
           The Appraisal of Real Estate, 15th Edition, p. 600
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                    It is our opinion that the Fair Market Value in Fee Simple Estate, before the
             conservation easement, of the total Contiguous Family-Owned Parcel of 2,546.87
             Acres, consisting of 240.00 Acres of land encumbered by the conservation easement
             and 2,306.87 Acres Excluded, based on the Highest and Best Use of the 240.00 Acres
             as a Mining Development and the 2,306.87 Acres as Agricultural/Recreational/Timber
             Land, located along the north side of Warren County Road 58, just south of Mayfield
             Road, in Warren County, Georgia, as of December 28, 2018 is:

     Area Encumbered     +       Excluded Tract       =       Reconciled Value Before
         (240.00 Ac)               (2,306.87 Ac)

         $46,940,000     +            $4,610,000      =              $51,550,000


           FIFTY-ONE MILLION FIVE HUNDRED FIFTY THOUSAND DOLLARS

                                            ($51,550,000)
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     6.4.   After Conservation Easement

                For the purpose of this Section 6.4 in its entirety, subject property shall refer to the
            240.00 acres to be encumbered by the conservation easement, except where otherwise
            identified.

        6.4.1. Highest and Best Use – Conservation Encumbered Area (240.00 Acres)
               Highest and Best Use is defined in Chapter 17 Page No. 305, in the 15th edition of
            "The Appraisal of Real Estate," published by the Appraisal Institute, and adopted by
            Treasury Regulation § 170, as the reasonably probable use of property that results in the
            highest value, as of the date of the appraisal.
                 The highest and best use is further described by the Appraisal Institute as the
            reasonably probable and legal use of vacant land or an improved property that is
            physically possible, appropriately supported, financially feasible and results in the highest
            value. The four criteria the highest and best use must meet are legal permissibility,
            physical possibility, financial feasibility, and maximum productivity. Alternatively, the
            probable use of land or improved specific property with respect to the user and timing of
            the use is adequately supported and results in the highest present value. This
            determination is not based on quantitative means nor is it a fact to be found, but instead
            relies heavily on the appraisers’ judgment as well as his analytical skill. It is of note that
            the highest and best use may differ from the existing use when there are existing
            improvements. However, the existing use will continue unless and until the land value in
            its highest and best use, represents the premise upon which value is based.
                The purpose of determining the Highest and Best use for a specific property is to
            identify the demand for appropriate potential uses, identify demand for a particular
            property type, compare cost and value if specific market criteria are fulfilled, then of the
            appropriate potential uses determine the use that produces the maximum value. Based on
            the determination of the Highest and Best Use, the appropriate comparables are then
            selected for the Sales Comparison Approach.
     Legally Permissible
                The subject property consists of 240.00 acres of land located along the north side of
            Warren County Road 58 just south of Mayfield Road in Warren County, Georgia. The
            surrounding area primarily consists of agricultural land uses. The concentration of
            population and supportive commercial, residential, and industrial development is located
            in Warrenton, Georgia to the northeast, Milledgeville, Georgia to the southwest, and
            Augusta, Georgia to the northwest of the subject property. As stated throughout this
            report, the subject property is zoned FOR-AG Forestry-Agriculture District. Furthermore,
            other than the conservation easement, there are no legal deed restrictions.

                 After the conservation easement is in place the subject property forfeits the rights
            associated with the development of the subject property for granite mining or any other
            purpose that requires construction or placement of any building structures. Further, any
            changes or disturbance to the natural habitat are expressly prohibited or restricted.
            However, the subject property’s owner still can continue agricultural and forestry uses
            that are subject to an approved management plan.
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                 The restrictive nature of the conservation easement limits potential buyers and
            minimizes the possible uses of the subject property. It especially prohibits the exploration
            of natural resources harbored in the ground, thereby limiting the competitive value of the
            land and prohibiting the potential use that would allow it to reach its maximum value.
            Therefore, the establishment of a conservation easement on the subject property has
            transformed the highest and best use of the subject property.

                 The conservation easement is located in the Addenda of this report and fully
            describes the limitations on the subject property. The limitations can be summarized as
            legally allowing only activities that do not disturb the subject property in any way, such
            as agriculture, recreational uses, and forestry.
     Physically Possible
                 The subject property and its uses are affected by its physical characteristics which
            include, but are not limited to: location, street frontage, size, shape, street access,
            availability of utilities, easements, soils and subsoils, and topography. The placement of
            the subject property does not make any changes in the physical characteristics of the
            subject property.
                 However, the conservation easement prohibits all types of development that disturbs
            the natural environment in any way, including granite mining, which is particularly
            disruptive. All other commercial, industrial, or residential uses are also prohibited.
                     In summation, the conservation easement prohibits the use of the subject property
            for all types of development that are not specifically noted in the legal requirements of
            the conservation easement. These limitations include all types of commercial, industrial,
            residential development and mining. The owner of the subject property may continue to
            use the subject property for agricultural, forestry, and recreational uses as well as
            allowing for public enjoyment as specifically outlined in the conservation easement.
            Therefore, the highest and best use of the subject property has been permanently altered
            by the placement of the subject property in a conservation easement.
     Maximally Productive
                 The subject property was analyzed, and it was determined that the most reasonably
            probable use that would produce the most benefits was the use of the subject property as
            a granite mining development. Although, there were other uses that would potentially
            produce a positive cash flow, the development that would generate the highest return was
            the development of a granite mine. This conclusion was supported by current market
            conditions, the level of current population and economic growth in Warren County and
            existence of other mining operations in the area.

                 However, post-conservation easement the owners forfeit the right to develop the
            subject property to its maximally productive use. Instead, the owner elects to preserve the
            subject property in its natural state and abide by the restrictive language of the legal
            requirements of the conservation easement. Therefore, the highest and best use of the
            subject property post-conservation easement for perpetuity will be agricultural, forestry
            or recreational uses.
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     Conclusion

                In conclusion, the subject property had the potential for various uses that could
           produce a positive cash flow and an adequate return to the cost of the investment, such as
           development into a large residential lots with an array of amenities or a commercial
           recreation area. Other uses included a granite mining development due to the large
           granite deposits in the area, which was concluded to be the development that would
           generate the highest return on investment. As stated throughout this report, it is the
           appraisers’ opinion that the highest and best use of the subject property is as a granite
           mine.

                However, the owner by placing the subject property in a conservation easement
           alters the highest and best use since the conservation easement requirements are very
           restrictive and permanent. Therefore, the financial feasibility and legal permissibility of
           the subject property are drastically altered. As a result, the highest and best use, after
           placing a conservation easement on the subject property, is agricultural or forestry use,
           recreational use as outlined by the conservation easement or conservation of the land for
           public enjoyment and the preservation of natural forested areas for the benefit of
           botanical species and wildlife.
        6.4.2. Income Approach
     Methodology
              The Income Approach is typically used to evaluate income producing properties and
         forecast their worth. Investors are interested in how much future income can be produced
         by a property purchased with today’s dollars. The Appraisal of Real Estate, 15th Edition,
         defines the Income Approach as follows: “In the income capitalization approach, an
         appraiser analyzes a property’s capacity to generate future benefits and capitalizes the
         income into an indication of present value. The principal of anticipation is the fundamental
         to the approach.” Any property that has the capacity to generate income can be evaluated
         by the income approach. The Appraisal of Real Estate, 15th Edition, further states: “When
         more than one approach to value is used to develop an opinion of value for an income -
         producing property, the value indication produced by the income capitalization approach
         might be given greater weight than that of other approaches in the final reconciliation.”

              The subject property is restricted by a conservation easement into perpetuity, which
         changes its potential uses regarding: legally permissible, physically possible, financially
         feasible, and maximally productive. Thereby, drastically altering its highest and best use.
         The subject property is no longer a potential income producing mine, but a property that
         will be maintained as a mature forest to enhance the tranquility of the area, provide
         recreational opportunities and preserve native ecosystems. Therefore, the Income approach
         is not applicable to the subject property when restricted by a deed of conservation
         easement.
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       6.4.3. Sales Comparison Approach
     Methodology
            When valuing a conservation easement, it is necessary to discern the applicability of the
       Sales Comparison Approach and the appropriate methodology within that approach. Treasury
       Regulation § 1.170A-14(h)(3)(i) and (ii) allow for two different types of valuation: direct
       comparison and the indirect analysis. The indirect analysis utilizes the before and after
       technique. This process focuses on the value of the property after the conservation easement
       is in place as compared to the value of the property before the conservation easement. This is
       the procedure most commonly used. The direct comparison technique is used to compare the
       actual prices paid for conservation easements with similar characteristics and restrictions in a
       relatively recent time frame. Because conservation easement sales are very limited within a
       given region, nationwide sales are usually required. However, an overview of the actual
       prices paid for conservation easements, when available can be used to support the results of
       the before and after technique.

            The utilization of the sales comparison approach for conservation easement valuation not
       only requires the identification of comparable sales, but also a thorough review of the
       conservation easement documents and restrictions, to ensure comparability and allow the
       appraisers to formulate a fully educated opinion of value. Precedent has been established in
       the judicial system that in-depth knowledge of the restrictions on the conservation easements
       and specific characteristics of encumbered conservation easements are necessary to obtain a
       favorable outcome. This can be seen in the court case from 1991, Estate of Elizabeth G.
       Hughan, Deceased, John W. Hughan, Executor v. Commissioner, Docket No. 23221-88 (61
       T.C.M. 2932 (1991)). The comparable sales utilized are considered the best comparable sales
       available and were fully analyzed in regard to all conservation easement characteristics and
       restrictions.
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                6.4.4. Conservation Easement Encumbered Land Sales Analysis
                     The fair market value of the subject property post-conservation easement has been
                estimated by an analysis of comparable conservation easement encumbered land sales in
                the southeastern region. These sales are the most recent and relevant within the
                parameters specific to the subject property. Detailed analyses of the comparable sales and
                a location map follow this discussion.

                                           Land Comparison Adjustments Grid - Post Easement
                                              Subject                    Sale 1           Sale 2    Sale 3        Sale 4        Sale 5
     Location                                 Warren Co, GA Van Buren Co, TN Cleveland Co, NC Polk Co, GA Jones Co, GA Webster Co, GA
     Date of sale                                        N/A          7/21/2018       9/20/2017   8/7/2017    7/21/2017      06/16/17
     Price                                               N/A          $138,600        $140,000   $625,000     $500,000      $199,010
     Size (Acres)                                    240.000             395.43            39.27  1,185.65       261.05         203.77
     Price/Acre                                          N/A               $351         $3,565       $527       $1,915           $977
     Price/ Sq. Ft.                                      N/A              $0.01           $0.08     $0.01         $0.04         $0.02
     Location                                       Average            Average         Average    Average      Average       Average
     Access                                         Average            Average         Average    Average      Average       Average
     Visibility                                     Average            Average         Average    Average      Average       Average
     Topography/Shape                               Average            Average         Average    Average      Average       Average
     Utility                                        Average            Average         Average    Average      Average       Average
     On-Site Improvements                          Raw Land           Raw Land        Raw Land   Raw Land    Small Barn     Raw Land
     Rights                                       Restrictive            Similar         Similar    Similar      Similar        Similar
                                                            Transactional Adjustments
     Unadjusted Price/Acre                                                  $351         $3,565       $527       $1,915           $977
     Property rights conveyed                                               1.00            1.00      1.00          1.00          1.00
       Intermediate adjusted price                                         $351          $3,565      $527        $1,915          $977
     Financing terms                                                        1.00            1.00      1.00          1.00          1.00
       Intermediate adjusted price                                         $351          $3,565      $527        $1,915          $977
     Expenditures Immediately After Sale                                    1.00            1.00      1.00          1.00          1.00
       Intermediate adjusted price                                         $351          $3,565      $527        $1,915          $977
     Conditions of sale                                                     1.00            1.00      1.00          1.00          1.00
       Intermediate adjusted price                                         $351          $3,565      $527        $1,915          $977
     Market Conditions                                                      1.00            1.00      1.00          1.00          1.00
                                                              Physical Adjustments
       Intermediate adjusted price                                         $351          $3,565      $527        $1,915          $977
     Location                                                            Similar         Similar    Similar      Similar        Similar
     Access                                                              Similar         Similar    Similar      Similar        Similar
     Visibility                                                          Similar         Similar    Similar      Similar        Similar
     Topography/Shape                                                    Similar         Similar    Similar      Similar        Similar
     Utility                                                             Similar         Similar    Similar      Similar        Similar
     On-Site Improvements                                                Similar         Similar    Similar            -        Similar
     Rights                                                              Similar         Similar    Similar      Similar        Similar
     Size                                                                      +             ---       +++       Similar        Similar
     Subject by comparison                                                     +             ---       +++             -       Similar


     Adjustment Explanation

              Sale 1, at $351/acre for 395.43 acres warranted an upward adjustment in order to reflect
          the subject property’s smaller size: according to the Law of Marginal Utility, as the acreage
          increases, the price per acre decreases. After the appropriate adjustments, Sale 1 indicates
          that it is inferior to the subject property.

              Sale 2, at $3,565/acre for 39.27 acres required a downward adjustment in order to reflect
          the subject property’s larger size: according to the Law of Marginal Utility as the acreage
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       increases, the price per acre decreases. After the appropriate adjustments, Sale 2 indicates
       that it is superior to the subject property.

           Sale 3, at $527/acre for 1,185.65 acres warranted an upward adjustment in order to reflect
       the subject property’s smaller size: according to the Law of Marginal Utility, as the acreage
       increases, the price per acre decreases. After the appropriate adjustments, Sale 3 indicates
       that it is inferior to the subject property.

           Sale 4, at $1,915/acre for 261.05 acres required a downward adjustment in order to reflect
       the subject property’s inferior on-site improvements: Sale 4 has a barn on-site, while the
       subject property is raw land. After the appropriate adjustments, Sale 4 indicates that it is
       superior to the subject property.

           Sale 5, at $977/acre for 203.77 acres did not warrant any overall adjustments, Sale 5
       indicates that it is similar to the subject property.

                                         Sales Comparison Array
                               Sales       Adjustments Sales Price/Acre
                               Sale 2           ---               $3,565
                               Sale 4            -                $1,915
                               Sale 5            =                  $977
                               Sale 1            +                  $351
                               Sale 3           +++                 $527

          Based on the adjustments made above, the sales were put into an array to show where the
       subject property should be arranged in the array. As presented in the chart above, the subject
       property is inferior to Sales 2 and 4, similar to Sale 5, and superior to Sales 1 and 3.

           After considering all of the comparable sales with respect to time, location, size, on-site
       improvements, road frontage, and market demand, a sale price per acre of $1,300, is
       considered reasonable.

          The value estimate by the Sales Comparison Approach is as follows:

          240.00 Acres x $1,300                            =              $312,000

          CORRELATED AND ROUNDED                           =              $310,000
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        6.4.4.1.    Comparable Land Sales Descriptions
                                             LAND SALE NO. 1
     LOCATION                      : 395 Van Buren Drive, Spencer, Van Buren County, Tennessee
     GRANTOR                       : Cumberland Property Holdings
     GRANTEE                       : Sullivan Christopher Doan & Donnie Mark Sullivan
     VERIFICATION                  : Mr. Mike Williford, American Forest Management
     SALE DATE                     : July 21, 2018
     SALE PRICE                    : $138,600
     NUMBER OF ACRES               : 395.43
     NUMBER OF SQ. FT.             : 17,224,931
     PRICE PER ACRE                : $351
     PRICE PER SQ. FT.             : $0.01
     PARCEL NUMBER                 : 053-002.00
     DEED BOOK/PAGE                : RB95-277
     UTILITIES                     : All available, except sewer. Assumed
     INTEREST CONVEYED             : Fee Simple Subject to the Restriction of the Conservation
                                      Easement
     EASEMENT DONEE                : Foothills Land Conservancy Inc.


     REMARKS:
             The property is in an agricultural area. According to Mr. Williford, the listing agent, the
     mostly rectangular shaped site was rolling and currently raw land. Mr. Williford also stated that
     the conservation easement in place would restrict any new development and any significant
     improvements. Mr. Williford indicated that this property can be used for agricultural, forestry, or
     recreational purposes. Mr. Clabough with the Foothills Land Conservancy Inc. indicated that this
     tract can be parceled into four separate parcels with one two-acre residential building envelope
     per tract. Mr. Clabough also stated that the smallest parcel allowed is a 50-acre parcel. Finally,
     Mr. Clabough indicated that any forestry or agricultural uses would have to follow an approved
     management plan.


     This site is located in Van Buren County, the neighboring properties are agricultural.
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                                                              Sale 1
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                                             LAND SALE NO. 2
     LOCATION                      : Highway 150/Cherryville Road, Cherryville, Cleveland County,
                                     North Carolina
     GRANTOR                       : Conservation Trust of North Carolina
     GRANTEE                       : Donald Dedmon Jr.
     VERIFICATION                  : Mr. Rusty Painter, Seller representative
     SALE DATE                     : September 20, 2017
     SALE PRICE                    : $140,000
     NUMBER OF ACRES               : 39.27
     NUMBER OF SQ. FT.             : 1,710,601
     PRICE PER ACRE                : $3,565
     PRICE PER SQ. FT.             : $.08
     PARCEL NUMBER                 : 2568770620
     DEED BOOK/PAGE                : 1751-0441
     UTILITIES                     : All available, except sewer. Assumed
     INTEREST CONVEYED             : Fee Simple Subject to the Restriction of the Conservation
                                      Easement
     EASEMENT DONEE                : Conservation Trust of North Carolina


     REMARKS:
             The property is in an agricultural area. According to Mr. Painter, the seller’s
     representative, the irregularly shaped site was gently rolling and currently raw land. Mr. Painter
     also indicated that the site is currently encumbered by a conservation easement held by
     Conservation Trust of North Carolina. Mr. Painter also stated that the conservation easement
     would restrict any new development or new roads, except for those specifically permitted by an
     approved forestry or agricultural plan. Mr. Painter indicated that the conservation easement
     allows for one residential building envelope with three related agricultural buildings. Mr. Painter
     stated that the buyer was the adjacent property owner.
     This site is located on the east side of Highway 150/Cherryville Road, in Cleveland County,
     North Carolina, the neighboring properties are agricultural and residential.
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                                              Sale 2
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                                            LAND SALE NO. 3
     LOCATION                      : Old Jackson Chapel Road, Polk County, Georgia
     GRANTOR                      : Mossy Rock LLC
     GRANTEE                      : Cedar Chapel LLC
     VERIFICATION                 : Mr. Mike Newsome, US Land & Farm & Polk County Tax
                                   Assessor’s Office
     SALE DATE                    : August 7, 2017
     SALE PRICE                   : $625,000
     NUMBER OF ACRES              : 1,185.65
     NUMBER OF SQ. FT.            : 51,646,914
     PRICE PER ACRE               : $527
     PRICE PER SQ. FT.            : $0.01
     PARCEL NUMBER                : 005-013A
     DEED BOOK/PAGE               : 1636-435
     UTILITIES                    : All available, except sewer. Assumed
     INTEREST CONVEYED            : Fee Simple Subject to the Restriction of the Conservation
                                     Easement
     EASEMENT DONEE               : Atlantic Coast Conservancy Inc.


     REMARKS:
              The property is in an agricultural area with below average accessibility and average
     exposure. According to Mr. Newsome, the listing agent, the irregularly shaped site was gently
     rolling and currently raw land. Mr. Newsome also indicated that the site is currently encumbered
     by a conservation easement currently held by Atlantic Coast Conservancy Inc. It should be noted
     that the Polk County Tax Assessor’s Office also verified that this property was encumbered by a
     conservation easement. Finally, Mr. Newsome also stated that the conservation easement would
     restrict any new development or new roads. Mr. Newsome stated that the buyer intended to use
     the property for recreational use. According to the Deed of Conservation for this property, no
     more than three subdivisions on the property are allowed and not more than three home sites are
     allowed on the property.
     This site is located on the west side of Old Jackson Chapel Road, in Polk County, Georgia, the
     neighboring properties are agricultural.
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                                             Sale 3
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                                             LAND SALE NO. 4
     LOCATION                      : Homer Chiles Road, Jones County, Georgia
     GRANTOR                       : Dasher Holdings LLC
     GRANTEE                       : Grice Gregory R
     VERIFICATION                  : Mr. Mike Newsome, US Land & Farm
     SALE DATE                     : July 21, 2017
     SALE PRICE                    : $500,000
     NUMBER OF ACRES               : 261.05
     NUMBER OF SQ. FT.             : 11,371,338
     PRICE PER ACRE                : $1,915
     PRICE PER SQ. FT.             : $0.04
     PARCEL NUMBER                 : J11-00-053
     DEED BOOK/PAGE                : 953-320
     UTILITIES                     : All available, except sewer. Assumed
     INTEREST CONVEYED             : Fee Simple Subject to the Restriction of the Conservation
                                      Easement
     EASEMENT DONEE                : Georgia Agricultural Land Trust


     REMARKS:


              The property is in an agricultural area with average accessibility and average exposure.
     According to Mr. Newsome, the listing agent, the irregularly shaped site was rolling and
     currently raw land. Mr. Newsome also stated that the current conservation easement in place
     restricts any new development, commercial development, industrial development, residential
     development, or new roads. Mr. Newsome stated that the use of this property is recreational use.
     According to the Deed of Conservation, two two-acre building envelopes are allowed and there
     is an agricultural envelope allowed. Mr. Newsome also indicated there was a barn on-site.
     This site is located on Homer Chiles Road, in Jones County, the neighboring properties are
     agricultural.
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                                                   Sale 4
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                                             LAND SALE NO. 5
     LOCATION                       : 39 Jordan Road, Preston, Webster County, Georgia
     GRANTOR                       : Copper Hill Investments LLC
     GRANTEE                       : Marvin D Conger and Joyce H. Conger
     VERIFICATION                  : Mr. Mike Matre, Matre Forestry Consulting Inc.
     SALE DATE                     : June 16, 2017
     SALE PRICE                    : $199,010
     NUMBER OF ACRES               : 203.77
     NUMBER OF SQ. FT.             : 8,876,221
     PRICE PER ACRE                : $977
     PRICE PER SQ. FT.             : $0.02
     PARCEL NUMBER                 : D07-024
     DEED BOOK/PAGE                : 139-230
     UTILITIES                     : All available, except sewer. Assumed
     INTEREST CONVEYED             : Fee Simple Subject to the Restriction of the Conservation
                                      Easement
     EASEMENT DONEE                : Chattahoochee Valley Land Trust


     REMARKS:
             The property is in an agricultural area with average accessibility and average exposure.
     According to Mr. Matre, the broker familiar with this sale, the irregularly shaped site was gently
     rolling and currently raw land. Mr. Matre also stated that the conservation easement for this
     property is currently held by the Chattahoochee Valley Land Trust. Mr. Matre indicated that the
     buyers are planning on using this property for recreational use. Finally, Mr. Matre also stated that
     the conservation easement restricts any new development. According to the Deed of
     Conservation, one building envelope of two acres is allowed and construction of a three-acre
     pond is allowed on-site.
     This site is located on the east side of Jordan Road, the north side of Poplar Springs Road and the
     east side of Highway 41 in Webster County, the neighboring properties are residential and
     agricultural.
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                                                  Sale 5
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                                                 Location Map 113




                                                              Sale 1
                                                                                                     Sale 2


                                                                                  Sale 3
                                                                                           Subject
                                                                                           Sale 4

                                                                                       Sale 5




            6.4.5. After Conservation Easement Reconciliation

              6.4.5.1.    Sales Comparison Approach
                  In the Sales Comparison Approach a comparison is made between the subject property
              and sales of similar properties, usually in the subject property’s market area, with
              adjustments made for the differences in the properties. Therefore, the Sales Comparison
              Approach reflects the perceived value of the subject property in a given submarket.
              6.4.5.2. Sales Comparison Approach (Conservation Easement Encumbered Sales)
                    A scenario similar to the situation stated in Section 6.4.6.1 above, exists when using
               the Sales Comparison Approach for Conservation Easement Encumbered Sales. For
               instance, there are a limited number of sales, they are generally dispersed over a wide
               geographic area and they have different physical qualities. This makes discernment of the
               market value problematic and clouds the motivation of market participants when dealing
               with conservation easements. For these reasons, in our analysis we have chosen to use
               $310,000 as the indicator of value.

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           Location arrows are approximate.
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                Overall, in selecting a value for the subject property, post-conservation easement,
           each of value indicators were considered and evaluated by the appraisers using their
           professional judgment and experience. Thus, the following guidelines set forth in the
           Appraisal of Real Estate, 15th Edition published by the Appraisal Institute, state: “The
           final value opinion is not the average of the different value indications derived. No
           mechanical formula is used to select one indication of value over the others. The strengths
           and weaknesses of each of the approaches used, and the quantity and quality of the data
           analyzed, must be considered and addressed in an appraisal report, and an appraiser must
           explain why one approach may have been relied upon more than another in a particular
           assignment. Final reconciliation relies on the proper application of appraisal techniques
           and the appraiser’s judgment” [Pages 599-600].

                Our final value conclusion is stated in Section 6.4.6.3, Fair Market Value Indication
           After Conservation Easement shown below. The approach to value reflects the highest and
           best use of the subject property.

          6.4.5.3. Fair Market Value Indication After The Conservation Easement


     The Fair Market Value indications for the Contiguous Family-Owned Parcel after the
     conservation easement are as follows:

         SALES COMPARISON APPROACH (Encumbered Sales)                                  $310,000

         SALES COMPARISON APPROACH (Excluded Tract)                                    $4,610,000

     It is our opinion that the Fair Market Value in Fee Simple Estate subject to the conservation
     easement for the total Contiguous Family-Owned Parcel of 2,546.87 acres, consisting of 240.00
     Acres encumbered by the conservation easement and 2,306.87 Acres Excluded, located along the
     north side of Warren County Road 58, just south of Mayfield Road, in Warren County, Georgia,
     as of December 28, 2018 is:

     Area Encumbered       +      Excluded Tract         =      Reconciled Value After
         (240.00 Ac)                (2,306.87 Ac)

           $310,000        +            $4,610,000       =              $4,920,000


              FOUR MILLION NINE HUNDRED TWENTY THOUSAND DOLLARS

                                              ($4,920,000)
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     Section 7 – Final Reconciliation

     7.1.   SUMMARY OF VALUES

              Value Before the Conservation Easement                              $51,550,000

              Residual Value After the Conservation Easement                      $ 4,920,000

              Minus Enhancement Value                                             $ 230,500

              Value of the Conservation Easement                                  $46,399,000 rd.

     7.2. Conservation Easement Valuation

         The permissible uses of the subject property of 240.00 acres as encumbered by the
     conservation easement have been reviewed and it has been determined that these diminished uses
     have altered the highest and best use of the subject property, and consequently have exerted a
     downward influence on the fair market value of the subject property. The subject property’s
     owner is permitted various rights, or uses, provided by the reserved rights of the subject
     property’s conservation easement located in the Addenda of this report. However, the uses
     permitted fall far short of the maximum potential use for the subject property.

     7.3. Conservation Easement Impact on Property

         7.3.1. The subject property contains forest and open land that will be permanently protected
     from future development or conversion.

          7.3.2. The preservation of the subject property for outdoor recreation by, or the education
     of, the general public is within the meaning of Section 170(h)(4)(A)(i) of the Code. Further detail
     can be found in the in the Deed of Conservation Easement found in the addenda of this report.

          7.3.3. Prohibited Uses - The prohibited or restricted uses are delineated in detail in the Deed
     of Conservation Easement included in the Addenda of this report and incorporated by reference
     into this appraisal report. The detailed list and description are not repeated here.

          7.3.4. Reserved Rights - The reserved rights and permitted uses are delineated in detail in
     the Deed of Conservation Easement included in the Addenda of this report and incorporated by
     reference into this appraisal report. The detailed list and description are not repeated here.
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           Section 8 – Addenda

                                  EXHIBIT 8.1

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                          OCIATES
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                                                            Rick A. Kenny MAI, SRA
           ,\i,...i,at,. Ta1 Cons.hwg. Drokeng<      327 Dahlonega Street Suite 104 • Cu mming, GA 30040
                                                               770.664.8922 • rick@kennyre.com
          EDUCATION
          FLORIDA STATE UNIVERSITY,College of Business                                                                            Tallahassee, Florida
          Bachelor of Science in Real Eshde and l\1arketing

          APPRA ISAL EDUCAT ION• Society of Re"I Est,.te Appr,.i sers ""d Appr"is "I Institu te
          • A.I.RE.A. Course-       Standards of Pr ofessional Practice
          • S.R.E.A. Course I 01 • Introduction to Appraising Real Property
          • S.R.E.A. Course I 02- Applied Residential P r operty Valu ation
          • S.R.E.A. Course 201 • P rinciples of Income Property Valuation
          • S.R.E.A. Course 202- Applied Income Property Valua1ion
          • S.R.E.A. Seminar -      R41 B & R41C
          • S. R..E.A. Seminar-     Depreciation Analysis
          • CCIM Course IOI•        FwlC!amenmls ofR.eal Estate lnvesonent & Taxation
          • CCIM Course 102-        Fu,lC!arnenmls ofCreating a Real Esm1e Investment
          • A.I.RE.A. Course-       State Certified/Licensed Real Estate Appraisers
          • A.I.RE.A. Course 530- Advanced Sales Comparison
          • A.I.RE.A. Course 510- Advanced Income Capitalization
          • A.I.R..E.A. Course 420- Business Practice and Ethics
          • A.I.RE.A. Course 520- Market Analysis Highest and Best Use
          • A.I.R..E.A. Course 540- R.epo,t Writing and Valuation Analy sis
          • A.I.RE.A. Course 550- Advanced Applications
          • Valuation ofConservation Easements (Appraisal lnstirute) (Passed)

          WORK EXPERIENCE
          Kenny and A.s.sociates, Inc.-Owner/Appraiser                                                                                     1991 -Preseru
          Tbt Ft1lto11 County Board of Assessors                                                                                               2006-2013
          \.\'eibel & As.sociate.s, Inc. - Appraiser                                                                                           1991-1991
          FDIC Atlanta Consolidated Offoc•- Appraisal Mana ger                                                                                1990-1990
          FSLIC Atlanta• Na tional Appraiser Director                                                                                          /989-/990
          FSLIC as Rec. for Sunrise Savings & Loan- Chief Appraiser                                                                            1986-1989
          Sunrise Mortgage Corporation• Commercial Real Estate Appraiser                                                                       1984-1986
          A1>1m�isal & Ac<111isition Con.sulhmt.s.- Appraiser Associale                                                                        1984-1984
          Phagan & Associates• App raiser Associate                                                                                            1983-1984

          E.xperience inclu des 30 years of co,n,nercial and residential real e state appraisal and appraisal review s. real estate sales. feasibility
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          PROFESSIONAi. AFFI I .IATIONS
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          C<eorgia Ctrtifitd Central Real 1!:statt A1>1>raistr (No. 62/l)
          Atlanta Boanl of Realtors
          licensed �orgia Rul €st ate Broker
          Licensed Florida Real Estate Broker
          Naa-ional Associaa-io11 of Rultors
          International Association o f Assessing Officers
          Fonner Chairman, Fulton County Uoard of Tu Assessors


          fnstructor for the Fo11owin" Seminars Gjven to [Sf IC &EPIC Personnel
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          Income Propei1y Valuation, Applied Income Property Valu ation, lntroduoion to Real Estat e Appraising, Introduction t o Reviewing
          Appraisals
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License Number AP-1953                                                   NON TRANSFERABLE


     CER TIFIED REAL EST ATE APPRAISER PERMIT
                                                                              Issued : 10/29/2020
                                                                              Expires: 10/28/2022

Rick A. Kenny
Certified General Appraiser Permit
AS PROVIDED FOR BY THE LAWS OF WYOMING.



Kenny and Associates Inc                     AUTHORIZED BY THE WYOMING CERTIFIED
327 Dahlonega St                             REAL ESTATE APPRAISER BOARD
Cumming GA 30040                             WITNESS MY HAND AND THE
                                             OFFICIAL SEAL AT CHEYENNE, WYOMING.



                                              Nicole Novotny Smith Executive Director
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                                               Douglas Kenny, MAI
                                    327 Dahlonega Street, Suite 104 • Cumming, GA 30040
                                            770.823.3816 • doug@kennyre.com

 EDUCATION
 GEORGIA INSTITUTE OF TECHNOLOGY, College of Engineering                                                     Atlanta, Georgia
 Bachelor of Science in Industrial Engineering                                                   August 2007 – December 2010
 • General Track                                                                                                  GPA: 3.08

 APPRAISAL EDUCATION                                                                                     January 2011 - Present
 • General Appraiser Income Approach Parts One & Two
 • General Market Analysis and Highest and Best Use
 • General Appraiser Sales Comparison Approach
 • General Appraiser Site Valuation & Cost Approach
 • General Appraiser Report Writing and Case Studies
 • Real Estate Finance Statistics and Valuation Modeling
 • Advanced Concepts and Case Studies
 • Advanced Income Approach
 • Valuation of Conservation Easements (Appraisal Institute) (Passed)
 • Mineral Property Valuation 1 – Standards and Guidelines (Edumine)
 • Mineral Property Valuation 2 – Approaches and Methods (Edumine)
 • Environmental Awareness for Resource Planning (Edumine)

 WORK EXPERIENCE
 Kenny and Associates, Inc.                                                                                Cumming, Georgia
 MAI Designated Member                                                                                     April 2016 – Present

 Kenny and Associates, Inc.                                                                                Cumming, Georgia
 Certified General Appraiser                                                                            January 2014 – Present

 Kenny and Associates, Inc.                                                                                Cumming, Georgia
 Appraiser Trainee                                                                                January 2011 – January 2014
 • Research assistant
 • Performs property inspections under the supervision of Rick Kenny
 • Performs data analysis while creating forecast models to project future market trends

 PROFESSIONAL AFFILIATIONS

 MAI Designation, Appraisal Institute
 Certified General Real Property Appraiser: Georgia (#344167), Alabama (#G01326), Tennessee (#5435),
 Oklahoma (#13326CGA), Arkansas (#CG-4471), South Carolina (#AB.7804CG)
 Licensed Georgia Real Estate Agent
 Georgia Institute of Technology Alumni Association

 PROFESSIONAL SKILLS

 •   Coursework: Engineering Optimization; Safety Engineering; Stochastic; Quality Control Engineering; Engineering
     Economics; Engineering Statistics; Life Cycle Cost Analysis; Engineering Economy
 •   Group projects: Gained invaluable leadership experience while working with the admissions department for Georgia Tech:
     reworking the admissions process, increasing efficiency, and finding the ideal Georgia Tech student more cost effectively.
 •   Programs: Proficient in Microsoft Excel, Word, PowerPoint, Wintotal, and Apex Medina.

 AWARDS AND ACHIEVEMENTS
 •   Georgia Tech Tennis Player
 •   Total Person Award given to one athlete per team for leadership and excellence through the year
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                                        STATE OF GEORGIA
                                  REAL ESTATE APPRAISERS BOARD
                                                                       DOUGLAS R KENNY
                                                                               344167
                                                           IS AUTHORIZED TO TRANSACT BUSINESS IN GEORGIA AS A
                                                       CERTIFIED GENERAL REAL PROPERTY APPRAISER
     THE PRIVILEGE AND RESPONSIBILITIES OF THIS APPRAISER CLASSIFICATION SHALL CONTINUE IN EFFECT AS LONG AS
     THE APPRAISER PAYS REQUIRED APPRAISER FEES AND COMPLIES WITH ALL OTHER REQUIREMENTS OF THE OFFICIAL
      CODE OF GEORGIA ANNOTATED, CHAPTER 43-39-A. THE APPRAISER IS SOLELY RESPONSIBLE FOR THE PAYMENT OF
                                            ALL FEES ON A TIMELY BASIS.
                   D. SCOTT MURPHY                                      JEANMARIE HOLMES
                   Chairperson                                          KEITH STONE
                                                                        WILLIAM A. MURRAY
                   JEFF A. LAWSON
                   Vice Chairperson
                                                                                                                                       1514531340235047




                                                                                       DOUGLAS R KENNY

                                                                                            #              344167
                                                                                       Status              ACTIVE                         END OF RENEWAL
                                                                                                                                           02/28/2023
                                                                                       CERTIFIED GENERAL REAL PROPERTY
                                                                                       APPRAISER

                                                                                       THIS LICENSE EXPIRES IF YOU FAIL TO PAY
                                                                                       RENEWAL FEES OR IF YOU FAIL TO COMPLETE ANY
                                                                                       REQUIRED EDUCATION IN A TIMELY MANNER.

                                                                                       State of Georgia
                                                                                       Real Estate Commission
                                                                                       Suite 1000 - International Tower
                                                                                       229 Peachtree Street, N.E.
                                                                                       Atlanta, GA 30303-1605                                 LYNN DEMPSEY
                                                                                                                                     Real Estate Commissioner
                      CUMMING, GA 30040-770
                      327 DAHLONEGA STREET SUITE 104
                      KENNY, DOUGLAS R




                                                                                                                                          1514531340235047

                                                                                       DOUGLAS R KENNY

                                                                                            #              344167
                                                                                       Status              ACTIVE                         END OF RENEWAL
                                                                                                                                           02/28/2023
                                                                                       CERTIFIED GENERAL REAL PROPERTY
                                                                                       APPRAISER

                                                                                       THIS LICENSE EXPIRES IF YOU FAIL TO PAY
                                                                                       RENEWAL FEES OR IF YOU FAIL TO COMPLETE ANY
                                                                                       REQUIRED EDUCATION IN A TIMELY MANNER.

                                                                                       State of Georgia
                                                                                       Real Estate Commission
                                                                                       Suite 1000 - International Tower
                                                                                       229 Peachtree Street, N.E.
                                                                                       Atlanta, GA 30303-1605                                 LYNN DEMPSEY
                                                                                                                                     Real Estate Commissioner

                                                                                                                                          1514531340235047




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                                    edumine
                                          Online Continuing Education for Professionals
                                                         in Mining and the Geosciences
                                                                                                          CERTIFICATE
                                                                                                          OF COMPLETION



                                                                                          This certifies that


                                                                               Doug Kenny
                                                  has successfully completed requirements for certification in the online course

                                                            Environmental Awareness for Resource Planning


                                                                       and was awarded 0.5 Continuing Education Units




The International Association for Continuing Education and Training (IACET)
has approved Edumine as a provider of continuing education and training.
Edumine can award Continuing Education Units to those who complete the                                                             Katja Freitag, VP Education Solutions
requirements for certification in an online course.
                                                                                                                                              August 15, 2019
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                                    edumine
                                          Online Continuing Education for Professionals
                                                         in Mining and the Geosciences
                                                                                                          CERTIFICATE
                                                                                                          OF COMPLETION



                                                                                          This certifies that


                                                                               Doug Kenny
                                                  has successfully completed requirements for certification in the online course

                                                                                      Mineral Property
                                                                      Valuation 2 - Approaches and Methods
                                                                       and was awarded 1.0 Continuing Education Units




The International Association for Continuing Education and Training (IACET)
has approved Edumine as a provider of continuing education and training.
Edumine can award Continuing Education Units to those who complete the                                                             Katja Freitag, VP Education Solutions
requirements for certification in an online course.
                                                                                                                                              August 13, 2019
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                                    edumine
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                                                         in Mining and the Geosciences
                                                                                                          CERTIFICATE
                                                                                                          OF COMPLETION



                                                                                          This certifies that


                                                                               Doug Kenny
                                                  has successfully completed requirements for certification in the online course

                                                                              Mineral Property Valuation
                                                                              1 - Standards and Guidelines
                                                                       and was awarded 0.6 Continuing Education Units




The International Association for Continuing Education and Training (IACET)
has approved Edumine as a provider of continuing education and training.
Edumine can award Continuing Education Units to those who complete the                                                             Katja Freitag, VP Education Solutions
requirements for certification in an online course.
                                                                                                                                                July 31, 2019
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                         RESOURCE VALUATION REPORT

                            AND TECHNICAL REPORT
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     RESOURCE VALUATION REPORT-
     LOG CREEK QUARRY SITE,
     WARREN COUNTY, GEORGIA, USA
     Effective date: December 20, 2018
     Report Date: February 28, 2022

     Report Prepared for:

     Log Creek, LLLP
     1280 Snows Mill Road
     Bogart, Georgia 30622

     Report Prepared by:




     Capps Geoscience, LLC
     P.O. Box 2235
     Evans, GA 30809
     USA


     Signed by QP:
     Richard C. Capps, PhD, Georgia RPG
     SME Registered Geologist
2018 CARRYOVER          ATTACHMENT
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     Log Creek aggregate quarry site valuation, Warren County, Georgia                            i


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     1     Summary
     The purpose of this report is to provide a summary of scientific and technical criteria
     for the proposed Log Creek quarry and to use this information to make a retrospective
     valuation of the mineral (aggregate) resource and reserves as of 20 December 2018.
         This resource valuation report for the Log Creek, LLLP aggregate quarry site (“Log
     Creek”) was prepared by consulting geologist and Qualified Person (QP), Richard C.
     Capps, PhD at the request of a private company, Log Creek, LLLP. I am a qualified per-
     son as defined by the US SEC reporting standards and the policy and standards of the
     Canadian National Instrument 43-101 and I am a qualified person as a consequence of
     my education, experience, and professional memberships and licenses. Over the previ-
     ous 45 years, I have explored and evaluated thousands of mineral properties and valued
     hundreds of these and I take responsibility for all sections of this report. My clients have
     included large multinational corporations, public and private junior mining firms, land own-
     ers, and federal and state agencies. This valuation and report is prepared to the same
     standards as these earlier reports and is organized under the structure, principles, and
     policies of the Society of Mining, Metallurgy, and Exploration (SME) 2014 Guidelines, the
     CIM 2010 definitions, and the June 2011 Canadian National Instrument 43-101 standards.
     This mineral valuation follows standard reporting practices and valuation procedures and
     a general pre-feasibility model.



     1.1   Valuation criteria and process
     The criteria used in the Log Creek, LLLP and in all previous crushed stone aggregate
     mineral valuations by Capps Geoscience, LLC and the author (QP) follow the income
     based process of a Discounted Cash Flow (DCF) analysis (Torries, 1998). The DCF
     is used to determine a Net Present Value (NPV) over the mine life and the first year
     of the DCF is the first year of full operation of the quarry. The criteria necessary to
     generate both the DCF and NPV include Production Rate based on Market Demand,
     Costs, Price, Discount Rate, Proven Mineral Resource, and Proven Mineral Reserve and
     are here defined as:
         Production Rate (short tons/year) based on Market Demand (short tons/year): Crushed
     stone aggregate is a natural resource that has high value of place and whose market is
     somewhat like that of water. Like water, everyone uses crushed stone and demand is di-
     rectly proportional to the existing population base and rate of population growth. Markets
     in areas of high population growth will require more crushed stone than those with stable
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     or declining populations. The United States Geological Survey (USGS) tracks commodity
     production annually and those figures include crushed stone aggregate production. Mar-
     ket Demand, on an annual per capita basis, is determined by dividing the United States
     production data by the United States population.
         A mineral valuation is based on an increase in Market Demand for crushed stone
     aggregate within the quarry’s approximately 50-road mile radius market area and for this
     proposed valuation the escalation of Market Demand is based on the projected increase
     in population. The primary sources for county population data in the 50-road mile radius
     market area are the United States Census Bureau data and the Georgia Governor’s Office
     for Planning and Budget for population projections (See Table 2, Figure 6, and Appendices
     G and I). The southeastern United States and including the State of Georgia has one of
     the highest crushed stone aggregate production rates in the country as shown in the
     annual Mineral Commodity Summaries available from the USGS (See Appendices E and
     F).
         Costs (US$/short ton): The Costs are determined by independent contract mining
     quotes such as those provided by companies which provide contract mining services.
     These contract mining quotes and service costs are higher and therefore more conserva-
     tive than the costs at quarries which operate with their own equipment and personnel.
         Price (US$/short ton): The Price is determined from publicly available price sheets
     provided by local quarries in combination with the effects of discounts sometimes provided
     to large volume customers.
         Discount rate (%): The discount rate as determined for the purpose of valuation is
     based on the sum of three values. The first value is a representative corporate coupon
     rate, from Morningstar or other similar sources, and representative of the same market
     sector (for example aggregate producer Vulcan Materials (VMC)), the second is the US
     Treasury Bond Rate, and the third is a 0 to 3 percent increase to allow for the uncertainties
     which may be inherent in establishing the new quarry site.
         Proven Mineral Resource (short tons): For the purposes of this report, that portion
     of a mineral resource for which there is adequate data based on geologic mapping of
     outcrops, diamond core drilling, physical testing, and exploration to calculate the quantity
     and quality of the measured mineral resource.
         The measured mineral resource is determined by an independent resource evaluation
     study which includes determining mineable area, thickness of non-salable overburden,
     quantity, and quality of stone by core drilling and physical, chemical, and mineralogical
     analyses of representative samples from that drilling. Other studies may be necessary
     such as wetland delineation, critical species, riparian buffers, rural runoff studies, cultural
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     inventory and similar potential environmental, engineering and cultural concerns.
         Proven Mineral Reserve (short tons): For the purposes of this report, a Proven Mineral
     Resource is the total 25-year projected production based on market demand as presented
     in the discounted cash flow analysis.


     1.2   Conclusions and recommendations
     On the basis of the included and attached information the author concludes and recom-
     mends that:
         • Under the standards as described above, the best practice is to use independent
     Qualified Persons first for evaluation and then secondly for valuation of a mineral re-
     source. GeoLogic, LLC (GeoLogic) conducted the Log Creek exploration and evaluation
     (mapping, drilling, and sampling) and finds that the stone at the Log Creek quarry (Figure
     1) meets all Georgia Department of Transportation (GADOT) specifications and that the
     overburden is shallow (Appendix A, October 2018 Evaluation report and Appendix B, Ad-
     dendum to the October 2018 Evaluation report). Capps Geoscience, LLC and the author
     (QP) find no know errors in the GeoLogic evaluation report and agree with the conclusions
     of the Geologic evaluation report. Capps Geoscience and the author find that, based on
     the October 2018 evaluation report and supporting documents, there are over 85 million
     tons of mineral resource including 36.4 million tons of measured and 48.6 million short
     tons of indicated aggregate resource in the Log Creek quarry ultimate 68 acre pit if mined
     to an elevation of 98.4 feet (elevation to base of measure resource = about 200 feet and
     to base of indicated resource = 98.4 feet). I am confident that the indicated resources
     would be changed to measured resources (Proven resources) with additional drilling.
        • These resources are more than adequate to meet the market demand reserve of
     60.6 million short tons over the 25 year mine life. As calculated in Section 12 of this report,
     the value of the combined FOB truck market (7.2 million tons) and rail market (53.4 million
     tons) crushed stone aggregate reserve mined and classified at the Log Creek quarry, is
     rounded to US$89.8M.
        • The property is zoned AR (Agricultural) and, according to Warren County zoning
     codes, mining is allowed in AR zoned lands with a conditional use permit (Appendix K).
     Community opposition to the quarry seems unlikely because there are existing aggre-
     gate quarries in the area. The author’s opinion is that it is reasonably probable that the
     Conditional Use Permit (CUP) will be obtained from Warren County to operate the quarry.
        • In my opinion, the Log Creek quarry will be permitted as an active mine with the
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     Surface Mining Unit of the Georgia Environmental Protection Division (Appendix B). In
     addition, in my opinion it is reasonably probable that the storm water and air emission
     permits will be granted for the Log Creek quarry.
        • According to the 2018 USGS Mineral Year Book "In 2017, 1.33 billion tons of crushed
     stone valued at more than $15 billion was produced by an estimated 1,400 companies
     operating 3,700 quarries and 187 sales/distribution yards in 50 States. Leading States
     were, in descending order of production, Texas, Pennsylvania, Florida, North Carolina,
     Ohio, Missouri, Georgia, Kentucky, Virginia, and Indiana, which together accounted for
     more than one-half of the total crushed stone output." The most recent USGS Commodity
     Summary and Mineral Industry Surveys confirms that the upward trend in demand and
     production continues (Appendices E and F). medbreak
        • The most profitable use of the Log Creek Warren County, Georgia tract would be to
     produce aggregate from the proposed quarry.



     2     Introduction

     2.1    Terms of reference and purpose of the Report
     This valuation report has been prepared at the request of Log Creek, LLLP whose ad-
     dress is 1280 Snows Mill Road, Bogart, Georgia 30622. On behalf of Log Creek Mr.
     Tony Townley, Manager, retained Richard C. Capps, PhD, QP of Capps Geoscience, LLC
     (“CG” or “Capps Geoscience”) to prepare a mineral valuation of the proposed Log Creek
     crushed stone aggregate quarry in Warren County, Georgia. Log Creek intends to use
     this report to aid investment decisions as part of their overall scope of investment analysis.

         The report is prepared as a Canadian National Instrument 43-101 (NI-43-101) Tech-
     nical Report as this is considered the world standard format for independent reporting for
     mineral property valuation and disclosure purposes. The quality of information, including
     conclusions and estimates, contained in this report is consistent with the level of effort
     involved in Capps Geoscience services based on: i) information available at the time
     of preparation, ii) data supplied by outside sources, iii) the assumptions, conditions and
     qualifications established in this report. This report is intended for use by Log Creek sub-
     ject to the terms and conditions of its agreement with Capps Geoscience and any uses
     of this report by any third party is at that party’s sole risk. The responsibility of disclosure
     remains with Log Creek, LLLP.
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         This report provides mineral resource and mineral reserve estimation and a classifica-
     tion of resources and reserves in accordance with the Society for Mining, Metallurgy and
     Exploration (The 2014 SME Guide), the Canadian CIM Guidelines (November 27, 2010),
     and United States Securities and Exchange Commission Industry Guide 7.


     2.2   Qualification of consultants and site visit
     The author and Qualified Person for the current report, Richard C. Capps, PhD, QP, Geor-
     gia RPG and SME registered member geologist, visited the Log Creek project on 17
     February 2021 The author is familiar with the general geology of the area because he has
     worked in similar geologic settings and mining districts in Georgia and elsewhere.
         During the site visit the QP and author of the current report drove roads, studied core
     and rock samples and walked the quarry area and land parcel. Rock samples were sub-
     mitted to the laboratory for physical tests from the 4 core holes drilled and reported in the
     October 2018 evaluation/exploration report (Appendix A). An ecological survey, mine plan,
     and permit application were completed as an addendum to the October 2018 evaluation
     report (Appendix B). The physical tests showed that the rocks met all Georgia Depart-
     ment of Transportation standards for aggregate (Appendix H). The rock types, textures,
     mineralogy, and structure in core are consistent with the outcrop and with those described
     in the both the publicly available literature and mineral exploration report (Appendix A).



     2.3   Sources of information
     Data used in this report are from a variety of sources including historic internal company
     reports provided by Log Creek and reports on the Log Creek quarry project area and ad-
     jacent areas referenced in this report. The greatest sources of information relied on are
     the October 2018 evaluation report (Appendix A) and mine plans, ecological survey, and
     permit applications as addenda (Appendix B) to that report and all provided by Benjamin
     R. Black, PG of GeoLogic, LLC. It is the author’s (QP) opinion that Geologist Benjamin
     R. Black is fully qualified to evaluate the Log Creek Warren County tract crushed stone
     aggregate quarry site. Benjamin R. Black is professional respected geologist, has many
     years of mineral evaluation experience and is a licensed and registered professional ge-
     ologist in Georgia and many other states.
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     2.4   Units of measure
     Most of the historic information regarding the Log Creek quarry site and surrounding ar-
     eas are in English units and useful terms are provided in Table 1. Currency is in United
     States Dollars. The following units of measurement and conversion factors are provided
     for clarification.

     1 ppm = 1 part per million 1 ppb = 1 part per billion
     100 hectares = 1 square kilometers
     1 foot = 31.28 cm or 0.3128 meters
     1 mile = 1.609 kilometer
     1 m3 = 1 cubic meter = 35.31 feet3
     1 ton (Imperial) = 2240 pounds
     1 short ton = 2000 pounds
     1 hectare = 10,000 m2 = 2.471 acres
     1 cubic foot = 0.028317 cubic meters
     Ma = million years ago
     Ga = billion years ago
     Geologic terms used are those of standard usage (Table 1).
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                                                            Table 1: Definition of terms

Term                        Definition
Capital Expenditure         All other expenditures not classified as operating costs.
Construction aggregate      Construction aggregate, or simply "aggregate", is a broad category of coarse to medium grained particulate material used in construc-
                            tion, including sand, gravel, crushed stone, slag, recycled concrete and geosynthetic aggregates. It is created by mining a suitable rock
                            formation and then using a crusher to break down the stone into different sizes. Crushed stone differs from gravel in that gravel has a
                            more rounded shape and is made by the natural processes of weathering and erosion.According to the USGS, "of the total domestic
                            crushed stone produced in 2018, about 68% was limestone and dolomite; 15%, granite; 6%, traprock; 5%, miscellaneous stone; 4%,
                            sandstone and quartzite; and the remaining 2% was divided, in descending order of tonnage, among marble, volcanic cinder and scoria,
                            calcareous marl, slate, and shell."
Crushing                    Initial process of reducing ore particle size to render it more amenable for further processing
Die grade                   High quality dimension stone noted for lack of dikes, sills, fractures and non-uniform textures. Die grade has excellent physical properties
                            for initial quarrying through finished product (monuments; building materials etc.)
Dilution                    Waste which in unavoidably mined with ore.
Dimension stone             According to the United States Geologic Survey (USGS) “dimension stone can be defined as natural rock material quarried for the pur-
                            pose of obtaining blocks or slabs that meet specifications as to size (width, length, and thickness) and shape”. Color, grain texture and
                            pattern, and surface finish of the stone are normal requirements. Durability (essentially based on mineral composition and hardness
                            and past performance), strength, and the ability of the stone to take a polish are other important selection criteria. Although a variety
                            of igneous, metamorphic, and sedimentary rocks are used as dimension stone, the principal rock types are granite, limestone, marble,
                            sandstone, and slate. Other varieties of dimension stone that are normally considered to be special minor types include alabaster (mas-
                            sive gypsum), soapstone (massive talc), and various products fashioned from natural stone.”
Dip                         Angle of inclination of a geological feature/rock from horizontal
Fault                       The surface of a fracture along which movement has occurred
Footwall                    The underlying side of a fault, orebody or stope
Gangue                      Non-valuable components of ore
Grade                       Quality of dimension stone for resale dependent on use. Die grade is the highest and followed by base, coping, quarry run, foundation,
                            and curb
Grout                       A common term for dimension stone waste rock
Hanging wall                The overlying side of a fault, orebody or stope
Igneous                     Primary crystalline rock formed by the solidification of magma.
Lithology                   Geological description pertaining to different rock types. In hand specimen or outcrop characterized by textural descriptions based on but
                            not limited characteristics such as mineralogical composition, grain size, and color.
Material properties         Physical and chemical properties of rocks mined
Measured mineral resource   For the purposes of this report, that portion of a mineral resource for which there is adequate data based on geologic mapping of out-
                            crops, diamond core drilling, physical testing and historic exploration to calculate the quantity and quality, of the mineral resource. See
                            Mineral Resources, Section 2.4.1 for a general description.
Metamorphic processes       Pertaining to rocks formed by the recrystallization in the solid state of a pre-existing rock of any type to one with different texture and
                            new minerals by the application of pressure, temperature, and/or deformation of the original rock. Chemically reactive solutions are
                            sometimes also responsible for the change or alteration of the rock.
Milling                     A general term to describe the process in which the ore is crushed and ground and subjected to physical or chemical treatment to extract
                            the finished product
Mineral resource            For the purposes of this report, a Mineral Resource is a concentration or occurrence of rock with physical properties that would pass
                            state Department of Transportation (GADOT and SCDOT) specifications for use as crushed stone aggregate and has reasonable
                            prospects for economic extraction. See Mineral Resources, Section 2.4.1 for a general description.
Prospect                    An area that is a potential site of mineral deposits, based on preliminary exploration
Proven mineral reserve      For the purposes of this report, the total 25-year projected production based on market demand as presented in the discounted cash
                            flow analyses (Tables 5 and 6). See Mineral Reserves Section 2.4.2 for a general description.
Saprolite                   A chemically weathered rock, mostly soft or friable and commonly retaining the structure of the parent rock since it is not transported.
                            Saprolites contain quartz and a high percentage of kaolinite with other clay minerals which are formed by chemical decomposition of
                            primary minerals, mainly feldspars.
Sedimentary                 Pertaining to rocks formed by the accumulation of sediments, formed by the erosion of other rocks
Stratigraphy                The study of stratified rocks in terms of time and space.
Strike                      Direction of line formed by the intersection of strata surfaces with the horizontal plane, always perpendicular to the dip direction.
Stripping ratio             The ratio of tons of waste rock divided by the tons of mineralization destined for the processing plant
Sulfide                     A sulfur bearing mineral
Tailings                    Finely ground waste rock from which valuable minerals have been extracted.
Total Expenditure           All expenditures including those of an operating and capital nature.
USGS                        United States Geological Survey
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     2.4.1   Mineral resources
     The mineral resources and mineral reserves have been classified according to the “CIM
     Standards on Mineral Resources and Reserves: Definitions and Guidelines” dated Novem-
     ber 27, 2010 (CIM) and The SME 2014 Guide for reporting mineral resources and re-
     serves. The Resources have been classified as Measured, Indicated or Inferred, the
     Reserves have been classified as Proven, and Probable based on the Measured and
     Indicated Resources as defined below.
          A Mineral Resource is a concentration or occurrence of natural, solid, inorganic or
     fossilized organic material in or on the Earth’s crust in such form and quantity and of
     such a grade or quality that it has reasonable prospects for economic extraction. The
     location, quantity, grade, geological characteristics and continuity of a Mineral Resource
     are known, estimated or interpreted from specific geological evidence and knowledge.
          An ‘Inferred Mineral Resource’ is that part of a Mineral Resource for which quantity and
     grade or quality can be estimated on the basis of geological evidence and limited sampling
     and reasonably assumed, but not verified, geological and grade continuity. The estimate
     is based on limited information and sampling gathered through appropriate techniques
     from locations such as outcrops, trenches, pits, workings and drill holes.
          An ‘Indicated Mineral Resource’ is that part of a Mineral Resource for which quan-
     tity, grade or quality, densities, shape and physical characteristics can be estimated with
     a level of confidence sufficient to allow the appropriate application of technical and eco-
     nomic parameters to support mine planning and evaluation of the economic viability of the
     deposit. The estimate is based on detailed and reliable exploration and testing informa-
     tion gathered through appropriate techniques from locations such as outcrops, trenches,
     pits, workings and drill holes that are spaced closely enough for geological and grade
     continuity to be reasonably assumed.
          A ‘Measured Mineral Resource’ is that part of a Mineral Resource for which quantity,
     grade or quality, densities, shape, physical characteristics are so well established that
     they can be estimated with confidence sufficient to allow the appropriate application of
     technical and economic parameters, to support production planning and evaluation of
     the economic viability of the deposit. The estimate is based on detailed and reliable
     exploration, sampling and testing information gathered through appropriate techniques
     from locations such as outcrops, trenches, pits, workings and drill holes that are spaced
     closely enough to confirm both geological and grade continuity.


     2.4.2   Mineral reserves
     A Mineral Reserve is the economically mineable part of a Measured or Indicated Mineral
     Resource demonstrated by at least a preliminary feasibility study. This study must include
     adequate information on mining, processing, metallurgical, economic and other relevant
     factors that demonstrate, at the time of reporting, that economic extraction can be justified.
     A Mineral Reserve includes diluting materials and allowances for losses that may occur
     when the material is mined.
         A ‘Probable Mineral Reserve’ is the economically mineable part of an Indicated, and
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     in some circumstances a Measured Mineral Resource demonstrated by at least a prelim-
     inary feasibility study. This study must include adequate information on mining, process-
     ing, metallurgical, economic, and other relevant factors that demonstrate, at the time of
     reporting, that economic extraction can be justified.
         A ‘Proven Mineral Reserve’ is the economically mineable part of a Measured Mineral
     Resource demonstrated by at least a preliminary feasibility study. This study must include
     adequate information on mining, processing, metallurgical, economic, and other relevant
     factors that demonstrate, at the time of reporting, that economic extraction is justified.



     3     Reliance on other experts
     The QP’s opinion stated in this current document is based on information provided by Log
     Creek throughout the valuation. Capps Geoscience has relied on the work of earlier con-
     sultants in the Log Creek project area in support of the Log Creek valuation. The sources
     of information include data and reports supplied by Log Creek personnel as well as doc-
     uments referenced in Section 16 (References). The professional documents included in
     the appendices of the current report follow standard practices and were performed by
     Qualified Persons in their own disciplines and contain no known errors.
         ASTM testing for construction aggregate properties of rock samples taken from Log
     Creek quarry site drill core was completed by GeoLogic, LLC on behalf of Log Creek in
     October 2018. The testing work followed current ASTM Best Practice procedures and is
     included in this report as Appendix A.
         The author is not a lawyer but has reviewed a copy of the title and plat for the property
     and finds no encumbrances on the property that could interfere with the proposed mining
     operation on the property. No independent verification of land title was performed by the
     author but has relied upon Log Creek who, in whole or in part, has contributed descriptions
     of the tenure, legal, environmental, marketing, pricing, and costs for the Log Creek quarry
     project and this valuation report.
         A draft copy of this report has been reviewed for factual errors by Log Creek, LLLP. Any
     changes made as a result of these reviews did not affect the conclusions of this document.
     The opinions given and expressed in this document are given and presented in good faith
     and in the opinion that the statements and opinions are not false and misleading as of the
     effective date of the report.



     4     Description and location

     4.1   Property description, location, and tenure
     The Log Creek project is located about 11 linear miles northeast of central Sparta, Geor-
     gia, USA and about 50 linear miles southwest of central Augusta, Georgia, USA (Figure 1;
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     Appendix G). The approximate center of the Log Creek property is located at coordinates
     334,377 East, 3,691,789 North meters (NAD 1983, and Datum UTM Zone 17N, Meters
     on the USGS Jewell, GA 7.5 minute quadrangle topographic map.
        The project parcel is owned by Log Creek and covers an area of about 241 acres.
     The general boundary of the parcel metes and bounds is provided in Appendix B and is
     used throughout this document. The author did not perform an independent survey of the
     property and relied on the supplied survey data which appears to be accurate.



     5     Accessibility, climate, local resources, infrastructure
           and physiography

     5.1   Topography, elevation, and vegetation
     The topography is gently sloping to the east and the terrain incised by numerous small
     dendritic drainages and small streams. The topography is a product of an upland area in a
     mature stage of erosion. The drainages are incised and some stream robbing is occurring
     due to headward erosion.
         The relief of the property is about 100 feet and elevations above mean sea level range
     from a low of about 400 feet in the northwestern Log Creek property to a high in the
     eastern property of about 500 feet. Headward erosion at the property is variable and
     drainages have generally northeast and northwest trending channels. Property drainage
     flows into unnamed drainages and then into the Ogeechee River.
        The property is mostly in managed pine trees and with smaller woodlots of pine and
     mixed hardwoods trees and native plants such as sumac and grasses along borders
     between woodlots and pasture.



     5.2   Accessibility and transportation to the property
     The Log Creek project site is about 14 road miles northeast of Sparta, Georgia and there
     is sufficient road access to operate a truck market from the property. The quarry site is
     accessible from well maintained paved public roads which provide access to major paved
     Highway 16. In turn, Highway 16 provides access to Interstate 20 (by on and off ramps),
     a major east-west interstate. Direct access to the property is on two lane paved roads
     through the nearby community of Warrenton. From Warrenton take Highway 16 for about
     11 miles to the intersection with Ogeechee River Road and turn right at the intersection.
     Follow Ogeechee River Road for about 3.4 miles to its intersection with Timber Road
     and turn right onto Timber Road. Follow Timber Road for about 0.27 miles to the quarry
     entrance which is on the left.
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                                                                                  Meters

                                                                                  Feet                               Projection NAD 1983 UTM Zone 17N
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     Figure 1: Regional quarry location map. Projection and datum are NAD 1983, UTM
     Zone 17N.
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     5.3   Climate and length of operating season
     Mining and construction operations are conducted on a year round basis and with no
     restrictions on the operating season.
        The Property is about 30 miles northeast of Milledgeville, Baldwin County, Georgia
     USA. The climate of Milledgeville, Georgia (Figure 2) is typical of lower Piedmont areas in
     the Georgia, USA and lies within the humid subtropical climate zone. The temperatures
     are on average between 93 degrees F for July highs and 34 degrees F for January lows.
     Winter snowfall averages about < 1 inch, and Milledgeville averages 47.6 inches of rain
     per year.




     Figure 2: Climate chart for Milledgeville, Georgia about 30 miles to the southwest of the
     Log Creek quarry site
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     5.4     Infrastructure availability and sources
     5.4.1   Proximity to population center
     The project is about 50 miles southwest of Augusta, Georgia which is the County Seat
     of Richmond County, Georgia and the consolidated city-county government area has a
     2010-census population of about 556,877. Augusta is the largest city in the Central Sa-
     vannah River Area metropolitan, a trading and marketing area with a 2010 population of
     about 861,631.


     5.4.2   Power
     Electrical power is available on the property. The local line supplies farms and lots near
     the Log Creek quarry site.


     5.4.3   Water
     Minimal water is required for plant operation. If needed, water could be produced from
     the quarry when in production because groundwater seeps into the quarry and must be
     pumped out. In addition water could be supplied by a small water truck or onsite water
     well.


     5.4.4   Mining personnel
     Mining personnel are readily available in the Piedmont region of Georgia which has a
     multi-generational history of aggregate and dimension stone mining. Crushed stone ag-
     gregate quarries similar to the proposed Log Creek quarry site hire from this region. Initial
     quarry setup and operations will be under an agreement with a contract mining company
     to supply management, personnel, and equipment. A typical quarry operation (See Ap-
     pendix B for mine plan.) has one or two truck drivers to drive the quarry haul trucks
     from the pit to primary crushing facility and return, a loader operator to excavate product
     from the working bench and load it into the haul trucks, three or four workers to operate
     the primary crusher, screens, and conveyors, and stakers. One and sometimes two em-
     ployees staff the scale house and maintain records of sales. The Log Creek quarry is
     proposed as both an FOB truck and rail operation but some quarries have a fleet of trucks
     that would require a dispatcher. Mechanics and general labor staff keep the operation
     running. Office personnel include a General Manager/Foreman, accountants receivable
     staff, and receptionist. Blasting and surveyors are typically hired under contract. Techni-
     cal specialists such as engineers and geologists are often hired as needed on a contract
     or consulting basis.
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     5.4.5    Potential overburden storage areas
     The Log Creek project will remove about 2.2 million cubic yards of overburden from the 68
     acre quarry (Appendix A). The overburden in the proposed pit area consists of silty sand
     locally overlying firm saprolite. Weathered bodies of competent rock (rind rock) within the
     saprolite may be shot and set aside as waste rock or possibly sold as commercial ABC
     base material. The overburden varies is generally between 5 to 54 feet thick but averages
     about 26 feet thick in the proposed quarry area. Most overburden will be used in privacy
     berms around the mine site and the remainder overburden will be stored in overburden
     storage areas.


     5.4.6    Potential processing plant sites
     The processing site is proposed to be located both adjacent to the quarry in the Log Creek
     quarry site area and within the operating quarry.



     6       History
     Most of the Log Creek quarry site was historically used for agriculture and there is no prior
     history of aggregate mining. However, several aggregate and dimension stone prospects
     are in the Log Creek quarry area.



     7       Geologic setting and mineralization

     7.1     Regional geology
     The Log Creek quarry area is located within the eastern Piedmont Physiographic Province
     (Figure 3) and within the Inner Piedmont lithotectonic belt (Gore, 2013). The Inner Pied-
     mont includes rocks that were once portions of islands and sedimentary and volcanic
     rocks associated with a pre-Atlantic ocean basin (Clark,2008). Due to plate tectonic mo-
     tions, this basin slowly closed resulting in deformation and regional metamorphism of the
     older rocks, and during late stages, the Alleghanian Orogeny which formed the southern
     Appalachian Mountains(Hatcher, 1978).
         The rocks are metamorphosed to varying degrees by burial and compression which
     caused changes in pressure and temperature with little change in composition. Although
     the bulk chemical composition of the rock changed very little during metamorphism, new
     minerals formed to match the new pressure and temperature conditions. The relative in-
     tensity of these metamorphic changes is related to the structural history of the rocks. Most
     major rock types of the Earth’s crust are included in the original pre-metamorphic litholo-
     gies of the region. In general, most of the rocks have been deformed (folded, faulted,
     and/or crushed) and metamorphosed at least four times and each of these deformations
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     correspond to major tectonic events such as continental collisions, rapidly sinking basins,
     or rising mountains. Towards the end of the Alleghanian Orogeny (about 350 to 270 Ma),
     granitic plutons were intruded into the previously deformed and metamorphosed rocks.
     These plutons include the Appling, Ben Hill, Danburg, Elberton, Palmeto-Tyrone, Panola,
     Sparta, Stone Mountain, and Town Creek plutons (Lawton, 1976, Dallmeyer, 1978, and
     Dallmeyer, 1981,).
         Geologists determine the geologic history of the region by mapping the surface and
     subsurface distribution of these rocks, structural elements such as low and high angle
     faults and folds, and studying the chemistry and mineralogy of the rocks in detail. These
     studies identify the rock types and geologic settings in which to discover economically
     productive sources (deposits) of mineral resources such as the crushed stone aggregate
     and dimension stone resources of the Sparta granite.
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     Figure 3: Location of the Log Creek quarry project relative to the physiographic
     provinces of Georgia (modified after Gore et al., 2013). The Log Creek quarry(red star)
     is located in the Inner Piedmont Province.
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     Figure 4: Location of the Log Creek quarry project relative to the geology of Georgia.
     The Log Creek quarry project (star on map) is located within granitic gneiss of the Inner
     Piedmont Province.(USGS OF 2005-1323; Lawton et al., 1976. For complete geologic
     units and explanation go to http://mrdata.usgs.gov/sgmc/ga.html.
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     7.2   Property geology
     The regional geology is well represented in the Log Creek project area (Figures 4 and
     5). The pre-metamorphic rocks are Late Proterozoic or early Paleozoic in age and these
     were metamorphosed up to staurolite-amphibolite grade in the Devonian Period, about
     365 million years ago (Dallmeyer, 1978). About 300 million years ago the body of granitic
     magma that would form the Sparta Granite intruded these metamorphic rocks, and sub-
     sequently cooled and solidified. Geologic mapping and geophysical studies estimate that
     the nearby Elberton granite is over 35 miles (56 km) long, 6 miles (9 km) wide, and 2 to
     3 (3 to 5 km) miles in depth (Cook, 1979) and the Sparta Granite is likely of similar size.
     The contacts of the Sparta Granite with surrounding wall rocks are generally sharp. This
     contact relationship suggests that the magma body rose through the surrounding rocks
     by diking and displacement rather than being derived from partial melting of the adjoining
     rocks. The conditions during crystallization of the granite must have been nearly hydro-
     static (equal pressure in all directions) because the composition and texture of the Sparta
     Granite is very uniform throughout its outcrop area. Foliation is most prevalent along the
     margins of the pluton. These foliations are likely due to late stage flow foliation within the
     granite and not metamorphic foliations (Shroeder, 2010).
         The mineralogical composition of the Sparta granite includes quartz, oligoclase feldspar,
     microcline feldspar, and biotite mica. Common accessory minerals are sphene, zircon,
     allanite, magnetite, and ilmenite-hematite. Locally zones of muscovite mica (light colored)
     chlorite (light green micaceous mineral) are present. Pegmatitic and aplitic dikes and
     segregations rarely cut the granite (Watkins, 1902; Dvoracek, 2003).
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                                                                                              Meters

                                                                                           Feet                                         Projection NAD 1983 UTM Zone 17N
                                         0 2,3004,600             9,200         13,800 18,400




     Figure 5: Regional geologic map of the Log Creek project area (modified after Georgia
     Geologic Survey map of 1976). The primary rock type is granite (gr1) and the geologic
     map shows nearby thin deposits of Eocene sand (Ei), but none was encountered in the
     core drilling (Appendix A). For complete explanation of geologic units and symbology on
     the digital map go to: http://mrdata.usgs.gov/sgmc/ga.html
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     7.2.1    Weathering and alteration
     In their October 2018 report (Appendix A), GeoLogic, LLC concluded that the overburden
     thickness in the quarry area varies from 5 to a maximum of 54 feet and averages about 26
     feet thick in the proposed pit area and the QP and Capps Geoscience agrees with these
     conclusions. This equates to ultimately removing approximately 2.2 million cubic yards of
     overburden from the 68 acre ultimate pit. Most of the overburden will be incorporated into
     privacy berms surrounding the plant, quarry, and overburden storage areas as shown in
     Appendix A. Any remaining overburden will go to the designated overburden storage area
     at the Log Creek quarry site.



     8       Drilling and exploration
     GeoLogic, LLC supervised drilling and logged 4 diamond core holes in the proposed initial
     pit area to a maximum depth of 150 feet (Appendices A and B). The core was examined,
     logged, photographed, split, and stored in rigid boxes. Representative core samples were
     tested for physical properties to ASTM best practice standards and are discussed in the
     GeoLogic, LLC October 2018 evaluation/exploration report and attached as an original
     document in Appendix A.



     8.1     Results
     The results of testing three representative samples from the core holes showed that the
     rock is of excellent aggregate quarry quality (Appendix A). All estimates of thickness,
     overburden distributions, and physical properties used by this QP are from the original
     core logs (Appendix A).
         Rock cores recovered from the borings were subjected to additional laboratory tests to
     determine the physical properties of the subsurface rock. The following laboratory tests
     were performed:
         • LA Abrasion Test (AASHTO T-96/ASTM C131)
         • Specific Gravity and Absorption of Coarse Aggregate (AASHTO T-255/ASTM C127)
         • Clay Lumps And Friable Particles In Aggregate (AASHTO T-112/ASTM C142)
         • Aggregate Soundness Test (AASHTO T-104/ASTM C88)
         The test results indicate that the samples obtained meet Georgia Department of Trans-
     portation (GADOT) specifications for use as Group II Type A aggregates for both fine and
     coarse aggregates used in concrete and roadway materials (Appendix H). The test re-
     sults are included in the Appendix of the evaluation/exploration report (Appendix A). Los
     Angeles Abrasion losses on samples from the core holes averaged 42% and ranged from
     a low of 40 to a high of 44%. Five cycle Magnesium Sulfate Soundness losses ranged
     from 0.2 to 0.3 percent and averaged 0.25 percent. Absorption averaged 0.47 percent
     with a range of 0.39 to 0.58%. Specific Gravity averaged 2.637 and ranged from 2.633
     to 2.642. Flat and Elongated material was not measured but none was observed in the
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     test samples. A constant specific gravity may easily be maintained. Aggregates produced
     from the proposed Log Creek quarry should meet all GADOT specifications for crushed
     stone aggregates.


     8.2   Mineral resource and reserve estimates
     I examined the Log Creek quarry area and drill core and finds that the quality of the stone
     is consistent across the property areas and to the depth of drilling. The 85 million ton
     resource within the ultimate 68 acre pit is a conservative estimate of measured (36.4
     million tons) and indicated (48.6 million tons) aggregate resource at the Log Creek quarry
     site and (Appendices A and B). This resource is more than adequate to meet the reserve
     demand of 60.6 million short tons over the quarries project mine life. It is likely that more
     resource can be added in depth and area by additional drilling.



     9     Market studies
     The Log Creek quarry is well located to serve the rapidly growing Central Savannah River
     market area (CSRA) and, in the author’s (QP) opinion, will absorb a significant market
     share from existing quarries and under-served projects in its average 50 miles market
     radius.
         Stone is a natural resource that has high value of place and whose market is somewhat
     like that of water. Like water, everyone uses stone and demand is directly proportional
     to the existing population base and rate of population growth. Markets in areas of high
     population growth will require more stone than those with stable or declining populations.
         Stone is purchased from the closest available source that can provide the quantity and
     quality necessary to match the customers’ requirements. When a new stone quarry opens
     it will immediately begin attracting the nearest customers. In general, the new quarry will
     immediately begin to absorb market share from existing and future customers that are
     closer to it than to the established quarries. In addition, the new quarry will service clients
     that were beyond the profitable market area (about 50 miles) of the pre-existing quarries.
         Once mined and crushed, the largest cost of stone is transportation to the point of
     application. The local market is served by truck with the buyers paying the cost of trans-
     portation (FOB). Stone can be transported for hundreds or thousands of miles where rail
     service is available and nearby production can greatly improve a given quarries market
     area and dramatically increase stone production. Production from the Log Creek quarry
     will be sold to both a local truck market and regional rail with loading in the northern quarry
     site and by a circular rail spur surrounding the quarry (See Mine Plan; Appendix B).


     9.1   Demand
     In general, population change, distance from quarry to point of application, and meeting
     state specifications for construction usages are the most important factors to a quarry’s
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     crushed stone market. The crushed stone industry is highly dependent on construc-
     tion activity. According to the 2018 USGS Mineral Year Book "In 2017, 1.33 billion tons
     of crushed stone valued at more than $15 billion was produced by an estimated 1,400
     companies operating 3,700 quarries and 187 sales/distribution yards in 50 States. Lead-
     ing States were, in descending order of production, Texas, Pennsylvania, Florida, North
     Carolina, Ohio, Missouri, Georgia, Kentucky, Virginia, and Indiana, which together ac-
     counted for more than one-half of the total crushed stone output. Of the total domestic
     crushed stone produced in 2017, about 70% was limestone and dolomite; 13%, granite;
     6%, traprock; 5%, miscellaneous stone; 4%, sandstone and quartzite; and the remain-
     ing 2% was divided, in descending order of tonnage, among marble, volcanic cinder and
     scoria, calcareous marl, slate, and shell. It is estimated that of the 1.39 billion tons of
     crushed stone consumed in the United States in 2017, 76% was used as construction
     material, mostly for road construction and maintenance; 11% for cement manufacturing;
     7% for lime manufacturing; 4% for other chemical, special, and miscellaneous uses and
     products; and 2% for agricultural uses.
         The estimated output of crushed stone in the United States shipped for consumption in
     the first 9 months of 2017 was 1.01 billion tons, a slight decrease compared with that of the
     same period of 2016. Third quarter shipments for consumption decreased slightly com-
     pared with those of the same period of 2016. Additional production information, by quarter
     for each State, geographic division, and the United States, is reported in the U.S. Geolog-
     ical Survey quarterly Mineral Industry Surveys for Crushed Stone and Sand and Gravel."

          It is important to note that all USGS production figures are in metric tonnes and must
     be first converted to short tons for comparison in this paper. The Society of Mining,
     Metallurgy, and Exploration (SME) in its annual analysis finds that in 2015 every person in
     the United States must be provided with over 4.5 short tons of stone in each year and so
     population increase is the fundamental factor driving an increase in demand for crushed
     stone. USGS figures are slightly less at a per capita consumption of 4.36 short tons of
     crushed stone aggregate
          The United States Geological Survey tracks mineral commodities such as crushed-
     stone aggregate with production, usage, value data and statistics provided by each state.
     These summary commodity reports are one of the most commonly used means of as-
     sessing market conditions. However, the states are not required to provide this informa-
     tion and industry often withholds some or all of the data. Therefore, the USGS commodity
     summaries are inaccurate and incomplete but can be useful in demonstrating general
     trends of production.
          The author (QP) discussed the reporting procedures and outcomes with Jason C. Wil-
     lett (email:jwillett@usgs.gov and phone (703) 648-6473), Crushed Stone commodity spe-
     cialist with the United States Geological Survey (USGS). Mr. Willett provided examples of
     the report process and derived statistics from the extensive database. Aggregate statis-
     tics from more than 10,000 aggregate quarries are updated yearly (Appendices E, F and
     Source of the list of mines USGS surveys - http://www.msha.gov/opengovernmentdata/ogimsha.asp
     and http://www.msha.gov/drs/drshome.htm "look-up page"). In assessing market of a
     stone quarry, it is important to know that stone quarry production data is closely held
     proprietary information. The USGS does not share this information and there are no
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     requirements to report these production figures to public agencies. The states are not re-
     quired to provide this information and industry often withholds some or all of the data (see
     Appendix J for example of form and summary production graph). Therefore, the USGS
     commodity summaries are inaccurate and incomplete but can be useful in demonstrating
     general trends of production (see production graph Appendix J).
        The Log Creek quarry site is well located to serve the aggregate needs of the rapidly
     growing southern CSX railroad corridor including Atlantic and gulf coast market areas
     and, in the author’s (QP) opinion, will absorb a significant market share from existing
     quarries and under-served projects both regional and in its average forty- to fifty-mile
     local market radius (Figure 6 and Appendix G). Due to transportation costs, most crushed
     stone aggregate produced in Georgia is sold in Georgia. Because aggregate is a heavy,
     low cost per ton product, haul distance largely controls the price of aggregate.
        The USGS Mineral Yearbook statistics for the Georgia crushed stone industry are not
     current and the last attempted complete report was from 2000. However, according to
     the USGS Minerals Commodities Summary 2014, crushed zone usage is increasing in
     Georgia and showed a 8% increase in crushed stone production between 2nd quarter
     2013 and 2nd quarter 2014.


     9.1.1   Local demand
     Industry sources and population data indicate that the Log Creek quarry 50 mile truck
     market area (Figure 6 and Appendices G and I) used about 3,226,820 short tons of
     crushed stone aggregate in 2015 and will likely need about 4,033,332 short tons by 2030
     (Table 2).
         This entire market area can be served by Free-On-Board (FOB) truck delivery whereby
     the buyer must pay to have the goods delivered (typically with the buyer’s trucks) and
     the seller will have no delivery expenses. Georgia Department of Transportation projects
     including several bids and details of contracts active 2018 in the market area can be found
     on the Georgia DOT website at
        http://www.dot.ga.gov/BS/Projects/ProjectSearch
        and also see Georgia DOT bids at
        https://connect.ncdot.gov/letting/Pages/default.aspx.
        Amendments to representative bids are included with prices in Appendix D.



     9.1.2   Regional demand
     There are at least three large region-specific markets that can be served by the Log Creek
     quarry. These markets typically are deficient in supply and higher prices are paid for the
     stone.
         Market 1. A major market is the rail shipments of aggregate to regions without sig-
     nificant crystalline rocks. The Log Creek quarry aggregates have physical properties
     appropriate to road surfaces and are desirable for asphalt production as well as concrete.
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     To the south and east the entire Atlantic and Gulf Coast coastal plain regions are poor
     in hard rock aggregate resource and include The Carolinas, Florida, Alabama, Louisiana,
     Mississippi, and some areas of Texas along the Gulf. The coastal markets include higher
     dollar applications such as jetty stone as well as other classifications and jetty stone is
     currently shipped from existing quarries in the Log Creek quarry market area. It is the
     opinion of the QP that the demand for aggregate greatly exceeds the supply because
     these areas are among those with the highest population increases in the United States.
         Market 2. A growing market for stone is the metropolitan areas of the Gulf coast and
     Texas. Many of the older quarries nearest to Houston and other Coastal Plain cities are
     deep and near the end of their productivity. They have no room to expand, but demand
     remains high because some of them have eliminated existing asphalt operations to ex-
     pand the quarry into these areas. The Log Creek quarry can transport aggregate to these
     areas by CSX railroad and other rail connections.
         The Log Creek quarry site is well positioned to serve the needs of the rail market and
     nearer to the large Texas and gulf coast markets than other large production quarries. The
     strength of the regional rail market is shown by the rapid expansion and 24 hour operation
     of large midwestern quarries such as the Dolese Brothers Richards Spur quarry near
     Lawton, Oklahoma. The Richards Spur limestone quarry has been in operation since
     1907. The quarry was listed as the 15th highest producting quarry in the United States in
     2013 and produced more than 4 million tons in 2016.
         Market 3. Railroad ballast is a large market where demand annually exceeds supply.
     Annual reports published by Union Pacific, CSX and Norfolk Southern Corporations reveal
     significant Net Accumulated Depreciation balances of total ballast. Much of this ballast is
     replaced on 6 year cycles and often can not be directly recycled.
         In 2014, CSX Corporation reported a Net ballast cost of $2,693M and a Net Accu-
     mulated Depreciation of $679M which would represent about 336 million tons of ballast
     aggregate if sold from the Log Creek quarry at the very conservative price of $8 per ton
     used in this valuation. Using the same price, this represents an increase of over 4 million
     short tons from the previous years CSX ballast depreciation figures.
         In 2014, Norfolk Southern Corporation reported a Net ballast cost of $2,360M and a
     Net Accumulated Depreciation of $498M which would represent about 295 million tons at
     the $8 per short ton used in this valuation.


     9.2   Production
     Typically the first year or two of production in a competitive market is less than succeeding
     years due to the need to capture a portion of the existing market but preferably without
     reducing prices. This can mean initially slow growth for aggregate quarries that must rely
     on the construction market.
        As explained above within this Market Studies section, the current available and future
     markets rely entirely upon the population of the area served by the Log Creek quarry. The
     quarry closest to existing project sites with the necessary products for those projects will
     eventually acquire that business. The cost of transportation is the strongest factor driving
     the choice of quarry for a project. Log Creek quarry would be expected to acquire a small
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     percent of the existing market in it’s first year of operation and take more of that market in
     subsequent years.
         This valuation estimates a total of 60.6 million short tons mined and processed over
     a 25 year period by the Log Creek quarry with 7.2 million short tons contributed from the
     FOB truck market and 53.4 million short tons from rail market (Tables 3, 4, and 5). The
     truck market rate is modeled as 150,000 tons in Year 1, 250,000 in years 2 and 3, and
     300,000 tons in years 4 through 25 as the market matures. The author (QP) sets a slower
     production rate for the first three years to allow the establishment of the ultimate quarry
     site and market for the Log Creek quarry. The rail market annual production is modeled
     as escalating over a 25 year period from 1.6 unit trains (about 9,000 tons per unit train)
     per week or 800,000 tons in Years 1 and 2, 2 unit trains per week or 1,000,000 tons per
     year in Years 3 and 4, 1,336,400 tons in Years 5 through 7 and then or the equivalent of
     adding about half a unit train per year through mine life.


     9.3   Price
     As discussed in Section 9.1 the USGS commodity summary figures are based on volun-
     tary reporting by mining companies and so are inaccurate and incomplete but can show
     useful trends. According to the United States Geological Survey 2018 Mineral Com-
     modity Summary, 1.40 billion tons of crushed stone valued at more than $16.6 billion
     or $11.85/ton was produced by an estimated 1,465 companies operating 3,710 quarries
     and 176 sales and (or) distribution yards in 50 States (Appendix G). Production and price
     have shown a steady rise since 2011. The production in 2011 was 1.16 billion tonnes at
     $9.65/tonne, in 2012 was 1.17 billion tonnes at $9.73/tonne, and in 2013 was 1.25 billion
     tonnes at $ 9.75/tonne. The USGS data shows that the third-quarter 2013 shipments for
     consumption increased by 8% over those of the same period in 2012 (Appendices E and
     F).
         The largest aggregate producing companies in Georgia are Vulcan Materials Com-
     pany, Martin Marietta Aggregates, and Hanson Aggregates (Appendix G). All of these
     corporations have active quarries within the Log Creek market area, and their presence
     is clear evidence of a viable aggregates market. The author reviewed price sheets from
     all of the producers and asked sales associates about discounting practices. The author
     obtained current public price sheets from the Hanson. These sales prices and repre-
     sentative historic data are shown in Appendix D. The current average sales price from a
     relatively nearby Hanson quarry is $25.26/ton, but high volume customers generally re-
     ceive a significant per ton discount over the listed price. The company generally considers
     volume, product type, and credit history in determining the discount for each customer.
     The author interviewed several sales offices and industry professionals and the discounts
     typically range from about one dollar to three dollars. Examples of these discounts are
     included in Appendix D in the form of amendments to Georgia State Department of Trans-
     portation contracts with the Georgia aggregates industry.
         In 2018 using a discount of three dollars per ton, the author concludes that a con-
     servative average sale price for the Log Creek quarry aggregate truck market would be
     $22/ton. However, the initial sales might likely be of lower grade stone such as commer-
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     cial base and so a sales price of $15.05 was set as a conservative figure for initial quarry
     truck market production and this valuation. The lower price does have a very significant
     negative effect on the cumulative NPV of the quarry, but the positive NPV suggests the
     aggregate resource would still be profitable. The sales price is $14.00 per ton for rail
     shipments.



     9.4    Conclusion
     I conclude that demand is expected to continue as moderate to high in the market area
     and that the supply from the Log Creek quarry could be absorbed by the market (Appendix
     G; Figure 6; Table 2).
         The major aggregate operations would initially continue to dominate the immediate
     local market to the west and north but the Log Creek quarry would have a significant
     advantage over the many of these quarries due to the age of the existing quarries and
     location to population centers. In addition, physical rock quality (Appendix A) meets the
     parameters for use in concrete and so would increase the market for the Log Creek quarry
     aggregate (Appendix H).



     10     Environmental studies, permitting and social or com-
            munity impact

     10.1    Environmental studies
     Log Creek has conducted ecological and wetland studies at the quarry site (Appendix B).
     No additional environmental studies have been requested or performed at the Log Creek
     quarry site and the author sees no reason to perform phased studies at this time.



     10.2    Permitting
     In order to open an aggregates quarry in Georgia, a quarry operator must be properly
     zoned and have an approved surface mining permit in place with the Georgia Department
     of Natural Resources, Environmental Protection Division (Georgia EPD) Surface Mining
     Unit. Other permits required are a Storm Water Discharge Permit and an Air Emissions
     Permit. Log Creek, LLC was in the process of applying for all necessary permits in 2018
     and Appendix B is an addendum to the 2018 report containing the Ecological Survey,
     Mine Plan, and permit applications.
         In the author’s experience it is reasonably probable that the mining, storm water, and
     air emission permits will be granted for the Log Creek quarry and that Log Creek will
     obtain a Conditional Use Permit to operate the quarry on these current agricultural lands.
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         Typically the Mined Land Use Plan submitted to the EPD requires a 50 foot buffer
     surrounding the quarry. Additional Plan requirements typically include a limit on the height
     of berms and overburden storage, a riparian buffer of 50 feet, and the slopes of reclaimed
     unconsolidated material must not exceed a 3:1 ratio of width to height. In addition, buffers
     from property lines are generally 75 feet and 300 feet from dwellings.



     10.3    Community impact
     A review of the county zoning plan shows that there are no changes affecting the quarry
     area and there should be no significant community impact. The property must obtain
     a Conditional Use Permit to operate the quarry. It is the author’s opinion (QP) that the
     Conditional Use Permit will be granted (Appendix K).



     11     Capital and operating costs
     This current valuation focuses on the mineral resource and reserves and not on the project
     infrastructure. The infrastructure and operating costs are generally about one-half of the
     average per ton sales price. The Log Creek quarry project is wholly owned by Log Creek,
     LLLP. Log Creek, LLLP intends to start the quarry under a contract mining agreement.
         Additional costs of operating the Log Creek quarry would be relatively minor startup
     fees such as establishing electric services. The rock quality, mining conditions, and an-
     ticipated rate of production at the Log Creek quarry are very similar to those at currently
     operating crushed stone aggregate quarries in the area, and these provide a good model
     for the Log Creek quarry. The costs are included within the contract mining agreement
     and include variable costs such as gas and electricity as well as period costs such as site
     preparation, scales, office expenses, labor, quality control, depreciation, equipment mobi-
     lization, insurance, property taxes, freight, permitting (consulting) diesel fuel, explosives,
     supplies, and miscellaneous equipment.
         The author is familiar with contract mining estimate in this area and a cost per short
     ton of about $8.75 and is consistent with the information available. This cost will decrease
     as the quarry operations reverts to the owners using their own equipment and personnel.



     12     Economic analysis

     12.1    Method of evaluation
     An income based discounted cash flow model was created to evaluate the Log Creek
     quarry project mineral resource assuming the project is 100% equity financed. All rev-
     enues and costs are expressed in US dollars.
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        Aggregate costs were determined by requesting bid information on contract mining
     cost which include comminution, fuel equipment, and miscellaneous costs. A contract
     mining cost of $8.75 is used in this valuation for the truck market and rail production. All
     crushed stone sales in this document are stated as Free-on-board sales (FOB).



     12.2    Input parameters
     The key criteria, principal assumptions and input parameters used in the Base Case are
     shown in Table 3. The discount rate for the production transported in the local truck
     market is 12.5% and the discount rate for production transported by rail is 10%. The base
     discount rate of 9.5% is calculated from summing current U.S. Treasury Bond rate of 2.5%
     and industry bond rate based on published Vulcan Materials Corporation (VMC; coupon
     rates of 7.0% (Discount Rate = 2.5%+7.0%=9.5%) published by Morningstar Ratings. An
     additional 3% is added to the base truck market discount rate to allow for the uncertainties
     inherent in establishing the new quarry in the market area. The project mine-plan area is
     100% owned by Log Creek, LLLP (Appendix B).
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                               Morgan                       Greene                      Taliaferro                                                Columbia




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                                                                                Log Creek                 Warren
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                                           Putnam
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                            Houston
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                              0        5        10               20              30                   40                  0    5 10         20     30        40
                                                                                                       Miles                                                  Kilometers




                                                       Figure 6: Local market area showing counties
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     Table 2: Population trends of the Log Creek quarry market area and resource base at
     4.5 tons per year per capita (Appendix I)
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Table 3: Crushed stone aggregate: Key criteria, principal assumptions, and input parameters used in the
base case

     Item                     Key Criterion/Principal Assumptions
     Quarry operations        Conventional open pit mining


     Quarry mining            Saprolite is bulldozed and/or excavated, loaded, and hauled, and fresh rock is drilled, blasted, loaded and hauled
     Method




     Total Resource           Total resources of over 85 million short tons including a measured resource of 36.4 million short tons if mined to
                              a depth of 300 feet (about 200 foot elevation) in the ultimate 68 acre pit and an indicated resource of 48.6 million
                              tons if mined to the 98.4 foot elevation of the nearby Martin Marietta quarry floor. Total resource estimate based on
                              example mine plan (Appendix A) are over 85 million short tons.




     Projected mine life      25 years




     Total proven mineral     Truck market: 7.2 million short tons mined and processed and Rail market: 53.4 million short tons mined and
     reserves                 processed




     Total overburden         About 2.2 million cubic yards in the 68 acre proposed quarry
     mined
     Saprolite Mining         The gneissic granite and granite pavement is locally exposed at the surface but some saprock and saprolite will
                              be removed. Uses of overburden: Commercial ABC; berm and site preparation around quarry site; overburden
                              storage areas as shown in proposed mine plan and expansion plan (Appendix A)
     Fresh rock mining        7.2 million tons total production in the truck market with 150,000 tons mined in Year 1, 250,000 tons in Years 2 - 3,
                              and with about 300,000 short tons produced in years 4 through Year 25 (mine life) and 53.4 million tons in the rail
                              market.
                              The rail market annual production is modeled as escalating over a 25 year period from 1.6 unit trains (about 9,000
                              tons per unit train) per week or 800,000 tons in Years 1 and 2, 2 unit trains per week or 1,000,000 tons per year
                              in Years 3 and 4, 1,336,400 tons in Years 5 through 7 and then adding about half a unit train per year through 25
                              year of the rail reserve. Additional reserves are likely with additional drilling in quarry length and depth.
     Average sales price      An average base sale price of $15.05/ton was used for the truck market. This price is lower than the average local
                              market for ABC (Appendix D. Price Lists). A price of $14.00/ton was used for the rail market.
     Royalties                None


     Operating Costs and      A base cost of US$8.75 per mined ton is used in this valuation based on typical contract mining costs in the area.
     Escalation               The price includes cost for processing overburden and FOB loading: no annual increase is included in this valua-
                              tion.
     Depreciation             Depreciation of Mining and processing equipment is accounted for in the cost of production
     Projected corporate      This valuation does not include tax rate estimation
     tax rate
     All Permitting and ap-   Construction can begin within first year after the Log Creek quarry site is permitted by the Georgia EPD as an
     provals; construction    active quarry site (Appendix A).
     can begin
     Construction com-        With in the second year of operation
     pleted
     Industry comparable      Operating Martin-Marietta, Vulcan, and Hanson aggregate quarries are with the market area of the quarry site.
     quarries for pricing     List price sheets were obtained from nearby quarries and used for sales comparison. Current Corporate bond
     and discount rate        coupon rates for moneys borrowed by Vulcan Materials Corporation and the current Treasury bond rates were
     calculation              used for discount rate criteria.
     Discount Rate            12.5% for truck market calculated from sum of U.S. Treasury Bond rate of 2.5% and industry bond rate based on
                              published Vulcan Materials Corporation (WR) coupon rates of 7.0%. An additional 3% is added to account for
                              uncertainties associated with startup (Discount Rate = 2.5%+7.0%+3%=12.5%). The Discount rate for the rail
                              market is 10%.
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     12.3    Cash flow forecasts and annual production forecasts
     Based on the parameters shown in Table 3 and as calculated in Section 12 of this report,
     the value of the combined FOB truck market (7.2 million short tons; 12.5% discount rate)
     and rail market (53.4 million short tons; 10% discount rate) crushed stone aggregate
     mined and classified at the Log Creek quarry, is rounded to US$89.8M (Tables 4 and 5).
     This project forecast suggests that the Log Creek quarry site project would be profitable
     in the first year of full operation



     Table 4: Net Present Value (NPV) for FOB truck market aggregate production from the
     Log Creek quarry, Warren County, Georgia
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     Table 5: Net Present Value (NPV) for railroad aggregate production from the Log Creek
     quarry, Warren County, GA
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     12.4    Sensitivity analysis and limitations
     Several model truck market NPV models are shown in Appendix C and plotted to show
     relative sensitivity to changes in key operating and economic parameters is shown in
     Figure 7. By inspection, the Log Creek quarry project is most sensitive to the average
     sales price (ASP) of aggregate and this is a factor that could be most directly affected by
     competition and demand.
         Appendix C considers NPV valuations for the Log Creek aggregate resource in 10
     percent increments of the Base Case for discount rate (DR), cost (Cost), and average
     sales price (ASP). The base model produces an NPV valuation of US$16.4M at 9.5%
     discount rate for aggregate reserves mined over 25 years. The QP and author of this
     study, Richard C. Capps, chooses a conservative US$13M with a 12.5 percent discount
     rate which is 3% higher than the base case. The 12.5 percent discount rate is 30 percent
     higher than the base rate of 9.5 percent used in this study as recognition of the risk
     involved in starting a new quarry.



     13     Adjacent properties
     There are active and inactive aggregate quarry sites near but not adjacent to the proposed
     Log Creek quarry site. A map showing the locations of major aggregate quarries relative
     to the Log Creek quarry site is shown in Appendix G. The nearest active quarry is an
     Aggregates USA quarry near Sparta, Georgia, about 7.8 miles southwest of the Log
     Creek quarry site.



     14     Other relevant data and information
     No other additional information or explanation is considered necessary to make the tech-
     nical report understandable and not misleading.



     15     Conclusions and recommendations
     As calculated in Section 12 and Appendix C this report, the value of the aggregate reserve
     at the Log Creek quarry is rounded to a total resource valuation of US $89.8M. The criteria
     and assumptions for this valuation are based on market studies by the author, prices
     obtained from industry sources, discount rate criteria from publicly available sources, and
     information provided by Log Creek, LLLP.
         It is my opinion, as geologist and QP of Capps Geoscience that, there are total re-
     sources (measured and indicated) of over 85 million short tons of aggregate resources
     and that these resources are more than adequate to complete the quarry reserve demand
     requirements of 60.6 million short tons over the projected mine life of 25 years if mined to
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                 Figure 7: NPV sensitivity for Log Creek quarry site truck market
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     an elevation of about 200 feet for the measured resource and 98.4 feet for the indicated
     resource in the ultimate 68 acre pit (Appendices A and B). The my opinion is that the
     resource can be expanded in depth and area by additional core drilling.
         I conclude that there is both a local truck and a regional rail demand and that the
     supply from the Log Creek quarry site could be absorbed by this strong local (Table 2) and
     regional market. The major aggregate operations would initially continue to dominate in
     the rail market but the Log Creek quarry would be shallower and therefore less expensive
     to operate.
     The most profitable use of the Log Creek quarry site would be to produce and sell crushed
     stone aggregate.
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     17   Certificate of Author
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     Log Creek aggregate quarry site valuation, Warren County, Georgia   39


     18    Curriculum vitae
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   Richard C. Capps, PhD, RPG & QP                                            P.O. Box 2235, Evans, GA 30809
   SME Registered Member                                                      Phone: Mobile: 706.836.8855
                                                                                      Office: 706.993.1567
   Exploration & Mining Geologist                                             Email: crisscapps@gmail.com


      Over 45 years of experience in gold, base metals, uranium and industrial minerals exploration in Nevada,
                   California, Montana, Kansas, Missouri, Arizona, Southeastern United States,
                                               Suriname and Mexico.
   _______________________________________________________________________________

                                        PROFESSIONAL EXPERIENCE

   Capps Geoscience, LLC                                                            Current, 2012 DBA
   R. C. Capps & Associates                                                         2009-2012
   Exploration and mining consulting geologist – Consulting geologist in support of precious and base metals
   exploration projects and providing NI 43-101 compliant technical reports and valuations studies, for clients in
   the southeastern USA, Missouri, Kansas, Montana, Nevada, Suriname, and Mexico. Experience in all phases of
   exploration and mine geology including prospect generation, project evaluation, and claims maintenance.
   Environmental consulting geologist - Project management of phased environmental mitigation and
   monitoring projects for American Environmental & Construction Services, Alpharetta, Georgia.

   Gold Reef International, Inc.                                                   2006-November 2009
   Vice President, Exploration - Acquired, explored and evaluated Nevada mineral resource properties for Gold
   Reef. Authoring NI 43-101 compliant reports for Nevada prospects. Experience included prospect generation,
   project evaluation, and claims maintenance.

   Augusta State University                                                         1999-2006
   Associate Professor of Geology – Taught geology and introductory physics. Research and seasonal
   consulting work on exploration projects in northern Nevada and Suriname. Nevada exploration included
   managing a reverse-circulation drilling program in the northern Adobe Range for Carlin-style Jerritt-Canyon type
   gold mineralization and geologic mapping/geochemical sampling on 10 prospects mostly in Elko, Lander, and
   Eureka Counties. Suriname exploration included geologic mapping, geologic sampling, and auger programs
   conducted from fly camps in the jungle of southeastern Suriname as part of Alcoa’s Nassau Project.
   Subsequent Nassau Project work included logging several thousand feet of core from the Gowtu Bergi Prospect
   (now Merian Gold Mine) for stratigraphic/structural analyses, and petrography/petrology of the mineralized
   zones.

   R. C. Capps & Associates                                                      1996-1999
   Exploration and mining consulting geologist – Exploration included geologic mapping and core drilling at
   the Buzzard Prospect, South Carolina and Deep River Prospect, North Carolina for Cepeda Minerals, Inc. and
   geologic mapping of Gold Reef of Nevada’s Double Mountain Prospect, Elko Country, Nevada.

   Department of Geology, University of Georgia                                     1994-1996
   Research geologist – Logging detailed lithology, structure, mineralogy, veining, and porosity in drill core of
   Paleozoic metamorphic rocks from the Savannah River Site (SRS), Aiken, SC. Research supported by an
   ERDA research grant.

   R. C. Capps & Associates                                                          1986-1994
   Exploration, mining, and environmental consulting geologist – Gold exploration for Viceroy Gold
   Corporation and Channel Resources, Inc. Most exploration was in the Castle Mountains, Hackberry Mountain,
   New York Mountains, and Piute Mountains areas of Clark County, Nevada and San Bernardino County,
   California. Exploration was along the northern Colorado River extensional corridor for about 15 Ma volcanic-
   hosted epithermal gold deposits. In general, these deposits are syngenetic with respect to rhyolite dome
   formation, high and low angle faulting, and detachment surfaces associated with the 15 to 14 Ma extension. As
   an environmental geologist at the Savannah River Plant, Aiken, S.C, I helped establish a groundwater
   monitoring program for site.




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   Arizona Bureau of Geology and Mineral Technology                                1985-1986
   Field geologist - Duties included regional geologic mapping in detachment-terrain of west-central Arizona, map
   compilation, project reports, and collection of samples for geochemistry and age dating.


   Amselco Exploration, Inc.                                                        1983-1985
   Exploration geologist - Exploration for precious metals in Nevada, Arizona, and California. Duties included
   geologic mapping, geochemical sampling, project management, project evaluation, exploration drilling and
   supervision of geotechnical personnel. Magnetometry, self potential studies, and geochemistry were utilized
   during prospect evaluation.

   Marathon Resources Incorporated                                                1981-1983
   Exploration geologist - Exploration for gold and molybdenum deposits in California and Nevada. Duties
   included geologic and geochemical mapping, project management, project evaluation, exploration drilling and
   supervision of geotechnical personnel.

   Chihuahua Volcanics Project                                                          1977-1981
   Field geologist - Joint research project with the National Science Foundation and Consejo De Recursos
   Minerales, Mexico City, Mexico. The research included exploration for uranium as well as base and precious
   metals. Uranium mineralization was determined to be associated with Tertiary age rhyolite ash-flows as at the
   nearby Nopal uranium deposit. Precious and base metal mineralization was associated with Laramide-age
   rhyolitic intrusions, domes, and co-genetic calcsilicate skarn formation within Albian-age fossiliferous
   limestones. Duties included geologic mapping and rock chip sampling of about 200 km2 between the western
   Peña Blanca Mountains on the east and including the Rio Tinto copper district on the west. The Nopal uranium
   deposit is along the northern border of the field area and the same ash-flow stratigraphy is found in Rio Tinto-
   western Pena Blanca field area. Samples of the volcanic rocks and mineralization were taken for age
   determinations, geochemistry, thin-section petrography, and electron-microprobe analyses. A subsequent
   biogeochemical survey conducted as part of the project utilizing deep rooted plants identified several drill
   targets beneath alluvial cover in addition to the hard-rock targets identified during outcrop sampling.

   North Carolina State University                                                  1974-1976
   Field geologist - Rural-lands runoff study of the Upper Chowan River Basin, Virginia and North Carolina.
   Responsibilities included monthly flow and water chemistry at several hundred sites.

   EDUCATION: PhD Economic Geology, U. of Georgia, 1996; MS Geology, East Carolina University, 1981; BS
   Geology, East Carolina University, 1974.

   VETTED PUBLIC CANADIAN NATIONAL INSTRUMENT 43-1011 AND RESOURCE VALUATION
   TECHNICAL REPORTS

   Capps, R. C., 2020, NI 43-101 Technical Report – Nassau Gold Exploration Project, Sipaliwini District,
          Suriname, South America. Prepared on behalf of 79North, Ltd., effective date 14 May 2020, 91 pp.

   Capps, R. C., 2020, Prefeasibility and Mineral Resource Valuation Report – Tussahaw Crushed Stone
          Aggregate Quarry Site, Butts County, Georgia USA. Prepared on behalf of Tussahaw Reserves, LLC
          by Capps Geoscience, LLC effective date 12 July 2020, 812 pp.

   Capps, R.C., 2020, NI 43-101 Technical Report – Gold Exploration at the Mary K Prospect, Elk City District,
          Idaho County, Idaho USA. Prepared on behalf of Bond Resources, Inc by Capps Geoscience, LLC
          effective date 11 March 2020, 55 pp.

   Capps, R.C., 2016, Jefferson Gold Project - NI 43-101 Technical Report on Gold Exploration, Chesterfield
          County, South Carolina, USA. Prepared on behalf of Pancontinental Gold Corp.by Capps Geoscience,
          LLC, effective date 15 July 2016, 80 pp.

   Capps, R.C., 2016, Resource Valuation Report – Daurity Springs Aggregate Quarry, Chatham County, North
          Carolina, USA. Prepared on behalf of Little Texas Farms, LLC by Capps Geoscience, LLC effective
          date 4 July 2016, 375 pp.

   Capps, R.C., 2015, NI 43-101 Technical Report on Exploration at the Winston District Gold Project, Broadwater
          County, Montana, USA. Prepared on behalf of Winston Gold Mining Corp.by Capps Geoscience, LLC,
          effective date 17 September 2014, 50 pp.
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   Capps, R.C., 2014, NI 43-101 Technical Report on Exploration at the Jefferson Gold Project, Haile-Brewer Gold
          Trend, Carolina Slate Belt Province, Chesterfield County, South Carolina, USA. Prepared on behalf of
          Firebird Resources, Inc by Capps Geoscience, LLC, effective date 7 May 2014, 67pp.

   Capps, R.C., 2014, NI 43-101 Technical Report on Exploration at the Buzzard Gold Project, Haile-Brewer Gold
          Trend, Carolina Slate Belt Province, Chesterfield and Lancaster Counties, South Carolina, USA.
          Prepared on Behalf of Firebird Resources, Inc. by Capps Geoscience, LLC, effective date 7 May 2014,
          84pp.

   Capps, R.C., 2014, NI 43-101 Technical Report on Exploration at the Nassau Gold Project, Suriname, South
          America. Prepared on behalf of Sumin Resources Limited, Road Town, Tortola British Virgin Island by
          Capps Geoscience, LLC, effective date 14 April 2014, 75 pp.

   Capps, R.C., 2013, NI 43-101 Technical Report on Gold Exploration at the Golden Jubilee Prospect, Granite
          County, Montana, USA. Prepared on behalf of The Gunsinger Group, LLC by Capps Geoscience, LLC.,
          effective date 17 July 2013, 53pp

   Capps, R.C., 2013, NI 43-101 Technical Report on Gold Exploration at the Geel Prospect, Madison County,
          Montana, USA. NI 43-101 Technical Report prepared on behalf of Cougar Minerals Corporation by
          Capps Geoscience, LLC, effective date 3 June 2013, 44pp.

   Capps, R.C., 2013, Madison Gold Mine Project, Technical Report, Silver Star Mining District, Madison County,
          Montana, USA. NI 43-101 Technical Report prepared on behalf of Coronado Resources Ltd. by Capps
          Geoscience, LLC, effective date 22 January 2013, 49pp.

   Capps, R.C., 2012, Golden Trail Project, Elko County, Nevada, NI 43-101 Report: Prepared on behalf of
          Montana Gold Mining Company, Inc.; Filed to SEDAR, effective date 19 April 2012, 80pp.

   Capps, R.C., 2010, Deep River gold prospect, Moore and Randolph Counties, North Carolina, USA: Prepared
          on behalf of Erin Ventures, Inc.; Filed to SEDAR, effective date 24 December 2010 and amended date
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   Capps, R.C., 2010, Buzzard and Jefferson Prospects: Technical Report on Gold Exploration in the Haile-Brewer
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   Capps, R.C., 2009, Drumlummon Mine Project, Technical Report on Year 2008-2009 Phase 2 Exploration,
          Marysville Mining District, Lewis and Clark County, Montana, USA. Prepared by R.C. Capps and
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          119pp.

   Capps, R.C., 2008, Golden Badger Project Technical Report, Elko County, Nevada. NI 43-101 report prepared
          on behalf of Gold Reef of Nevada, Inc., effective date 28 July 2008, 45pp.

   Capps, R.C., 2008, Texas Canyon Project - Technical Report Update, Elko County, Nevada. NI 43-101 report
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   Capps, R.C., 2007, Golden Trail Project - Technical Report Update, Elko County, Nevada. NI 43-101 report
          prepared on behalf of Gold Reef International, Inc., effective date 5 July 2007, 27pp.

   Cherrywell, C.H., Capps, R.C. Hollenbeck, P.J., and Saari, S.M., 2020, NI 43-101 Technical Report - SAC -
          Bolivia Copper-Gold Project, Guarayos Province, Eastern Bolivia South America. Report prepared by
          Capps Geoscience, LLC on behalf of South American Copper - Bolivia Ltd., effective date 20 December
          2020, 159pp.

   1 All geologic, mining engineering and environmental technical reports prepared for Canadian public resource

   companies are filed to the Canadian Securities Administrators Website www.sedar.com. The principal official
   documents for Standards of Disclosure for technical reports are National Instrument 43-101 and 43-101F1
   (June 2011). The instruments, compliance requirements, and procedures are listed there. The website states:
   “SEDAR (System for Electronic Document Analysis and Retrieval) is the system used for electronically filing
   most securities related information with the Canadian securities regulatory authorities. Filing with SEDAR
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   started January 1, 1997 and is now mandatory for most reporting issuers in Canada. Information on the rules for
   electronic filing can be found in SEDAR Rules and Forms.

   These rules have been established by the Canadian Securities Administrators ("CSA") and are carried out by
   each provincial securities regulatory authority.”

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          Mineralization at the Rimrock Project, Lander County, Nevada. Abstract in review. VISION FOR
          DISCOVERY: GEOLOGY AND ORE DEPOSITS OF THE BASIN AND RANGE, May 2-5, 2022, Reno,
          Nevada.

   Capps, R. C., Jorgensen, Clark and Noble, P.J.., 2022, Geologic Setting of Gold Mineralization at the
          Independence Valley Project, Elko County, Nevada. Abstract in review. VISION FOR DISCOVERY:
          GEOLOGY AND ORE DEPOSITS OF THE BASIN AND RANGE, May 2-5, 2022, Reno, Nevada.

   Capps, R. C., Jorgensen, Clark and Noble, P.J., 2022, Gold Mineralization at the Texas Canyon Project,
          Northeastern Elko County, Nevada, Geological Society of Nevada Symposium in Koutz, F.R. and
          Pennell, W.M (eds.), 2020: VISION FOR DISCOVERY: GEOLOGY AND ORE DEPOSITS OF THE
          BASIN AND RANGE, May 2-5, 2022, Reno, Nevada, Poster, and symposium article (in review).

   Capps, R. C., Jorgensen, Clark and Noble, P.J., 2020, Gold Mineralization at the Texas Canyon Project,
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   Capps, R. C., Jorgensen, Clark and Noble, P.J., 2015, Gold Mineralization at the Golden Trail Project,
          northeastern Elko County, Nevada, Lander County, Nevada, Geological Society of Nevada Symposium
          2015: NEW CONCEPTS AND DISCOVERIES, May 14 - 24, 2015, Reno, Nevada.


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   Capps, R. C., Jorgensen, Clark and Noble, P.J., 2015, Gold Mineralization at the Golden Trail Project,
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           Prospect, Western Sheep Creek Range, Lander County, Nevada, in Steininger, R.C., and others Eds.,
           Geological Society of Nevada Symposium 2010: GREAT BASIN EVOLUTION & METALLOGENY, May
           14 - 22, 2010, Reno, Nevada, p. 553-574
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           Northern Adobe Range, Elko County, Nevada, in Rhoden, H.N., Steininger, R.C., and Vikre, P.G., Eds.,
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           2004, Evidence for syntectonic gold mineralization at Gowtu Bergi, Eastern Suriname, South America
           (Abstract Paper 9-2). Geological Society of America, Abstracts with Program, Geological Society of
           America Northeastern and Southeastern Sections Joint Meeting (March 25-27, 2004)

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           Meeting (March 25-27, 2004)
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   2Capps, Richard C., Murphy, Christopher P., and Wiley, Samantha L., 2001, Archaeological Feature

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           Magnetometer: Abstract 3758, Geological Society of America, Abstracts with programs, Annual
           Southeastern Section meeting, Raleigh, North Carolina. April 5-6, 2001

   2Capps, R.C., 2000, Carlin-type Jerritt-Canyon style gold mineralization - northern Adobe Range, Elko County,

           Nevada (Abstract for Economic Geology Session 36): Geological Society of America, Abstracts with
           Program, Geological Society of America Annual Meeting, November 9-18, 2000, Reno, Nevada

   2Capps, Richard C., McDaniel, Ronald D., and Powers, Jonathan, A.,1997, Porphyry gold mineralization at the

           Deep River prospect, Carolina Slate Belt Lithotectonic Province, Moore and Randolph counties, North
           Carolina (Abstract # 60007): Geological Society of America, Late Breaking Abstracts, Annual Meeting in
           Salt Lake City, Utah
   2Capps, R.C., and Moore, J.A., 1997, Geology and gold mineralization of the Castle Mountains, San Bernardino

           County, California and Clark County, Nevada: Nevada Bureau of Mines and Geology, NBMG Map 108.
           Full-color geologic map, structure sections, correlation chart, and text

   2Capps, R. C., Moore, J.A., Mitchell, L.T., 1996, Geologic setting of Miocene gold mineralization in the

           Hackberry Mountain area, Getchel Mining District, San Bernardino County, California: Geological
           Society of Nevada, Geology and Ore Deposits of the American Cordillera Symposium. April 10-13,
           1995, p.871-890

   Capps, R.C., 1996, Geologic setting of Miocene volcanogenic gold mineralization near the western margin of
          the Colorado River Extensional Corridor - Eastern Mojave Desert, California and Nevada, unpublished
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   1Capps, R.C., Whitney, J.A., Roden, M.A., La Tour, T.E., Vanko, D.A., 1995, Crystalline basement lithologies

           from beneath the Savannah River Site (SRS) (Abstract): Geological Society of America, Abstracts with
           programs, Southeastern section meeting, p.4
   2Capps, R.C., 1995, Petrogenetic and structural constraints on the occurrence and evolution of Miocene

           volcanogenic gold mineralization near the western margin of the Colorado River Extensional Corridor in
           the Castle Mountain - Lanfair Buttes - Hackberry Mountain Area, California and Nevada: (Abstract) in
           Geology and Ore Deposits of the American Cordillera, Meeting April 10-13, 1995. Program with
           abstracts. Sponsored by the Geological Society of Nevada and the USGS
   2Capps, R.C., 1993a, Volcano-tectonic evolution of the Castle Mountains: 22 to 14 Ma (Abstract): Geological

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           5, p.17-18
   1Capps, R.C., 1993b, Relative K/Ar ages of Tertiary magmatism and gold mineralization in the Hackberry

           Mountain - Lanfair Buttes - Castle Mountains area, California and Nevada (Abstract): Geological
           Society of America, Abstracts with programs, Cordilleran-Rocky Mountain Sections meeting, v.25, no.5,
           p.18

   2Capps, R.C. and Moore, J., 1990, Geologic Setting of Mid-Miocene gold deposits in the Castle Mountains, San

           Bernardino County, California and Clark County, Nevada: Geological Society of Nevada, Great Basin
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   3Capps, R.C. and Moore, J., 1990, Geologic Setting of Mid-Miocene gold deposits in the Castle Mountains, San

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   2Capps, R.C. and Moore, J., 1991, Geologic Setting of Mid-Miocene gold deposits in the Castle Mountains, San

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   3 Field tour as part of professional meeting

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     Log Creek aggregate quarry site valuation, Warren County, Georgia                47


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     Appendix B Addendum to October 2018 report - Ecological Survey, Mine Plan and Per-
     mit Applications
     Appendix C NPV calculations for sensitivity analyses
     Appendix D Price lists and Georgia DOT contracts data
     Appendix E USGS Mineral Commodity Summaries
     Appendix F USGS Mineral Industry Surveys
     Appendix G Locations of major aggregate quarries relative to Log Creek quarry site
     Appendix H Georgia DOT approved aggregate sources
     Appendix I Georgia population information
     Appendix J USGS standard aggregate production reporting form and graph of United
     States production
     Appendix K Zoning opinion letter
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     19.1   Appendix A Exploration/evaluation report
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            REPORT OF PRELIMINARY SUBSURFACE EXPLORATION,
     GEOLOGICAL EVALUATION, AND RESOURCE/RESERVE ESTIMATE
                                                LOG CREEK LLLP TRACT
                           WARRENTON, WARREN COUNTY, GEORGIA

                                               GEOLOGIC PROJECT NO. 18-007

                                                               Prepared For:

                                                              Log Creek LLLP
                                                       1280 Snows Mill Road
                                                       Bogart, Georgia 30622

                                                                Prepared By:

                                                               GeoLogic, LLC
                                                       600 Lovinggood Trail
                                                   Woodstock, Georgia 30189


                                                        OCTOBER 25, 2018
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     October 25, 2018

     Log Creek LLLP
     1280 Snows Mill Road
     Bogart, Georgia 30622

     Attention:      Mr. Tony Townley

     Subject:        Preliminary Subsurface Exploration, Geological Evaluation and
                     Resource/Reserve Estimate
                     Log Creek LLLP
                     Warrenton, Warren County, Georgia
                     GeoLogic Project No. 18-007

     Mr. Townley:

     GeoLogic, LLC (GeoLogic) is pleased to submit this report of our geological evaluation and
     resource/reserve services for the referenced project. The following report presents methods of
     exploration employed, site and subsurface conditions encountered, and conclusions and
     recommendations regarding the geological aspects of the project.

     Background: We understand that the site is under consideration for a rock quarry and
     associated structures. The purpose of this exploration was to qualify the rock at the proposed
     facility and determine excavation conditions and overburden depths.

     The proposed quarry site is located on an undeveloped 241-acre tract of land on the east side of
     Ogeechee River Road near Warrenton, Warren County, Georgia. This tract is composed of two
     separate parcels (016026 and 016027). The property is bounded to the north by CSX railroad right-
     of-way and Timber Road to the south, Ogeechee River Road to the west and to the east, more
     undeveloped agricultural and woodlands. The tract is primarily wooded with planted pine trees and
     hardwoods. The proposed pit area was assumed to be near the central portion of the site,
     overlapping the two parcels to allow for proper setbacks from property boundaries.

     Field Work: To obtain specific subsurface data, exploration of the site was conducted in general
     accordance with ASTM Practice D-420. The site was visited on June 6 and June 14, 2018 by our
     geologist. Test locations were selected at those times and staked in the field. Drilling activities
     were performed between October 1 and October 3, 2018.




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     We advanced four (4) rock core borings (B-1 through B-4) as depicted on Figure 1 to termination
     depths ranging from 65 to 150 feet below existing grades. Typically, to perform coring, steel
     casing is initially set in the hole and drilled through the overburden soils to prevent caving. All
     the borings that were advanced were done so at the bedrock interface, which occurred at depths
     ranging from 0 to 54 feet below ground surface. Refusal materials are then cored according to
     ASTM D-2113, using a diamond-studded bit (NQ designated bit, 1-7/8 inches in diameter)
     fastened to the end of a hollow, double-tube core barrel. The core barrel is rotated at high
     speeds with cuttings brought to the surface by circulating water. Core samples of the material
     penetrated are protected and retained in the swivel-mounted inner tube. Upon completion of
     each core run, the core barrel is brought to the surface, the core recovery is measured, the
     samples are removed, and the core is placed in boxes for transportation and storage.

     The core samples are returned to the laboratory where the materials are identified and the
     percent core recovery and rock quality designation (RQD) are determined by a geologist. The
     percent core recovery is the ratio of the sample length obtained to the depth drilled, expressed
     as a percent. The RQD is obtained by summing up the length of core recovered, including only
     the pieces of core that are 4 inches or longer, and divided by the total length drilled. The
     percent core recovery and RQD are related to the soundness and continuity of the refusal
     material. Refusal material descriptions and recoveries are shown on the boring records in the
     Appendix.     Their locations are indicated on the attached Site and Boring Location Plan.
     Photographs of the rock cores collected during our sampling program are also included in the
     Appendix of this report.

     Geology: The site is located in east-central Georgia very near the contact between the Piedmont
     and the Coastal Plain (i.e., the Fall Line). The Piedmont Geologic Region is an area underlain by
     ancient igneous and metamorphic rocks up to 600 million years old. More specifically, the site is
     located south of the Modoc Fault, which forms the western boundary of the Kiokee Belt. The
     Kiokee Belt is part of the Carolina Superterrane and rock types include gneiss, schist, and
     amphibolite. The granite (undifferentiated) intruded the Kiokee Belt on both sides of the Modoc
     Fault some 320 to 300 million years ago when the fault was active. The Modoc Fault is a ductile
     shear zone thought to be a result of very deep, high temperature shearing that deformed
     overlying bedrock. The Modoc Fault dips to the northwest.

     The bedrock found during drilling varied between granite and granitic gneiss, was strong to very
     strong (R4 to R5), fine to coarse grained, phaneritic with granitic texture, some evidence of faulting
     was found in one boring. The bedrock was highly weathered to almost completely unweathered
     with depth.

     It should be noted that no petrographic analysis or thin-section testing of the rock was conducted.
     The rock description is based on inspection of hand specimens only.

     The virgin soils, when present in this geologic area, have been formed by the in-place chemical and
     physical weathering of the parent rock material. Weathering is facilitated by fractures, joints and
     by the presence of less resistant rock types. The typical residual soil profile consists of clayey soils
     near the surface, where soil weathering is more advanced, underlain by sandy silts and silty sands
     that generally become harder with depth to the top of parent bedrock. The boundary between

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     soil and rock is not sharply defined. The transitional zone termed “partially weathered rock” is
     normally found overlying the parent bedrock. Partially weathered rock is defined, for engineering
     purposes, as residual material with standard penetration resistances exceeding 100 blows per foot.
     Weathering is facilitated by fractures, joints, and by the presence of less resistant rock types.
     Consequently, the profile of the partially weathered rock and hard rock is quite irregular and erratic,
     even over short horizontal distances.

     The Geologic Map of Georgia (1976) indicates that the site is underlain by gr1: Granite
     Undifferentiated.




                                     Site Location




                        Excerpt of Interactive Geologic Map (Source: USGS website, Warren County)



     Subsurface Conditions: Soil (overburden) was encountered at depths ranging from 0 to 54 feet
     below the ground surface (feet-bgs) in all the borings. Refusal is a designation applied to any
     material that cannot be further penetrated by the soil drilling process and is normally indicative of
     a very hard or dense material, such as boulders, rock lenses, or the upper surface of bedrock. The
     borings were extended below the top of bedrock using rock coring techniques to boring
     termination depths of 65 to 150 feet below the ground surface. Rock cores recovered from 0 to
     150 feet in boring B-1, 54 to 141 feet in boring B-2, 15 to 65 feet in boring B-3, and from 33 to 91
     feet in boring B-4 were described as strong to very strong, solid, Granitic Gneiss. The recovery (REC)
     and RQD of these samples were typically between 14% and 100%; and the rock was generally harder
     and less weathered with depth. Cross sections depicting the subsurface conditions are included in
     the Appendices.

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     Groundwater: Groundwater levels were checked in the borings at the time of exploration.
     Groundwater was not encountered in borings performed above auger refusal depths. Fluctuation
     in groundwater may occur with rainfall variation, construction, surface runoff, and other factors.
     However, it does not appear that groundwater will significantly impact the proposed construction.
     Groundwater should be expected at deeper depths within the pit area.

     Laboratory Testing: Rock cores recovered from the borings performed were subjected to additional
     laboratory tests to determine the physical properties of the subsurface rock. The following
     laboratory tests were performed:

         •   LA Abrasion Test (AASHTO T-96/ASTM C-131)
         •   Specific Gravity and Absorption of Coarse Aggregate (AASHTO T-85/ASTM C-127)
         •   Clay Lumps and Friable Particles in Aggregate (AASHTO T-112/ASTM C-142)
         •   Aggregate Soundness Test (ASTM C-88)

     A representative composite sample from borings B-2, B-3, and B-4 and two representative samples
     from B-1 between 40 and 70 feet and 120 and 150 feet were subjected to these laboratory tests.
     The test results indicate that the samples obtained meet Georgia DOT specifications for use as
     Group II Class A aggregates for both fine and coarse aggregates used in concrete and roadway
     materials. The test results are included in the Appendix of this report.

     Site Assessment: Based on the subsurface conditions encountered by the soil test borings and
     rock cores, along with the results of laboratory testing and our previous experience with similar sites
     in north and middle Georgia, the rock is adequate for use as construction aggregates.

     Typical overburden depths of about 0 to 54 feet (more or less) should be anticipated to reach
     competent rock materials. The residual soils encountered in our borings visually appear suitable
     for reuse as structural fill. Moisture control may be necessary, primarily depending on weather
     conditions at the time of construction and the time of year at which grading is performed.

     Where pit excavations begin to extend to partially weathered rock or below our refusal depths,
     difficult excavation techniques should be anticipated to facilitate material removal. In mass
     excavations, partially weathered rock generally requires loosening prior to its removal with
     conventional earthmoving equipment. Loosening generally consists of pulling a large single
     tooth hydraulic ripper attached to a Caterpillar D-8K dozer, or equivalent equipment. In general,
     partially weathered rock with penetration resistances of 50 blows for more than 2 inches of
     penetration should be considered rippable for planning purposes. Partially weathered rock
     with penetration resistances of 50 blows for 2 inches or less penetration may require blasting to
     aid in removal.


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     The ability of the contractor to rip partially weathered rock is dependent upon the consistency
     of the material encountered, the number and direction of existing joints and fractures, the
     equipment used, and the degree of effort employed. Partially weathered rock may be loosened
     while pulling the ripper in one direction but ripping in another direction may be ineffective due
     to the direction of dip of the material. The specifications should include requirements to the
     effect that the contractor should attempt to rip in several directions before the claim of hard rock
     will be honored. However, in some cases, it may be more advantageous for the contractor to
     loosen extensive profiles of partially weathered rock or lower quality rock by blasting.

     At the base of partially weathered rock, relatively unweathered rock will be encountered. Some
     of the lower quality rock may be ripped if sufficient joints and fractures are present. However,
     for planning purposes, we would anticipate that all partially weathered rock with SPT results of
     50 blows per 2 inches or less penetration, and unweathered rock, will require blasting to facilitate
     removal.

     The definition of rock for excavation purposes can be a source of conflict during construction.
     The following definitions have been successfully incorporated into specifications on other
     projects and are provided for your general guidance.

     Rip Rock: Any material that cannot be removed by scrapers, loaders, pans, dozers, or graders;
     and requires loosening by using a single-tooth ripper mounted on a crawler tractor having a
     minimum draw bar pull rated at not less than 56,000 pounds.

     Blast Rock: Any material which cannot be excavated after loosening with a single-tooth ripper
     mounted on a crawler tractor having a minimum draw bar pull rated at not less than 56,000
     pounds (Caterpillar D-8K or equivalent) or by a Caterpillar 973 front-end loader or equivalent;
     and occupying an original volume of at least one (1) cubic yard.




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     Reserve Estimate: The acreage owned or leased cannot typically be mined completely. Setbacks
     from easements, roads, property lines, pit slope angles, excessive overburden, and non-mine
     related areas of the property (e.g., plant, stockpiles, ramps, access roads, etc.) reduce the available
     acreage for mining. This site is uniquely positioned such that there is excellent access to highways
     for transporting the mined material to market.

     For this proposed quarry site, it was estimated that of the available 241 acres, approximately 70±
     acres on the tract are minable. Additional investigation of areas further south and southwest of
     previously examined parts of the site could change this estimate (up or down). This reserve
     estimate is based on the assumption that the quarry depth will extend to approximately 100 feet
     below competent bedrock. Figure 2 depicts the estimated quarry pit area.

     It is likely that the quarry could be extended to much greater depths depending on the quarry plan
     and other factors outlined above. Based on drill log data the proven/probable proven volume is
     predicated on a quarry with a depth of 150 feet below the top of bedrock.

     As noted previously, a variable overburden thickness is present at the site with soils above bedrock
     ranging from 0 to 54 feet. Removal and possible reuse (e.g., reclamation) or sale of this material is
     an alternative rather than disposal.

     The average specific gravity of the rock of 2.66 was estimated from laboratory testing. The
     resultant unit weight of rock is estimated at 165 pounds per cubic foot (pcf), from this, the
     calculated volume-tonnage conversion factor for the rock is 3,594 short tons per acre per foot
     (tpa-ft).

     The following table summarizes the estimated reserves.

                                      Description                         Quantity


                        Approximate Overburden (cubic yards)              2,823,333
                         Proven/Probable Proven (short tons)             37,737,000
                            Reserve Statement (short tons)               21,384,300
                     Table 1 – Reserve Estimate



     The Reserve Statement represents the minimum quantity of rock available in the proposed quarry
     and includes a loss factor of 15% to account for material lost during crushing, washing, and
     screening, internally used material, poor-quality rock, and wasted material, as well as nonsalable
     fines.




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     Closure: These recommendations apply to this specific project. Subsurface conditions in
     unexplored locations may vary from those encountered at specific boring locations. The nature
     and extent of variations between the borings may not become evident until the course of
     construction.

     We will be happy to discuss our recommendations and would welcome the opportunity to provide
     additional services necessary to complete this project. We look forward to serving as your
     geotechnical engineer in the future.

     Sincerely,
     GeoLogic, LLC




     Benjamin R. Black, MS, PG, EIT
     Principal Engineering Geologist




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                                              Attachments

                                 Site and Boring Location Plan / Quarry Layout
                                                Test Procedures
                                       Key to Symbols and Classifications
                                        Boring Logs (4)/Cross Sections (2)
                                           Rock Cores – Photo Logs (4)
                                          Results of Laboratory Testing




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     Attachment 1: Site and Boring Location Plan
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Source:
Google Earth                                     FIGURE 1
                                           BORING LOCATION PLAN

Project No.: 18-007                          Log Creek LLLP Tract
Scale: As Shown on Figure
Drawn by: BB                Ogeechee River Road, Warrenton, Warren County, Georgia     600 Lovinggood Trail
                                                                                     Woodstock, Georgia 30189
Date: 10/21/2018                                 October 2018
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Source:
Google Earth                                    FIGURE 2
                                         PROPOSED QUARRY LAYOUT

Project No.: 18-007                          Log Creek LLLP Tract
Scale: As Shown on Figure
Drawn by: BB                Ogeechee River Road, Warrenton, Warren County, Georgia     600 Lovinggood Trail
                                                                                     Woodstock, Georgia 30189
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     Attachment 2: Test Procedures
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                                             TEST PROCEDURES
     The general field procedures employed by GeoLogic, LLC are summarized in the
     American Society for Testing and Materials (ASTM) Standard D 420 - Investigating and Sampling Soil
     and Rock. This practice lists recognized methods for determining soil, rock and groundwater conditions.
     These methods include geophysical and in-situ methods as well as borings.

     Standard Drilling Techniques

     To obtain subsurface samples, borings are drilled using one of several alternate techniques depending
     upon the subsurface conditions. Some of these techniques are:
     In Soils:

         a) Continuous hollow stem augers.
         b) Rotary borings using roller cone bits or drag bits and water or drilling mud.
         c) Hand augers.

     In Rock:
         a) Core drilling with diamond-faced, double or triple tube core barrels.
         b) Core boring with roller cone bits.

     Typical drilling methods used are presented in the following paragraphs.

     Hollow Stem Augering: A hollow stem augers consists of a hollow steel tube with a continuous exterior
     spiral flange termed a flight. The auger is turned into the ground, returning the cuttings along the flights.

     The hollow center permits a variety of sampling and testing tools to be used without removing the
     auger.

     Sampling and Testing in Boreholes
     Several techniques are used to obtain samples and data in soils in the field; however, the most common
     methods in this area are:

         a)   Standard Penetrating Testing
         b)   Undisturbed Sampling
         c)   Dynamic Cone Penetrometer Testing
         d)   Water Level Readings

     The procedures utilized for this project are presented below.

     Standard Penetration Testing: At regular intervals, soil samples are obtained with a standard 2-inch
     diameter split tube sampler connected to an A or N-size rod. The sampler is first seated 6 inches to
     penetrate any loose cuttings and then driven an additional 12 inches with blows of a 140-pound
     hammer falling 30 inches. Generally, the number of hammer blows required to drive the sampler the
     final 12 inches is designated the "penetration resistance" or "N" value, in blows per foot (bpf). The
     sampler is designed to retain the soil penetrated, so that it may be returned to the surface for
     observation.

     Representative portions of the soil samples obtained from each sample are placed in jars, sealed and
     transported to our laboratory.
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     The standard penetration test, when properly evaluated, provides an indication of the soil strength and
     compressibility. The tests are conducted according to ASTM Standard D1586. The depths and N-values
     of standard penetration tests are shown on the Boring Logs. Split tube samples are suitable for visual
     observation and classification tests but are not sufficiently intact for quantitative laboratory testing.

     Water Level Readings: Water table readings are normally taken in the borings and are recorded on the

     Boring Logs. In sandy soils, these readings indicate the approximate location of the hydrostatic water
     table at the time of our field exploration. In clayey soils, the rate of water seepage into the borings is
     low and it is generally not possible to establish the location of the hydrostatic water table through short
     term water level readings. Also, fluctuation in the water table should be expected with variations in
     precipitation, surface run-off, evaporation, and other factors. For long-term monitoring of water levels,
     it is necessary to install piezometers.

     The water levels reported on the Boring Logs are determined by field crews immediately after the
     drilling tools are removed, and several hours after the borings are completed, if possible. The time lag is
     intended to permit stabilization of the groundwater table which may have been disrupted by the drilling
     operation.

     Occasionally the borings will cave-in, preventing water level readings from being obtained or trapping
     drilling water above the cave-in zone. The cave-in depth is measured and recorded on the Boring Logs.

     Boring Logs
     The subsurface conditions encountered during drilling are reported on a field boring log prepared by the
     driller or a GeoLogic representative. The log contains information concerning the boring method,
     samples attempted and recovered, indications of the presence of coarse gravel, cobbles, etc., and
     observations of groundwater. It also contains the field representative's interpretation of the soil
     conditions between samples. Therefore, these boring records contain both factual and interpretive
     information. The field boring records are kept on file in our office.

     After the drilling is completed, a geotechnical engineer or geologist classifies the soil samples and
     prepares the final Boring Logs, which are the basis for our evaluations and recommendations.

     Soil Classification
     Soil classifications provide a general guide to the engineering properties of various soil types and enable
     the engineer to apply his past experience to current problems. In our investigations, samples obtained
     during drilling operations are examined in our laboratory and visually classified by an engineer or
     geologist. The soils are classified according to consistency (based on number of blows from standard
     penetration tests), color and texture. These classification descriptions are included on our Boring Logs.

     The classification system discussed above is primarily qualitative and for detailed soil classification two
     laboratory tests are necessary; grain size tests and plasticity tests. Using these test results the soil can be
     classified according to the AASHTO or Unified Classification Systems (ASTM D-2487). Each of these
     classification systems and the in-place physical soil properties provides an index for estimating the soil's
     behavior. The soil classification and physical properties are presented in this report.

     The Key to Symbols and Classifications presents criteria that are typically used in the classification and
     description of soil and rock samples for preparation of Boring Logs.
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     Attachment 3: Key to Symbols and Classifications
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                          KEY TO SYMBOLS AND CLASSIFICATIONS

           SYMBOL                   TYPE OF SAMPLE                                                                              Partially
                                                                                             Asphalt                            Weathered
                            Split Tube Sample (SPT)                                                                             Rock



                            Shelby Tube Sample
                                                                                             Topsoil                            Bedrock

                            Bulk Sample


                            Core Run                                                         Fill                               Concrete



                              PARTICLE SIZE DEFINITIONS                                                      MOISTURE CONTENT
          COMPONENT                                       SIZE RANGE
                                                                                                                            Absence of moisture,
        Boulders            Larger than 12 inches                                                              Dry
                                                                                                                            dusty, dry to the touch
        Cobbles             3 to 12 inches
        Gravel              3 inches to 4.5 mm (Sieve No.4)                                                                 Some perceptible
        Coarse Gravel       3 inches to 3/4 of an inch                                                        Damp          moisture, below
        Fine Gravel         3/4 of an inch 4.5                                                                              optimum
        Sand                4.5 mm to 0.074 mm (Sieves No.4 to No.200)                                                      No visible water, near
        Coarse Sand         4.5 mm to 2.0 mm (Sieves No.4 to No.10)                                           Moist         optimum moisture
        Medium Sand         2.0 mm to 0.42 mm (Sieves No.10 to No.40)                                                       content
        Fine Sand           0.42 mm to 0.074 mm (Sieves No.40 to No.200)                                                    Visible free water,
        Silt and Clay       Smaller than 0.074 mm (passing sieve No. 200)                                      Wet          usually soil is below
                                                                                                                            water table


                            RELATIVE HARDNESS OF ROCK                                                         ROCK CONTINUITY
        Very Soft           Desintegrates or easily compresses to touch                                  DESCRIPTION                RQD*
        Soft                May be broken with fingers                                                  Incompetent             Less than 40%
        Moderately Soft     May be scratched with nail, edges may be broken with fingers                Competent                 40% to 70%
        Moderately Hard     Light blow of hammer required to break sample                               Fairly Continuous         71% to 90%
        Hard                Hard blow of hammer required to break sample                                 Continuous               91% to 100%
                                                                                                       *RQD=Rock Quality Designation


                                RELATIVE DENSITY OR CONSISTENCY VERSUS SPT N-VALUE
                          COHESIONLESS SOIL                                                            COHESIVE SOILS
                                                                                                                               Approximate
                                                       Approximate
               Density       N (blows/ foot)                                        Consistency          N (blows/foot)       Undrained Shear
                                                    Relative Density (%)
                                                                                                                               Strength (psf)
        Very Loose                0 to 4                  0 to 15           Very Soft                         0 to 1           Less than 250
        Loose                    5 to 10                 15 to 35           Soft                              2 to 4             250 to 500
        Medium Dense             11 to 30                35 to 65           Firm                              5 to 8            500 to 1000
        Dense                    31 to 50                65 to 85           Stiff                             9 to 15           1000 to2000
        Very Dense               over 50                 85 to 100          Very Stiff                       16 to 30          2000 to 4000
                                                                            Hard                             31 to 50         Greater than 4000
                                                                            Very Hard                        over 50
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                      UNIFIED SOIL CLASSIFICATION SYSTEM

                                                                                  GRAPHIC LETTER
                            MAJOR DIVISION                                                               TYPICAL DESCRIPTIONS
                                                                                  SYMBOL SYMBOL


                                                                                                GW
                                                                                                         Well graded gravels, gravel-sand
                                                               Clean Gravels                             mixtures, little or no fines
                            GRAVEL AND GRAVELLY
                                                                (Little or no
                                   SOILS                            fines)
                                                                                                 GP
                                                                                                         Poorly graded gravels, gravel-sand
                                                                                                         mixtures, little or no fines
        COARSE GRAINED
            SOILS
                              MORE THAN 50% OF                 Gravels with                     GM       Silty gravels, gravel-sand-silt
                                                                                                         mixtures
                                                                  fines
                               COARSE FRACTION                 (Appreciable
                            RETAINED ON NO.4 SIEVE            amount of fines)                   GC      Clayey gravels, gravel-sand-clay
                                                                                                         mixtures




                                                                Clean sands
                                                                                                 SW      Well graded sands, gravelly sands,
                                                                                                         little or no fines

                            SANDS AND SANDY SOILS               (Little or no
                                                                    fines)
                                                                                                 SP
       MORE THAN 50% OF                                                                                  Poorly graded sands, gravelly
                                                                                                         sands, little or no fines
       MATERIAL IS LARGER
       THAN NO. 200 SIEVE
             SIZE             MORE THAN 50% OF                                                   SM      Silty sands, sand-silt mixtures
                                                              Sands with fines
                                   COARSE
                                                                (Appreciable
                            FRACTIONPASSING NO.4              amount of fines)
                                    SIEVE                                                        SC      Clayey sands, sand-clay mixtures


                                                                                                         Inorganic silts and very fine sands,

                                                                                                 ML      rock flour, silty or clayey fine
                                                                                                         sands or clayey silts with slight
                                                                                                         plasticity

                                                                                                         Inorganic clays of low to medium
                                                              Liquid Limit less
       FINE GRAINED SOILS       SILTS AND CLAYS                   than 50                        CL      plasticity, gravely clays, sandy
                                                                                                         clays, silty clays, lean clays



                                                                                                 OL
                                                                                                         Organic silts and organic silty clays
                                                                                                         of low plasticity


                                                                                                         Inorganic silts, micaceous or
                                                                                                MH       diatomaceous fine sand or silty
                                                                                                         soils
       MORE THAN 50% OF
          MATERIAL IS                                           Liquid Limit
                                                                                                 CH
                                                                                                         Inorganic clays of high plasticity,
                                SILTS AND CLAYS               greater than 50                            fat clays
       SMALLER THAN NO.
         200 SIEVE SIZE
                                                                                                 OH      Organic clays of medium high
                                                                                                         plasticity, organic silts




                                                                                                 PT
                                                                                                         Peat, humus, swamp soils with
                         HIGHLY ORGANIC SOILS                                                            high organic contents


                               Note: Dual symbols are used to indicate borderline soil classifications
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     Attachment 4: Boring Logs (4) and Cross Sections (2)
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                                                                                                                                               GeoLogic,LLC                                                                                               BORING NUMBER B-1
                                                                                                                                               600 Lovinggood Trail                                                                                                                          PAGE 1 OF 5
                                                                                                                                               Woodstock, GA 30189
                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                       PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                       PROJECT LOCATION East of Mayfield
                                                                                                                           DATE STARTED 10/2/18                     COMPLETED 10/2/18                  GROUND ELEVATION 501 ft NGVD                                     HOLE SIZE 1 7/8" inches
                                                                                                                           DRILLING CONTRACTOR Premier Drilling, LLC                                   GROUND WATER LEVELS:
                                                                                                                           DRILLING METHOD HSA-Auto Hammer/Coring                                              AT TIME OF DRILLING ---
                                                                                                                           LOGGED BY BB                             CHECKED BY BB                              AT END OF DRILLING ---
                                                                                                                           NOTES                                                                               AFTER DRILLING ---

                                                                                                                                                                                                                                                                                          SPT N VALUE




                                                                                                                                                                                                                   SAMPLE TYPE




                                                                                                                                                                                                                                                                        DRY UNIT WT.
                                                                                                                                                                                                                                 RECOVERY %




                                                                                                                                                                                                                                                          POCKET PEN.
                                                                                                                                                                                                                                                                                       20   40    60  80




                                                                                                                                                                                                                                              (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                     NUMBER




                                                                                                                                                                                                                                               COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                        PL     MC    LL




                                                                                                                                                                                                                                                BLOW
                                                                                                                                                                                                                                    (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                            (pcf)
                                                                                                                                                                                                                                                              (tsf)
                                                                                                                                                               MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                       20   40   60   80
                                                                                                                                                                                                                                                                                       FINES CONTENT (%)
                                                                                                                             0                                                                                                                                                          20  40  60   80
                                                                                                                                              Moderately weathered, close fracture spacing, [gr1: granite
                                                                                                                                              undifferentiated] 100% Granitic Gneiss, Strong to Very Strong
                                                                                                                                              (R4-R5), fine to coarse grained, with hornblende and potassium
                                                                                                                                              feldspar, light brownish gray (5YR 6/1)




                                                                                                                             5                                                                                          RC         90
                                                                                                                                                                                                                         1        (78)
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                                                                                                                            10
                                                                                                                                              Slightly weathered, close fracture spacing, [gr1: granite
                                                                                                                                              undifferentiated] 100% Granitic Gneiss, Strong to Very Strong
                                                                                                                                              (R4-R5), fine to coarse grained, with hornblende and potassium
                                                                                                                                              feldspar, medium dark gray (N4)




                                                                                                                            15                                                                                          RC         94
                                                                                                                                                                                                                         2        (90)




                                                                                                                            20




                                                                                                                            25                                                                                          RC        100
                                                                                                                                                                                                                         3        (88)




                                                                                                                            30
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                                                                                                                                               Woodstock, GA 30189
                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                       PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                       PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                        SPT N VALUE




                                                                                                                                                                                                                 SAMPLE TYPE




                                                                                                                                                                                                                                                                      DRY UNIT WT.
                                                                                                                                                                                                                               RECOVERY %




                                                                                                                                                                                                                                                        POCKET PEN.
                                                                                                                                                                                                                                                                                     20   40    60  80




                                                                                                                                                                                                                                            (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                   NUMBER




                                                                                                                                                                                                                                             COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                      PL     MC    LL




                                                                                                                                                                                                                                              BLOW
                                                                                                                                                                                                                                  (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                          (pcf)
                                                                                                                                                                                                                                                            (tsf)
                                                                                                                                                               MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                     20   40   60   80
                                                                                                                                                                                                                                                                                     FINES CONTENT (%)
                                                                                                                            30                                                                                                                                                        20  40  60   80
                                                                                                                                              Slightly weathered, close fracture spacing, [gr1: granite
                                                                                                                                              undifferentiated] 100% Granitic Gneiss, Strong to Very Strong
                                                                                                                                              (R4-R5), fine to coarse grained, with hornblende and potassium
                                                                                                                                              feldspar, medium dark gray (N4) (continued)




                                                                                                                            35                                                                                        RC         88
                                                                                                                                                                                                                       4        (70)




                                                                                                                            40
                                                                                                                                              Unweathered, medium fracture spacing, [gr1: granite
                                                                                                                                              undifferentiated] 100%, Pegmatite zones at 56 feet, from 95-97
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                                                                                                                                              feet, and 134-136 feet. potassium feldspar and quearts, moderate
                                                                                                                                              Pink (10R 7/4) Granitic Gneiss, Strong to Very Strong (R4-R5),
                                                                                                                                              fine to coarse grained, with hornblende and potassium feldspar,
                                                                                                                                              light brownish gray (5YR 6/1)


                                                                                                                            45                                                                                        RC        100
                                                                                                                                                                                                                       5        (83)




                                                                                                                            50




                                                                                                                            55                                                                                        RC 100
                                                                                                                                                                                                                       6 (100)




                                                                                                                            60




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                                                                                                                                               600 Lovinggood Trail                                                                                                                        PAGE 3 OF 5
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                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                       PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                       PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                        SPT N VALUE




                                                                                                                                                                                                                 SAMPLE TYPE




                                                                                                                                                                                                                                                                      DRY UNIT WT.
                                                                                                                                                                                                                               RECOVERY %




                                                                                                                                                                                                                                                        POCKET PEN.
                                                                                                                                                                                                                                                                                     20   40    60  80




                                                                                                                                                                                                                                            (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                   NUMBER




                                                                                                                                                                                                                                             COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                      PL     MC    LL




                                                                                                                                                                                                                                              BLOW
                                                                                                                                                                                                                                  (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                          (pcf)
                                                                                                                                                                                                                                                            (tsf)
                                                                                                                                                               MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                     20   40   60   80
                                                                                                                                                                                                                                                                                     FINES CONTENT (%)
                                                                                                                                                                                                                                                                                      20  40  60   80
                                                                                                                            65                Unweathered, medium fracture spacing, [gr1: granite                     RC        100
                                                                                                                                              undifferentiated] 100%, Pegmatite zones at 56 feet, from 95-97           7        (90)
                                                                                                                                              feet, and 134-136 feet. potassium feldspar and quearts, moderate
                                                                                                                                              Pink (10R 7/4) Granitic Gneiss, Strong to Very Strong (R4-R5),
                                                                                                                                              fine to coarse grained, with hornblende and potassium feldspar,
                                                                                                                                              light brownish gray (5YR 6/1) (continued)




                                                                                                                            70




                                                                                                                            75                                                                                        RC        100
                                                                                                                                                                                                                       8        (98)
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                                                                                                                            80




                                                                                                                            85                                                                                        RC        100
                                                                                                                                                                                                                       9        (82)




                                                                                                                            90




                                                                                                                            95                                                                                        RC        100
                                                                                                                                                                                                                      10        (44)




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                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                       PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                       PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                        SPT N VALUE




                                                                                                                                                                                                                 SAMPLE TYPE




                                                                                                                                                                                                                                                                      DRY UNIT WT.
                                                                                                                                                                                                                               RECOVERY %




                                                                                                                                                                                                                                                        POCKET PEN.
                                                                                                                                                                                                                                                                                     20   40    60  80




                                                                                                                                                                                                                                            (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                   NUMBER




                                                                                                                                                                                                                                             COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                      PL     MC    LL




                                                                                                                                                                                                                                              BLOW
                                                                                                                                                                                                                                  (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                          (pcf)
                                                                                                                                                                                                                                                            (tsf)
                                                                                                                                                               MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                     20   40   60   80
                                                                                                                                                                                                                                                                                     FINES CONTENT (%)
                                                                                                                                                                                                                                                                                      20  40  60   80
                                                                                                                                              Unweathered, medium fracture spacing, [gr1: granite
                                                                                                                                              undifferentiated] 100%, Pegmatite zones at 56 feet, from 95-97
                                                                                                                            100               feet, and 134-136 feet. potassium feldspar and quearts, moderate
                                                                                                                                              Pink (10R 7/4) Granitic Gneiss, Strong to Very Strong (R4-R5),
                                                                                                                                              fine to coarse grained, with hornblende and potassium feldspar,
                                                                                                                                              light brownish gray (5YR 6/1) (continued)




                                                                                                                            105                                                                                       RC        100
                                                                                                                                                                                                                      11        (51)
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                                                                                                                            110




                                                                                                                            115                                                                                       RC        100
                                                                                                                                                                                                                      12        (50)




                                                                                                                            120




                                                                                                                            125                                                                                       RC         95
                                                                                                                                                                                                                      13        (73)




                                                                                                                            130




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                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                       PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                       PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                        SPT N VALUE




                                                                                                                                                                                                                 SAMPLE TYPE




                                                                                                                                                                                                                                                                      DRY UNIT WT.
                                                                                                                                                                                                                               RECOVERY %




                                                                                                                                                                                                                                                        POCKET PEN.
                                                                                                                                                                                                                                                                                     20   40    60  80




                                                                                                                                                                                                                                            (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                   NUMBER




                                                                                                                                                                                                                                             COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                      PL     MC    LL




                                                                                                                                                                                                                                              BLOW
                                                                                                                                                                                                                                  (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                          (pcf)
                                                                                                                                                                                                                                                            (tsf)
                                                                                                                                                               MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                     20   40   60   80
                                                                                                                                                                                                                                                                                     FINES CONTENT (%)
                                                                                                                                                                                                                                                                                      20  40  60   80
                                                                                                                                              Unweathered, medium fracture spacing, [gr1: granite
                                                                                                                                              undifferentiated] 100%, Pegmatite zones at 56 feet, from 95-97
                                                                                                                                              feet, and 134-136 feet. potassium feldspar and quearts, moderate
                                                                                                                            135               Pink (10R 7/4) Granitic Gneiss, Strong to Very Strong (R4-R5),          RC        100
                                                                                                                                              fine to coarse grained, with hornblende and potassium feldspar,         14        (95)
                                                                                                                                              light brownish gray (5YR 6/1) (continued)




                                                                                                                            140
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                                                                                                                            145                                                                                       RC        100
                                                                                                                                                                                                                      15        (90)




                                                                                                                            150
                                                                                                                                                              Bottom of borehole at 150.0 feet.
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                                                                                                                                              Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                            PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                            PROJECT LOCATION East of Mayfield
                                                                                                                           DATE STARTED 10/3/18                  COMPLETED 10/3/18          GROUND ELEVATION 514 ft NGVD                                 HOLE SIZE 1 7/8" inches
                                                                                                                           DRILLING CONTRACTOR Premier Drilling, LLC                        GROUND WATER LEVELS:
                                                                                                                           DRILLING METHOD HSA-Auto Hammer/Coring                               AT TIME OF DRILLING ---
                                                                                                                           LOGGED BY BB                          CHECKED BY BB                  AT END OF DRILLING ---
                                                                                                                           NOTES                                                                AFTER DRILLING ---

                                                                                                                                                                                                                                                                           SPT N VALUE




                                                                                                                                                                                                    SAMPLE TYPE




                                                                                                                                                                                                                                                         DRY UNIT WT.
                                                                                                                                                                                                                  RECOVERY %




                                                                                                                                                                                                                                           POCKET PEN.
                                                                                                                                                                                                                                                                        20   40    60  80




                                                                                                                                                                                                                               (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                      NUMBER




                                                                                                                                                                                                                                COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                         PL     MC    LL




                                                                                                                                                                                                                                 BLOW
                                                                                                                                                                                                                     (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                             (pcf)
                                                                                                                                                                                                                                               (tsf)
                                                                                                                                                            MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                        20   40   60   80
                                                                                                                                                                                                                                                                        FINES CONTENT (%)
                                                                                                                             0                                                                                                                                           20  40  60   80
                                                                                                                                              CLAYEY SAND WITH GRAVEL, (SC-SM) Overburden




                                                                                                                             5
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                                                                                                                            10




                                                                                                                            15




                                                                                                                            20




                                                                                                                            25




                                                                                                                            30
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                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                          PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                          PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                         SPT N VALUE




                                                                                                                                                                                                                  SAMPLE TYPE




                                                                                                                                                                                                                                                                       DRY UNIT WT.
                                                                                                                                                                                                                                RECOVERY %




                                                                                                                                                                                                                                                         POCKET PEN.
                                                                                                                                                                                                                                                                                      20   40    60  80




                                                                                                                                                                                                                                             (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                    NUMBER




                                                                                                                                                                                                                                              COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                       PL     MC    LL




                                                                                                                                                                                                                                               BLOW
                                                                                                                                                                                                                                   (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                           (pcf)
                                                                                                                                                                                                                                                             (tsf)
                                                                                                                                                                MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                      20   40   60   80
                                                                                                                                                                                                                                                                                      FINES CONTENT (%)
                                                                                                                            30                                                                                                                                                         20  40  60   80
                                                                                                                                              CLAYEY SAND WITH GRAVEL, (SC-SM) Overburden (continued)




                                                                                                                            35




                                                                                                                            40
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                                                                                                                            45




                                                                                                                            50




                                                                                                                                              Highly weathered, [gr1: granite undifferentiated] 3 feet missing
                                                                                                                            55                Granitic Gneiss, Light Brownish Gray (5YR 6/1)




                                                                                                                                                                                                                       RC         71
                                                                                                                                                                                                                        1        (14)



                                                                                                                            60


                                                                                                                                              Highly weathered, 4 feet missing




                                                                                                                                                                   (Continued Next Page)
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                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                             PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                             PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                            SPT N VALUE




                                                                                                                                                                                                     SAMPLE TYPE




                                                                                                                                                                                                                                                          DRY UNIT WT.
                                                                                                                                                                                                                   RECOVERY %




                                                                                                                                                                                                                                            POCKET PEN.
                                                                                                                                                                                                                                                                         20   40    60  80




                                                                                                                                                                                                                                (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                       NUMBER




                                                                                                                                                                                                                                 COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                          PL     MC    LL




                                                                                                                                                                                                                                  BLOW
                                                                                                                                                                                                                      (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                              (pcf)
                                                                                                                                                                                                                                                (tsf)
                                                                                                                                                               MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                         20   40   60   80
                                                                                                                                                                                                                                                                         FINES CONTENT (%)
                                                                                                                                                                                                                                                                          20  40  60   80
                                                                                                                            65                Highly weathered, 4 feet missing (continued)

                                                                                                                                                                                                          RC         58
                                                                                                                                                                                                           2        (31)




                                                                                                                            70


                                                                                                                                              Highly weathered, 2.5 feet missing




                                                                                                                            75
GEOTECH BH PLOTS - GINT STD US LAB.GDT - 10/21/18 18:18 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ




                                                                                                                                                                                                          RC         73
                                                                                                                                                                                                           3        (39)




                                                                                                                            80


                                                                                                                                              Moderately weathered, 1.5 feet missing




                                                                                                                            85

                                                                                                                                                                                                          RC         88
                                                                                                                                                                                                           4        (49)




                                                                                                                            90


                                                                                                                                              Slightly weathered




                                                                                                                            95

                                                                                                                                                                                                          RC         52
                                                                                                                                                                                                           5        (17)




                                                                                                                                                                   (Continued Next Page)
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                                                                                NORRIS       CASON
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                                                                                                                                               GeoLogic,LLC                                                                                            BORING NUMBER B-2
                                                                                                                                               600 Lovinggood Trail                                                                                                                       PAGE 4 OF 5
                                                                                                                                               Woodstock, GA 30189
                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                        PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                        PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                       SPT N VALUE




                                                                                                                                                                                                                SAMPLE TYPE




                                                                                                                                                                                                                                                                     DRY UNIT WT.
                                                                                                                                                                                                                              RECOVERY %




                                                                                                                                                                                                                                                       POCKET PEN.
                                                                                                                                                                                                                                                                                    20   40    60  80




                                                                                                                                                                                                                                           (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                  NUMBER




                                                                                                                                                                                                                                            COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                     PL     MC    LL




                                                                                                                                                                                                                                             BLOW
                                                                                                                                                                                                                                 (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                         (pcf)
                                                                                                                                                                                                                                                           (tsf)
                                                                                                                                                                MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                    20   40   60   80
                                                                                                                                                                                                                                                                                    FINES CONTENT (%)
                                                                                                                                                                                                                                                                                     20  40  60   80
                                                                                                                                              Slightly weathered (continued)
                                                                                                                            100


                                                                                                                                              Slightly weathered Granitic Gneiss with potassium feldspar
                                                                                                                                              banding with granite




                                                                                                                            105

                                                                                                                                                                                                                     RC        100
                                                                                                                                                                                                                      6        (43)
GEOTECH BH PLOTS - GINT STD US LAB.GDT - 10/21/18 18:18 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ




                                                                                                                            110


                                                                                                                                              Unweathered, 115-117 feet light green rock flour/fault gouge,
                                                                                                                                              fault?




                                                                                                                            115

                                                                                                                                                                                                                     RC        100
                                                                                                                                                                                                                      7        (58)




                                                                                                                            120


                                                                                                                                              Unweathered Granitic Gneiss, medium light gray (N6) to medium
                                                                                                                                              gray (N5)




                                                                                                                            125

                                                                                                                                                                                                                     RC        100
                                                                                                                                                                                                                      8        (88)




                                                                                                                            130


                                                                                                                                              Unweathered, High angle fractures, possible fault?



                                                                                                                                                                  (Continued Next Page)
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                                                                                                                                               GeoLogic,LLC                                                                                            BORING NUMBER B-2
                                                                                                                                               600 Lovinggood Trail                                                                                                                       PAGE 5 OF 5
                                                                                                                                               Woodstock, GA 30189
                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                        PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                        PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                       SPT N VALUE




                                                                                                                                                                                                                SAMPLE TYPE




                                                                                                                                                                                                                                                                     DRY UNIT WT.
                                                                                                                                                                                                                              RECOVERY %




                                                                                                                                                                                                                                                       POCKET PEN.
                                                                                                                                                                                                                                                                                    20   40    60  80




                                                                                                                                                                                                                                           (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                  NUMBER




                                                                                                                                                                                                                                            COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                     PL     MC    LL




                                                                                                                                                                                                                                             BLOW
                                                                                                                                                                                                                                 (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                         (pcf)
                                                                                                                                                                                                                                                           (tsf)
                                                                                                                                                                MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                    20   40   60   80
                                                                                                                                                                                                                                                                                    FINES CONTENT (%)
                                                                                                                                                                                                                                                                                     20  40  60   80
                                                                                                                                              Unweathered, High angle fractures, possible fault? (continued)


                                                                                                                            135

                                                                                                                                                                                                                     RC        100
                                                                                                                                                                                                                      9        (33)




                                                                                                                            140


                                                                                                                                                                    Refusal at 54.0 feet.
                                                                                                                                                              Bottom of borehole at 141.0 feet.
GEOTECH BH PLOTS - GINT STD US LAB.GDT - 10/21/18 18:18 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ
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                                                                                                                                               GeoLogic,LLC                                                                                                   BORING NUMBER B-3
                                                                                                                                               600 Lovinggood Trail                                                                                                                              PAGE 1 OF 3
                                                                                                                                               Woodstock, GA 30189
                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                          PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                          PROJECT LOCATION East of Mayfield
                                                                                                                           DATE STARTED 10/1/18                       COMPLETED 10/1/18                   GROUND ELEVATION 486 ft NGVD                                      HOLE SIZE 1 7/8" inches
                                                                                                                           DRILLING CONTRACTOR Premier Drilling, LLC                                      GROUND WATER LEVELS:
                                                                                                                           DRILLING METHOD HSA-Auto Hammer/Coring                                                  AT TIME OF DRILLING ---
                                                                                                                           LOGGED BY BB                               CHECKED BY BB                                AT END OF DRILLING ---
                                                                                                                           NOTES                                                                                   AFTER DRILLING ---

                                                                                                                                                                                                                                                                                              SPT N VALUE




                                                                                                                                                                                                                       SAMPLE TYPE




                                                                                                                                                                                                                                                                            DRY UNIT WT.
                                                                                                                                                                                                                                     RECOVERY %




                                                                                                                                                                                                                                                              POCKET PEN.
                                                                                                                                                                                                                                                                                           20   40    60  80




                                                                                                                                                                                                                                                  (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                         NUMBER




                                                                                                                                                                                                                                                   COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                            PL     MC    LL




                                                                                                                                                                                                                                                    BLOW
                                                                                                                                                                                                                                        (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                                (pcf)
                                                                                                                                                                                                                                                                  (tsf)
                                                                                                                                                                MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                           20   40   60   80
                                                                                                                                                                                                                                                                                           FINES CONTENT (%)
                                                                                                                             0                                                                                                                                                              20  40  60   80
                                                                                                                                              SILT, (SC-SM) Overburden




                                                                                                                             5
GEOTECH BH PLOTS - GINT STD US LAB.GDT - 10/21/18 18:18 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ




                                                                                                                            10




                                                                                                                            15
                                                                                                                                              Slightly weathered to moderately weathered, [gr1: granite
                                                                                                                                              undifferentiated] Granite, chlorite rich, Strong to Very Strong
                                                                                                                                              (R4-R5), fine to medium grained, with potassium feldspar and
                                                                                                                                              quartz veins, granitic texture, greenish gray (5GY 6/1) to pinkish
                                                                                                                                              gray (5YR 8/1)



                                                                                                                            20                                                                                              RC        100
                                                                                                                                                                                                                             1        (94)




                                                                                                                            25




                                                                                                                            30                                                                                              RC        100
                                                                                                                                                                   (Continued Next Page)
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                                                                                                                                               GeoLogic,LLC                                                                                               BORING NUMBER B-3
                                                                                                                                               600 Lovinggood Trail                                                                                                                          PAGE 2 OF 3
                                                                                                                                               Woodstock, GA 30189
                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                          PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                          PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                          SPT N VALUE




                                                                                                                                                                                                                   SAMPLE TYPE




                                                                                                                                                                                                                                                                        DRY UNIT WT.
                                                                                                                                                                                                                                 RECOVERY %




                                                                                                                                                                                                                                                          POCKET PEN.
                                                                                                                                                                                                                                                                                       20   40    60  80




                                                                                                                                                                                                                                              (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                     NUMBER




                                                                                                                                                                                                                                               COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                        PL     MC    LL




                                                                                                                                                                                                                                                BLOW
                                                                                                                                                                                                                                    (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                            (pcf)
                                                                                                                                                                                                                                                              (tsf)
                                                                                                                                                                MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                       20   40   60   80
                                                                                                                                                                                                                                                                                       FINES CONTENT (%)
                                                                                                                            30                                                                                                                                                          20  40  60   80
                                                                                                                                              Slightly weathered to moderately weathered, [gr1: granite                   2       (63)
                                                                                                                                              undifferentiated] Granite, chlorite rich, Strong to Very Strong
                                                                                                                                              (R4-R5), fine to medium grained, with potassium feldspar and
                                                                                                                                              quartz veins, granitic texture, greenish gray (5GY 6/1) to pinkish
                                                                                                                                              gray (5YR 8/1) (continued)



                                                                                                                            35




                                                                                                                            40                                                                                          RC        100
                                                                                                                                                                                                                         3        (82)
GEOTECH BH PLOTS - GINT STD US LAB.GDT - 10/21/18 18:18 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ




                                                                                                                            45




                                                                                                                            50                                                                                          RC        100
                                                                                                                                                                                                                         4        (82)




                                                                                                                            55




                                                                                                                            60                                                                                          RC        100
                                                                                                                                                                                                                         5        (82)




                                                                                                                                                                   (Continued Next Page)
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                                                                                                                                              GeoLogic,LLC                                                                                    BORING NUMBER B-3
                                                                                                                                              600 Lovinggood Trail                                                                                                               PAGE 3 OF 3
                                                                                                                                              Woodstock, GA 30189
                                                                                                                                              Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                               PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                               PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                              SPT N VALUE




                                                                                                                                                                                                       SAMPLE TYPE




                                                                                                                                                                                                                                                            DRY UNIT WT.
                                                                                                                                                                                                                     RECOVERY %




                                                                                                                                                                                                                                              POCKET PEN.
                                                                                                                                                                                                                                                                           20   40    60  80




                                                                                                                                                                                                                                  (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                         NUMBER




                                                                                                                                                                                                                                   COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                            PL     MC    LL




                                                                                                                                                                                                                                    BLOW
                                                                                                                                                                                                                        (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                (pcf)
                                                                                                                                                                                                                                                  (tsf)
                                                                                                                                                            MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                           20   40   60   80
                                                                                                                                                                                                                                                                           FINES CONTENT (%)
                                                                                                                                                                                                                                                                            20  40  60   80
                                                                                                                            65
                                                                                                                                                                 Refusal at 15.0 feet.
                                                                                                                                                            Bottom of borehole at 65.0 feet.
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                                                                                                                                              Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                       PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                       PROJECT LOCATION East of Mayfield
                                                                                                                           DATE STARTED 10/3/18                    COMPLETED 10/3/18   GROUND ELEVATION 432 ft NGVD                                 HOLE SIZE 1 7/8" inches
                                                                                                                           DRILLING CONTRACTOR Premier Drilling, LLC                   GROUND WATER LEVELS:
                                                                                                                           DRILLING METHOD HSA-Auto Hammer/Coring                          AT TIME OF DRILLING ---
                                                                                                                           LOGGED BY BB                            CHECKED BY BB           AT END OF DRILLING ---
                                                                                                                           NOTES                                                           AFTER DRILLING ---

                                                                                                                                                                                                                                                                      SPT N VALUE




                                                                                                                                                                                               SAMPLE TYPE




                                                                                                                                                                                                                                                    DRY UNIT WT.
                                                                                                                                                                                                             RECOVERY %




                                                                                                                                                                                                                                      POCKET PEN.
                                                                                                                                                                                                                                                                   20   40    60  80




                                                                                                                                                                                                                          (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                 NUMBER




                                                                                                                                                                                                                           COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                    PL     MC    LL




                                                                                                                                                                                                                            BLOW
                                                                                                                                                                                                                (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                        (pcf)
                                                                                                                                                                                                                                          (tsf)
                                                                                                                                                             MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                   20   40   60   80
                                                                                                                                                                                                                                                                   FINES CONTENT (%)
                                                                                                                             0                                                                                                                                      20  40  60   80
                                                                                                                                              (SC-SM) Overburden




                                                                                                                             5
GEOTECH BH PLOTS - GINT STD US LAB.GDT - 10/21/18 18:18 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ




                                                                                                                            10




                                                                                                                            15




                                                                                                                            20




                                                                                                                            25




                                                                                                                            30
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                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                           PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                           PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                            SPT N VALUE




                                                                                                                                                                                                                     SAMPLE TYPE




                                                                                                                                                                                                                                                                          DRY UNIT WT.
                                                                                                                                                                                                                                   RECOVERY %




                                                                                                                                                                                                                                                            POCKET PEN.
                                                                                                                                                                                                                                                                                         20   40    60  80




                                                                                                                                                                                                                                                (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                       NUMBER




                                                                                                                                                                                                                                                 COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                          PL     MC    LL




                                                                                                                                                                                                                                                  BLOW
                                                                                                                                                                                                                                      (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                              (pcf)
                                                                                                                                                                                                                                                                (tsf)
                                                                                                                                                                MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                         20   40   60   80
                                                                                                                                                                                                                                                                                         FINES CONTENT (%)
                                                                                                                            30                                                                                                                                                            20  40  60   80
                                                                                                                                              (SC-SM) Overburden (continued)




                                                                                                                                              Highly weathered, [gr1: granite undifferentiated] Heavilty
                                                                                                                                              weathered Gneiss, missing approximately 7 feet
                                                                                                                            35



                                                                                                                                                                                                                          RC         43
                                                                                                                                                                                                                           1         (0)




                                                                                                                            40
GEOTECH BH PLOTS - GINT STD US LAB.GDT - 10/21/18 18:18 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ




                                                                                                                                              Slightly weathered Granite, Yellowsih gray (5Y 8/1), Strong to Very
                                                                                                                                              Strong (R4-R5), fine to medium grained, phaneritic, granitic texture




                                                                                                                            45

                                                                                                                                                                                                                          RC         85
                                                                                                                                                                                                                           2        (43)




                                                                                                                            50




                                                                                                                            55

                                                                                                                                                                                                                          RC        100
                                                                                                                                                                                                                           3        (44)




                                                                                                                            60




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                                                                                                                                               Telephone: 770.726.2585

                                                                                                                           CLIENT Log Creek LLLP                                                         PROJECT NAME Log Creek LLLP Tract
                                                                                                                           PROJECT NUMBER 18-007                                                         PROJECT LOCATION East of Mayfield

                                                                                                                                                                                                                                                                                            SPT N VALUE




                                                                                                                                                                                                                     SAMPLE TYPE




                                                                                                                                                                                                                                                                          DRY UNIT WT.
                                                                                                                                                                                                                                   RECOVERY %




                                                                                                                                                                                                                                                            POCKET PEN.
                                                                                                                                                                                                                                                                                         20   40    60  80




                                                                                                                                                                                                                                                (N VALUE)
                                                                                                                                    GRAPHIC




                                                                                                                                                                                                                       NUMBER




                                                                                                                                                                                                                                                 COUNTS
                                                                                                                           DEPTH




                                                                                                                                                                                                                                                                                          PL     MC    LL




                                                                                                                                                                                                                                                  BLOW
                                                                                                                                                                                                                                      (RQD)
                                                                                                                                      LOG




                                                                                                                                                                                                                                                                              (pcf)
                                                                                                                                                                                                                                                                (tsf)
                                                                                                                                                                MATERIAL DESCRIPTION
                                                                                                                             (ft)




                                                                                                                                                                                                                                                                                         20   40   60   80
                                                                                                                                                                                                                                                                                         FINES CONTENT (%)
                                                                                                                                                                                                                                                                                          20  40  60   80
                                                                                                                            65                Slightly weathered Granite, Yellowsih gray (5Y 8/1), Strong to Very
                                                                                                                                              Strong (R4-R5), fine to medium grained, phaneritic, granitic texture
                                                                                                                                              (continued)                                                                 RC        100
                                                                                                                                                                                                                           4        (46)




                                                                                                                            70




                                                                                                                            75
GEOTECH BH PLOTS - GINT STD US LAB.GDT - 10/21/18 18:18 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ




                                                                                                                                                                                                                          RC        100
                                                                                                                                                                                                                           5        (47)




                                                                                                                            80




                                                                                                                            85

                                                                                                                                                                                                                          RC        100
                                                                                                                                                                                                                           6        (42)




                                                                                                                            90


                                                                                                                                                                    Refusal at 33.0 feet.
                                                                                                                                                               Bottom of borehole at 91.0 feet.
                                                                                                                                            2018 CARRYOVER          ATTACHMENT
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                                                                                                                                                                                                             574 of 666




                                                                                                                                                                  GeoLogic,LLC
                                                                                                                                                                                                                                 SUBSURFACE DIAGRAM         Bedrock           USCS Clayey Sand
                                                                                                                                                                  600 Lovinggood Trail                                               Cross Section A-A'
                                                                                                                                                                  Woodstock, GA 30189
                                                                                                                                                                  Telephone: 770.726.2585
                                                                                                                                        CLIENT Log Creek LLLP                                           PROJECT NAME Log Creek LLLP Tract
                                                                                                                                        PROJECT NUMBER 18-007                                           PROJECT LOCATION East of Mayfield


                                                                                                                                                            0                         200   400   600   800                  1,000               1,200    1,400       1,600                  1,800     2,000

                                                                                                                                                      520                                                                                                                                                      520
                                                                                                                                                            B-2




                                                                                                                                                                                                        B-1
                                                                                                                                                      500                                                                                                                                                      500




                                                                                                                                                      480                                                                                                                                                      480
STRATIGRAPHY & GW - B SIZE - GINT STD US LAB.GDT - 10/21/18 17:33 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ




                                                                                                                                                      460                                                                                                                                                      460
                                                                                                                                     Elevation (ft)




                                                                                                                                                      440                                                                                                                                                      440

                                                                                                                                                                                                                                                                                                     B-4




                                                                                                                                                      420                                                                                                                                                      420




                                                                                                                                                      400                                                                                                                                                      400




                                                                                                                                                      380                                                                                                                                                      380




                                                                                                                                                      360                                                                                                                                                      360




                                                                                                                                                      340                                                                                                                                                      340
                                                                                                                                                            0                         200   400   600   800                  1,000               1,200    1,400       1,600                  1,800     2,000


                                                                                                                                                                                                                  Distance Along Baseline (ft)
                                                                                                                                            2018 CARRYOVER          ATTACHMENT
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                                                                                                                                                                                                             575 of 666




                                                                                                                                                                  GeoLogic,LLC
                                                                                                                                                                                                                                       SUBSURFACE DIAGRAM              Bedrock           USCS Clayey Sand
                                                                                                                                                                  600 Lovinggood Trail                                                     Cross Section B-B'
                                                                                                                                                                  Woodstock, GA 30189
                                                                                                                                                                  Telephone: 770.726.2585
                                                                                                                                        CLIENT Log Creek LLLP                                                 PROJECT NAME Log Creek LLLP Tract
                                                                                                                                        PROJECT NUMBER 18-007                                                 PROJECT LOCATION East of Mayfield


                                                                                                                                                            0                    200        400   600   800     1,000              1,200               1,400   1,600             1,800   2,000              2,200         2,400

                                                                                                                                                      520                                                                                                                                                                         520




                                                                                                                                                                                                                        B-1
                                                                                                                                                      500                                                                                                                                                                         500



                                                                                                                                                                                                                                                                                                                    B-3


                                                                                                                                                      480                                                                                                                                                                         480
STRATIGRAPHY & GW - B SIZE - GINT STD US LAB.GDT - 10/21/18 17:38 - F:\GEOLOGIC LLC\LOG CREEK LLLP\18-007 LOG CREEK LLLP TRACT.GPJ




                                                                                                                                                      460                                                                                                                                                                         460
                                                                                                                                     Elevation (ft)




                                                                                                                                                      440                                                                                                                                                                         440

                                                                                                                                                            B-4




                                                                                                                                                      420                                                                                                                                                                         420




                                                                                                                                                      400                                                                                                                                                                         400




                                                                                                                                                      380                                                                                                                                                                         380




                                                                                                                                                      360                                                                                                                                                                         360




                                                                                                                                                      340                                                                                                                                                                         340
                                                                                                                                                            0                    200        400   600   800     1,000              1,200               1,400   1,600             1,800   2,000              2,200         2,400


                                                                                                                                                                                                                        Distance Along Baseline (ft)
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     Attachment 5: Rock Cores – Photo Logs (4)
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                            Rock Cores - Photograph Log
                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
                              GeoLogic Project Number 18-007

                                Rock Core - Boring B-1


     Top: 0’




                                                                 Bottom:
                                                                  30.0’
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                            Rock Cores - Photograph Log
                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
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                                Rock Core - Boring B-1

    Top: 30.0’




                                                                  Bottom:
                                                                   60.0’
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                             Rock Cores - Photograph Log
                                     Log Creek LLLP Tract
                              Warrenton, Warren County, Georgia
                               GeoLogic Project Number 18-007

                                 Rock Core - Boring B-1
Top: 60.0’




                                                                   Bottom:
                                                                    90.0’
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                            Rock Cores - Photograph Log
                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
                              GeoLogic Project Number 18-007

                                Rock Core - Boring B-1
    Top: 90.0’




                                                                  Bottom:
                                                                   120.0’
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                            Rock Cores - Photograph Log
                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
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                                Rock Core - Boring B-1
   Top: 120.0’




                                                                  Bottom:
                                                                   150.0’
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                            Rock Cores - Photograph Log
                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
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                                Rock Core - Boring B-2

   Top: 54.0’




                                                                  Bottom:
                                                                   81.0’
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                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
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                                Rock Core - Boring B-2

   Top: 81.0’




                                                                  Bottom:
                                                                   111.0’
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                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
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                                Rock Core - Boring B-2

   Top: 111.0’




                                                                  Bottom:
                                                                   141.0’
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                            Rock Cores - Photograph Log
                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
                              GeoLogic Project Number 18-007

                                Rock Core - Boring B-3

   Top: 15.0’




                                                                   Bottom:
                                                                    45.0’
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                            Rock Cores - Photograph Log
                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
                              GeoLogic Project Number 18-007

                                Rock Core - Boring B-3

   Top: 45.0’




                                                                   Bottom:
                                                                    65.0’
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                             Rock Cores - Photograph Log
                                     Log Creek LLLP Tract
                              Warrenton, Warren County, Georgia
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                                 Rock Core - Boring B-4

Top: 33.0’




                                                                   Bottom:
                                                                    61.0’
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                            Rock Cores - Photograph Log
                                    Log Creek LLLP Tract
                             Warrenton, Warren County, Georgia
                              GeoLogic Project Number 18-007

                                Rock Core - Boring B-4

   Top: 61.0’




                                                                   Bottom:
                                                                    91.0’
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     Attachment 6: Results of Laboratory Testing
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     October 19, 2018


     Benjamin R. Black
     Principal Geologist
     GeoLogic, LLC
     600 Lovinggood Trail                                       Phone: (770) 726-2585
     Woodstock, GA 30189                                        Email: Benjamin.black@geologicllc.com



     Subject:          Log Creek LLLP Tract Rock Cores
                       TEC Services Project No: TEC 18-1465
                       TEC Services Laboratory No: 18-1151


     Dear Mr. Black:

     Testing, Engineering and Consulting Services, Inc. (TEC Services) is an AASHTO R18, ANS/ISO/IEC
     17025:2005, and Army Corps of Engineers accredited laboratory. TEC Services is pleased to submit this
     report for the testing performed on the delivered rock core samples labeled as Log Creek LLLP Rock Cores
     by GeoLogic, LLC. Our services were performed in accordance with our service agreement (TEC-PRO 18-
     1465) dated July 17, 2018. All test results pertain only to the samples tested.

     Nine boxes of rock cores were received on October 10, 2018. The rock core samples were identified as
     Log Creek LLLP Tract Hole B-1 (40.0 – 70.0’), Hole B-1 (120.0’ –140.0’), Hole B-2 (121.0’-131.0’), Hole
     B-3 (45.0’-55.0’) and Hole 4B-12 (71.0’-81.0’). TEC Services was instructed to test core depths of (40.0’-
     70.0’) from B-1 as Sample 1, core depths of (120.0’- 140.0’) from B-1 as Sample 2 and to test the combined
     depths of B-2, B-3 and B-4 as Sample 3. The core samples were crushed in a jaw type crusher at TEC
     Services. Pictures of rock cores after crushing and before testing are attached to this report. The crushed
     rock core samples were then sieved in order to separate the coarse aggregate from the fine aggregate. All
     testing was performed in accordance with the following ASTM standards:


     •   ASTM C88-13          Standard Test Method for Soundness of Aggregates by Use of Sodium
                              Sulfate or Magnesium Sulfate
     •   ASTM C127-15         Standard Test Method for Density, Relative Density (Specific Gravity) &
                              Absorption of Coarse Aggregate
     •   ASTM C131-14         Standard Test Method for Resistance to Degradation of Small-Size
                              Coarse Aggregate by Abrasion and Impact in the Los Angeles Machine
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     •   ASTM C142-17       Standard Test Method for Clay Lumps and Friable Particles in
                            Aggregates.


     Absorption and Specific Gravity
     Absorption and specific gravity were determined in accordance with ASTM C127. Test results are
     reported in Table 1. Photos of the aggregate used to perform ASTM C127 are shown in Figures 1 - 3.

                                 Table 1 – Absorption and Specific Gravity Results

                                        Bulk       Bulk                  Density
                                                             Apparent                Density       Apparent
                      Absorption       Specific   Specific                Oven
         Sample ID                                            Specific                SSD           Density
                         (%)           Gravity    Gravity                  Dry
                                                              Gravity                (lb/ft3)       (lb/ft3)
                                         Dry       SSD                   (lb/ft3)
         Sample 1         0.39          2.622      2.633       2.650      163.3       163.9          165.0
         Sample 2         0.45          2.630      2.642       2.662      163.8       164.5          165.8
         Sample 3         0.58          2.622      2.637       2.662      163.2       164.2          165.8


                                  Figure 1 ASTM C127 (Sample 1)




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                               Figure 2 ASTM C127 (Sample 2)




                               Figure 3 ASTM C127 (Sample 3)




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     Soundness
     Soundness testing was performed in accordance with ASTM C88. The purpose of the testing was to
     determine the soundness of the aggregate when subjected to weathering action in concrete or other
     applications by a saturated solution of magnesium sulfate and sodium sulfate. This was accomplished by
     five repeated immersions in a saturated solution of magnesium sulfate (specific gravity = 1.302) followed
     by oven drying to partially or completely dehydrate the salt precipitated in permeable pore spaces. The
     results of the soundness testing are reported in Tables 2 - 4. Photos of the aggregate used to perform ASTM
     C88 are shown in Figures 4 - 6.

                                    Table 2 - Magnesium Sulfate Soundness – Sample 1

                                                                      Mass of         Mass of
                                                 Grading of                                          % Passing
                                                                       Test            Test
                                                  Original                                           Designated      Weighted
                   Sieve Size                                        Fractions       Fractions
                                                  Sample                                             Sieve After     % Loss
                                                                      Before           After
                                                (% Retained)                                            Test
                                                                      Test (g)        Test (g)
        11/2 to 1 in (37.5 to 25.0 mm)                50.6            1,000.4          995.9              0.4           0.2
           25.0 to 19.0 mm (1 to ¾)                   15.2             500.0           486.7              2.7           0.4
         19.0 to 12.5 mm (¾ to ½ in)                   8.2             670.0           664.3              0.9           0.1
          12.5 to 9.5 mm (½ to ⅜ in)                   2.3             325.3           317.3              2.5           0.1
           9.5 to 4.75 mm (⅜ to #4)                    3.3             300.3           283.7              5.5           0.2
     * The weighted loss was determined from the grading created from the crushing process at our facility.
                                    Table 3 - Magnesium Sulfate Soundness – Sample 2

                                                                      Mass of         Mass of
                                                 Grading of                                          % Passing
                                                                       Test            Test
                                                  Original                                           Designated      Weighted
                   Sieve Size                                        Fractions       Fractions
                                                  Sample                                             Sieve After     % Loss
                                                                      Before           After
                                                (% Retained)                                            Test
                                                                      Test (g)        Test (g)
        11/2 to 1 in (37.5 to 25.0 mm)                42.3            1,010.3         1,007.9             0.2           0.1
           25.0 to 19.0 mm (1 to ¾)                   17.9             503.4           500.9              0.5           0.1
         19.0 to 12.5 mm (¾ to ½ in)                   8.2             670.3           610.3              9.0           0.8
          12.5 to 9.5 mm (½ to ⅜ in)                   2.7             330.4           291.5              11.8          0.3
           9.5 to 4.75 mm (⅜ to #4)                    4.2             300.0           262.1              12.6          0.5
     * The weighted loss was determined from the grading created from the crushing process at our facility.
                                    Table 4 - Magnesium Sulfate Soundness – Sample 3

                                                                      Mass of         Mass of
                                                 Grading of                                          % Passing
                                                                       Test            Test
                                                  Original                                           Designated      Weighted
                   Sieve Size                                        Fractions       Fractions
                                                  Sample                                             Sieve After     % Loss
                                                                      Before           After
                                                (% Retained)                                            Test
                                                                      Test (g)        Test (g)
        11/2 to 1 in (37.5 to 25.0 mm)                45.5            1,010.2         1,001.6             0.9           0.4
           25.0 to 19.0 mm (1 to ¾)                   16.7             507.0           495.8              2.2           0.4
         19.0 to 12.5 mm (¾ to ½ in)                   8.0             670.2           656.8              2.0           0.2
          12.5 to 9.5 mm (½ to ⅜ in)                   2.6             330.2           310.7              5.9           0.2
           9.5 to 4.75 mm (⅜ to #4)                    3.7             300.5           268.8              10.5          0.4
     * The weighted loss was determined from the grading created from the crushing process at our facility.




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          Figure 4                Before ASTM C88          After ASTM C88
          Sample 1                     Testing                  Testing
      Figures 4a and b. Before
      and after photographs of
      aggregate, subjected to
      Magnesium         Sulfate
      Soundness




          Figure 5                Before ASTM C88          After ASTM C88
          Sample 2                     Testing                  Testing
      Figures 5a and b. Before
      and after photographs of
      aggregate, subjected to
      Magnesium         Sulfate
      Soundness




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          Figure 6                 Before ASTM C88                          After ASTM C88
          Sample 3                      Testing                                  Testing
      Figures 6a and b. Before
      and after photographs of
      aggregate, subjected to
      Magnesium         Sulfate
      Soundness




     LA Abrasion
     The L.A. Abrasion testing was performed in accordance with ASTM C131. The crushed rock cores were
     sieved and recombined to obtain a Grading A. The results of the L.A. Abrasion testing are reported in
     Tables 5 - 7. Photos of the aggregate used to perform ASTM 131 are shown in Figures 7 - 9.

                                  Table 5 – LA Abrasion (Grading A) – Sample 1

                                                             Grading A
                   Passing          Retained on                                   Test Sample Size (g)
                                                          Requirements (g)
         37.5 mm (11/2 in)        25.0 mm (1in.)             1,250 ± 25                 1,252.5
          25.0 mm (1in.)          19.0 mm ( /4 in)
                                           3
                                                             1,250 ± 25                 1,253.0
          19.0 mm (3/4 in)        12.5 mm ( /2 in)
                                           1
                                                             1,250 ± 10                 1,250.6
          12.5 mm (1/2 in)        9.5 mm ( /8 in)
                                          3
                                                             1,250 ± 10                 1,250.4
                                               Total         5,000 ± 10                 5,006.5
                                                     Retained on #12 after Test         2,805.0
                                                                 Percent Loss             44




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                                  Table 6 – LA Abrasion (Grading A) – Sample 2

                                                              Grading A
                  Passing            Retained on                                   Test Sample Size (g)
                                                           Requirements (g)
         37.5 mm (11/2 in)         25.0 mm (1in.)             1,250 ± 25                 1,251.0
          25.0 mm (1in.)           19.0 mm (3/4 in)           1,250 ± 25                 1,253.5
          19.0 mm (3/4 in)         12.5 mm ( /2 in)
                                            1
                                                              1,250 ± 10                 1,250.3
          12.5 mm (1/2 in)         9.5 mm ( /8 in)
                                           3
                                                              1,250 ± 10                 1,250.6
                                                Total         5,000 ± 10                 5,005.4
                                                      Retained on #12 after Test         2,825.6
                                                                  Percent Loss             44


                                  Table 7 – LA Abrasion (Grading A) – Sample 3

                                                              Grading A
                  Passing            Retained on                                   Test Sample Size (g)
                                                           Requirements (g)
         37.5 mm (11/2 in)         25.0 mm (1in.)             1,250 ± 25                 1,253.7
          25.0 mm (1in.)           19.0 mm ( /4 in)
                                            3
                                                              1,250 ± 25                 1,250.8
          19.0 mm (3/4 in)         12.5 mm (1/2 in)           1,250 ± 10                 1,250.1
          12.5 mm (1/2 in)         9.5 mm ( /8 in)
                                           3
                                                              1,250 ± 10                 1,251.7
                                                Total         5,000 ± 10                 5,006.3
                                                      Retained on #12 after Test         2,991.0
                                                                  Percent Loss             40



          Figure 7 Sample 1                              After ASTM C131 Testing
      Figure 7 after photograph of aggregate,
      subjected to LA Abrasion




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          Figure 8 Sample 2                            After ASTM C131 Testing
      Figure 8 after photograph of aggregate,
      subjected to LA Abrasion




          Figure 9 Sample 3                            After ASTM C131 Testing
      Figure 9 after photograph of aggregate,
      subjected to LA Abrasion




     Clay Lumps and Friable Particles
     Testing for clay lumps and friable particles were determined in accordance with ASTM C142. Test results
     are reported in Tables 8 - 10. Photos of the aggregate used to perform ASTM 142 are shown in Figures 10
     - 12.




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                             Table 8 – Clay Lumps and Friable Particles - Sample 1

                                             Grading of                         % Passing
                                                            Mass of Test                      Weighted
        Size of Particles Making Up           Original                         Designated
                                                             Fractions                        Percent
                  Sample                      Sample                           Sieve After
                                                           Before Test (g)                     Loss
                                            (% Retained)                           Test
                    Over 1 1/2                  14.2             5,021.8           0.1          0.0
       1 1/2 to 3/4 in (37.5 to 19.0 mm)        65.8             3,012.1           0.1          0.1
         ¾ to ⅜ in (19.0 to 9.5 mm)             10.5             2,010.1           0.1          0.0
         ⅜ to No. 4 (9.5 to 4.75 mm)            3.3              1,028.8           0.4          0.0
                                                                      Total Weighted % Loss     0.1


                             Table 9 – Clay Lumps and Friable Particles - Sample 2

                                             Grading of                         % Passing
                                                            Mass of Test                      Weighted
        Size of Particles Making Up           Original                         Designated
                                                             Fractions                        Percent
                  Sample                      Sample                           Sieve After
                                                           Before Test (g)                     Loss
                                            (% Retained)                           Test
                  Over 1 1/2                    18.0             5,074.5           0.1          0.0
       1 /2 to /4 in (37.5 to 19.0 mm)
         1     3
                                                60.2             3,027.5           0.1          0.1
        ¾ to ⅜ in (19.0 to 9.5 mm)              10.9             2,001.8           0.2          0.0
        ⅜ to No. 4 (9.5 to 4.75 mm)             4.2              1,033.6           0.2          0.0
                                                                      Total Weighted % Loss     0.1


                            Table 10 – Clay Lumps and Friable Particles - Sample 3

                                             Grading of                         % Passing
                                                            Mass of Test                      Weighted
        Size of Particles Making Up           Original                         Designated
                                                             Fractions                        Percent
                  Sample                      Sample                           Sieve After
                                                           Before Test (g)                     Loss
                                            (% Retained)                           Test
                    Over 1 1/2                  17.3             5,069.2           0.1          0.0
       1 1/2 to 3/4 in (37.5 to 19.0 mm)        62.2             3,015.0           0.1          0.1
         ¾ to ⅜ in (19.0 to 9.5 mm)             10.6             2,030.6           0.2          0.0
         ⅜ to No. 4 (9.5 to 4.75 mm)            3.7              1,011.2           0.5          0.0
                                                                      Total Weighted % Loss     0.1




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                               Figure 10 ASTM C142 (Sample 1)




                               Figure 11 ASTM C142 (Sample 2)




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                                 Figure 12 ASTM C142 (Sample 3)




     We appreciate the opportunity to provide our services to you on this project. Should you have any questions
     or comments regarding this report, please feel free to contact us at your convenience.

     Sincerely,

     TESTING, ENGINEERING, AND CONSULTING SERVICES, INC.




     Brian Smith                                                               Steven Maloof
     Project Manager                                                           Project Manager

     Attachments: Photos 1 - 3




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                                        Photo 1: Sample 1 as Received




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                                        Photo 2: Sample 2 as Received




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                                        Photo 3: Sample 3 as Received




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     19.2   Appendix B Addendum to October 2018 report - Ecological
            Survey, Mine Plan, and Permit Applications
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                                       TECHNICAL MEMORANDUM


     TO:             Mr. Tony Townley, as Manager for Log Creek LLLP
                     1280 Snows Mill Road
                     Bogart, Georgia 30622

     FROM:           GeoLogic, LLC
                     Benjamin Black, PE, PG

     DATE:           February 25, 2022


     SUBJECT:        Ecological Survey, Mine Plans, and Permit Applications
                     Norris Cason
                     Ogeechee River Road and Timber Road
                     Warren County, Georgia


     In an effort to ensure that all aspects of the above-referenced project were accurate and in compliance
     with all applicable codes, rules, and laws, GeoLogic was retained to make additional inquiries regarding
     delineation of wetlands at the request of the Townley family. In addition, GeoLogic completed a detailed
     analysis and surface mine planning and design, feasibility analysis, and rail access to the proposed quarry.

     A summary of these additional efforts is outlined in the following technical memorandum and
     attachments. Please note that the ecological survey documented the conditions on the property at the
     time of the report; these conditions may change over time.

     ECOLOGICAL SURVEY

     The following is a summary of findings from field investigations of state and federal waters, protected
     species habitat identified by the GeoLogic/Woodard & Curran team, and preliminary desktop reviews on
     the approximately 240-acre Norris Cason property (“the study area”) during the on-site ecological field
     survey conducted from October 12 to 13, 2020 and October 15 to 16, 2020.

     Waters of the US Assessment: Areas within the study area were classified as wetlands and flagged in the
     field if they exhibited evidence of all three of the following wetland parameters: hydrophytic vegetation,
     hydric soils, and wetland hydrology. Areas were classified as stream channels if they exhibited a defined
     bed and bank, discernible ordinary high-water mark (OHWM), substrate differentiation, and evidence of
     groundwater contribution and base flow at times other than storm events. Open waters determinations
     were based upon the presence of an OHWM.

     Field studies identified the presence of five (5) wetlands, none of which is classified as a state buffered
     feature; and seven (7) warm water streams, all classified as buffered waters of the state (25’ buffer),
     within the study area. One (1) of the seven streams (Stream 3) has an intermittent component and a
     perennial component. No trout waters, open waters, USACE Section 10 regulated (i.e., navigable) waters,
     tidal wetlands, or non-jurisdictional features were identified within the study area.

           Geological Consulting, Mining and Quarry Evaluations, and Engineering Geology
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     The approximate extents of waters and wetlands were determined using in-house research based on
     evaluation and data synthesis of the following documents: USGS 7.5-minute quadrangle topographic
     maps; USDA-NRCS Web Soil Survey for Warren County, Georgia; USGS National Hydrography Dataset; U.S.
     Fish and Wildlife Service (USFWS) National Wetland Inventory (NWI) maps; Aerial photography, as
     provided by ESRI World Imagery base maps; Field maps and notes taken by GeoLogic and Woodard &
     Curran personnel.

     The field delineation and associated mapping does not include gullies, rills, non-wetland swales,
     ephemeral channels, or other wet weather conveyance features that are not defined as Waters of the US
     (WOTUS) by USACE nor as buffered state waters by Georgia Environmental Protection Division (GA EPD).

     Protected Species Habitat Assessment: Pedestrian surveys of the study area were conducted to
     determine the potential presence of any species classified as federally threatened or endangered, or their
     suitable habitat, within the project county. It was determined that four federally protected species have
     a likelihood of occurring within the project county: the endangered Atlantic sturgeon, the endangered
     Harperella, the threatened little amphianthus, and the endangered mat-forming quillwort. No protected
     species habitat was identified within the study area at the time of the field survey. No protected species
     habitat was identified within the areas to be mined. The threatened little amphianthus and the
     endangered mat-forming quillwort are covered by the Georgia Granite Outcrop Plants EDGES (Effects
     Determination Guidance for Endangered & Threatened Species), with no applicable EDGES effects
     determinations for the study area.

     A list of threatened and endangered species for the project county was obtained from the USFWS
     Information Planning and Conservation (IPaC) System and the Georgia Department of Natural Resources
     Biodiversity Portal online database. The USACE and USFWS jointly developed Effects Determination
     Guidance for Endangered & Threatened Species (EDGES) methodology was analyzed for the project study
     area.

     Environmental Permitting: Where future planned activities will disturb greater than one acre, a National
     Pollutant Discharge Elimination System (NPDES) construction stormwater permit will be required. Under
     the NPDES permit, encroachment into state buffers within the study area may require a state waters
     buffer variance (SBV) based on the Georgia Erosion and Sedimentation Act (GESA) of 1975 and the
     applicable state buffer rules. In our opinion there is a strong likelihood that that referenced project would
     be granted any necessary NPDES permits.

     If impacts to jurisdictional waters and/or wetlands cannot be avoided during prospective land
     development, then impacts resulting from project land-disturbing activities may be authorized under a
     USACE Section 404 Nationwide Permit (NWP) or Individual Permit (IP) depending on the amount and type
     of impacts. A compensatory mitigation plan may also be required for impacts to jurisdictional waters
     and/or wetlands.

     NWP 44 authorizes mining activities provided they adhere to the USACE general and regional conditions
     that apply to the NWPs at the specific time the permit is issued by the USACE. In 2018, NWP 44 was issued
     under the 2017 NWP program, which had specific general and regional conditions as well as thresholds
     for impact of up to 300 linear feet of intermittent or perennial stream bed and up to 0.5 acre of wetlands.



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     Under the designed surface mine plan for the site, an IP will not be required as there will be no impact to
     wetlands greater than ½ acre.

     A copy of the Ecological Report is included in Attachment A.

     SURFACE MINE PLANNING

     The resource and reserve estimates outlined in the Report of Preliminary Subsurface Exploration,
     Geological Evaluation, and Resource and Reserve Estimate dated October 25, 2018 were based on a
     theoretical quarry layout that covered approximately 70-acres; however, detailed surface mine plans
     were not prepared as part of that deliverable. As requested, GeoLogic developed detailed surface mine
     plans in order to confirm the feasibility of constructing an aggregate quarry on the property and to
     estimate the quantity of aggregate resource and mineable reserves.

     In order to calculate the resource and reserve estimates for the aggregate quarry, GeoLogic used a
     volumetric (three-dimensional [3D]) approach to estimate the quantities of material that are available to
     be mined from the quarry. This approach is appropriate based on the assumption that the majority of
     available mineral reserves will be mined and sold as aggregate. The use of other approaches (e.g.,
     polygonal methods, geostatistical analysis) are not appropriate based on the type of material that is being
     mined.

     To develop the geological and mine planning model, GeoLogic utilized AutoCAD Civil 3D 2021 to create
     “surfaces” within the model that are used to delineate material (e.g., overburden and bedrock) at
     different elevations and locations based on the topography and material properties of the site. The quarry
     is then designed based on the overburden thickness, location and extent of setbacks, access road(s), haul
     road(s), etc. to create a mine layout that will yield the maximum quantity of material to be mined. Not all
     material that is present in the subsurface is mineable due to setbacks, pit slope angles, haul roads, mine
     geometry and other factors. Additionally, some loss of material is expected during drilling, blasting,
     excavation, crushing, washing, and screening. Losses of these types may range from 5-percent to 20-
     percent or more 1. For purposes of this analysis, this was estimated at 15-percent inclusive of all potential
     sources of loss.

     Based on current site limitations, it was determined that an overall pit area of 68-acres was feasible.
     Constraints that dictated the maximum lateral extent of the pit included the presence of wetlands, creeks,
     wet-weather ditches, setbacks from these features, a 100-foot setback from property boundaries,
     overburden storage, and placement of the new railroad loading facility.

     Taking into consideration these constraints, the site’s topography, and the subsurface geology, GeoLogic
     then calculated the quantity of overburden material to be stripped and the in-place quantity of mineable
     material on a top of bench-by-bench basis. For this analysis, overburden thickness was calculated to be
     approximately 26 feet, which yielded approximately 2.3 million cubic yards of overburden. Overburden


     1
       Barksdale, R. D. (Ed.). (2013). Aggregate Handbook (Second Edition), National Stone, Sand & Gravel Association (editor: Richard D. Barksdale),
     Alexandria, Virginia.
     Norris Cason Tract                                                                                                   Technical Memorandum
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     will be used to create the plant site and rail access/loading facility with the remainder being stored on site
     for use in reclamation, or sale as fill material.

     The total estimated mineable reserves in the proposed quarry were calculated to be 50 million tons of
     rock. As noted, GeoLogic analyzed the mine plan to determine the quantity of mineable material on a top
     of bench-by-bench basis. The first top of bench in the proposed mine is the 450-foot bench level (BL),
     with each successive bench being mined 50 feet below the previous bench. The mine plan, as designed,
     assumes that the top of each bench will be 40 feet wide and will be 50 feet tall with a 1.5-percent back
     slope to catch and direct surface water to the pit for collection, treatment, and reuse as part of the
     aggregate production process. The bench face angle was kept constant across the mine at ¼ to 1 (76-
     degree slope).

     As part of the design, it was assumed that a highwall on two to three sides of the quarry will be developed
     as each successive bench level is mined down. The mine design assumed that the pit would be mined
     down to the 150-foot BL for a total mined depth of 300 feet of material. This assumption is reasonable
     based on the subsurface rock profile found during drilling and geological information for quarries in the
     area surrounding the site.

     Figure 1.1 below (excerpt from The 2017 SME Guide for Reporting Exploration Results, Mineral
     Resources, and Mineral Reserves) depicts the relationship between resource and reserves based on
     increasing level of geoscientific knowledge and confidence.




                 Figure 1.1 – 2017 SME Guide for Reporting Exploration Results, Mineral Resources, and Mineral Reserves.




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     Sheet C-01 (Master Plan) summarizes the quantity of rock and overburden based on the mine plan.
     Table 1 (on the following page) summarizes the estimated resource and reserves (based on a 68-acre
     maximum pit size) for the aggregate stone quarry.



                                         Description                            Quantity


                          Approximate Overburden (cubic yards)                  2,290,000
                               Measured Resource (short tons)                  36,478,015
                                Indicated Resource (short tons)                48,637,354
                                  Total Resource (short tons)                  85,115,369
                                 Proven Reserve (short tons)                   31,006,313
                                Probable Reserve (short tons)                  41,341,751
                              Total In-Place Reserve (short tons)              72,348,063
                                Mineable Reserve (short tons)*                 50,000,000
                      Table 1 – Reserve Estimate (Aggregate)

     *The In-Place Reserve and Mineable (Proven) Reserve outlined in Table 1 is based on a quarry depth of 300 feet
     inclusive of bench levels 450 to 150 feet. The overall mine plan was assumed to a depth of 300 feet, thus the
     Mineable Reserve of 50,000,000 tons as shown on Sheet C-01 of the surface mine plans (if the quarry were
     extended to the top of the 150-foot bench level). This estimate includes both measured and indicated reserves.


     Figure 1 in Attachment B depicts the typical bench level detail for the quarry, as currently designed. Mineable
     quantities of aggregate, per bench level are summarized in Table 2. Sheet C-07 in the attached Surface
     Mining Land Use Plans depict the summary of reserves for each bench level.

                                         Description                            Quantity


                                         450-foot BL                           10,410,000
                                         400-foot BL                            9,530,000
                                         350-foot BL                            8,690,000
                                         300-foot BL                            7,880,000
                                         250-foot BL                            7,110,000
                                         200-foot BL                            6,380,000
                              Total Mineable Reserve (short tons)              50,000,000
                      Table 2 – Mineable Reserve Estimate (by BL)



     Revised surface mine plans are found in Attachment B.

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     RAILROAD ACCESS DESIGN

     As part of the design process, GeoLogic developed a detailed railroad access plan for connecting the site
     to the local CSX Transportation, Inc. (CSX) railroad mainline that runs parallel to the site on the north side
     of the property. The rail access also allows for approximately two-miles of track to be used as part of the
     rail loadout facility on the property. The design incorporates all requirements of CSX for the slope and
     grade of the line to allow for safe and efficient loading of the railcars.

     Sheets C-08 through C-13 and Sheets C-21 and C-22 depict the layout, sections, and CSX details for the
     railroad design.

     PERMIT APPLICATIONS

     As defined in the Georgia Surface Mining Act, several different permits are required to be prepared along
     with the Surface Mine Land Use Permit and Plans. These permits include: NPDES (Stormwater and
     Industrial), Air Quality Permit, Groundwater Extraction Permit, and Wastewater Discharge Permit.

     The permits outlined previously are found in Attachment C.

     COMPLIANCE CERTIFICATION

     The resume for Benjamin R. Black, PE, PG is included in Attachment D. Compensation for consultation
     and testimony performed by Benjamin R. Black, PE, PG, and other supporting staff at GeoLogic, LLC was
     performed on an hourly basis at the rates outlined in the Unit Rate Sheet 2021. This rate sheet covers all
     rates for all staff engaged by GeoLogic, LLC and are the same rates offered to all clients of GeoLogic, LLC.
     Any work performed by subconsultants was done so at their cost plus a 20-percent markup.




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                                                          Technical Memorandum


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                                                                                 (770) 679-7032
                DRIVE RESULTS                        Duluth, Georgia 30097                                    F (770) 396-0095
                                                     www.woodardcurran.com




               MEMORANDUM
               TO:           Mr. Benjamin Black
                             Owner/Principal Geological Engineer
                             GeoLogic LLC
               FROM:         Woodard & Curran
                             Reid Heaton and Will Medlin
               DATE:         October 26, 2020
               SUBJECT: Norris Cason Tract
                        Warren County, Georgia
                        Ecological Field Survey Report


               Woodard & Curran is pleased to submit this Ecological Field Survey Report for the Norris Cason Tract
               (study area) located in Warren County, Georgia. The following information is a summary of findings from
               preliminary desktop reviews, field investigations of state and federal waters, and protected species habitat
               identified within the study area.

               Project Description and Study Area
               Woodard & Curran conducted an ecological field survey of the study area on October 12 to 13, 2020 and
               October 15 to 16, 2020. The study area is approximately 241 acres in size located in the Piedmont region
               of Georgia. The study area includes planted pine woods, mixed pine-hardwood forest, early successional
               scrub-shrub forest, palustrine emergent marsh, narrow small stream floodplain forest, and several
               unpaved, dirt access roads. The ecological field survey area was performed within the entire Norris Cason
               Tract boundary provided by GeoLogic, LLC. Refer to Attachment A - Figure 1 to view the location and
               extent of the surveyed study area.

               Waters of the US Assessment
               Waters of the United States (US), including streams and wetlands, are defined by 33 CFR Part 328.3(b)
               and are protected by Section 404 of the Clean Water Act (33 USC 1344), which is administered and
               enforced in Georgia by the US Army Corps of Engineers (USACE), Savannah District. The approximate
               extents of waters and wetlands were determined using in-house research based on evaluation and
               data synthesis of the following documents:

                     •   USGS 7.5-minute quadrangle topographic maps
                     •   USDA-NRCS Web Soil Survey for Warren County, Georgia
                     •   USGS National Hydrography Dataset
                     •   U.S. Fish and Wildlife Service (USFWS) National Wetland Inventory (NWI) maps
                     •   Aerial photography, as provided by ESRI World Imagery basemaps
                     •   Field maps and notes taken by Woodard & Curran personnel
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             Wetland boundary locations were determined using the methodology described in the Regional
             Supplement to the 1987 Corps of Engineers Wetlands Delineation Manual: Eastern Mountains and
             Piedmont Region Version 2.0 (USACE 2012). The technique presented in the regional supplement
             uses a multi-parameter approach that requires positive evidence of three wetland criteria:

                   1. Hydrophytic vegetation
                   2. Hydric soils
                   3. Wetland hydrology

             Areas within project study area were classified as wetlands and flagged in the field if they exhibited
             evidence of all three of the above wetland parameters. Areas were classified as stream channels if
             they exhibited a defined bed and bank, discernible ordinary high-water mark (OHWM), substrate
             differentiation, and evidence of groundwater contribution and base flow at times other than storm
             events. Open waters determinations were based upon the presence of an OHWM. Field studies identified
             the presence of five wetlands, seven streams, and no open waters within the study area.

             Table 1 provides a list of waters and wetlands delineated within the study area. Please refer to Attachment
             A - Figure 3 for delineated Waters of the US identified within the study area.

                                                  Table 1: Delineated Waters of the US
                                   Cowardin            Drainage                     Amount of Resource           State Buffered
                Resource ID                                           8-Digit HUC
                                 Classification       Association                   in Project Study Area           Feature

                 Wetland 1          PFO1/4           Ogeechee River   03060201           0.272 acres                  No

                 Wetland 2         PEM1Ab            Ogeechee River   03060201           3.372 acres                  No

                 Wetland 3         PFO1/4A           Ogeechee River   03060201           0.255 acres                  No

                 Wetland 4         PFO1/4A           Ogeechee River   03060201           0.093 acres                  No

                 Wetland 5         PFO1/4A           Ogeechee River   03060201           0.069 acres                  No
                  Stream 1                                                            94 linear feet, 0.009
                                   R4SB56            Ogeechee River   03060201                                     Yes; 25 ft
                (Intermittent)                                                               acres
                  Stream 2                                                          1,588 linear feet, 0.146
                                   R3UB21            Ogeechee River   03060201                                     Yes; 25 ft
                 (Perennial)                                                                 acres
                  Stream 3                                                          2,022 linear feet, 0.234
                                   R3UB21            Ogeechee River   03060201                                     Yes; 25 ft
                 (Perennial)                                                                 acres
                  Stream 3                                                            18 linear feet, 0.003
                                   R4SB56            Ogeechee River   03060201                                     Yes; 25 ft
                (Intermittent)                                                               acres
                  Stream 4                                                          2,522 linear feet, 0.314
                                   R3UB21            Ogeechee River   03060201                                     Yes; 25 ft
                 (Perennial)                                                                 acres
                  Stream 5                                                           872 linear feet, 0.062
                                   R4SB432           Ogeechee River   03060201                                     Yes; 25 ft
                (Intermittent)                                                               acres
                  Stream 6                                                           315 linear feet, 0.017
                                   R3UB21            Ogeechee River   03060201                                     Yes; 25 ft
                 (Perennial)                                                                 acres
                  Stream 7                                                           192 linear feet, 0.018
                                   R4SB56            Ogeechee River   03060201                                     Yes; 25 ft
                (Intermittent)                                                               acres




                           (0233364.04)
             GeoLogic LLC (0233364.01)                                 2                                       Woodard & Curran
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             State Water Buffers
             All seven warm water streams identified during the field survey are buffered waters of the state (25 ft
             buffer). No trout waters were identified.

             Section 10 Regulated Waters
             No USACE Section 10 regulated (i.e. navigable) waters were identified during the field survey.

             Open Waters
             No open waters were identified during the field survey.
             Tidal Wetlands
             No tidal wetlands were identified during the field survey.


             Non-Jurisdictional Features
             No non-jurisdictional features were identified during the field survey. The field delineation and associated
             mapping does not include gullies, rills, non-wetland swales, ephemeral channels, or other wet weather
             conveyance features that are not defined as Waters of the U.S. (WOTUS) by USACE, nor as buffered
             state waters by Georgia Environmental Protection Division (EPD).


             Protected Species Habitat Assessment
             Under provisions of the Endangered Species Act (ESA) of 1973 (as amended), federal law
             requires that any action likely to adversely affect a species classified as federally threatened
             or endangered be subject to review by the USFWS. A list of threatened and endangered
             species for the project county was obtained from the USFWS Information Planning and
             Conservation (IPaC) System and the Georgia Department of Natural Resources Biodiversity
             Portal online database. Woodard & Curran conducted pedestrian surveys to determine the
             potential presence of listed species or suitable habitat within the project county. Upon
             conclusion of the ecological field survey, the USACE and USFWS jointly developed Effects
             Determination Guidance for Endangered & Threatened Species (EDGES) methodology was
             analyzed for the project study area. Table 2 presents federal listed threatened or endangered
             species with a likelihood to occur within the project county, the applicability of EDGES, and
             the EDGES determination (if applicable). No protected species habitat was identified within
             the project study area during the field survey.




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                                                Table 2: USFWS Protected Species
                                                            Habitat Present
              Common         Scientific                                                              Effects
                                           Federal Status within Project Study Applicable EDGES
               Name           Name                                                                Determination
                                                                  Area
                                                             Fauna
                Atlantic    Acipenser
                                            Endangered           No                 N/A               N/A
               sturgeon     oxyrinchus
                                                              Flora
                             Ptilimnium
              Harperella                    Endangered           No                 N/A               N/A
                             nodosum
                Little     Amphianthus                                         Georgia Granite
                                            Threatened           No                                   N/A
             amphianthus      pusillus                                         Outcrop Plants
             Mat-forming      Isoetes                                          Georgia Granite
                                            Endangered           No                                   N/A
               quillwort   tegetiformans                                       Outcrop Plants




             Environmental Permitting
             If future planned activities will disturb greater than one acre, a National Pollutant Discharge Elimination
             System (NPDES) construction stormwater permit will be required. Under the NPDES permit,
             encroachment into state buffers within the study area may require a state waters buffer variance (SBV)
             based on the Georgia Erosion and Sedimentation Act (GESA) of 1975 and the applicable state buffer
             rules. If impacts to jurisdictional waters and/or wetlands cannot be avoided during prospective land
             development, then impacts resulting from project land-disturbing activities may be authorized under a
             USACE Section 404 Nationwide Permit (NWP) or Individual Permit (IP) depending on the amount and
             type of impacts. A compensatory mitigation plan may be required for impacts to jurisdictional waters
             and/or wetlands.


             Access Issues
             Areas near the western boundary of the study area were flooded at the time of the field survey. Several
             beaver dams were identified in the vicinity of the flooded areas.


             Closing
             We appreciate the opportunity to perform this important work for GeoLogic, LLC. If you have questions
             concerning this document, please contact Reid Heaton at (770) 679-7221 or Will Medlin at (770) 679-
             7032.

             Sincerely,

             Woodard & Curran




             Reid Heaton                                                          William L. Medlin, PWS, ENV SP
             Ecologist                                                            Principal Ecologist


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             GeoLogic LLC (0233364.01)                                 4                                 Woodard & Curran
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             Attachment A:      Figures
             Attachment B:      Project Photographs
             Attachment C:      USACE Wetland Determination Data Forms




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                                                      Attachment A: Figures




             GeoLogic LLC (0233364.01)
                            (0233364.04)                         1            Woodard & Curran
             Wheeler
             Norris Cason
                      TractTract
                            Ecological
                                 Ecological
                                       FieldField
                                             StudyStudy
                                                   Report
                                                        Report                September
                                                                                October 2020
Figure Exported: 10/22/2020 By: cheaton Using: C:\Users\cheaton\OneDrive - Woodard & Curran\_PCFolders\Desktop\Norris Cason Desktop GIS\Report_Location - Copy.mxd   2018 CARRYOVER          ATTACHMENT
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                                                                                                                                                                                                                                                              Sources: Esri, HERE, Garmin, USGS, Intermap, INCREMENT P, NRCan, Esri
                                                                                                                                                                                                                                                              Japan, METI, Esri China (Hong Kong), Esri Korea, Esri (Thailand), NGCC, ©
                                                                                                                                                                                                                                                              OpenStreetMap contributors, and the GIS User Community

                                                                                                                                                                           Figure 1.
                                                                                                                                                                        Project Location
                                                                                                                                                                                                                                Study Area Boundary


                                                                                                                                                                                                                                                                                                                        ±
                                                                                                                                                                                                            Legend




                                                                                                                                                                          GeoLogic, LLC
                                                                                                                                                                         Norris Cason Tract
                                                                                                                                                                        Warren County, GA                                                             1 inch = 1 miles
                                                                                                                                                                                                                                                                                   0    0.25   0.5            1
                                                                                                                                                                                                                                                                                                               Miles
                                                                                                                                                                                                                                                                                                                                Project #: 233364.04
                                                                                                                                                                                                                                                                                                                                Map Created: October 2020
                                                                                                                                                                                      Third Party GIS Disclaimer: This map is for reference and graphical purposes only and should not be relied upon by third parties for any legal decisions.
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                                                                                                                                                                   Figure 2.
                                                                                                                                                                USGS Topography
                                                                                                                                                                                                                         Study Area Boundary


                                                                                                                                                                                                                                                                                                                 ±
                                                                                                                                                                                                 Legend




                                                                                                                                                                   GeoLogic, LLC
                                                                                                                                                                  Norris Cason Tract
                                                                                                                                                                 Warren County, GA                                                             1 inch = 1,000 feet
                                                                                                                                                                                                                                                                            0    250    500          1,000
                                                                                                                                                                                                                                                                                                        Feet
                                                                                                                                                                                                                                                                                                                         Project #: 233364.04
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                                                                                                                                                                                                                                                                 Stream 4                                                  Stream 7
                                                                                                                                                                                                                                                                 Perennial                                                Intermittent
                                                                                                                                                                                                 Stream 5
                                                                                                                                                                                                Intermittent


                                                                                                                                                                                    Stream 4                                                                                             Wetland 4
                                                                                                                                                                                    Perennial

                                                                                                                                                                                                                                                                                                            Wetland 5
                                                                                                                                                                                                                                              Stream 6
                                                                                                                                                                                                                                              Perennial
                                                                                                                                                                                                                                                                   Stream 6
                                                                                                                                                                                                                                                                   Perennial

                                                                                                                                                                                                                                                                                                 Stream 3
                                                                                                                                                                                                                                                                                                Intermittent
                                                                                                                                                                        Wetland 3
                                                                                                                                                                                                                                                                  Stream 3
                                                                                                                                                                                                                                                                  Perennial



                                                                                                                                                                                                                     Stream 2
                                                                                                                                                                                                                     Perennial
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                                                                                                                                                                                                                                                 Stream 1
                                                                                                                                                                                                                                                Intermittent
                                                                                                                                                                                    Wetland 2




                                                                                                                                                                                                                                                       Wetland 1


                                                                                                                                                                                                                                                                                            This map represents the boundaries of wetlands
                                                                                                                                                                                                                                                                                            and Waters of the US delineated within the project
                                                                                                                                                                                                                                                                                            study area by Woodard & Curran. These boundaries
                                                                                                                                                                                                                                                                                            have been flagged in the field and recorded using a
                                                                                                                                                                                                                                                                                            sub-meter GPS unit. These boundaries have not
                                                                                                                                                                                                                                                                                            been verified by the US Army Corps of Engineers.
                                                                                                                                                                                                                                                                                            Use of this map should be limited to preliminary
                                                                                                                                                                                                                                                                                            planning purposes only.



                                                                                                                                                                            Figure 3.                                         Study Area Boundary                         Culverts
                                                                                                                                                                 Delineated Resources Overview
                                                                                                                                                                                                                                                                  #
                                                                                                                                                                                                                                                                  0



                                                                                                                                                                                                                                                                                                                       ±
                                                                                                                                                                                                       Legend




                                                                                                                                                                                                                              Streams
                                                                                                                                                                         GeoLogic, LLC
                                                                                                                                                                                                                              State Buffers
                                                                                                                                                                        Norris Cason Tract
                                                                                                                                                                       Warren County, GA                                      Wetlands
                                                                                                                                                                                                                                                              1 inch = 700 feet
                                                                                                                                                                                                                                                                                    0    175    350           700
                                                                                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                                                                                                               Project #: 233364.04
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                                                                                                                                                                         Wetland 3
                                                                                                                                                                                                                                                                                                                                          Stream 3
                                                                                                                                                                                                                                                                                                      Stream 3                           Intermittent
                                                                                                                                                                                                                                                                                                      Perennial




                                                                                                                                                                                                                               Stream 2
                                                                                                                                                                                                                               Perennial
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                                                                                                                                                                                                                                                                               Stream 1
                                                                                                                                                                                                                                                                              Intermittent

                                                                                                                                                                                                 Wetland 2




                                                                                                                                                                                                                       Wetland 1



                                                                                                                                                                                                                                                                                           This map represents the boundaries of wetlands
                                                                                                                                                                                                                                                                                           and Waters of the US delineated within the project
                                                                                                                                                                                                                                                                                           study area by Woodard & Curran. These boundaries
                                                                                                                                                                                                                                                                                           have been flagged in the field and recorded using a
                                                                                                                                                                                                                                                                                           sub-meter GPS unit. These boundaries have not
                                                                                                                                                                                                                                                                                           been verified by the US Army Corps of Engineers.
                                                                                                                                                                                                                                                                                           Use of this map should be limited to preliminary
                                                                                                                                                                                              Figure Extent                                                                                planning purposes only.

                                                                                                                                                                           Figure 3a.                                        Study Area Boundary                         Culverts
                                                                                                                                                                     Delineated Resources
                                                                                                                                                                                                                                                                  #
                                                                                                                                                                                                                                                                  0



                                                                                                                                                                                                                                                                                                                       ±
                                                                                                                                                                                                       Legend




                                                                                                                                                                                                                             Streams
                                                                                                                                                                        GeoLogic, LLC
                                                                                                                                                                                                                             State Buffers
                                                                                                                                                                       Norris Cason Tract
                                                                                                                                                                      Warren County, GA                                      Wetlands
                                                                                                                                                                                                                                                              1 inch = 400 feet
                                                                                                                                                                                                                                                                                    0    100    200           400
                                                                                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                                                                                                               Project #: 233364.04
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                                                                                                                                                                                                                                                                                                 This map represents the boundaries of wetlands
                                                                                                                                                                                                                                                                                                 and Waters of the US delineated within the project
                                                                                                                                                                                                                                                                                                 study area by Woodard & Curran. These boundaries
                                                                                                                                                                                                                                                                                                 have been flagged in the field and recorded using a
                                                                                                                                                                                                                                                                                                 sub-meter GPS unit. These boundaries have not
                                                                                                                                                                                                                                                                                                 been verified by the US Army Corps of Engineers.
                                                                                                                                                                                                                                                                                                 Use of this map should be limited to preliminary
                                                                                                                                                                    Figure Extent
                                                                                                                                                                                                                                                                                                 planning purposes only.




                                                                                                                                                                                                                                                                                                      Stream 4
                                                                                                                                                                                                                                                                                                      Perennial
                                                                                                                                                                                                                                                                                                                                                        Stream 7
                                                                                                                                                                            Stream 5                                                                                                                                                                   Intermittent
                                                                                                                                                                           Intermittent




                                                                                                                                                                                                                                                                                                                            Stream 6
                                                                                                                                                                                                                                                                                                                            Perennial
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                                                                                                                                                                                                                                                                     Stream 6
                                                                                                                                                                                                                                            Stream 4                 Perennial                                                             Wetland 5
                                                                                                                                                                                                                                            Perennial                                        Wetland 4




                                                                                                                                                                                    Stream 3
                                                                                                                                                                                    Perennial
                                                                                                                                                                                                                                                                                                            Stream 3
                                                                                                                                                                                                                                                                                                           Intermittent




                                                                                                                                                                          Figure 3b.                                              Study Area Boundary                         Culverts
                                                                                                                                                                     Delineated Resources
                                                                                                                                                                                                                                                                      #
                                                                                                                                                                                                                                                                      0



                                                                                                                                                                                                                                                                                                                            ±
                                                                                                                                                                                                            Legend




                                                                                                                                                                                                                                  Streams
                                                                                                                                                                           GeoLogic, LLC
                                                                                                                                                                                                                                  State Buffers
                                                                                                                                                                          Norris Cason Tract
                                                                                                                                                                        Warren County, GA                                         Wetlands
                                                                                                                                                                                                                                                                   1 inch = 350 feet
                                                                                                                                                                                                                                                                                         0    87.5   175           350
                                                                                                                                                                                                                                                                                                                     Feet
                                                                                                                                                                                                                                                                                                                                    Project #: 233364.04
                                                                                                                                                                                                                                                                                                                                    Map Created: October 2020
                                                                                                                                                                                          Third Party GIS Disclaimer: This map is for reference and graphical purposes only and should not be relied upon by third parties for any legal decisions.
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                                              Attachment B: Project Photographs




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                            (0233364.04)                         2                Woodard & Curran
             Wheeler
             Norris Cason
                      TractTract
                            Ecological
                                 Ecological
                                       FieldField
                                             StudyStudy
                                                   Report
                                                        Report                    September
                                                                                    October 2020
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      Photo Number: 1                           View Direction: Facing west                Date: October 12, 2020
                                    Description: Representative photograph of Wetland 1.




      Photo Number: 2                          View Direction: Facing north                Date: October 12, 2020
                                    Description: Representative photograph of Wetland 2.




     GeoLogic LLC (0233364.04)                           1                             Woodard & Curran
     Norris Cason Tract Ecological Field Study Report                                     October 2020
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      Photo Number: 3                           View Direction: Facing west                Date: October 12, 2020
                                     Description: Representative photograph of Stream 1.




      Photo Number: 4                           View Direction: Facing north               Date: October 13, 2020
                                     Description: Representative photograph of Stream 2.




     GeoLogic LLC (0233364.04)                           2                             Woodard & Curran
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      Photo Number: 5                          View Direction: Facing north                Date: October 13, 2020
                                    Description: Representative photograph of Wetland 3.




      Photo Number: 6                           View Direction: Facing west                Date: October 15, 2020
                                     Description: Representative photograph of Stream 3.




     GeoLogic LLC (0233364.04)                           3                             Woodard & Curran
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      Photo Number: 7                           View Direction: Facing east                Date: October 15, 2020
                                     Description: Representative photograph of Stream 4.




      Photo Number: 8                           View Direction: Facing north               Date: October 15, 2020
                                     Description: Representative photograph of Stream 5.




     GeoLogic LLC (0233364.04)                           4                             Woodard & Curran
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      Photo Number: 9                           View Direction: Facing east                Date: October 16, 2020
                                     Description: Representative photograph of Stream 6.




      Photo Number: 10                          View Direction: Facing east                Date: October 16, 2020
                                    Description: Representative photograph of Wetland 4.




     GeoLogic LLC (0233364.04)                           5                             Woodard & Curran
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      Photo Number: 11                       View Direction: Facing southeast              Date: October 16, 2020
                                    Description: Representative photograph of Wetland 5.




      Photo Number: 12                          View Direction: Facing west                Date: October 16, 2020
                                     Description: Representative photograph of Stream 7.




     GeoLogic LLC (0233364.04)                           6                             Woodard & Curran
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                               Attachment C: USACE Wetland Determination Data Forms




                            (0233364.04)
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             Wheeler
             Norris Cason
                      TractTract
                            Ecological
                                 Ecological
                                       FieldField
                                            StudyStudy
                                                  Report
                                                       Report                         September
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                 WETLAND DETERMINATION DATA FORM - Eastern Mountains and Piedmont Region
Project/Site:     Norris Cason Tract                                                 City/County:        Warren County                         Sampling Date: 12-Oct-20

Applicant/Owner:        GeoLogic LLC                                                                          State: GA                 Sampling Point:                wdp_1
Investigator(s):      R. Heaton, R. Singleton                                         Section, Township, Range: S                         T                      R

Landform (hillslope, terrace, etc.):           Hillside                             Local relief (concave, convex, none):            concave               Slope:     3.0%       /   1.7 °
Subregion (LRR or MLRA):                MLRA 136 in LRR P                    Lat.: 33.3466047                        Long.: -82.7812280                             Datum: NAD 83

Soil Map Unit Name:         AmC - Appling sandy loam, 6 to 10 percent slopes                                                     NWI classification:       N/A

Are climatic/hydrologic conditions on the site typical for this time of year?                Yes        No        (If no, explain in Remarks.)

Are Vegetation                 , Soil         , or Hydrology           significantly disturbed?              Are "Normal Circumstances" present?               Yes          No

Are Vegetation                 , Soil         , or Hydrology           naturally problematic?                (If needed, explain any answers in Remarks.)

 Summary of Findings - Attach site map showing sampling point locations, transects, important features, etc.
 Hydrophytic Vegetation Present?               Yes          No
 Hydric Soil Present?                          Yes          No                                    Is the Sampled Area
                                                                                                  within a Wetland?
                                                                                                                          Yes        No
 Wetland Hydrology Present?                    Yes          No
  Remarks:
  This data point is representative of the Wetland 1, Wetland 3, Wetland 4, and Wetland 5. Wetland 1 is a PFO wetland at the headwaters of a stream
  that begins west of the study area boundary. Tree clearing has occurred in the vicinity of Wetland 1 in the past. Standing water was observed at the
  time of field studies.



 Hydrology
 Wetland Hydrology Indicators:                                                                                            Secondary Indicators (minimum of two required)
  Primary Indicators (minimum of one required; check all that apply)                                                            Surface Soil Cracks (B6)
      Surface Water (A1)                                         True Aquatic Plants (B14)                                      Sparsely Vegetated Concave Surface (B8)
      High Water Table (A2)                                      Hydrogen Sulfide Odor (C1)                                     Drainage Patterns (B10)
      Saturation (A3)                                            Oxidized Rhizospheres along Living Roots (C3)                  Moss Trim Lines (B16)
      Water Marks (B1)                                           Presence of Reduced Iron (C4)                                  Dry Season Water Table (C2)
      Sediment Deposits (B2)                                     Recent Iron Reduction in Tilled Soils (C6)                     Crayfish Burrows (C8)
      Drift deposits (B3)                                        Thin Muck Surface (C7)                                         Saturation Visible on Aerial Imagery (C9)
      Algal Mat or Crust (B4)                                    Other (Explain in Remarks)                                     Stunted or Stressed Plants (D1)
      Iron Deposits (B5)                                                                                                        Geomorphic Position (D2)
      Inundation Visible on Aerial Imagery (B7)                                                                                 Shallow Aquitard (D3)
      Water-Stained Leaves (B9)                                                                                                 Microtopographic Relief (D4)
      Aquatic Fauna (B13)                                                                                                       FAC-neutral Test (D5)
 Field Observations:
 Surface Water Present?                 Yes      No               Depth (inches):         0.5
 Water Table Present?                   Yes      No               Depth (inches):            10
 Saturation Present?                                                                                      Wetland Hydrology Present?             Yes             No
                                        Yes      No               Depth (inches):            10
 (includes capillary fringe)
 Describe Recorded Data (stream gauge, monitoring well, aerial photos, previous inspections), if available:


 Remarks:
 Surface water, saturation, and high water table present. Wetland is located at the headwaters of an offsite stream.




  US Army Corps of Engineers                                                                                                Eastern Mountains and Piedmont - Version 2.0
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VEGETATION (Five/Four Strata)- Use scientific names of plants.
                                                                                             Dominant                                       Sampling Point:       wdp_1
                                                                                             Species?
                                                                                 Absolute    Rel.Strat.      Indicator     Dominance Test worksheet:
 Tree Stratum         (Plot size: 30 FT                  )                       % Cover     Cover           Status
                                                                                                                           Number of Dominant Species
 1. Pinus taeda                                                                     70            77.8%       FAC          That are OBL, FACW, or FAC:                  4         (A)

 2. Salix nigra                                                                     20            22.2%       OBL
                                                                                                                           Total Number of Dominant
 3.                                                                                 0              0.0%                    Species Across All Strata:                   4         (B)
 4.                                                                                 0              0.0%
                                                                                                                           Percent of dominant Species
 5.                                                                                 0              0.0%
                                                                                                                                                                     100.0%       (A/B)
                                                                                                                           That Are OBL, FACW, or FAC:
 6.                                                                                 0              0.0%

 7.                                                                                 0              0.0%                   Prevalence Index worksheet:

 8.                                                                                 0              0.0%                          Total % Cover of:            Multiply by:
                                                                                   90       = Total Cover                 OBL species              27       x 1 =            27
 Sapling-Sapling/Shrub Stratum             (Plot size: 15 FT                 )
                                                                                                                          FACW species             20       x 2 =            40
 1. Sambucus nigra ssp. canadensis                                                  2             100.0%      FAC
                                                                                                                                                   79                       237
                                                                                                                          FAC species                       x 3 =
 2.                                                                                 0              0.0%
                                                                                                                                                    8                        32
                                                                                                                          FACU species                      x 4 =
 3.                                                                                 0              0.0%
                                                                                                                                                    0                        0
                                                                                                                          UPL species                       x 5 =
 4.                                                                                 0              0.0%
                                                                                                                                                                                   (B)
 5.                                                                                 0              0.0%                   Column Totals:           134      (A)             336

 6.                                                                                 0              0.0%                        Prevalence Index = B/A =               2.507
 7.                                                                                 0              0.0%
                                                                                                                          Hydrophytic Vegetation Indicators:
 8.                                                                                 0              0.0%
                                                                                                                                Rapid Test for Hydrophytic Vegetation
 9.                                                                                 0              0.0%
                                                                                                                                Dominance Test is > 50%
10.                                                                                 0              0.0%
                                                                                                                                Prevalence Index is ≤3.0 1
                                                                                    2       = Total Cover
 Shrub Stratum        (Plot size: N/A                    )                                                                      Morphological Adaptations 11 (Provide supporting

 1.                                                                                  0             0.0%                         data in Remarks or on a separate sheet)
                                                                                                                                                                   1 (Explain)
 2.                                                                                  0             0.0%                         Problematic Hydrophytic Vegetation 1

 3.                                                                                  0             0.0%                    11 Indicators of hydric soil and wetland hydrology must
                                                                                                                           be present, unless disturbed or problematic.
 4.                                                                                  0             0.0%

 5.                                                                                  0             0.0%                   Definition of Vegetation Strata:
 6.                                                                                  0             0.0%                   Four Vegetation Strata:
                                                                                                                          Tree stratum – Consists of woody plants, excluding vines, 3 in.
 7.                                                                                  0             0.0%
                                                                                                                          (7.6 cm) or more in diameter at breast height (DBH), regardless
                    (Plot size: 5 FT                 )                              0       = Total Cover                 of height.
 Herb Stratum
                                                                                                                          Sapling/shrub stratum – Consists of woody plants, excluding
 1. Juncus effusus                                                                  20            54.1%       FACW        vines, less than 3 in. DBH and greater than 3.28 ft (1 m) tall.
 2. Carex lurida                                                                     7            18.9%       OBL         Herb stratum – Consists of all herbaceous (non-woody) plants,
                                                                                                                          regardless of size, and all other plants less than 3.28 ft tall.
 3. Rubus argutus                                                                    6            16.2%       FACU

 4. Eutrochium purpureum                                                             2             5.4%       FAC         Woody vines – Consists of all woody vines greater than 3.28 ft
                                                                                                                          in height.
 5. Chasmanthium latifolium                                                          2             5.4%       FACU

 6.                                                                                  0             0.0%
                                                                                                                          Five Vegetation Strata:
 7.                                                                                  0             0.0%
                                                                                                                          Tree - Woody plants, excluding woody vines, approximately 20
 8.                                                                                  0             0.0%                   ft (6 m) or more in height and 3 in. (7.6 cm) or larger in
                                                                                                                          diameter at breast height (DBH).
 9.                                                                                  0             0.0%
                                                                                                                          Sapling stratum – Consists of woody plants, excluding woody
10.                                                                                  0             0.0%                   vines, approximately 20 ft (6 m) or more in height and less than
11.                                                                                  0             0.0%                   3 in. (7.6 cm) DBH.

12.                                                                                  0             0.0%                   Shrub stratum – Consists of woody plants, excluding woody
                                                                                                                          vines, approximately 3 to 20 ft (1 to 6 m) in height.
                                                                                   37       = Total Cover
 Woody Vine Stratum (Plot size: 30 FT                         )                                                           Herb stratum – Consists of all herbaceous (non-woody) plants,
                                                                                                                          including herbaceous vines, regardless of size, and woody
 1. Smilax rotundifolia                                                             5             100.0%      FAC
                                                                                                                          species, except woody vines, less than approximately 3 ft (1 m)
 2.                                                                                 0              0.0%                   in height.

 3.                                                                                  0             0.0%                   Woody vines – Consists of all woody vines, regardless of
                                                                                                                          height.
 4.                                                                                 0              0.0%

 5.                                                                                 0              0.0%
                                                                                                                           Hydrophytic
 6.                                                                                 0              0.0%                    Vegetation
                                                                                                                           Present?          Yes         No
                                                                                    5       = Total Cover

Remarks: (Include photo numbers here or on a separate sheet.)




      *Indicator suffix = National status or professional decision assigned because Regional status not defined by FWS.
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Soil                                                                                                                 Sampling Point:      wdp_1
 Profile Description: (Describe to the depth needed to document the indicator or confirm the absence of indicators.)

    Depth                      Matrix                          Redox Features
                                                                                 1
   (inches)            Color (moist)          %   Color (moist)      %      Type              Loc²        Texture                         Remarks
     0-2               7.5YR    3/2      100                                                          Sandy Clay Loam

    2-10               7.5YR    6/1      80       5YR      4/4       20           C            M      Sandy Clay Loam

    10-20              7.5YR    7/1      95       5YR      4/4       5            C            M      Sandy Loam




 1 Type: C=Concentration. D=Depletion. RM=Reduced Matrix, CS=Covered or Coated Sand Grains     ²Location: PL=Pore Lining. M=Matrix
  Hydric Soil Indicators:                                                                               Indicators for Problematic Hydric Soils 3:
       Histosol (A1)                                 Dark Surface (S7)
                                                                                                             2 cm Muck (A10) (MLRA 147)
       Histic Epipedon (A2)                          Polyvalue Below Surface (S8) (MLRA 147,148)
                                                                                                             Coast Prairie Redox (A16)
       Black Histic (A3)                             Thin Dark Surface (S9) (MLRA 147, 148)
                                                                                                             (MLRA 147,148)
       Hydrogen Sulfide (A4)                         Loamy Gleyed Matrix (F2)
                                                                                                             Piedmont Floodplain Soils (F19)
       Stratified Layers (A5)                        Depleted Matrix (F3)                                    (MLRA 136, 147)
     2 cm Muck (A10) (LRR N)                         Redox Dark Surface (F6)                                 Very Shallow Dark Surface (TF12)
       Depleted Below Dark Surface (A11)             Depleted Dark Surface (F7)
                                                                                                             Other (Explain in Remarks)
       Thick Dark Surface (A12)                      Redox Depressions (F8)

       Sandy Muck Mineral (S1) (LRR N,               Iron-Manganese Masses (F12) (LRR N,
       MLRA 147, 148)                                MLRA 136)

       Sandy Gleyed Matrix (S4)                      Umbric Surface (F13) (MLRA 136, 122)
                                                                                                                3
                                                                                                                    Indicators of hydrophytic vegetation and
       Sandy Redox (S5)                              Piedmont Floodplain Soils (F19) (MLRA 148)
                                                                                                                      wetland hydrology must be present,
       Stripped Matrix (S6)                          Red Parent Material (F21) (MLRA 127, 147)                          unless disturbed or problematic.

 Restrictive Layer (if observed):
    Type:
                                                                                                      Hydric Soil Present?          Yes         No
    Depth (inches):

  Remarks:
 Depleted matrix indicator met.




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                 WETLAND DETERMINATION DATA FORM - Eastern Mountains and Piedmont Region
Project/Site:      Norris Cason Tract                                                City/County:      Warren County                           Sampling Date: 12-Oct-20

Applicant/Owner:         GeoLogic LLC                                                                         State: GA                 Sampling Point:                 udp_1
Investigator(s):      R. Heaton, R. Singleton                                         Section, Township, Range: S                         T                      R

Landform (hillslope, terrace, etc.):           Hillside                             Local relief (concave, convex, none):            convex                Slope:     8.0%       /   4.6 °
Subregion (LRR or MLRA):                MLRA 136 in LRR P                    Lat.: 33.3465018                       Long.: -82.7811805                              Datum: NAD 83

Soil Map Unit Name:          AmC - Appling sandy loam, 6 to 10 percent slopes                                                    NWI classification:       N/A

Are climatic/hydrologic conditions on the site typical for this time of year?                Yes      No         (If no, explain in Remarks.)

Are Vegetation                 , Soil         , or Hydrology           significantly disturbed?            Are "Normal Circumstances" present?                 Yes          No

Are Vegetation                 , Soil         , or Hydrology           naturally problematic?              (If needed, explain any answers in Remarks.)

 Summary of Findings - Attach site map showing sampling point locations, transects, important features, etc.
 Hydrophytic Vegetation Present?               Yes          No
 Hydric Soil Present?                          Yes          No                                Is the Sampled Area
                                                                                              within a Wetland?
                                                                                                                          Yes        No
 Wetland Hydrology Present?                    Yes          No
  Remarks:
  Upland pine forest adjacent to Wetland 1.




 Hydrology
 Wetland Hydrology Indicators:                                                                                            Secondary Indicators (minimum of two required)
  Primary Indicators (minimum of one required; check all that apply)                                                            Surface Soil Cracks (B6)
       Surface Water (A1)                                        True Aquatic Plants (B14)                                      Sparsely Vegetated Concave Surface (B8)
       High Water Table (A2)                                     Hydrogen Sulfide Odor (C1)                                     Drainage Patterns (B10)
       Saturation (A3)                                           Oxidized Rhizospheres along Living Roots (C3)                  Moss Trim Lines (B16)
       Water Marks (B1)                                          Presence of Reduced Iron (C4)                                  Dry Season Water Table (C2)
       Sediment Deposits (B2)                                    Recent Iron Reduction in Tilled Soils (C6)                     Crayfish Burrows (C8)
       Drift deposits (B3)                                       Thin Muck Surface (C7)                                         Saturation Visible on Aerial Imagery (C9)
       Algal Mat or Crust (B4)                                   Other (Explain in Remarks)                                     Stunted or Stressed Plants (D1)
       Iron Deposits (B5)                                                                                                       Geomorphic Position (D2)
       Inundation Visible on Aerial Imagery (B7)                                                                                Shallow Aquitard (D3)
       Water-Stained Leaves (B9)                                                                                                Microtopographic Relief (D4)
       Aquatic Fauna (B13)                                                                                                      FAC-neutral Test (D5)
 Field Observations:
 Surface Water Present?                 Yes      No               Depth (inches):

 Water Table Present?                   Yes      No               Depth (inches):
 Saturation Present?                                                                                     Wetland Hydrology Present?              Yes             No
 (includes capillary fringe)            Yes      No               Depth (inches):

 Describe Recorded Data (stream gauge, monitoring well, aerial photos, previous inspections), if available:
 N/A
 Remarks:
 No hydrology indicators present at the time of field studies.




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VEGETATION (Five/Four Strata)- Use scientific names of plants.
                                                                                             Dominant                                       Sampling Point:       udp_1
                                                                                             Species?
                                                                                 Absolute    Rel.Strat.      Indicator     Dominance Test worksheet:
 Tree Stratum         (Plot size: 30 FT                  )                       % Cover     Cover           Status
                                                                                                                           Number of Dominant Species
 1. Pinus taeda                                                                     95            100.0%      FAC          That are OBL, FACW, or FAC:                  2         (A)

 2.                                                                                 0              0.0%
                                                                                                                           Total Number of Dominant
 3.                                                                                 0              0.0%                    Species Across All Strata:                   3         (B)
 4.                                                                                 0              0.0%
                                                                                                                           Percent of dominant Species
 5.                                                                                 0              0.0%
                                                                                                                                                                     66.7%        (A/B)
                                                                                                                           That Are OBL, FACW, or FAC:
 6.                                                                                 0              0.0%

 7.                                                                                 0              0.0%                   Prevalence Index worksheet:

 8.                                                                                 0              0.0%                          Total % Cover of:            Multiply by:
                                                                                   95       = Total Cover                 OBL species               0       x 1 =            0
 Sapling-Sapling/Shrub Stratum             (Plot size: 15 FT                 )
                                                                                                                          FACW species             17       x 2 =            34
 1. Ulmus americana                                                                 2             100.0%      FACW
                                                                                                                                                   97                       291
                                                                                                                          FAC species                       x 3 =
 2.                                                                                 0              0.0%
                                                                                                                                                    7                        28
                                                                                                                          FACU species                      x 4 =
 3.                                                                                 0              0.0%
                                                                                                                                                    0                        0
                                                                                                                          UPL species                       x 5 =
 4.                                                                                 0              0.0%
                                                                                                                                                                                   (B)
 5.                                                                                 0              0.0%                   Column Totals:           121      (A)             353

 6.                                                                                 0              0.0%                        Prevalence Index = B/A =               2.917
 7.                                                                                 0              0.0%
                                                                                                                          Hydrophytic Vegetation Indicators:
 8.                                                                                 0              0.0%
                                                                                                                                Rapid Test for Hydrophytic Vegetation
 9.                                                                                 0              0.0%
                                                                                                                                Dominance Test is > 50%
10.                                                                                 0              0.0%
                                                                                                                                Prevalence Index is ≤3.0 1
                                                                                    2       = Total Cover
 Shrub Stratum        (Plot size: N/A                    )                                                                      Morphological Adaptations 11 (Provide supporting

 1.                                                                                  0             0.0%                         data in Remarks or on a separate sheet)
                                                                                                                                                                   1 (Explain)
 2.                                                                                  0             0.0%                         Problematic Hydrophytic Vegetation 1

 3.                                                                                  0             0.0%                    11 Indicators of hydric soil and wetland hydrology must
                                                                                                                           be present, unless disturbed or problematic.
 4.                                                                                  0             0.0%

 5.                                                                                  0             0.0%                   Definition of Vegetation Strata:
 6.                                                                                  0             0.0%                   Four Vegetation Strata:
                                                                                                                          Tree stratum – Consists of woody plants, excluding vines, 3 in.
 7.                                                                                  0             0.0%
                                                                                                                          (7.6 cm) or more in diameter at breast height (DBH), regardless
                    (Plot size: 5 FT                 )                              0       = Total Cover                 of height.
 Herb Stratum
                                                                                                                          Sapling/shrub stratum – Consists of woody plants, excluding
 1. Symphyotrichum lanceolatum                                                      15            68.2%       FACW        vines, less than 3 in. DBH and greater than 3.28 ft (1 m) tall.
 2. Chasmanthium latifolium                                                          5            22.7%       FACU        Herb stratum – Consists of all herbaceous (non-woody) plants,
                                                                                                                          regardless of size, and all other plants less than 3.28 ft tall.
 3. Callicarpa americana                                                             2             9.1%       FACU

 4.                                                                                  0             0.0%                   Woody vines – Consists of all woody vines greater than 3.28 ft
                                                                                                                          in height.
 5.                                                                                  0             0.0%

 6.                                                                                  0             0.0%
                                                                                                                          Five Vegetation Strata:
 7.                                                                                  0             0.0%
                                                                                                                          Tree - Woody plants, excluding woody vines, approximately 20
 8.                                                                                  0             0.0%                   ft (6 m) or more in height and 3 in. (7.6 cm) or larger in
                                                                                                                          diameter at breast height (DBH).
 9.                                                                                  0             0.0%
                                                                                                                          Sapling stratum – Consists of woody plants, excluding woody
10.                                                                                  0             0.0%                   vines, approximately 20 ft (6 m) or more in height and less than
11.                                                                                  0             0.0%                   3 in. (7.6 cm) DBH.

12.                                                                                  0             0.0%                   Shrub stratum – Consists of woody plants, excluding woody
                                                                                                                          vines, approximately 3 to 20 ft (1 to 6 m) in height.
                                                                                   22       = Total Cover
 Woody Vine Stratum (Plot size: 30 FT                         )                                                           Herb stratum – Consists of all herbaceous (non-woody) plants,
                                                                                                                          including herbaceous vines, regardless of size, and woody
 1. Vitis rotundifolia                                                              2             100.0%      FAC
                                                                                                                          species, except woody vines, less than approximately 3 ft (1 m)
 2.                                                                                 0              0.0%                   in height.

 3.                                                                                  0             0.0%                   Woody vines – Consists of all woody vines, regardless of
                                                                                                                          height.
 4.                                                                                 0              0.0%

 5.                                                                                 0              0.0%
                                                                                                                           Hydrophytic
 6.                                                                                 0              0.0%                    Vegetation
                                                                                                                           Present?          Yes         No
                                                                                    2       = Total Cover

Remarks: (Include photo numbers here or on a separate sheet.)




      *Indicator suffix = National status or professional decision assigned because Regional status not defined by FWS.
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Soil                                                                                                                 Sampling Point:      udp_1
 Profile Description: (Describe to the depth needed to document the indicator or confirm the absence of indicators.)

    Depth                      Matrix                          Redox Features
                                                                                 1
   (inches)            Color (moist)          %   Color (moist)      %      Type              Loc²        Texture                         Remarks
     0-15              10YR     3/3                                                                   Loam

    15-20              10YR     4/4      98       10YR     4/6       20           C            M      Loam




 1 Type: C=Concentration. D=Depletion. RM=Reduced Matrix, CS=Covered or Coated Sand Grains     ²Location: PL=Pore Lining. M=Matrix
  Hydric Soil Indicators:                                                                               Indicators for Problematic Hydric Soils 3:
       Histosol (A1)                                 Dark Surface (S7)
                                                                                                             2 cm Muck (A10) (MLRA 147)
       Histic Epipedon (A2)                          Polyvalue Below Surface (S8) (MLRA 147,148)
                                                                                                             Coast Prairie Redox (A16)
       Black Histic (A3)                             Thin Dark Surface (S9) (MLRA 147, 148)
                                                                                                             (MLRA 147,148)
       Hydrogen Sulfide (A4)                         Loamy Gleyed Matrix (F2)
                                                                                                             Piedmont Floodplain Soils (F19)
       Stratified Layers (A5)                        Depleted Matrix (F3)                                    (MLRA 136, 147)
     2 cm Muck (A10) (LRR N)                         Redox Dark Surface (F6)                                 Very Shallow Dark Surface (TF12)
       Depleted Below Dark Surface (A11)             Depleted Dark Surface (F7)
                                                                                                             Other (Explain in Remarks)
       Thick Dark Surface (A12)                      Redox Depressions (F8)

       Sandy Muck Mineral (S1) (LRR N,               Iron-Manganese Masses (F12) (LRR N,
       MLRA 147, 148)                                MLRA 136)

       Sandy Gleyed Matrix (S4)                      Umbric Surface (F13) (MLRA 136, 122)
                                                                                                                3
                                                                                                                    Indicators of hydrophytic vegetation and
       Sandy Redox (S5)                              Piedmont Floodplain Soils (F19) (MLRA 148)
                                                                                                                      wetland hydrology must be present,
       Stripped Matrix (S6)                          Red Parent Material (F21) (MLRA 127, 147)                          unless disturbed or problematic.

 Restrictive Layer (if observed):
     Type:     N/A
                                                                                                      Hydric Soil Present?          Yes         No
     Depth (inches):

  Remarks:
 No hydric soil indicators met.




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                 WETLAND DETERMINATION DATA FORM - Eastern Mountains and Piedmont Region
Project/Site:      Norris Cason Tract                                                City/County:        Warren County                         Sampling Date: 16-Oct-20

Applicant/Owner:         GeoLogic LLC                                                                         State: GA                 Sampling Point:                wdp_2
Investigator(s):      R. Heaton, R. Singleton                                         Section, Township, Range: S                         T                      R

Landform (hillslope, terrace, etc.):           Lowland                              Local relief (concave, convex, none):            concave               Slope:     2.0%       /   1.1 °
Subregion (LRR or MLRA):                MLRA 136 in LRR P                    Lat.: 33.3480933                        Long.: -82.7812213                             Datum: NAD 83

Soil Map Unit Name:          WeC - Wedowee loamy sand, 6 to 10 percent slopes                                                    NWI classification:       N/A

Are climatic/hydrologic conditions on the site typical for this time of year?                Yes        No        (If no, explain in Remarks.)

Are Vegetation                 , Soil         , or Hydrology           significantly disturbed?              Are "Normal Circumstances" present?               Yes          No

Are Vegetation                 , Soil         , or Hydrology           naturally problematic?                (If needed, explain any answers in Remarks.)

 Summary of Findings - Attach site map showing sampling point locations, transects, important features, etc.
 Hydrophytic Vegetation Present?               Yes          No
 Hydric Soil Present?                          Yes          No                                    Is the Sampled Area
                                                                                                  within a Wetland?
                                                                                                                          Yes        No
 Wetland Hydrology Present?                    Yes          No
  Remarks:
  This data point is representative of the Wetland 2. Wetland 2 is a PEM wetland abutting Stream 2 and Stream 1. Multiple beaver dams observed
  within Wetland 2. Extensive flooding present throughout Wetland 2 at the time of field studies.




 Hydrology
 Wetland Hydrology Indicators:                                                                                            Secondary Indicators (minimum of two required)
  Primary Indicators (minimum of one required; check all that apply)                                                            Surface Soil Cracks (B6)
       Surface Water (A1)                                        True Aquatic Plants (B14)                                      Sparsely Vegetated Concave Surface (B8)
       High Water Table (A2)                                     Hydrogen Sulfide Odor (C1)                                     Drainage Patterns (B10)
       Saturation (A3)                                           Oxidized Rhizospheres along Living Roots (C3)                  Moss Trim Lines (B16)
       Water Marks (B1)                                          Presence of Reduced Iron (C4)                                  Dry Season Water Table (C2)
       Sediment Deposits (B2)                                    Recent Iron Reduction in Tilled Soils (C6)                     Crayfish Burrows (C8)
       Drift deposits (B3)                                       Thin Muck Surface (C7)                                         Saturation Visible on Aerial Imagery (C9)
       Algal Mat or Crust (B4)                                   Other (Explain in Remarks)                                     Stunted or Stressed Plants (D1)
       Iron Deposits (B5)                                                                                                       Geomorphic Position (D2)
       Inundation Visible on Aerial Imagery (B7)                                                                                Shallow Aquitard (D3)
       Water-Stained Leaves (B9)                                                                                                Microtopographic Relief (D4)
       Aquatic Fauna (B13)                                                                                                      FAC-neutral Test (D5)
 Field Observations:
 Surface Water Present?                 Yes      No               Depth (inches):

 Water Table Present?                   Yes      No               Depth (inches):            10
 Saturation Present?                                                                                      Wetland Hydrology Present?             Yes             No
                                        Yes     No                Depth (inches):            8
 (includes capillary fringe)
 Describe Recorded Data (stream gauge, monitoring well, aerial photos, previous inspections), if available:
 N/A
 Remarks:
 No surface water present at data point location near wetland boundary. Surface water and beaver dams located in interior of Wetland 2.




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VEGETATION (Five/Four Strata)- Use scientific names of plants.
                                                                                             Dominant                                       Sampling Point:       wdp_2
                                                                                             Species?
                                                                                 Absolute    Rel.Strat.      Indicator     Dominance Test worksheet:
 Tree Stratum         (Plot size: 30 FT                  )                       % Cover     Cover           Status
                                                                                                                           Number of Dominant Species
 1. Quercus nigra                                                                   5             100.0%      FAC          That are OBL, FACW, or FAC:                  3         (A)

 2.                                                                                 0              0.0%
                                                                                                                           Total Number of Dominant
 3.                                                                                 0              0.0%                    Species Across All Strata:                   3         (B)
 4.                                                                                 0              0.0%
                                                                                                                           Percent of dominant Species
 5.                                                                                 0              0.0%
                                                                                                                                                                     100.0%       (A/B)
                                                                                                                           That Are OBL, FACW, or FAC:
 6.                                                                                 0              0.0%

 7.                                                                                 0              0.0%                   Prevalence Index worksheet:

 8.                                                                                 0              0.0%                          Total % Cover of:            Multiply by:
                                                                                    5       = Total Cover                 OBL species               6       x 1 =            6
 Sapling-Sapling/Shrub Stratum             (Plot size: 15 FT                 )
                                                                                                                          FACW species             90       x 2 =           180
 1. Salix nigra                                                                     6             100.0%      OBL
                                                                                                                                                    5                        15
                                                                                                                          FAC species                       x 3 =
 2.                                                                                 0              0.0%
                                                                                                                                                   20                        80
                                                                                                                          FACU species                      x 4 =
 3.                                                                                 0              0.0%
                                                                                                                                                    0                        0
                                                                                                                          UPL species                       x 5 =
 4.                                                                                 0              0.0%
                                                                                                                                                                                   (B)
 5.                                                                                 0              0.0%                   Column Totals:           121      (A)             281

 6.                                                                                 0              0.0%                        Prevalence Index = B/A =               2.322
 7.                                                                                 0              0.0%
                                                                                                                          Hydrophytic Vegetation Indicators:
 8.                                                                                 0              0.0%
                                                                                                                                Rapid Test for Hydrophytic Vegetation
 9.                                                                                 0              0.0%
                                                                                                                                Dominance Test is > 50%
10.                                                                                 0              0.0%
                                                                                                                                Prevalence Index is ≤3.0 1
                                                                                    6       = Total Cover
 Shrub Stratum        (Plot size: N/A                    )                                                                      Morphological Adaptations 11 (Provide supporting

 1.                                                                                  0             0.0%                         data in Remarks or on a separate sheet)
                                                                                                                                                                   1 (Explain)
 2.                                                                                  0             0.0%                         Problematic Hydrophytic Vegetation 1

 3.                                                                                  0             0.0%                    11 Indicators of hydric soil and wetland hydrology must
                                                                                                                           be present, unless disturbed or problematic.
 4.                                                                                  0             0.0%

 5.                                                                                  0             0.0%                   Definition of Vegetation Strata:
 6.                                                                                  0             0.0%                   Four Vegetation Strata:
                                                                                                                          Tree stratum – Consists of woody plants, excluding vines, 3 in.
 7.                                                                                  0             0.0%
                                                                                                                          (7.6 cm) or more in diameter at breast height (DBH), regardless
                    (Plot size: 5 FT                 )                              0       = Total Cover                 of height.
 Herb Stratum
                                                                                                                          Sapling/shrub stratum – Consists of woody plants, excluding
 1. Arundinaria gigantea                                                            90            81.8%       FACW        vines, less than 3 in. DBH and greater than 3.28 ft (1 m) tall.
 2. Rubus argutus                                                                   20            18.2%       FACU        Herb stratum – Consists of all herbaceous (non-woody) plants,
                                                                                                                          regardless of size, and all other plants less than 3.28 ft tall.
 3.                                                                                  0             0.0%

 4.                                                                                  0             0.0%                   Woody vines – Consists of all woody vines greater than 3.28 ft
                                                                                                                          in height.
 5.                                                                                  0             0.0%

 6.                                                                                  0             0.0%
                                                                                                                          Five Vegetation Strata:
 7.                                                                                  0             0.0%
                                                                                                                          Tree - Woody plants, excluding woody vines, approximately 20
 8.                                                                                  0             0.0%                   ft (6 m) or more in height and 3 in. (7.6 cm) or larger in
                                                                                                                          diameter at breast height (DBH).
 9.                                                                                  0             0.0%
                                                                                                                          Sapling stratum – Consists of woody plants, excluding woody
10.                                                                                  0             0.0%                   vines, approximately 20 ft (6 m) or more in height and less than
11.                                                                                  0             0.0%                   3 in. (7.6 cm) DBH.

12.                                                                                  0             0.0%                   Shrub stratum – Consists of woody plants, excluding woody
                                                                                                                          vines, approximately 3 to 20 ft (1 to 6 m) in height.
                                                                                   110      = Total Cover
 Woody Vine Stratum (Plot size:                               )                                                           Herb stratum – Consists of all herbaceous (non-woody) plants,
                                                                                                                          including herbaceous vines, regardless of size, and woody
 1.                                                                                 0              0.0%
                                                                                                                          species, except woody vines, less than approximately 3 ft (1 m)
 2.                                                                                 0              0.0%                   in height.

 3.                                                                                  0             0.0%                   Woody vines – Consists of all woody vines, regardless of
                                                                                                                          height.
 4.                                                                                 0              0.0%

 5.                                                                                 0              0.0%
                                                                                                                           Hydrophytic
 6.                                                                                 0              0.0%                    Vegetation
                                                                                                                           Present?          Yes         No
                                                                                    0       = Total Cover

Remarks: (Include photo numbers here or on a separate sheet.)




      *Indicator suffix = National status or professional decision assigned because Regional status not defined by FWS.
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Soil                                                                                                                 Sampling Point:      wdp_2
 Profile Description: (Describe to the depth needed to document the indicator or confirm the absence of indicators.)

    Depth                      Matrix                          Redox Features
                                                                                 1
   (inches)            Color (moist)          %   Color (moist)      %      Type              Loc²        Texture                         Remarks
     0-4               10YR     3/1      100                                                          Sandy Clay Loam

     4-8               10YR     6/1      80       5YR      5/6       20           C            M      Sandy Clay Loam

    8-20               10YR     6/1      70       5YR      5/6       30           C            M      Sandy Loam




 1 Type: C=Concentration. D=Depletion. RM=Reduced Matrix, CS=Covered or Coated Sand Grains     ²Location: PL=Pore Lining. M=Matrix
  Hydric Soil Indicators:                                                                               Indicators for Problematic Hydric Soils 3:
       Histosol (A1)                                 Dark Surface (S7)
                                                                                                             2 cm Muck (A10) (MLRA 147)
       Histic Epipedon (A2)                          Polyvalue Below Surface (S8) (MLRA 147,148)
                                                                                                             Coast Prairie Redox (A16)
       Black Histic (A3)                             Thin Dark Surface (S9) (MLRA 147, 148)
                                                                                                             (MLRA 147,148)
       Hydrogen Sulfide (A4)                         Loamy Gleyed Matrix (F2)
                                                                                                             Piedmont Floodplain Soils (F19)
       Stratified Layers (A5)                        Depleted Matrix (F3)                                    (MLRA 136, 147)
     2 cm Muck (A10) (LRR N)                         Redox Dark Surface (F6)                                 Very Shallow Dark Surface (TF12)
       Depleted Below Dark Surface (A11)             Depleted Dark Surface (F7)
                                                                                                             Other (Explain in Remarks)
       Thick Dark Surface (A12)                      Redox Depressions (F8)

       Sandy Muck Mineral (S1) (LRR N,               Iron-Manganese Masses (F12) (LRR N,
       MLRA 147, 148)                                MLRA 136)

       Sandy Gleyed Matrix (S4)                      Umbric Surface (F13) (MLRA 136, 122)
                                                                                                                3
                                                                                                                    Indicators of hydrophytic vegetation and
       Sandy Redox (S5)                              Piedmont Floodplain Soils (F19) (MLRA 148)
                                                                                                                      wetland hydrology must be present,
       Stripped Matrix (S6)                          Red Parent Material (F21) (MLRA 127, 147)                          unless disturbed or problematic.

 Restrictive Layer (if observed):
    Type:      N/A
                                                                                                      Hydric Soil Present?          Yes         No
    Depth (inches):

  Remarks:
 Depleted matrix indicator met.




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                 WETLAND DETERMINATION DATA FORM - Eastern Mountains and Piedmont Region
Project/Site:      Norris Cason Tract                                                City/County:      Warren County                           Sampling Date: 16-Oct-20

Applicant/Owner:         GeoLogic LLC                                                                         State: GA                 Sampling Point:                 udp_2
Investigator(s):      R. Heaton, R. Singleton                                         Section, Township, Range: S                         T                      R

Landform (hillslope, terrace, etc.):           Hillside                             Local relief (concave, convex, none):            convex                Slope:     6.0%       /   3.4 °
Subregion (LRR or MLRA):                MLRA 136 in LRR P                    Lat.: 33.3481044                       Long.: -82.7810791                              Datum: NAD 83

Soil Map Unit Name:          WeC - Wedowee loamy sand, 6 to 10 percent slopes                                                    NWI classification:       N/A

Are climatic/hydrologic conditions on the site typical for this time of year?                Yes      No         (If no, explain in Remarks.)

Are Vegetation                 , Soil         , or Hydrology           significantly disturbed?            Are "Normal Circumstances" present?                 Yes          No

Are Vegetation                 , Soil         , or Hydrology           naturally problematic?              (If needed, explain any answers in Remarks.)

 Summary of Findings - Attach site map showing sampling point locations, transects, important features, etc.
 Hydrophytic Vegetation Present?               Yes          No
 Hydric Soil Present?                          Yes          No                                Is the Sampled Area
                                                                                              within a Wetland?
                                                                                                                          Yes        No
 Wetland Hydrology Present?                    Yes          No
  Remarks:
  Upland managed pine forest adjacent to Wetland 2.




 Hydrology
 Wetland Hydrology Indicators:                                                                                            Secondary Indicators (minimum of two required)
  Primary Indicators (minimum of one required; check all that apply)                                                            Surface Soil Cracks (B6)
       Surface Water (A1)                                        True Aquatic Plants (B14)                                      Sparsely Vegetated Concave Surface (B8)
       High Water Table (A2)                                     Hydrogen Sulfide Odor (C1)                                     Drainage Patterns (B10)
       Saturation (A3)                                           Oxidized Rhizospheres along Living Roots (C3)                  Moss Trim Lines (B16)
       Water Marks (B1)                                          Presence of Reduced Iron (C4)                                  Dry Season Water Table (C2)
       Sediment Deposits (B2)                                    Recent Iron Reduction in Tilled Soils (C6)                     Crayfish Burrows (C8)
       Drift deposits (B3)                                       Thin Muck Surface (C7)                                         Saturation Visible on Aerial Imagery (C9)
       Algal Mat or Crust (B4)                                   Other (Explain in Remarks)                                     Stunted or Stressed Plants (D1)
       Iron Deposits (B5)                                                                                                       Geomorphic Position (D2)
       Inundation Visible on Aerial Imagery (B7)                                                                                Shallow Aquitard (D3)
       Water-Stained Leaves (B9)                                                                                                Microtopographic Relief (D4)
       Aquatic Fauna (B13)                                                                                                      FAC-neutral Test (D5)
 Field Observations:
 Surface Water Present?                 Yes      No               Depth (inches):

 Water Table Present?                   Yes      No               Depth (inches):
 Saturation Present?                                                                                     Wetland Hydrology Present?              Yes             No
 (includes capillary fringe)            Yes      No               Depth (inches):

 Describe Recorded Data (stream gauge, monitoring well, aerial photos, previous inspections), if available:
 N/A
 Remarks:
 No hydrology indicators present at the time of field studies.




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VEGETATION (Five/Four Strata)- Use scientific names of plants.
                                                                                             Dominant                                       Sampling Point:       udp_2
                                                                                             Species?
                                                                                 Absolute    Rel.Strat.      Indicator     Dominance Test worksheet:
 Tree Stratum         (Plot size: 30 FT                  )                       % Cover     Cover           Status
                                                                                                                           Number of Dominant Species
 1. Pinus taeda                                                                     95            100.0%      FAC          That are OBL, FACW, or FAC:                  1         (A)

 2.                                                                                 0              0.0%
                                                                                                                           Total Number of Dominant
 3.                                                                                 0              0.0%                    Species Across All Strata:                   3         (B)
 4.                                                                                 0              0.0%
                                                                                                                           Percent of dominant Species
 5.                                                                                 0              0.0%
                                                                                                                                                                     33.3%        (A/B)
                                                                                                                           That Are OBL, FACW, or FAC:
 6.                                                                                 0              0.0%

 7.                                                                                 0              0.0%                   Prevalence Index worksheet:

 8.                                                                                 0              0.0%                          Total % Cover of:            Multiply by:
                                                                                   95       = Total Cover                 OBL species               0       x 1 =            0
 Sapling-Sapling/Shrub Stratum             (Plot size: 15 FT                 )
                                                                                                                          FACW species              0       x 2 =            0
 1.                                                                                 0              0.0%
                                                                                                                                                   98                       294
                                                                                                                          FAC species                       x 3 =
 2.                                                                                 0              0.0%
                                                                                                                                                   85                       340
                                                                                                                          FACU species                      x 4 =
 3.                                                                                 0              0.0%
                                                                                                                                                    0                        0
                                                                                                                          UPL species                       x 5 =
 4.                                                                                 0              0.0%
                                                                                                                                                                                   (B)
 5.                                                                                 0              0.0%                   Column Totals:           183      (A)             634

 6.                                                                                 0              0.0%                        Prevalence Index = B/A =               3.464
 7.                                                                                 0              0.0%
                                                                                                                          Hydrophytic Vegetation Indicators:
 8.                                                                                 0              0.0%
                                                                                                                                Rapid Test for Hydrophytic Vegetation
 9.                                                                                 0              0.0%
                                                                                                                                Dominance Test is > 50%
10.                                                                                 0              0.0%
                                                                                                                                Prevalence Index is ≤3.0 1
                                                                                    0       = Total Cover
 Shrub Stratum        (Plot size: N/A                    )                                                                      Morphological Adaptations 11 (Provide supporting

 1.                                                                                  0             0.0%                         data in Remarks or on a separate sheet)
                                                                                                                                                                   1 (Explain)
 2.                                                                                  0             0.0%                         Problematic Hydrophytic Vegetation 1

 3.                                                                                  0             0.0%                    11 Indicators of hydric soil and wetland hydrology must
                                                                                                                           be present, unless disturbed or problematic.
 4.                                                                                  0             0.0%

 5.                                                                                  0             0.0%                   Definition of Vegetation Strata:
 6.                                                                                  0             0.0%                   Four Vegetation Strata:
                                                                                                                          Tree stratum – Consists of woody plants, excluding vines, 3 in.
 7.                                                                                  0             0.0%
                                                                                                                          (7.6 cm) or more in diameter at breast height (DBH), regardless
                    (Plot size: 5 FT                 )                              0       = Total Cover                 of height.
 Herb Stratum
                                                                                                                          Sapling/shrub stratum – Consists of woody plants, excluding
 1. Rubus argutus                                                                   50            58.8%       FACU        vines, less than 3 in. DBH and greater than 3.28 ft (1 m) tall.
 2. Symphyotrichum ericoides var. ericoides                                         30            35.3%       FACU        Herb stratum – Consists of all herbaceous (non-woody) plants,
                                                                                                                          regardless of size, and all other plants less than 3.28 ft tall.
 3. Callicarpa americana                                                             5             5.9%       FACU

 4.                                                                                  0             0.0%                   Woody vines – Consists of all woody vines greater than 3.28 ft
                                                                                                                          in height.
 5.                                                                                  0             0.0%

 6.                                                                                  0             0.0%
                                                                                                                          Five Vegetation Strata:
 7.                                                                                  0             0.0%
                                                                                                                          Tree - Woody plants, excluding woody vines, approximately 20
 8.                                                                                  0             0.0%                   ft (6 m) or more in height and 3 in. (7.6 cm) or larger in
                                                                                                                          diameter at breast height (DBH).
 9.                                                                                  0             0.0%
                                                                                                                          Sapling stratum – Consists of woody plants, excluding woody
10.                                                                                  0             0.0%                   vines, approximately 20 ft (6 m) or more in height and less than
11.                                                                                  0             0.0%                   3 in. (7.6 cm) DBH.

12.                                                                                  0             0.0%                   Shrub stratum – Consists of woody plants, excluding woody
                                                                                                                          vines, approximately 3 to 20 ft (1 to 6 m) in height.
                                                                                   85       = Total Cover
 Woody Vine Stratum (Plot size: 30 FT                         )                                                           Herb stratum – Consists of all herbaceous (non-woody) plants,
                                                                                                                          including herbaceous vines, regardless of size, and woody
 1. Smilax rotundifolia                                                             3             100.0%      FAC
                                                                                                                          species, except woody vines, less than approximately 3 ft (1 m)
 2.                                                                                 0              0.0%                   in height.

 3.                                                                                  0             0.0%                   Woody vines – Consists of all woody vines, regardless of
                                                                                                                          height.
 4.                                                                                 0              0.0%

 5.                                                                                 0              0.0%
                                                                                                                           Hydrophytic
 6.                                                                                 0              0.0%                    Vegetation
                                                                                                                           Present?          Yes         No
                                                                                    3       = Total Cover

Remarks: (Include photo numbers here or on a separate sheet.)




      *Indicator suffix = National status or professional decision assigned because Regional status not defined by FWS.
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Soil                                                                                                                 Sampling Point:      udp_2
 Profile Description: (Describe to the depth needed to document the indicator or confirm the absence of indicators.)

    Depth                      Matrix                          Redox Features
                                                                                 1
   (inches)            Color (moist)       %      Color (moist)      %      Type              Loc²        Texture                      Remarks
     0-20              10YR     3/6      100                                                          Loam                       Compact




 1 Type: C=Concentration. D=Depletion. RM=Reduced Matrix, CS=Covered or Coated Sand Grains     ²Location: PL=Pore Lining. M=Matrix
  Hydric Soil Indicators:                                                                               Indicators for Problematic Hydric Soils 3:
       Histosol (A1)                                 Dark Surface (S7)
                                                                                                             2 cm Muck (A10) (MLRA 147)
       Histic Epipedon (A2)                          Polyvalue Below Surface (S8) (MLRA 147,148)
                                                                                                             Coast Prairie Redox (A16)
       Black Histic (A3)                             Thin Dark Surface (S9) (MLRA 147, 148)
                                                                                                             (MLRA 147,148)
       Hydrogen Sulfide (A4)                         Loamy Gleyed Matrix (F2)
                                                                                                             Piedmont Floodplain Soils (F19)
       Stratified Layers (A5)                        Depleted Matrix (F3)                                    (MLRA 136, 147)
     2 cm Muck (A10) (LRR N)                         Redox Dark Surface (F6)                                 Very Shallow Dark Surface (TF12)
       Depleted Below Dark Surface (A11)             Depleted Dark Surface (F7)
                                                                                                             Other (Explain in Remarks)
       Thick Dark Surface (A12)                      Redox Depressions (F8)

       Sandy Muck Mineral (S1) (LRR N,               Iron-Manganese Masses (F12) (LRR N,
       MLRA 147, 148)                                MLRA 136)

       Sandy Gleyed Matrix (S4)                      Umbric Surface (F13) (MLRA 136, 122)
                                                                                                                3
                                                                                                                    Indicators of hydrophytic vegetation and
       Sandy Redox (S5)                              Piedmont Floodplain Soils (F19) (MLRA 148)
                                                                                                                      wetland hydrology must be present,
       Stripped Matrix (S6)                          Red Parent Material (F21) (MLRA 127, 147)                          unless disturbed or problematic.

 Restrictive Layer (if observed):
     Type:     N/A
                                                                                                      Hydric Soil Present?          Yes         No
     Depth (inches):

  Remarks:
 No hydric soil indicators met.




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                                                          Attachment B

                                                          Norris Cason Tract –


                                                          Technical Memorandum


                                                          Revised Mine Plans
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                                                                                                                                                                                                                                                                                GeoLogic, LLC
                                                                                                                                                                                                                                                                                9465 Main Street
                                                                                                                                                                                                                                                                                Suite 310
                                                                                                                                                                                                                                                                                Woodstock, GA 30188
                                                                                                                                                                                                                                                                                (770) 824-4212
                                                                                                                                                                                                                                                                                www.geologicllc.net
                                                                                                                                                                                                                                                                                PEF007535 - 06/30/22




                                                                                                                                                                                                                                                            FOR REVIEW ONLY
                                                                                                          600                                                                                                                                 600



                                                                                                          550                                                                                                                                 550
                                                                                                                                                                 450 FOOT BENCH LEVEL                 TOP OF EXISTING GROUND
                                                                                                                                                                       AT TOP OF ROCK                                                                                    General Notes
                                                                                                          500                                                                                                                                 500

                                                                                                                                      OVERBURDEN
                                                                                                          450          PIT HIGHWALL                                                                                                           450
LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\Bench Figure.dwg




                                                                                                                                                                                   400 FOOT BENCH LEVEL
                                                                                                          400                                                                                                                                 400


                                                                                                                                                                               350 FOOT BENCH LEVEL                    TOP OF ROCK
                                                                                                          350                                                                                                                                 350


                                                                                                                                                                            300 FOOT BENCH LEVEL
                                                                                                          300                                                                                                                                 300


                                                                                                                                                                         250 FOOT BENCH LEVEL
                                                                                                          250                               PIT                                                                                               250


                                                                                                                                                                    200 FOOT BENCH LEVEL
                                                                                                          200                                                                                                                                 200



                                                                                                          150                                                                                                                                 150



                                                                                                          100                                                                                                                                 100
 PLOT DATE: 2/17/2022




                                                                                                           50                                                                                                                                 50
                                                                                                                                                                                                                                                    No.             Revision/Issue            Date



                                                                                                                                                                                                                                                                    LOG CREEK, LLLP
                                                                                                           0                                                                                                                                  0
                                                                                                                                                                                                                                                       SURFACE MINING
                                                                                                                0+00          5+00         10+00                 15+00                             20+00                              25+00
 SAVE DATE: 2/17/2022




                                                                                                                                                                                                                                                       LAND USE PLANS -
                                                                                                                                                   SECTION A-A                                                                                      CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                           REPORT
                                                                                                                                                                                                                                                          TYPICAL BENCH LEVEL
                                                                                                                                                                                                                                                                DETAIL
                                                                                                                                                                                                                               2:1 EXAGGERATION

                                                                                                                                                                                                                                                    Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                20-038

                                                                                                                                                                                                                                                                                         FIG. 1
                                                                                                                                                                                                                                                    Date
                                                                                                                                                                                                                                                            02/17/2022
                                                                                                                                                                                                                                                    Scale
                                                                                                                                                                                                                                                            AS NOTED
                                                                                                  2018 CARRYOVER          ATTACHMENT
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                                                                                                                                                                                 LOG CREEK, LLLP
                                                                                                                                                                                               1280 SNOWS MILL ROAD
                                                                                                                                                                                                 BOGART, GA 30622




                                                                                                    SURFACE MINING LAND USE PLANS
                                                                                                             NORRIS CASON CRUSHED STONE QUARRY
LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\COVER.dwg




                                                                                                                  WARREN COUNTY, GEORGIA
                                                                                                                                                                          PERMIT/IDENTIFICATION NUMBER: XXXX-XX (TBD)


                                                                                                     N                                                                                                 SITE DATA:                                                SHEET INDEX
                                                                                                                                                                                                                                                     SHEET # SHEET TITLE
                                                                                                                                                                                                                                                     --      COVER

                                                                                                                                                                                         PROPERTY OWNER: TO BE DETERMINED                            C-00
                                                                                                                                                                                                                                                     C-01
                                                                                                                                                                                                                                                             EXISTING CONDITIONS
                                                                                                                                                                                                                                                             MASTER PLAN
                                                                                                                                                                                                                                                     C-02    INSTRUMENTATION LAYOUT

                                                                                                                                                                                         SITE ADDRESS: OGEECHEE RIVER ROAD AND TIMBER ROAD           C-03
                                                                                                                                                                                                                                                     C-04
                                                                                                                                                                                                                                                             PHASE I MINE PLAN
                                                                                                                                                                                                                                                             PHASE II MINE PLAN
                                                                                                                                                                                                                                                     C-05    ULTIMATE MINE PLAN
                                                                                                                                                                                         24-HOUR EMERGENCY CONTACT: TO BE DETERMINED
   PLOT DATE: 2/17/2022




                                                                                                                                                                                                                                                     C-06    ULTIMATE MINE PLAN CROSS SECTIONS
                                                                                                                                                                                                                                                     C-07    ULTIMATE MINE PLAN PIT DETAILS

                                                                                                                                  PROJECT LOCATION
                                                                                                                                    LAT: N33.344124
                                                                                                                                                                                         TOTAL SITE AREA: 240.00 ACRES                               C-08
                                                                                                                                                                                                                                                     C-09
                                                                                                                                                                                                                                                             RAIL PROFILE
                                                                                                                                                                                                                                                             RAIL SECTIONS (1 OF 4)
                                                                                                                                   LON: W82.780977                                                                                                   C-10    RAIL SECTIONS (2 OF 4)
                                                                                                                                                                                                                                                     C-11    RAIL SECTIONS (3 OF 4)
   SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                     C-12    RAIL SECTIONS (4 OF 4)
                                                                                                                                                                                                                                                     C-13   RAIL STREAM CROSSING SECTIONS
                                                                                                                                                                                                                                                     C-14   RECLAMATION PLAN
                                                                                                                                                                                                                                                     C-15   RECLAMATION PLAN CROSS SECTIONS
                                                                                                                                                                                                                                                     C-16   SEDIMENT BASIN 1
                                                                                                                                                                                                                                                     C-17   DEWATERING DETAILS
                                                                                                                                                                                                                                                     C-18   CONSTRUCTION DETAILS (1 OF 3)
                                                                                                                                                                                                                                                     C-19   CONSTRUCTION DETAILS (2 OF 3)
                                                                                                                                                                                                           GeoLogic, LLC           FOR REVIEW ONLY   C-20   CONSTRUCTION DETAILS (3 OF 3)
                                                                                                                                                                                                    9465 Main Street - Suite 310
USER: Randy Kunz




                                                                                                                                                                                                                                                     C-21   RAIL DETAILS (1 OF 2)
                                                                                                                                                                                                       Woodstock, GA 30188                           C-22   RAIL DETAILS (2 OF 2)
                                                                                                            LOCATION MAP             NOTE:
                                                                                                                                                                                                          (770) 824-4212
                                                                                                              SCALE: 1" = 3500'      THERE ARE NO NATIONAL REGISTER OF HISTORIC PLACES
                                                                                                                                     IDENTIFIED WITHIN ONE MILE.                                       www.geologicllc.net
                                                                                                                                     (PER ONLINE DATABASE ACCESSED 10/26/2020)                     PEF007535 - Expires 06/30/22
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                                                                                                                                                                                                                                                                                                                                                          GeoLogic, LLC
                                                                                                                                                                                                                                                                                                                                                          9465 Main Street
                                                                                                                                                                                                                                                                                                                                                          Suite 310
                                                                                                                                                                                                                                                                                                                                                          Woodstock, GA 30188
                                                                                                                                                                                                                                                                                                                                                          (770) 824-4212
                                                                                                                                                                                                                                                                                                                                                          www.geologicllc.net
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                                                                                                                                                                                                                                                                                                                                      FOR REVIEW ONLY
                                                                                                                                                                                                                                                 0
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                                                                                                                                                                                                                                                                                                                                                   General Notes
                                                                                                                                                                                                                                                                     430




                                                                                                                                                           400
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                                                                                                                                                                                                                                                                           44




                                                                                                                                                                         0
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                                                                                                                                                                                                                                                                                450
                                                                                                                                                                             410




                                                                                                                                                                                                                                                                                  460
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                                                                                                                                                                               42
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                                                                                                                                                                                                                                                                 0
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                                                                                                                                                  40               0                         0
                                                                                                                                                      0          41                       42
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                                                                                                                                                                                                                                                                                                      450

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                                                                                                                                                                                                                               460                                                                    480

                                                                                                                                                                                                                                 470

                                                                                                                                                                                                                                     480                                                              490
                                                                                                                                                          420
                                                                                                                                                           430
                                                                                                                                                            440
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                                                                                                                                            46
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  PLOT DATE: 2/17/2022




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                                                                                                                                                                                                                                                                                                                                              LOG CREEK, LLLP
                                                                                                                                                                                                                                                                                                                                 SURFACE MINING
                                                                                                                                                                                                                                                                                                                                 LAND USE PLANS -
  SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                                                                              CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                                                                                                      CIVIL
                                                                                                                                                                                                                                                                                                                                EXISTING CONDITIONS



                                                                                                                                                                                                                                                                                                                              Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                                                                          20-038

                                                                                                                                                                                                                                                                                                                                                                   C-00
                                                                                                                                                                                                                                                                                                                              Date
                                                                                                                                                                                                                                                                                                                                      02/07/2022
                                                                                                                                                                                                                                                                                                                              Scale
                                                                                                                                                                                                                                                                                                                                          N.T.S.
                                                                                                     2018 CARRYOVER          ATTACHMENT
                                                                                                           Case 3:22-cv-00107-CDL Document 6-1 - Filed
                                                                                                                                                 EXHIBIT
                                                                                                                                                       10/28/22C:Page
                                                                                                                                                                  NORRIS       CASON
                                                                                                                                                                      647 of 666




                                                                                                 SUMMARY OF PERMITTED AREAS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                LEGEND




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             0+00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           GeoLogic, LLC
                                                                                                 PIT AREA                                      = 68.0 ACRES                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                PROPERTY LINE                                   4372 Shallowford
                                                                                                                                                                                                                                                                                                                                                                                     GEORGIA RAILROAD




                                                                                                                                                                                                                                                                                                                                                                                                                                                               5+00
                                                                                                                                                                                                                                                                                                                                                                                                                        10+00
                                                                                                 (INCLUDES: FUTURE MINE EXPANSION AREA)                                                                                                                                                                                                                                                                                                                                                                                                                                        IPF                                                                                                                                         Industrial Parkway,
                                                                                                                                                                                                                                                                                                                                                                                                    (150' R/W)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           PERMIT BOUNDARY                                 Marietta, GA 30066
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1"
                                                                                                 PLANT SITE AREA                               = 12.5 ACRES                                                                                                                                                         PROPERTY LINE                                                              N 86°09'47" E
                                                                                                                                                                                                                                                                                                                                                                                                                                    2582.93'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             3'0 '                                                                                                         STREAM CENTERLINE                               (770) 824-4212




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  0
                                                                                                                                                                                          R ROAD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          °0       6




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                                                                                                 (INCLUDES: OFFICE, SHOP & EQUIPMENT STORAGE                                                                                                                                                                                                                                                                                                                                                                                                            47 76.9                                                                                                                                                            www.geologicllc.net
                                                                                                                                                                                                                                                                                                                          100' BUFFER
                                                                                                                                                                                                                                                                              IPF                                                                                                                                                                                                                                                                     S




                                                                                                                                                                                                                                                                                                                                                                                                                                                                            50
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              4
                                                                                                 AREA, SCALES, STOCKPILES, SEDIMENT PONDS,                                                                                  N 86°11'25" E 1464.75 OF
                                                                                                                                                                                                                                                                          (P.O.B.)                                                                                                                                                                                                                                                                                                                                                                                         50FT BUFFER                                     PEF007535 - 06/30/22
                                                                                                                                                                                            56




                                                                                                 ENTRANCE & ACCESS ROADS)                                                                           CMF                 FROM THE INTERSE
                                                                                                                                                                                                                                            CTION
                                                                                                                                                                                                                                                             COUNTY ROAD 56)                                                                                              15




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                                                                                                                                                                                                                                                                                                                                                                                 +0                                                                                                                                                                                                                                                                                        PROPOSED CONTOUR
                                                                                                                                                                        80' R/W TY ROAD




                                                                                                                                                                                                                                         EE RIVER ROAD (AKA D (P.O.C.)                                                                                                                                                                                                                                                                                                                                                                                        500




                                                                                                                                                                                                                                                                                                                                                                                                                   45
                                                                                                                                                                          RIVE




                                                                                                                                                                                                                     OF WAY OF OGEECH                A RAILROA                                                                                                                      0                                                                                                                                                           IPS




                                                                                                                                                                                                                                                                                                                                                                                                                        440
                                                                                                                                                                                                   THE WESTERLY RIGHT RLY RIGHT OF WAY OF GEORGI
                                                                                                                                                                               - 20' PA




                                                                                                 OVERBURDEN STORAGE AREAS                      = 33.2 ACRES                                              AND THE SOUTHE                                                                                                                                                                                                                                                                                                                                                                                                                                       500          EXISTING CONTOUR




                                                                                                                                                                                                                                                                                                                                                                                                                                  0
                                                                                                                                                                                                                                                            OUTFALL LOCATION #001




                                                                                                                                                                                                                                                                                                                                                                                                                               43
                                                                                                                                                                          A COUN
                                                                                                                                                                     CHEE




                                                                                                 UNDISTURBED BUFFERS                           = 37.98 ACRES                                                                                                      LAT: N33.356589                                                                                                                                                                                                                                                                                                                                                                                          BUFFER AREA
                                                                                                                                                                                                                                                                                                                N 09°13'43




                                                                                                                                                                                                                                                                                                                                                                                                                                    WETLANDS
                                                                                                                                                                                                                                                                 LON: W82.779948                                                                                                                                                                                                                                                                                                                                                                                           WETLANDS
                                                                                                                                                                                                                                                                                                                    872.25'
                                                                                                                                                                   (AK




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         STREAM CROSSING 2
                                                                                                                                                                OGEE




                                                                                                 PERMITTED UNDISTURBED AREA                    = 88.72 ACRES                                                                                                                                                                                                                                  SEDIMENT BASIN 1                                                                                              45+00
                                                                                                                                                                                                                                                                    0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         (SEE SHEET C-13)
                                                                                                                                                                                                                                                                  44




                                                                                                                                                                                                                                                                                                                                                                                                                                           420
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           100YR FLOOD PLAIN
                                                                                                                                                                                                                                                                                                                           "W




                                                                                                 TOTAL PERMITTED AREA                          = 202.02 ACRES                                                                                                       STREAM CROSSING 1
                                                                                                                                                                                                                                                                        0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    B-1    BORE LOCATION W/
                                                                                                                                                                                                                                                                        43




                                                                                                                                                                                                                                                                       (SEE SHEET C-13)                                                                                                                                                                                                                                                                                                                                                                             500.00 TOFR ELEVATION
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       FOR REVIEW ONLY
                                                                                                                                                                                                                                                                             0
                                                                                                                                                                                                                                                                            42




                                                                                                 TOTAL SITE AREA                               = 240.00 ACRES
                                                                                                                                                                                                                                                                                                                                                               20+00




                                                                                                                                                                                                                                                                                                                                                                                                                                                   420
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                                                                                                                                                                                                                                     N/F
                                                                                                                                                                                                                                                                                                                                                                                                                                                       430
                                                                                                 SUMMARY OF RESOURCES
                                                                                                                                                                                                                                   ELLIOTT                                               400
                                                                                                                                                                                                                              PARCEL# 016 022
                                                                                                                                                                                                                                                                                                                                IPS AT
                                                                                                                                                                                                                                                                                                                                18" SWEETGUM                                                                                                     440                                                                                                  PERMIT BOUNDARY
                                                                                                                                                                                                                              D.B. 7V PAGE 731




                                                                                                                                                                                                                                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                                                                                                                                                                               44
                                                                                                                                                                                                                              P.B. A PAGE 263A                                                                                                                                                                                                                                                        40+0
                                                                                                 ROCK                           = +/- 50,000,000 TONS *                                                                                                                                                   40
                                                                                                                                                                                                                                                                                                            0                                                                                                                                                                                                              0
                                                                                                                                                                                                                         OUTFALL LOCATION #002                                                                                                                                                                                           PLANT SITE                   450
                                                                                                                                                                                                                               LAT: N33.356225                                                                                                                   GRD 429.10
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           N/F




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 S 04°19'07" W
                                                                                                                                                                                                                                                                                                                                                                                                                                          (NOTE 3)
                                                                                                                                                                                                                                                                                                                 410




                                                                                                 OVERBURDEN                     = +/- 2,290,000 CU. YDS.                                                                      LON: W82.782490                                                                                                                                 0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LANGFORD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 2133.12'
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                            460                                                                                                      PARCEL# 016 021
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     D.B. QQ PAGE 59
                                                                                                                                                                                                                                                                                                                    410




                                                                                                                                                                                                                                                                                                                                                                 B-4
                                                                                                                                                                                                                                                                                               1055 45" E




                                                                                                                                                                                                                                                                                                                         42




                                                                                                 * PIT SHOWN TO A DEPTH OF 300 FT FROM TOP OF ROCK.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 General Notes
                                                                                                                                                                                                                                                                                                                                                                 396.10
                                                                                                                                                                                                                                                                                                   .75'
                                                                                                                                                                                                                                                                                                  °27'
                                                                                                                                                                                                                                                                                             N 27




                                                                                                                                                                                                                                                                                                                420




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1. EXISTING CONTOUR DATA SHOWN FROM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      35
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   USGS LIDAR, DATED 3-13-2018.
                                                                                                                                                                                                                              WETLANDS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       +0
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                                                                                                                                                                                                                                                                                                          40




                                                                                                                                                                                                                                                                                                                                                                    0                                                                            430
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2. MAXIMUM SLOPE OF PIT WALLS 1/4:1 WITH
                                                                                                                                                                                                                                                                                                                                                               10                                                                                                                                                                                 STORAGE AREA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      440
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   A MAXIMUM PIT DEPTH OF 200FT FROM TOP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   OF ROCK. HAUL ROAD BENCHES INSIDE PIT
                                                                                                        Norris Cason Quarry                                                                                                                                                      40
                                                                                                                                                                                                                                                                                   0                41
                                                                                                                                                                                                                                                                                                      0
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                                                                                                                                                                                                                                                                                                                                              0                                                                                                                                                                                                                                                                                                                                                    TO BE A MINIMUM OF 40FT WIDE WITH A
                                                                                                                                                                                                                                                                                                                                                                  430




                                                                                                                                                                                                                                                                        CMF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       6' HIGH BERM
LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-01.dwg




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1/2% BACK SLOPE.
                                                                                                             Operated by (To be determined)                                                                                                                                                                                                                                  0
                                                                                                                                                                                                                                                                                                                                                                        11                                                                                                                                                         450
                                                                                                                   Permit # (XXXX-XX)                                                                                               TIE " E                                                                                                                                                                                                                                                                                                                                                                                                                                                     3. MAXIMUM SLOPE OF STOCKPILES 1:1 WITH A
                                                                                                                                                                                                                                           00
                                                                                                                                                                                                                                      °52'
                                                                                                                                                                                                                                 N 67       .22'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   MAXIMUM HEIGHT OF 35FT FROM PLANT
                                                                                                                                                                                                                                                                                                                                                                                  440
                                                                                                                                                                                                                                     1145                                                                                                                                                                                                                                                                                           46                                                                                                                                                             SITE GRADE.
                                                                                                                                                                                                                                                                                                                                                                                                            240.00 ACRES                                                                                                                    0

                                                                                                                                                                                                                                                                                                                                                                                                    (191.60 ACRES FROM PARCEL# 016 026
                                                                                                  EXAMPLE IDENTIFICATION SIGN                                                                                                                                                                                                                                                           450                                                                                                                                                                                                                                                                                                     4. STREAMS AND WETLANDS SHOWN AS
                                                                                                                                                                                                                                                                                                                                                                                 0




                                                                                                                                                                                                                                                                                                                                                                                                     48.40 ACRES FROM PARCEL# 016 027)                                                                                              470
                                                                                                                                                                                                                                                                                                                                                                             12




                                                                                                                                                                                                   IPF                                                                                                                                                                                                       REF. P.B. 2 PAGE 66                                                                                                                                       S 88°17'38" E                                                                                                               IDENTIFIED AND DELINIATED BY THE
                                                                                                                          N.T.S.                                                                                                                                                                                                                               PIT AREA
                                                                                                                                                                                                                                                                                                                                                                                                               D.B. 3J PAGE 241                                                               CMF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1034.08'                                                                                                                  WOODARD & CURRAN ECOLOGICAL FIELD
                                                                                                                                                                                                                                                                                                                                                                                              460                                        GRD 478.04                                                                                                                                                                            IPF AT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   STUDY REPORT DATED OCT. 26, 2020.
                                                                                                                                                                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                                                                         100'




                                                                                                                                                                                                                                                                                                                                                               (NOTE 2)                                                                                                                                                                                                                                                        ROCK
                                                                                                                                                                                                                                                                                         PRO




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     480
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       490     480
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                                                                                                                                                                                                                                                                                                                                                                                                470
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             B-3                                                                                                5. REVIEW OF THE CURRENT SITE CONDITIONS
                                                                                                                                                                                                                                                                                              BUFF




                                                                                                                                                                                                                                                                                                                                                                                                14




                                                                                                                                                                                                                             N/F                                                                                                                                                                                                                                                                                                                         510
                                                                                                                                                                                                                                                                                                                                                                                                                                          478.04                                                                                                530
                                                                                                                                                                                                                                                                                                                                                                                                             150




                                                                                                                                                                                                                        LOG CREEK LLLP
                                                                                                                                                                                                                        PARCEL# 016 026
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      550                                                                    464.50                                                                                                AS WELL AS THE AREA SURROUNDING THE
                                                                                                                                                                                                                                                                                                   Y LIN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             GRD 479.50
                                                                                                                                                                                                                                                                                                                                                                                                                      160
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                                                                                                                                                                                                                                                                                                                                                                                                      480                                                                                                                            490                                                                                                                                                           SITE INDICATES THAT THE NEAREST HOME IS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 490 500
                                                                                                                                                                                                                    176.81 ACRES +/-                                                                                                                                                                                                                             0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ONED




                                                                                                                                                                                                                                                                                                                                                                                                                                                               48                                                                                                                                                                                                                                  APPROXIMATELY 1,800 FEET SOUTH OF THE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           S 03°15'03" W
                                                                                                                                                                                                                        D.B. 8V PAGE 772
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              PROPERTY LINE
                                                                                                                                                                                                                                                                                                         E




                                                                                                                                                                                                                         P.B. 2 PAGE 66                                                                                                                                                                             0                                                                                                                                                                                                                                                                              PLANNED PIT. THERE ARE ONLY TWO OTHER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           885.30'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              TO BE ABAND




                                                                                                                                                                                                                                                                                                                                                                                                                 20
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   OTHER STRUCTURES WITHIN 2,500 FEET
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                                                                                                                                                                                                                                                                                             430




                                                                                                                                                                                                                                                                                                                                                                                                                  4 50




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                                                                                                                                                                                                                                                                                       440




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                                                                                                                                                                                                                                                                               0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LOG CREEK LLLP
                                                                                                                                                                                                                                                                     46




                                                                                                                                                                                                                                                                                                                                                                                                            NE                                                                                                                                                                                                                          PARCEL# 016 028
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                                                                                                                                                                                                                                                        0                                                                                                                                           PERT AND                                             B-2                                                                                                                                                                                                                                       DEVELOPMENT OF A QUARRY.
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                                                                                                                                                                                                                                             49                                                                                                                                                 PROBE AB
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                                                                                                                                                                                                           L1      S 70°34'43" W                      232.32'                                                                                                                                                                                                                                           10                                        LIN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            TY
                                                                                                                                                                                                                                                                                                                                                                                                                       530 550                                                                                              PER
                                                                                                                                                                                                           L2      N 89°25'17" W                      236.28'

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          PRO
                                                                                                                                                                                                           L3      S 85°03'58" W                       41.87'
                                                                                                                                                                                                           L4      S 85°41'30" W                      119.01'
                                                                                                                                                                                                                                                                                  WETLANDS                                                                                                                            500 470                                                             W
                                                                                                                                                                                                                                                                                                                                                                                                                   470                                                                07"
                                                                                                                                                                                                           L5      S 83°56'43" W                      394.91'                                                                                                                                                                                                                    °17'
                                                                                                                                                                                                                                                                                                                                                                                                               LINE D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                        S 63           .17'
                                                                                                                                                                                                                                                                                                                                                                                                           ERTY DONE




                                                                                                                                                                                                           L6      S 40°49'17" W                       43.47'                                                                                                                                                           460
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                                                                                                                                                                                                           CURVE      RADIUS              ARC LENGTH            CHORD LENGTH             CHORD BEARING
                                                                                                                                                                                                           C1         1075.74'            247.86'               247.31'                  N 85°42'41" W
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                                                                                                                                                                                                           C2         239.61'             244.86'               234.34'                  S 60°59'46" W
  PLOT DATE: 2/17/2022




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            D.B. 8V PAGE 772                                                                                                                                                                   No.             Revision/Issue            Date
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                                                                                                                                                                                                                                                                                                                                                                                                                   °25'1
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  SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                                                                            460




                                                                                                                                                                                                                                                                                                                 WETLANDS                                                                                                                              OFFICE AND PARKING AREA                                                                                                                                                                                                                 CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                                                            470




                                                                                                                                                                                                                                                                                                                                                                    IPS                                                                                                      N/F
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                                                                                                                                                                                                                                                                                                                                                                                                                                S 12°33'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      PARCEL# 016 028

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                                                                                                                                                                                                                                                                                                                                                                                                                                    842.37




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                       P.B. 5 PAGE 44
                                                                                                                                                                                                                                                                                                                                                                                                                                         16" E
                                                                                                                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                                                                               22"




                                                                                                                                                                                                                                                                                                                                                                                                                                                       SCALE AND SCALE HOUSE
                                                                                                                                                                                                                                                                                                                                                             28'
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                                                                                                                                                                                                                                                                                                                                                        777.
                                                                                                                                                                                                                                                                                                                                                    N 19




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                                                                                                                                                                                                                                                                                                                                                                                                             L4                C1
                                                                                                                                                                                                                                                                                                                                                                                                                                          L3 IPS                                                                                                                                                                                                                                 N             Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                                                                                          C2                                                                                     30" PINE                                                                                                                                                                                                                                                  20-038
                                                                                                                                                                                                                                                                                                                                                                   TIMB                 ER ROAD                                                  TREE
                                                                                                                                                                                                                                                                                                                                                                                 58 - UNPAVED

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    C-01
                                                                                                                                                                                                                                                                                                                                                                                                        TIE                                                                                                                                                                                                                                                                                    Date
                                                                                                                                                                                                                                                                                                                                                             (AKA COUNTY ROAD PAGE 44)        S 12°33'16" E
                                                                                                                                                                                                                                                                                                                                     IPS                                         5
                                                                                                                                                                                                                                                                                                                                                                30' R/W PER P.B.
                                                                                                                                                                                                                                                                                                                                                                                                     27.48'                                                                                                                                                                                                                                                                                            06/30/2021
                                                                                                                                                                                                                                                                                                                                                           L6                  SITE ENTRANCE
                                                                                                                                                                                                                                                                                                                                                                                              LAT: N33.344124                                                                                                                                                                                                                                                                                  Scale
                                                                                                                                                                                                                                                                                                                                                                                              LON: W82.780977                                                                                                                                                                                                                                                                                           1" = 300'
                                                                                                 2018 CARRYOVER          ATTACHMENT
                                                                                                       Case 3:22-cv-00107-CDL Document 6-1 - Filed
                                                                                                                                             EXHIBIT
                                                                                                                                                   10/28/22C:Page
                                                                                                                                                              NORRIS       CASON
                                                                                                                                                                  648 of 666




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    GeoLogic, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    9465 Main Street
                                                                                                                                                                                                                                                                                                                      GEORGIA RAILROAD                                                                                                                                                                          IPF                                                                                                                                                 Suite 310
                                                                                                                                                                                                                                                                                                                                     (150' R/W)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Woodstock, GA 30188
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LEGEND
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1"
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                                                                                                                                                                                                                                                                                                                                                                     2582.93'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              3'0 '                                                                                                                                                                 (770) 824-4212
                                                                                                                                 R ROAD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           °0       6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         47 76.9                                                                                                                                                                    www.geologicllc.net
                                                                                                                                                                                                                                                                 100' BUFFER
                                                                                                                                                                                                                     IPF                                                                                                                                                                                                                                                               S       4
                                                                                                                                                                   N 86°11'25" E 1464.75 OF
                                                                                                                                                                                                                 (P.O.B.)                                                                                                                                                                                                                                                                                                                                                                                  PROPERTY LINE                                            PEF007535 - 06/30/22
                                                                                                                                   56




                                                                                                                                                                                   CTION
                                                                                                                                           CMF                 FROM THE INTERSE                     COUNTY ROAD 56)                                                      DM-3
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                                                                                                                               VED)
                                                                                                               80' R/W TY ROAD




                                                                                                                                                                                EE RIVER ROAD (AKA D (P.O.C.)
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                                                                                                                                                            OF WAY OF OGEECH                A RAILROA                                                                                                                                                                                                                                                                            IPS

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                                                                                                                                          THE WESTERLY RIGHT RLY RIGHT OF WAY OF GEORGI                                                                             SG-3
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                                                                                                                                                                                                                                                                            NM-3                                                                                                                                                                                                                                                                                                                           50FT BUFFER
                                                                                                                                                                                                                                                       N 09°13'43




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                                                                                                                                                                                              DISCHARGE LOCATION                                                                                                                                                                                                                                                                                                                                                                                     500   EXISTING CONTOUR
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                                                                                                                                                                     PARCEL# 016 022
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                                                                                                                                                                                                                                                                       18" SWEETGUM                                                                                               440                                                                                                  PERMIT BOUNDARY                                                                                      (6) DW         DEWATERING WELL LOCATION
                                                                                                                                                                     D.B. 7V PAGE 731
                                                                                                                                                                                                                                                                                                                                                                                                 0
                                                                                                                                                                                                                                                                                                                                                                                                44




                                                                                                                                                                     P.B. A PAGE 263A
                                                                                                                                                                                                                                                   0                                                                                                                                                                                                                                                                                                                                        (3) SG         SEISMOGRAPH STATION
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                                                                                                                                                                                                                                                                                                                                                                             PLANT SITE                                                                                                                                     N/F                                                             (3) NM         NOISE MONITORING STATION

                                                                                                                                                                                                                                                                                                                                                                                                                                                  S 04°19'07" W
                                                                                                                                                                                                                                                        410




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        LANGFORD



                                                                                                                                                                                                                                                                                                                                                                                                                                                                  2133.12'
                                                                                                                                                                                                                                                                                                                                                                                                             460                                                                                                      PARCEL# 016 021
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            (3) DM         DUST MONITORING STATION
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D.B. QQ PAGE 59
                                                                                                                                                                                                                                                           410
                                                                                                                                                                                                                                      1055 45" E




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                                                                                                                                                                                                                                         °27'
                                                                                                                                                                                                                                    N 27




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1. EXISTING CONTOUR DATA SHOWN FROM
                                                                                                                                                                     WETLANDS                                                                           DW-3                                                                                                                                           NM-2                                                                                                                                                                                                                                 USGS LIDAR, DATED 3-13-2018.
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                                                                                                                                                                                                                                                                                                                                DW-4
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                                                                                                                                                                                                                                                                                                      0                                                                                         SG-2              DM-2                                                                                                                                                                                                                   2. STREAMS AND WETLANDS SHOWN AS
                                                                                                                                                                                                                                                                                                   10                                                                             430
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   SHOP AND EQUIPMENT                                                                                                                                       IDENTIFIED AND DELINIATED BY THE
                                                                                                                                                                                                                                                                                                                                                                                                                        440
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   STORAGE AREA                                                                                                                                             WOODARD & CURRAN ECOLOGICAL FIELD
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                                                                                                                                                                                                                                           41                                 42                                                                                                                                                                                                                                                                                                                                                            STUDY REPORT DATED OCT. 26, 2020.
                                                                                                                                                                                                                                                                                                      430




                                                                                                                                                                                                               CMF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        6' HIGH BERM
LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-02.dwg




                                                                                                                                                                                                                                                                                                              0                                                                                                                                                                                                                                                                                                                          3. GROUNDWATER TO BE DISCHARGED TO
                                                                                                                                                                                                                                                                                                           11                                                                                                                                                       450
                                                                                                                                                                           TIE " E                                                                                                                                                                                                                                                                                                                                                                                                                                                          WETLANDS VIA NPDES PERMIT AND
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                                                                                                                                                                             °52'                                                                                                                                                                                                                                                                                                                                                                                                                                                           GROUNDWATER EXTRACTION PERMIT.
                                                                                                                                                                        N 67       .22'                                                                                                                           440
                                                                                                                                                                            1145                                                                                                                                                                                                                                                                                     46                                                                                                                                                                     (PERMIT APPLICATIONS ATTACHED)
                                                                                                                                                                                                                                                                                                                                             240.00 ACRES                                                                                                                    0

                                                                                                                                                                                                                                                                                                                        450          (191.60 ACRES FROM PARCEL# 016 026
                                                                                                                                                                                                                                                                                                                  0




                                                                                                                                                                                                                                                                                                                                      48.40 ACRES FROM PARCEL# 016 027)                                                                                              470
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                                                                                                                                          IPF                                                                                                                                                                                                 REF. P.B. 2 PAGE 66                                                                                                                                       S 88°17'38" E
                                                                                                                                                                                                                                                                                                                                                D.B. 3J PAGE 241                                                               CMF
                                                                                                                                                                                                                                                                                                   PIT AREA                    460
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1034.08'                                              IPF AT
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                                                                                                                                                               LOG CREEK LLLP
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                                                                                                                                                                                                                                                                                                                                                                                                                               PROPERTY LINE
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                                                                                                                                                  L1      S 70°34'43" W                      232.32'                                                                                                                                                                                                                                     10                             YL
                                                                                                                                                  L2      N 89°25'17" W                      236.28'                                                                                                              SG-1                                  530 550                                                                                              P      ERT
                                                                                                                                                                                                                                                                                                                                                                                                                                           PRO
                                                                                                                                                  L3      S 85°03'58" W                       41.87'
                                                                                                                                                  L4      S 85°41'30" W                      119.01'
                                                                                                                                                                                                                         WETLANDS                                                                                                                      500 470                                                             W
                                                                                                                                                                                                                                                                                                           DW-1                                     470                                                                07"
                                                                                                                                                  L5      S 83°56'43" W                      394.91'                                                                                                                                                                                                              °17'
                                                                                                                                                                                                                                                                                                                                                LINE D




                                                                                                                                                                                                                                                                                                                                                                                                         S 63           .17'
                                                                                                                                                                                                                                                                                                                                            ERTY DONE




                                                                                                                                                  L6      S 40°49'17" W                       43.47'                                                                                                                                                     460
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                                                                                                                                                  CURVE      RADIUS              ARC LENGTH            CHORD LENGTH             CHORD BEARING
                                                                                                                                                  C1         1075.74'            247.86'               247.31'                  N 85°42'41" W
                                                                                                                                                                                                                                                                                                                                        TO BE




                                                                                                                                                                                                                                                                                                                                                                                                                                      480




                                                                                                                                                  C2         239.61'             244.86'               234.34'                  S 60°59'46" W
  PLOT DATE: 2/17/2022




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                                                                                                                                                                                                                                                                                                                                                                        ACCESS ROAD
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                                                                                                                                                                                                                                                                                                                                                         IPF

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LAND USE PLANS -
  SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                   460




                                                                                                                                                                                                                                                        WETLANDS                                                                                                                        OFFICE AND PARKING AREA                                                                                                                                                                                                                         CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                   470




                                                                                                                                                                                                                                                                                                        IPS                                                                                                   N/F
                                                                                                                                                                                                                                                                                                                                                                                                       LOG CREEK LLLP
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                                                                                                                                                                                                                                                                                                                                                                 S 12°33'




                                                                                                                                                                                                                                                                                                                                                                                                       PARCEL# 016 028

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               INSTRUMENTATION
                                                                                                                                                                                                                                                                                                                                                                     842.37




                                                                                                                                                                                                                                                                                                                                                                                                       D.B. 8V PAGE 765
                                                                                                                                                                                                                                                                                                                                                                                                        P.B. 5 PAGE 44
                                                                                                                                                                                                                                                                                                                                                                          16" E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LAYOUT
                                                                                                                                                                                                                                                                                                                                                                            '
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                                                                                                                                                                                                                                                                                                   22"




                                                                                                                                                                                                                                                                                                                                                                                        SCALE AND SCALE HOUSE
                                                                                                                                                                                                                                                                                                 28'
                                                                                                                                                                                                                                                                                              °27'
                                                                                                                                                                                                                                                                                            777.
                                                                                                                                                                                                                                                                                        N 19




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                                                                                                                                                                                                                                                                                                                                                                           L3 IPS                                                                                                                                                                                                                                     N                 Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                              C2                                                                                  30" PINE                                                                                                                                                                                                                                                          20-038
                                                                                                                                                                                                                                                                                                              TIMBER ROAD                                                         TREE
                                                                                                                                                                                                                                                                                                                     58 - UNPAVED

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             C-02
                                                                                                                                                                                                                                                                                                                                                                   TIE                                                                                                                                                                                                                                                                  Date
                                                                                                                                                                                                                                                                                                 (AKA COUNTY ROAD PAGE 44)                               S 12°33'16" E
                                                                                                                                                                                                                                                                             IPS                                     5
                                                                                                                                                                                                                                                                                                    30' R/W PER P.B.
                                                                                                                                                                                                                                                                                               L6
                                                                                                                                                                                                                                                                                                                                                                27.48'                                                                                                                                                                                                                                                                          02/07/2022
                                                                                                                                                                                                                                                                                                                                 SITE ENTRANCE                                                                                                                                                                                                                                                             0          300'       600'   Scale
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1" = 300'
                                                                                                 2018 CARRYOVER          ATTACHMENT
                                                                                                       Case 3:22-cv-00107-CDL Document 6-1 - Filed
                                                                                                                                             EXHIBIT
                                                                                                                                                   10/28/22C:Page
                                                                                                                                                              NORRIS       CASON
                                                                                                                                                                  649 of 666




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LEGEND
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          GeoLogic, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   PROPERTY LINE                                          9465 Main Street
                                                                                                                                                                                                                                                                                                                    GEORGIA RAILROAD                                                                                                                                                                               IPF                                                                                                                                                                                    Suite 310
                                                                                                                                                                                                                                                                                                                                   (150' R/W)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   PERMIT BOUNDARY                                        Woodstock, GA 30188
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1"
                                                                                                                                                                                                                                                          PROPERTY LINE                                                       N 86°09'47" E
                                                                                                                                                                                                                                                                                                                                                                   2582.93'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 3'0 '                                                                                                                                             STREAM CENTERLINE                                      (770) 824-4212
                                                                                                                                 R ROAD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              °0       6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            47 76.9                                                                                                                                                                                                       www.geologicllc.net
                                                                                                                                                                                                                                                                100' BUFFER
                                                                                                                                                                                                                     IPF                                                                                                                                                                                                                                                                  S       4
                                                                                                                                                                   N 86°11'25" E 1464.75 OF
                                                                                                                                                                                                                 (P.O.B.)                                                                                                                                                                                                                                                                                                                                                                                                                          50FT BUFFER                                            PEF007535 - 06/30/22
                                                                                                                                   56




                                                                                                                                                                                   CTION
                                                                                                                                           CMF                 FROM THE INTERSE                     COUNTY ROAD 56)

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                                                                                                                                                                                                                                                          872.25'
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                                                                                                       OGEE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             PRECAST CONCRETE BOX CULVERT
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                                                                                                                                                                                   PRECAST CONCRETE BOX CULVERT                                                                                                               St                                                                                                                                                                                                                                                                                                                   100YR FLOOD PLAIN
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Sd1                                                                                                                                    SYMBOL
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                                                                                                                                                                     PARCEL# 016 022
                                                                                                                                                                                                                                                                      IPS AT
                                                                                                                                                                                                                                                                               St
                                                                                                                                                                                                                                                                      18" SWEETGUM                                                                                              440                                                                                                   Di                                                                                                        Co
                                                                                                                                                                     D.B. 7V PAGE 731
                                                                                                                                                                                                                                                                                                                             Sd3
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                                                                                                                                                                     P.B. A PAGE 263A
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2133.12'
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         D.B. QQ PAGE 59
                                                                                                                                                                                                                                     1055 45" E




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                                                                                                                                                                                                                                         .75'
                                                                                                                                                                                                                                        °27'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      PERMIT BOUNDARY
                                                                                                                                                                                                                                   N 27




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Sd1                                                                             1. EXISTING CONTOUR DATA SHOWN FROM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  USGS LIDAR, DATED 3-13-2018.
                                                                                                                                                                     WETLANDS                                                                                                                                                                                                                                                                                                                                                                                                                                                            Sd3

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Sd3                                                                             2. STREAMS AND WETLANDS SHOWN AS
                                                                                                                                                                                                                                                                                                                                                                                430
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      SHOP AND EQUIPMENT                                                                                                                                                                          IDENTIFIED AND DELINIATED BY THE
                                                                                                                                                                                                                                                                                                                                                                                                                          440
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      STORAGE AREA                                                                                                                                      St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  WOODARD & CURRAN ECOLOGICAL FIELD
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                                                                                                                                                                                                                                                                             42                                                                                                                                                                                                                                                                                                                                                                                                   STUDY REPORT DATED OCT. 26, 2020.
                                                                                                                                                                                                                                                                                                    430




                                                                                                                                                                                                              CMF                         4
LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-03.dwg




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       450                                                                                                                      Bf
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                                                                                                                                                                                                                                                                                                                       450         (191.60 ACRES FROM PARCEL# 016 026
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Di                   Sd1
                                                                                                                                                                                                                                                                                                                                    48.40 ACRES FROM PARCEL# 016 027)                                                                                                   470
                                                                                                                                          IPF                                                                                                                                                                0                              REF. P.B. 2 PAGE 66                                                                                                                                            S 88°17'38" E                                                                       Ds2                             Ds2
                                                                                                                                                                                                                                                                                                           44                                 D.B. 3J PAGE 241                                                                    CMF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1034.08'                                              IPF AT
                                                                                                                                                                                                                                                                                                       0                     460
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                                                                                                                                                                    N/F
                                                                                                                                                               LOG CREEK LLLP
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                                                                                                                                                               PARCEL# 016 026                                                                                                                                                                                                                                                                                                                                                                                                                                                     Du
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                                                                                                                                                           176.81 ACRES +/-
                                                                                                                                                                                                                                                                                                                                                 350




                                                                                                                                                                                                                                                                                                                                                                                                                                              ONED




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               S 03°15'03" W




                                                                                                                                                               D.B. 8V PAGE 772
                                                                                                                                                                                                                                                                                                                                                                                                                                  PROPERTY LINE
                                                                                                                                                                                                                                               E




                                                                                                                                                                P.B. 2 PAGE 66                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               885.30'




                                                                                                                                                                                                                                                                                                                                                                                             49
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                                                                                                                                                                                                                                                                                                                                                                                48
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                                                                                                                                                                                                                                                                                                                                                                                                                                                        OVERBURDEN                                                                                                                             EROSION CONTROL NOTES:
                                                                                                                                                                                                                             440




                                                                                                                                                                                                                                                                                                                                                                         0
                                                                                                                                                                                                                                                                                                                                                                       47




                                                                                                                                                                                                                                                                                                                                                                                                                                                         STORAGE                                                                                                                   N/F
                                                                                                                                                                                                                   45




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1. THE ESCAPE OF SEDIMENT FROM THE SITE SHALL BE PREVENTED BY THE
                                                                                                                                                                                                                                                                                                                                                   45 0
                                                                                                                                                                                                                     0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LOG CREEK LLLP
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                                                                                                                                                                                                                                                                                                                                           NE                                                                                                                            Ds1 Ds2                                                                                            PARCEL# 016 028       INSTALLATION OF EROSION AND SEDIMENT CONTROL MEASURES AND
                                                                                                                                                                                                              0
                                                                                                                                                                                                   47




                                                                                                                                                                                             48                                                                                                                                        Y LI ONED                                                                                                                                                                                                                            D.B. 8V PAGE 772
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PRACTICES PRIOR TO, OR CONCURRENT WITH, LAND DISTURBING ACTIVITIES.
                                                                                                                                                                                                       0




                                                                                                                                                                                               0                                                                                                                                   PERT AND                                                                                                                                                                                                                                 D.B. 3M PAGE 30
                                                                                                                                                                                    49
                                                                                                                                                                                      0                                                                                                                                        PROBE AB
                                                                                                                                                                           50                                                                                                                                                   TO                                                                                                                                                                                                                                                             2. EROSION CONTROL MEASURES WILL BE MAINTAINED AT ALL TIMES. IF FULL
                                                                                                                                                                                                                                                         N 17




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                500




                                                                                                                                                                                                                                                                                                                                                                                                                49                                                                                                                                                                                IMPLEMENTATION OF THE APPROVED PLAN DOES NOT PROVIDE FOR
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                                                                                                                                                               510




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                                                                                                                                                                                                                                                             3028
                                                                                                                                                                                                                                                              °50'3




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           L2                           IPS                                       EFFECTIVE EROSION CONTROL, ADDITIONAL EROSION AND SEDIMENT
                                                                                                                                                                                                                                                                                                                                                                   0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             IPS
                                                                                                                                                                                                                                                                                                                                                          51




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  CONTROL MEASURES SHALL BE IMPLEMENTED.
                                                                                                                                                                                                                                                                   .18'
                                                                                                                                                                                                                                                                    0" W




                                                                                                                                                                                                                                                                                                                                                          0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  IPS
                                                                                                                                                                                                                                                                                                                                                        49




                                                                                                                                                                                                                                                                                                                                                                                                                                                                               R                                                                                                               3. ANY DISTURBED AREA LEFT EXPOSED FOR A PERIOD GREATER THAN 14 DAYS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            FFE
                                                                                                                                                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                                                                                                                 48




                                                                                                                                                                                                                                                                                                                                                                                                                                                ' BU
                                                                                                                                                  LINE    BEARING                         DISTANCE                                                                                                                                                                                                                                                                                                                                                                                                SHALL BE STABILIZED WITH MULCH OR TEMPORARY SEEDING. TEMPORARY
                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                              0




                                                                                                                                                                                                                                                                                                                                                                                       480




                                                                                                                                                                                                                                                                                                                                                                                                                                            100
                                                                                                                                                                                                                                                                                                                                           47




                                                                                                                                                  L1      S 70°34'43" W                      232.32'                                                                                                                                                                                                                                                     LIN                                          Sd1                                                                                         SEEDING SHALL BE APPLIED ACCORDING TO THE GSWCC SEEDING AND
                                                                                                                                                                                                                                                                                                                                                                                                                                                      TY
                                                                                                                                                                                                                                                                                                                                                                                                                                                  PER
                                                                                                                                                  L2      N 89°25'17" W                      236.28'                                                                                                                                                                                                                                                                                                                                                                                              FERTILIZATION SCHEDULES.
                                                                                                                                                                                                                                                                                                                                                                                                                                            PRO
                                                                                                                                                  L3      S 85°03'58" W                       41.87'
                                                                                                                                                  L4      S 85°41'30" W                      119.01'
                                                                                                                                                                                                                        WETLANDS                                                                                                                                     470                                                      W                                                                                                                                                                4. ANY DISTURBED AREAS IDLE FOR 30 DAYS SHALL BE STABILIZED WITH
                                                                                                                                                                                                                                                                                                                                                                                                                          07"                                                                                                                                                                     PERMANENT SEEDING. PERMANENT SEEDING SHALL BE TALL FESCUE AND
                                                                                                                                                  L5      S 83°56'43" W                      394.91'                                                                                                                                                                                                                 °17'
                                                                                                                                                                                                                                                                                                                                              LINE D




                                                                                                                                                                                                                                                                                                                                                                                                            S 63           .17'                                                                                                                                                                   SERICEA LESPEDEZA MIX OR OTHER COMPARABLE MIX APPROPRIATE FOR THE
                                                                                                                                                                                                                                                                                                                                                                                                                                                            Di
                                                                                                                                                                                                                                                                                                                                          ERTY DONE




                                                                                                                                                  L6      S 40°49'17" W                       43.47'                                                                                                                                                   460
                                                                                                                                                                                                                                                                                                                       0                                                                                              1722
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                                                                                                                                                                                                                                                                                                                                                                                                                47




                                                                                                                                                  CURVE      RADIUS              ARC LENGTH            CHORD LENGTH            CHORD BEARING
                                                                                                                                                  C1         1075.74'            247.86'               247.31'                 N 85°42'41" W                                                                                                                                                                                                                                                                                                                                                      ROUTINELY AFTER EACH MAJOR RAINFALL EVENT, AND REPAIRED AS
                                                                                                                                                                                                                                                                                                                                      TO BE




                                                                                                                                                                                                                                                                                                                                                                                                                                         480




                                                                                                                                                  C2         239.61'             244.86'               234.34'                 S 60°59'46" W                                                                                                                                                                                                                                                                                                                                                      NECESSARY.
  PLOT DATE: 2/17/2022




                                                                                                                                                                                                                                                                                                                                                                                                                                                    N/F
                                                                                                                                                                                                                                                                                                                                                                                                                                               LOG CREEK LLLP                                                                                                                                  6. ADDITIONAL EROSION & SEDIMENT CONTROL MEASURES SHALL BE INSTALLED
                                                                                                                                                                                                                                                                                                                                            IPS
                                                                                                                                                                                                                                                                                                                                                                                                                                               PARCEL# 016 027                                                                                                                                    IF DETERMINED NECESSARY BY ON-SITE INSPECTION.
                                                                                                                                                                                                                                                                                                                                                                                                                                        36.91 ACRES +/-                                                                                                                                        7. SILT FENCE SHALL MEET THE REQUIREMENTS OF SECTION 171-TYPE C
                                                                                                                                                                                                                                                                                                                                                                                                                                                D.B. 8V PAGE 772                                                                                                                                                                                                              No.             Revision/Issue            Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        490                                                       TEMPORARY SILT GEORGIA D.O.T. OR GSWCC SPEC. ALL SILT FENCE TO BE
                                                                                                                                                                                                                                                                                                                                                       S 17




                                                                                                                                                                                                                                                                                                                                                                                                                                                D.B. 3J PAGE 241
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  WIRE BACKED.
                                                                                                                                                                                                                                                                                                                                                  °25'1
                                                                                                                                                                                                                                                                                                                                                  383.3
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                                                                                                                                                                                                                                                                                                           46



                                                                                                                                                                                                                                                                                                                       47




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               8. SEDIMENT STORAGE VOLUME @ 67 CY/ACRE MUST BE INSTALLED PRIOR TO
                                                                                                                                                                                                                                                                                                                                      480




                                                                                                                                                                                                                                                                                                                                                       7" E




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                                                                                                                                                                                                                                                                                                                                                       IPF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               9. STORMWATER WILL BE DISCHARGED FROM THE SITE AT LOCATIONS SHOWN
                                                                                                                                                                                                                                                                                                                                                                      ACCESS ROAD Du
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 LAND USE PLANS -
  SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ON C-01 IN ACCORDANCE WITH APPLICABLE LOCAL AND FEDERAL
                                                                                                                                                                                                                                                                  460




                                                                                                                                                                                                                                                       WETLANDS                                                                                                                                                                                                                                                                                                                                   REQUIREMENTS.
                                                                                                                                                                                                                                                                                                                                                                                      OFFICE AND PARKING AREA                                                                                                                                                                                                                                                                 CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                  470




                                                                                                                                                                                                                                                                                                     IPS                                                                                                         N/F
                                                                                                                                                                                                                                                                                                                                                                                                          LOG CREEK LLLP
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                                                                                                                                                                                                                                                                                                                                                               S 12°33'




                                                                                                                                                                                                                                                                                                                                                                                                          PARCEL# 016 028

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                                                                                                                                                                                                                                                                                                                                                                   842.37




                                                                                                                                                                                                                                                                                                                                                                                                          D.B. 8V PAGE 765
                                                                                                                                                                                                                                                                                                                                                                                                           P.B. 5 PAGE 44
                                                                                                                                                                                                                                                                                                                                                                        16" E
                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                     E
                                                                                                                                                                                                                                                                                                 22"




                                                                                                                                                                                                                                                                                                                                                                                      SCALE AND SCALE HOUSE
                                                                                                                                                                                                                                                                                               28'
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                                                                                                                                                                                                                                                                                          777.
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                                                                                                                                                                                                                                                                                                                                                                         L3 IPS                                                                                                                                                                                                                                                                           N                   Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                            C2                                                                                  30" PINE                                                                                                                                                                                                                                                                                                  20-038
                                                                                                                                                                                                                                                                                                            TIMBER ROAD                                                         TREE
                                                                                                                                                                                                                                                                                                                   58 - UNPAVED

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   C-03
                                                                                                                                                                                                                                                                                                                                                                 TIE                                                                                                                                                                                                                                                                                                          Date
                                                                                                                                                                                                                                                                                               (AKA COUNTY ROAD PAGE 44)                               S 12°33'16" E
                                                                                                                                                                                                                                                                             IPS                                   5
                                                                                                                                                                                                                                                                                                  30' R/W PER P.B.
                                                                                                                                                                                                                                                                                             L6
                                                                                                                                                                                                                                                                                                                                                              27.48'                                                                                                                                                                                                                                                                                                                  02/07/2022
                                                                                                                                                                                                                                                                                                                               SITE ENTRANCE                                                                                                                                                                                                                                                                                                   0         300'          600'   Scale
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       1" = 300'
                                                                                                 2018 CARRYOVER          ATTACHMENT
                                                                                                       Case 3:22-cv-00107-CDL Document 6-1 - Filed
                                                                                                                                             EXHIBIT
                                                                                                                                                   10/28/22C:Page
                                                                                                                                                              NORRIS       CASON
                                                                                                                                                                  650 of 666




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LEGEND
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         GeoLogic, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PROPERTY LINE                                          9465 Main Street
                                                                                                                                                                                                                                                                                                                  GEORGIA RAILROAD                                                                                                                                                                                IPF                                                                                                                                                                                    Suite 310
                                                                                                                                                                                                                                                                                                                                  (150' R/W)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PERMIT BOUNDARY                                        Woodstock, GA 30188
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1"
                                                                                                                                                                                                                                                          PROPERTY LINE                                                      N 86°09'47" E
                                                                                                                                                                                                                                                                                                                                                                  2582.93'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                3'0 '                                                                                                                                             STREAM CENTERLINE                                      (770) 824-4212
                                                                                                                                 R ROAD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             °0       6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           47 76.9                                                                                                                                                                                                       www.geologicllc.net
                                                                                                                                                                                                                                                                100' BUFFER
                                                                                                                                                                                                                     IPF                                                                                                                                                                                                                                                                 S       4
                                                                                                                                                                   N 86°11'25" E 1464.75 OF
                                                                                                                                                                                                                 (P.O.B.)                                                                                                                                                                                                                                                                                                                                                                                                                         50FT BUFFER                                            PEF007535 - 06/30/22
                                                                                                                                   56




                                                                                                                                                                                   CTION
                                                                                                                                           CMF                 FROM THE INTERSE                     COUNTY ROAD 56)

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                                                                                                                                                                                   PRECAST CONCRETE BOX CULVERT                                                                                                              St                                                                                                                                                                                                                                                                                                                   100YR FLOOD PLAIN
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                                                                                                                                                                                                                                                                      18" SWEETGUM                                                                                             440                                                                                                   Di                                                                                                        Co
                                                                                                                                                                     D.B. 7V PAGE 731
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                                                                                                                                                                     P.B. A PAGE 263A
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2133.12'
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                                                                                                                                                                                                                                     1055 45" E




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                                                                                                                                                                                                                                         .75'
                                                                                                                                                                                                                                        °27'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     PERMIT BOUNDARY
                                                                                                                                                                                                                                   N 27




                                                                                                                                                                                                                                                      410




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 USGS LIDAR, DATED 3-13-2018.
                                                                                                                                                                                                                                                0




                                                                                                                                                                     WETLANDS
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                                                                                                                                                                                                                                                                                                                                                                               430
                                                                                                                                                                                                                                                                                           0                                                                                                                                                                                         SHOP AND EQUIPMENT                                                                                                                                                                          IDENTIFIED AND DELINIATED BY THE
                                                                                                                                                                                                                                                                                         20                                                                                                                              440
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     STORAGE AREA                                                                                                                                      St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 WOODARD & CURRAN ECOLOGICAL FIELD
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                                                                                                                                                                                                                                                                             42                                                                                                                                                                                                                                                                                                                                                                                                  STUDY REPORT DATED OCT. 26, 2020.
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LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-04.dwg




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      450                                                                                                                      Bf
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                                                                                                                                                                                                                                                                                                                      450         (191.60 ACRES FROM PARCEL# 016 026
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Di                   Sd1
                                                                                                                                                                                                                                                                                                                                   48.40 ACRES FROM PARCEL# 016 027)                                                                                                   470
                                                                                                                                          IPF                                                                                                                                                                                              REF. P.B. 2 PAGE 66                                                                                                                                            S 88°17'38" E                                                                       Ds2                             Ds2
                                                                                                                                                                                                                                                                                                            0




                                                                                                                                                                                                                                                                                                                                             D.B. 3J PAGE 241
                                                                                                                                                                                                                                                                                                         22




                                                                                                                                                                                                                                                                                                                                                                                                                                 CMF
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                                                                                                                                                               LOG CREEK LLLP
                                                                                                                                                               PARCEL# 016 026
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                                                                                                                                                           176.81 ACRES +/-
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              S 03°15'03" W




                                                                                                                                                               D.B. 8V PAGE 772
                                                                                                                                                                                                                                                                                                                                                                                                                                 PROPERTY LINE
                                                                                                                                                                                                                                               E




                                                                                                                                                                P.B. 2 PAGE 66                                                                                                                                                                                                                  0
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1. THE ESCAPE OF SEDIMENT FROM THE SITE SHALL BE PREVENTED BY THE
                                                                                                                                                                                                                     0




                                                                                                                                                                                                                                                                                                                                                            4                                                                                                                                                                                                              LOG CREEK LLLP
                                                                                                                                                                                                           46




                                                                                                                                                                                                                                                                                                                                          NE                                                                                                                            Ds1 Ds2                                                                                            PARCEL# 016 028       INSTALLATION OF EROSION AND SEDIMENT CONTROL MEASURES AND
                                                                                                                                                                                                              0
                                                                                                                                                                                                   47




                                                                                                                                                                                             48                                                                                                                                       Y LI ONED                                                                                                                                                                                                                            D.B. 8V PAGE 772
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 PRACTICES PRIOR TO, OR CONCURRENT WITH, LAND DISTURBING ACTIVITIES.
                                                                                                                                                                                                       0




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                                                                                                                                                                                      0                                                                                                                                       PROBE AB
                                                                                                                                                                           50                                                                                                                                                  TO                                                                                                                                                                                                                                                             2. EROSION CONTROL MEASURES WILL BE MAINTAINED AT ALL TIMES. IF FULL
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               500




                                                                                                                                                                                                                                                                                                                                                                                                               49                                                                                                                                                                                IMPLEMENTATION OF THE APPROVED PLAN DOES NOT PROVIDE FOR
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                                                                                                                                                                                                                                                              °50'3




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          L2                           IPS                                       EFFECTIVE EROSION CONTROL, ADDITIONAL EROSION AND SEDIMENT
                                                                                                                                                                                                                                                                                                                                                                  0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            IPS
                                                                                                                                                                                                                                                                                                                                                           51




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 CONTROL MEASURES SHALL BE IMPLEMENTED.
                                                                                                                                                                                                                                                                   .18'
                                                                                                                                                                                                                                                                    0" W




                                                                                                                                                                                                                                                                                                                                                           0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 IPS
                                                                                                                                                                                                                                                                                                                                                        49




                                                                                                                                                                                                                                                                                                                                                                                                                                                                              R                                                                                                               3. ANY DISTURBED AREA LEFT EXPOSED FOR A PERIOD GREATER THAN 14 DAYS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           FFE
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                                                                                                                                                                                                                                                                                                                                                48




                                                                                                                                                                                                                                                                                                                                                                                                                                               ' BU
                                                                                                                                                  LINE    BEARING                         DISTANCE                                                                                                                                                                                                                                                                                                                                                                                               SHALL BE STABILIZED WITH MULCH OR TEMPORARY SEEDING. TEMPORARY
                                                                                                                                                                                                                                                                                                                                                                                                                                                           E
                                                                                                                                                                                                                                                                                                                                             0




                                                                                                                                                                                                                                                                                                                                                                                      480




                                                                                                                                                                                                                                                                                                                                                                                                                                           100
                                                                                                                                                                                                                                                                                                                                          47




                                                                                                                                                  L1      S 70°34'43" W                      232.32'                                                                                                                                                                                                                                                    LIN                                          Sd1                                                                                         SEEDING SHALL BE APPLIED ACCORDING TO THE GSWCC SEEDING AND
                                                                                                                                                                                                                                                                                                                                                                                                                                                     TY
                                                                                                                                                                                                                                                                                                                                                                                                                                                 PER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 FERTILIZATION SCHEDULES.
                                                                                                                                                                                                                                                                                                                                                     530 550
                                                                                                                                                  L2      N 89°25'17" W                      236.28'

                                                                                                                                                                                                                                                                                                                                                                                                                                           PRO
                                                                                                                                                  L3      S 85°03'58" W                       41.87'
                                                                                                                                                  L4      S 85°41'30" W                      119.01'
                                                                                                                                                                                                                        WETLANDS                                                                                                                    500 470                                                                  W                                                                                                                                                                4. ANY DISTURBED AREAS IDLE FOR 30 DAYS SHALL BE STABILIZED WITH
                                                                                                                                                                                                                                                                                                                                                 470                                                                     07"                                                                                                                                                                     PERMANENT SEEDING. PERMANENT SEEDING SHALL BE TALL FESCUE AND
                                                                                                                                                  L5      S 83°56'43" W                      394.91'                                                                                                                                                                                                                °17'
                                                                                                                                                                                                                                                                                                                                             LINE D




                                                                                                                                                                                                                                                                                                                                                                                                           S 63           .17'                                                                                                                                                                   SERICEA LESPEDEZA MIX OR OTHER COMPARABLE MIX APPROPRIATE FOR THE
                                                                                                                                                                                                                                                                                                                                                                                                                                                           Di
                                                                                                                                                                                                                                                                                                                                         ERTY DONE




                                                                                                                                                  L6      S 40°49'17" W                       43.47'                                                                                                                                                   460
                                                                                                                                                                                                                                                                                                                      0                                                                                              1722
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 TIME OF APPLICATION.
                                                                                                                                                                                                                                                                                    440




                                                                                                                                                                                                                                                                                                                  45
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                                                                                                                                                                                                                                                                                                                                                                                                               47




                                                                                                                                                  CURVE      RADIUS              ARC LENGTH            CHORD LENGTH            CHORD BEARING
                                                                                                                                                  C1         1075.74'            247.86'               247.31'                 N 85°42'41" W                                                                                                                                                                                                                                                                                                                                                     ROUTINELY AFTER EACH MAJOR RAINFALL EVENT, AND REPAIRED AS
                                                                                                                                                                                                                                                                                                                                     TO BE




                                                                                                                                                                                                                                                                                                                                                                                                                                        480




                                                                                                                                                  C2         239.61'             244.86'               234.34'                 S 60°59'46" W                                                                                                                                                                                                                                                                                                                                                     NECESSARY.
  PLOT DATE: 2/17/2022




                                                                                                                                                                                                                                                                                                                                                                                                                                                   N/F
                                                                                                                                                                                                                                                                                                                                                                                                                                              LOG CREEK LLLP                                                                                                                                  6. ADDITIONAL EROSION & SEDIMENT CONTROL MEASURES SHALL BE INSTALLED
                                                                                                                                                                                                                                                                                                                                           IPS
                                                                                                                                                                                                                                                                                                                                                                                                                                              PARCEL# 016 027                                                                                                                                    IF DETERMINED NECESSARY BY ON-SITE INSPECTION.
                                                                                                                                                                                                                                                                                                                                                                                                                                       36.91 ACRES +/-                                                                                                                                        7. SILT FENCE SHALL MEET THE REQUIREMENTS OF SECTION 171-TYPE C
                                                                                                                                                                                                                                                                                                                                                                                                                                               D.B. 8V PAGE 772                                                                                                                                                                                                              No.             Revision/Issue            Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       490                                                       TEMPORARY SILT GEORGIA D.O.T. OR GSWCC SPEC. ALL SILT FENCE TO BE
                                                                                                                                                                                                                                                                                                                                                      S 17




                                                                                                                                                                                                                                                                                                                                                                                                                                               D.B. 3J PAGE 241
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 WIRE BACKED.
                                                                                                                                                                                                                                                                                                                                                 °25'1
                                                                                                                                                                                                                                                                                                                                                 383.3
                                                                                                                                                                                                                                                                                          450



                                                                                                                                                                                                                                                                                                          46



                                                                                                                                                                                                                                                                                                                      47




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              8. SEDIMENT STORAGE VOLUME @ 67 CY/ACRE MUST BE INSTALLED PRIOR TO
                                                                                                                                                                                                                                                                                                                                     480




                                                                                                                                                                                                                                                                                                                                                      7" E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             LOG CREEK, LLLP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             500
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                                                                                                                                                                                                                                                                                                                                                       8'



                                                                                                                                                                                                                                                                                                                                                              490
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                                                                                                                                                                                                                                                                           45
                                                                                                                                                                                                                                                                                0                                                                                                                                                                                                                                                                                                                STABILIZATION OCCURS.
                                                                                                                                                                                                                                                                                                                                                       IPF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              9. STORMWATER WILL BE DISCHARGED FROM THE SITE AT LOCATIONS SHOWN
                                                                                                                                                                                                                                                                                                                                                                     ACCESS ROAD Du
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                LAND USE PLANS -
  SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ON C-01 IN ACCORDANCE WITH APPLICABLE LOCAL AND FEDERAL
                                                                                                                                                                                                                                                                  460




                                                                                                                                                                                                                                                       WETLANDS                                                                                                                                                                                                                                                                                                                                  REQUIREMENTS.
                                                                                                                                                                                                                                                                                                                                                                                     OFFICE AND PARKING AREA                                                                                                                                                                                                                                                                 CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                  470




                                                                                                                                                                                                                                                                                                     IPS                                                                                                        N/F
                                                                                                                                                                                                                                                                                                                                                                                                         LOG CREEK LLLP
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                                                                                                                                                                                                                                                                                                                                                              S 12°33'




                                                                                                                                                                                                                                                                                                                                                                                                         PARCEL# 016 028

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                                                                                                                                                                                                                                                                                                                                                                  842.37




                                                                                                                                                                                                                                                                                                                                                                                                         D.B. 8V PAGE 765
                                                                                                                                                                                                                                                                                                                                                                                                          P.B. 5 PAGE 44
                                                                                                                                                                                                                                                                                                                                                                       16" E
                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                     E
                                                                                                                                                                                                                                                                                                 22"




                                                                                                                                                                                                                                                                                                                                                                                     SCALE AND SCALE HOUSE
                                                                                                                                                                                                                                                                                               28'
                                                                                                                                                                                                                                                                                            °27'
                                                                                                                                                                                                                                                                                          777.
                                                                                                                                                                                                                                                                                      N 19




                                                                                                                                                                                                                                                                        Co
                                                                                                                                                                                                                                                                                                                      L5
                                                                                                                                                                                                                                                                                                                                           L4                C1
                                                                                                                                                                                                                                                                                                                                                                        L3 IPS                                                                                                                                                                                                                                                                           N                   Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                            C2                                         TIMBER ROAD                             30" PINE                                                                                                                                                                                                                                                                                                  20-038
                                                                                                                                                                                                                                                                                                           TIMBER ROAD                                                         TREE
                                                                                                                                                                                                                                                                                                                   58 - UNPAVED

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  C-04
                                                                                                                                                                                                                                                                                                                                                                 TIE                                                                                                                                                                                                                                                                                                         Date
                                                                                                                                                                                                                                                                                               (AKA COUNTY ROAD PAGE 44)                               S 12°33'16" E
                                                                                                                                                                                                                                                                             IPS                                   5
                                                                                                                                                                                                                                                                                                  30' R/W PER P.B.
                                                                                                                                                                                                                                                                                             L6
                                                                                                                                                                                                                                                                                                                                                              27.48'                                                                                                                                                                                                                                                                                                                 02/07/2022
                                                                                                                                                                                                                                                                                                                              SITE ENTRANCE                                                                                                                                                                                                                                                                                                   0         300'          600'   Scale
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1" = 300'
                                                                                                 2018 CARRYOVER          ATTACHMENT
                                                                                                       Case 3:22-cv-00107-CDL Document 6-1 - Filed
                                                                                                                                             EXHIBIT
                                                                                                                                                   10/28/22C:Page
                                                                                                                                                              NORRIS       CASON
                                                                                                                                                                  651 of 666




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LEGEND




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       0+00
                                                                                                                                                                                                                                                                                                                                              STA 7+75.93 =
                                                                                                                                                                                                                                                                                                                                              STA 54+24.94 END                                                                                                                                                                                                                                                                                                                                                                  GeoLogic, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         PROPERTY LINE                                          9465 Main Street
                                                                                                                                                                                                                                                                                                                           GEORGIA RAILROAD




                                                                                                                                                                                                                                                                                                                                                                                                                   5+00
                                                                                                                                                                                                                                                                                                                                                                      10+00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         IPF                                                                                                                                                                                    Suite 310
                                                                                                                                                                                                                                                                                                                                              (150' R/W)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         PERMIT BOUNDARY                                        Woodstock, GA 30188
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1"
                                                                                                                                                                                                                                                             PROPERTY LINE                                                                N 86°09'47" E
                                                                                                                                                                                                                                                                                                                                                                                    2582.93'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       3'0 '                                                                                                                                             STREAM CENTERLINE                                      (770) 824-4212




                                                                                                                                                                                                                                                                                                                                                                                                                                       0
                                                                                                                                 R ROAD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    °0       6




                                                                                                                                                                                                                                                                                                                                                                                                                                    +0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  47 76.9                                                                                                                                                                                                       www.geologicllc.net
                                                                                                                                                                                                                                                                   100' BUFFER
                                                                                                                                                                                                                     IPF                                                                                                                                                                                                                                                                                        S




                                                                                                                                                                                                                                                                                                                                                                                                                                 50
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                                                                                                                                                                   N 86°11'25" E 1464.75 OF
                                                                                                                                                                                                                 (P.O.B.)                                                                                                                                                                                                                                                                                                                                                                                                                                                50FT BUFFER                                            PEF007535 - 06/30/22
                                                                                                                                   56




                                                                                                                                           CMF                 FROM THE INTERSE
                                                                                                                                                                                   CTION
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                                                                                                               80' R/W TY ROAD




                                                                                                                                                                                EE RIVER ROAD (AKA D (P.O.C.)
                                                                                                                                                                                                                                                                                                                                                                45
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                                                                                                                                                            OF WAY OF OGEECH                A RAILROA                                                                                                                      0                                                                                                                                                                              IPS

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                                                                                                                                          THE WESTERLY RIGHT RLY RIGHT OF WAY OF GEORGI
                                                                                                                      - 20' PA




                                                                                                                                                AND THE SOUTHE
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                                                                                                                                                                                                                                                                                           Sd1                                                                                        WETLANDS                                                                                                                                                                                                                                                                           BUFFER ZONE Bf-U
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                                                                                                                                                                                                                                                             872.25'
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                                                                                                                                                                                                                                                                                                                                                                      SEDIMENT BASIN 1                                                                                                                             STREAM CROSSING 2                                                                                                                                     WETLANDS
                                                                                                       OGEE




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                                                                                                                                                                                                                                                                                                                                                                               420C-16)                                                                                                                            (SEE SHEET C-13)
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                                                                                                                                                                                                           STREAM CROSSING 1
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          NO. 8 TURNOUT SWITCH
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                                                                                                                                                                     PARCEL# 016 022
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                                                                                                                                                                                                                                                                                                                                                                                                 440                                                                                                        Di                                                                                                                  EROSION CONTROL LEGEND
                                                                                                                                                                                                                                                                         18" SWEETGUM
                                                                                                                                                                     D.B. 7V PAGE 731
                                                                                                                                                                                                                                                                                                                                        Sd3                                                                                                                                                                                                                                                                                                         MAP
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     CODE PRACTICE       DETAIL                              DESCRIPTION
                                                                                                                                                                                                                                               NO. 8 TURNOUT SWITCH
                                                                                                                                                                                                                                                                                                                                                                                                                   44




                                                                                                                                                                     P.B. A PAGE 263A
                                                                                                                                                                                                                                                                                                                                                                                PLANT SITE 0                                                                    40+0                                                                                                                                                                               SYMBOL
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                                                                                                                                                                                                                                      1055 45" E




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1. EXISTING CONTOUR DATA SHOWN FROM
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        USGS LIDAR, DATED 3-13-2018.
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                                                                                                                                                                                                                                                                                                          430




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LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-05.dwg




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                                                                                                                                          IPF                                                                                                                                                                                                           REF. P.B. 2 PAGE 66                                                                                                                                                      S 88°17'38"
                                                                                                                                                                                                                                                                                                                                                    15 D.B. 3J PAGE 241
                                                                                                                                                                                                                                                                                                                                                          +0                                                                                            CMF                                                                        29
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                                                                                                                                                               LOG CREEK LLLP
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                                                                                                                                                               D.B. 8V PAGE 772
                                                                                                                                                                                                                                                                                                                                                                                                                                                        PROPERTY LINE
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                                                                                                                                                                                                                                                                                                                                                                            51
                                                                                                                                                                                                                                                                      .18'
                                                                                                                                                                                                                                                                       0" W




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        IPS
                                                                                                                                                                                                                                                                                                                                                                          49




                                                                                                                                                                                                                                                                                                                                                                                                                                                             30                                                                                                                                                      2. EROSION CONTROL MEASURES WILL BE MAINTAINED AT ALL TIMES. IF FULL
                                                                                                                                                                                                                                                                                                                                                                                                                   GRD 483.04
                                                                                                                                                                                                                                                                                                                                                                    0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                    +0
                                                                                                                                                                                                                                                                                                                                                               48




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        IMPLEMENTATION OF THE APPROVED PLAN DOES NOT PROVIDE FOR
                                                                                                                                                  LINE    BEARING                         DISTANCE                                                                                                                                                                                                                                                                         0
                                                                                                                                                                                                                                                                                                                                                            0




                                                                                                                                                                                                                                                                                                                                                                                                         480




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        EFFECTIVE EROSION CONTROL, ADDITIONAL EROSION AND SEDIMENT
                                                                                                                                                                                                                                                                                                                                                         47




                                                                                                                                                  L1      S 70°34'43" W                      232.32'                                                                                                                                                                                                                                                                                                                        Sd1
                                                                                                                                                                                                                                                                                                                                                                                                                                                              31                                                                                                                                                        CONTROL MEASURES SHALL BE IMPLEMENTED.
                                                                                                                                                                                                                                                                                                                                                                        53000 550
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           A
                                                                                                                                                  L2      N 89°25'17" W                      236.28'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    +1
                                                                                                                                                                                                                                                                                                                                                                       0+0 470
                                                                                                                                                  L3      S 85°03'58" W                       41.87'
                                                                                                                                                  L4      S 85°41'30" W                      119.01'
                                                                                                                                                                                                                         WETLANDS                                                                                                                                    150                                                                       W                            4                                                                                                                                        3. ANY DISTURBED AREA LEFT EXPOSED FOR A PERIOD GREATER THAN 14 DAYS
                                                                                                                                                                                                                                                                                                                                                                  470                                                                      07"                                                                                                                                                                          SHALL BE STABILIZED WITH MULCH OR TEMPORARY SEEDING. TEMPORARY
                                                                                                                                                  L5      S 83°56'43" W                      394.91'                                                                                                                                                                                                                                  °17'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        SEEDING SHALL BE APPLIED ACCORDING TO THE GSWCC SEEDING AND
                                                                                                                                                                                                                                                                                                                                                            LINE D




                                                                                                                                                                                                                                                                                                                                                                                                                               S 63         .17'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Di
                                                                                                                                                                                                                                                                                                                                                        ERTY DONE




                                                                                                                                                  L6      S 40°49'17" W                       43.47'                                                                                                                                                                     460                                  R                        1722
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                                                                                                                                                                                                                                                                                                                                                                                                          FFE                                                                                                                                                                                                           FERTILIZATION SCHEDULES.
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                                                                                                                                                                                                                                                                                                                               45
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                                                                                                                                                                                                                                                                                                                                                                                                 100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     4. ANY DISTURBED AREAS IDLE FOR 30 DAYS SHALL BE STABILIZED WITH
                                                                                                                                                                                                                                                                                                                                                                                                                                    0




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                                                                                                                                                  CURVE      RADIUS              ARC LENGTH            CHORD LENGTH             CHORD BEARING
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        PERMANENT SEEDING. PERMANENT SEEDING SHALL BE TALL FESCUE AND
                                                                                                                                                  C1         1075.74'            247.86'               247.31'                  N 85°42'41" W
                                                                                                                                                                                                                                                                                                                                        00                                                             PER
                                                                                                                                                                                                                                                                                                                                                    TO BE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        SERICEA LESPEDEZA MIX OR OTHER COMPARABLE MIX APPROPRIATE FOR THE
                                                                                                                                                                                                                                                                                                                                                                                                                                                               480




                                                                                                                                                  C2         239.61'             244.86'               234.34'                  S 60°59'46" W
                                                                                                                                                                                                                                                                                                                                     5+                                                          PRO
  PLOT DATE: 2/17/2022




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          N/F                                                                                                                                           TIME OF APPLICATION.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LOG CREEK LLLP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     PARCEL# 016 027                                                                                                                                 5. EROSION AND SEDIMENT CONTROL MEASURES SHOULD BE INSPECTED
                                                                                                                                                                                                                                                                                                                                                          IPS
                                                                                                                                                                                                                                                                                                                                                                                                                                                              36.91 ACRES +/-                                                                                                                                           ROUTINELY AFTER EACH MAJOR RAINFALL EVENT, AND REPAIRED AS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D.B. 8V PAGE 772                                                                                                                                  NECESSARY.                                                                  No.             Revision/Issue            Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              490
                                                                                                                                                                                                                                                                                                                                                                      S 17




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      D.B. 3J PAGE 241
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     6. ADDITIONAL EROSION & SEDIMENT CONTROL MEASURES SHALL BE INSTALLED
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                                                                                                                                                                                                                                                                                                                                                                       7" E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LOG CREEK, LLLP
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     7. SILT FENCE SHALL MEET THE REQUIREMENTS OF SECTION 171-TYPE C
                                                                                                                                                                                                                                                                                45
                                                                                                                                                                                                                                                                                     0      C                                                                            IPF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        TEMPORARY SILT GEORGIA D.O.T. OR GSWCC SPEC. ALL SILT FENCE TO BE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        WIRE BACKED.                                                                   SURFACE MINING
                                                                                                                                                                                                                                                                                                                                                                                      ACCESS ROAD Du
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LAND USE PLANS -
  SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     8. SEDIMENT STORAGE VOLUME @ 67 CY/ACRE MUST BE INSTALLED PRIOR TO
                                                                                                                                                                                                                                                                     460




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ANY OTHER LAND DISTURBANCE ACTIVITY AND IN PLACE UNTIL FINAL
                                                                                                                                                                                                                                                          WETLANDS                                                                                                                                      OFFICE AND PARKING AREA                                                                                                                                                                                         STABILIZATION OCCURS.                                                       CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     9. STORMWATER WILL BE DISCHARGED FROM THE SITE AT LOCATIONS SHOWN
                                                                                                                                                                                                                                                   470




                                                                                                                                                                                                                                                                                                            IPS                                                                                                                   N/F
                                                                                                                                                                                                                                                                                                                                                                                                                           LOG CREEK LLLP                                                                                                                                                                               ON C-01 IN ACCORDANCE WITH APPLICABLE LOCAL AND FEDERAL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            CIVIL
                                                                                                                                                                                                                                                                                                                                                                                S 12°33'




                                                                                                                                                                                                                                                                                                                                                                                                                           PARCEL# 016 028                                                                                                                                                                              REQUIREMENTS.
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                                                                                                                                                                                                                                                                                                                                                                                    842.37




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                                                                                                                                                                                                                                                                                                                                                                                                                            P.B. 5 PAGE 44
                                                                                                                                                                                                                                                                                                                                                                                         16" E
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                                                                                                                                                                                                                                                                                                                                                                                                        SCALE AND SCALE HOUSE
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                                                                                                                                                                                                                                                                                                                                                                                          L3 IPS                                                                                                                                                                                                                                                                                N                   Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                                  C2                                                                                              30" PINE                                                                                                                                                                                                                                                                                                      20-038
                                                                                                                                                                                                                                                                                                                  TIMBER ROAD                                                                     TREE
                                                                                                                                                                                                                                                                                                                           58 - UNPAVED

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         C-05
                                                                                                                                                                                                                                                                                                                                                                                   TIE                                                                                                                                                                                                                                                                                                              Date
                                                                                                                                                                                                                                                                                                       (AKA COUNTY ROAD PAGE 44)                                         S 12°33'16" E
                                                                                                                                                                                                                                                                                IPS                                        5
                                                                                                                                                                                                                                                                                                          30' R/W PER P.B.
                                                                                                                                                                                                                                                                                                     L6
                                                                                                                                                                                                                                                                                                                                                                                27.48'                                                                                                                                                                                                                                                                                                                      02/07/2022
                                                                                                                                                                                                                                                                                                                                          SITE ENTRANCE                                                                                                                                                                                                                                                                                                              0         300'          600'   Scale
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1" = 300'
                                                                                                 2018 CARRYOVER          ATTACHMENT
                                                                                                       Case 3:22-cv-00107-CDL Document 6-1 - Filed
                                                                                                                                             EXHIBIT
                                                                                                                                                   10/28/22C:Page
                                                                                                                                                              NORRIS       CASON
                                                                                                                                                                  652 of 666




                                                                                                                                                                                                                                                                                                   GeoLogic, LLC
                                                                                                                                                                                                                                                                                                   9465 Main Street
                                                                                                                                                                                                                                                                                                   Suite 310
                                                                                                                                                                                                                                                                                                   Woodstock, GA 30188
                                                                                                                                                                                                                                                                                                   (770) 824-4212
                                                                                                                                                                                                                                                                                                   www.geologicllc.net
                                                                                                                    600                                                                                                                                          600                               PEF007535 - 06/30/22
                                                                                                                    550                                                                   OVERBURDEN STORAGE                                                     550
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                                                                                                                                                                                    SECTION A-A
LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-06.dwg




                                                                                                                           600                                                                                                                         600
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                                                                                                                                                                                    SECTION B-B



                                                                                                                          750                                                                                                                              750
  PLOT DATE: 2/17/2022




                                                                                                                          700                                                                                                                              700
                                                                                                                          650                                                                                                                              650         No.             Revision/Issue            Date

                                                                                                                          600                                                                                                                              600
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  SAVE DATE: 2/7/2022




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USER: Randy Kunz




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                                                                                                                                                                                    SECTION C-C
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                                                                                                                    400                                                                                                                                430                                                                                                 400                                                                                                                                   430                                                                                                           400                                                                                                                                   430
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                                                                                                                                                                                                                                                                                                            S 04°19'07" W




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                                                                                                                                                                                                                      REF. P.B. 2 PAGE 66                                                                                                                                                                                                                         REF. P.B. 2 PAGE 66                                                                                                                                                                                                                               REF. P.B. 2 PAGE 66
                                                                                                                                                                                                                        D.B. 3J PAGE 241                                                 CMF                                                                                                                                                                        D.B. 3J PAGE 241                                                    CMF                                                                                                                                                                           D.B. 3J PAGE 241                                                    CMF
                                                                                                                                                                             PIT AREA                  460                                                                                                                                                                                                                 PIT AREA                460                                                                                                                                                                                                                   PIT AREA                    460
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  PLOT DATE: 2/17/2022




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                                                                                                                                                                                                                      REF. P.B. 2 PAGE 66                                                                                                                                                                                                                         REF. P.B. 2 PAGE 66                                                                                                                                                                                                                               REF. P.B. 2 PAGE 66                                                                                                           No.             Revision/Issue            Date
                                                                                                                                                                                                                        D.B. 3J PAGE 241                                                 CMF                                                                                                                                                                        D.B. 3J PAGE 241                                                    CMF                                                                                                                                                                           D.B. 3J PAGE 241                                                    CMF
                                                                                                                                                                             PIT AREA                  460                                                                                                                                                                                                                 PIT AREA                460                                                                                                                                                                                                                   PIT AREA                    460
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USER: Randy Kunz




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                                                                                                                                                                                                                                                                        S 63      .17'                                                                                                                                                                                                                            S 63       .17'                                                                                                                                                                                                                                     S 63      .17'                                                              Scale
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                                                                                                                                                                           300 FT BENCH, ROCK = +/- 7,880,000 TONS                                                                                                                                                                                                       250 FT BENCH, ROCK = +/- 7,110,000 TONS                                                                                                                                                                                                       200 FT BENCH, ROCK = +/- 6,380,000 TONS
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    USER: Randy Kunz                                                   SAVE DATE: 2/7/2022                       PLOT DATE: 2/17/2022                                           LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-08.dwg




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                                                                                                                                                                                                                                        EXIST. EL: 403.42                                                                                                                                       EXIST. EL: 451.32                                                 PVI STA 0+00
                                                                                                                                                                                                                                        PROP. EL: 444.93                                                                                                                                        PROP. EL: 451.32                                                  PVI EL 451.32




                                                                                                                                                                                                                                                                                                                                                                                     0+00
                                                                                                                                                                                                                                                                                         PVI STA 20+20.00




                                                                                                                                                                                                                                20+00
                                                                                                                                                                                                                                                                                             PVI EL 444.72




                                                                                                                                                                                                                                                                                                                                                                                                                                           0.00%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PVC EL 451.32
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PVC STA 0+60
                                                                                                                                                                                                                                        EXIST. EL: 408.31                                                                                                                                       EXIST. EL: 452.34
                                                                                                                                                                                                                                        PROP. EL: 444.74                                                                                                                                        PROP. EL: 451.30




                                                                                                                                                                                                                                                                                                                                                                                     1+00




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                                                 EXIST. EL: 454.91                                                                                                                                                                                                                        PVT EL 444.72                                                                                                                                                     PVI EL 451.32
                                                 PROP. EL: 446.17                                                                                                                                                                                                                                                                                                                                                                                         PVI STA 1+60.00




                                         40+00
                                                                                                                                                                                                                                        EXIST. EL: 420.99                                                                                                                                       EXIST. EL: 450.82
                                                                                                                                                                                                                                        PROP. EL: 444.72                                                                                                                                        PROP. EL: 451.08




                                                                                                                                                                                                                                                                                                                                                                                     2+00




                                                                                                                                                                                                                                22+00
                                                                                                                                                                                                                                                                              0.00%
                                                 EXIST. EL: 448.01                                                                                                                                                                                                                                                                                                                                                                                                PVT EL 450.82




                                                                                                                                                                                                                                                                                                                    SWITCH ZONE
                                                 PROP. EL: 446.17                                                                                                                                                                                                                                                                                                                                                                                                 PVT STA 2+60




                                         41+00
                                                                                                                                                                                                                                        EXIST. EL: 428.77                              PVC STA 23+05.00                                                                                         EXIST. EL: 447.56
                                                                                                                                                                                                                                        PROP. EL: 444.72                                                                                                                                        PROP. EL: 450.62




                                                                                                                                                                                                                                                                                                                                                                                     3+00
                                                                                                                                                                                                                                                                                          PVC EL 444.72




                                                                                                                                                                                                                                23+00
                                                                                                                                                                                                                                                                                                                                                                                                                                           -0.50%
                                                 EXIST. EL: 446.17
                                                 PROP. EL: 446.17




                                         42+00
                                                                                                                                                                                                                                        EXIST. EL: 434.06                                                                                                                                       EXIST. EL: 448.44
                                                                                                                                                                                                                                                                                                                                                                                                                                                        PVC STA 4+15.00




                                                                                                            0.00%
                                                                                                                                                                                                                                        PROP. EL: 444.81                                                                                                                                        PROP. EL: 450.12




                                                                                                                                                                                                                                                                                                                                                                                     4+00




                                                                                                                                                                                                                                24+00
                                                                                                                                                                                                                                                                                         PVI STA 24+30.00                                                                                                                                                 PVC EL 450.05
                                                                                                                                                                                                                                                                                             PVI EL 444.72




                                                                                                                                                                      SWITCH ZONE
                                                 EXIST. EL: 444.10
                                                 PROP. EL: 446.17                                                       PVC STA 43+17.50




                                         43+00
                                                                                                                           PVC EL 446.17                                                                                                EXIST. EL: 438.26                                                                                                                                       EXIST. EL: 449.00
                                                                                                                                                                                                                                        PROP. EL: 445.10                                                                                                                                        PROP. EL: 449.70




                                                                                                                                                                                                                                                                                                                                                                                     5+00




                                                                                                                                                                                                                                25+00
                                                                                                                                                                                                                                                                                                                                                                                                                                                         PVI STA 5+40.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2018 CARRYOVER




                                                 EXIST. EL: 440.45                                                                                                                                                                                                                      PVT STA 25+55.00                                                                                                                                                   PVI EL 449.42
                                                                                                                                                                                                                                                                                           PVT EL 445.35
                                                 PROP. EL: 446.23




                                         44+00
                                                                                                                                                                                                                                        EXIST. EL: 439.62                                                                                                                                       EXIST. EL: 448.07




                                                                                                                                                                                                                                                                              0.50%
                                                                                                                                                                                                                                        PROP. EL: 445.57                                                                                                                                        PROP. EL: 449.47




                                                                                                                                                                                                                                                                                                                                                                                     6+00
                                                                                                                                                                                                                                                                                                   PVC EL 445.67




                                                                                                                                                                                                                                26+00
                                                                                                                           PVI STA 44+60.00
                                                                                                                               PVI EL 446.17                                                                                                                                                      PVC STA 26+20
                                                 EXIST. EL: 436.23                                                                                                                                                                                                                                                                                                                                                                                      PVT STA 6+65.00
                                                 PROP. EL: 446.46                                                                                                                                                                                                                                                                                                                                                                                         PVT EL 449.42




                                         45+00
                                                                                                                                                                                                                                        EXIST. EL: 440.77                                                                                                                                       EXIST. EL: 444.65
                                                                                                                                                                                                                                        PROP. EL: 445.99                                                                                                                                        PROP. EL: 449.42




                                                                                                                                                                                                                                                                                                                                                                                     7+00
                                                                                                                                                                                                                                                                                               PVI EL 446.17




                                                                                                                                                                                                                                27+00
                                                                                                                                                                                                                                                                                           PVI STA 27+20.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Case 3:22-cv-00107-CDL




                                                 EXIST. EL: 435.09                                                       PVT STA 46+02.50
                                                 PROP. EL: 446.86                                                           PVT EL 446.88




                                         46+00
                                                                                       EXISTING GROUND
                                                                                                                                                                                                                                        EXIST. EL: 442.00                                                                                                                                       EXIST. EL: 442.93
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 449.42




                                                                                                                                                                                                                                                                                                                                                                                     8+00
                                                                                                                                                                                                                                                                                                    PVT EL 446.17




                                                                                                                                                                                                                                28+00
                                                                                                                                                                                                                                                                                                   PVT STA 28+20
                                                 EXIST. EL: 430.00
                                                 PROP. EL: 447.36


                                                                                                                                                                                                                                                                                                                                                                                                                                          0.00%




                                         47+00
                                                                                                                                                                                                                                        EXIST. EL: 441.94                                                                                                                                       EXIST. EL: 442.33
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 449.42




                                                                                                                                                                                                                                                                                                                                                                                     9+00




                                                                                                                                                                                                                                29+00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               SWITCH ZONE




                                                 EXIST. EL: 425.64
                                                 PROP. EL: 447.85                                                                                                                                                                                                                                                                                                                                                                                             PVC EL 449.42




                                                                                                             0.49%




                                         48+00
                                                                                                                                                                                                                                        EXIST. EL: 439.67                                                                                                                                       EXIST. EL: 444.30                                             PVC STA 9+80
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 449.42




                                                                                                                                                                                                                                                            EXISTING GROUND




                                                                                                                              PROPOSED TOP OF
                                                                                                                                                                                                                                                                                                                                                                                     10+00




                                                                                                                                                                                                                                30+00
                                                 EXIST. EL: 430.38




                                                                                                                              COMPACTED SUBBALLAST
                                                 PROP. EL: 448.34                                                                                                                                                                                                                                                                                                                                                                                         PVI EL 449.42




                                         49+00
                                                                                                                                                                                                                                        EXIST. EL: 437.53                                                                                                                                       EXIST. EL: 447.10                                     PVI STA 10+80.00
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 449.24




                                                                                                                                                                                                                                                                                                                                                                                     11+00




                                                                                                                                                                                                                                31+00
                                                 EXIST. EL: 441.66
                                                                                                                                       PVC EL 448.86                                                                                                                                                                                                                                                                                                         PVT EL 448.92
                                                 PROP. EL: 448.83




       RAIL PROFILE STA 40+00 THRU END
                                                                                                                                      PVC STA 50+06




                                         50+00
                                                                                                                                                                                                                                        EXIST. EL: 439.28                                                                                                                                       EXIST. EL: 444.61                                           PVT STA 11+80
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 448.82

                                                                                                                                                                                                                                                                                                                                                                                     12+00




                                                                                                                                                                                                                                32+00
                                                                                                                                                                                                                                                                                      PROPOSED TOP OF
                                                 EXIST. EL: 447.12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ATTACHMENT




                                                                                                                                                                                                                                                                                                                                                                                                                       EXISTING GROUND




                                                                                                                                                                                                                                                                                                                                                  RAIL PROFILE STA 0+00 THRU 20+00
                                                 PROP. EL: 449.23




                                                                                                                                                                                            RAIL PROFILE STA 20+00 THRU 40+00
                                                                                                                                   PVI EL 449.42




                                         51+00
                                                                                                                               PVI STA 51+20.00                                                                                         EXIST. EL: 442.71                                                                                                                                       EXIST. EL: 442.35




                                                                                                                                                                                                                                                                                      COMPACTED SUBBALLAST
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 448.32
                                                                                                                                                                                                                                                                                                                                                                                     13+00




                                                                                                                                                                                                                                33+00
                                                 EXIST. EL: 447.82
                                                 PROP. EL: 449.41




                                         52+00
                                                                                                                                        PVT EL 449.42                                                                                   EXIST. EL: 448.26                                                                                                                                       EXIST. EL: 440.01
                                                                                                                                       PVT STA 52+34                                                                                    PROP. EL: 446.17                                                                                                                                        PROP. EL: 447.82
                                                                                                                                                                                                                                                                                                                                                                                     14+00




                                                                                                                                                                                                                                34+00
                                                 EXIST. EL: 445.91
                                                 PROP. EL: 449.42




                                         53+00
                                                                                                                                                                                                                                                                                                                                                                                                                                         PROPOSED TOP OF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Document 6-1 - Filed




                                                                                                                                                                                                                                        EXIST. EL: 456.33                                                                                                                                       EXIST. EL: 434.47
                                                                                                                                                                                                                                                                                                                    RAIL CAR LOADING ZONE




                                                                                                             0.00%
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 447.32
                                                                                                                                                                                                                                                                                                                                                                                     15+00




                                                                                                                                                                                                                                35+00
                                                                                                                                                                                                                                                                                                                                                                                                                                         COMPACTED SUBBALLAST
                                                                                                                                                                                                                                                                                                                                                                                                                                                         -0.50%




                                                 EXIST. EL: 443.51
                                                 PROP. EL: 449.42




                                         54+00
                                                                                                                               PVI STA 54+25.94                                                                                         EXIST. EL: 460.64                                                                                                                                       EXIST. EL: 423.12
                                                                                                                               PVI EL 449.42                                                                                            PROP. EL: 446.17                                                                                                                                        PROP. EL: 446.82
                                                                                                                                                                                                                                                                                                                                                                                     16+00




                                                                                                                                                                                                                                36+00
                                                                                                                                                                                                                                                                              0.00%




                                         55+00
                                                                                                                                                                                                                                        EXIST. EL: 461.00                                                                                                                                       EXIST. EL: 416.41
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 446.32
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                                                                                                                                                                                                                                        EXIST. EL: 460.51                                                                                                                                       EXIST. EL: 412.95
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 445.82
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                                                                                                                                                                                                                                        EXIST. EL: 458.92                                                                                                                                       EXIST. EL: 410.19                                   PVC STA 18+95.00
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 445.32                                    PVC EL 445.35
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                                                                                                                                                                                                                                        EXIST. EL: 454.91                                                                                                                                       EXIST. EL: 403.42
                                                                                                                                                                                                                                        PROP. EL: 446.17                                                                                                                                        PROP. EL: 444.93
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                                    Date


       Scale
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AS NOTED
                       02/07/2022
                                                                               CIVIL
                                                                                                                                                     Revision/Issue
                                                                                                                                                                                                                                                                                                                                                                                             General Notes




                                                                                                                    LOG CREEK, LLLP
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                                                 Sheet
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Suite 310




                                                                     RAIL PROFILE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      GeoLogic, LLC




                                                                                                 SURFACE MINING
                                                                                                 LAND USE PLANS -
                                                                                                                                                                                                                                                                                                                                                                                                                    FOR REVIEW ONLY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (770) 824-4212
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      9465 Main Street




                  C-08
                                                                                                                                                     Date
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                                                                                              CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      PEF007535 - 06/30/22
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Woodstock, GA 30188
       USER: Randy Kunz                                                       SAVE DATE: 2/7/2022                                  PLOT DATE: 2/17/2022                        LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-09.dwg




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                                                               EL: 446.38'                                                                                                                   OS: 12.00' R                                                                                                                   OS: 12.81' R                               OS: 12.00' R                                              OS: 12.00' R
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                                                              OS: -10.00' L




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                                                               EL: 446.82'                                                                                                                                                                                       OS: 24.24' R
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                                                                                                                                                                                    EL: 438.38'                                                                                                                                                                 EL: 444.52'
                                                                OS: 60.35' R                                                                                                                                                                  OS: -38.98' L                                                                                                            OS: -59.11' L




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                                                          OS: -89.71' L                                                                                                              EL: 440.31'                                                                                                                                                                       OS: 12.00' R
                                                          EL: 417.03'                                                                                                                                                                                                                                                      OS: 13.79' R
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                                                              OS: -10.00' L                                                                                                                                                                                                                                                                                   EL: 445.26'
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                                                               EL: 446.32'                                                                                                                                                                                                                                                                                        OS: -36.94' L
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                                                                EL: 446.22'                                                                                                                                                                                                                                                                                                                                                    EL: 446.90'
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                                                              OS: 12.00' R                                                                                                                EL: 446.88'                                                                                                                                                                                                                                                  EL: 450.38'




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                                                               EL: 446.08'
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  SECTION @ STA: 17+00
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                                                          EL: 416.15'                                                                                                           OS: 36.52' R
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                                                                                                                                                                                                                                                                                                                                                                                                                                                       EL: 449.88'
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                                                                                                                                                                                                                                                                       EL: 448.82'
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                                                                                                                                                                                                                                                                       EL: 448.72'                                                                                     EL: 449.42'                                                                     EL: 450.12'
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                                                                                                                                                                                                                                                                       OS: 12.00' R                                                                                                                                                                    OS: 12.00' R
                                                                                                                                                                                                                                                                                                                                                                       EL: 449.32'                                             OS: 14.53' R
                                                                                                                                                                                                                                                                       EL: 448.58'                                                                                                                                                                     EL: 449.88'
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                                                                                                                                                                                                                                           EL: 443.14'                                                                                                                 EL: 449.18'
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                                        20-038




AS NOTED
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                                                                                                                                                      Revision/Issue
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                                                                                                                                    LOG CREEK, LLLP
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                                            Sheet
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                                                                                                                                                                                                                                                                                                                                                                                                                                                       GeoLogic, LLC




                                                                                                           SURFACE MINING
                                                                                                           LAND USE PLANS -
                                                                                                                                                                                                                                                                                                                          1. PROPOSED GRADE LINE IN ALL SECTIONS
                                                                                                                                                                                                                                                                                                                                                                                                            FOR REVIEW ONLY
                                                                                                                                                                                                                                                                                                                                                                                                                                                       (770) 824-4212




                                                                                                                                                                                                                                                                                                                             FOR CLARITY AND WILL BE CONSTRUCTED
                                                                                                                                                                                                                                                                                                                             ACCORDING TO CSX TYPICAL CUT AND FILL
                                                                                                                                                                                                                                                                                                                                                                                                                                                       9465 Main Street




                         C-09
                                                                                                                                                                                                                                                                                                                          2. DRAINAGE DITCHES AND BERMS NOT SHOW




                                                                         RAIL SECTIONS (1 OF 4)
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                                                                                                        CRUSHED STONE QUARRY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                       Woodstock, GA 30188
       USER: Randy Kunz                                                       SAVE DATE: 2/4/2022                                  PLOT DATE: 2/17/2022                         LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-10.dwg




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  SECTION @ STA: 27+00
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                                                              EL: 438.16'                                                                                                                                                                          EL: 444.28'                                                                                                EL: 444.49'                                                            EL: 445.38'

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                                                                   EL: 445.73'                                                                                                          EL: 444.66'




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                                                                    OS: -10.00' L                                                                                                       OS: -10.00' L
                                                                    EL: 446.17'                                                                                                         EL: 445.10'                                         OS: 73.65' R
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                                                                                                                                                                                                                                            EL: 413.66'
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                                                                    OS: 12.00' R                                                                                                        OS: 12.00' R
                                                                    EL: 445.93'                                                                                                         EL: 444.86'                                                                                                                            OS: 100.25'
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  SECTION @ STA: 28+00
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                                                               OS: 24.63' R                                                                                                                                                                                                                                                    EL: 400.57'
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                                                                    EL: 446.17'                                                                                                         EL: 445.57'
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                                                                    OS: 12.00' R                                                                                                        OS: 12.00' R                                                                                                                                                          EL: 444.30'                                                            EL: 444.88'
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                                                                    EL: 445.93'                                                                                                         EL: 445.33'
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  SECTION @ STA: 29+00
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                                                               OS: 24.81' R                                                                                                                                                                                       EL: 444.62'
                                                               EL: 439.53'                                                                                                        OS: 29.31' R                                                                                                                                                               OS: -10.00' L                                                          OS: -10.00' L
                                                                                                                                                                                  EL: 436.68'                                                                     OS: 12.00' R
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            Scale
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                                        20-038




AS NOTED
                         02/07/2022
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                                                                                             CIVIL
                                                                                                                                                      Revision/Issue
                                                                                                                                                                                                                                                                                                                                                               General Notes




                                                                                                                                    LOG CREEK, LLLP
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                                            Sheet
                                                                                                                                                                                                                                                                                                                                                                                                                                               Suite 310
                                                                                                                                                                                                                                                                                                                                                                                                                                               GeoLogic, LLC




                                                                                                           SURFACE MINING
                                                                                                           LAND USE PLANS -
                                                                                                                                                                                                                                                                                                                1. PROPOSED GRADE LINE IN ALL SECTIONS
                                                                                                                                                                                                                                                                                                                                                                                                   FOR REVIEW ONLY
                                                                                                                                                                                                                                                                                                                                                                                                                                               (770) 824-4212




                                                                                                                                                                                                                                                                                                                   FOR CLARITY AND WILL BE CONSTRUCTED
                                                                                                                                                                                                                                                                                                                   ACCORDING TO CSX TYPICAL CUT AND FILL
                                                                                                                                                                                                                                                                                                                                                                                                                                               9465 Main Street




                         C-10
                                                                                                                                                                                                                                                                                                                2. DRAINAGE DITCHES AND BERMS NOT SHOW




                                                                         RAIL SECTIONS (2 OF 4)
                                                                                                                                                                                                                                                                                                                   REPRESENTS TOP OF OF SUBBASE WITH 6" OF




                                                                                                                                                      Date
                                                                                                                                                                                                                                                                                                                                                                                                                                               www.geologicllc.net




                                                                                                        CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                                                                                                                                                                                               PEF007535 - 06/30/22
                                                                                                                                                                                                                                                                                                                                                                                                                                               Woodstock, GA 30188
       USER: Randy Kunz                                                      SAVE DATE: 2/4/2022                                  PLOT DATE: 2/17/2022                            LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-11.dwg




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                                                                                  EL: 446.22'                                                                                                                                                                                                                                                                                                                                                           EL: 436.64'




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                                                                                                                                                                                    EL: 446.17'                                                                                                                                                                                                                                                                EL: 446.17'
                                                              OS: -63.72' L
                                                              EL: 430.56'                                                                                                           OS: 0.00'                                                OS: -10.00' L                                                                   OS: -10.00' L                                                                                                                     OS: 0.00'




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                                                                                                                                                        EL: 445.27'                 EL: 445.93'                                                                                                                                                                                                                                                                EL: 445.93'
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                                                                                                                      SECTION @ STA: 43+00
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  SECTION @ STA: 46+00
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                                                                                                                                                                                    EL: 445.99'                                                                                                                               EL: 445.93'
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                                                                                                                                                                                OS: 20.71' R




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                                                                                                                                                                                                                                             OS: -32.00' L              EL: 447.47'                                                                                                                                                     OS: -32.00' L
                                                                                                                                                                                                                                              EL: 445.73'                                                                                                                                                                                EL: 445.73'
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                                                                                                                                                                                                                                                                                                                              EL: 445.73'
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                                                                                                                                                                                                                                              EL: 446.17'                                                                                                                                                                                                      EL: 446.17'
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                                                                                                                                                                                                                                                 OS: 0.00'                                                                   OS: -10.00' L                                                                                                                     OS: 0.00'
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                                                                                                                                                                                                                                               EL: 446.07'                                                                    EL: 446.17'                                                                                                                      EL: 446.07'
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                                                                                                                                                                                                                                                                                                                               EL: 446.07'
                                                                                                                                                                                                                                              EL: 445.93'               OS: 16.78' R                                                                                                                                                                           EL: 445.93'
                                                                                                                                                                                                                SECTION @ STA: 41+00




                                                                                                                                                                                                                                                                        EL: 448.33'
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            Scale
                                            Project #
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                                        20-038




AS NOTED
                         02/07/2022
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                                                                                            CIVIL
                                                                                                                                                         Revision/Issue
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                                                                                                                                   LOG CREEK, LLLP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     CASON




                                            Sheet
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Suite 310
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   GeoLogic, LLC




                                                                                                          SURFACE MINING
                                                                                                          LAND USE PLANS -
                                                                                                                                                                                                                                                                                                                              1. PROPOSED GRADE LINE IN ALL SECTIONS
                                                                                                                                                                                                                                                                                                                                                                                                                      FOR REVIEW ONLY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (770) 824-4212




                                                                                                                                                                                                                                                                                                                                 FOR CLARITY AND WILL BE CONSTRUCTED
                                                                                                                                                                                                                                                                                                                                 ACCORDING TO CSX TYPICAL CUT AND FILL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   9465 Main Street




                         C-11
                                                                                                                                                                                                                                                                                                                              2. DRAINAGE DITCHES AND BERMS NOT SHOW




                                                                        RAIL SECTIONS (3 OF 4)
                                                                                                                                                                                                                                                                                                                                 REPRESENTS TOP OF OF SUBBASE WITH 6" OF




                                                                                                                                                         Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   www.geologicllc.net




                                                                                                       CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   PEF007535 - 06/30/22
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Woodstock, GA 30188
                                                                                                 2018 CARRYOVER          ATTACHMENT
                                                                                                       Case 3:22-cv-00107-CDL Document 6-1 - Filed
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                                                                                                  470                                                                                                                                                                                                                                 470             470                                                                                                                                                                                                                                           470                               GeoLogic, LLC
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 OS: -10.00' L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           OS: -32.00' L
                                                                                                                                                                                                                   OS: -10.00' L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               OS: 12.00' R
                                                                                                                                                                                       OS: -32.00' L




                                                                                                                                                                                                                                                 OS: 12.00' R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 EL: 447.85'


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 EL: 447.74'


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               EL: 447.61'
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                                                                                                                                                                                                                   EL: 447.36'


                                                                                                                                                                                                                                   EL: 447.25'


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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Suite 310
                                                                                                                                                                                       EL: 446.92'




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                                                                                                  460                                                                                                                                                                                                                                 460             460                                                                                                                                                                                                                                           460                               Woodstock, GA 30188
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (770) 824-4212
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      www.geologicllc.net
                                                                                                                                                                                                                                                                     OS: 41.48' R




                                                                                                  450                                                                                                                                                                                                                                 450             450                                                                                                                                                                                                                                           450
                                                                                                                                                                                                                                                                     EL: 432.37'




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                                                                                                                                  OS: -70.76' L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   OS: 53.96' R
                                                                                                                                  EL: 427.54'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   EL: 426.63'
                                                                                                                                                                                                                                                                                                                                                                                                             OS: -78.21' L
                                                                                                                                                                                                                                                                                                                                                                                                             EL: 424.30'
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                                                                                                                                                                                                                                                 OS: 12.00' R




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 EL: 448.83'


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 EL: 448.72'


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               EL: 448.59'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           EL: 448.39'
                                                                                                                                                                                                                   EL: 448.34'


                                                                                                                                                                                                                                   EL: 448.23'


                                                                                                                                                                                                                                                 EL: 448.10'
                                                                                                                                                                                       EL: 447.90'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 OS: 0.00'
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                                                                                                                                                                                                                                                                                                                                                                                                                                                     OS: -46.91' L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               EL: 441.70'
                                                                                                                                                                                                                                                                                                                                                                                                                                                     EL: 440.94'
                                                                                                  450                                                                                                                                                                                                                                 450             450                                                                                                                                                                                                                                           450
                                                                                                                                       OS: -67.03' L




                                                                                                                                                                                                                                                                            OS: 46.42' R




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                                                                                                                                                                                                                                                                            EL: 430.89'
                                                                                                                                       EL: 430.39'




                                                                                                  440                                                                                                                                                                                                                                 440             440                                                                                                                                                                                                                                           440   1. PROPOSED GRADE LINE IN ALL SECTIONS
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LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-12.dwg




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                                                                                                                                                                                                                                                                                                                                                                                                                      OS: 47.74' R
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                                                                                                                                                                                                                                                                                                                                                                                                                                     OS: 61.31' R
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                                                                                                                                                                                                                                                                                                                    EL: 448.97'
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                                                                                                                                                                                                                                                                                                                                                                                               EL: 448.69'
                                                                                                                                                                                                                                                                                                                                                                                              OS: 32.83' R
                                                                                                                                                                                                                                                                                                                                                                           EL: 448.35'
                                                                                                                                                                                                                                                                                                                                                                          OS: 13.64' R




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                                                                                                                                                                                                  EL: 447.79'
                                                                                                                                                                                                 OS: 14.41' R




                                                                                                                                                                                                                                                                                                          EL: 445.38'
                                                                                                                                                                                                                                                                                                         OS: -39.19' L
                                                                                                                   EL: 445.08'
                                                                                                                  OS: -39.43' L




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  PLOT DATE: 2/17/2022




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  SAVE DATE: 2/4/2022




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USER: Randy Kunz




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                                                                                                       Case 3:22-cv-00107-CDL Document 6-1 - Filed
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LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-13.dwg




                                                                                                                                                        CONCRETE HEADWALL                                                                                                                               CONCRETE HEADWALL
                                                                                                                                                        PIPE INV. EL: 400.76                                                                                                                              PIPE INV. EL: 404.52                                                                                        CONCRETE HEADWALL
                                                                                                                                                                                                                                                                                                                                                                                                                        PIPE INV. EL: 424.43                                                                              CONCRETE HEADWALL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            PIPE INV. EL: 426.51

                                                                                                                                                                                                                                                                                                                                                                                                                          116 LF OF 4' X 4' PRECAST
                                                                                                                                                                  192 LF OF 4' X 4' PRECAST                                                                                                                                                                                                                               CONCRETE BOX CULVERT
                                                                                                                                                                  CONCRETE BOX CULVERT




                                                                                                                                                                                                                                                                     0
                                                                                                                                                                                                                                                                 21+0


                                                                                                                                                                                          RAIL CORRIDOR STREAM CROSSING 1                                                                                                                                                                                                                             RAIL CORRIDOR STREAM CROSSING 2

                                                                                                 480                                                                                                                                                                                                                                                                                               480   490                                                                                                                                                                                                       490

                                                                                                 470                                                                                                                                                                                                                                                                                               470   480                                                                                                                                                                                                       480
                                                                                                                                                                                                                                                 PVI EL 444.87
                                                                                                                                                                                                                                                 PVI STA 1+25
                                                                                                                                                                                                                            PVI STA 1+02.75




                                                                                                                                                                                                                                                                        PVI STA 1+47.26
                                                                                                                                                                                                                            PVI EL 444.64




                                                                                                                                                                                                                                                                        PVI EL 444.43




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               INV EL 426.51
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        PVI STA 1+00.01
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PVI STA 1+23.28




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               STA 1+56.91
                                                                                                 460                                                                                                                                                                                                                                                                                               460   470                                                                                                                                                                                                       470
                                                                                                                                                                                                                                                                                                                                                                                                                                               STA 0+40.76




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 PVI STA 1+29.22
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        PVI EL 447.95




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  PVI EL 447.75
                                                                                                                                                                                                                                                                                                                                                                       INV EL 404.52




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 PVI EL 444.95
                                                                                                                                                                                                                                                                                                                                                                       STA 2+16.68
                                                                                                              INV EL 400.76




                                                                                                 450                                                                                                                                                                                                                                                                                               450   460                                                                                                                                                                                                       460
                                                                                                              STA 0+24.31




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 PVI STA 1+56.16
                                                                                                                                                                                                                                                                                                                                                                                                                                  PVI STA 0+41.51




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 PVI EL 432.18
                                                                                                                                                                                                                                                                                                                                                                                                                                  PVI EL 430.98




                                                                                                 440                                                                                                                                                                                                                                                                                               440   450                                                                                                                                                                                                       450
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                                                                                                                              PVI STA 0+25.06




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                                                                                                                              PVI EL 406.19
  PLOT DATE: 2/17/2022




                                                                                                 420                                                                                                                                                                                                                                                                                               420   430                                                                                           -1.79%                                                                                                      430
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         No.             Revision/Issue            Date
                                                                                                 410                                                                                                                                                                                                                                                                                               410   420                                                                                                                                                                                                       420
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                                                                                                 400                                                                                                                                                                                                                                                                                               400   410                                                                                                                                                                                                       410                   LOG CREEK, LLLP

                                                                                                 390                                                                                                                                                                                                                                                                                               390   400                                                                                                                                                                                                       400
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            LAND USE PLANS -
  SAVE DATE: 2/7/2022




                                                                                                 380                                                                                                                                                                                                                                                                                               380   390                                                                                                                                                                                                       390   CRUSHED STONE QUARRY
                                                                                                       0+00        0+20                                0+40                   0+60                0+80                    1+00                1+20               1+40                       1+60                1+80                    2+00                  2+20                     2+40 2+50               0+00       0+20              0+40                     0+60              0+80             1+00                   1+20                 1+40              1+60                           1+80   2+00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 CIVIL
                                                                                                                                                                                                                                        SECTION A-A                                                                                                                                                                                                                                        SECTION B-B                                                                                                                    RAIL CORRIDOR STREAM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            CROSSING DETAILS

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Project #                        Sheet
USER: Randy Kunz




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                                                                                                 2018 CARRYOVER          ATTACHMENT
                                                                                                       Case 3:22-cv-00107-CDL Document 6-1 - Filed
                                                                                                                                             EXHIBIT
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                                                                                                                                                              NORRIS       CASON
                                                                                                                                                                  660 of 666




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             GeoLogic, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      PROPERTY LINE                                          9465 Main Street
                                                                                                                                                                                                                                                                                                                         GEORGIA RAILROAD                                                                                                                                                                                              IPF                                                                                                                                                                                   Suite 310
                                                                                                                                                                                                                                                                                                                                          (150' R/W)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      PERMIT BOUNDARY                                        Woodstock, GA 30188
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                                                                                                                                                                                                                                                                                                                                                                                2582.93'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     3'0 '                                                                                                                                            STREAM CENTERLINE                                      (770) 824-4212
                                                                                                                                 R ROAD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  °0       6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                47 76.9                                                                                                                                                                                                      www.geologicllc.net
                                                                                                                                                                                                                                                                  100' BUFFER
                                                                                                                                                                                                                     IPF                                                                                                                                                                                                                                                                                      S       4
                                                                                                                                                                   N 86°11'25" E 1464.75 OF
                                                                                                                                                                                                                 (P.O.B.)                                                                                                                                                                                                                                                                                                                                                                                                                                             50FT BUFFER                                            PEF007535 - 06/30/22
                                                                                                                                   56




                                                                                                                                                                                   CTION
                                                                                                                                           CMF                 FROM THE INTERSE                     COUNTY ROAD 56)

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                                                                                                                      - 20' PA




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                                                                                                                                                                     D.B. 7V PAGE 731
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                                                                                                                                                                                                                                     1055 45" E




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Sd1                                                                           1. REMOVE ALL EQUIPMENT, REFUSE, AND
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    STRUCTURES FROM PLANT SITE IN
                                                                                                                                                                     WETLANDS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ACCORDANCE WITH STATE RULES AND
                                                                                                                                                                                                                                                                                                                    00
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                                                                                                                                                                                                                                                                                                                                                                                                                                         440                                                                                                                                                                                                               St                                       3:1 SLOPE AND RETURN EXCESS MATERIAL TO
                                                                                                                                                                                                                       40                                                                                                                                                                                                                                                                                                                                                                                           St                                                                              MINE PIT.
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                                                                                                                                                                                                              CMF                         4
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                                                                                                                                                                                                                                                                         00
LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-14.dwg




                                                                                                                                                                                                                                                                   5+                                                                                                                                                                                                                                                                                                                                                                                                                               SEDIMENT BASIN WITH EXCESS OVERBURDEN
                                                                                                                                                                                                                                                                                                               0                                                                                                                                                                                                                                                                                                                                                                                    MATERIAL. GRADE TO MAX 3:1 SLOPE.
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 4. THE MINE PIT WILL BE LEFT AS A LAKE WHERE
                                                                                                                                                                             °52'
                                                                                                                                                                                  00
                                                                                                                                                                                                                                                                                                                      00                                                                                                                                                                                                                                                                                                                                                                            NOT FILLED WITH EXCESS OVERBURDEN.
                                                                                                                                                                        N 67       .22'
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                                                                                                                                                                                                                                                                                                                                                     240.00 ACRES                                                                                                                                   0
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                                                                                                                                                                                                                    B                                                                                                       450            (191.60 ACRES FROM PARCEL# 016 026
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                                                                                                                                                                                                                                                                                                                12




                                                                                                                                          IPF                                                                                                                                                                                                       REF. P.B. 2 PAGE 66                                                                                                                                                        S 88°17'38"                                                                         Ds2                            Ds2                                            6. THE PERMANENT SEEDING SHALL BE TALL
                                                                                                                                                                                                                                                                                                                                                15 D.B. 3J PAGE 241
                                                                                                                                                                                                                                                                                                                                                      +0                                                                                              CMF                                                                        29
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                                                                                                                                                                                                                                                                                                                  PIT/LAKE
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                                                                                                                                                               D.B. 8V PAGE 772
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 IPS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      6'
                                                                                                                                                                                                                                                                                                                                                                        51
                                                                                                                                                                                                                                                                     .18'
                                                                                                                                                                                                                                                                      0" W




                                                                                                                                                                                                                                                                                                                                                                        0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      IPS
                                                                                                                                                                                                                                                                                                                                                                      49




                                                                                                                                                                                                                                                                                                                                                                                                                                                           30
                                                                                                                                                                                                                                                                                                                                                                0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  +0
                                                                                                                                                                                                                                                                                                                                                           48




                                                                                                                                                  LINE    BEARING                         DISTANCE                                                                                                                                                                                                                                                                       0
                                                                                                                                                                                                                                                                                                                                                        0




                                                                                                                                                                                                                                                                                                                                                                                                        480
                                                                                                                                                                                                                                                                                                                                                     47




                                                                                                                                                  L1      S 70°34'43" W                      232.32'
                                                                                                                                                                                                                                                                                                                                                                                                                                                            31
                                                                                                                                                                                                                                                                                                                                                                    53000 550
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         A                                                                                                                                             BERM DETAIL
                                                                                                                                                  L2      N 89°25'17" W                      236.28'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  +1
                                                                                                                                                                                                                                                                                                                                                                   0+0 470
                                                                                                                                                  L3      S 85°03'58" W                       41.87'
                                                                                                                                                  L4      S 85°41'30" W                      119.01'
                                                                                                                                                                                                                        WETLANDS                                                                                                                                 150                                                                         W                            4
                                                                                                                                                                                                                                                                                                                                                                                                                                         07"
                                                                                                                                                  L5      S 83°56'43" W                      394.91'                                                                                                                                                          470                                                                   °17'                                                                                                                                                                                                        N.T.S.
                                                                                                                                                                                                                                                                                                                                                        LINE D




                                                                                                                                                                                                                                                                                                                                                                                                                    R         S 63        .17'
                                                                                                                                                                                                                                                                                                                                                                                                               FFE
                                                                                                                                                                                                                                                                                                                                                    ERTY DONE




                                                                                                                                                  L6      S 40°49'17" W                       43.47'                                                                                                                                                                 460
                                                                                                                                                                                                                                                                                                                             0                                                                                                       1722
                                                                                                                                                                                                                                                                                                                                                                                                            U
                                                                                                                                                                                                                                                                                        440




                                                                                                                                                                                                                                                                                                                           45
                                                                                                                                                                                                                                                                                                                                                                                                  10   0' B            LIN
                                                                                                                                                                                                                                                                                                                                                                                                                          E
                                                                                                                                                                                                                                                                                                                                                PROP ABAN




                                                                                                                                                                                                                                                                                                                                                                                                                                  0




                                                                                                                                                                                                                                                                                                                                                                                                                Y
                                                                                                                                                                                                                                                                                                                                                                                                                               47




                                                                                                                                                                                                                                                                                                                                                                                                            ERT
                                                                                                                                                  CURVE      RADIUS              ARC LENGTH            CHORD LENGTH            CHORD BEARING
                                                                                                                                                                                                                                                                                                                                     0                                                                 P
                                                                                                                                                                                                                                                                                                                                                                                                   PRO
                                                                                                                                                  C1         1075.74'            247.86'               247.31'                 N 85°42'41" W
                                                                                                                                                                                                                                                                                                                                                TO BE




                                                                                                                                                                                                                                                                                                                                  +0
                                                                                                                                                                                                                                                                                                                                                                                                                                                             480




                                                                                                                                                  C2         239.61'             244.86'               234.34'                 S 60°59'46" W
                                                                                                                                                                                                                                                                                                                                 5
  PLOT DATE: 2/17/2022




                                                                                                                                                                                                                                                                                                                                                                                                                                                                        N/F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LOG CREEK LLLP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   PARCEL# 016 027
                                                                                                                                                                                                                                                                                                                                                      IPS
                                                                                                                                                                                                                                                                                                                                                                                                                                                            36.91 ACRES +/-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    D.B. 8V PAGE 772                                                                                                                                                                                                             No.             Revision/Issue            Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            490
                                                                                                                                                                                                                                                                                                                                                                  S 17




                                                                                                                                                                                                                                                                                                                                                                                                                                                                    D.B. 3J PAGE 241
                                                                                                                                                                                                                                                                                                   00
                                                                                                                                                                                                                                                                                                                                                              °25'1
                                                                                                                                                                                                                                                                                                                                                              383.3




                                                                                                                                                                                                                                                                                              0+
                                                                                                                                                                                                                                                                                              450



                                                                                                                                                                                                                                                                                                              46



                                                                                                                                                                                                                                                                                                                            47




                                                                                                                                                                                                                                                                                                                                                480




                                                                                                                                                                                                                                                                                                                                                                   7" E




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 LOG CREEK, LLLP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  500
                                                                                                                                                                                                                                                                                                                0




                                                                                                                                                                                                                                                                                                                                                                    8'



                                                                                                                                                                                                                                                                                                                                                                            490
                                                                                                                                                                                                                                                                                                                                0




                                                                                                                                                                                                                                                                              45
                                                                                                                                                                                                                                                                                   0      C                                                                          IPF                                                                                                                                                                                                                                                                                                                            SURFACE MINING
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LAND USE PLANS -
  SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                    460




                                                                                                                                                                                                                                                         WETLANDS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                  470




                                                                                                                                                                                                                                                                                                          IPS                                                                                                                   N/F
                                                                                                                                                                                                                                                                                                                                                                                                                         LOG CREEK LLLP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         CIVIL
                                                                                                                                                                                                                                                                                                                                                                            S 12°33'




                                                                                                                                                                                                                                                                                                                                                                                                                         PARCEL# 016 028

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       RECLAMATION PLAN
                                                                                                                                                                                                                                                                                                                                                                                842.37




                                                                                                                                                                                                                                                                                                                                                                                                                         D.B. 8V PAGE 765
                                                                                                                                                                                                                                                                                                                                                                                                                          P.B. 5 PAGE 44
                                                                                                                                                                                                                                                                                                                                                                                     16" E
                                                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                         E
                                                                                                                                                                                                                                                                                                     22"
                                                                                                                                                                                                                                                                                                   28'
                                                                                                                                                                                                                                                                                                °27'
                                                                                                                                                                                                                                                                                              777.
                                                                                                                                                                                                                                                                                          N 19




                                                                                                                                                                                                                                                                                                                            L5
                                                                                                                                                                                                                                                                                                                                                      L4                   C1
                                                                                                                                                                                                                                                                                                                                                                                      L3 IPS                                                                                                                                                                                                                                                                                 N                   Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                                C2                                                                                            30" PINE                                                                                                                                                                                                                                                                                                       20-038
                                                                                                                                                                                                                                                                                                                TIMBER ROAD                                                                   TREE
                                                                                                                                                                                                                                                                                                                         58 - UNPAVED

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      C-14
                                                                                                                                                                                                                                                                                                                                                                               TIE                                                                                                                                                                                                                                                                                                               Date
                                                                                                                                                                                                                                                                                                     (AKA COUNTY ROAD PAGE 44)                                       S 12°33'16" E
                                                                                                                                                                                                                                                                              IPS                                        5
                                                                                                                                                                                                                                                                                                        30' R/W PER P.B.
                                                                                                                                                                                                                                                                                                   L6
                                                                                                                                                                                                                                                                                                                                                                            27.48'                                                                                                                                                                                                                                                                                                                       02/07/2022
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  0          300'         600'   Scale
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1" = 300'
                                                                                                 2018 CARRYOVER          ATTACHMENT
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                                                                                                                                                                                                                                                                                                          GeoLogic, LLC
                                                                                                                                                                                                                                                                                                          9465 Main Street
                                                                                                                                                                                                                                                                                                          Suite 310
                                                                                                                                                                                                                                                                                                          Woodstock, GA 30188
                                                                                                                  600                                                                                                                                                   600                               (770) 824-4212
                                                                                                                  550                                                                                                                                                   550                               www.geologicllc.net
                                                                                                                                                                                                                              3                       3                                                   PEF007535 - 06/30/22
                                                                                                                  500                                                                                                     1       OVERBURDEN              1             500
                                                                                                                                         EXISTING GROUND                                                                            STORAGE
                                                                                                                  450                                                              WSE 410.0                                       RECLAIMED                            450
                                                                                                                                                                                                                                  TO 3:1 SLOPE
                                                                                                                  400                                                                                                                                                   400
                                                                                                                  350                                                                                                                                                   350
                                                                                                                  300                                                   PIT/LAKE                                                                                        300
                                                                                                                  250                                                                                                                                                   250
                                                                                                                  200                                                                                                                                                   200
                                                                                                                                                                                                                                                                                      FOR REVIEW ONLY
                                                                                                                  150                                                                                                                                                   150
                                                                                                                  100                                                                                                                                                   100
                                                                                                                   50                                                                                                                                                   50
                                                                                                                    0                                                                                                                                                   0
                                                                                                                        0+00                   5+00                10+00                   15+00             20+00                25+00               30+0031+50
                                                                                                                                                                                                                                                                                                   General Notes

                                                                                                                                                                                      SECTION A-A


                                                                                                                         600                                                                                                                                  600
LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-15.dwg




                                                                                                                         550                                                                                                                                  550
                                                                                                                         500                                                                       EXISTING GROUND                                            500
                                                                                                                         450                                        WSE 410.0                                                                                 450
                                                                                                                         400                                                                                                                                  400
                                                                                                                         350                                                                                                                                  350
                                                                                                                         300                                 PIT/LAKE                                                                                         300
                                                                                                                         250                                                                                                                                  250
                                                                                                                         200                                                                                                                                  200
                                                                                                                         150                                                                                                                                  150
                                                                                                                         100                                                                                                                                  100
                                                                                                                          50                                                                                                                                  50
                                                                                                                              0                                                                                                                               0
                                                                                                                                  0+00                5+00                    10+00                15+00              20+00               25+00       28+14

                                                                                                                                                                                       SECTION B-B



                                                                                                                        750                                                                                                                                       750
                                                                                                                        700                                                                                                                                       700
  PLOT DATE: 2/17/2022




                                                                                                                        650                                                                                                                                       650
                                                                                                                        600                                                                                                                                       600         No.             Revision/Issue            Date
                                                                                                                        550                                                                                                                                       550
                                                                                                                                     EXISTING GROUND                          3                                                               3
                                                                                                                        500                                               1                            OVERBURDEN                                 1               500                         LOG CREEK, LLLP
                                                                                                                                                                                                         STORAGE
                                                                                                                        450                                                                             RECLAIMED                                                 450            SURFACE MINING
                                                                                                                        400                                                                            TO 3:1 SLOPE                                               400            LAND USE PLANS -
  SAVE DATE: 2/7/2022




                                                                                                                        350                                                                                                                                       350         CRUSHED STONE QUARRY
                                                                                                                        300                                                                                                                                       300
                                                                                                                                                                                                                                                                                                      CIVIL
                                                                                                                        250                                                                                                                                       250
                                                                                                                        200                                                                                                                                       200
                                                                                                                                                                                                                                                                                    RECLAMATION PLAN
                                                                                                                        150                                                                                                                                       150
                                                                                                                                                                                                                                                                                     CROSS SECTIONS
                                                                                                                              0+00                5+00                    10+00                15+00             20+00               25+00                29+29

                                                                                                                                                                                       SECTION C-C                                                                            Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                          20-038

                                                                                                                                                                                                                                                                                                                   C-15
                                                                                                                                                                                                                                                                              Date
                                                                                                                                                                                                                                                                                      02/07/2022
                                                                                                                                                                                                                                                                              Scale
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                                                                                                 2018 CARRYOVER          ATTACHMENT
                                                                                                       Case 3:22-cv-00107-CDL Document 6-1 - Filed
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                                                                                                                                                                                                                                                                                                                     CONSTRUCTION NOTES:
                                                                                                                                                                                                                                                                                    BASIC COMPONENTS OF TEMPORARY                                                                                        GeoLogic, LLC
                                                                                                                                                                                                                                                                                                                                                                                                         9465 Main Street
                                                                                                                                                                                                                                      416
                                                                                                                                                                                                                                                                                            SEDIMENT BASIN           1. ALL VEGETATION AND TOPSOIL TO BE REMOVED BENEATH
                                                                                                                                                                                                                                                                                                                        PROPOSED DAM PRIOR TO CONSTRUCTION.
                                                                                                                                                                                                                                                                                                                                                                                                         Suite 310
                                                                                                                                                                                                                                                                                                                                                                                                         Woodstock, GA 30188
                                                                                                                                                                                                                                                                                                                     2. DAM TO BE CLAY OR OTHER IMPERVIOUS MATERIAL.                                     (770) 824-4212
                                                                                                                                                                                                                                       418
                                                                                                                                                                                                                                                                                              CROSS SECTION          3. FILL FOR DAM CONSTRUCTION TO BE PLACED IN 8" LIFTS                               www.geologicllc.net
                                                                                                                                                                                                                                                                                                                        AND COMPACTED TO 95% STANDARD PROCTOR.                                           PEF007535 - 06/30/22


                                                                                                                                                                                                                                                                                                                     MAINTENANCE NOTES:
                                                                                                 406                                                                St                                                                      420
                                                                                                                                                                                                                    Sd1                                                                                              1. INSPECT AND REPAIR SEDIMENT POND AFTER EVERY 0.5"
                                                                                                                                                                                       Ds1 Ds2
                                                                                                                                                                                                 41




                                                                                                 408                                                                                                                                                                                                                    OR GREATER RAINFALL EVENT.
                                                                                                                                                                                                 6




                                                                                                 410                                                                                                                                         422                                                                     2. SEDIMENT SHALL BE REMOVED FROM THE BASIN WHEN IT
                                                                                                                                                                                                 41




                                                                                                  412
                                                                                                                                       CONCRETE H.W.                                                                                                                                                                    FILLS TO AN ELEVATION 1/4 RISER HEIGHT. THIS
                                                                                                                                                                                                  8




                                                                                                  414
                                                                                                  416                                 INV. OUT = 422.0                                                                                                                                                                  SEDIMENT SHALL BE PLACED AND STABILIZED IN SUCH A
                                                                                                                                                                                                  42




                                                                                                                                                                                                                                              424
                                                                                                                                                                                                                                                                                                                        MANNER THAT IT WILL NOT ERODE FROM THE SITE. THE
                                                                                                                                                                                                                                                                                                                                                                                     FOR REVIEW ONLY
                                                                                                                                                                                                      0




                                                                                                  418
                                                                                                                                                                                                                                                                                                                        SEDIMENT SHALL NOT BE DEPOSITED DOWNSTREAM
                                                                                                                                                                                                      42




                                                                                                   420                                                                                                                                            426                                                                   FROM THE EMBANKMENT, ADJACENT TO A STREAM OR
                                                                                                                                                                                                         2




                                                                                                                                                                                                                                                                                                                        FLOODPLAIN.
                                                                                                                                                                                                       42
                                                                                                                                                                                                          4




                                                                                                        2                                                                                                                                          428
                                                                                                   42
                                                                                                                                 44 LF OF 24" CMP
                                                                                                                                                                                                          42
                                                                                                                                                                                                             6




                                                                                                                                    @ MIN. 0.80%                                                                                                    430
                                                                                                                                                                                                             42




                                                                                                         4
                                                                                                       42
                                                                                                                                                                                                               8




                                                                                                                                                                                                                                                        432
                                                                                                                                                                                                                                                                                                PLAN VIEW
                                                                                                                                                                                                              43




                                                                                                                      8' WIDE EMERGENCY SPILLWAY
                                                                                                                                                                                                                0




                                                                                                          6
                                                                                                        42                                                                                                                                               434
                                                                                                                                                                                                                                                                                                                                                                                                  General Notes
                                                                                                                                                                                                                                                         436
                                                                                                        428
                                                                                                                                                                                                                          Di
                                                                                                                                                                                                                                                          438
                                                                                                                                                                                                                                    Ds1 Ds2
                                                                                                                                          Sd1
                                                                                                            430
                                                                                                                                                          36" CMP RISER PIPE                                                                                  440
                                                                                                                                                                                                                            8 440
                                                                                                                                                              RIM EL. = 426.5                                        436 43
                                                                                                                                                            INV. OUT = 422.5
                                                                                                                                                                                                                                                               442
                                                                                                                  2
                                                                                                              43
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                                                                                                                                                                                                                                                                    444
                                                                                                              4
                                                                                                            43




                                                                                                                                                                                                                                                                     446        N
                                                                                                                      436



                                                                                                                            8
                                                                                                                            43




                                                                                                                                       0
                                                                                                                                     44
                                                                                                                                                                                                                                                                          448
                                                                                                                                                    442

                                                                                                                                                                         444


                                                                                                                                                                                                                                                                                      CROSS-SECTIONAL DETAIL OF
                                                                                                                                                                                SEDIMENT BASIN 1
                                                                                                                                                                                                                                                                                        EMERGENCY SPILLWAY


                                                                                                                                                                           TEMPORARY SEDIMENT BASIN                                                                                       PROFILE ALONG CENTERLINE

                                                                                                                                                                                  CROSS-SECTIONAL DETAIL




                                                                                                                                                                                                                                                                                            EMERGENCY SPILLWAY
  PLOT DATE: 2/17/2022




                                                                                                                                                                                                                                                                                                                                                                             No.             Revision/Issue            Date



                                                                                                                                                                                                                                                                                                                                                                                             LOG CREEK, LLLP
                                                                                                                                                                                                                                                                                                                                                                                SURFACE MINING
                                                                                                                                                                                                                                                                                                                                                                                LAND USE PLANS -
  SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                                                                                                                             CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                                                                                                                                                     CIVIL
                                                                                                                                                                                                                                                                                                                                                                                     SEDIMENT BASIN 1



                                                                                                                                                                                                                                                                                                                                                                             Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                                                                                                                         20-038

                                                                                                                                                                                                                                                                                                                                                                                                                  C-16
                                                                                                                                                                                                                                                                                                                                                                             Date
                                                                                                                                                                                                                                                                                                                                                                                     02/07/2022
                                                                                                                                                                                                                                                                                                                                                                             Scale
                                                                                                                                                                                                                                                                                                                                                                                     AS NOTED
                                                                                                 2018 CARRYOVER          ATTACHMENT
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                                                                                                                                                                                                                                                                                                                                             GeoLogic, LLC
                                                                                                                                                                                                                                                                                                                                             9465 Main Street
                                                                                                                                                                                                                                                                                                                                             Suite 310
                                                                                                                                                                                                                                                                                                                                             Woodstock, GA 30188
                                                                                                                                                                                                                          WATER COLLECTION                                                                                                   (770) 824-4212
                                                                                                                                                                                                                                 MAIN RING                                                                                                   www.geologicllc.net
                                                                                                                                                                                                                                                                                                                                             PEF007535 - 06/30/22

                                                                                                      WATER COLLECTION DRAIN




                                                                                                                                                                                                    GENERATOR AND                                                                          GENERATOR AND
                                                                                                                                                                                                    ELECTRICAL CONTROLS                                                                    ELECTRICAL CONTROLS

                                                                                                                                                                                                                                                                                                                         FOR REVIEW ONLY
                                                                                                                                                                                             DISCHARGE PIPING TO                                                                    DISCHARGE PIPING TO
                                                                                                                                                                                             OUTFALL LOCATION                                                                       OUTFALL LOCATION


                                                                                                                                                                           SETTLEMENT TANK                                                                        SETTLEMENT TANK
                                                                                                        SUMP                                                               OR BASIN                                                                               OR BASIN

                                                                                                     INTAKE SCREEN                                                                                                                                                                                                                    General Notes

                                                                                                                                   IN-PIT PUMP
                                                                                                                                                                                                                                                              DEEPWELL PUMPED BY
                                                                                                                                                                                                                                                              SUBMERSIBLE PUMP
                                                                                                                                                                                                                                                              (SEE DEEPWELL DETAIL
                                                                                                                                                                                                                                                              THIS SHEET)
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                                                                                                                                   PIT SUMP DEWATERING DETAIL                                                                            WELL DEWATERING DETAIL
                                                                                                                                                          N.T.S.                                                                                  N.T.S.




                                                                                                                                                                   CONTROL VALVE
                                                                                                                     POWER CABLE TO
                                                                                                                      CONTROL PANEL

                                                                                                                                                                                OUTFLOW
                                                                                                                                                                                PIPING
                                                                                                                                                                                DISCHARGE

                                                                                                                      GROUND

                                                                                                                                                                   GROUTED ANNULAR SPACE

                                                                                                                     WATER LEVEL




                                                                                                                                                                    PUMP PIPE
  PLOT DATE: 2/17/2022




                                                                                                                                                                                                                                                                                                                 No.             Revision/Issue            Date
                                                                                                                                                                    PERFORATED STEEL
                                                                                                                                                                    CASING PIPE
                                                                                                               BORE HOLE WALL
                                                                                                                                                                                                                                                                                                                                 LOG CREEK, LLLP
                                                                                                                                                                                                                                                                                                                    SURFACE MINING
                                                                                                                                                                                                                                                                                                                    LAND USE PLANS -
  SAVE DATE: 2/4/2022




                                                                                                                   GRAVEL FILTER PACK
                                                                                                                                                                                                                                                                                                                 CRUSHED STONE QUARRY
                                                                                                                                                                    SUBMERSIBLE PUMP
                                                                                                                                                                                                                                                                                                                                         CIVIL
                                                                                                                                                                                                                                                                                                                   DEWATERING DETAILS


                                                                                                                                      DEEPWELL DETAIL
           USER: Charlie Martini




                                                                                                                                                                                                                                                                                                                 Project #                        Sheet
                                                                                                                                                 N.T.S.                                                                                                                                                                      20-038

                                                                                                                                                                                                                                                                                                                                                      C-17
                                                                                                                                                                                                                                                                                                                 Date
                                                                                                                                                                                                                                                                                                                         02/07/2022
                                                                                                                                                                                                                                                                                                                 Scale
                                                                                                                                                                                                                                                                                                                             N.T.S.
                                                                                                    2018 CARRYOVER          ATTACHMENT
                                                                                                          Case 3:22-cv-00107-CDL Document 6-1 - Filed
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                                                                                                                                                                 NORRIS       CASON
                                                                                                                                                                     664 of 666




                                                                                                                                                                                                                                                                                              GeoLogic, LLC
                                                                                                                                                                                                                                                                                              9465 Main Street
                                                                                                               SPILLWAYS                      TEMPORARY SEDIMENT POND                       TEMPORARY SEDIMENT BASIN                                                                          Suite 310
                                                                                                                                                                                                                                                                                              Woodstock, GA 30188
                                                                                                                                                                                                                                                                                              (770) 824-4212
                                                                                                                                                                                                                                                                                              www.geologicllc.net
                                                                                                           PRINCIPLE SPILLWAY DESIGN                 TYPICAL TRASH RACK                         CONCRETE RISER BASE DETAIL                                                                    PEF007535 - 06/30/22




                                                                                                                                                                                                                                                                          FOR REVIEW ONLY




                                                                                                                                                                                                                                                                                       General Notes
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                                                                                                       SEDIMENT BASIN BAFFLES                SEDIMENT BASIN BAFFLES CONT'D

                                                                                                       EXAMPLES: PLAN VIEWS (NOT TO SCALE)




                                                                                                                                                                                                     EXCAVATED EARTH SPILLWAY -- PLAN VIEW
                                                                                                                                                                             TYPICAL SPILLWAY                                                WING DIKE SPILLWAY
   PLOT DATE: 2/17/2022




                                                                                                                                                                                                                                                                  No.             Revision/Issue            Date



                                                                                                                                                                                                                                                                                  LOG CREEK, LLLP
                                                                                                                                                                                                                                                                     SURFACE MINING
                                                                                                                                                                                                                                                                     LAND USE PLANS -
   SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                  CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                                          CIVIL
                                                                                                                                                                                                                                                                  CONSTRUCTION DETAILS
                                                                                                                                                                              PROFILE ALONG CENTERLINE                                                                  (1 OF 3)

                                                                                                                                                                                                                                                                  Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                              CROSS-SECTION OF CONTROL SECTION                                                                20-038

                                                                                                                                                                                                                                                                                                       C-18
                                                                                                                                                                                                                                                                  Date
                                                                                                                                                                                                                                                                          02/07/2022
                                                                                                                                                                                                                                                                  Scale
                                                                                                                                                                                                                                                                              N.T.S.
                                                                                                    2018 CARRYOVER          ATTACHMENT
                                                                                                          Case 3:22-cv-00107-CDL Document 6-1 - Filed
                                                                                                                                                EXHIBIT
                                                                                                                                                      10/28/22C:Page
                                                                                                                                                                 NORRIS       CASON
                                                                                                                                                                     665 of 666




                                                                                                                                                                                                                                                                                                   GeoLogic, LLC
                                                                                                                                                                                                                                                                                                   9465 Main Street
                                                                                                         CRUSHED STONE CONSTRUCTION EXIT                  SILT FENCE - TYPE NON-SENSITIVE                  SILT FENCE - TYPE SENSITIVE   FASTENERS FOR SILT FENCES                                 Suite 310
                                                                                                                                                                                                                                                                                                   Woodstock, GA 30188
                                                                                                                             EXIT DIAGRAM
                                                                                                                                                                          SIDE VIEW                                 SIDE VIEW                                                                      (770) 824-4212
                                                                                                                                                                                                                                                                                                   www.geologicllc.net
                                                                                                                                                                                                                                              OVERLAP AT FABRIC ENDS                               PEF007535 - 06/30/22




                                                                                                                                                                                                                                                                               FOR REVIEW ONLY

                                                                                                                                                                          FRONT VIEW                               FRONT VIEW


                                                                                                                          ENTRANCE ELEVATION

                                                                                                                                                                                                                                                                                            General Notes
LOCATION: D:\GeoLogic Dropbox\Projects\20-038 Norris Cason SMP-Wetlands\09_CAD\Sheets\C-18-20.dwg




                                                                                                                RIPRAP OUTLET PROTECTION                  SHOWN ON THE EROSION AND SEDIMENT CONTROL PLAN

                                                                                                    PIPE OUTLET TO FLAT AREA -- NO WELL DEFINED CHANNEL
   PLOT DATE: 2/17/2022




                                                                                                                                                                                                                                                                       No.             Revision/Issue            Date



                                                                                                                                                                                                                                                                                       LOG CREEK, LLLP
                                                                                                    PIPE OUTLET TO WELL DEFINED CHANNEL
                                                                                                                                                                                                                                                                          SURFACE MINING
                                                                                                                                                                                                                                                                          LAND USE PLANS -
   SAVE DATE: 2/7/2022




                                                                                                                                                                                                                                                                       CRUSHED STONE QUARRY
                                                                                                                                                                                                                                                                                               CIVIL
                                                                                                                                                                                                                                                                       CONSTRUCTION DETAILS
                                                                                                                                                                                                                                                                             (2 OF 3)

                                                                                                                                                                                                                                                                       Project #                        Sheet
USER: Randy Kunz




                                                                                                                                                                                                                                                                                   20-038

                                                                                                                                                                                                                                                                                                            C-19
                                                                                                                                                                                                                                                                       Date
                                                                                                                                                                                                                                                                               02/07/2022
                                                                                                                                                                                                                                                                       Scale
                                                                                                                                                                                                                                                                                   N.T.S.
                                                                                                    2018 CARRYOVER          ATTACHMENT
                                                                                                          Case 3:22-cv-00107-CDL Document 6-1 - Filed
                                                                                                                                                EXHIBIT
                                                                                                                                                      10/28/22C:Page
                                                                                                                                                                 NORRIS       CASON
                                                                                                                                                                     666 of 666




                                                                                                                                                                                                                                                                                                                                                                                                                                                           GeoLogic, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                           9465 Main Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                           Suite 310
                                                                                                                                                                                                                                                                                                                                                                                                                                                           Woodstock, GA 30188
                                                                                                                                                                                                                                                                                                                                                                                                                                                           (770) 824-4212
                                                                                                                                      Ds3 DISTURBED AREA STABILIZATION TABLES                                                                                                                                                                                                                                                                              www.geologicllc.net
                                                                                                                                                                                                                                                                                                                                                                                                                                                           PEF007535 - 06/30/22

                                                                                                                                     Table 1. Some Permanent Plant Species, Seeding Rates, and Planting Dates                                                                  Table 2. Fertilizer Requirements for Permanent Vegetation
                                                                                                                                                                                Planting Dates by                                                                                                          Fertilizer                  Rate                  N Top Dressing
                                                                                                                                          Rates per     Rates per                                                                                          Types of Species     Planting Year
                                                                                                                   Species                                                           Region                                  Remarks                                                                       (N-P-K)                  (lbs./ acre)             Rate (lbs./acre)
                                                                                                                                            Acre       1,000 sq. ft
                                                                                                                                                                        M- L           P              C                                                                            First                    6-12-12                    1500                      50-100
                                                                                                              Bahia, Pensacola                                                                                      Low growing; sod producing;          Cool season grasses      Second                    6-12-12                    1000                        ---
                                                                                                         Alone or with temporary cover     60 lbs.       1.4 lbs.        ---        4/1 -5/31    3/1-5/31             will spread into Bermuda                                  Maintenance                10-10-10                     400                        30
                                                                                                             With other perennials         30 lbs.        0.7 lb.                                                               lawns.                                             First                    6-12-12                    1500                          0-50
                                                                                                                                                                                                                                                          Cool grasses and
                                                                                                              Bahia, Wilmington
                                                                                                         Alone or with temporary cover     60 lbs.       1.4 lbs.     3/15-5/31     3/15-5/31         __                  Same as above                       legumes
                                                                                                                                                                                                                                                                                  Second
                                                                                                                                                                                                                                                                                Maintenance
                                                                                                                                                                                                                                                                                                            0-10-10
                                                                                                                                                                                                                                                                                                            0-10-10
                                                                                                                                                                                                                                                                                                                                       1000
                                                                                                                                                                                                                                                                                                                                        400
                                                                                                                                                                                                                                                                                                                                                                      ---
                                                                                                                                                                                                                                                                                                                                                                      ---
                                                                                                                                                                                                                                                                                                                                                                                                                                       FOR REVIEW ONLY
                                                                                                             With other perennials         30 lbs.        0.7 lb.
                                                                                                                                                                                                                                                                                   First                    6-12-12                    1500                      50-100
                                                                                                             Bermuda, Common                                                                                                                             Warm season grasses      Second                    6-12-12                     800                      50-100
                                                                                                                (Hulled seed)                                            ---                                                                                                    Maintenance                10-10-10                     400                        30
                                                                                                                                                                                    4/1-5/31    3/15-5/31            Quick cover; low growing;
                                                                                                                    Alone                  10 lbs.        0.2 lb.
                                                                                                                                                                                                                    sod forming; needs full sun.                                   First                    6-12-12                    1500                           50
                                                                                                             With other perenials           6 lbs.        0.1 lb.                                                                                        Warm season grasses
                                                                                                                                                                                                                                                                                  Second                    0-10-10                    1000                           ---
                                                                                                             Bermuda, Common                                                                                                                                and legumes                                                                                               ---
                                                                                                               (Unhulled seed)                                                                                                                                                  Maintenance                 0-10-10                     400
                                                                                                                                                                         ---        10/1-2/28   11/1-1/31            Plant with Winter annuals.
                                                                                                             With temporary cover          10 lbs.        0.2 lb.                                                                                                                                                                                                                                                                                   General Notes
                                                                                                                                                                                                                       Plant with Tall Fescue
                                                                                                             With other perennials          6 lbs.        0.1 lb
                                                                                                             Bermuda Springs              40 cu. ft.    0.9 cu.ft.                                                    1 cu. ft. = 650 sprigs
                                                                                                          Common lawn and forage                                      4/15-6/15      4/1-6/15   4/1-5/31            1 bu. = 1.25 cu. ft. or 800
                                                                                                                 hybrids                      Sod plugs 3’ x3’                                                                 sprigs
                                                                                                                                         Blcok Sod     Block Sod         ---                                       Drought tolerant. Full sun or
                                                                                                                  Centipede                                                         11/1-5/31   11/1-5/31
                                                                                                                                            Only          Only                                                           partial shade.
                                                                                                                Crown Vetch                                                                                       Mix with 30 lbs. Tall Fescue or
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                                                                                                             With winter annuals                                      9/1-10/15     9/1-10/15         --           15 lbs. Rye; inoculate seed;
                                                                                                                                           15 lbs.        0.3 lb.
                                                                                                           or cool season grasses                                                                                   plant only North of Atlanta.

                                                                                                                Fescue, Tall                                           3/1-4/15
                                                                                                                                                                                                                   Can be mixed with perennial                                                            Ds2 DISTURBED AREA STABILIZATION TABLES
                                                                                                                                                                                                                   Lespedezas or Crown Vetch;
                                                                                                                    Alone                  50 lbs.       1.1 lbs.         or     9/1-10/15            ---         not for droughty soils or heavy                                                          Table 1. Some Temporary Plant Species, Seeding Rates and Planting Dates
                                                                                                            With other perennials          30 lbs.        0.7 lb.     8/15-10/15
                                                                                                                                                                                                                             use areas
                                                                                                                                                                                                                                                                                                                          Rates Per                      Rates per                      Planting Dates by Region
                                                                                                                                                                                                               Widely adapted and low maintenance;                                              Species
                                                                                                              Lespedeza, Sericea                                                                               takes 2-3 years to establish; inoculate                                                                   1,000 sq. ft.                     Acre                      M-L                P            C
                                                                                                                                                                                                                  seed with EL inoculant; mix with
                                                                                                                                                                                                                                                                                            Barley Alone                   3.3 lbs.                        3 bu.
                                                                                                                   Scarified               60 lbs.       1.4 lbs.     4/1-5/31      3/15-5/31    3/1-5/15          Weeping lovegrass, Common                                                                                                                                   9/1-10/31           9/15-11/15    10/1-12/31
                                                                                                                                                                                                                                                                                          Barley in Mixtures                .6 lbs.                       .5 bu.
                                                                                                                                                                                                                  Bermuda, Bahia or Tall Fescue.
                                                                                                                                                                                                                                                                                         Lespedeza, Annual                 0.9 lbs.                       40 lbs.
                                                                                                                                                                                                                                                                                                                                                                                   3/1-3/31          3/1-3/31     2/1-2/28
                                                                                                                                                                                                               Mix with Tall Fescue or winter annuals.                                 Lespedeza in Mixtures               0.2 lbs.                       10 lbs.
                                                                                                                  Unscarified              75 lbs.       1.7 lbs.     9/1-2/28      9/1-2/28     9/1-2/28                                                                               Lovegrass, Weeping                 0.1 lbs.                        4lbs.
                                                                                                                                                                                                                                                                                                                                                                                   4/1-5/31          4/1-5/31     3/1-5/31
                                                                                                                                                                                                                                                                                       Lovegrass in Mixtures               .05 lbs.                        2 lbs.
                                                                                                                                                                                                                Cut when seed is mature but before                                         Millet, Browntop                 .9 lbs.                       40 lbs.
                                                                                                               Seed-bearing hay             3 tons       138 lbs.     10/1-2/28     10/1-1/31 10/15-1/15       it shatters. Add Tall Fescue or winter                                                                                                                          4/15-6/15             4/15-6/30   4/15- 6/30
                                                                                                                                                                                                                                                                                          Millet in Mixtures                .2 lbs.                       10 lbs.
                                                                                                                                                                                                                              annuals.
                                                                                                                                                                                                                                                                                            Millet, Pearl                  1.1 lbs.                        50 lbs.             5/15-7/15             5/1-7/31     4/15-8/15
                                                                                                                                                                                                                   Spreading growth with height
                                                                                                                                                                                                                     of 18”-24”; good in urban                                              Oats Alone                     2.99 lbs.                        4 bu.
                                                                                                                                                                                                                                                                                                                                                                              9/15 -11/15          9/15 -11/15   9/15 -11/15
                                                                                                              Lespedeza Ambro                                                                                      areas; slow to develop good                                            Oats in Mixtures                  .7 lbs.                         1 bu.
                                                                                                              Virgata or Appalow                                                                                     stands; mix with Weeping                                             Rye (Grain) Alone                3.9 lbs.                         3 bu.
                                                                                                                                                                                                                                                                                                                                                                              8/15-10/31           9/15/-11/30   10/1-12/31
                                                                                                                                                                                                                        Lovegrass, Common                                                  Rye in Mixtures                  .6 lbs.                        .5 bu.
                                                                                                                   Scarified               60 lbs.       1.4 lbs.      4/1-5/31     3/15-5/31    3/1-5/15          Bermuda, Bahia Tall Fescue                                                   Ryegrass                   0.9 lbs.                       40 lbs.             8/15-11/15             9/1-12/15   9/15-12/31
                                                                                                                                                                                                                   or winter annuals; do not mix
                                                                                                                  Unscarified              75 lbs.       1.7 lbs.      9/1-2/28      9/1-2/28    9/1-2/28           with Sericea Lespededeza;                                                Sudangrass                    1.4 lbs.                       60 lbs.              5/1-7/31              5/1-7/31     4/1-7/31
                                                                                                                                                                                                                       inoculate seed with EL                                               Triticale Alone                3.3 lbs.                         3 bu.
                                                                                                                                                                                                                                                                                                                                                                                     NA                 NA       10/15-11/30
                                                                                                                                                                                                                             inoculant.                                                  Triticale in Mixtures              .6 lbs                         .5 bu.
                                                                                                               Lespedeza, Shrub                                                                                                                                                              Wheat Alone                   4.1 lbs.                         3 bu.
                                                                                                                                                                                                                                                                                                                                                                              9/15 -11/30          10/1-12/15    10/15-12/31
                                                                                                             (Lespedeza Bicolor or                                                                                                                                                       Wheat in Mixtures                 .7 lbs.                         .5 bu.
                                                                                                                                                                                                                     Plant in small clumps for
                                                                                                            Lespedeza Thumbergii)              3’ x 3’ spacing        10/1-3/31     11/1-3/15   11/15-2/28                                                                            1. Unusual site conditions may require heavier seeding rates.
                                                                                                                                                                                                                      wildlife food and cover.
                                                                                                                    Plants                                                                                                                                                            2. Seeding dates may need to be altered to fit temperature variations and local conditions.
                                                                                                                                                                                                                  Quick cover; drought tolerant;                                      3. For Major Land Resource Areas (MLRAs), see page 60.
                                                                                                             Lovegrass, weeping
                                                                                                                                                                                                                     grows well with Sericea                                          4. Seeding rates are based on pure live seed (PLS).
                                                                                                                     Alone                  4 lbs.        0.1 lb.
                                                                                                                                                                       4/1-5/31     3/15-5/31    3/1-5/31         Lespedeza on road-banks and
   PLOT DATE: 2/17/2022




                                                                                                             With other perennials          2 lbs.       0.05 lb.
                                                                                                                                                                                                                  other steep slopes; short lived.
                                                                                                                                                                                                                  For very wet sites such as river                                                         Table 2. Fertilizer Requirements for Temporary Vegetation
                                                                                                              Maidencane sprigs                2’ x 3’ spacing         2/1-3/31      2/1-3/31    2/1-3/31           banks and shorelines. Dig                                                                                                                                                                                  No.             Revision/Issue            Date
                                                                                                                                                                                                                           sprigs locally.                                                                                                         Fertilizer           Rate          N Top Dressing
                                                                                                                                                                                                                                                                                          Types of Species              Planting Year
                                                                                                                                                                                                                                                                                                                                                   (N-P-K)           (lbs./acre)      Rate (lbs./acre)
                                                                                                                                                                                                                    Grows well on coastal sand
                                                                                                              Panicgrass, Altantic                                                                                   dunes; mix with Sericea                                                                               First                6-12-12                1500                50-100                                              LOG CREEK, LLLP
                                                                                                                                                                          ---        3/1-4/30    3/1-4/30
                                                                                                                   Coastal                  20 lbs.       0.5 lb.                                                   Lespedeza but not on sand
                                                                                                                                                                                                                              dune.
                                                                                                                                                                                                                                                                                        Cool season grasses               Second
                                                                                                                                                                                                                                                                                                                        Maintenance
                                                                                                                                                                                                                                                                                                                                                6-12-12
                                                                                                                                                                                                                                                                                                                                               10-10-10
                                                                                                                                                                                                                                                                                                                                                                       1000
                                                                                                                                                                                                                                                                                                                                                                        400
                                                                                                                                                                                                                                                                                                                                                                                             ---
                                                                                                                                                                                                                                                                                                                                                                                             30
                                                                                                                                                                                                                                                                                                                                                                                                                                  SURFACE MINING
                                                                                                                                                                                                                                                                                                                                                                                                                                  LAND USE PLANS -
   SAVE DATE: 2/7/2022




                                                                                                              Red Canary Grass              50 lbs.      1.1 lbs.                                                  Grows similar to Tall Fescue;
                                                                                                                                                                      8/15-10/15 9/1-10/15            ___                                                                                                                  First                   6-12-12             1500                   0-50
                                                                                                             With other perennials          30 lbs.       0.7 lb.                                                         for wet sites                                                 Cool season grasses &
                                                                                                                                                                                                                                                                                              legumes
                                                                                                                                                                                                                                                                                                                          Second                   0-10-10             1000                    ---                             CRUSHED STONE QUARRY
                                                                                                                                                                                                                   Mix with Weeping Lovegrass                                                                           Maintenance                0-10-10              400                    ---
                                                                                                               Sunflower, Aztec
                                                                                                                                           10 lbs.        0.2 lb.     4/15-5/31     4/15-5/31       4/1-5/31       or other low growing grasses
                                                                                                                 Maximillian                                                                                                                                                           Temporary cover crops                                                                                                                                           CIVIL
                                                                                                                                                                                                                            or legumes.                                                                                     First              10-10-10                 500                   30

                                                                                                         1. Rates are for broadcasted seed. If a seed drill is used, reduce the rates by one-half.
                                                                                                                                                                                                                                                                                          seeded alone
                                                                                                                                                                                                                                                                                                                                                                                                                               CONSTRUCTION DETAILS
                                                                                                         2. PLS is an abbreviation for Pure Live Seed. Refer to Glossary for an explanation of this term.                                                                               Warm season grasses
                                                                                                                                                                                                                                                                                                                           First
                                                                                                                                                                                                                                                                                                                          Second
                                                                                                                                                                                                                                                                                                                                                6-12-12
                                                                                                                                                                                                                                                                                                                                                6-12-12
                                                                                                                                                                                                                                                                                                                                                                       1500
                                                                                                                                                                                                                                                                                                                                                                        800
                                                                                                                                                                                                                                                                                                                                                                                           50-100
                                                                                                                                                                                                                                                                                                                                                                                           50-100                                    (3 OF 3)
                                                                                                         3. The resource areas are defined in the Glossary. See page 60 for Resource Area.                                                                                                                              Maintenance            10-10-10                 400                  30
                                                                                                         4. Seeding rates are based on pure live seeds (PLS).


                                                                                                                                                                                                                                                                                                                                                                                                                               Project #                        Sheet
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